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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    GRIDDY ENERGY LLC, 1                                    )     Case No. 21-30923 (MI)
                                                            )
                                     Debtor.                )
                                                            )


                       SCHEDULES OF ASSETS AND LIABILITIES
                  OF DEBTOR GRIDDY ENERGY LLC (CASE NO. 21-30923)




1       The last four digits of the Debtor’s federal tax identification number are 1396. The mailing address for
the Debtor is PO Box 1288, Greens Farms, CT 06838.
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                               )
    In re:                                                     )    Chapter 11
                                                               )
    GRIDDY ENERGY LLC,1                                        )    Case No. 21-30923 (MI)
                                                               )
                                       Debtor.                 )
                                                               )

                  GLOBAL NOTES REGARDING DEBTOR’S SCHEDULES OF
             ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        These notes (the “Global Notes”) regarding the Schedules of Assets and Liabilities (the
“Schedules”) and Statements of Financial Affairs (the “SOFAs”) of Griddy Energy LLC (the
“Debtor”) comprise an integral part of the Schedules and SOFAs and are incorporated by reference
therein, and should be referred to and considered in connection with any review of them.

        1.     The Schedules and SOFAs prepared by the Debtor are unaudited and were prepared
with data as near as possible to March 15, 2021 (the “Petition Date”). Unless otherwise indicated,
all amounts are listed as of the Petition Date or as of the latest available record date prior to the
Petition Date.

        2.      While the Debtor’s management has exercised commercially reasonable efforts to
ensure that the Schedules and SOFAs are accurate and complete based upon information that was
available at the time of preparation, inadvertent errors or omissions may exist and the subsequent
receipt of information and/or further review and analysis of the Debtors’ books and records may
result in changes to financial data and other information contained in the Schedule sand SOFAs.
Moreover, because the Schedules and SOFAs contain unaudited information, which is subject to
further review and potential adjustment, there can be no assurance that the Schedules and SOFAs
are complete or accurate.

       3.      In reviewing and signing the Schedules and SOFAs, the Debtor’s authorized officer
has necessarily relied upon the efforts, statements and representations of other personnel and
professionals of the Debtor. The authorized officer has not (and could not have) personally verified
the accuracy of each such statement and representation, including statements and representations
concerning amounts owed to creditors and their addresses.

        4.      The Debtor reserves its rights to amend the Schedules and SOFAs as may be
necessary or appropriate in the Debtor’s sole and absolute discretion, including, but not limited to,
the right to assert offsets or defenses to (which rights are expressly preserved), or to dispute, any
claim reflected on the Schedules as to amount, liability, or classification or to otherwise

1
      The last four digits of the Debtor’s federal tax identification number are 1396. The mailing address for the
      Debtor is PO Box 1288, Greens Farms, CT 06838.


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subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” These Global
Notes will apply to all such amendments. Furthermore, nothing contained in the Schedules or
SOFAs shall constitute a waiver of the Debtor’s rights or defenses with respect to this chapter case.

        5.       Any failure to designate a claim listed on the Schedules as “disputed,” “contingent”
or “unliquidated” does not constitute an admission by the Debtor that such amount is not
“disputed,” “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may
be exclusive of contingent and additional unliquidated amounts. Further, the claims of individual
creditors are listed as the amounts entered on the Debtor’s books and records and may not reflect
credits or allowances due from such creditors to the Debtor or setoffs applied by such creditors
against amounts due by such creditors to the Debtor with respect to other transactions between
them. The Debtor reserves all of its rights with respect to any such credits and allowances.

        6.      Some of the Debtor’s scheduled assets and liabilities are unknown and/or
unliquidated. In such cases, no amounts are listed or the amounts are listed as “undetermined,”
“unknown,” “none calculated” or to similar effect. The description of an amount as “unknown”
or “undetermined” is not intended to reflect upon the materiality of such amount. Such terms are
used interchangeably in the Schedules and SOFAs. Except as otherwise stated herein, all totals
that are included in the Schedules and SOFAs represent totals of all known amounts included in
the applicable Debtor’s books and records as of the Petition Date (or as of the latest available
record date prior to the Petition Date). To the extent there are unknown or undetermined amounts,
the actual total may be different than the listed total.

        7.      The Debtor has excluded certain categories of assets and liabilities from the
Schedules and SOFAS, including accounts or reserves recorded only for purposes of complying
with the requirements of Generally Accepted Accounting Principles in the United States
(“GAAP”); deferred tax liabilities; and certain accrued liabilities including, but not limited to,
accrued salaries and employee benefits. The Debtor also has excluded potential rejection damage
claims of counterparties to executory contracts and unexpired leases that may be rejected. In
addition, other immaterial assets and liabilities may also have been excluded. Accordingly, for
these and other reasons, the Schedules may not fully reflect the aggregate amount of the Debtor’s
assets and liabilities.

       8.      Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        9.     Given the differences between the information requested in the Schedules and the
financial information utilized under GAAP, the aggregate asset values and claim amounts set forth
in the Schedules may not necessarily reflect the amounts that would be set forth in a balance sheet
prepared in accordance with GAAP. Information contained in the Schedules and SOFAs has been
derived from the Debtor’s books and records and historical financial statements.

        10.     Except as otherwise noted, each asset and liability of the Debtor is shown on the
basis of net book value of the asset or liability in accordance with such Debtor’s accounting books
and records. Therefore, unless otherwise noted, the Schedules and SOFAs are not based upon any
estimate of the current market values of the Debtor’s assets and liabilities, which may not
correspond to book values or could be materially different. It would be cost-prohibitive and unduly



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burdensome to obtain current market valuations of the Debtor’s assets and liabilities. When
necessary, the Debtor has indicated that the value of certain assets is “unknown” or
“undetermined.” The Debtor believes that certain of its assets may have been significantly
impaired by, among other things, the events leading to, and the commencement of, the Debtor’s
chapter 11 case. The Debtor did not formally evaluate the appropriateness of the carrying values
ascribed to its assets prior to commencement of the chapter 11 case.

        11.     The Debtor and its past or present officers, employees, attorneys, professionals and
agents (including, but not limited to, the authorized officer that is the signatory to the applicable
Debtor’s Schedules and SOFAs), do not guarantee or warrant the accuracy, completeness, or
currentness of the data that is provided herein and shall not be liable for any loss or injury arising
out of or caused in whole or in part by the acts, errors or omissions, whether negligent or otherwise,
in procuring, compiling, collecting, interpreting, reporting, communicating or delivering the
information contained herein. The Debtor and its past or present officers, employees, attorneys,
professionals and agents (including, but not limited to, the authorized officer that is the signatory
to the applicable Debtor’s Schedules and SOFAs), expressly do not undertake any obligation to
update, modify, revise or re-categorize the information provided herein or to notify any third party
should the information be updated, modified, revised or re-categorized. In no event shall the
Debtor or its past or present officers, employees, attorneys, professionals and/or agents (including,
but not limited to, the authorized officer that is the signatory to the applicable Debtor’s Schedules
and SOFAs), be liable to any third party for any direct, indirect, incidental, consequential or special
damages (including, but not limited to, damages arising from the disallowance of any potential
claim against the Debtor or damages to business reputation, lost business or lost profits), whether
foreseeable or not and however caused arising from or related to any information provided herein
or omitted herein.

        12.     There may be instances in which certain information in the Schedules and the
SOFAs has been intentionally redacted due to concerns about the confidential or commercially
sensitive nature of certain information, or concerns for the privacy of an individual. To avoid any
conflict with applicable privacy law, the Schedules and SOFAs do not contain personally
identifiable information.

        13.    Payments made to individuals, including insiders, and certain other instances where
personally identifiable information could otherwise be disclosed, have been reported without
disclosing personally identifiable information.

Schedules of Assets and Liabilities

Restricted Cash. Restricted cash represents funds held in the Debtor’s bank account with JP
Morgan Chase Bank ending in 2375 (the “Revenue Account”) as collateral of the Debtor’s secured
creditors. The Revenue Account is subject to a lender-controlled Blocked Account Deposit
Agreement and the Debtor does not have access to such account, including the funds in such
account.




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Schedules A/G Question 8: Prepayments. The Debtor has not included payments for insurance
premiums where amounts are paid in full in advance, but may be accounted for on the Debtor’s
books and records on a monthly basis.

Schedules A/B Question 11: Accounts Receivable. As of March 15, 2021, the Debtor had
outstanding accounts receivables balances owing from its customers totaling $29.1 million.
However, due to, among other things, the uncertainty of collection of such accounts receivable,
the Debtor has listed such amounts as undetermined.

Schedule D: Creditors Holding Secured Claims. Except as otherwise included in any order of
the Court, the Debtor reserves the right to dispute or challenge the validity, perfection or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a secured
creditor listed on Schedule D of the Debtor. Moreover, the Debtor reserves all rights to dispute or
challenge the secured nature of any such creditor’s claim or the characterization of the structure of
any such transaction or any document or instrument (including, without limitation, any
intercompany agreement) related to such creditor’s claim.

The descriptions provided in Schedule D are intended only to be a summary. Reference to the
applicable agreements and related documents is necessary for a complete description of the
collateral and the nature, extent, and priority of any liens. Nothing in the Global Notes or the
Schedules and SOFAs shall be deemed a modification or interpretation of the terms of such
agreements.

Except as specifically stated herein, real property lessors, utility companies, and other parties that
may hold security deposits have not been listed on Schedule D.

Schedule E: Creditors Holding Unsecured Priority Claims. The listing of any claim on
Schedule E does not constitute an admission by the Debtor that such claim is entitled to priority
treatment under 11 U.S.C. § 507. The Debtor reserves the right to take the position that any claim
listed on Schedule E is not entitled to priority.

As of the Petition Date, the Debtor believes it has paid all amounts owed to its employees on
account of wages, salaries and other compensation, reimbursable employee expenses and
employee benefits. Accordingly, the Debtor has not listed such employees and any amounts
payable to them on Schedule E or Schedule F.

Schedule F: Creditors Holding Unsecured Non-Priority Claims. The claims listed on Schedule
F arose or were incurred on various dates. In certain instances, the date on which a claim arose is
an open issue of fact. While commercially reasonable efforts have been made, determining the
date upon which each claim in Schedule F was incurred or arose would be unduly burdensome and
cost prohibitive and, therefore, the Debtor has not listed a date for every claim listed on Schedule F.

The descriptions provided in Schedule F are intended only to be a summary. Nothing in the Global
Notes or the Schedules and SOFAs shall be deemed to be a modification or interpretation of the
terms of such agreements. The claims of individual creditors for, among other things, goods,
services or taxes are listed at the amounts listed on the Debtor’s books and records as of March 15,



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2021 (or as of the latest available record date prior to the Petition Date) and may not reflect credits
or allowances due from such creditor. The Debtor reserves all of its rights respecting such credits
or allowances. The dollar amounts listed may be exclusive of contingent and unliquidated
amounts.

The Debtor expressly incorporates by reference into Schedule F, to the extent not already listed on
Schedule F, (i) all parties to pending and potential pending litigation listed in the Debtor’s SOFAs
as contingent, unliquidated and disputed claims and (ii) all parties to executory contracts and
unexpired leases, including those listed on Schedule G, to the extent such parties are holders of
contingent and unliquidated unsecured claims arising from obligations under those executory
contracts and unexpired leases.

Schedule G: Executory Contracts. While commercially reasonable efforts have been made to
ensure the accuracy of Schedule G regarding executory contracts and unexpired leases, inadvertent
errors, omissions or over-inclusions may have occurred. The Debtor reserves all of its rights to
dispute the validity, status or enforceability of any contracts, agreements or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary.

The contracts, agreements and leases listed on Schedule G may have expired or may have been
modified, amended and/or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letter and other documents, instruments and agreements which may
not be listed herein. Reference to contracts, agreements and leases in these Schedules and SOFAs
includes any modifications, amendments and supplements regardless of whether they are listed
herein. Certain of the contracts and leases listed on Schedule G may contain certain renewal
options, guarantees of payment, options to purchase, rights of first refusal and other miscellaneous
rights that are embedded in the Debtor’s agreements. Such rights, powers, duties and obligations
are not set forth on Schedule G. Certain of the executory agreements may not have been
memorialized and could be subject to dispute.

The presence of a contract, lease or agreement on Schedule G does not constitute an admission
that such contract, lease or agreement is an executory contract or unexpired lease. The Debtor
reserves all of its rights, claims and causes of action with respect to the contracts and agreements
listed on Schedule G, including the right to dispute or challenge the characterization or the structure
of any transaction, or any document or instrument (including, without limitation, any intercompany
agreement) related to a creditor’s claim.

Omission of a contract, lease or agreement from this Schedule does not constitute an admission
that such omitted contract, lease or agreement is not an executory contract or unexpired lease. The
Debtor’s rights under the Bankruptcy Code with respect to any such omitted contracts, leases or
agreements are not impaired by its omission. This Schedule may be amended at any time to add
any omitted contract, lease or agreement.

For the purposes of Schedule G, contracts have been listed only where that Debtor is an actual
party to the contract. The omission of any contract from Schedule G to which a Debtor is an
intended beneficiary shall not constitute a waiver of any rights the Debtor may have in that




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contract, including the right to enforce such contract or the right to recover damages in the event
that there is a breach of such contract.

Schedule H: Co-Debtors. While every reasonable effort has been made to ensure the accuracy
of Schedule H, inadvertent errors or omissions may have occurred. The Debtor may not have
identified certain guarantees that are embedded in the Debtor’s executory contracts, unexpired
leases, secured financings, debt instruments and other such agreements. The Debtor reserves its
right to amend the Schedules to the extent additional guarantees are identified.


Statements of Financial Affairs

Insiders. In the circumstance where the SOFAs require information regarding insiders, the Debtor
has attempted to include therein each of the relevant Debtor’s directors, officers or employees that
meets the statutory definition of an insider or had the ability to exercise control over the decision-
making or policy of the Debtor during the relevant period; provided, that employees with positions
that have officer titles (such as director and vice president) but who did not report to the Debtor’s
sole member or the board of directors or had no control over the decision-making or policy of the
relevant Debtor were not included as insiders. The listing of a party as an insider is not intended
to be, nor should it be, construed as a legal characterization of such party as an insider and does
not act as an admission of any fact, claim, right, or defense, and all such rights, claims, and defenses
are hereby expressly reserved.

Intercompany Claims. In a transaction that closed on December 4, 2020, the ownership of the
Debtor was sold to a new ownership group and a new management team was appointed. At that
time, the Debtor became a wholly-owned subsidiary of a newly formed Griddy Holdings LLC. As
a result of the December 4, 2020 transaction, all prior intercompany payables or receivables were
eliminated. The Debtor has insufficient information regarding intercompany transactions that
occurred prior to December 4, 2020 to include herein. Since December 4, 2020, intercompany
transactions have been limited and, except for one cash transfer to the Debtor from a non-debtor
affiliate in the amount of $10,000 on December 5, 2020, were recorded on the Debtor’s books and
records through journal entries. For the avoidance of doubt, the Debtor reserves all rights, claims,
and defenses in connection with any and all intercompany receivables and payables, including, but
not limited to, with respect to the characterization of intercompany claims, loans and notes.
Reasonable efforts have been made to indicate the ultimate beneficiary of a payment or obligation.
Whether a particular payment or obligation was incurred by the entity actually making the payment
or incurring the obligation is a complex question of applicable non-bankruptcy law, and nothing
herein constitutes an admission that the Debtor is an obligor with respect to any such payment.
The Debtor reserves all rights to reclassify any payment or obligation as attributable to another
entity and all rights with respect to the proper accounting and treatment of such payments and
liabilities.

Question 3 – Certain Payments or Transfers to Creditors Within 90 Days Before Filing this
Case. The list of payments made by the Debtor within 90 days of the Petition Date includes
disbursements or other transfers made by the Debtor within 90 days prior to filing, except for those
made to insiders, which are reflected on Statements 4 and 30. Other than on Questions 4 and 30,
the Debtor did not identify the payee of payments on account of compensation paid to employees


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in the 90 days prior to the Petition Date. A description of the Debtor’s obligations to its employees,
including wages, salaries and commissions as well as benefits programs is set forth in the Debtor’s
Emergency Motion for Entry of an Order (i) Authorizing, but not Directing, the Debtor to (a) Pay
Prepetition Employee Obligations and (b) Continue Certain Employee Programs; and (ii)
Granting Related Relief. See Docket No. 13. However, the Debtor has listed the payroll taxes,
workers’ compensation and payroll fees paid to its payroll processor for employee compensation
and expense reimbursement.

Question 26d – The Debtor regularly distributed its financial statements to its lenders or their
agent in compliance with the reporting obligations in connection with the applicable agreements.
The Debtor may also occasionally have provided certain other parties, such as banks, auditors,
potential investors and financial advisors, with financial statements. The Debtor does not maintain
complete lists or other records tracking such disclosures and ascertaining all such disclosures
would be burdensome and impractical. Accordingly, such parties are not listed.



                              * * * END OF GLOBAL NOTES * * *




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 Fill in this information to identify the case:

 Debtor name: Griddy Energy LLC

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                              Check if this is an
 Case number: 21-30923
                                                                                                              amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                           Undetermined
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                   $5,893,849.72
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                     $5,893,849.72
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                                          $0.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                             $93,510.99
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                         $33,083,455.69
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                           $33,176,966.68
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: Griddy Energy LLC

   United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                         Check if this is an
   Case number: 21-30923
                                                                                                                                                         amended ling


 O cial Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15
  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (O cial Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                    Last 4 digits of account #


 3.1
           JPMorgan Chase Bank, N.A.                                        Operating Account            0139                                                  $2,998,734.74

 4. Other cash equivalents (Identify all)
 4.1
           Restricted Cash (JPMorgan Chase Revenue Account #2375)                                                                                              $2,689,750.00

 4.2
           Restricted Cash (JPMorgan Chase Segregated Account #0675)                                                                                                    $0.00

 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                              $5,688,484.74


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

       Yes. Fill in the information below.
Debtor     Griddy Energy LLC________________________________________________________                   Case number (if known) 21-30923________________________________________
           Name
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                                                                                                                                             Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Security Deposit - Meridian Business Centers (Houston Executive O ce)                                                                                        $475.00

  7.2
            Security Deposit - Howard Gault Trust                                                                                                                       $4,400.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            See Exhibit A/B 8                                                                                                                                        $200,489.98

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                    $205,364.98


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.


                                                                                                                                             Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                            $29,090,179.54       —   Undetermined                                 = ........      Undetermined
            less:
                                     face amount                               doubtful or uncollectible accounts

  11b.      Over 90 days old:                                   $0.00      —                                        $0.00   = ........                                     $0.00
                                     face amount                               doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                           $0.00


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.

                                                                                                Valuation method used for current            Current value of debtor’s interest
                                                                                                value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                            $0.00
Debtor     Griddy Energy LLC________________________________________________________              Case number (if known) 21-30923________________________________________
           Name
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  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
                                                                                                                                                                      $0.00

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                      $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                     $0.00


  Part 5:      Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.

   General description                                        Date of        Net book value of            Valuation method used        Current value of debtor’s interest
                                                              the last       debtor's interest            for current value
                                                              physical       (Where available)
                                                              inventory
  19. Raw materials
  19.1
                                                                                                                                                                      $0.00

  20. Work in progress
  20.1
                                                                                                                                                                      $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                      $0.00

  22. Other inventory or supplies
  22.1
                                                                                                                                                                      $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                     $0.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

         No
                    Book value                                    Valuation method                                         Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes
Debtor     Griddy Energy LLC________________________________________________________              Case number (if known) 21-30923________________________________________
           Name
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  Part 6:      Farming and shing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                        Net book value of           Valuation method used       Current value of debtor’s interest
                                                                              debtor's interest           for current value
                                                                              (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                     $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised sh
  29.1
                                                                                                                                                                     $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                     $0.00

  31. Farm and shing supplies, chemicals, and feed
  31.1
                                                                                                                                                                     $0.00

  32. Other farming and shing-related property not already listed in Part 6
  32.1
                                                                                                                                                                     $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                    $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

         No
                   Book value                                      Valuation method                                      Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes
Debtor    Griddy Energy LLC________________________________________________________                          Case number (if known) 21-30923________________________________________
          Name
                              Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 14 of 905
  Part 7:    O ce furniture, xtures, and equipment; and collectibles

  38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                               Net book value of                Valuation method used            Current value of debtor’s interest
                                                                                     debtor's interest                for current value
                                                                                     (Where available)
  39. O ce furniture
  39.1
                                                                                                                                                                                          $0.00

  40. O ce xtures
  40.1
                                                                                                                                                                                          $0.00

  41. O ce equipment, including all computer equipment and communication systems equipment and software
  41.1
                                                                                                                                                                                          $0.00

  42. Collectibles Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                          $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                         $0.00


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                               Net book value of                Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identi cation numbers (i.e., VIN,                  debtor's interest                for current value
   HIN, or N-number)                                                                 (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
                                                                                                                                                                                          $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
  48.1
                                                                                                                                                                                          $0.00
Debtor    Griddy Energy LLC________________________________________________________                  Case number (if known) 21-30923________________________________________
          Name
                             Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 15 of 905
  49. Aircraft and accessories
  49.1
                                                                                                                                                                           $0.00

  50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
  50.1
                                                                                                                                                                           $0.00

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                      $0.00


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                         Nature and extent of          Net book value of           Valuation method used        Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest           for current value            debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or o ce building), if available.

  55.1
             Westport O ce - Westport, CT                     Leased                         Undetermined                 N/A                         Undetermined


  55.2
             Houston O ce - Houston, TX                       Licensed                       Undetermined                 N/A                         Undetermined

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                         Undetermined


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.
Debtor    Griddy Energy LLC________________________________________________________                Case number (if known) 21-30923________________________________________
          Name
                            Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 16 of 905

   General description                                                       Net book value of             Valuation method used       Current value of debtor’s interest
                                                                             debtor's interest             for current value
                                                                             (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
           None                                                                                                                                                       $0.00

  61. Internet domain names and websites
  61.1
           None                                                                                                                                                       $0.00

  62. Licenses, franchises, and royalties
  62.1
           None                                                                                                                                                       $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
           Customer List                                                    Undetermined                  N/A                          Undetermined

  64. Other intangibles, or intellectual property
  64.1
           Facebook - @Gogriddy                                             Undetermined                  N/A                          Undetermined


  64.2
           Instagram - @Gogriddy                                            Undetermined                  N/A                          Undetermined


  64.3
           LinkedIn - https://www.linkedin.com/company/griddy               Undetermined                  N/A                          Undetermined


  64.4
           Twitter - @Gogriddy                                              Undetermined                  N/A                          Undetermined


  64.5
           YouTube - YouTube.com/griddyenergy                               Undetermined                  N/A                          Undetermined

  65. Goodwill
  65.1
           None                                                                                                                                                       $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                        Undetermined


  67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes
Debtor    Griddy Energy LLC________________________________________________________                 Case number (if known) 21-30923________________________________________
          Name
                             Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 17 of 905
  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                        Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             None                                                                                                        =                                            $0.00
                                                                                       -
                                               total face amount                           doubtful or uncollectible
                                                                                           amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
             Net Operating Loss (period from 12/4/2020 through 12/31/2020)                          Tax year   2020                    Undetermined

  73. Interests in insurance policies or annuities
  73.1
             None                                                                                                                                                      $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been led)
  74.1
             None                                                                                                                                                      $0.00
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
             None                                                                                                                                                      $0.00
  Nature of Claim

  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
             None                                                                                                                                                      $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             None                                                                                                                                                      $0.00

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                        Undetermined


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes
Debtor    Griddy Energy LLC________________________________________________________                 Case number (if known) 21-30923________________________________________
          Name
                              Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 18 of 905
  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                           Current value of              Current value of real
                                                                              personal property             property

  80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.               $5,688,484.74


  81. Deposits and prepayments. Copy line 9, Part 2.                                  $205,364.98

  82. Accounts receivable. Copy line 12, Part 3.                                             $0.00


  83. Investments. Copy line 17, Part 4.                                                     $0.00

  84. Inventory. Copy line 23, Part 5.                                                       $0.00


  85. Farming and shing-related assets. Copy line 33, Part 6.                                $0.00


  86. O ce furniture, xtures, and equipment; and collectibles. Copy                          $0.00
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                              $0.00

  88. Real property. Copy line 56, Part 9.                                                               Undetermined


  89. Intangibles and intellectual property.. Copy line 66, Part 10.          Undetermined

  90. All other assets. Copy line 78, Part 11.                                Undetermined


  91. Total. Add lines 80 through 90 for each column                   91a.                                             91b.
                                                                                    $5,893,849.72                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                            $5,893,849.72
           Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 19 of 905
                                      SCHEDULE AB 8 ATTACHMENT
         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
                    Description, including name of holder of prepayment                    Current Value
   Prepaid Insurance Premium - AON                                                                    N/A
   Prepaid Interest Expense - AON Surety Bonds - CenterPoint 12/20-11/21                        $1,780.75
   Prepaid Interest Expense - AON Surety Bonds - PA License Bond 12/20-11/21                    $3,958.33
   Prepaid Rent - Howard Gault Trust                                                           $11,000.00
   Prepaid Rent - Howard Gault Trust (Last 6 months)                                           $13,200.00
   Prepaid Subscription - CCH Suretax                                                          $27,554.05
   Prepaid Subscription - IFTTT                                                                 $2,916.67
   Prepaid Subscription - Invision                                                              $2,878.17
   Prepaid Subscription - PR Newswire                                                           $2,212.14
   Prepaid Subscription - PushWoosh                                                             $1,575.00
   Prepaid Subscription - SaasQuatch                                                            $2,400.00
   Prepayment - PSA Consulting                                                                 $55,273.97
   Retainer - Baker Botts L.L.P.                                                               $27,818.65
   Retainer - Miguel A. Huerta, PLLC                                                            $6,130.00
   Retainer - Sitrick & Company                                                                 $9,070.50
   Retainer - Stretto                                                                          $32,721.75




In re: Griddy Energy LLC
Case No. 21-30923                                Page 1 of 1
                              Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 20 of 905

  Fill in this information to identify the case:

  Debtor name: Griddy Energy LLC

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                Check if this is an
  Case number: 21-30923
                                                                                                                                                                amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor    Column A                                 Column B
separately for each claim.
                                                                                                              Amount of Claim                          Value of collateral that
                                                                                                              Do not deduct the value of               supports this claim
                                                                                                              collateral.

2.1
                                                        Describe debtor's property that is subject to        $1,448,937.59 (exclusive of           Undetermined
              Macquarie Investments US Inc.             the lien:                                            interest, fees and expenses
              125 West 55th Street                      All Owned Assets                                     and any amounts if an
              Level 20                                                                                       outstanding letter of credit is
              New York, NY 10019                        Describe the lien
                                                                                                             drawn)
               cc.notices@macquarie.com                 Senior Secured Borrowing Base Facility
                                                        Agreement
           Date debt was incurred?
                                                        Is the creditor an insider or related party?
           12/4/2020
                                                           No
           Last 4 digits of account number
                                                           Yes

           Do multiple creditors have an interest       Is anyone else liable on this claim?
           in the same property?                           No
               No
                                                           Yes. Fill out Schedule H: Codebtors(O cial
               Yes. Specify each creditor, including   Form 206H)
          this creditor, and its relative priority.     As of the petition ling date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                                $0.00
Page, if any.
Debtor   Griddy Energy LLC________________________________________________________               Case number (if known) 21-30923________________________________________
         Name
                             Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 21 of 905
  Part 2:   List Others to Be Noti ed for a Debt That You Already Listed

  List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                        On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                           the related creditor?                       this entity

  3.1
                                                                                          2.1
                Macquarie Energy LLC
                Attn: Legal Risk Management Division
                One Allen Center
                500 Dallas Street, Suite 3300
                Houston, TX 77002


  3.2
                                                                                          2.1
                Macquarie Investments US Inc.
                c/o Haynes And Boone, LLP
                Attn: Chad Mills
                1221 McKinney Street, Suite 4000
                Houston, TX 77010


  3.3
                                                                                          2.1
                Macquarie Investments US Inc. and Macquarie Energy LLC
                c/o Haynes and Boone, LLP
                Attn: Kelli S. Nor eet and Arsalan Muhammad
                1221 McKinney Street, Suite 4000
                Houston, TX 77010
                            Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 22 of 905

  Fill in this information to identify the case:

  Debtor name: Griddy Energy LLC

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                               Check if this is an
  Case number: 21-30923
                                                                                                                                                               amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (O cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition ling date, the claim is:         Undetermined                   Undetermined
              Internal Revenue Service                                   Check all that apply.
              Attn: Centralized Insolvency Operation
                                                                              Contingent
              PO Box 7346
              Philadelphia, PA 19101-7346                                     Unliquidated

           Date or dates debt was incurred                                    Disputed
                                                                         Basis for the claim:
           Last 4 digits of account number                               Tax Claim
                                                                         Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured                     No
           claim:
           11 U.S.C. § 507(a) ( 8 )                                          Yes

2.2
                                                                         As of the petition ling date, the claim is:                     $93,510.99                     $93,510.99
              Texas Comptroller of Public Accounts                       Check all that apply.
              Attn: Bo Overstreet, Section Manager Accounts
                                                                              Contingent
              Payable
              Lyndon B. Johnson State O ce Building                           Unliquidated
              111 East 17th Street
              Austin, TX 78744                                                Disputed
                                                                         Basis for the claim:
           Date or dates debt was incurred
                                                                         Tax Claim

                                                                         Is the claim subject to offset?
           Last 4 digits of account number
                                                                             No

           Specify Code subsection of PRIORITY unsecured                     Yes
           claim:
           11 U.S.C. § 507(a) ( 8 )
Debtor   Griddy Energy LLC________________________________________________________                        Case number (if known) 21-30923________________________________________
         Name
                                Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 23 of 905
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
  Additional Page of Part 2.

                                                                                                                                                                 Amount of claim

  3.1
                                                                                              As of the petition ling date, the claim is:                              $33,083,455.69
                See Exhibit F                                                                 Check all that apply.
                                                                                                   Contingent
            Date or dates debt was incurred
                                                                                                   Unliquidated

                                                                                                   Disputed

                                                                                              Basis for the claim:


                                                                                              Is the claim subject to offset?
                                                                                                  No

                                                                                                  Yes

  Part 3:   List Others to Be Noti ed About Unsecured Claims

  4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                      On which line in Part 1 or Part 2 is the related                Last 4 digits of
                                                                                                 creditor (if any) listed?                                       account number, if any

  4.1
                                                                                                 Line
                See Schedules E/F Part 3 Exhibit

                                                                                                        Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                                 Total of claim amounts

  5a. Total claims from Part 1                                                                                                           5a.                                $93,510.99

  5b. Total claims from Part 2                                                                                                           5b.                           $33,083,455.69
  5c. Total of Parts 1 and 2                                                                                                             5c.
                                                                                                                                                                      $33,176,966.68
  Lines 5a + 5b = 5c.
                                                 Case 21-30923 Document   71 Filed in TXSB on 03/24/21 Page 24 of 905
                                                                    SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                                                Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                          Contingent
                                                                                                                                                                                                                                                 Is the Claim




                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                            Last 4                                                                Subject to
                                                                                                             Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name               Attention                 Address 1           Address 2         3           City      State     ZIP      Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.001   AEP Texas Inc.             Attn: Mark Hunt             910 Energy Drive                                    Abilene        TX    79602-7945                                 Transportation                                                 No          $121,861.48
                                                                                                                                                                                       charges
    3.002 Alpha Employment Solutions   Attn: Penny Vita-Finzi      580 Woodland Ave                                    Burlington     ON    L7R 2S5      Canada                        Services                                                      No           $12,430.00
    3.003 CCH Incorporated             c/o Wolters Kluwer          Attn: CEO or General    PO Box 4307                 Carol Stream   IL    60197                                      Services                                                      No            $3,000.00
                                                                   Counsel
    3.004   CenterPoint Energy, Inc    Attn: Kevin Kulhanek; Jewel 1111 Louisiana Street                               Houston        TX    77002                                      Transportation                                                No         $1,227,202.03
                                       Smith                                                                                                                                           charges
    3.005   Charles Huppert                                        Address on File                                                                                                     Litigation Claim     X             X             X            No         Undetermined
    3.006   Customer #1264                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.007   Customer #1270                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.008   Customer #1275                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.009   Customer #1276                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.010   Customer #1302                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.011   Customer #1312                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.012   Customer #1323                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.013   Customer #1332                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.014   Customer #1429                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.015   Customer #1432                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.016   Customer #1473                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.017   Customer #1478                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.018   Customer #1481                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.019   Customer #1487                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.020   Customer #1492                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.021   Customer #1492                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.022   Customer #1494                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.023   Customer #1496                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.024   Customer #1497                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.025   Customer #1508                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.026   Customer #1509                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.027   Customer #1518                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.028   Customer #1520                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.029   Customer #1532                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.030   Customer #1533                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.031   Customer #1541                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.032   Customer #1546                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.033   Customer #1553                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.034   Customer #1553                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.035   Customer #1553                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.036   Customer #1555                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.037   Customer #1560                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.038   Customer #1562                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.039   Customer #1565                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.040   Customer #1566                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.041   Customer #1567                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.042   Customer #1570                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.043   Customer #1582                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.044   Customer #1598                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.045   Customer #1600                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.046   Customer #1601                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.047   Customer #1602                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.048   Customer #1604                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.049   Customer #1613                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.050   Customer #1619                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.051   Customer #1623                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.052   Customer #1624                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.053   Customer #1625                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.054   Customer #1626                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.055   Customer #1631                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.056   Customer #1632                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.057   Customer #1634                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.058   Customer #1637                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.059   Customer #1638                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.060   Customer #1639                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.061   Customer #1640                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined
    3.062   Customer #1641                                         Address on File                                                                                                     Customer             X             X             X                       Undetermined




In re: Griddy Energy LLC
Case No. 21-30923                                                                                                Page 1 of 877
                                    Case 21-30923 Document   71 Filed in TXSB on 03/24/21 Page 25 of 905
                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.063   Customer #1646                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.064   Customer #1650                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.065   Customer #1651                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.066   Customer #1653                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.067   Customer #1660                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.068   Customer #1661                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.069   Customer #1666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.070   Customer #1667                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.071   Customer #1669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.072   Customer #1670                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.073   Customer #1676                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.074   Customer #1679                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.075   Customer #1683                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.076   Customer #1684                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.077   Customer #1685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.078   Customer #1686                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.079   Customer #1699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.080   Customer #1705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.081   Customer #1706                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.082   Customer #1708                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.083   Customer #1712                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.084   Customer #1715                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.085   Customer #1717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.086   Customer #1727                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.087   Customer #1728                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.088   Customer #1734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.089   Customer #1735                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.090   Customer #1747                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.091   Customer #1752                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.092   Customer #1753                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.093   Customer #1754                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.094   Customer #1758                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.095   Customer #1759                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.096   Customer #1763                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.097   Customer #1764                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.098   Customer #1766                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.099   Customer #1787                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.100   Customer #1792                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.101   Customer #1793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.102   Customer #1794                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.103   Customer #1802                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.104   Customer #1803                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.105   Customer #1806                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.106   Customer #1812                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.107   Customer #1813                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.108   Customer #1816                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.109   Customer #1818                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.110   Customer #1819                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.111   Customer #1821                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.112   Customer #1822                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.113   Customer #1824                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.114   Customer #1826                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.115   Customer #1829                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.116   Customer #1839                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.117   Customer #1844                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.118   Customer #1846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.119   Customer #1848                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.120   Customer #1854                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.121   Customer #1855                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.122   Customer #1858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.123   Customer #1859                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.124   Customer #1861                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.125   Customer #1862                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.126   Customer #1865                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.127   Customer #1867                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.128   Customer #1869                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.129   Customer #1872                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.130   Customer #1873                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.131   Customer #1874                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.132   Customer #1887                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.133   Customer #1888                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.134   Customer #1890                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.135   Customer #1903                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.136   Customer #1914                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.137   Customer #1917                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.138   Customer #1918                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.139   Customer #1923                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.140   Customer #1924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.141   Customer #1927                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.142   Customer #1932                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.143   Customer #1934                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.144   Customer #1935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.145   Customer #1947                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.146   Customer #1950                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.147   Customer #1955                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.148   Customer #1957                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.149   Customer #1964                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.150   Customer #1989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.151   Customer #1994                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.152   Customer #1997                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.153   Customer #1998                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.154   Customer #1999                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.155   Customer #2001                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.156   Customer #2002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.157   Customer #2003                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.158   Customer #2005                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.159   Customer #2006                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.160   Customer #2008                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.161   Customer #2012                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.162   Customer #2013                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.163   Customer #2021                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.164   Customer #2027                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.165   Customer #2028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.166   Customer #2033                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.167   Customer #2035                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.168   Customer #2036                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.169   Customer #2037                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.170   Customer #2038                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.171   Customer #2039                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.172   Customer #2041                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.173   Customer #2043                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.174   Customer #2047                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.175   Customer #2048                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.176   Customer #2050                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.177   Customer #2057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.178   Customer #2058                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.179   Customer #2059                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.180   Customer #2060                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.181   Customer #2062                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.182   Customer #2063                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.183   Customer #2065                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.184   Customer #2067                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.185   Customer #2068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.186   Customer #2076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.187   Customer #2078                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.188   Customer #2081                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.189   Customer #2085                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.190   Customer #2089                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.191   Customer #2093                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.192   Customer #2095                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.193   Customer #2097                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.194   Customer #2098                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.195   Customer #2099                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.196   Customer #2100                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.197   Customer #2105                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.198   Customer #2111                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.199   Customer #2112                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.200   Customer #2113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.201   Customer #2115                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.202   Customer #2116                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.203   Customer #2117                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.204   Customer #2119                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.205   Customer #2122                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.206   Customer #2125                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.207   Customer #2129                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.208   Customer #2132                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.209   Customer #2133                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.210   Customer #2135                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.211   Customer #2136                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.212   Customer #2137                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.213   Customer #2138                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.214   Customer #2146                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.215   Customer #2148                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.216   Customer #2150                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.217   Customer #2152                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.218   Customer #2155                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.219   Customer #2157                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.220   Customer #2158                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.221   Customer #2159                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.222   Customer #2162                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.223   Customer #2163                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.224   Customer #2164                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.225   Customer #2167                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.226   Customer #2174                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.227   Customer #2179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.228   Customer #2184                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.229   Customer #2185                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.230   Customer #2188                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.231   Customer #2197                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.232   Customer #2198                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.233   Customer #2202                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.234   Customer #2203                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.235   Customer #2207                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.236   Customer #2208                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.237   Customer #2209                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.238   Customer #2212                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.239   Customer #2216                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.240   Customer #2217                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.241   Customer #2219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.242   Customer #2220                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.243   Customer #2231                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.244   Customer #2233                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.245   Customer #2235                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.246   Customer #2238                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.247   Customer #2241                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.248   Customer #2243                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.249   Customer #2245                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.250   Customer #2251                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.251   Customer #2252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.252   Customer #2259                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.253   Customer #2265                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.254   Customer #2271                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.255   Customer #2274                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.256   Customer #2279                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.257   Customer #2280                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.258   Customer #2281                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.259   Customer #2282                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.260   Customer #2283                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.261   Customer #2284                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.262   Customer #2288                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.263   Customer #2289                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.264   Customer #2290                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.265   Customer #2295                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.266   Customer #2297                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.267   Customer #2299                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.268   Customer #2309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.269   Customer #2311                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.270   Customer #2312                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.271   Customer #2314                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.272   Customer #2315                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.273   Customer #2316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.274   Customer #2317                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.275   Customer #2318                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.276   Customer #2326                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.277   Customer #2327                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.278   Customer #2331                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.279   Customer #2338                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.280   Customer #2341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.281   Customer #2342                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.282   Customer #2343                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.283   Customer #2345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.284   Customer #2346                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.285   Customer #2347                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.286   Customer #2350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.287   Customer #2351                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.288   Customer #2352                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.289   Customer #2353                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.290   Customer #2355                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.291   Customer #2356                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.292   Customer #2364                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.293   Customer #2365                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.294   Customer #2367                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.295   Customer #2368                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.296   Customer #2369                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.297   Customer #2374                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.298   Customer #2375                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.299   Customer #2376                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.300   Customer #2378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.301   Customer #2380                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.302   Customer #2382                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.303   Customer #2387                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.304   Customer #2390                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.305   Customer #2396                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.306   Customer #2400                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.307   Customer #2401                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.308   Customer #2402                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.309   Customer #2403                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.310   Customer #2408                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.311   Customer #2409                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.312   Customer #2410                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.313   Customer #2414                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.314   Customer #2415                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.315   Customer #2417                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.316   Customer #2423                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.317   Customer #2424                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.318   Customer #2427                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.319   Customer #2428                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.320   Customer #2429                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.321   Customer #2430                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.322   Customer #2431                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.323   Customer #2438                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.324   Customer #2441                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.325   Customer #2446                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.326   Customer #2449                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.327   Customer #2450                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.328   Customer #2453                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.329   Customer #2454                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.330   Customer #2455                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.331   Customer #2456                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.332   Customer #2457                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.333   Customer #2458                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.334   Customer #2459                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.335   Customer #2464                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.336   Customer #2465                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.337   Customer #2466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.338   Customer #2467                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.339   Customer #2468                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.340   Customer #2472                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.341   Customer #2474                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.342   Customer #2477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.343   Customer #2478                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.344   Customer #2481                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.345   Customer #2489                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.346   Customer #2492                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.347   Customer #2494                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.348   Customer #2495                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.349   Customer #2497                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.350   Customer #2498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.351   Customer #2499                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.352   Customer #2500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.353   Customer #2504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.354   Customer #2505                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.355   Customer #2506                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.356   Customer #2511                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.357   Customer #2517                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.358   Customer #2520                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.359   Customer #2521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.360   Customer #2522                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.361   Customer #2523                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.362   Customer #2524                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.363   Customer #2525                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.364   Customer #2528                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.365   Customer #2534                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.366   Customer #2535                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.367   Customer #2539                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.368   Customer #2540                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.369   Customer #2541                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.370   Customer #2545                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.371   Customer #2546                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.372   Customer #2548                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.373   Customer #2550                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.374   Customer #2551                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.375   Customer #2553                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.376   Customer #2554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.377   Customer #2561                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.378   Customer #2562                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.379   Customer #2564                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.380   Customer #2566                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.381   Customer #2567                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.382   Customer #2569                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.383   Customer #2570                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.384   Customer #2571                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.385   Customer #2573                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.386   Customer #2574                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.387   Customer #2578                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.388   Customer #2584                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.389   Customer #2585                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.390   Customer #2586                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.391   Customer #2588                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.392   Customer #2589                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.393   Customer #2591                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.394   Customer #2594                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.395   Customer #2596                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.396   Customer #2597                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.397   Customer #2599                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.398   Customer #2600                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.399   Customer #2601                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.400   Customer #2603                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.401   Customer #2604                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.402   Customer #2608                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.403   Customer #2609                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.404   Customer #2612                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.405   Customer #2613                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.406   Customer #2615                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.407   Customer #2616                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.408   Customer #2617                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.409   Customer #2618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.410   Customer #2627                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.411   Customer #2628                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.412   Customer #2630                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.413   Customer #2631                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.414   Customer #2632                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.415   Customer #2634                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.416   Customer #2635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.417   Customer #2641                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.418   Customer #2642                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.419   Customer #2645                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.420   Customer #2647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.421   Customer #2648                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.422   Customer #2649                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.423   Customer #2651                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.424   Customer #2652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.425   Customer #2654                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.426   Customer #2658                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.427   Customer #2660                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.428   Customer #2662                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.429   Customer #2663                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.430   Customer #2665                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.431   Customer #2666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.432   Customer #2674                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.433   Customer #2676                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.434   Customer #2677                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.435   Customer #2685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.436   Customer #2687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.437   Customer #2690                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.438   Customer #2692                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.439   Customer #2692                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.440   Customer #2694                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.441   Customer #2695                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.442   Customer #2696                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.443   Customer #2697                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.444   Customer #2698                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.445   Customer #2703                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.446   Customer #2704                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.447   Customer #2705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.448   Customer #2711                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.449   Customer #2712                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.450   Customer #2716                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.451   Customer #2717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.452   Customer #2718                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.453   Customer #2719                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.454   Customer #2720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.455   Customer #2722                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.456   Customer #2723                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.457   Customer #2725                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.458   Customer #2726                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.459   Customer #2727                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.460   Customer #2729                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.461   Customer #2732                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.462   Customer #2734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.463   Customer #2735                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.464   Customer #2736                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.465   Customer #2738                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.466   Customer #2739                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.467   Customer #2740                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.468   Customer #2741                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.469   Customer #2743                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.470   Customer #2749                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.471   Customer #2750                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.472   Customer #2751                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.473   Customer #2754                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.474   Customer #2755                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.475   Customer #2756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.476   Customer #2758                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.477   Customer #2760                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.478   Customer #2761                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.479   Customer #2762                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.480   Customer #2773                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.481   Customer #2774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.482   Customer #2779                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.483   Customer #2784                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.484   Customer #2787                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.485   Customer #2788                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.486   Customer #2792                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.487   Customer #2795                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.488   Customer #2798                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.489   Customer #2799                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.490   Customer #2804                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.491   Customer #2805                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.492   Customer #2808                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.493   Customer #2814                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.494   Customer #2815                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.495   Customer #2816                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.496   Customer #2821                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.497   Customer #2827                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.498   Customer #2828                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.499   Customer #2830                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.500   Customer #2831                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.501   Customer #2832                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.502   Customer #2835                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.503   Customer #2836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.504   Customer #2837                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.505   Customer #2841                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.506   Customer #2843                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.507   Customer #2845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.508   Customer #2846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.509   Customer #2847                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.510   Customer #2848                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.511   Customer #2850                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.512   Customer #2853                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.513   Customer #2854                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.514   Customer #2857                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.515   Customer #2858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.516   Customer #2859                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.517   Customer #2860                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.518   Customer #2861                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.519   Customer #2862                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.520   Customer #2864                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.521   Customer #2865                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.522   Customer #2869                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.523   Customer #2870                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.524   Customer #2871                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.525   Customer #2872                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.526   Customer #2873                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.527   Customer #2874                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.528   Customer #2875                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.529   Customer #2876                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.530   Customer #2880                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.531   Customer #2886                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.532   Customer #2888                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.533   Customer #2894                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.534   Customer #2898                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.535   Customer #2899                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.536   Customer #2902                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.537   Customer #2906                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.538   Customer #2908                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.539   Customer #2912                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.540   Customer #2913                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.541   Customer #2918                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.542   Customer #2920                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.543   Customer #2923                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.544   Customer #2925                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.545   Customer #2928                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.546   Customer #2929                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.547   Customer #2931                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.548   Customer #2934                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.549   Customer #2937                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.550   Customer #2941                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.551   Customer #2942                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.552   Customer #2947                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.553   Customer #2951                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.554   Customer #2953                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.555   Customer #2954                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.556   Customer #2956                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.557   Customer #2957                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.558   Customer #2958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.559   Customer #2959                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.560   Customer #2960                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.561   Customer #2966                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.562   Customer #2968                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.563   Customer #2970                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.564   Customer #2971                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.565   Customer #2972                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.566   Customer #2975                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.567   Customer #2977                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.568   Customer #2978                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.569   Customer #2981                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.570   Customer #2982                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.571   Customer #2985                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.572   Customer #2986                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.573   Customer #2989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.574   Customer #2991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.575   Customer #2992                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.576   Customer #2993                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.577   Customer #2994                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.578   Customer #3000                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.579   Customer #3001                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.580   Customer #3002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.581   Customer #3003                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.582   Customer #3005                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.583   Customer #3007                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.584   Customer #3013                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.585   Customer #3015                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.586   Customer #3018                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.587   Customer #3019                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.588   Customer #3021                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.589   Customer #3025                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.590   Customer #3026                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.591   Customer #3027                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.592   Customer #3028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.593   Customer #3029                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.594   Customer #3033                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.595   Customer #3034                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.596   Customer #3035                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.597   Customer #3036                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.598   Customer #3039                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.599   Customer #3040                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.600   Customer #3042                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.601   Customer #3043                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.602   Customer #3047                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.603   Customer #3049                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.604   Customer #3050                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.605   Customer #3051                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.606   Customer #3052                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.607   Customer #3056                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.608   Customer #3057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.609   Customer #3058                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.610   Customer #3059                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.611   Customer #3061                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.612   Customer #3062                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.613   Customer #3063                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.614   Customer #3064                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.615   Customer #3065                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.616   Customer #3066                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.617   Customer #3068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.618   Customer #3068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.619   Customer #3072                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.620   Customer #3073                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.621   Customer #3077                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.622   Customer #3078                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.623   Customer #3080                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.624   Customer #3081                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.625   Customer #3084                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.626   Customer #3088                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.627   Customer #3089                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.628   Customer #3090                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.629   Customer #3091                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.630   Customer #3092                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.631   Customer #3093                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.632   Customer #3094                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.633   Customer #3095                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.634   Customer #3096                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.635   Customer #3098                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.636   Customer #3100                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.637   Customer #3101                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.638   Customer #3102                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.639   Customer #3104                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.640   Customer #3107                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.641   Customer #3110                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.642   Customer #3114                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.643   Customer #3115                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.644   Customer #3116                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.645   Customer #3117                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.646   Customer #3123                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.647   Customer #3129                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.648   Customer #3130                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.649   Customer #3133                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.650   Customer #3138                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.651   Customer #3139                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.652   Customer #3140                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.653   Customer #3142                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.654   Customer #3143                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.655   Customer #3144                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.656   Customer #3145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.657   Customer #3146                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.658   Customer #3146                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.659   Customer #3147                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.660   Customer #3149                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.661   Customer #3153                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.662   Customer #3158                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.663   Customer #3159                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.664   Customer #3161                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.665   Customer #3163                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.666   Customer #3164                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.667   Customer #3165                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.668   Customer #3168                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.669   Customer #3169                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.670   Customer #3170                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.671   Customer #3171                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.672   Customer #3172                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.673   Customer #3177                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.674   Customer #3179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.675   Customer #3181                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.676   Customer #3183                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.677   Customer #3187                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.678   Customer #3190                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.679   Customer #3193                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.680   Customer #3194                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.681   Customer #3198                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.682   Customer #3199                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.683   Customer #3200                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.684   Customer #3201                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.685   Customer #3202                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.686   Customer #3203                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.687   Customer #3204                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.688   Customer #3207                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.689   Customer #3211                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.690   Customer #3212                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.691   Customer #3213                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.692   Customer #3214                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.693   Customer #3216                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.694   Customer #3217                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.695   Customer #3220                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.696   Customer #3223                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.697   Customer #3225                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.698   Customer #3231                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.699   Customer #3234                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.700   Customer #3235                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.701   Customer #3237                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.702   Customer #3241                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.703   Customer #3246                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.704   Customer #3249                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.705   Customer #3250                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.706   Customer #3251                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.707   Customer #3252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.708   Customer #3255                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.709   Customer #3263                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.710   Customer #3270                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.711   Customer #3272                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.712   Customer #3273                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.713   Customer #3275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.714   Customer #3279                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.715   Customer #3281                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.716   Customer #3284                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.717   Customer #3285                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.718   Customer #3288                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.719   Customer #3291                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.720   Customer #3294                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.721   Customer #3300                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.722   Customer #3303                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.723   Customer #3307                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.724   Customer #3308                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.725   Customer #3309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.726   Customer #3315                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.727   Customer #3316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.728   Customer #3318                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.729   Customer #3319                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.730   Customer #3321                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.731   Customer #3322                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.732   Customer #3323                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.733   Customer #3325                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.734   Customer #3333                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.735   Customer #3335                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.736   Customer #3336                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.737   Customer #3342                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.738   Customer #3344                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.739   Customer #3345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.740   Customer #3346                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.741   Customer #3347                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.742   Customer #3349                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.743   Customer #3350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.744   Customer #3351                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.745   Customer #3353                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.746   Customer #3354                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.747   Customer #3355                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.748   Customer #3356                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.749   Customer #3360                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.750   Customer #3364                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.751   Customer #3365                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.752   Customer #3368                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.753   Customer #3369                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.754   Customer #3371                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.755   Customer #3372                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.756   Customer #3373                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.757   Customer #3377                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.758   Customer #3378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.759   Customer #3379                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.760   Customer #3380                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.761   Customer #3381                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.762   Customer #3388                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.763   Customer #3391                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.764   Customer #3392                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.765   Customer #3393                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.766   Customer #3398                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.767   Customer #3400                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.768   Customer #3401                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.769   Customer #3402                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.770   Customer #3407                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.771   Customer #3408                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.772   Customer #3412                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.773   Customer #3414                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.774   Customer #3415                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.775   Customer #3415                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.776   Customer #3418                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.777   Customer #3420                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.778   Customer #3422                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.779   Customer #3423                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.780   Customer #3427                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.781   Customer #3429                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.782   Customer #3430                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.783   Customer #3432                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.784   Customer #3433                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.785   Customer #3443                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.786   Customer #3444                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.787   Customer #3445                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.788   Customer #3446                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.789   Customer #3448                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.790   Customer #3450                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.791   Customer #3452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.792   Customer #3455                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.793   Customer #3456                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.794   Customer #3459                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.795   Customer #3461                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.796   Customer #3464                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.797   Customer #3465                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.798   Customer #3466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.799   Customer #3467                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.800   Customer #3468                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.801   Customer #3469                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.802   Customer #3477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.803   Customer #3480                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.804   Customer #3483                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.805   Customer #3484                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.806   Customer #3485                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.807   Customer #3487                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.808   Customer #3488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.809   Customer #3489                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.810   Customer #3490                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.811   Customer #3492                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.812   Customer #3494                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.813   Customer #3495                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.814   Customer #3500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.815   Customer #3501                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.816   Customer #3505                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.817   Customer #3507                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.818   Customer #3508                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.819   Customer #3512                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.820   Customer #3513                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.821   Customer #3516                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.822   Customer #3518                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.823   Customer #3520                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.824   Customer #3521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.825   Customer #3534                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.826   Customer #3536                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.827   Customer #3541                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.828   Customer #3543                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.829   Customer #3544                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.830   Customer #3547                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.831   Customer #3549                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.832   Customer #3553                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.833   Customer #3554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.834   Customer #3555                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.835   Customer #3556                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.836   Customer #3557                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.837   Customer #3558                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.838   Customer #3559                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.839   Customer #3562                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.840   Customer #3563                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.841   Customer #3571                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.842   Customer #3571                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.843   Customer #3571                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.844   Customer #3574                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.845   Customer #3575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.846   Customer #3576                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.847   Customer #3582                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.848   Customer #3583                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.849   Customer #3586                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.850   Customer #3587                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.851   Customer #3588                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.852   Customer #3589                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.853   Customer #3591                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.854   Customer #3592                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.855   Customer #3593                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.856   Customer #3594                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.857   Customer #3599                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.858   Customer #3603                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.859   Customer #3604                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.860   Customer #3605                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.861   Customer #3606                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.862   Customer #3608                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.863   Customer #3611                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.864   Customer #3614                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.865   Customer #3618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.866   Customer #3620                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.867   Customer #3622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.868   Customer #3624                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.869   Customer #3625                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.870   Customer #3626                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.871   Customer #3628                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.872   Customer #3629                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.873   Customer #3631                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.874   Customer #3634                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.875   Customer #3635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.876   Customer #3638                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.877   Customer #3639                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.878   Customer #3645                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.879   Customer #3647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.880   Customer #3650                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.881   Customer #3651                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.882   Customer #3652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.883   Customer #3653                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.884   Customer #3654                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.885   Customer #3655                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.886   Customer #3656                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.887   Customer #3659                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.888   Customer #3663                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.889   Customer #3666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.890   Customer #3668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.891   Customer #3669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.892   Customer #3672                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.893   Customer #3673                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.894   Customer #3677                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.895   Customer #3679                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.896   Customer #3682                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.897   Customer #3685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.898   Customer #3687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.899   Customer #3688                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.900   Customer #3691                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.901   Customer #3693                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.902   Customer #3694                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.903   Customer #3697                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.904   Customer #3699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.905   Customer #3700                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.906   Customer #3701                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.907   Customer #3702                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.908   Customer #3703                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.909   Customer #3704                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.910   Customer #3705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.911   Customer #3707                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.912   Customer #3708                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.913   Customer #3710                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.914   Customer #3711                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.915   Customer #3712                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.916   Customer #3714                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.917   Customer #3717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.918   Customer #3720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.919   Customer #3721                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.920   Customer #3721                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.921   Customer #3722                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.922   Customer #3726                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.923   Customer #3728                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.924   Customer #3729                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.925   Customer #3730                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.926   Customer #3733                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.927   Customer #3734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.928   Customer #3735                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.929   Customer #3736                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.930   Customer #3740                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.931   Customer #3741                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.932   Customer #3742                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.933   Customer #3744                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.934   Customer #3746                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.935   Customer #3749                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.936   Customer #3750                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.937   Customer #3760                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.938   Customer #3766                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.939   Customer #3767                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.940   Customer #3771                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.941   Customer #3774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.942   Customer #3775                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.943   Customer #3777                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.944   Customer #3778                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.945   Customer #3779                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.946   Customer #3781                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.947   Customer #3783                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.948   Customer #3784                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.949   Customer #3786                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.950   Customer #3787                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.951   Customer #3788                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.952   Customer #3789                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.953   Customer #3791                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.954   Customer #3792                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.955   Customer #3793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.956   Customer #3794                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.957   Customer #3795                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.958   Customer #3797                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.959   Customer #3802                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.960   Customer #3804                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.961   Customer #3808                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.962   Customer #3809                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.963   Customer #3811                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.964   Customer #3814                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.965   Customer #3815                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.966   Customer #3827                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.967   Customer #3828                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.968   Customer #3829                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.969   Customer #3830                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.970   Customer #3831                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.971   Customer #3834                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.972   Customer #3835                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
      ID          Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
    3.973   Customer #3837                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.974   Customer #3839                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.975   Customer #3841                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.976   Customer #3844                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.977   Customer #3845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.978   Customer #3846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.979   Customer #3849                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.980   Customer #3851                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.981   Customer #3855                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.982   Customer #3858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.983   Customer #3859                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.984   Customer #3860                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.985   Customer #3864                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.986   Customer #3866                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.987   Customer #3868                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.988   Customer #3870                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.989   Customer #3874                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.990   Customer #3875                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.991   Customer #3876                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.992   Customer #3877                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.993   Customer #3880                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.994   Customer #3881                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.995   Customer #3883                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.996   Customer #3890                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.997   Customer #3894                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.998   Customer #3895                      Address on File                                                                                             Customer             X             X             X                       Undetermined
    3.999   Customer #3896                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1000   Customer #3904                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1001   Customer #3905                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1002   Customer #3905                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1003   Customer #3906                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1004   Customer #3908                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1005   Customer #3909                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1006   Customer #3910                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1007   Customer #3918                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1008   Customer #3919                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1009   Customer #3920                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1010   Customer #3927                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1011   Customer #3928                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1012   Customer #3929                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1013   Customer #3931                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1014   Customer #3932                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1015   Customer #3933                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1016   Customer #3935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1017   Customer #3936                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1018   Customer #3938                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1019   Customer #3939                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1020   Customer #3940                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1021   Customer #3942                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1022   Customer #3945                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1023   Customer #3946                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1024   Customer #3948                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1025   Customer #3950                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1026   Customer #3951                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1027   Customer #3952                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1028   Customer #3955                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1029   Customer #3956                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1030   Customer #3958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1031   Customer #3960                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1032   Customer #3961                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1033   Customer #3965                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1034   Customer #3966                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1035   Customer #3969                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1036   Customer #3972                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1037   Customer #3983                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1038   Customer #3984                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1039   Customer #3985                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1040   Customer #3987                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1041   Customer #3988                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1042   Customer #3989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1043   Customer #3990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1044   Customer #3991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1045   Customer #3993                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1046   Customer #3994                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1047   Customer #3996                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1048   Customer #4000                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1049   Customer #4001                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1050   Customer #4002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1051   Customer #4003                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1052   Customer #4005                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1053   Customer #4009                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1054   Customer #4013                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1055   Customer #4016                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1056   Customer #4023                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1057   Customer #4024                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1058   Customer #4030                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1059   Customer #4032                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1060   Customer #4033                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1061   Customer #4034                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1062   Customer #4035                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1063   Customer #4040                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1064   Customer #4044                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1065   Customer #4050                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1066   Customer #4053                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1067   Customer #4054                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1068   Customer #4067                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1069   Customer #4070                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1070   Customer #4075                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1071   Customer #4076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1072   Customer #4077                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1073   Customer #4078                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1074   Customer #4079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1075   Customer #4082                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1076   Customer #4083                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1077   Customer #4083                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1078   Customer #4086                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1079   Customer #4088                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1080   Customer #4090                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1081   Customer #4093                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1082   Customer #4094                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1083   Customer #4095                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1084   Customer #4096                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1085   Customer #4097                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1086   Customer #4099                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1087   Customer #4106                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1088   Customer #4108                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1089   Customer #4113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1090   Customer #4115                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1091   Customer #4116                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1092   Customer #4120                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1093   Customer #4122                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1094   Customer #4124                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1095   Customer #4128                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1096   Customer #4129                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1097   Customer #4130                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1098   Customer #4131                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1099   Customer #4137                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1100   Customer #4141                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1101   Customer #4150                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1102   Customer #4154                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1103   Customer #4156                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1104   Customer #4160                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1105   Customer #4167                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1106   Customer #4169                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1107   Customer #4170                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1108   Customer #4172                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1109   Customer #4175                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1110   Customer #4178                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1111   Customer #4179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1112   Customer #4181                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1113   Customer #4182                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1114   Customer #4185                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1115   Customer #4186                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1116   Customer #4188                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1117   Customer #4189                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1118   Customer #4191                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1119   Customer #4194                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1120   Customer #4195                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1121   Customer #4200                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1122   Customer #4202                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1123   Customer #4204                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1124   Customer #4211                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1125   Customer #4213                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1126   Customer #4219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1127   Customer #4225                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1128   Customer #4228                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1129   Customer #4229                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1130   Customer #4230                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1131   Customer #4231                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1132   Customer #4233                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1133   Customer #4234                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1134   Customer #4237                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1135   Customer #4244                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1136   Customer #4246                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1137   Customer #4250                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1138   Customer #4252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1139   Customer #4253                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1140   Customer #4254                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1141   Customer #4258                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1142   Customer #4259                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1143   Customer #4260                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1144   Customer #4261                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1145   Customer #4263                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1146   Customer #4266                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1147   Customer #4276                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1148   Customer #4278                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1149   Customer #4279                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1150   Customer #4281                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1151   Customer #4283                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1152   Customer #4284                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1153   Customer #4285                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1154   Customer #4286                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1155   Customer #4288                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1156   Customer #4296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1157   Customer #4297                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1158   Customer #4298                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1159   Customer #4302                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1160   Customer #4305                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1161   Customer #4306                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1162   Customer #4307                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1163   Customer #4309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1164   Customer #4316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1165   Customer #4317                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1166   Customer #4321                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1167   Customer #4323                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1168   Customer #4325                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1169   Customer #4329                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1170   Customer #4330                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1171   Customer #4332                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1172   Customer #4335                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1173   Customer #4336                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1174   Customer #4337                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1175   Customer #4338                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1176   Customer #4339                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1177   Customer #4341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1178   Customer #4342                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1179   Customer #4343                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1180   Customer #4345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1181   Customer #4347                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1182   Customer #4348                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1183   Customer #4349                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1184   Customer #4350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1185   Customer #4351                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1186   Customer #4356                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1187   Customer #4363                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1188   Customer #4372                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1189   Customer #4374                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1190   Customer #4375                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1191   Customer #4376                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1192   Customer #4379                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1193   Customer #4380                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1194   Customer #4382                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1195   Customer #4383                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1196   Customer #4384                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1197   Customer #4385                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1198   Customer #4386                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1199   Customer #4388                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1200   Customer #4389                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1201   Customer #4391                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1202   Customer #4393                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1203   Customer #4394                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1204   Customer #4396                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1205   Customer #4397                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1206   Customer #4398                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1207   Customer #4401                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1208   Customer #4408                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1209   Customer #4410                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1210   Customer #4412                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1211   Customer #4413                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1212   Customer #4416                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1213   Customer #4418                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1214   Customer #4420                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1215   Customer #4428                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1216   Customer #4437                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1217   Customer #4438                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1218   Customer #4439                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1219   Customer #4444                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1220   Customer #4447                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1221   Customer #4452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1222   Customer #4460                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1223   Customer #4461                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1224   Customer #4466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1225   Customer #4467                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1226   Customer #4468                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1227   Customer #4469                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1228   Customer #4471                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1229   Customer #4475                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1230   Customer #4476                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1231   Customer #4477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1232   Customer #4482                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1233   Customer #4485                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1234   Customer #4488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1235   Customer #4489                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1236   Customer #4490                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1237   Customer #4493                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1238   Customer #4495                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1239   Customer #4497                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1240   Customer #4498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1241   Customer #4500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1242   Customer #4503                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1243   Customer #4512                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1244   Customer #4524                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1245   Customer #4527                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1246   Customer #4530                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1247   Customer #4531                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1248   Customer #4533                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1249   Customer #4541                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1250   Customer #4543                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1251   Customer #4544                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1252   Customer #4546                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1253   Customer #4553                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1254   Customer #4554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1255   Customer #4556                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1256   Customer #4569                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1257   Customer #4575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1258   Customer #4576                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1259   Customer #4581                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1260   Customer #4583                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1261   Customer #4584                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1262   Customer #4591                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1263   Customer #4594                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1264   Customer #4596                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1265   Customer #4597                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1266   Customer #4598                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1267   Customer #4599                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1268   Customer #4600                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1269   Customer #4602                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1270   Customer #4609                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1271   Customer #4613                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1272   Customer #4614                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1273   Customer #4617                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1274   Customer #4618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1275   Customer #4621                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1276   Customer #4624                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1277   Customer #4625                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1278   Customer #4626                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1279   Customer #4633                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1280   Customer #4635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1281   Customer #4636                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1282   Customer #4637                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1283   Customer #4638                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1284   Customer #4642                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1285   Customer #4644                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1286   Customer #4648                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1287   Customer #4652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1288   Customer #4654                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1289   Customer #4656                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1290   Customer #4657                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1291   Customer #4659                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1292   Customer #4661                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1293   Customer #4663                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1294   Customer #4666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1295   Customer #4667                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1296   Customer #4668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1297   Customer #4671                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1298   Customer #4672                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1299   Customer #4673                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1300   Customer #4674                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1301   Customer #4677                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1302   Customer #4678                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1303   Customer #4680                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1304   Customer #4682                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1305   Customer #4683                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1306   Customer #4685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1307   Customer #4687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1308   Customer #4688                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1309   Customer #4689                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1310   Customer #4690                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1311   Customer #4691                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1312   Customer #4692                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1313   Customer #4694                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1314   Customer #4695                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1315   Customer #4696                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1316   Customer #4697                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1317   Customer #4701                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1318   Customer #4703                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1319   Customer #4706                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1320   Customer #4708                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1321   Customer #4709                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1322   Customer #4711                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1323   Customer #4716                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1324   Customer #4717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1325   Customer #4718                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1326   Customer #4720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1327   Customer #4721                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1328   Customer #4722                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1329   Customer #4724                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1330   Customer #4728                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1331   Customer #4729                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1332   Customer #4731                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1333   Customer #4733                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1334   Customer #4734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1335   Customer #4736                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1336   Customer #4737                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1337   Customer #4739                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1338   Customer #4743                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1339   Customer #4749                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1340   Customer #4753                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1341   Customer #4756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1342   Customer #4758                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1343   Customer #4759                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1344   Customer #4762                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1345   Customer #4763                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1346   Customer #4763                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1347   Customer #4764                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1348   Customer #4765                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1349   Customer #4766                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1350   Customer #4767                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1351   Customer #4769                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1352   Customer #4773                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1353   Customer #4774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1354   Customer #4775                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1355   Customer #4776                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1356   Customer #4777                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1357   Customer #4778                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1358   Customer #4779                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1359   Customer #4780                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1360   Customer #4781                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1361   Customer #4782                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1362   Customer #4783                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1363   Customer #4785                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1364   Customer #4789                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1365   Customer #4791                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1366   Customer #4792                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1367   Customer #4793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1368   Customer #4797                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1369   Customer #4798                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1370   Customer #4799                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1371   Customer #4801                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1372   Customer #4802                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1373   Customer #4807                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1374   Customer #4808                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1375   Customer #4810                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1376   Customer #4812                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1377   Customer #4814                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1378   Customer #4815                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1379   Customer #4816                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1380   Customer #4818                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1381   Customer #4823                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1382   Customer #4824                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1383   Customer #4831                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1384   Customer #4835                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1385   Customer #4836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1386   Customer #4836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1387   Customer #4836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1388   Customer #4842                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1389   Customer #4843                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1390   Customer #4845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1391   Customer #4846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1392   Customer #4849                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1393   Customer #4850                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1394   Customer #4851                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1395   Customer #4856                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1396   Customer #4858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1397   Customer #4861                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1398   Customer #4862                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1399   Customer #4863                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1400   Customer #4864                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1401   Customer #4865                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1402   Customer #4867                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1403   Customer #4868                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1404   Customer #4869                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1405   Customer #4870                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1406   Customer #4871                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1407   Customer #4873                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1408   Customer #4874                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1409   Customer #4877                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1410   Customer #4880                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1411   Customer #4881                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1412   Customer #4882                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1413   Customer #4883                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1414   Customer #4885                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1415   Customer #4892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1416   Customer #4893                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1417   Customer #4894                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1418   Customer #4895                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1419   Customer #4897                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1420   Customer #4898                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1421   Customer #4899                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1422   Customer #4901                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1423   Customer #4902                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1424   Customer #4905                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1425   Customer #4907                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1426   Customer #4909                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1427   Customer #4910                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1428   Customer #4913                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1429   Customer #4914                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1430   Customer #4915                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1431   Customer #4920                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1432   Customer #4921                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1433   Customer #4922                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1434   Customer #4923                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1435   Customer #4924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1436   Customer #4925                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1437   Customer #4926                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1438   Customer #4927                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1439   Customer #4929                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1440   Customer #4930                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1441   Customer #4932                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1442   Customer #4934                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1443   Customer #4935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1444   Customer #4938                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1445   Customer #4939                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1446   Customer #4942                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1447   Customer #4945                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1448   Customer #4946                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1449   Customer #4948                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1450   Customer #4949                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1451   Customer #4951                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1452   Customer #4952                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1453   Customer #4954                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1454   Customer #4957                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1455   Customer #4958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1456   Customer #4962                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1457   Customer #4967                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1458   Customer #4970                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1459   Customer #4972                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1460   Customer #4973                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1461   Customer #4980                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1462   Customer #4983                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1463   Customer #4984                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1464   Customer #4986                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1465   Customer #4989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1466   Customer #4990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1467   Customer #4991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1468   Customer #4992                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1469   Customer #4993                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1470   Customer #4996                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1471   Customer #4998                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1472   Customer #4999                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1473   Customer #5001                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1474   Customer #5008                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1475   Customer #5009                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1476   Customer #5011                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1477   Customer #5017                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1478   Customer #5020                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1479   Customer #5021                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1480   Customer #5022                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1481   Customer #5025                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1482   Customer #5030                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1483   Customer #5040                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1484   Customer #5044                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1485   Customer #5049                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1486   Customer #5051                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1487   Customer #5054                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1488   Customer #5057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1489   Customer #5058                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1490   Customer #5059                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1491   Customer #5060                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1492   Customer #5061                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1493   Customer #5063                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1494   Customer #5065                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1495   Customer #5067                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1496   Customer #5070                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1497   Customer #5073                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1498   Customer #5074                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1499   Customer #5076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1500   Customer #5077                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1501   Customer #5078                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1502   Customer #5079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1503   Customer #5080                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1504   Customer #5081                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1505   Customer #5084                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1506   Customer #5085                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1507   Customer #5090                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1508   Customer #5095                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1509   Customer #5097                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1510   Customer #5102                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1511   Customer #5104                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1512   Customer #5105                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1513   Customer #5106                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1514   Customer #5107                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1515   Customer #5108                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1516   Customer #5113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1517   Customer #5114                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1518   Customer #5116                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1519   Customer #5126                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1520   Customer #5138                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1521   Customer #5141                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1522   Customer #5143                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1523   Customer #5144                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1524   Customer #5145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1525   Customer #5148                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1526   Customer #5157                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1527   Customer #5159                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1528   Customer #5160                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1529   Customer #5161                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1530   Customer #5163                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1531   Customer #5165                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1532   Customer #5168                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1533   Customer #5170                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1534   Customer #5171                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1535   Customer #5172                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1536   Customer #5174                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1537   Customer #5175                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1538   Customer #5177                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1539   Customer #5179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1540   Customer #5181                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1541   Customer #5182                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1542   Customer #5183                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1543   Customer #5186                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1544   Customer #5190                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1545   Customer #5194                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1546   Customer #5197                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1547   Customer #5199                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1548   Customer #5201                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1549   Customer #5202                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1550   Customer #5202                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1551   Customer #5203                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1552   Customer #5204                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1553   Customer #5205                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1554   Customer #5206                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1555   Customer #5210                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1556   Customer #5211                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1557   Customer #5213                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1558   Customer #5216                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1559   Customer #5218                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1560   Customer #5219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1561   Customer #5221                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1562   Customer #5222                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1563   Customer #5225                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1564   Customer #5226                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1565   Customer #5227                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1566   Customer #5228                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1567   Customer #5231                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1568   Customer #5234                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1569   Customer #5239                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1570   Customer #5241                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1571   Customer #5243                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1572   Customer #5244                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1573   Customer #5245                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1574   Customer #5247                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1575   Customer #5248                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1576   Customer #5250                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1577   Customer #5251                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1578   Customer #5252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1579   Customer #5253                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1580   Customer #5258                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1581   Customer #5260                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1582   Customer #5262                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1583   Customer #5264                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1584   Customer #5266                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1585   Customer #5269                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1586   Customer #5270                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1587   Customer #5272                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1588   Customer #5273                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1589   Customer #5274                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1590   Customer #5275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1591   Customer #5278                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1592   Customer #5282                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1593   Customer #5289                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1594   Customer #5292                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1595   Customer #5294                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1596   Customer #5296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1597   Customer #5302                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1598   Customer #5303                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1599   Customer #5305                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1600   Customer #5308                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1601   Customer #5309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1602   Customer #5312                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1603   Customer #5316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1604   Customer #5319                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1605   Customer #5320                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1606   Customer #5321                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1607   Customer #5322                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1608   Customer #5323                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1609   Customer #5326                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1610   Customer #5329                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1611   Customer #5330                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1612   Customer #5334                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1613   Customer #5335                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1614   Customer #5336                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1615   Customer #5339                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1616   Customer #5340                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1617   Customer #5341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1618   Customer #5342                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1619   Customer #5343                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1620   Customer #5345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1621   Customer #5346                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1622   Customer #5349                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1623   Customer #5350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1624   Customer #5351                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1625   Customer #5352                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1626   Customer #5354                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1627   Customer #5356                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1628   Customer #5360                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1629   Customer #5361                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1630   Customer #5366                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1631   Customer #5367                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1632   Customer #5370                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1633   Customer #5373                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1634   Customer #5375                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1635   Customer #5378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1636   Customer #5382                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1637   Customer #5384                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1638   Customer #5385                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1639   Customer #5386                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1640   Customer #5391                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1641   Customer #5393                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1642   Customer #5394                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1643   Customer #5405                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1644   Customer #5406                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1645   Customer #5409                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1646   Customer #5410                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1647   Customer #5411                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1648   Customer #5419                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1649   Customer #5421                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1650   Customer #5424                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1651   Customer #5427                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1652   Customer #5428                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1653   Customer #5440                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1654   Customer #5441                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1655   Customer #5443                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1656   Customer #5444                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1657   Customer #5446                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1658   Customer #5447                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1659   Customer #5448                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1660   Customer #5449                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1661   Customer #5451                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1662   Customer #5453                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1663   Customer #5457                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1664   Customer #5458                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1665   Customer #5460                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1666   Customer #5461                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1667   Customer #5462                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1668   Customer #5463                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1669   Customer #5464                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1670   Customer #5476                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1671   Customer #5479                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1672   Customer #5480                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1673   Customer #5483                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1674   Customer #5484                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1675   Customer #5486                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1676   Customer #5486                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1677   Customer #5487                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1678   Customer #5488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1679   Customer #5495                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1680   Customer #5499                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1681   Customer #5500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1682   Customer #5501                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1683   Customer #5502                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1684   Customer #5504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1685   Customer #5506                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1686   Customer #5508                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1687   Customer #5510                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1688   Customer #5513                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1689   Customer #5515                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1690   Customer #5521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1691   Customer #5524                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1692   Customer #5526                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1693   Customer #5532                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1694   Customer #5534                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1695   Customer #5536                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1696   Customer #5537                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1697   Customer #5539                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1698   Customer #5540                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1699   Customer #5544                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1700   Customer #5545                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1701   Customer #5554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1702   Customer #5558                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1703   Customer #5560                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1704   Customer #5563                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1705   Customer #5568                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1706   Customer #5575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1707   Customer #5575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1708   Customer #5576                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1709   Customer #5578                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1710   Customer #5579                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1711   Customer #5584                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1712   Customer #5586                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1713   Customer #5587                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1714   Customer #5592                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1715   Customer #5593                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1716   Customer #5595                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1717   Customer #5597                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1718   Customer #5601                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1719   Customer #5602                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1720   Customer #5603                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1721   Customer #5607                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1722   Customer #5609                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1723   Customer #5614                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1724   Customer #5615                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1725   Customer #5616                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1726   Customer #5620                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1727   Customer #5622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1728   Customer #5623                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1729   Customer #5624                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1730   Customer #5628                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1731   Customer #5629                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1732   Customer #5631                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1733   Customer #5634                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1734   Customer #5636                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1735   Customer #5645                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1736   Customer #5647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1737   Customer #5649                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1738   Customer #5652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1739   Customer #5653                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1740   Customer #5654                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1741   Customer #5655                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1742   Customer #5662                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1743   Customer #5663                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1744   Customer #5664                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1745   Customer #5666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1746   Customer #5668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1747   Customer #5669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1748   Customer #5678                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1749   Customer #5684                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1750   Customer #5691                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1751   Customer #5694                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1752   Customer #5695                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1753   Customer #5699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1754   Customer #5700                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1755   Customer #5702                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1756   Customer #5703                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1757   Customer #5704                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1758   Customer #5707                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1759   Customer #5707                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1760   Customer #5710                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1761   Customer #5711                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1762   Customer #5714                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1763   Customer #5717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1764   Customer #5718                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1765   Customer #5724                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1766   Customer #5726                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1767   Customer #5727                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1768   Customer #5732                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1769   Customer #5734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1770   Customer #5740                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1771   Customer #5745                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1772   Customer #5746                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1773   Customer #5750                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1774   Customer #5756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1775   Customer #5756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1776   Customer #5757                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1777   Customer #5762                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1778   Customer #5767                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1779   Customer #5769                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1780   Customer #5770                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1781   Customer #5770                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1782   Customer #5774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1783   Customer #5775                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1784   Customer #5782                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1785   Customer #5783                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1786   Customer #5784                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1787   Customer #5793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1788   Customer #5795                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1789   Customer #5799                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1790   Customer #5800                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1791   Customer #5803                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1792   Customer #5804                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1793   Customer #5806                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1794   Customer #5808                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1795   Customer #5809                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1796   Customer #5810                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1797   Customer #5813                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1798   Customer #5815                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1799   Customer #5818                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1800   Customer #5820                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1801   Customer #5821                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1802   Customer #5823                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1803   Customer #5827                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1804   Customer #5833                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1805   Customer #5834                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1806   Customer #5835                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1807   Customer #5836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1808   Customer #5838                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1809   Customer #5840                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1810   Customer #5841                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1811   Customer #5842                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1812   Customer #5843                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1813   Customer #5845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1814   Customer #5849                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1815   Customer #5853                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1816   Customer #5856                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1817   Customer #5857                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1818   Customer #5863                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1819   Customer #5866                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1820   Customer #5868                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1821   Customer #5869                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1822   Customer #5870                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1823   Customer #5871                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1824   Customer #5876                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1825   Customer #5880                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1826   Customer #5890                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1827   Customer #5892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1828   Customer #5893                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1829   Customer #5894                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1830   Customer #5898                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1831   Customer #5899                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1832   Customer #5900                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1833   Customer #5901                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1834   Customer #5903                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1835   Customer #5904                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1836   Customer #5907                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1837   Customer #5909                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1838   Customer #5910                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1839   Customer #5914                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1840   Customer #5915                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1841   Customer #5916                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1842   Customer #5924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1843   Customer #5930                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1844   Customer #5933                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1845   Customer #5937                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1846   Customer #5940                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1847   Customer #5942                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1848   Customer #5947                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1849   Customer #5948                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1850   Customer #5950                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1851   Customer #5953                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1852   Customer #5955                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1853   Customer #5959                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1854   Customer #5962                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1855   Customer #5963                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1856   Customer #5968                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1857   Customer #5969                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1858   Customer #5970                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1859   Customer #5971                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1860   Customer #5973                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1861   Customer #5974                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1862   Customer #5975                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1863   Customer #5978                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1864   Customer #5981                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1865   Customer #5983                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1866   Customer #5984                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1867   Customer #5987                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1868   Customer #5988                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1869   Customer #5991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1870   Customer #5994                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1871   Customer #5995                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1872   Customer #5996                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1873   Customer #5997                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1874   Customer #5999                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1875   Customer #6002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1876   Customer #6004                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1877   Customer #6012                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1878   Customer #6014                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1879   Customer #6015                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1880   Customer #6017                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1881   Customer #6019                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1882   Customer #6025                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1883   Customer #6028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1884   Customer #6032                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1885   Customer #6037                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1886   Customer #6039                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1887   Customer #6040                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1888   Customer #6042                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1889   Customer #6043                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1890   Customer #6044                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1891   Customer #6045                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1892   Customer #6048                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1893   Customer #6049                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1894   Customer #6055                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1895   Customer #6056                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1896   Customer #6058                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1897   Customer #6064                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1898   Customer #6065                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1899   Customer #6066                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1900   Customer #6068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1901   Customer #6071                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1902   Customer #6072                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1903   Customer #6073                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1904   Customer #6074                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1905   Customer #6076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1906   Customer #6077                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1907   Customer #6078                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1908   Customer #6079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1909   Customer #6081                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1910   Customer #6082                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1911   Customer #6083                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1912   Customer #6084                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1913   Customer #6088                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1914   Customer #6089                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1915   Customer #6091                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1916   Customer #6093                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1917   Customer #6097                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1918   Customer #6098                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1919   Customer #6099                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1920   Customer #6100                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1921   Customer #6104                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1922   Customer #6107                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1923   Customer #6112                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1924   Customer #6113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1925   Customer #6115                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1926   Customer #6118                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1927   Customer #6120                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1928   Customer #6121                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1929   Customer #6123                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1930   Customer #6124                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1931   Customer #6125                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1932   Customer #6129                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1933   Customer #6133                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1934   Customer #6136                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1935   Customer #6137                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1936   Customer #6139                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1937   Customer #6143                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1938   Customer #6144                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1939   Customer #6145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1940   Customer #6146                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1941   Customer #6148                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1942   Customer #6149                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1943   Customer #6150                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1944   Customer #6155                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1945   Customer #6158                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1946   Customer #6159                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1947   Customer #6171                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.1948   Customer #6172                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1949   Customer #6179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1950   Customer #6181                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1951   Customer #6182                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1952   Customer #6183                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1953   Customer #6185                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1954   Customer #6188                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1955   Customer #6189                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1956   Customer #6190                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1957   Customer #6191                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1958   Customer #6192                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1959   Customer #6193                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1960   Customer #6194                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1961   Customer #6197                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1962   Customer #6199                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1963   Customer #6203                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1964   Customer #6205                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1965   Customer #6206                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1966   Customer #6207                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1967   Customer #6208                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1968   Customer #6210                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1969   Customer #6212                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1970   Customer #6216                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1971   Customer #6221                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1972   Customer #6222                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1973   Customer #6225                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1974   Customer #6226                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1975   Customer #6227                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1976   Customer #6229                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1977   Customer #6238                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1978   Customer #6239                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1979   Customer #6241                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1980   Customer #6244                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1981   Customer #6246                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1982   Customer #6247                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1983   Customer #6248                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1984   Customer #6250                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1985   Customer #6251                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1986   Customer #6252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1987   Customer #6254                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1988   Customer #6256                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1989   Customer #6257                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1990   Customer #6262                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1991   Customer #6265                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1992   Customer #6269                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1993   Customer #6270                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1994   Customer #6271                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1995   Customer #6273                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1996   Customer #6274                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1997   Customer #6275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1998   Customer #6277                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.1999   Customer #6278                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2000   Customer #6281                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2001   Customer #6286                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2002   Customer #6289                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2003   Customer #6291                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2004   Customer #6293                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2005   Customer #6294                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2006   Customer #6296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2007   Customer #6297                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2008   Customer #6298                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2009   Customer #6299                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2010   Customer #6300                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2011   Customer #6302                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2012   Customer #6304                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2013   Customer #6305                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2014   Customer #6307                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2015   Customer #6308                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2016   Customer #6309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2017   Customer #6312                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2018   Customer #6313                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2019   Customer #6326                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2020   Customer #6327                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2021   Customer #6330                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2022   Customer #6337                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2023   Customer #6343                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2024   Customer #6344                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2025   Customer #6348                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2026   Customer #6352                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2027   Customer #6354                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2028   Customer #6355                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2029   Customer #6358                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2030   Customer #6359                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2031   Customer #6365                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2032   Customer #6366                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2033   Customer #6369                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2034   Customer #6370                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2035   Customer #6372                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2036   Customer #6373                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2037   Customer #6374                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2038   Customer #6375                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2039   Customer #6376                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2040   Customer #6377                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2041   Customer #6378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2042   Customer #6379                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2043   Customer #6383                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2044   Customer #6389                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2045   Customer #6390                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2046   Customer #6393                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2047   Customer #6394                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2048   Customer #6395                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2049   Customer #6396                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2050   Customer #6400                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2051   Customer #6401                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2052   Customer #6409                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2053   Customer #6410                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2054   Customer #6416                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2055   Customer #6421                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2056   Customer #6423                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2057   Customer #6428                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2058   Customer #6429                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2059   Customer #6435                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2060   Customer #6439                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2061   Customer #6443                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2062   Customer #6445                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2063   Customer #6449                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2064   Customer #6450                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2065   Customer #6452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2066   Customer #6453                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2067   Customer #6454                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2068   Customer #6456                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2069   Customer #6465                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2070   Customer #6466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2071   Customer #6467                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2072   Customer #6469                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2073   Customer #6470                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2074   Customer #6472                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2075   Customer #6475                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2076   Customer #6477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2077   Customer #6479                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2078   Customer #6480                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2079   Customer #6481                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2080   Customer #6481                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2081   Customer #6483                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2082   Customer #6485                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2083   Customer #6486                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2084   Customer #6490                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2085   Customer #6497                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2086   Customer #6498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2087   Customer #6499                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2088   Customer #6501                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2089   Customer #6504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2090   Customer #6506                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2091   Customer #6514                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2092   Customer #6521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2093   Customer #6522                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2094   Customer #6526                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2095   Customer #6527                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2096   Customer #6529                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2097   Customer #6531                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2098   Customer #6536                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2099   Customer #6539                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2100   Customer #6540                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2101   Customer #6541                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2102   Customer #6542                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2103   Customer #6546                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2104   Customer #6547                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2105   Customer #6548                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2106   Customer #6549                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2107   Customer #6552                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2108   Customer #6553                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2109   Customer #6555                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2110   Customer #6556                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2111   Customer #6557                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2112   Customer #6558                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2113   Customer #6559                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2114   Customer #6561                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2115   Customer #6562                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2116   Customer #6563                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2117   Customer #6564                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2118   Customer #6565                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2119   Customer #6566                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2120   Customer #6567                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2121   Customer #6568                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2122   Customer #6569                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2123   Customer #6571                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2124   Customer #6574                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2125   Customer #6575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2126   Customer #6577                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2127   Customer #6580                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2128   Customer #6582                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2129   Customer #6586                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2130   Customer #6591                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2131   Customer #6592                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2132   Customer #6596                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2133   Customer #6597                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2134   Customer #6600                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2135   Customer #6601                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2136   Customer #6602                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2137   Customer #6609                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2138   Customer #6610                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2139   Customer #6611                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2140   Customer #6613                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2141   Customer #6618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2142   Customer #6620                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2143   Customer #6621                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2144   Customer #6622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2145   Customer #6623                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2146   Customer #6625                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2147   Customer #6628                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2148   Customer #6629                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2149   Customer #6632                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2150   Customer #6635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2151   Customer #6640                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2152   Customer #6641                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2153   Customer #6642                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2154   Customer #6643                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2155   Customer #6644                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2156   Customer #6645                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2157   Customer #6647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2158   Customer #6649                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2159   Customer #6652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2160   Customer #6653                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2161   Customer #6656                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2162   Customer #6657                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2163   Customer #6659                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2164   Customer #6660                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2165   Customer #6666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2166   Customer #6668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2167   Customer #6669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2168   Customer #6670                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2169   Customer #6672                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2170   Customer #6674                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2171   Customer #6681                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2172   Customer #6686                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2173   Customer #6687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2174   Customer #6688                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2175   Customer #6689                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2176   Customer #6692                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2177   Customer #6693                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2178   Customer #6694                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2179   Customer #6697                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2180   Customer #6699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2181   Customer #6700                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2182   Customer #6702                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2183   Customer #6718                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2184   Customer #6719                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2185   Customer #6720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2186   Customer #6722                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2187   Customer #6723                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2188   Customer #6729                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2189   Customer #6731                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2190   Customer #6733                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2191   Customer #6735                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2192   Customer #6736                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2193   Customer #6737                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2194   Customer #6739                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2195   Customer #6741                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2196   Customer #6743                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2197   Customer #6745                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2198   Customer #6746                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2199   Customer #6749                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2200   Customer #6750                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2201   Customer #6752                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2202   Customer #6754                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2203   Customer #6755                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2204   Customer #6756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2205   Customer #6762                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2206   Customer #6763                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2207   Customer #6765                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2208   Customer #6768                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2209   Customer #6771                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2210   Customer #6774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2211   Customer #6775                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2212   Customer #6778                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2213   Customer #6782                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2214   Customer #6785                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2215   Customer #6786                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2216   Customer #6789                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2217   Customer #6792                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2218   Customer #6793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2219   Customer #6795                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2220   Customer #6798                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2221   Customer #6801                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2222   Customer #6805                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2223   Customer #6807                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2224   Customer #6808                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2225   Customer #6818                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2226   Customer #6819                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2227   Customer #6820                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2228   Customer #6822                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2229   Customer #6828                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2230   Customer #6829                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2231   Customer #6832                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2232   Customer #6833                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2233   Customer #6836                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2234   Customer #6837                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2235   Customer #6841                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2236   Customer #6845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2237   Customer #6846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2238   Customer #6853                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2239   Customer #6854                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2240   Customer #6857                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2241   Customer #6858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2242   Customer #6861                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2243   Customer #6862                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2244   Customer #6866                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2245   Customer #6867                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2246   Customer #6873                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2247   Customer #6876                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2248   Customer #6881                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2249   Customer #6882                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2250   Customer #6883                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2251   Customer #6884                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2252   Customer #6887                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2253   Customer #6890                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2254   Customer #6892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2255   Customer #6893                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2256   Customer #6894                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2257   Customer #6900                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2258   Customer #6906                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2259   Customer #6908                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2260   Customer #6909                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2261   Customer #6915                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2262   Customer #6918                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2263   Customer #6921                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2264   Customer #6922                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2265   Customer #6924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2266   Customer #6929                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2267   Customer #6930                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2268   Customer #6932                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2269   Customer #6933                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2270   Customer #6935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2271   Customer #6943                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2272   Customer #6944                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2273   Customer #6948                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2274   Customer #6949                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2275   Customer #6950                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2276   Customer #6954                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2277   Customer #6957                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2278   Customer #6958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2279   Customer #6960                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2280   Customer #6961                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2281   Customer #6962                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2282   Customer #6964                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2283   Customer #6966                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2284   Customer #6967                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2285   Customer #6968                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2286   Customer #6977                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2287   Customer #6978                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2288   Customer #6979                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2289   Customer #6980                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2290   Customer #6982                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2291   Customer #6986                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2292   Customer #6990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2293   Customer #6991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2294   Customer #7000                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2295   Customer #7002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2296   Customer #7014                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2297   Customer #7017                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2298   Customer #7021                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2299   Customer #7025                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2300   Customer #7028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2301   Customer #7029                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2302   Customer #7034                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2303   Customer #7035                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2304   Customer #7037                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2305   Customer #7038                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2306   Customer #7041                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2307   Customer #7042                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2308   Customer #7046                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2309   Customer #7047                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2310   Customer #7048                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2311   Customer #7049                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2312   Customer #7051                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2313   Customer #7052                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2314   Customer #7053                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2315   Customer #7054                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2316   Customer #7055                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2317   Customer #7056                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2318   Customer #7057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2319   Customer #7060                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2320   Customer #7061                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2321   Customer #7067                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2322   Customer #7069                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2323   Customer #7074                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2324   Customer #7075                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2325   Customer #7076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2326   Customer #7079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2327   Customer #7082                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2328   Customer #7084                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2329   Customer #7088                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2330   Customer #7092                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2331   Customer #7094                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2332   Customer #7097                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2333   Customer #7099                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2334   Customer #7101                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2335   Customer #7102                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2336   Customer #7108                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2337   Customer #7109                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2338   Customer #7110                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2339   Customer #7111                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2340   Customer #7112                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2341   Customer #7113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2342   Customer #7119                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2343   Customer #7120                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2344   Customer #7121                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2345   Customer #7122                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2346   Customer #7123                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2347   Customer #7127                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2348   Customer #7131                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2349   Customer #7136                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2350   Customer #7137                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2351   Customer #7139                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2352   Customer #7142                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2353   Customer #7144                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2354   Customer #7145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2355   Customer #7146                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2356   Customer #7148                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2357   Customer #7152                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2358   Customer #7153                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2359   Customer #7163                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2360   Customer #7168                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2361   Customer #7170                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2362   Customer #7171                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2363   Customer #7172                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2364   Customer #7174                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2365   Customer #7175                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2366   Customer #7176                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2367   Customer #7182                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2368   Customer #7184                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2369   Customer #7188                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2370   Customer #7193                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2371   Customer #7194                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2372   Customer #7196                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2373   Customer #7198                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2374   Customer #7199                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2375   Customer #7207                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2376   Customer #7210                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2377   Customer #7211                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2378   Customer #7212                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2379   Customer #7213                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2380   Customer #7214                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2381   Customer #7215                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2382   Customer #7217                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2383   Customer #7218                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2384   Customer #7219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2385   Customer #7221                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2386   Customer #7222                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2387   Customer #7223                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2388   Customer #7227                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2389   Customer #7229                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2390   Customer #7232                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2391   Customer #7237                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2392   Customer #7238                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2393   Customer #7239                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2394   Customer #7243                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2395   Customer #7246                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2396   Customer #7253                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2397   Customer #7254                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2398   Customer #7255                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2399   Customer #7256                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2400   Customer #7257                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2401   Customer #7260                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2402   Customer #7261                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2403   Customer #7263                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2404   Customer #7266                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2405   Customer #7269                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2406   Customer #7272                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2407   Customer #7273                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2408   Customer #7275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2409   Customer #7278                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2410   Customer #7286                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2411   Customer #7287                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2412   Customer #7289                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2413   Customer #7290                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2414   Customer #7296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2415   Customer #7300                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2416   Customer #7302                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2417   Customer #7305                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2418   Customer #7308                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2419   Customer #7309                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2420   Customer #7311                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2421   Customer #7322                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2422   Customer #7325                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2423   Customer #7326                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2424   Customer #7330                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2425   Customer #7333                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2426   Customer #7335                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2427   Customer #7339                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2428   Customer #7340                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2429   Customer #7341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2430   Customer #7343                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2431   Customer #7344                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2432   Customer #7345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2433   Customer #7348                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2434   Customer #7350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2435   Customer #7352                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2436   Customer #7354                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2437   Customer #7358                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2438   Customer #7362                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2439   Customer #7365                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2440   Customer #7366                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2441   Customer #7367                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2442   Customer #7369                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2443   Customer #7370                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2444   Customer #7371                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2445   Customer #7372                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2446   Customer #7373                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2447   Customer #7377                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2448   Customer #7378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2449   Customer #7383                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2450   Customer #7385                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2451   Customer #7386                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2452   Customer #7387                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2453   Customer #7394                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2454   Customer #7396                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2455   Customer #7399                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2456   Customer #7403                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2457   Customer #7410                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2458   Customer #7413                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2459   Customer #7415                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2460   Customer #7416                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2461   Customer #7417                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2462   Customer #7421                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2463   Customer #7424                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2464   Customer #7425                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2465   Customer #7427                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2466   Customer #7432                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2467   Customer #7433                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2468   Customer #7435                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2469   Customer #7436                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2470   Customer #7437                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2471   Customer #7438                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2472   Customer #7439                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2473   Customer #7444                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2474   Customer #7451                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2475   Customer #7452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2476   Customer #7460                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2477   Customer #7461                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2478   Customer #7462                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2479   Customer #7465                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2480   Customer #7466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2481   Customer #7467                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2482   Customer #7469                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2483   Customer #7471                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2484   Customer #7474                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2485   Customer #7475                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2486   Customer #7476                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2487   Customer #7477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2488   Customer #7478                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2489   Customer #7479                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2490   Customer #7481                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2491   Customer #7482                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2492   Customer #7488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2493   Customer #7491                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2494   Customer #7497                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2495   Customer #7498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2496   Customer #7500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2497   Customer #7501                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2498   Customer #7503                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2499   Customer #7504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2500   Customer #7505                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2501   Customer #7507                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2502   Customer #7513                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2503   Customer #7523                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2504   Customer #7526                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2505   Customer #7531                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2506   Customer #7540                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2507   Customer #7542                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2508   Customer #7543                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2509   Customer #7547                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2510   Customer #7548                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2511   Customer #7549                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2512   Customer #7550                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2513   Customer #7554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2514   Customer #7561                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2515   Customer #7567                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2516   Customer #7568                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2517   Customer #7570                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2518   Customer #7572                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2519   Customer #7579                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2520   Customer #7580                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2521   Customer #7588                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2522   Customer #7590                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2523   Customer #7591                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2524   Customer #7592                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2525   Customer #7598                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2526   Customer #7601                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2527   Customer #7603                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2528   Customer #7608                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2529   Customer #7609                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2530   Customer #7610                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2531   Customer #7613                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2532   Customer #7616                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2533   Customer #7618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2534   Customer #7622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2535   Customer #7625                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2536   Customer #7632                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2537   Customer #7634                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2538   Customer #7635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2539   Customer #7642                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2540   Customer #7643                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2541   Customer #7645                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2542   Customer #7648                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2543   Customer #7649                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2544   Customer #7650                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2545   Customer #7655                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2546   Customer #7656                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2547   Customer #7658                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2548   Customer #7668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2549   Customer #7669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2550   Customer #7678                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2551   Customer #7683                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2552   Customer #7685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2553   Customer #7686                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2554   Customer #7691                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2555   Customer #7693                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2556   Customer #7696                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2557   Customer #7699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2558   Customer #7703                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2559   Customer #7705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2560   Customer #7706                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2561   Customer #7712                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2562   Customer #7714                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2563   Customer #7715                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2564   Customer #7717                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2565   Customer #7718                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2566   Customer #7720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2567   Customer #7721                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2568   Customer #7728                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2569   Customer #7729                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2570   Customer #7732                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2571   Customer #7734                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2572   Customer #7741                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2573   Customer #7742                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2574   Customer #7743                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2575   Customer #7746                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2576   Customer #7751                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2577   Customer #7755                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2578   Customer #7756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2579   Customer #7765                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2580   Customer #7768                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2581   Customer #7770                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2582   Customer #7776                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2583   Customer #7784                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2584   Customer #7785                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2585   Customer #7788                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2586   Customer #7793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2587   Customer #7797                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2588   Customer #7802                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2589   Customer #7805                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2590   Customer #7811                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2591   Customer #7825                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2592   Customer #7832                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2593   Customer #7834                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2594   Customer #7844                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2595   Customer #7845                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2596   Customer #7846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2597   Customer #7847                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2598   Customer #7848                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2599   Customer #7849                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2600   Customer #7850                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2601   Customer #7852                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2602   Customer #7854                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2603   Customer #7855                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2604   Customer #7857                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2605   Customer #7858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2606   Customer #7859                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2607   Customer #7863                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2608   Customer #7865                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2609   Customer #7868                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2610   Customer #7872                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2611   Customer #7879                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2612   Customer #7882                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2613   Customer #7885                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2614   Customer #7887                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2615   Customer #7890                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2616   Customer #7892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2617   Customer #7895                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2618   Customer #7897                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2619   Customer #7898                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2620   Customer #7900                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2621   Customer #7901                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2622   Customer #7910                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2623   Customer #7913                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2624   Customer #7914                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2625   Customer #7916                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2626   Customer #7918                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2627   Customer #7921                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2628   Customer #7923                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2629   Customer #7924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2630   Customer #7937                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2631   Customer #7941                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2632   Customer #7945                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2633   Customer #7949                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2634   Customer #7961                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2635   Customer #7962                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2636   Customer #7966                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2637   Customer #7969                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2638   Customer #7971                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2639   Customer #7972                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2640   Customer #7974                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2641   Customer #7976                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2642   Customer #7978                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2643   Customer #7984                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2644   Customer #7985                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2645   Customer #7987                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2646   Customer #7989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2647   Customer #7990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2648   Customer #7990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2649   Customer #7991                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2650   Customer #7993                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2651   Customer #7995                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2652   Customer #7998                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2653   Customer #8002                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2654   Customer #8004                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2655   Customer #8006                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2656   Customer #8008                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2657   Customer #8010                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2658   Customer #8011                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2659   Customer #8012                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2660   Customer #8018                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2661   Customer #8019                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2662   Customer #8020                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2663   Customer #8022                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2664   Customer #8024                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2665   Customer #8025                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2666   Customer #8028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2667   Customer #8030                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2668   Customer #8031                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2669   Customer #8032                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2670   Customer #8038                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2671   Customer #8044                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2672   Customer #8046                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2673   Customer #8049                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2674   Customer #8051                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2675   Customer #8054                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2676   Customer #8057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2677   Customer #8058                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2678   Customer #8062                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2679   Customer #8063                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2680   Customer #8064                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2681   Customer #8065                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2682   Customer #8068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2683   Customer #8070                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2684   Customer #8071                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2685   Customer #8072                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2686   Customer #8073                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2687   Customer #8075                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2688   Customer #8079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2689   Customer #8080                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2690   Customer #8089                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2691   Customer #8094                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2692   Customer #8104                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2693   Customer #8106                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2694   Customer #8107                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2695   Customer #8110                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2696   Customer #8112                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2697   Customer #8114                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2698   Customer #8115                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2699   Customer #8117                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2700   Customer #8118                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2701   Customer #8122                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2702   Customer #8124                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2703   Customer #8135                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2704   Customer #8138                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2705   Customer #8139                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2706   Customer #8141                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2707   Customer #8145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2708   Customer #8148                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2709   Customer #8152                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2710   Customer #8154                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2711   Customer #8155                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2712   Customer #8162                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2713   Customer #8179                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2714   Customer #8187                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2715   Customer #8190                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2716   Customer #8192                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2717   Customer #8196                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2718   Customer #8199                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2719   Customer #8200                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2720   Customer #8203                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2721   Customer #8206                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2722   Customer #8215                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2723   Customer #8219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2724   Customer #8220                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2725   Customer #8223                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2726   Customer #8227                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2727   Customer #8229                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2728   Customer #8231                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2729   Customer #8232                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2730   Customer #8235                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2731   Customer #8236                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2732   Customer #8237                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2733   Customer #8240                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2734   Customer #8242                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2735   Customer #8244                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2736   Customer #8249                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2737   Customer #8250                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2738   Customer #8252                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2739   Customer #8256                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2740   Customer #8260                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2741   Customer #8261                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2742   Customer #8263                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2743   Customer #8266                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2744   Customer #8272                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2745   Customer #8275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2746   Customer #8281                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2747   Customer #8283                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2748   Customer #8284                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2749   Customer #8286                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2750   Customer #8291                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2751   Customer #8292                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2752   Customer #8293                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2753   Customer #8296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2754   Customer #8303                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2755   Customer #8305                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2756   Customer #8310                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2757   Customer #8314                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2758   Customer #8316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2759   Customer #8317                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2760   Customer #8318                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2761   Customer #8324                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2762   Customer #8326                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2763   Customer #8327                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2764   Customer #8328                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2765   Customer #8331                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2766   Customer #8336                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2767   Customer #8337                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2768   Customer #8340                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2769   Customer #8341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2770   Customer #8345                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2771   Customer #8347                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2772   Customer #8349                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2773   Customer #8350                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2774   Customer #8353                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2775   Customer #8354                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2776   Customer #8355                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2777   Customer #8356                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2778   Customer #8359                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2779   Customer #8363                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2780   Customer #8368                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2781   Customer #8370                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2782   Customer #8375                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2783   Customer #8377                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2784   Customer #8378                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2785   Customer #8379                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2786   Customer #8388                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2787   Customer #8389                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2788   Customer #8390                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2789   Customer #8393                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2790   Customer #8396                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2791   Customer #8397                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2792   Customer #8399                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2793   Customer #8404                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2794   Customer #8408                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2795   Customer #8409                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2796   Customer #8413                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2797   Customer #8414                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2798   Customer #8420                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2799   Customer #8426                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2800   Customer #8431                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2801   Customer #8433                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2802   Customer #8440                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2803   Customer #8442                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2804   Customer #8451                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2805   Customer #8452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2806   Customer #8458                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2807   Customer #8461                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2808   Customer #8464                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2809   Customer #8466                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2810   Customer #8473                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2811   Customer #8484                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2812   Customer #8488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2813   Customer #8490                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2814   Customer #8491                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2815   Customer #8498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2816   Customer #8500                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2817   Customer #8502                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2818   Customer #8504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2819   Customer #8508                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2820   Customer #8511                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2821   Customer #8513                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2822   Customer #8519                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2823   Customer #8521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2824   Customer #8522                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2825   Customer #8524                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2826   Customer #8525                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2827   Customer #8529                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2828   Customer #8534                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2829   Customer #8535                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2830   Customer #8541                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2831   Customer #8542                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2832   Customer #8543                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2833   Customer #8544                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2834   Customer #8548                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2835   Customer #8551                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2836   Customer #8552                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2837   Customer #8553                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2838   Customer #8561                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2839   Customer #8564                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2840   Customer #8571                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2841   Customer #8575                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2842   Customer #8576                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2843   Customer #8578                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2844   Customer #8579                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2845   Customer #8583                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2846   Customer #8584                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2847   Customer #8588                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2848   Customer #8593                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2849   Customer #8595                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2850   Customer #8603                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2851   Customer #8605                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2852   Customer #8606                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2853   Customer #8607                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2854   Customer #8608                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2855   Customer #8611                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2856   Customer #8613                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2857   Customer #8615                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2858   Customer #8616                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2859   Customer #8620                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2860   Customer #8621                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2861   Customer #8622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2862   Customer #8625                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2863   Customer #8631                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2864   Customer #8632                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2865   Customer #8634                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2866   Customer #8635                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2867   Customer #8636                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2868   Customer #8640                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2869   Customer #8643                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2870   Customer #8647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2871   Customer #8651                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2872   Customer #8652                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2873   Customer #8655                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2874   Customer #8657                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2875   Customer #8660                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2876   Customer #8664                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2877   Customer #8665                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2878   Customer #8666                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2879   Customer #8668                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2880   Customer #8670                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2881   Customer #8670                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2882   Customer #8672                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2883   Customer #8674                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2884   Customer #8675                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2885   Customer #8679                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2886   Customer #8683                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2887   Customer #8684                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2888   Customer #8687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2889   Customer #8687                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2890   Customer #8692                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2891   Customer #8696                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2892   Customer #8698                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2893   Customer #8701                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2894   Customer #8710                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2895   Customer #8712                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2896   Customer #8713                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2897   Customer #8720                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2898   Customer #8721                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2899   Customer #8731                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2900   Customer #8740                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2901   Customer #8743                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2902   Customer #8746                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2903   Customer #8756                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2904   Customer #8757                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2905   Customer #8762                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2906   Customer #8767                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2907   Customer #8770                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2908   Customer #8774                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2909   Customer #8787                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2910   Customer #8791                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2911   Customer #8795                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2912   Customer #8797                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2913   Customer #8798                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2914   Customer #8799                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2915   Customer #8800                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2916   Customer #8801                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2917   Customer #8810                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2918   Customer #8811                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2919   Customer #8812                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2920   Customer #8813                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2921   Customer #8817                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2922   Customer #8822                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2923   Customer #8823                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2924   Customer #8825                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2925   Customer #8829                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2926   Customer #8838                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2927   Customer #8840                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2928   Customer #8844                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2929   Customer #8846                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2930   Customer #8848                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2931   Customer #8854                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2932   Customer #8869                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2933   Customer #8873                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2934   Customer #8876                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2935   Customer #8877                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2936   Customer #8880                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2937   Customer #8888                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2938   Customer #8889                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2939   Customer #8891                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2940   Customer #8892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2941   Customer #8897                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2942   Customer #8900                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2943   Customer #8901                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2944   Customer #8904                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2945   Customer #8905                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2946   Customer #8910                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2947   Customer #8915                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2948   Customer #8922                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2949   Customer #8924                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2950   Customer #8926                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2951   Customer #8927                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2952   Customer #8928                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2953   Customer #8930                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2954   Customer #8933                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2955   Customer #8935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2956   Customer #8938                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2957   Customer #8939                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2958   Customer #8941                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2959   Customer #8942                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2960   Customer #8943                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2961   Customer #8945                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2962   Customer #8946                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2963   Customer #8951                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2964   Customer #8952                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2965   Customer #8957                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2966   Customer #8958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2967   Customer #8959                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2968   Customer #8962                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2969   Customer #8963                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2970   Customer #8965                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2971   Customer #8966                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2972   Customer #8969                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2973   Customer #8970                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2974   Customer #8977                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2975   Customer #8979                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2976   Customer #8981                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2977   Customer #8986                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2978   Customer #8988                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2979   Customer #8992                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2980   Customer #9003                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2981   Customer #9004                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2982   Customer #9008                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2983   Customer #9010                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2984   Customer #9011                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2985   Customer #9013                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2986   Customer #9017                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2987   Customer #9024                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.2988   Customer #9027                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2989   Customer #9028                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2990   Customer #9032                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2991   Customer #9034                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2992   Customer #9040                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2993   Customer #9046                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2994   Customer #9048                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2995   Customer #9051                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2996   Customer #9052                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2997   Customer #9054                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2998   Customer #9055                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.2999   Customer #9057                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3000   Customer #9060                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3001   Customer #9061                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3002   Customer #9062                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3003   Customer #9063                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3004   Customer #9064                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3005   Customer #9066                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3006   Customer #9068                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3007   Customer #9069                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3008   Customer #9071                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3009   Customer #9075                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3010   Customer #9076                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3011   Customer #9079                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3012   Customer #9080                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3013   Customer #9083                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3014   Customer #9084                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3015   Customer #9085                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3016   Customer #9086                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3017   Customer #9087                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3018   Customer #9088                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3019   Customer #9089                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3020   Customer #9090                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3021   Customer #9091                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3022   Customer #9093                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3023   Customer #9094                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3024   Customer #9096                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3025   Customer #9102                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3026   Customer #9106                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3027   Customer #9107                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3028   Customer #9110                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3029   Customer #9111                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3030   Customer #9113                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3031   Customer #9116                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3032   Customer #9120                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3033   Customer #9122                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3034   Customer #9125                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3035   Customer #9131                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3036   Customer #9133                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3037   Customer #9134                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3038   Customer #9138                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3039   Customer #9139                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3040   Customer #9141                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3041   Customer #9144                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3042   Customer #9145                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3043   Customer #9147                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3044   Customer #9158                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3045   Customer #9160                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3046   Customer #9163                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3047   Customer #9166                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3048   Customer #9167                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3049   Customer #9169                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3050   Customer #9174                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3051   Customer #9177                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3052   Customer #9179                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3053   Customer #9180                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3054   Customer #9188                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3055   Customer #9189                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3056   Customer #9191                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3057   Customer #9195                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3058   Customer #9196                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3059   Customer #9198                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3060   Customer #9204                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3061   Customer #9205                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3062   Customer #9206                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3063   Customer #9210                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3064   Customer #9212                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3065   Customer #9213                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3066   Customer #9219                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3067   Customer #9220                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3068   Customer #9222                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3069   Customer #9223                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3070   Customer #9225                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3071   Customer #9226                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3072   Customer #9228                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3073   Customer #9229                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3074   Customer #9232                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3075   Customer #9233                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3076   Customer #9235                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3077   Customer #9237                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3078   Customer #9238                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3079   Customer #9239                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3080   Customer #9241                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3081   Customer #9249                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3082   Customer #9253                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3083   Customer #9254                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3084   Customer #9255                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3085   Customer #9256                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3086   Customer #9259                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3087   Customer #9260                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3088   Customer #9261                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3089   Customer #9269                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3090   Customer #9270                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3091   Customer #9272                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3092   Customer #9273                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3093   Customer #9274                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3094   Customer #9275                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3095   Customer #9282                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3096   Customer #9283                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3097   Customer #9288                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3098   Customer #9289                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3099   Customer #9291                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3100   Customer #9292                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3101   Customer #9295                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3102   Customer #9296                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3103   Customer #9297                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3104   Customer #9299                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3105   Customer #9300                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3106   Customer #9302                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3107   Customer #9303                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3108   Customer #9304                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3109   Customer #9308                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3110   Customer #9311                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3111   Customer #9313                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3112   Customer #9316                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3113   Customer #9319                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3114   Customer #9320                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3115   Customer #9321                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3116   Customer #9325                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3117   Customer #9326                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3118   Customer #9328                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3119   Customer #9329                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3120   Customer #9331                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3121   Customer #9332                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3122   Customer #9333                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3123   Customer #9334                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3124   Customer #9339                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3125   Customer #9341                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3126   Customer #9342                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3127   Customer #9349                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3128   Customer #9351                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3129   Customer #9353                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3130   Customer #9355                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3131   Customer #9357                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3132   Customer #9360                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3133   Customer #9362                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3134   Customer #9365                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3135   Customer #9366                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3136   Customer #9367                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3137   Customer #9368                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3138   Customer #9369                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3139   Customer #9371                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3140   Customer #9376                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3141   Customer #9379                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3142   Customer #9387                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3143   Customer #9388                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3144   Customer #9389                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3145   Customer #9397                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3146   Customer #9398                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3147   Customer #9404                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3148   Customer #9405                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3149   Customer #9407                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3150   Customer #9408                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3151   Customer #9409                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3152   Customer #9411                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3153   Customer #9412                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3154   Customer #9413                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3155   Customer #9416                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3156   Customer #9418                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3157   Customer #9420                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3158   Customer #9433                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3159   Customer #9437                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3160   Customer #9440                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3161   Customer #9444                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3162   Customer #9449                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3163   Customer #9452                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3164   Customer #9453                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3165   Customer #9457                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3166   Customer #9472                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3167   Customer #9473                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3168   Customer #9474                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3169   Customer #9477                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3170   Customer #9478                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3171   Customer #9481                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3172   Customer #9485                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3173   Customer #9487                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3174   Customer #9488                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3175   Customer #9491                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3176   Customer #9492                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3177   Customer #9493                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3178   Customer #9494                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3179   Customer #9497                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3180   Customer #9498                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3181   Customer #9499                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3182   Customer #9500                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3183   Customer #9502                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3184   Customer #9504                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3185   Customer #9507                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3186   Customer #9510                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3187   Customer #9514                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3188   Customer #9516                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3189   Customer #9516                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3190   Customer #9517                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3191   Customer #9519                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3192   Customer #9520                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3193   Customer #9521                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3194   Customer #9523                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3195   Customer #9528                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3196   Customer #9535                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3197   Customer #9538                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3198   Customer #9539                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3199   Customer #9548                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3200   Customer #9549                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3201   Customer #9552                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3202   Customer #9554                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3203   Customer #9562                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3204   Customer #9564                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3205   Customer #9565                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3206   Customer #9567                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3207   Customer #9568                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3208   Customer #9572                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3209   Customer #9574                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3210   Customer #9577                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3211   Customer #9579                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3212   Customer #9580                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3213   Customer #9581                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3214   Customer #9582                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3215   Customer #9584                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3216   Customer #9585                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3217   Customer #9588                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3218   Customer #9590                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3219   Customer #9593                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3220   Customer #9595                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3221   Customer #9601                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3222   Customer #9604                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3223   Customer #9605                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3224   Customer #9610                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3225   Customer #9611                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3226   Customer #9615                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3227   Customer #9618                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3228   Customer #9620                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3229   Customer #9622                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3230   Customer #9628                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3231   Customer #9629                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3232   Customer #9630                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3233   Customer #9632                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3234   Customer #9637                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3235   Customer #9640                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3236   Customer #9643                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3237   Customer #9646                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3238   Customer #9647                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3239   Customer #9649                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3240   Customer #9654                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3241   Customer #9661                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3242   Customer #9669                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3243   Customer #9670                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3244   Customer #9671                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3245   Customer #9673                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3246   Customer #9674                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3247   Customer #9679                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3248   Customer #9681                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3249   Customer #9682                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3250   Customer #9683                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3251   Customer #9684                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3252   Customer #9685                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3253   Customer #9688                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3254   Customer #9698                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3255   Customer #9699                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3256   Customer #9701                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3257   Customer #9702                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3258   Customer #9704                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3259   Customer #9705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3260   Customer #9705                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3261   Customer #9711                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3262   Customer #9719                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3263   Customer #9722                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3264   Customer #9723                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3265   Customer #9725                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3266   Customer #9727                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3267   Customer #9730                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3268   Customer #9733                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3269   Customer #9737                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3270   Customer #9744                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3271   Customer #9748                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3272   Customer #9759                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3273   Customer #9761                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3274   Customer #9763                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3275   Customer #9764                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3276   Customer #9765                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3277   Customer #9766                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3278   Customer #9767                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3279   Customer #9769                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3280   Customer #9772                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3281   Customer #9775                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3282   Customer #9778                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3283   Customer #9779                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3284   Customer #9781                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3285   Customer #9783                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3286   Customer #9786                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3287   Customer #9788                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3288   Customer #9789                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3289   Customer #9790                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3290   Customer #9791                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3291   Customer #9793                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3292   Customer #9794                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3293   Customer #9802                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3294   Customer #9815                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3295   Customer #9817                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3296   Customer #9821                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3297   Customer #9822                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3298   Customer #9823                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3299   Customer #9825                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3300   Customer #9826                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3301   Customer #9828                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3302   Customer #9829                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3303   Customer #9831                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3304   Customer #9832                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3305   Customer #9835                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3306   Customer #9837                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3307   Customer #9839                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3308   Customer #9841                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3309   Customer #9842                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3310   Customer #9843                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3311   Customer #9849                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3312   Customer #9850                      Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3313   Customer #9852                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3314   Customer #9855                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3315   Customer #9858                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3316   Customer #9859                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3317   Customer #9860                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3318   Customer #9864                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3319   Customer #9865                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3320   Customer #9867                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3321   Customer #9870                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3322   Customer #9877                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3323   Customer #9878                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3324   Customer #9884                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3325   Customer #9885                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3326   Customer #9887                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3327   Customer #9892                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3328   Customer #9893                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3329   Customer #9896                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3330   Customer #9897                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3331   Customer #9899                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3332   Customer #9900                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3333   Customer #9901                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3334   Customer #9902                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3335   Customer #9905                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3336   Customer #9906                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3337   Customer #9907                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3338   Customer #9909                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3339   Customer #9912                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3340   Customer #9915                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3341   Customer #9923                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3342   Customer #9926                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3343   Customer #9927                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3344   Customer #9931                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3345   Customer #9933                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3346   Customer #9934                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3347   Customer #9935                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3348   Customer #9936                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3349   Customer #9944                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3350   Customer #9946                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3351   Customer #9947                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3352   Customer #9948                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3353   Customer #9949                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3354   Customer #9955                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3355   Customer #9956                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3356   Customer #9958                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3357   Customer #9963                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3358   Customer #9967                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3359   Customer #9971                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3360   Customer #9972                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3361   Customer #9974                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3362   Customer #9976                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3363   Customer #9979                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3364   Customer #9980                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3365   Customer #9981                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3366   Customer #9982                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3367   Customer #9984                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3368   Customer #9985                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3369   Customer #9988                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3370   Customer #9989                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3371   Customer #9990                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3372   Customer #9998                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3373   Customer #9999                      Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3374   Customer #10000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3375   Customer #10001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3376   Customer #10004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3377   Customer #10005                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3378   Customer #10006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3379   Customer #10010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3380   Customer #10012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3381   Customer #10013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3382   Customer #10020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3383   Customer #10022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3384   Customer #10027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3385   Customer #10042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3386   Customer #10044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3387   Customer #10045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3388   Customer #10049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3389   Customer #10050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3390   Customer #10052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3391   Customer #10053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3392   Customer #10057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3393   Customer #10058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3394   Customer #10059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3395   Customer #10061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3396   Customer #10062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3397   Customer #10064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3398   Customer #10074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3399   Customer #10078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3400   Customer #10082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3401   Customer #10086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3402   Customer #10089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3403   Customer #10096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3404   Customer #10102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3405   Customer #10103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3406   Customer #10104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3407   Customer #10107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3408   Customer #10109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3409   Customer #10115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3410   Customer #10116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3411   Customer #10118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3412   Customer #10120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3413   Customer #10121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3414   Customer #10135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3415   Customer #10136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3416   Customer #10138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3417   Customer #10140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3418   Customer #10143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3419   Customer #10145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3420   Customer #10149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3421   Customer #10150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3422   Customer #10153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3423   Customer #10155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3424   Customer #10157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3425   Customer #10158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3426   Customer #10161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3427   Customer #10163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3428   Customer #10165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3429   Customer #10166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3430   Customer #10167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3431   Customer #10169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3432   Customer #10170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3433   Customer #10172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3434   Customer #10173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3435   Customer #10174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3436   Customer #10176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3437   Customer #10178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3438   Customer #10179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3439   Customer #10180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3440   Customer #10182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3441   Customer #10184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3442   Customer #10190                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3443   Customer #10193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3444   Customer #10196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3445   Customer #10197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3446   Customer #10201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3447   Customer #10203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3448   Customer #10205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3449   Customer #10206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3450   Customer #10208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3451   Customer #10210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3452   Customer #10214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3453   Customer #10215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3454   Customer #10218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3455   Customer #10220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3456   Customer #10221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3457   Customer #10223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3458   Customer #10224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3459   Customer #10226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3460   Customer #10227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3461   Customer #10229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3462   Customer #10231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3463   Customer #10235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3464   Customer #10237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3465   Customer #10240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3466   Customer #10241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3467   Customer #10244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3468   Customer #10245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3469   Customer #10246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3470   Customer #10249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3471   Customer #10250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3472   Customer #10251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3473   Customer #10252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3474   Customer #10255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3475   Customer #10258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3476   Customer #10260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3477   Customer #10261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3478   Customer #10262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3479   Customer #10263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3480   Customer #10264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3481   Customer #10265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3482   Customer #10270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3483   Customer #10272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3484   Customer #10273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3485   Customer #10274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3486   Customer #10278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3487   Customer #10289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3488   Customer #10290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3489   Customer #10291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3490   Customer #10294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3491   Customer #10295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3492   Customer #10296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3493   Customer #10297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3494   Customer #10301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3495   Customer #10304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3496   Customer #10305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3497   Customer #10312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3498   Customer #10313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3499   Customer #10319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3500   Customer #10320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3501   Customer #10323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3502   Customer #10326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3503   Customer #10329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3504   Customer #10333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3505   Customer #10334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3506   Customer #10337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3507   Customer #10338                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3508   Customer #10339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3509   Customer #10340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3510   Customer #10342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3511   Customer #10343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3512   Customer #10344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3513   Customer #10348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3514   Customer #10350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3515   Customer #10351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3516   Customer #10352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3517   Customer #10358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3518   Customer #10363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3519   Customer #10365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3520   Customer #10368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3521   Customer #10372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3522   Customer #10374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3523   Customer #10377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3524   Customer #10379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3525   Customer #10382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3526   Customer #10385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3527   Customer #10386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3528   Customer #10387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3529   Customer #10393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3530   Customer #10394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3531   Customer #10398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3532   Customer #10401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3533   Customer #10402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3534   Customer #10403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3535   Customer #10404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3536   Customer #10406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3537   Customer #10411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3538   Customer #10412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3539   Customer #10413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3540   Customer #10414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3541   Customer #10415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3542   Customer #10416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3543   Customer #10417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3544   Customer #10423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3545   Customer #10424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3546   Customer #10425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3547   Customer #10427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3548   Customer #10434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3549   Customer #10440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3550   Customer #10441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3551   Customer #10442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3552   Customer #10444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3553   Customer #10445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3554   Customer #10449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3555   Customer #10450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3556   Customer #10451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3557   Customer #10452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3558   Customer #10457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3559   Customer #10458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3560   Customer #10462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3561   Customer #10465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3562   Customer #10468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3563   Customer #10470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3564   Customer #10471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3565   Customer #10478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3566   Customer #10480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3567   Customer #10481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3568   Customer #10482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3569   Customer #10487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3570   Customer #10497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3571   Customer #10502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3572   Customer #10503                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3573   Customer #10506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3574   Customer #10508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3575   Customer #10511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3576   Customer #10512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3577   Customer #10516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3578   Customer #10517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3579   Customer #10520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3580   Customer #10521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3581   Customer #10523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3582   Customer #10524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3583   Customer #10525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3584   Customer #10526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3585   Customer #10528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3586   Customer #10529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3587   Customer #10534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3588   Customer #10536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3589   Customer #10541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3590   Customer #10543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3591   Customer #10544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3592   Customer #10549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3593   Customer #10550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3594   Customer #10550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3595   Customer #10554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3596   Customer #10557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3597   Customer #10559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3598   Customer #10561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3599   Customer #10562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3600   Customer #10564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3601   Customer #10566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3602   Customer #10567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3603   Customer #10568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3604   Customer #10570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3605   Customer #10583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3606   Customer #10586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3607   Customer #10589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3608   Customer #10591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3609   Customer #10594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3610   Customer #10595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3611   Customer #10597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3612   Customer #10598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3613   Customer #10599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3614   Customer #10604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3615   Customer #10607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3616   Customer #10608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3617   Customer #10609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3618   Customer #10612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3619   Customer #10613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3620   Customer #10614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3621   Customer #10615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3622   Customer #10617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3623   Customer #10620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3624   Customer #10622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3625   Customer #10627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3626   Customer #10628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3627   Customer #10629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3628   Customer #10630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3629   Customer #10636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3630   Customer #10637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3631   Customer #10638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3632   Customer #10640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3633   Customer #10641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3634   Customer #10642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3635   Customer #10648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3636   Customer #10650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3637   Customer #10651                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3638   Customer #10658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3639   Customer #10659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3640   Customer #10660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3641   Customer #10661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3642   Customer #10663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3643   Customer #10673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3644   Customer #10674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3645   Customer #10680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3646   Customer #10682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3647   Customer #10685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3648   Customer #10687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3649   Customer #10688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3650   Customer #10689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3651   Customer #10690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3652   Customer #10692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3653   Customer #10694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3654   Customer #10702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3655   Customer #10703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3656   Customer #10705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3657   Customer #10706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3658   Customer #10707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3659   Customer #10711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3660   Customer #10719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3661   Customer #10721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3662   Customer #10722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3663   Customer #10724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3664   Customer #10725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3665   Customer #10726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3666   Customer #10731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3667   Customer #10732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3668   Customer #10733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3669   Customer #10737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3670   Customer #10738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3671   Customer #10740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3672   Customer #10741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3673   Customer #10748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3674   Customer #10749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3675   Customer #10751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3676   Customer #10753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3677   Customer #10755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3678   Customer #10758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3679   Customer #10759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3680   Customer #10768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3681   Customer #10768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3682   Customer #10772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3683   Customer #10773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3684   Customer #10775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3685   Customer #10776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3686   Customer #10784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3687   Customer #10788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3688   Customer #10789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3689   Customer #10791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3690   Customer #10792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3691   Customer #10798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3692   Customer #10799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3693   Customer #10801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3694   Customer #10802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3695   Customer #10806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3696   Customer #10809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3697   Customer #10813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3698   Customer #10814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3699   Customer #10817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3700   Customer #10819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3701   Customer #10820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3702   Customer #10823                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3703   Customer #10828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3704   Customer #10830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3705   Customer #10832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3706   Customer #10833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3707   Customer #10836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3708   Customer #10837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3709   Customer #10837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3710   Customer #10838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3711   Customer #10839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3712   Customer #10841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3713   Customer #10845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3714   Customer #10850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3715   Customer #10851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3716   Customer #10852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3717   Customer #10853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3718   Customer #10857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3719   Customer #10858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3720   Customer #10862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3721   Customer #10863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3722   Customer #10872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3723   Customer #10874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3724   Customer #10875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3725   Customer #10876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3726   Customer #10878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3727   Customer #10879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3728   Customer #10882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3729   Customer #10886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3730   Customer #10887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3731   Customer #10892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3732   Customer #10893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3733   Customer #10894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3734   Customer #10899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3735   Customer #10903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3736   Customer #10908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3737   Customer #10916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3738   Customer #10919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3739   Customer #10921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3740   Customer #10925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3741   Customer #10926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3742   Customer #10929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3743   Customer #10930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3744   Customer #10934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3745   Customer #10935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3746   Customer #10938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3747   Customer #10940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3748   Customer #10949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3749   Customer #10951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3750   Customer #10954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3751   Customer #10958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3752   Customer #10959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3753   Customer #10960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3754   Customer #10961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3755   Customer #10962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3756   Customer #10965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3757   Customer #10965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3758   Customer #10966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3759   Customer #10970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3760   Customer #10971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3761   Customer #10974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3762   Customer #10976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3763   Customer #10979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3764   Customer #10986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3765   Customer #10987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3766   Customer #10990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3767   Customer #10991                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3768   Customer #10992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3769   Customer #10993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3770   Customer #10995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3771   Customer #10998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3772   Customer #11000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3773   Customer #11004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3774   Customer #11007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3775   Customer #11009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3776   Customer #11011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3777   Customer #11013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3778   Customer #11014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3779   Customer #11015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3780   Customer #11017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3781   Customer #11019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3782   Customer #11021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3783   Customer #11033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3784   Customer #11034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3785   Customer #11037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3786   Customer #11039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3787   Customer #11041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3788   Customer #11042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3789   Customer #11044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3790   Customer #11046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3791   Customer #11049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3792   Customer #11053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3793   Customer #11055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3794   Customer #11056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3795   Customer #11057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3796   Customer #11063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3797   Customer #11067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3798   Customer #11069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3799   Customer #11071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3800   Customer #11075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3801   Customer #11078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3802   Customer #11086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3803   Customer #11087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3804   Customer #11088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3805   Customer #11091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3806   Customer #11092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3807   Customer #11094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3808   Customer #11095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3809   Customer #11095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3810   Customer #11099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3811   Customer #11107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3812   Customer #11111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3813   Customer #11113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3814   Customer #11114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3815   Customer #11118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3816   Customer #11119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3817   Customer #11120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3818   Customer #11121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3819   Customer #11123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3820   Customer #11130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3821   Customer #11131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3822   Customer #11133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3823   Customer #11134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3824   Customer #11135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3825   Customer #11141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3826   Customer #11147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3827   Customer #11148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3828   Customer #11156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3829   Customer #11158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3830   Customer #11161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3831   Customer #11162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3832   Customer #11166                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3833   Customer #11167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3834   Customer #11168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3835   Customer #11169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3836   Customer #11170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3837   Customer #11171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3838   Customer #11172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3839   Customer #11174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3840   Customer #11178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3841   Customer #11179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3842   Customer #11180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3843   Customer #11181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3844   Customer #11182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3845   Customer #11184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3846   Customer #11186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3847   Customer #11188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3848   Customer #11193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3849   Customer #11195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3850   Customer #11196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3851   Customer #11198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3852   Customer #11200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3853   Customer #11201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3854   Customer #11204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3855   Customer #11206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3856   Customer #11208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3857   Customer #11209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3858   Customer #11210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3859   Customer #11212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3860   Customer #11213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3861   Customer #11214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3862   Customer #11215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3863   Customer #11217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3864   Customer #11221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3865   Customer #11222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3866   Customer #11228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3867   Customer #11229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3868   Customer #11230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3869   Customer #11233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3870   Customer #11234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3871   Customer #11235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3872   Customer #11236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3873   Customer #11238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3874   Customer #11240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3875   Customer #11241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3876   Customer #11244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3877   Customer #11248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3878   Customer #11250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3879   Customer #11257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3880   Customer #11258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3881   Customer #11258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3882   Customer #11259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3883   Customer #11261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3884   Customer #11262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3885   Customer #11265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3886   Customer #11266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3887   Customer #11268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3888   Customer #11273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3889   Customer #11278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3890   Customer #11280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3891   Customer #11283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3892   Customer #11284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3893   Customer #11288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3894   Customer #11291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3895   Customer #11293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3896   Customer #11302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3897   Customer #11303                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3898   Customer #11305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3899   Customer #11308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3900   Customer #11309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3901   Customer #11310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3902   Customer #11311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3903   Customer #11313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3904   Customer #11314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3905   Customer #11315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3906   Customer #11317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3907   Customer #11319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3908   Customer #11320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3909   Customer #11329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3910   Customer #11330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3911   Customer #11335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3912   Customer #11339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3913   Customer #11341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3914   Customer #11346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3915   Customer #11349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3916   Customer #11352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3917   Customer #11359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3918   Customer #11361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3919   Customer #11365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3920   Customer #11366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3921   Customer #11368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3922   Customer #11372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3923   Customer #11373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3924   Customer #11376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3925   Customer #11377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3926   Customer #11378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3927   Customer #11389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3928   Customer #11399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3929   Customer #11403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3930   Customer #11406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3931   Customer #11411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3932   Customer #11413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3933   Customer #11420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3934   Customer #11422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3935   Customer #11423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3936   Customer #11425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3937   Customer #11429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3938   Customer #11430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3939   Customer #11434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3940   Customer #11437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3941   Customer #11438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3942   Customer #11441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3943   Customer #11446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3944   Customer #11447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3945   Customer #11448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3946   Customer #11449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3947   Customer #11451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3948   Customer #11453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3949   Customer #11455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3950   Customer #11457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3951   Customer #11460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3952   Customer #11462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3953   Customer #11469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3954   Customer #11470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3955   Customer #11471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3956   Customer #11472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3957   Customer #11473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3958   Customer #11478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3959   Customer #11478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3960   Customer #11480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3961   Customer #11481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3962   Customer #11482                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.3963   Customer #11483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3964   Customer #11487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3965   Customer #11494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3966   Customer #11497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3967   Customer #11500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3968   Customer #11501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3969   Customer #11502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3970   Customer #11505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3971   Customer #11507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3972   Customer #11511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3973   Customer #11512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3974   Customer #11513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3975   Customer #11514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3976   Customer #11515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3977   Customer #11516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3978   Customer #11521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3979   Customer #11522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3980   Customer #11526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3981   Customer #11530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3982   Customer #11531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3983   Customer #11534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3984   Customer #11539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3985   Customer #11541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3986   Customer #11542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3987   Customer #11543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3988   Customer #11544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3989   Customer #11545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3990   Customer #11546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3991   Customer #11549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3992   Customer #11550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3993   Customer #11553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3994   Customer #11554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3995   Customer #11556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3996   Customer #11557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3997   Customer #11561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3998   Customer #11563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.3999   Customer #11565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4000   Customer #11566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4001   Customer #11567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4002   Customer #11569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4003   Customer #11570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4004   Customer #11571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4005   Customer #11573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4006   Customer #11574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4007   Customer #11575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4008   Customer #11576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4009   Customer #11578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4010   Customer #11585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4011   Customer #11590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4012   Customer #11592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4013   Customer #11598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4014   Customer #11599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4015   Customer #11600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4016   Customer #11605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4017   Customer #11611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4018   Customer #11618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4019   Customer #11620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4020   Customer #11623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4021   Customer #11624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4022   Customer #11630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4023   Customer #11632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4024   Customer #11634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4025   Customer #11639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4026   Customer #11640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4027   Customer #11642                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4028   Customer #11646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4029   Customer #11650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4030   Customer #11656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4031   Customer #11658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4032   Customer #11660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4033   Customer #11662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4034   Customer #11668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4035   Customer #11674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4036   Customer #11677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4037   Customer #11681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4038   Customer #11682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4039   Customer #11683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4040   Customer #11686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4041   Customer #11688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4042   Customer #11694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4043   Customer #11696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4044   Customer #11698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4045   Customer #11699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4046   Customer #11700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4047   Customer #11701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4048   Customer #11717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4049   Customer #11721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4050   Customer #11725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4051   Customer #11728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4052   Customer #11729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4053   Customer #11730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4054   Customer #11737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4055   Customer #11739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4056   Customer #11740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4057   Customer #11741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4058   Customer #11742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4059   Customer #11745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4060   Customer #11748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4061   Customer #11749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4062   Customer #11752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4063   Customer #11753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4064   Customer #11755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4065   Customer #11767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4066   Customer #11769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4067   Customer #11773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4068   Customer #11778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4069   Customer #11789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4070   Customer #11791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4071   Customer #11795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4072   Customer #11797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4073   Customer #11798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4074   Customer #11799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4075   Customer #11801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4076   Customer #11802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4077   Customer #11803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4078   Customer #11804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4079   Customer #11806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4080   Customer #11808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4081   Customer #11809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4082   Customer #11810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4083   Customer #11811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4084   Customer #11813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4085   Customer #11814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4086   Customer #11815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4087   Customer #11819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4088   Customer #11821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4089   Customer #11822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4090   Customer #11823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4091   Customer #11824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4092   Customer #11825                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4093   Customer #11825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4094   Customer #11826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4095   Customer #11828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4096   Customer #11829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4097   Customer #11831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4098   Customer #11832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4099   Customer #11833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4100   Customer #11834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4101   Customer #11835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4102   Customer #11836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4103   Customer #11838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4104   Customer #11839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4105   Customer #11840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4106   Customer #11842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4107   Customer #11846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4108   Customer #11849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4109   Customer #11851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4110   Customer #11852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4111   Customer #11853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4112   Customer #11854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4113   Customer #11855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4114   Customer #11856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4115   Customer #11860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4116   Customer #11862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4117   Customer #11864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4118   Customer #11865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4119   Customer #11869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4120   Customer #11870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4121   Customer #11871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4122   Customer #11875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4123   Customer #11877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4124   Customer #11878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4125   Customer #11879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4126   Customer #11880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4127   Customer #11885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4128   Customer #11887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4129   Customer #11888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4130   Customer #11892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4131   Customer #11893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4132   Customer #11897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4133   Customer #11899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4134   Customer #11902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4135   Customer #11904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4136   Customer #11906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4137   Customer #11908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4138   Customer #11910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4139   Customer #11912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4140   Customer #11914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4141   Customer #11915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4142   Customer #11916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4143   Customer #11917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4144   Customer #11918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4145   Customer #11920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4146   Customer #11921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4147   Customer #11925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4148   Customer #11926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4149   Customer #11927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4150   Customer #11928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4151   Customer #11929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4152   Customer #11930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4153   Customer #11935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4154   Customer #11936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4155   Customer #11941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4156   Customer #11943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4157   Customer #11944                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4158   Customer #11949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4159   Customer #11950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4160   Customer #11957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4161   Customer #11958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4162   Customer #11965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4163   Customer #11966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4164   Customer #11967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4165   Customer #11968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4166   Customer #11969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4167   Customer #11970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4168   Customer #11971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4169   Customer #11972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4170   Customer #11973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4171   Customer #11974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4172   Customer #11975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4173   Customer #11976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4174   Customer #11979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4175   Customer #11985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4176   Customer #11986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4177   Customer #11987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4178   Customer #11988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4179   Customer #11991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4180   Customer #12001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4181   Customer #12005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4182   Customer #12006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4183   Customer #12009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4184   Customer #12011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4185   Customer #12014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4186   Customer #12021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4187   Customer #12022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4188   Customer #12023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4189   Customer #12032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4190   Customer #12033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4191   Customer #12035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4192   Customer #12037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4193   Customer #12038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4194   Customer #12041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4195   Customer #12043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4196   Customer #12044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4197   Customer #12045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4198   Customer #12051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4199   Customer #12052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4200   Customer #12053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4201   Customer #12054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4202   Customer #12056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4203   Customer #12057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4204   Customer #12058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4205   Customer #12060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4206   Customer #12066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4207   Customer #12067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4208   Customer #12072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4209   Customer #12074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4210   Customer #12078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4211   Customer #12079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4212   Customer #12083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4213   Customer #12085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4214   Customer #12086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4215   Customer #12087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4216   Customer #12088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4217   Customer #12089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4218   Customer #12091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4219   Customer #12093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4220   Customer #12094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4221   Customer #12095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4222   Customer #12101                     Address on File                                                                                             Customer             X             X             X                       Undetermined




In re: Griddy Energy LLC
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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4223   Customer #12108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4224   Customer #12115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4225   Customer #12121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4226   Customer #12125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4227   Customer #12127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4228   Customer #12129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4229   Customer #12131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4230   Customer #12135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4231   Customer #12137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4232   Customer #12138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4233   Customer #12139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4234   Customer #12143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4235   Customer #12144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4236   Customer #12150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4237   Customer #12151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4238   Customer #12154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4239   Customer #12159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4240   Customer #12160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4241   Customer #12167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4242   Customer #12169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4243   Customer #12171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4244   Customer #12172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4245   Customer #12173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4246   Customer #12175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4247   Customer #12177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4248   Customer #12179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4249   Customer #12187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4250   Customer #12188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4251   Customer #12195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4252   Customer #12197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4253   Customer #12199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4254   Customer #12200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4255   Customer #12201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4256   Customer #12202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4257   Customer #12204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4258   Customer #12205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4259   Customer #12206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4260   Customer #12208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4261   Customer #12210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4262   Customer #12212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4263   Customer #12213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4264   Customer #12217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4265   Customer #12219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4266   Customer #12220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4267   Customer #12223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4268   Customer #12224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4269   Customer #12225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4270   Customer #12228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4271   Customer #12231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4272   Customer #12232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4273   Customer #12233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4274   Customer #12235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4275   Customer #12236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4276   Customer #12237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4277   Customer #12238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4278   Customer #12241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4279   Customer #12243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4280   Customer #12248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4281   Customer #12249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4282   Customer #12250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4283   Customer #12251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4284   Customer #12252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4285   Customer #12253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4286   Customer #12254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4287   Customer #12255                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4288   Customer #12256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4289   Customer #12257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4290   Customer #12259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4291   Customer #12262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4292   Customer #12263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4293   Customer #12265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4294   Customer #12266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4295   Customer #12268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4296   Customer #12272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4297   Customer #12274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4298   Customer #12275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4299   Customer #12277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4300   Customer #12278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4301   Customer #12284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4302   Customer #12286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4303   Customer #12288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4304   Customer #12290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4305   Customer #12291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4306   Customer #12293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4307   Customer #12295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4308   Customer #12296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4309   Customer #12297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4310   Customer #12298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4311   Customer #12301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4312   Customer #12302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4313   Customer #12305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4314   Customer #12306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4315   Customer #12307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4316   Customer #12308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4317   Customer #12315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4318   Customer #12318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4319   Customer #12320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4320   Customer #12321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4321   Customer #12323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4322   Customer #12324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4323   Customer #12329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4324   Customer #12336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4325   Customer #12342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4326   Customer #12345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4327   Customer #12346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4328   Customer #12350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4329   Customer #12351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4330   Customer #12352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4331   Customer #12356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4332   Customer #12357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4333   Customer #12358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4334   Customer #12362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4335   Customer #12368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4336   Customer #12370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4337   Customer #12372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4338   Customer #12373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4339   Customer #12375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4340   Customer #12376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4341   Customer #12378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4342   Customer #12383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4343   Customer #12388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4344   Customer #12389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4345   Customer #12391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4346   Customer #12394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4347   Customer #12397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4348   Customer #12400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4349   Customer #12402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4350   Customer #12403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4351   Customer #12405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4352   Customer #12409                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4353   Customer #12410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4354   Customer #12414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4355   Customer #12417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4356   Customer #12420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4357   Customer #12421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4358   Customer #12426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4359   Customer #12431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4360   Customer #12432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4361   Customer #12434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4362   Customer #12439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4363   Customer #12440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4364   Customer #12443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4365   Customer #12445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4366   Customer #12446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4367   Customer #12449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4368   Customer #12450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4369   Customer #12451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4370   Customer #12454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4371   Customer #12460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4372   Customer #12463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4373   Customer #12464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4374   Customer #12465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4375   Customer #12466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4376   Customer #12467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4377   Customer #12468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4378   Customer #12472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4379   Customer #12473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4380   Customer #12474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4381   Customer #12475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4382   Customer #12476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4383   Customer #12486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4384   Customer #12487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4385   Customer #12493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4386   Customer #12495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4387   Customer #12497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4388   Customer #12498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4389   Customer #12499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4390   Customer #12500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4391   Customer #12503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4392   Customer #12507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4393   Customer #12508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4394   Customer #12509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4395   Customer #12510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4396   Customer #12511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4397   Customer #12512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4398   Customer #12513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4399   Customer #12514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4400   Customer #12515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4401   Customer #12517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4402   Customer #12519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4403   Customer #12521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4404   Customer #12525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4405   Customer #12526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4406   Customer #12527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4407   Customer #12528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4408   Customer #12529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4409   Customer #12531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4410   Customer #12534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4411   Customer #12535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4412   Customer #12539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4413   Customer #12550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4414   Customer #12552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4415   Customer #12553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4416   Customer #12556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4417   Customer #12562                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4418   Customer #12565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4419   Customer #12566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4420   Customer #12567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4421   Customer #12570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4422   Customer #12571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4423   Customer #12573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4424   Customer #12578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4425   Customer #12580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4426   Customer #12581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4427   Customer #12584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4428   Customer #12585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4429   Customer #12588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4430   Customer #12590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4431   Customer #12593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4432   Customer #12597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4433   Customer #12598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4434   Customer #12601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4435   Customer #12603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4436   Customer #12606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4437   Customer #12607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4438   Customer #12609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4439   Customer #12610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4440   Customer #12611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4441   Customer #12614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4442   Customer #12615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4443   Customer #12617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4444   Customer #12618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4445   Customer #12621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4446   Customer #12622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4447   Customer #12624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4448   Customer #12625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4449   Customer #12626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4450   Customer #12627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4451   Customer #12630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4452   Customer #12633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4453   Customer #12634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4454   Customer #12636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4455   Customer #12637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4456   Customer #12638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4457   Customer #12639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4458   Customer #12640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4459   Customer #12641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4460   Customer #12645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4461   Customer #12646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4462   Customer #12647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4463   Customer #12650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4464   Customer #12652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4465   Customer #12654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4466   Customer #12655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4467   Customer #12656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4468   Customer #12657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4469   Customer #12661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4470   Customer #12662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4471   Customer #12666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4472   Customer #12667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4473   Customer #12668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4474   Customer #12670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4475   Customer #12671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4476   Customer #12672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4477   Customer #12673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4478   Customer #12676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4479   Customer #12681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4480   Customer #12682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4481   Customer #12683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4482   Customer #12684                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4483   Customer #12685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4484   Customer #12686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4485   Customer #12688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4486   Customer #12690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4487   Customer #12691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4488   Customer #12692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4489   Customer #12693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4490   Customer #12698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4491   Customer #12699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4492   Customer #12700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4493   Customer #12711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4494   Customer #12712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4495   Customer #12713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4496   Customer #12714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4497   Customer #12715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4498   Customer #12718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4499   Customer #12720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4500   Customer #12731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4501   Customer #12733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4502   Customer #12734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4503   Customer #12735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4504   Customer #12738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4505   Customer #12739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4506   Customer #12740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4507   Customer #12743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4508   Customer #12744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4509   Customer #12746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4510   Customer #12748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4511   Customer #12752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4512   Customer #12756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4513   Customer #12760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4514   Customer #12761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4515   Customer #12763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4516   Customer #12766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4517   Customer #12767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4518   Customer #12769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4519   Customer #12770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4520   Customer #12772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4521   Customer #12773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4522   Customer #12775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4523   Customer #12777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4524   Customer #12779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4525   Customer #12780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4526   Customer #12781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4527   Customer #12788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4528   Customer #12789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4529   Customer #12790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4530   Customer #12793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4531   Customer #12794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4532   Customer #12796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4533   Customer #12797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4534   Customer #12799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4535   Customer #12802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4536   Customer #12807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4537   Customer #12808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4538   Customer #12810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4539   Customer #12811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4540   Customer #12812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4541   Customer #12813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4542   Customer #12814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4543   Customer #12815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4544   Customer #12816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4545   Customer #12819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4546   Customer #12822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4547   Customer #12823                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4548   Customer #12826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4549   Customer #12827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4550   Customer #12828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4551   Customer #12829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4552   Customer #12830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4553   Customer #12835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4554   Customer #12836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4555   Customer #12844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4556   Customer #12846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4557   Customer #12847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4558   Customer #12849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4559   Customer #12851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4560   Customer #12853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4561   Customer #12855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4562   Customer #12860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4563   Customer #12862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4564   Customer #12865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4565   Customer #12868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4566   Customer #12869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4567   Customer #12870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4568   Customer #12871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4569   Customer #12872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4570   Customer #12875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4571   Customer #12884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4572   Customer #12885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4573   Customer #12893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4574   Customer #12894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4575   Customer #12899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4576   Customer #12903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4577   Customer #12905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4578   Customer #12906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4579   Customer #12908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4580   Customer #12919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4581   Customer #12920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4582   Customer #12921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4583   Customer #12923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4584   Customer #12924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4585   Customer #12927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4586   Customer #12928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4587   Customer #12929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4588   Customer #12932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4589   Customer #12934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4590   Customer #12935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4591   Customer #12936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4592   Customer #12940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4593   Customer #12942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4594   Customer #12946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4595   Customer #12947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4596   Customer #12948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4597   Customer #12951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4598   Customer #12952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4599   Customer #12955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4600   Customer #12958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4601   Customer #12960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4602   Customer #12965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4603   Customer #12966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4604   Customer #12968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4605   Customer #12969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4606   Customer #12973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4607   Customer #12977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4608   Customer #12978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4609   Customer #12980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4610   Customer #12986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4611   Customer #12987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4612   Customer #12990                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4613   Customer #12991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4614   Customer #12995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4615   Customer #12996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4616   Customer #12997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4617   Customer #12998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4618   Customer #13001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4619   Customer #13002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4620   Customer #13003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4621   Customer #13004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4622   Customer #13005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4623   Customer #13007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4624   Customer #13009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4625   Customer #13010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4626   Customer #13013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4627   Customer #13014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4628   Customer #13015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4629   Customer #13019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4630   Customer #13022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4631   Customer #13023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4632   Customer #13025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4633   Customer #13026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4634   Customer #13027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4635   Customer #13031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4636   Customer #13034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4637   Customer #13040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4638   Customer #13046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4639   Customer #13047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4640   Customer #13048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4641   Customer #13060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4642   Customer #13062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4643   Customer #13065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4644   Customer #13066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4645   Customer #13077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4646   Customer #13079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4647   Customer #13080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4648   Customer #13085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4649   Customer #13092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4650   Customer #13106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4651   Customer #13107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4652   Customer #13113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4653   Customer #13116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4654   Customer #13119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4655   Customer #13120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4656   Customer #13128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4657   Customer #13132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4658   Customer #13134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4659   Customer #13138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4660   Customer #13141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4661   Customer #13142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4662   Customer #13148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4663   Customer #13151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4664   Customer #13152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4665   Customer #13153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4666   Customer #13155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4667   Customer #13156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4668   Customer #13160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4669   Customer #13161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4670   Customer #13165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4671   Customer #13168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4672   Customer #13171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4673   Customer #13172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4674   Customer #13174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4675   Customer #13175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4676   Customer #13179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4677   Customer #13180                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4678   Customer #13181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4679   Customer #13182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4680   Customer #13187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4681   Customer #13188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4682   Customer #13190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4683   Customer #13196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4684   Customer #13199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4685   Customer #13200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4686   Customer #13201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4687   Customer #13203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4688   Customer #13204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4689   Customer #13206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4690   Customer #13207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4691   Customer #13208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4692   Customer #13210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4693   Customer #13212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4694   Customer #13220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4695   Customer #13222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4696   Customer #13224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4697   Customer #13224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4698   Customer #13226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4699   Customer #13229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4700   Customer #13230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4701   Customer #13232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4702   Customer #13236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4703   Customer #13237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4704   Customer #13242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4705   Customer #13243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4706   Customer #13244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4707   Customer #13246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4708   Customer #13251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4709   Customer #13252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4710   Customer #13258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4711   Customer #13261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4712   Customer #13262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4713   Customer #13264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4714   Customer #13265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4715   Customer #13266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4716   Customer #13268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4717   Customer #13272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4718   Customer #13273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4719   Customer #13275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4720   Customer #13278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4721   Customer #13282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4722   Customer #13284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4723   Customer #13290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4724   Customer #13291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4725   Customer #13292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4726   Customer #13294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4727   Customer #13295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4728   Customer #13299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4729   Customer #13300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4730   Customer #13301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4731   Customer #13302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4732   Customer #13305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4733   Customer #13307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4734   Customer #13312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4735   Customer #13313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4736   Customer #13315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4737   Customer #13317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4738   Customer #13321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4739   Customer #13324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4740   Customer #13325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4741   Customer #13326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4742   Customer #13328                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4743   Customer #13329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4744   Customer #13330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4745   Customer #13333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4746   Customer #13335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4747   Customer #13337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4748   Customer #13339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4749   Customer #13340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4750   Customer #13347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4751   Customer #13349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4752   Customer #13351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4753   Customer #13352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4754   Customer #13354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4755   Customer #13357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4756   Customer #13358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4757   Customer #13360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4758   Customer #13362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4759   Customer #13364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4760   Customer #13365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4761   Customer #13366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4762   Customer #13368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4763   Customer #13369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4764   Customer #13370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4765   Customer #13372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4766   Customer #13373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4767   Customer #13377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4768   Customer #13381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4769   Customer #13382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4770   Customer #13384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4771   Customer #13385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4772   Customer #13386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4773   Customer #13387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4774   Customer #13388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4775   Customer #13389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4776   Customer #13390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4777   Customer #13394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4778   Customer #13396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4779   Customer #13399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4780   Customer #13400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4781   Customer #13401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4782   Customer #13414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4783   Customer #13415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4784   Customer #13418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4785   Customer #13419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4786   Customer #13420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4787   Customer #13421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4788   Customer #13422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4789   Customer #13423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4790   Customer #13425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4791   Customer #13426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4792   Customer #13427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4793   Customer #13429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4794   Customer #13430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4795   Customer #13439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4796   Customer #13440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4797   Customer #13443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4798   Customer #13445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4799   Customer #13446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4800   Customer #13447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4801   Customer #13454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4802   Customer #13460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4803   Customer #13464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4804   Customer #13466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4805   Customer #13467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4806   Customer #13471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4807   Customer #13476                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4808   Customer #13477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4809   Customer #13480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4810   Customer #13481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4811   Customer #13482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4812   Customer #13488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4813   Customer #13489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4814   Customer #13495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4815   Customer #13496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4816   Customer #13497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4817   Customer #13502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4818   Customer #13503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4819   Customer #13508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4820   Customer #13511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4821   Customer #13512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4822   Customer #13514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4823   Customer #13519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4824   Customer #13521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4825   Customer #13522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4826   Customer #13523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4827   Customer #13524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4828   Customer #13527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4829   Customer #13528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4830   Customer #13529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4831   Customer #13530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4832   Customer #13531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4833   Customer #13532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4834   Customer #13537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4835   Customer #13539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4836   Customer #13542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4837   Customer #13544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4838   Customer #13545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4839   Customer #13549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4840   Customer #13554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4841   Customer #13555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4842   Customer #13557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4843   Customer #13558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4844   Customer #13559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4845   Customer #13560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4846   Customer #13562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4847   Customer #13563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4848   Customer #13565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4849   Customer #13567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4850   Customer #13569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4851   Customer #13581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4852   Customer #13582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4853   Customer #13584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4854   Customer #13587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4855   Customer #13589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4856   Customer #13594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4857   Customer #13595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4858   Customer #13597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4859   Customer #13599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4860   Customer #13600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4861   Customer #13602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4862   Customer #13604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4863   Customer #13605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4864   Customer #13606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4865   Customer #13608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4866   Customer #13609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4867   Customer #13610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4868   Customer #13611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4869   Customer #13613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4870   Customer #13614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4871   Customer #13615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4872   Customer #13618                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4873   Customer #13627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4874   Customer #13628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4875   Customer #13630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4876   Customer #13631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4877   Customer #13632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4878   Customer #13634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4879   Customer #13635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4880   Customer #13636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4881   Customer #13637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4882   Customer #13640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4883   Customer #13646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4884   Customer #13647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4885   Customer #13648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4886   Customer #13649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4887   Customer #13652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4888   Customer #13660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4889   Customer #13661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4890   Customer #13662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4891   Customer #13664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4892   Customer #13665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4893   Customer #13668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4894   Customer #13669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4895   Customer #13672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4896   Customer #13677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4897   Customer #13679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4898   Customer #13685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4899   Customer #13690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4900   Customer #13697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4901   Customer #13698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4902   Customer #13700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4903   Customer #13701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4904   Customer #13702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4905   Customer #13703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4906   Customer #13705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4907   Customer #13706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4908   Customer #13709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4909   Customer #13716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4910   Customer #13717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4911   Customer #13718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4912   Customer #13720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4913   Customer #13727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4914   Customer #13732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4915   Customer #13734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4916   Customer #13738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4917   Customer #13739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4918   Customer #13741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4919   Customer #13742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4920   Customer #13748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4921   Customer #13753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4922   Customer #13758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4923   Customer #13759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4924   Customer #13761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4925   Customer #13763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4926   Customer #13765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4927   Customer #13768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4928   Customer #13769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4929   Customer #13772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4930   Customer #13775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4931   Customer #13776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4932   Customer #13778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4933   Customer #13783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4934   Customer #13785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4935   Customer #13787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4936   Customer #13788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4937   Customer #13789                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.4938   Customer #13790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4939   Customer #13792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4940   Customer #13793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4941   Customer #13795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4942   Customer #13797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4943   Customer #13799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4944   Customer #13801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4945   Customer #13806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4946   Customer #13808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4947   Customer #13809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4948   Customer #13814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4949   Customer #13815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4950   Customer #13816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4951   Customer #13819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4952   Customer #13820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4953   Customer #13821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4954   Customer #13828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4955   Customer #13829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4956   Customer #13830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4957   Customer #13831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4958   Customer #13837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4959   Customer #13838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4960   Customer #13839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4961   Customer #13841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4962   Customer #13842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4963   Customer #13843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4964   Customer #13844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4965   Customer #13845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4966   Customer #13849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4967   Customer #13852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4968   Customer #13864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4969   Customer #13865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4970   Customer #13866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4971   Customer #13870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4972   Customer #13872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4973   Customer #13873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4974   Customer #13875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4975   Customer #13880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4976   Customer #13881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4977   Customer #13882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4978   Customer #13883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4979   Customer #13884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4980   Customer #13888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4981   Customer #13891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4982   Customer #13892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4983   Customer #13893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4984   Customer #13896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4985   Customer #13897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4986   Customer #13898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4987   Customer #13899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4988   Customer #13902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4989   Customer #13903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4990   Customer #13906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4991   Customer #13912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4992   Customer #13913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4993   Customer #13915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4994   Customer #13916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4995   Customer #13918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4996   Customer #13920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4997   Customer #13922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4998   Customer #13925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.4999   Customer #13926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5000   Customer #13929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5001   Customer #13930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5002   Customer #13933                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5003   Customer #13938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5004   Customer #13940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5005   Customer #13942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5006   Customer #13943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5007   Customer #13946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5008   Customer #13948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5009   Customer #13950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5010   Customer #13952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5011   Customer #13956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5012   Customer #13957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5013   Customer #13958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5014   Customer #13964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5015   Customer #13965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5016   Customer #13966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5017   Customer #13967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5018   Customer #13968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5019   Customer #13970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5020   Customer #13971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5021   Customer #13974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5022   Customer #13975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5023   Customer #13976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5024   Customer #13979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5025   Customer #13980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5026   Customer #13983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5027   Customer #13984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5028   Customer #13985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5029   Customer #13989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5030   Customer #13990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5031   Customer #13991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5032   Customer #13994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5033   Customer #13996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5034   Customer #13998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5035   Customer #14001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5036   Customer #14002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5037   Customer #14007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5038   Customer #14009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5039   Customer #14011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5040   Customer #14015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5041   Customer #14016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5042   Customer #14017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5043   Customer #14021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5044   Customer #14022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5045   Customer #14026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5046   Customer #14029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5047   Customer #14032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5048   Customer #14033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5049   Customer #14036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5050   Customer #14038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5051   Customer #14039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5052   Customer #14047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5053   Customer #14049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5054   Customer #14051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5055   Customer #14052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5056   Customer #14056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5057   Customer #14059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5058   Customer #14062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5059   Customer #14063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5060   Customer #14065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5061   Customer #14066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5062   Customer #14068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5063   Customer #14069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5064   Customer #14070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5065   Customer #14073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5066   Customer #14074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5067   Customer #14078                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5068   Customer #14080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5069   Customer #14081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5070   Customer #14084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5071   Customer #14086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5072   Customer #14087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5073   Customer #14088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5074   Customer #14095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5075   Customer #14096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5076   Customer #14098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5077   Customer #14099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5078   Customer #14100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5079   Customer #14101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5080   Customer #14102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5081   Customer #14104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5082   Customer #14105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5083   Customer #14106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5084   Customer #14107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5085   Customer #14109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5086   Customer #14113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5087   Customer #14116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5088   Customer #14118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5089   Customer #14119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5090   Customer #14120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5091   Customer #14121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5092   Customer #14122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5093   Customer #14126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5094   Customer #14130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5095   Customer #14132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5096   Customer #14133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5097   Customer #14134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5098   Customer #14138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5099   Customer #14139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5100   Customer #14143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5101   Customer #14152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5102   Customer #14153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5103   Customer #14155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5104   Customer #14156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5105   Customer #14158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5106   Customer #14162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5107   Customer #14163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5108   Customer #14164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5109   Customer #14165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5110   Customer #14167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5111   Customer #14169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5112   Customer #14171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5113   Customer #14172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5114   Customer #14173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5115   Customer #14180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5116   Customer #14184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5117   Customer #14185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5118   Customer #14190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5119   Customer #14195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5120   Customer #14196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5121   Customer #14200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5122   Customer #14203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5123   Customer #14205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5124   Customer #14209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5125   Customer #14210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5126   Customer #14213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5127   Customer #14217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5128   Customer #14220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5129   Customer #14221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5130   Customer #14222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5131   Customer #14224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5132   Customer #14225                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5133   Customer #14226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5134   Customer #14227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5135   Customer #14228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5136   Customer #14231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5137   Customer #14233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5138   Customer #14235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5139   Customer #14236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5140   Customer #14237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5141   Customer #14238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5142   Customer #14239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5143   Customer #14241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5144   Customer #14244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5145   Customer #14245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5146   Customer #14247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5147   Customer #14251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5148   Customer #14253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5149   Customer #14255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5150   Customer #14256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5151   Customer #14258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5152   Customer #14266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5153   Customer #14268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5154   Customer #14270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5155   Customer #14271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5156   Customer #14274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5157   Customer #14276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5158   Customer #14285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5159   Customer #14286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5160   Customer #14288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5161   Customer #14289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5162   Customer #14290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5163   Customer #14292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5164   Customer #14293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5165   Customer #14294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5166   Customer #14295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5167   Customer #14296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5168   Customer #14301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5169   Customer #14304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5170   Customer #14306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5171   Customer #14307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5172   Customer #14308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5173   Customer #14311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5174   Customer #14312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5175   Customer #14317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5176   Customer #14318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5177   Customer #14322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5178   Customer #14323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5179   Customer #14324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5180   Customer #14325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5181   Customer #14326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5182   Customer #14327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5183   Customer #14328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5184   Customer #14329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5185   Customer #14330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5186   Customer #14335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5187   Customer #14336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5188   Customer #14345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5189   Customer #14346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5190   Customer #14348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5191   Customer #14349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5192   Customer #14350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5193   Customer #14352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5194   Customer #14353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5195   Customer #14354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5196   Customer #14355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5197   Customer #14360                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5198   Customer #14361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5199   Customer #14368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5200   Customer #14369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5201   Customer #14375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5202   Customer #14376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5203   Customer #14378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5204   Customer #14379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5205   Customer #14380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5206   Customer #14381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5207   Customer #14382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5208   Customer #14384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5209   Customer #14385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5210   Customer #14386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5211   Customer #14387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5212   Customer #14390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5213   Customer #14391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5214   Customer #14392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5215   Customer #14393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5216   Customer #14394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5217   Customer #14397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5218   Customer #14413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5219   Customer #14414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5220   Customer #14415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5221   Customer #14416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5222   Customer #14423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5223   Customer #14427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5224   Customer #14428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5225   Customer #14431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5226   Customer #14442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5227   Customer #14444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5228   Customer #14446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5229   Customer #14449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5230   Customer #14450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5231   Customer #14451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5232   Customer #14452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5233   Customer #14453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5234   Customer #14454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5235   Customer #14456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5236   Customer #14457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5237   Customer #14459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5238   Customer #14460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5239   Customer #14468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5240   Customer #14469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5241   Customer #14470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5242   Customer #14471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5243   Customer #14472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5244   Customer #14491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5245   Customer #14492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5246   Customer #14493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5247   Customer #14495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5248   Customer #14497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5249   Customer #14498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5250   Customer #14500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5251   Customer #14502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5252   Customer #14506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5253   Customer #14507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5254   Customer #14508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5255   Customer #14509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5256   Customer #14510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5257   Customer #14511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5258   Customer #14512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5259   Customer #14513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5260   Customer #14516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5261   Customer #14517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5262   Customer #14520                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5263   Customer #14528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5264   Customer #14529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5265   Customer #14530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5266   Customer #14531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5267   Customer #14533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5268   Customer #14534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5269   Customer #14535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5270   Customer #14537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5271   Customer #14538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5272   Customer #14539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5273   Customer #14541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5274   Customer #14543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5275   Customer #14560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5276   Customer #14564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5277   Customer #14566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5278   Customer #14567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5279   Customer #14570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5280   Customer #14571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5281   Customer #14573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5282   Customer #14577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5283   Customer #14578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5284   Customer #14580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5285   Customer #14582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5286   Customer #14583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5287   Customer #14587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5288   Customer #14594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5289   Customer #14597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5290   Customer #14599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5291   Customer #14602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5292   Customer #14608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5293   Customer #14611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5294   Customer #14612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5295   Customer #14618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5296   Customer #14619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5297   Customer #14620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5298   Customer #14621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5299   Customer #14622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5300   Customer #14629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5301   Customer #14632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5302   Customer #14633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5303   Customer #14636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5304   Customer #14637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5305   Customer #14643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5306   Customer #14644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5307   Customer #14645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5308   Customer #14651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5309   Customer #14653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5310   Customer #14655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5311   Customer #14656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5312   Customer #14657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5313   Customer #14658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5314   Customer #14659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5315   Customer #14660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5316   Customer #14662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5317   Customer #14664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5318   Customer #14665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5319   Customer #14667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5320   Customer #14668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5321   Customer #14672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5322   Customer #14673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5323   Customer #14675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5324   Customer #14676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5325   Customer #14678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5326   Customer #14680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5327   Customer #14681                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5328   Customer #14682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5329   Customer #14687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5330   Customer #14690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5331   Customer #14693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5332   Customer #14694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5333   Customer #14696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5334   Customer #14699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5335   Customer #14701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5336   Customer #14702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5337   Customer #14709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5338   Customer #14712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5339   Customer #14715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5340   Customer #14716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5341   Customer #14717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5342   Customer #14721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5343   Customer #14722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5344   Customer #14723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5345   Customer #14725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5346   Customer #14726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5347   Customer #14729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5348   Customer #14730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5349   Customer #14732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5350   Customer #14734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5351   Customer #14735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5352   Customer #14744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5353   Customer #14745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5354   Customer #14755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5355   Customer #14756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5356   Customer #14757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5357   Customer #14758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5358   Customer #14759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5359   Customer #14762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5360   Customer #14763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5361   Customer #14765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5362   Customer #14766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5363   Customer #14767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5364   Customer #14768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5365   Customer #14770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5366   Customer #14771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5367   Customer #14774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5368   Customer #14775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5369   Customer #14776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5370   Customer #14777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5371   Customer #14778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5372   Customer #14779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5373   Customer #14781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5374   Customer #14782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5375   Customer #14785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5376   Customer #14786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5377   Customer #14787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5378   Customer #14789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5379   Customer #14790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5380   Customer #14793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5381   Customer #14797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5382   Customer #14799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5383   Customer #14800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5384   Customer #14801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5385   Customer #14804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5386   Customer #14807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5387   Customer #14808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5388   Customer #14809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5389   Customer #14810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5390   Customer #14822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5391   Customer #14823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5392   Customer #14824                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5393   Customer #14825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5394   Customer #14826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5395   Customer #14827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5396   Customer #14828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5397   Customer #14830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5398   Customer #14839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5399   Customer #14842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5400   Customer #14843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5401   Customer #14847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5402   Customer #14849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5403   Customer #14850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5404   Customer #14857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5405   Customer #14861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5406   Customer #14864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5407   Customer #14865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5408   Customer #14875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5409   Customer #14876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5410   Customer #14878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5411   Customer #14884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5412   Customer #14886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5413   Customer #14887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5414   Customer #14888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5415   Customer #14890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5416   Customer #14891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5417   Customer #14894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5418   Customer #14897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5419   Customer #14898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5420   Customer #14899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5421   Customer #14900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5422   Customer #14901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5423   Customer #14902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5424   Customer #14905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5425   Customer #14906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5426   Customer #14907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5427   Customer #14908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5428   Customer #14910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5429   Customer #14918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5430   Customer #14920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5431   Customer #14921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5432   Customer #14922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5433   Customer #14923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5434   Customer #14924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5435   Customer #14925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5436   Customer #14926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5437   Customer #14927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5438   Customer #14928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5439   Customer #14929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5440   Customer #14930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5441   Customer #14931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5442   Customer #14935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5443   Customer #14936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5444   Customer #14937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5445   Customer #14938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5446   Customer #14939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5447   Customer #14941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5448   Customer #14942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5449   Customer #14943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5450   Customer #14944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5451   Customer #14945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5452   Customer #14946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5453   Customer #14947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5454   Customer #14949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5455   Customer #14951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5456   Customer #14952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5457   Customer #14953                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5458   Customer #14954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5459   Customer #14955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5460   Customer #14956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5461   Customer #14959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5462   Customer #14963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5463   Customer #14968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5464   Customer #14969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5465   Customer #14970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5466   Customer #14971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5467   Customer #14972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5468   Customer #14973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5469   Customer #14974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5470   Customer #14975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5471   Customer #14978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5472   Customer #14979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5473   Customer #14980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5474   Customer #14981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5475   Customer #14983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5476   Customer #14984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5477   Customer #14985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5478   Customer #14986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5479   Customer #14987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5480   Customer #14989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5481   Customer #14990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5482   Customer #14991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5483   Customer #14996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5484   Customer #14997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5485   Customer #14998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5486   Customer #14999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5487   Customer #15000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5488   Customer #15002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5489   Customer #15003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5490   Customer #15004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5491   Customer #15005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5492   Customer #15006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5493   Customer #15008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5494   Customer #15009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5495   Customer #15010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5496   Customer #15011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5497   Customer #15012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5498   Customer #15014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5499   Customer #15016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5500   Customer #15017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5501   Customer #15020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5502   Customer #15021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5503   Customer #15023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5504   Customer #15024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5505   Customer #15026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5506   Customer #15027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5507   Customer #15029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5508   Customer #15032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5509   Customer #15033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5510   Customer #15034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5511   Customer #15035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5512   Customer #15037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5513   Customer #15039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5514   Customer #15044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5515   Customer #15045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5516   Customer #15048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5517   Customer #15049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5518   Customer #15050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5519   Customer #15051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5520   Customer #15052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5521   Customer #15053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5522   Customer #15055                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5523   Customer #15056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5524   Customer #15057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5525   Customer #15058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5526   Customer #15059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5527   Customer #15065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5528   Customer #15067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5529   Customer #15070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5530   Customer #15075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5531   Customer #15077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5532   Customer #15078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5533   Customer #15081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5534   Customer #15083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5535   Customer #15087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5536   Customer #15088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5537   Customer #15089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5538   Customer #15092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5539   Customer #15095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5540   Customer #15096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5541   Customer #15097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5542   Customer #15100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5543   Customer #15101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5544   Customer #15102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5545   Customer #15103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5546   Customer #15106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5547   Customer #15109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5548   Customer #15110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5549   Customer #15111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5550   Customer #15112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5551   Customer #15113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5552   Customer #15114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5553   Customer #15115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5554   Customer #15118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5555   Customer #15128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5556   Customer #15131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5557   Customer #15132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5558   Customer #15133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5559   Customer #15133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5560   Customer #15133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5561   Customer #15134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5562   Customer #15136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5563   Customer #15137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5564   Customer #15140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5565   Customer #15141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5566   Customer #15143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5567   Customer #15144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5568   Customer #15146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5569   Customer #15147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5570   Customer #15148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5571   Customer #15151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5572   Customer #15152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5573   Customer #15155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5574   Customer #15157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5575   Customer #15158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5576   Customer #15159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5577   Customer #15160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5578   Customer #15162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5579   Customer #15170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5580   Customer #15172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5581   Customer #15173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5582   Customer #15174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5583   Customer #15175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5584   Customer #15176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5585   Customer #15177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5586   Customer #15178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5587   Customer #15179                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5588   Customer #15186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5589   Customer #15187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5590   Customer #15188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5591   Customer #15192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5592   Customer #15194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5593   Customer #15196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5594   Customer #15197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5595   Customer #15199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5596   Customer #15202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5597   Customer #15204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5598   Customer #15207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5599   Customer #15208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5600   Customer #15210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5601   Customer #15213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5602   Customer #15215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5603   Customer #15219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5604   Customer #15221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5605   Customer #15225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5606   Customer #15229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5607   Customer #15230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5608   Customer #15232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5609   Customer #15234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5610   Customer #15235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5611   Customer #15236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5612   Customer #15238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5613   Customer #15239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5614   Customer #15241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5615   Customer #15242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5616   Customer #15243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5617   Customer #15245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5618   Customer #15246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5619   Customer #15248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5620   Customer #15249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5621   Customer #15251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5622   Customer #15252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5623   Customer #15253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5624   Customer #15255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5625   Customer #15256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5626   Customer #15257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5627   Customer #15258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5628   Customer #15259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5629   Customer #15267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5630   Customer #15268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5631   Customer #15272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5632   Customer #15273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5633   Customer #15274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5634   Customer #15276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5635   Customer #15277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5636   Customer #15279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5637   Customer #15281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5638   Customer #15282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5639   Customer #15283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5640   Customer #15285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5641   Customer #15287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5642   Customer #15290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5643   Customer #15291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5644   Customer #15292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5645   Customer #15293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5646   Customer #15295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5647   Customer #15296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5648   Customer #15300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5649   Customer #15302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5650   Customer #15304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5651   Customer #15305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5652   Customer #15309                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5653   Customer #15311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5654   Customer #15313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5655   Customer #15317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5656   Customer #15318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5657   Customer #15319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5658   Customer #15324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5659   Customer #15326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5660   Customer #15327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5661   Customer #15329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5662   Customer #15330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5663   Customer #15332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5664   Customer #15335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5665   Customer #15336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5666   Customer #15337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5667   Customer #15338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5668   Customer #15339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5669   Customer #15340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5670   Customer #15345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5671   Customer #15346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5672   Customer #15349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5673   Customer #15350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5674   Customer #15351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5675   Customer #15352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5676   Customer #15353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5677   Customer #15354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5678   Customer #15355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5679   Customer #15356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5680   Customer #15359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5681   Customer #15360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5682   Customer #15361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5683   Customer #15362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5684   Customer #15364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5685   Customer #15365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5686   Customer #15366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5687   Customer #15367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5688   Customer #15374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5689   Customer #15377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5690   Customer #15386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5691   Customer #15388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5692   Customer #15389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5693   Customer #15391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5694   Customer #15398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5695   Customer #15399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5696   Customer #15402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5697   Customer #15405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5698   Customer #15408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5699   Customer #15410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5700   Customer #15412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5701   Customer #15432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5702   Customer #15439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5703   Customer #15440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5704   Customer #15441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5705   Customer #15442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5706   Customer #15443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5707   Customer #15444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5708   Customer #15447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5709   Customer #15448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5710   Customer #15450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5711   Customer #15451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5712   Customer #15453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5713   Customer #15457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5714   Customer #15458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5715   Customer #15459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5716   Customer #15460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5717   Customer #15461                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5718   Customer #15462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5719   Customer #15463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5720   Customer #15467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5721   Customer #15469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5722   Customer #15470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5723   Customer #15473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5724   Customer #15474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5725   Customer #15475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5726   Customer #15476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5727   Customer #15477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5728   Customer #15479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5729   Customer #15480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5730   Customer #15481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5731   Customer #15482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5732   Customer #15484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5733   Customer #15485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5734   Customer #15486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5735   Customer #15487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5736   Customer #15488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5737   Customer #15489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5738   Customer #15490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5739   Customer #15491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5740   Customer #15492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5741   Customer #15494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5742   Customer #15510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5743   Customer #15513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5744   Customer #15519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5745   Customer #15520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5746   Customer #15521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5747   Customer #15525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5748   Customer #15528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5749   Customer #15529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5750   Customer #15529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5751   Customer #15530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5752   Customer #15533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5753   Customer #15536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5754   Customer #15538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5755   Customer #15540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5756   Customer #15541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5757   Customer #15543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5758   Customer #15546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5759   Customer #15547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5760   Customer #15548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5761   Customer #15549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5762   Customer #15555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5763   Customer #15560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5764   Customer #15562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5765   Customer #15563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5766   Customer #15564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5767   Customer #15565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5768   Customer #15566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5769   Customer #15568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5770   Customer #15569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5771   Customer #15570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5772   Customer #15571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5773   Customer #15573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5774   Customer #15574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5775   Customer #15576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5776   Customer #15580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5777   Customer #15582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5778   Customer #15583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5779   Customer #15594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5780   Customer #15602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5781   Customer #15604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5782   Customer #15607                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5783   Customer #15608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5784   Customer #15609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5785   Customer #15610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5786   Customer #15611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5787   Customer #15629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5788   Customer #15634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5789   Customer #15636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5790   Customer #15638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5791   Customer #15639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5792   Customer #15640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5793   Customer #15642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5794   Customer #15643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5795   Customer #15648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5796   Customer #15650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5797   Customer #15651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5798   Customer #15654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5799   Customer #15655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5800   Customer #15657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5801   Customer #15660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5802   Customer #15662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5803   Customer #15663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5804   Customer #15665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5805   Customer #15666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5806   Customer #15667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5807   Customer #15669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5808   Customer #15670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5809   Customer #15671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5810   Customer #15673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5811   Customer #15674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5812   Customer #15676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5813   Customer #15677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5814   Customer #15678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5815   Customer #15679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5816   Customer #15680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5817   Customer #15681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5818   Customer #15683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5819   Customer #15684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5820   Customer #15685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5821   Customer #15689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5822   Customer #15690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5823   Customer #15696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5824   Customer #15698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5825   Customer #15699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5826   Customer #15709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5827   Customer #15711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5828   Customer #15723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5829   Customer #15724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5830   Customer #15725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5831   Customer #15727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5832   Customer #15728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5833   Customer #15729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5834   Customer #15730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5835   Customer #15732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5836   Customer #15733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5837   Customer #15734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5838   Customer #15747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5839   Customer #15750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5840   Customer #15752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5841   Customer #15753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5842   Customer #15757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5843   Customer #15759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5844   Customer #15760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5845   Customer #15761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5846   Customer #15762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5847   Customer #15767                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5848   Customer #15768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5849   Customer #15771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5850   Customer #15775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5851   Customer #15776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5852   Customer #15778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5853   Customer #15779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5854   Customer #15780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5855   Customer #15785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5856   Customer #15788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5857   Customer #15789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5858   Customer #15792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5859   Customer #15793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5860   Customer #15794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5861   Customer #15795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5862   Customer #15796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5863   Customer #15798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5864   Customer #15801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5865   Customer #15802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5866   Customer #15803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5867   Customer #15810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5868   Customer #15811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5869   Customer #15835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5870   Customer #15836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5871   Customer #15837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5872   Customer #15838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5873   Customer #15839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5874   Customer #15841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5875   Customer #15842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5876   Customer #15843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5877   Customer #15844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5878   Customer #15850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5879   Customer #15851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5880   Customer #15853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5881   Customer #15854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5882   Customer #15855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5883   Customer #15856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5884   Customer #15859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5885   Customer #15860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5886   Customer #15861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5887   Customer #15865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5888   Customer #15866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5889   Customer #15868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5890   Customer #15869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5891   Customer #15870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5892   Customer #15873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5893   Customer #15874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5894   Customer #15875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5895   Customer #15876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5896   Customer #15879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5897   Customer #15880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5898   Customer #15882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5899   Customer #15888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5900   Customer #15892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5901   Customer #15893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5902   Customer #15894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5903   Customer #15895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5904   Customer #15897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5905   Customer #15898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5906   Customer #15899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5907   Customer #15900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5908   Customer #15901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5909   Customer #15902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5910   Customer #15903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5911   Customer #15904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5912   Customer #15906                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5913   Customer #15907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5914   Customer #15908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5915   Customer #15911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5916   Customer #15912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5917   Customer #15913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5918   Customer #15914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5919   Customer #15915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5920   Customer #15916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5921   Customer #15917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5922   Customer #15918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5923   Customer #15919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5924   Customer #15923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5925   Customer #15924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5926   Customer #15925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5927   Customer #15926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5928   Customer #15927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5929   Customer #15929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5930   Customer #15930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5931   Customer #15931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5932   Customer #15932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5933   Customer #15933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5934   Customer #15935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5935   Customer #15936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5936   Customer #15942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5937   Customer #15944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5938   Customer #15947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5939   Customer #15948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5940   Customer #15952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5941   Customer #15953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5942   Customer #15954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5943   Customer #15956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5944   Customer #15958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5945   Customer #15959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5946   Customer #15961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5947   Customer #15963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5948   Customer #15964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5949   Customer #15965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5950   Customer #15967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5951   Customer #15968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5952   Customer #15969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5953   Customer #15970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5954   Customer #15977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5955   Customer #15978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5956   Customer #15980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5957   Customer #15981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5958   Customer #15982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5959   Customer #15983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5960   Customer #15984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5961   Customer #15986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5962   Customer #15987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5963   Customer #15988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5964   Customer #15991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5965   Customer #15992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5966   Customer #15995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5967   Customer #15996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5968   Customer #15998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5969   Customer #15999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5970   Customer #16002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5971   Customer #16003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5972   Customer #16004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5973   Customer #16005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5974   Customer #16006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5975   Customer #16007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5976   Customer #16009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5977   Customer #16010                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.5978   Customer #16012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5979   Customer #16016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5980   Customer #16017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5981   Customer #16019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5982   Customer #16020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5983   Customer #16022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5984   Customer #16023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5985   Customer #16027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5986   Customer #16030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5987   Customer #16032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5988   Customer #16039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5989   Customer #16040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5990   Customer #16041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5991   Customer #16044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5992   Customer #16045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5993   Customer #16046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5994   Customer #16052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5995   Customer #16056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5996   Customer #16057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5997   Customer #16058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5998   Customer #16061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.5999   Customer #16062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6000   Customer #16073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6001   Customer #16074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6002   Customer #16075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6003   Customer #16077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6004   Customer #16078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6005   Customer #16080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6006   Customer #16081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6007   Customer #16082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6008   Customer #16085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6009   Customer #16087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6010   Customer #16089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6011   Customer #16090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6012   Customer #16092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6013   Customer #16093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6014   Customer #16096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6015   Customer #16097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6016   Customer #16098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6017   Customer #16099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6018   Customer #16101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6019   Customer #16102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6020   Customer #16103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6021   Customer #16109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6022   Customer #16110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6023   Customer #16111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6024   Customer #16112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6025   Customer #16113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6026   Customer #16114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6027   Customer #16116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6028   Customer #16118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6029   Customer #16119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6030   Customer #16120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6031   Customer #16123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6032   Customer #16125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6033   Customer #16126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6034   Customer #16132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6035   Customer #16133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6036   Customer #16134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6037   Customer #16135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6038   Customer #16136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6039   Customer #16138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6040   Customer #16141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6041   Customer #16143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6042   Customer #16145                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6043   Customer #16148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6044   Customer #16149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6045   Customer #16150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6046   Customer #16151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6047   Customer #16152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6048   Customer #16164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6049   Customer #16171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6050   Customer #16177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6051   Customer #16178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6052   Customer #16181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6053   Customer #16182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6054   Customer #16190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6055   Customer #16192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6056   Customer #16193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6057   Customer #16194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6058   Customer #16197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6059   Customer #16199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6060   Customer #16200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6061   Customer #16209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6062   Customer #16210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6063   Customer #16217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6064   Customer #16218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6065   Customer #16219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6066   Customer #16220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6067   Customer #16221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6068   Customer #16222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6069   Customer #16245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6070   Customer #16254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6071   Customer #16255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6072   Customer #16256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6073   Customer #16257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6074   Customer #16258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6075   Customer #16259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6076   Customer #16262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6077   Customer #16264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6078   Customer #16266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6079   Customer #16267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6080   Customer #16269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6081   Customer #16270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6082   Customer #16271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6083   Customer #16272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6084   Customer #16277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6085   Customer #16278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6086   Customer #16279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6087   Customer #16280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6088   Customer #16281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6089   Customer #16283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6090   Customer #16286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6091   Customer #16287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6092   Customer #16288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6093   Customer #16289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6094   Customer #16292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6095   Customer #16293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6096   Customer #16295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6097   Customer #16298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6098   Customer #16300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6099   Customer #16301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6100   Customer #16302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6101   Customer #16303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6102   Customer #16305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6103   Customer #16306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6104   Customer #16307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6105   Customer #16309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6106   Customer #16310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6107   Customer #16311                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6108   Customer #16312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6109   Customer #16313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6110   Customer #16314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6111   Customer #16316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6112   Customer #16317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6113   Customer #16319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6114   Customer #16320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6115   Customer #16322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6116   Customer #16324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6117   Customer #16331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6118   Customer #16333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6119   Customer #16335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6120   Customer #16336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6121   Customer #16341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6122   Customer #16342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6123   Customer #16343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6124   Customer #16348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6125   Customer #16350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6126   Customer #16351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6127   Customer #16352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6128   Customer #16358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6129   Customer #16360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6130   Customer #16361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6131   Customer #16362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6132   Customer #16363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6133   Customer #16373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6134   Customer #16375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6135   Customer #16377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6136   Customer #16378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6137   Customer #16380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6138   Customer #16382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6139   Customer #16399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6140   Customer #16400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6141   Customer #16404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6142   Customer #16405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6143   Customer #16406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6144   Customer #16408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6145   Customer #16409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6146   Customer #16412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6147   Customer #16414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6148   Customer #16415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6149   Customer #16416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6150   Customer #16418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6151   Customer #16421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6152   Customer #16422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6153   Customer #16424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6154   Customer #16425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6155   Customer #16427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6156   Customer #16429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6157   Customer #16430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6158   Customer #16431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6159   Customer #16432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6160   Customer #16434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6161   Customer #16434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6162   Customer #16435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6163   Customer #16436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6164   Customer #16437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6165   Customer #16438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6166   Customer #16439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6167   Customer #16440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6168   Customer #16441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6169   Customer #16443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6170   Customer #16445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6171   Customer #16446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6172   Customer #16448                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6173   Customer #16449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6174   Customer #16451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6175   Customer #16452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6176   Customer #16454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6177   Customer #16455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6178   Customer #16458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6179   Customer #16461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6180   Customer #16462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6181   Customer #16465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6182   Customer #16468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6183   Customer #16469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6184   Customer #16471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6185   Customer #16472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6186   Customer #16473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6187   Customer #16474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6188   Customer #16479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6189   Customer #16482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6190   Customer #16484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6191   Customer #16485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6192   Customer #16486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6193   Customer #16487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6194   Customer #16488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6195   Customer #16489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6196   Customer #16490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6197   Customer #16495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6198   Customer #16496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6199   Customer #16498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6200   Customer #16499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6201   Customer #16501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6202   Customer #16504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6203   Customer #16507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6204   Customer #16508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6205   Customer #16529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6206   Customer #16531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6207   Customer #16534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6208   Customer #16536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6209   Customer #16537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6210   Customer #16538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6211   Customer #16539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6212   Customer #16540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6213   Customer #16543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6214   Customer #16545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6215   Customer #16546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6216   Customer #16547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6217   Customer #16550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6218   Customer #16551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6219   Customer #16552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6220   Customer #16553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6221   Customer #16562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6222   Customer #16564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6223   Customer #16565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6224   Customer #16588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6225   Customer #16590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6226   Customer #16591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6227   Customer #16601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6228   Customer #16602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6229   Customer #16603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6230   Customer #16604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6231   Customer #16605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6232   Customer #16607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6233   Customer #16608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6234   Customer #16609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6235   Customer #16611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6236   Customer #16613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6237   Customer #16614                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6238   Customer #16615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6239   Customer #16617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6240   Customer #16618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6241   Customer #16620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6242   Customer #16621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6243   Customer #16624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6244   Customer #16643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6245   Customer #16644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6246   Customer #16645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6247   Customer #16646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6248   Customer #16647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6249   Customer #16649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6250   Customer #16652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6251   Customer #16655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6252   Customer #16664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6253   Customer #16665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6254   Customer #16667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6255   Customer #16668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6256   Customer #16668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6257   Customer #16671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6258   Customer #16672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6259   Customer #16681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6260   Customer #16683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6261   Customer #16686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6262   Customer #16689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6263   Customer #16690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6264   Customer #16691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6265   Customer #16692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6266   Customer #16693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6267   Customer #16694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6268   Customer #16696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6269   Customer #16697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6270   Customer #16698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6271   Customer #16699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6272   Customer #16700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6273   Customer #16701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6274   Customer #16703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6275   Customer #16705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6276   Customer #16706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6277   Customer #16708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6278   Customer #16711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6279   Customer #16712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6280   Customer #16713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6281   Customer #16713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6282   Customer #16714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6283   Customer #16716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6284   Customer #16717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6285   Customer #16718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6286   Customer #16719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6287   Customer #16720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6288   Customer #16722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6289   Customer #16723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6290   Customer #16724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6291   Customer #16727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6292   Customer #16728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6293   Customer #16735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6294   Customer #16739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6295   Customer #16740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6296   Customer #16742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6297   Customer #16743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6298   Customer #16744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6299   Customer #16746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6300   Customer #16750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6301   Customer #16752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6302   Customer #16758                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6303   Customer #16759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6304   Customer #16761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6305   Customer #16763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6306   Customer #16765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6307   Customer #16773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6308   Customer #16774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6309   Customer #16775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6310   Customer #16776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6311   Customer #16777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6312   Customer #16779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6313   Customer #16780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6314   Customer #16781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6315   Customer #16782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6316   Customer #16785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6317   Customer #16786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6318   Customer #16789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6319   Customer #16790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6320   Customer #16791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6321   Customer #16792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6322   Customer #16793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6323   Customer #16794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6324   Customer #16795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6325   Customer #16798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6326   Customer #16799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6327   Customer #16800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6328   Customer #16801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6329   Customer #16802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6330   Customer #16803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6331   Customer #16806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6332   Customer #16808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6333   Customer #16810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6334   Customer #16811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6335   Customer #16812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6336   Customer #16814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6337   Customer #16818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6338   Customer #16819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6339   Customer #16820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6340   Customer #16821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6341   Customer #16822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6342   Customer #16823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6343   Customer #16824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6344   Customer #16825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6345   Customer #16826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6346   Customer #16827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6347   Customer #16828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6348   Customer #16830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6349   Customer #16831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6350   Customer #16833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6351   Customer #16835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6352   Customer #16836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6353   Customer #16839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6354   Customer #16842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6355   Customer #16847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6356   Customer #16848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6357   Customer #16849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6358   Customer #16850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6359   Customer #16851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6360   Customer #16852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6361   Customer #16853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6362   Customer #16854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6363   Customer #16857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6364   Customer #16858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6365   Customer #16859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6366   Customer #16860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6367   Customer #16861                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6368   Customer #16863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6369   Customer #16864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6370   Customer #16865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6371   Customer #16866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6372   Customer #16871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6373   Customer #16872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6374   Customer #16873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6375   Customer #16874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6376   Customer #16875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6377   Customer #16876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6378   Customer #16877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6379   Customer #16878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6380   Customer #16880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6381   Customer #16881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6382   Customer #16882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6383   Customer #16883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6384   Customer #16884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6385   Customer #16885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6386   Customer #16887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6387   Customer #16888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6388   Customer #16890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6389   Customer #16893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6390   Customer #16894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6391   Customer #16895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6392   Customer #16896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6393   Customer #16897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6394   Customer #16898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6395   Customer #16904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6396   Customer #16908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6397   Customer #16909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6398   Customer #16910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6399   Customer #16911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6400   Customer #16912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6401   Customer #16913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6402   Customer #16915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6403   Customer #16916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6404   Customer #16917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6405   Customer #16920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6406   Customer #16924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6407   Customer #16925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6408   Customer #16929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6409   Customer #16930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6410   Customer #16931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6411   Customer #16932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6412   Customer #16933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6413   Customer #16934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6414   Customer #16941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6415   Customer #16943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6416   Customer #16945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6417   Customer #16946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6418   Customer #16948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6419   Customer #16949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6420   Customer #16951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6421   Customer #16952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6422   Customer #16955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6423   Customer #16956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6424   Customer #16958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6425   Customer #16960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6426   Customer #16961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6427   Customer #16962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6428   Customer #16964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6429   Customer #16965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6430   Customer #16966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6431   Customer #16967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6432   Customer #16968                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6433   Customer #16969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6434   Customer #16970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6435   Customer #16971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6436   Customer #16972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6437   Customer #16973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6438   Customer #16975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6439   Customer #16977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6440   Customer #16979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6441   Customer #16980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6442   Customer #16984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6443   Customer #16985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6444   Customer #16989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6445   Customer #16992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6446   Customer #16993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6447   Customer #16995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6448   Customer #16996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6449   Customer #16997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6450   Customer #16998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6451   Customer #16999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6452   Customer #17000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6453   Customer #17003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6454   Customer #17007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6455   Customer #17008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6456   Customer #17009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6457   Customer #17010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6458   Customer #17014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6459   Customer #17017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6460   Customer #17018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6461   Customer #17019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6462   Customer #17020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6463   Customer #17021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6464   Customer #17022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6465   Customer #17029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6466   Customer #17033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6467   Customer #17034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6468   Customer #17035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6469   Customer #17039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6470   Customer #17040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6471   Customer #17041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6472   Customer #17043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6473   Customer #17044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6474   Customer #17046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6475   Customer #17047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6476   Customer #17048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6477   Customer #17049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6478   Customer #17052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6479   Customer #17053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6480   Customer #17055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6481   Customer #17057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6482   Customer #17062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6483   Customer #17064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6484   Customer #17068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6485   Customer #17072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6486   Customer #17076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6487   Customer #17077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6488   Customer #17097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6489   Customer #17098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6490   Customer #17099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6491   Customer #17102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6492   Customer #17107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6493   Customer #17108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6494   Customer #17112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6495   Customer #17118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6496   Customer #17121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6497   Customer #17125                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6498   Customer #17126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6499   Customer #17127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6500   Customer #17129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6501   Customer #17132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6502   Customer #17134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6503   Customer #17135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6504   Customer #17136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6505   Customer #17139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6506   Customer #17141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6507   Customer #17146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6508   Customer #17147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6509   Customer #17149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6510   Customer #17174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6511   Customer #17179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6512   Customer #17184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6513   Customer #17185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6514   Customer #17186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6515   Customer #17188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6516   Customer #17192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6517   Customer #17193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6518   Customer #17197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6519   Customer #17200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6520   Customer #17202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6521   Customer #17204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6522   Customer #17205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6523   Customer #17206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6524   Customer #17208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6525   Customer #17209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6526   Customer #17210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6527   Customer #17213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6528   Customer #17214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6529   Customer #17219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6530   Customer #17220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6531   Customer #17224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6532   Customer #17225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6533   Customer #17227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6534   Customer #17228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6535   Customer #17240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6536   Customer #17241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6537   Customer #17242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6538   Customer #17246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6539   Customer #17247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6540   Customer #17253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6541   Customer #17265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6542   Customer #17267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6543   Customer #17275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6544   Customer #17276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6545   Customer #17279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6546   Customer #17280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6547   Customer #17281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6548   Customer #17290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6549   Customer #17291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6550   Customer #17295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6551   Customer #17296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6552   Customer #17297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6553   Customer #17298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6554   Customer #17299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6555   Customer #17305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6556   Customer #17306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6557   Customer #17308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6558   Customer #17309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6559   Customer #17310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6560   Customer #17312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6561   Customer #17314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6562   Customer #17315                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6563   Customer #17316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6564   Customer #17317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6565   Customer #17318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6566   Customer #17319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6567   Customer #17321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6568   Customer #17322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6569   Customer #17323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6570   Customer #17324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6571   Customer #17328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6572   Customer #17329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6573   Customer #17331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6574   Customer #17332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6575   Customer #17334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6576   Customer #17335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6577   Customer #17336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6578   Customer #17338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6579   Customer #17340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6580   Customer #17341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6581   Customer #17342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6582   Customer #17343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6583   Customer #17345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6584   Customer #17347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6585   Customer #17348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6586   Customer #17349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6587   Customer #17350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6588   Customer #17353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6589   Customer #17355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6590   Customer #17356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6591   Customer #17357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6592   Customer #17358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6593   Customer #17362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6594   Customer #17364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6595   Customer #17365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6596   Customer #17367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6597   Customer #17368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6598   Customer #17369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6599   Customer #17371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6600   Customer #17372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6601   Customer #17374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6602   Customer #17376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6603   Customer #17377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6604   Customer #17378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6605   Customer #17379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6606   Customer #17380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6607   Customer #17381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6608   Customer #17382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6609   Customer #17384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6610   Customer #17385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6611   Customer #17386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6612   Customer #17390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6613   Customer #17392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6614   Customer #17393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6615   Customer #17394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6616   Customer #17396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6617   Customer #17397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6618   Customer #17398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6619   Customer #17399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6620   Customer #17401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6621   Customer #17403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6622   Customer #17416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6623   Customer #17417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6624   Customer #17419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6625   Customer #17420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6626   Customer #17422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6627   Customer #17423                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6628   Customer #17424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6629   Customer #17425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6630   Customer #17426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6631   Customer #17428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6632   Customer #17430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6633   Customer #17431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6634   Customer #17433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6635   Customer #17434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6636   Customer #17435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6637   Customer #17437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6638   Customer #17438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6639   Customer #17440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6640   Customer #17441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6641   Customer #17445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6642   Customer #17446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6643   Customer #17447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6644   Customer #17449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6645   Customer #17450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6646   Customer #17451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6647   Customer #17453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6648   Customer #17454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6649   Customer #17454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6650   Customer #17456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6651   Customer #17459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6652   Customer #17460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6653   Customer #17461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6654   Customer #17462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6655   Customer #17468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6656   Customer #17481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6657   Customer #17484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6658   Customer #17485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6659   Customer #17486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6660   Customer #17487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6661   Customer #17494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6662   Customer #17499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6663   Customer #17500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6664   Customer #17501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6665   Customer #17502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6666   Customer #17503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6667   Customer #17505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6668   Customer #17506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6669   Customer #17511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6670   Customer #17515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6671   Customer #17516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6672   Customer #17518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6673   Customer #17524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6674   Customer #17525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6675   Customer #17527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6676   Customer #17528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6677   Customer #17529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6678   Customer #17531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6679   Customer #17532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6680   Customer #17533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6681   Customer #17535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6682   Customer #17536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6683   Customer #17537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6684   Customer #17538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6685   Customer #17543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6686   Customer #17544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6687   Customer #17545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6688   Customer #17551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6689   Customer #17552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6690   Customer #17553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6691   Customer #17555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6692   Customer #17556                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6693   Customer #17556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6694   Customer #17557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6695   Customer #17562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6696   Customer #17563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6697   Customer #17566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6698   Customer #17567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6699   Customer #17569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6700   Customer #17570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6701   Customer #17574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6702   Customer #17575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6703   Customer #17577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6704   Customer #17578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6705   Customer #17580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6706   Customer #17581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6707   Customer #17582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6708   Customer #17583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6709   Customer #17584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6710   Customer #17586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6711   Customer #17587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6712   Customer #17588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6713   Customer #17589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6714   Customer #17591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6715   Customer #17593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6716   Customer #17594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6717   Customer #17598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6718   Customer #17606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6719   Customer #17610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6720   Customer #17612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6721   Customer #17612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6722   Customer #17614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6723   Customer #17615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6724   Customer #17616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6725   Customer #17618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6726   Customer #17619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6727   Customer #17620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6728   Customer #17621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6729   Customer #17622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6730   Customer #17623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6731   Customer #17624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6732   Customer #17625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6733   Customer #17626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6734   Customer #17627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6735   Customer #17628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6736   Customer #17632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6737   Customer #17633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6738   Customer #17634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6739   Customer #17635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6740   Customer #17636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6741   Customer #17637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6742   Customer #17637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6743   Customer #17638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6744   Customer #17639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6745   Customer #17640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6746   Customer #17641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6747   Customer #17642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6748   Customer #17643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6749   Customer #17644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6750   Customer #17645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6751   Customer #17647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6752   Customer #17649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6753   Customer #17650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6754   Customer #17651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6755   Customer #17652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6756   Customer #17656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6757   Customer #17657                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6758   Customer #17658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6759   Customer #17661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6760   Customer #17662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6761   Customer #17665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6762   Customer #17666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6763   Customer #17667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6764   Customer #17668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6765   Customer #17669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6766   Customer #17671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6767   Customer #17672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6768   Customer #17673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6769   Customer #17675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6770   Customer #17677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6771   Customer #17678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6772   Customer #17678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6773   Customer #17679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6774   Customer #17680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6775   Customer #17681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6776   Customer #17682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6777   Customer #17684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6778   Customer #17686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6779   Customer #17687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6780   Customer #17691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6781   Customer #17692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6782   Customer #17693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6783   Customer #17694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6784   Customer #17695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6785   Customer #17696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6786   Customer #17699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6787   Customer #17700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6788   Customer #17702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6789   Customer #17703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6790   Customer #17704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6791   Customer #17705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6792   Customer #17710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6793   Customer #17711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6794   Customer #17712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6795   Customer #17713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6796   Customer #17716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6797   Customer #17717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6798   Customer #17719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6799   Customer #17720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6800   Customer #17721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6801   Customer #17724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6802   Customer #17725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6803   Customer #17726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6804   Customer #17734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6805   Customer #17736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6806   Customer #17737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6807   Customer #17738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6808   Customer #17739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6809   Customer #17740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6810   Customer #17743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6811   Customer #17745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6812   Customer #17746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6813   Customer #17747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6814   Customer #17754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6815   Customer #17755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6816   Customer #17759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6817   Customer #17760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6818   Customer #17761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6819   Customer #17762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6820   Customer #17764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6821   Customer #17765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6822   Customer #17766                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6823   Customer #17767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6824   Customer #17768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6825   Customer #17769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6826   Customer #17781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6827   Customer #17782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6828   Customer #17784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6829   Customer #17791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6830   Customer #17792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6831   Customer #17807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6832   Customer #17808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6833   Customer #17813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6834   Customer #17816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6835   Customer #17819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6836   Customer #17820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6837   Customer #17821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6838   Customer #17822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6839   Customer #17824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6840   Customer #17825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6841   Customer #17827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6842   Customer #17829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6843   Customer #17830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6844   Customer #17833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6845   Customer #17834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6846   Customer #17835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6847   Customer #17836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6848   Customer #17838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6849   Customer #17839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6850   Customer #17840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6851   Customer #17841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6852   Customer #17842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6853   Customer #17844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6854   Customer #17845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6855   Customer #17846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6856   Customer #17847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6857   Customer #17851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6858   Customer #17852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6859   Customer #17853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6860   Customer #17854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6861   Customer #17855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6862   Customer #17856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6863   Customer #17857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6864   Customer #17858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6865   Customer #17859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6866   Customer #17873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6867   Customer #17874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6868   Customer #17878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6869   Customer #17879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6870   Customer #17880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6871   Customer #17885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6872   Customer #17886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6873   Customer #17888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6874   Customer #17892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6875   Customer #17893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6876   Customer #17895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6877   Customer #17896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6878   Customer #17898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6879   Customer #17903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6880   Customer #17905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6881   Customer #17907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6882   Customer #17909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6883   Customer #17910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6884   Customer #17911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6885   Customer #17912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6886   Customer #17913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6887   Customer #17914                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6888   Customer #17915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6889   Customer #17917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6890   Customer #17918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6891   Customer #17925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6892   Customer #17928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6893   Customer #17929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6894   Customer #17932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6895   Customer #17934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6896   Customer #17935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6897   Customer #17936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6898   Customer #17937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6899   Customer #17943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6900   Customer #17944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6901   Customer #17948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6902   Customer #17949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6903   Customer #17950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6904   Customer #17954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6905   Customer #17956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6906   Customer #17960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6907   Customer #17963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6908   Customer #17970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6909   Customer #17972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6910   Customer #17975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6911   Customer #17976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6912   Customer #17980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6913   Customer #17982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6914   Customer #17984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6915   Customer #17989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6916   Customer #17990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6917   Customer #17991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6918   Customer #17993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6919   Customer #17994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6920   Customer #17995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6921   Customer #17996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6922   Customer #17997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6923   Customer #17999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6924   Customer #18000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6925   Customer #18001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6926   Customer #18002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6927   Customer #18003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6928   Customer #18004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6929   Customer #18007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6930   Customer #18009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6931   Customer #18012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6932   Customer #18014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6933   Customer #18015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6934   Customer #18016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6935   Customer #18018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6936   Customer #18019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6937   Customer #18022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6938   Customer #18023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6939   Customer #18025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6940   Customer #18026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6941   Customer #18027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6942   Customer #18028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6943   Customer #18030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6944   Customer #18032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6945   Customer #18033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6946   Customer #18035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6947   Customer #18038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6948   Customer #18039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6949   Customer #18041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6950   Customer #18044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6951   Customer #18046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6952   Customer #18047                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.6953   Customer #18049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6954   Customer #18050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6955   Customer #18051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6956   Customer #18053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6957   Customer #18054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6958   Customer #18056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6959   Customer #18057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6960   Customer #18059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6961   Customer #18063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6962   Customer #18065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6963   Customer #18066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6964   Customer #18067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6965   Customer #18068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6966   Customer #18071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6967   Customer #18072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6968   Customer #18073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6969   Customer #18075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6970   Customer #18079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6971   Customer #18080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6972   Customer #18081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6973   Customer #18083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6974   Customer #18085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6975   Customer #18087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6976   Customer #18088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6977   Customer #18089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6978   Customer #18090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6979   Customer #18091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6980   Customer #18092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6981   Customer #18093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6982   Customer #18094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6983   Customer #18095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6984   Customer #18096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6985   Customer #18098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6986   Customer #18100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6987   Customer #18101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6988   Customer #18102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6989   Customer #18104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6990   Customer #18106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6991   Customer #18109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6992   Customer #18111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6993   Customer #18112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6994   Customer #18113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6995   Customer #18114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6996   Customer #18115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6997   Customer #18116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6998   Customer #18119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.6999   Customer #18120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7000   Customer #18123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7001   Customer #18125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7002   Customer #18130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7003   Customer #18133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7004   Customer #18134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7005   Customer #18135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7006   Customer #18137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7007   Customer #18138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7008   Customer #18139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7009   Customer #18153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7010   Customer #18156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7011   Customer #18158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7012   Customer #18159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7013   Customer #18160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7014   Customer #18161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7015   Customer #18165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7016   Customer #18166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7017   Customer #18168                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7018   Customer #18173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7019   Customer #18174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7020   Customer #18175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7021   Customer #18176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7022   Customer #18177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7023   Customer #18178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7024   Customer #18179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7025   Customer #18183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7026   Customer #18185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7027   Customer #18186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7028   Customer #18189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7029   Customer #18191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7030   Customer #18192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7031   Customer #18193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7032   Customer #18196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7033   Customer #18197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7034   Customer #18198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7035   Customer #18201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7036   Customer #18202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7037   Customer #18205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7038   Customer #18207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7039   Customer #18208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7040   Customer #18209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7041   Customer #18225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7042   Customer #18226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7043   Customer #18228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7044   Customer #18229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7045   Customer #18231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7046   Customer #18232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7047   Customer #18233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7048   Customer #18234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7049   Customer #18236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7050   Customer #18238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7051   Customer #18239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7052   Customer #18240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7053   Customer #18241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7054   Customer #18243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7055   Customer #18250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7056   Customer #18252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7057   Customer #18253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7058   Customer #18254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7059   Customer #18255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7060   Customer #18256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7061   Customer #18257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7062   Customer #18259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7063   Customer #18260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7064   Customer #18263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7065   Customer #18266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7066   Customer #18268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7067   Customer #18269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7068   Customer #18270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7069   Customer #18276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7070   Customer #18278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7071   Customer #18279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7072   Customer #18280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7073   Customer #18281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7074   Customer #18282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7075   Customer #18284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7076   Customer #18285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7077   Customer #18287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7078   Customer #18288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7079   Customer #18289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7080   Customer #18290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7081   Customer #18292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7082   Customer #18293                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7083   Customer #18299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7084   Customer #18300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7085   Customer #18301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7086   Customer #18302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7087   Customer #18304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7088   Customer #18305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7089   Customer #18307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7090   Customer #18308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7091   Customer #18309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7092   Customer #18311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7093   Customer #18320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7094   Customer #18321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7095   Customer #18322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7096   Customer #18323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7097   Customer #18324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7098   Customer #18338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7099   Customer #18339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7100   Customer #18344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7101   Customer #18345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7102   Customer #18347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7103   Customer #18348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7104   Customer #18349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7105   Customer #18350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7106   Customer #18351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7107   Customer #18356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7108   Customer #18358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7109   Customer #18360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7110   Customer #18361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7111   Customer #18362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7112   Customer #18363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7113   Customer #18364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7114   Customer #18372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7115   Customer #18373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7116   Customer #18374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7117   Customer #18375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7118   Customer #18377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7119   Customer #18378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7120   Customer #18380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7121   Customer #18381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7122   Customer #18382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7123   Customer #18385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7124   Customer #18386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7125   Customer #18387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7126   Customer #18388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7127   Customer #18389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7128   Customer #18391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7129   Customer #18392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7130   Customer #18393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7131   Customer #18395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7132   Customer #18398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7133   Customer #18399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7134   Customer #18400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7135   Customer #18403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7136   Customer #18404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7137   Customer #18405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7138   Customer #18406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7139   Customer #18407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7140   Customer #18410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7141   Customer #18412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7142   Customer #18413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7143   Customer #18414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7144   Customer #18415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7145   Customer #18416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7146   Customer #18417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7147   Customer #18418                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7148   Customer #18419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7149   Customer #18421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7150   Customer #18422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7151   Customer #18425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7152   Customer #18427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7153   Customer #18428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7154   Customer #18431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7155   Customer #18432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7156   Customer #18434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7157   Customer #18443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7158   Customer #18445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7159   Customer #18446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7160   Customer #18447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7161   Customer #18448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7162   Customer #18450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7163   Customer #18451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7164   Customer #18452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7165   Customer #18458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7166   Customer #18460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7167   Customer #18462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7168   Customer #18463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7169   Customer #18464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7170   Customer #18465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7171   Customer #18466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7172   Customer #18467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7173   Customer #18468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7174   Customer #18469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7175   Customer #18470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7176   Customer #18471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7177   Customer #18472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7178   Customer #18474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7179   Customer #18476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7180   Customer #18477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7181   Customer #18479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7182   Customer #18482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7183   Customer #18483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7184   Customer #18484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7185   Customer #18486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7186   Customer #18487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7187   Customer #18488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7188   Customer #18489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7189   Customer #18490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7190   Customer #18494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7191   Customer #18496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7192   Customer #18498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7193   Customer #18502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7194   Customer #18503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7195   Customer #18504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7196   Customer #18507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7197   Customer #18509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7198   Customer #18510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7199   Customer #18511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7200   Customer #18524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7201   Customer #18526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7202   Customer #18527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7203   Customer #18529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7204   Customer #18532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7205   Customer #18535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7206   Customer #18538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7207   Customer #18539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7208   Customer #18540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7209   Customer #18544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7210   Customer #18545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7211   Customer #18546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7212   Customer #18551                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7213   Customer #18552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7214   Customer #18554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7215   Customer #18558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7216   Customer #18559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7217   Customer #18560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7218   Customer #18562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7219   Customer #18564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7220   Customer #18566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7221   Customer #18568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7222   Customer #18569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7223   Customer #18570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7224   Customer #18572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7225   Customer #18574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7226   Customer #18575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7227   Customer #18576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7228   Customer #18577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7229   Customer #18580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7230   Customer #18581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7231   Customer #18590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7232   Customer #18591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7233   Customer #18593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7234   Customer #18596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7235   Customer #18599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7236   Customer #18600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7237   Customer #18603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7238   Customer #18604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7239   Customer #18607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7240   Customer #18610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7241   Customer #18611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7242   Customer #18612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7243   Customer #18617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7244   Customer #18620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7245   Customer #18621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7246   Customer #18633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7247   Customer #18634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7248   Customer #18635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7249   Customer #18636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7250   Customer #18637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7251   Customer #18638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7252   Customer #18639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7253   Customer #18640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7254   Customer #18641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7255   Customer #18642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7256   Customer #18644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7257   Customer #18645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7258   Customer #18646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7259   Customer #18647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7260   Customer #18649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7261   Customer #18650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7262   Customer #18653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7263   Customer #18655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7264   Customer #18656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7265   Customer #18657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7266   Customer #18658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7267   Customer #18659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7268   Customer #18660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7269   Customer #18661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7270   Customer #18662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7271   Customer #18663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7272   Customer #18664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7273   Customer #18665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7274   Customer #18670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7275   Customer #18671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7276   Customer #18673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7277   Customer #18674                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7278   Customer #18675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7279   Customer #18676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7280   Customer #18677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7281   Customer #18686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7282   Customer #18687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7283   Customer #18688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7284   Customer #18690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7285   Customer #18691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7286   Customer #18692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7287   Customer #18693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7288   Customer #18694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7289   Customer #18696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7290   Customer #18698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7291   Customer #18699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7292   Customer #18700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7293   Customer #18701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7294   Customer #18702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7295   Customer #18703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7296   Customer #18705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7297   Customer #18706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7298   Customer #18707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7299   Customer #18711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7300   Customer #18715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7301   Customer #18717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7302   Customer #18719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7303   Customer #18720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7304   Customer #18723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7305   Customer #18724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7306   Customer #18725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7307   Customer #18727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7308   Customer #18728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7309   Customer #18730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7310   Customer #18733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7311   Customer #18735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7312   Customer #18736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7313   Customer #18738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7314   Customer #18743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7315   Customer #18744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7316   Customer #18745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7317   Customer #18747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7318   Customer #18754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7319   Customer #18757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7320   Customer #18761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7321   Customer #18762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7322   Customer #18763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7323   Customer #18765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7324   Customer #18766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7325   Customer #18767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7326   Customer #18768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7327   Customer #18769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7328   Customer #18772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7329   Customer #18780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7330   Customer #18783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7331   Customer #18784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7332   Customer #18785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7333   Customer #18786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7334   Customer #18789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7335   Customer #18794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7336   Customer #18797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7337   Customer #18798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7338   Customer #18799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7339   Customer #18800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7340   Customer #18806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7341   Customer #18809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7342   Customer #18811                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7343   Customer #18812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7344   Customer #18814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7345   Customer #18817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7346   Customer #18825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7347   Customer #18831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7348   Customer #18832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7349   Customer #18833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7350   Customer #18835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7351   Customer #18837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7352   Customer #18838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7353   Customer #18839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7354   Customer #18841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7355   Customer #18842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7356   Customer #18845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7357   Customer #18848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7358   Customer #18850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7359   Customer #18851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7360   Customer #18852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7361   Customer #18853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7362   Customer #18854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7363   Customer #18856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7364   Customer #18857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7365   Customer #18858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7366   Customer #18859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7367   Customer #18860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7368   Customer #18861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7369   Customer #18863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7370   Customer #18868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7371   Customer #18871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7372   Customer #18900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7373   Customer #18958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7374   Customer #18981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7375   Customer #18982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7376   Customer #18985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7377   Customer #18987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7378   Customer #18989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7379   Customer #18990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7380   Customer #18991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7381   Customer #18994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7382   Customer #18995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7383   Customer #18997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7384   Customer #18998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7385   Customer #18999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7386   Customer #19003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7387   Customer #19019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7388   Customer #19060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7389   Customer #19093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7390   Customer #19094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7391   Customer #19095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7392   Customer #19099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7393   Customer #19133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7394   Customer #19134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7395   Customer #19136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7396   Customer #19138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7397   Customer #19139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7398   Customer #19140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7399   Customer #19141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7400   Customer #19142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7401   Customer #19143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7402   Customer #19144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7403   Customer #19145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7404   Customer #19146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7405   Customer #19150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7406   Customer #19156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7407   Customer #19157                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7408   Customer #19185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7409   Customer #19186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7410   Customer #19187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7411   Customer #19188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7412   Customer #19189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7413   Customer #19190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7414   Customer #19191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7415   Customer #19192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7416   Customer #19195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7417   Customer #19197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7418   Customer #19199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7419   Customer #19200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7420   Customer #19201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7421   Customer #19202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7422   Customer #19203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7423   Customer #19204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7424   Customer #19205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7425   Customer #19206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7426   Customer #19207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7427   Customer #19208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7428   Customer #19212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7429   Customer #19218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7430   Customer #19219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7431   Customer #19220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7432   Customer #19221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7433   Customer #19224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7434   Customer #19225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7435   Customer #19226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7436   Customer #19227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7437   Customer #19228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7438   Customer #19229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7439   Customer #19246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7440   Customer #19247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7441   Customer #19248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7442   Customer #19256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7443   Customer #19257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7444   Customer #19259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7445   Customer #19263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7446   Customer #19264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7447   Customer #19268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7448   Customer #19270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7449   Customer #19271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7450   Customer #19272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7451   Customer #19273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7452   Customer #19274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7453   Customer #19275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7454   Customer #19276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7455   Customer #19277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7456   Customer #19278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7457   Customer #19279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7458   Customer #19283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7459   Customer #19285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7460   Customer #19286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7461   Customer #19287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7462   Customer #19291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7463   Customer #19292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7464   Customer #19295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7465   Customer #19299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7466   Customer #19300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7467   Customer #19301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7468   Customer #19302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7469   Customer #19303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7470   Customer #19304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7471   Customer #19307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7472   Customer #19311                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7473   Customer #19313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7474   Customer #19314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7475   Customer #19315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7476   Customer #19317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7477   Customer #19319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7478   Customer #19320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7479   Customer #19321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7480   Customer #19322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7481   Customer #19323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7482   Customer #19324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7483   Customer #19327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7484   Customer #19328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7485   Customer #19329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7486   Customer #19333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7487   Customer #19334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7488   Customer #19335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7489   Customer #19351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7490   Customer #19352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7491   Customer #19353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7492   Customer #19355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7493   Customer #19356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7494   Customer #19371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7495   Customer #19372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7496   Customer #19373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7497   Customer #19374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7498   Customer #19375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7499   Customer #19377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7500   Customer #19378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7501   Customer #19380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7502   Customer #19381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7503   Customer #19383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7504   Customer #19384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7505   Customer #19385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7506   Customer #19386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7507   Customer #19391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7508   Customer #19392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7509   Customer #19393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7510   Customer #19394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7511   Customer #19397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7512   Customer #19398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7513   Customer #19400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7514   Customer #19401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7515   Customer #19402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7516   Customer #19405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7517   Customer #19408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7518   Customer #19410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7519   Customer #19411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7520   Customer #19412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7521   Customer #19413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7522   Customer #19415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7523   Customer #19416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7524   Customer #19417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7525   Customer #19418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7526   Customer #19419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7527   Customer #19421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7528   Customer #19422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7529   Customer #19427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7530   Customer #19428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7531   Customer #19429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7532   Customer #19430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7533   Customer #19431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7534   Customer #19434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7535   Customer #19437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7536   Customer #19438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7537   Customer #19439                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7538   Customer #19441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7539   Customer #19442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7540   Customer #19443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7541   Customer #19444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7542   Customer #19445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7543   Customer #19447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7544   Customer #19448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7545   Customer #19449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7546   Customer #19450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7547   Customer #19452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7548   Customer #19455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7549   Customer #19456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7550   Customer #19457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7551   Customer #19458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7552   Customer #19459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7553   Customer #19460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7554   Customer #19462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7555   Customer #19463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7556   Customer #19464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7557   Customer #19465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7558   Customer #19466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7559   Customer #19467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7560   Customer #19469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7561   Customer #19470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7562   Customer #19471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7563   Customer #19473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7564   Customer #19474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7565   Customer #19475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7566   Customer #19477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7567   Customer #19478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7568   Customer #19480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7569   Customer #19481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7570   Customer #19482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7571   Customer #19483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7572   Customer #19484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7573   Customer #19487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7574   Customer #19494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7575   Customer #19496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7576   Customer #19500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7577   Customer #19502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7578   Customer #19504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7579   Customer #19506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7580   Customer #19508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7581   Customer #19509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7582   Customer #19515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7583   Customer #19516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7584   Customer #19517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7585   Customer #19521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7586   Customer #19523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7587   Customer #19524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7588   Customer #19526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7589   Customer #19529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7590   Customer #19530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7591   Customer #19533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7592   Customer #19535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7593   Customer #19538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7594   Customer #19539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7595   Customer #19542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7596   Customer #19549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7597   Customer #19551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7598   Customer #19552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7599   Customer #19553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7600   Customer #19554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7601   Customer #19555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7602   Customer #19556                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7603   Customer #19557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7604   Customer #19559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7605   Customer #19560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7606   Customer #19563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7607   Customer #19564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7608   Customer #19565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7609   Customer #19568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7610   Customer #19568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7611   Customer #19569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7612   Customer #19599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7613   Customer #19600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7614   Customer #19601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7615   Customer #19602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7616   Customer #19603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7617   Customer #19607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7618   Customer #19608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7619   Customer #19609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7620   Customer #19610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7621   Customer #19611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7622   Customer #19612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7623   Customer #19614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7624   Customer #19615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7625   Customer #19616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7626   Customer #19619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7627   Customer #19620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7628   Customer #19623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7629   Customer #19625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7630   Customer #19626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7631   Customer #19627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7632   Customer #19628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7633   Customer #19629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7634   Customer #19630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7635   Customer #19631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7636   Customer #19632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7637   Customer #19633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7638   Customer #19643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7639   Customer #19644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7640   Customer #19645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7641   Customer #19647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7642   Customer #19649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7643   Customer #19650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7644   Customer #19651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7645   Customer #19653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7646   Customer #19655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7647   Customer #19656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7648   Customer #19657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7649   Customer #19659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7650   Customer #19660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7651   Customer #19662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7652   Customer #19664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7653   Customer #19679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7654   Customer #19708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7655   Customer #19711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7656   Customer #19713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7657   Customer #19718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7658   Customer #19719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7659   Customer #19722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7660   Customer #19726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7661   Customer #19728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7662   Customer #19735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7663   Customer #19736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7664   Customer #19737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7665   Customer #19738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7666   Customer #19739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7667   Customer #19740                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7668   Customer #19745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7669   Customer #19746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7670   Customer #19747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7671   Customer #19748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7672   Customer #19752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7673   Customer #19764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7674   Customer #19765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7675   Customer #19766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7676   Customer #19768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7677   Customer #19769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7678   Customer #19772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7679   Customer #19773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7680   Customer #19776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7681   Customer #19777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7682   Customer #19778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7683   Customer #19779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7684   Customer #19780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7685   Customer #19783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7686   Customer #19785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7687   Customer #19788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7688   Customer #19789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7689   Customer #19791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7690   Customer #19792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7691   Customer #19794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7692   Customer #19795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7693   Customer #19796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7694   Customer #19797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7695   Customer #19799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7696   Customer #19801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7697   Customer #19802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7698   Customer #19803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7699   Customer #19805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7700   Customer #19806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7701   Customer #19807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7702   Customer #19808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7703   Customer #19810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7704   Customer #19811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7705   Customer #19812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7706   Customer #19814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7707   Customer #19815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7708   Customer #19820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7709   Customer #19821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7710   Customer #19822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7711   Customer #19823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7712   Customer #19824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7713   Customer #19826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7714   Customer #19827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7715   Customer #19828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7716   Customer #19829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7717   Customer #19831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7718   Customer #19840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7719   Customer #19844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7720   Customer #19845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7721   Customer #19846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7722   Customer #19847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7723   Customer #19848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7724   Customer #19850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7725   Customer #19852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7726   Customer #19859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7727   Customer #19861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7728   Customer #19862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7729   Customer #19865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7730   Customer #19866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7731   Customer #19868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7732   Customer #19869                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7733   Customer #19871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7734   Customer #19874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7735   Customer #19875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7736   Customer #19876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7737   Customer #19881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7738   Customer #19882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7739   Customer #19884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7740   Customer #19885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7741   Customer #19888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7742   Customer #19889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7743   Customer #19889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7744   Customer #19891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7745   Customer #19892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7746   Customer #19894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7747   Customer #19896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7748   Customer #19897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7749   Customer #19900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7750   Customer #19903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7751   Customer #19904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7752   Customer #19906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7753   Customer #19907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7754   Customer #19916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7755   Customer #19918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7756   Customer #19919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7757   Customer #19922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7758   Customer #19923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7759   Customer #19925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7760   Customer #19926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7761   Customer #19927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7762   Customer #19928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7763   Customer #19929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7764   Customer #19931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7765   Customer #19932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7766   Customer #19936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7767   Customer #19937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7768   Customer #19940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7769   Customer #19942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7770   Customer #19943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7771   Customer #19944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7772   Customer #19945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7773   Customer #19947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7774   Customer #19948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7775   Customer #19949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7776   Customer #19951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7777   Customer #19953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7778   Customer #19954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7779   Customer #19956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7780   Customer #19961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7781   Customer #19968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7782   Customer #19981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7783   Customer #19982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7784   Customer #19984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7785   Customer #19985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7786   Customer #19986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7787   Customer #19987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7788   Customer #19989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7789   Customer #19990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7790   Customer #19991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7791   Customer #19992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7792   Customer #19994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7793   Customer #19995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7794   Customer #19997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7795   Customer #19998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7796   Customer #19999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7797   Customer #20000                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7798   Customer #20001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7799   Customer #20003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7800   Customer #20004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7801   Customer #20005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7802   Customer #20006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7803   Customer #20007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7804   Customer #20008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7805   Customer #20010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7806   Customer #20012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7807   Customer #20013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7808   Customer #20014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7809   Customer #20018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7810   Customer #20021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7811   Customer #20022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7812   Customer #20023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7813   Customer #20028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7814   Customer #20029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7815   Customer #20030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7816   Customer #20033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7817   Customer #20035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7818   Customer #20039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7819   Customer #20040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7820   Customer #20041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7821   Customer #20042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7822   Customer #20043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7823   Customer #20044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7824   Customer #20047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7825   Customer #20048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7826   Customer #20049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7827   Customer #20050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7828   Customer #20052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7829   Customer #20054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7830   Customer #20055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7831   Customer #20056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7832   Customer #20057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7833   Customer #20058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7834   Customer #20060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7835   Customer #20062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7836   Customer #20066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7837   Customer #20067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7838   Customer #20068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7839   Customer #20070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7840   Customer #20071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7841   Customer #20073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7842   Customer #20074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7843   Customer #20075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7844   Customer #20077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7845   Customer #20078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7846   Customer #20079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7847   Customer #20083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7848   Customer #20085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7849   Customer #20086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7850   Customer #20089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7851   Customer #20090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7852   Customer #20091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7853   Customer #20092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7854   Customer #20093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7855   Customer #20097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7856   Customer #20105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7857   Customer #20114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7858   Customer #20115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7859   Customer #20116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7860   Customer #20117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7861   Customer #20118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7862   Customer #20119                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7863   Customer #20120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7864   Customer #20127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7865   Customer #20129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7866   Customer #20132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7867   Customer #20134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7868   Customer #20136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7869   Customer #20144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7870   Customer #20145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7871   Customer #20147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7872   Customer #20148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7873   Customer #20151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7874   Customer #20152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7875   Customer #20153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7876   Customer #20155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7877   Customer #20156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7878   Customer #20157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7879   Customer #20160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7880   Customer #20161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7881   Customer #20162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7882   Customer #20163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7883   Customer #20165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7884   Customer #20166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7885   Customer #20167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7886   Customer #20171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7887   Customer #20173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7888   Customer #20174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7889   Customer #20176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7890   Customer #20177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7891   Customer #20178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7892   Customer #20183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7893   Customer #20186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7894   Customer #20187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7895   Customer #20188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7896   Customer #20189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7897   Customer #20191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7898   Customer #20197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7899   Customer #20199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7900   Customer #20201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7901   Customer #20202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7902   Customer #20203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7903   Customer #20205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7904   Customer #20208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7905   Customer #20209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7906   Customer #20210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7907   Customer #20211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7908   Customer #20212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7909   Customer #20213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7910   Customer #20215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7911   Customer #20220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7912   Customer #20221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7913   Customer #20222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7914   Customer #20223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7915   Customer #20232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7916   Customer #20233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7917   Customer #20234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7918   Customer #20235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7919   Customer #20236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7920   Customer #20237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7921   Customer #20240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7922   Customer #20242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7923   Customer #20242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7924   Customer #20253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7925   Customer #20254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7926   Customer #20255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7927   Customer #20277                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7928   Customer #20288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7929   Customer #20297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7930   Customer #20299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7931   Customer #20303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7932   Customer #20306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7933   Customer #20307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7934   Customer #20308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7935   Customer #20310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7936   Customer #20312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7937   Customer #20314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7938   Customer #20317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7939   Customer #20318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7940   Customer #20319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7941   Customer #20324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7942   Customer #20325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7943   Customer #20329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7944   Customer #20330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7945   Customer #20331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7946   Customer #20335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7947   Customer #20336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7948   Customer #20337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7949   Customer #20341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7950   Customer #20342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7951   Customer #20345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7952   Customer #20346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7953   Customer #20348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7954   Customer #20356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7955   Customer #20357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7956   Customer #20358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7957   Customer #20359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7958   Customer #20360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7959   Customer #20362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7960   Customer #20363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7961   Customer #20364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7962   Customer #20366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7963   Customer #20367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7964   Customer #20379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7965   Customer #20386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7966   Customer #20394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7967   Customer #20396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7968   Customer #20397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7969   Customer #20401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7970   Customer #20402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7971   Customer #20404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7972   Customer #20405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7973   Customer #20406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7974   Customer #20407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7975   Customer #20455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7976   Customer #20458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7977   Customer #20464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7978   Customer #20467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7979   Customer #20473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7980   Customer #20480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7981   Customer #20481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7982   Customer #20483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7983   Customer #20485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7984   Customer #20485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7985   Customer #20488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7986   Customer #20490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7987   Customer #20491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7988   Customer #20492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7989   Customer #20494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7990   Customer #20495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7991   Customer #20503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7992   Customer #20504                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.7993   Customer #20510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7994   Customer #20512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7995   Customer #20513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7996   Customer #20514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7997   Customer #20516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7998   Customer #20517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.7999   Customer #20518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8000   Customer #20525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8001   Customer #20526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8002   Customer #20528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8003   Customer #20532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8004   Customer #20535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8005   Customer #20536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8006   Customer #20537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8007   Customer #20538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8008   Customer #20540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8009   Customer #20551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8010   Customer #20555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8011   Customer #20557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8012   Customer #20560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8013   Customer #20562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8014   Customer #20565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8015   Customer #20571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8016   Customer #20578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8017   Customer #20580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8018   Customer #20581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8019   Customer #20582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8020   Customer #20583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8021   Customer #20583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8022   Customer #20584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8023   Customer #20586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8024   Customer #20587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8025   Customer #20588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8026   Customer #20589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8027   Customer #20590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8028   Customer #20591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8029   Customer #20594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8030   Customer #20597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8031   Customer #20605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8032   Customer #20606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8033   Customer #20608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8034   Customer #20610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8035   Customer #20611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8036   Customer #20612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8037   Customer #20613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8038   Customer #20614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8039   Customer #20615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8040   Customer #20616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8041   Customer #20617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8042   Customer #20618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8043   Customer #20624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8044   Customer #20626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8045   Customer #20628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8046   Customer #20629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8047   Customer #20631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8048   Customer #20632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8049   Customer #20634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8050   Customer #20639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8051   Customer #20640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8052   Customer #20641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8053   Customer #20650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8054   Customer #20652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8055   Customer #20660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8056   Customer #20661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8057   Customer #20662                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8058   Customer #20664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8059   Customer #20667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8060   Customer #20669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8061   Customer #20670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8062   Customer #20673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8063   Customer #20674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8064   Customer #20675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8065   Customer #20677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8066   Customer #20683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8067   Customer #20685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8068   Customer #20688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8069   Customer #20690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8070   Customer #20692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8071   Customer #20693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8072   Customer #20694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8073   Customer #20700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8074   Customer #20701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8075   Customer #20706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8076   Customer #20707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8077   Customer #20708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8078   Customer #20719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8079   Customer #20721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8080   Customer #20722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8081   Customer #20723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8082   Customer #20727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8083   Customer #20728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8084   Customer #20730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8085   Customer #20731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8086   Customer #20732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8087   Customer #20733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8088   Customer #20734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8089   Customer #20735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8090   Customer #20736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8091   Customer #20737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8092   Customer #20738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8093   Customer #20739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8094   Customer #20740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8095   Customer #20742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8096   Customer #20743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8097   Customer #20744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8098   Customer #20747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8099   Customer #20749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8100   Customer #20750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8101   Customer #20751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8102   Customer #20756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8103   Customer #20761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8104   Customer #20764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8105   Customer #20765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8106   Customer #20766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8107   Customer #20767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8108   Customer #20768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8109   Customer #20770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8110   Customer #20773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8111   Customer #20778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8112   Customer #20779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8113   Customer #20781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8114   Customer #20782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8115   Customer #20783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8116   Customer #20786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8117   Customer #20787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8118   Customer #20788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8119   Customer #20789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8120   Customer #20797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8121   Customer #20798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8122   Customer #20810                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8123   Customer #20812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8124   Customer #20813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8125   Customer #20814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8126   Customer #20831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8127   Customer #20838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8128   Customer #20840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8129   Customer #20857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8130   Customer #20858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8131   Customer #20859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8132   Customer #20862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8133   Customer #20863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8134   Customer #20871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8135   Customer #20874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8136   Customer #20875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8137   Customer #20878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8138   Customer #20879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8139   Customer #20881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8140   Customer #20883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8141   Customer #20907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8142   Customer #20909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8143   Customer #20911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8144   Customer #20912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8145   Customer #20919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8146   Customer #20920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8147   Customer #20922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8148   Customer #20923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8149   Customer #20924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8150   Customer #20926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8151   Customer #20928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8152   Customer #20929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8153   Customer #20937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8154   Customer #20940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8155   Customer #20944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8156   Customer #20948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8157   Customer #20959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8158   Customer #20962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8159   Customer #20963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8160   Customer #20964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8161   Customer #20965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8162   Customer #20966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8163   Customer #20967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8164   Customer #20968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8165   Customer #20969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8166   Customer #20970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8167   Customer #20971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8168   Customer #20974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8169   Customer #20977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8170   Customer #20978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8171   Customer #20979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8172   Customer #20982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8173   Customer #20983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8174   Customer #20987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8175   Customer #20990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8176   Customer #20995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8177   Customer #21004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8178   Customer #21006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8179   Customer #21007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8180   Customer #21009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8181   Customer #21010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8182   Customer #21011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8183   Customer #21012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8184   Customer #21013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8185   Customer #21014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8186   Customer #21018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8187   Customer #21019                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8188   Customer #21021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8189   Customer #21022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8190   Customer #21024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8191   Customer #21026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8192   Customer #21028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8193   Customer #21029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8194   Customer #21033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8195   Customer #21034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8196   Customer #21041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8197   Customer #21043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8198   Customer #21044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8199   Customer #21045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8200   Customer #21049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8201   Customer #21053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8202   Customer #21058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8203   Customer #21061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8204   Customer #21063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8205   Customer #21064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8206   Customer #21066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8207   Customer #21067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8208   Customer #21070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8209   Customer #21071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8210   Customer #21072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8211   Customer #21073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8212   Customer #21076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8213   Customer #21077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8214   Customer #21078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8215   Customer #21079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8216   Customer #21080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8217   Customer #21082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8218   Customer #21083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8219   Customer #21091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8220   Customer #21093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8221   Customer #21094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8222   Customer #21096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8223   Customer #21098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8224   Customer #21100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8225   Customer #21101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8226   Customer #21103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8227   Customer #21104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8228   Customer #21105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8229   Customer #21108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8230   Customer #21110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8231   Customer #21111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8232   Customer #21112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8233   Customer #21113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8234   Customer #21115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8235   Customer #21116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8236   Customer #21117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8237   Customer #21118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8238   Customer #21119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8239   Customer #21120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8240   Customer #21121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8241   Customer #21122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8242   Customer #21123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8243   Customer #21130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8244   Customer #21131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8245   Customer #21132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8246   Customer #21134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8247   Customer #21136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8248   Customer #21139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8249   Customer #21141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8250   Customer #21142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8251   Customer #21144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8252   Customer #21146                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8253   Customer #21147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8254   Customer #21148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8255   Customer #21153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8256   Customer #21154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8257   Customer #21157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8258   Customer #21158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8259   Customer #21162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8260   Customer #21163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8261   Customer #21164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8262   Customer #21165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8263   Customer #21167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8264   Customer #21170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8265   Customer #21172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8266   Customer #21173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8267   Customer #21175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8268   Customer #21176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8269   Customer #21178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8270   Customer #21180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8271   Customer #21181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8272   Customer #21182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8273   Customer #21184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8274   Customer #21185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8275   Customer #21187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8276   Customer #21189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8277   Customer #21195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8278   Customer #21199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8279   Customer #21200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8280   Customer #21201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8281   Customer #21204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8282   Customer #21205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8283   Customer #21206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8284   Customer #21207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8285   Customer #21209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8286   Customer #21212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8287   Customer #21214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8288   Customer #21217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8289   Customer #21221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8290   Customer #21222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8291   Customer #21225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8292   Customer #21226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8293   Customer #21227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8294   Customer #21228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8295   Customer #21230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8296   Customer #21233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8297   Customer #21234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8298   Customer #21237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8299   Customer #21238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8300   Customer #21239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8301   Customer #21241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8302   Customer #21242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8303   Customer #21244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8304   Customer #21246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8305   Customer #21247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8306   Customer #21250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8307   Customer #21252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8308   Customer #21253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8309   Customer #21254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8310   Customer #21256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8311   Customer #21257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8312   Customer #21260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8313   Customer #21261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8314   Customer #21263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8315   Customer #21264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8316   Customer #21265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8317   Customer #21266                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8318   Customer #21269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8319   Customer #21270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8320   Customer #21273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8321   Customer #21275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8322   Customer #21278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8323   Customer #21279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8324   Customer #21282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8325   Customer #21283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8326   Customer #21285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8327   Customer #21288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8328   Customer #21289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8329   Customer #21291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8330   Customer #21292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8331   Customer #21294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8332   Customer #21298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8333   Customer #21302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8334   Customer #21303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8335   Customer #21304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8336   Customer #21305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8337   Customer #21307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8338   Customer #21308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8339   Customer #21312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8340   Customer #21313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8341   Customer #21314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8342   Customer #21316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8343   Customer #21317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8344   Customer #21319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8345   Customer #21319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8346   Customer #21330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8347   Customer #21332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8348   Customer #21338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8349   Customer #21340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8350   Customer #21342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8351   Customer #21343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8352   Customer #21345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8353   Customer #21346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8354   Customer #21348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8355   Customer #21349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8356   Customer #21350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8357   Customer #21351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8358   Customer #21352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8359   Customer #21353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8360   Customer #21354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8361   Customer #21355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8362   Customer #21357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8363   Customer #21358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8364   Customer #21359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8365   Customer #21363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8366   Customer #21365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8367   Customer #21366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8368   Customer #21368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8369   Customer #21369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8370   Customer #21370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8371   Customer #21371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8372   Customer #21372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8373   Customer #21372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8374   Customer #21374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8375   Customer #21375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8376   Customer #21376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8377   Customer #21379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8378   Customer #21382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8379   Customer #21384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8380   Customer #21390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8381   Customer #21391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8382   Customer #21392                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8383   Customer #21394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8384   Customer #21398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8385   Customer #21399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8386   Customer #21400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8387   Customer #21401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8388   Customer #21401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8389   Customer #21402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8390   Customer #21403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8391   Customer #21404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8392   Customer #21405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8393   Customer #21409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8394   Customer #21411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8395   Customer #21414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8396   Customer #21416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8397   Customer #21418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8398   Customer #21419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8399   Customer #21420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8400   Customer #21423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8401   Customer #21424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8402   Customer #21428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8403   Customer #21434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8404   Customer #21436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8405   Customer #21437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8406   Customer #21438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8407   Customer #21439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8408   Customer #21441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8409   Customer #21443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8410   Customer #21444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8411   Customer #21445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8412   Customer #21448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8413   Customer #21449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8414   Customer #21452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8415   Customer #21453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8416   Customer #21459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8417   Customer #21460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8418   Customer #21462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8419   Customer #21463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8420   Customer #21469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8421   Customer #21471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8422   Customer #21475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8423   Customer #21475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8424   Customer #21476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8425   Customer #21477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8426   Customer #21478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8427   Customer #21479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8428   Customer #21480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8429   Customer #21483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8430   Customer #21484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8431   Customer #21485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8432   Customer #21492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8433   Customer #21494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8434   Customer #21496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8435   Customer #21497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8436   Customer #21499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8437   Customer #21500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8438   Customer #21504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8439   Customer #21505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8440   Customer #21506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8441   Customer #21507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8442   Customer #21508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8443   Customer #21509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8444   Customer #21513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8445   Customer #21515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8446   Customer #21517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8447   Customer #21518                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8448   Customer #21520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8449   Customer #21521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8450   Customer #21522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8451   Customer #21527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8452   Customer #21529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8453   Customer #21530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8454   Customer #21532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8455   Customer #21534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8456   Customer #21536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8457   Customer #21540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8458   Customer #21546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8459   Customer #21550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8460   Customer #21553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8461   Customer #21558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8462   Customer #21559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8463   Customer #21560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8464   Customer #21561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8465   Customer #21563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8466   Customer #21566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8467   Customer #21569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8468   Customer #21573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8469   Customer #21578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8470   Customer #21579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8471   Customer #21580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8472   Customer #21581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8473   Customer #21583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8474   Customer #21584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8475   Customer #21585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8476   Customer #21586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8477   Customer #21587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8478   Customer #21588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8479   Customer #21590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8480   Customer #21591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8481   Customer #21592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8482   Customer #21593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8483   Customer #21594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8484   Customer #21595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8485   Customer #21596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8486   Customer #21598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8487   Customer #21600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8488   Customer #21602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8489   Customer #21603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8490   Customer #21604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8491   Customer #21609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8492   Customer #21616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8493   Customer #21618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8494   Customer #21619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8495   Customer #21628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8496   Customer #21630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8497   Customer #21630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8498   Customer #21631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8499   Customer #21632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8500   Customer #21633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8501   Customer #21634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8502   Customer #21635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8503   Customer #21636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8504   Customer #21637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8505   Customer #21638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8506   Customer #21641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8507   Customer #21644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8508   Customer #21645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8509   Customer #21647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8510   Customer #21648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8511   Customer #21651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8512   Customer #21652                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8513   Customer #21655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8514   Customer #21656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8515   Customer #21657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8516   Customer #21660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8517   Customer #21661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8518   Customer #21662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8519   Customer #21663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8520   Customer #21665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8521   Customer #21666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8522   Customer #21668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8523   Customer #21669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8524   Customer #21670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8525   Customer #21672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8526   Customer #21675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8527   Customer #21676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8528   Customer #21677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8529   Customer #21678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8530   Customer #21679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8531   Customer #21682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8532   Customer #21683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8533   Customer #21688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8534   Customer #21689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8535   Customer #21690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8536   Customer #21694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8537   Customer #21695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8538   Customer #21696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8539   Customer #21697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8540   Customer #21703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8541   Customer #21705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8542   Customer #21708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8543   Customer #21709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8544   Customer #21710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8545   Customer #21711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8546   Customer #21712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8547   Customer #21715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8548   Customer #21716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8549   Customer #21719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8550   Customer #21724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8551   Customer #21725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8552   Customer #21727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8553   Customer #21731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8554   Customer #21734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8555   Customer #21735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8556   Customer #21736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8557   Customer #21737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8558   Customer #21738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8559   Customer #21739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8560   Customer #21740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8561   Customer #21742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8562   Customer #21743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8563   Customer #21744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8564   Customer #21745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8565   Customer #21746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8566   Customer #21747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8567   Customer #21750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8568   Customer #21752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8569   Customer #21753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8570   Customer #21757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8571   Customer #21758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8572   Customer #21759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8573   Customer #21760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8574   Customer #21764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8575   Customer #21764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8576   Customer #21765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8577   Customer #21766                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8578   Customer #21767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8579   Customer #21768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8580   Customer #21769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8581   Customer #21770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8582   Customer #21771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8583   Customer #21773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8584   Customer #21777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8585   Customer #21780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8586   Customer #21781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8587   Customer #21783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8588   Customer #21784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8589   Customer #21785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8590   Customer #21786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8591   Customer #21787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8592   Customer #21788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8593   Customer #21793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8594   Customer #21799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8595   Customer #21805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8596   Customer #21807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8597   Customer #21808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8598   Customer #21811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8599   Customer #21812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8600   Customer #21813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8601   Customer #21817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8602   Customer #21819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8603   Customer #21825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8604   Customer #21830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8605   Customer #21831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8606   Customer #21833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8607   Customer #21834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8608   Customer #21835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8609   Customer #21836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8610   Customer #21837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8611   Customer #21838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8612   Customer #21839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8613   Customer #21846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8614   Customer #21848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8615   Customer #21849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8616   Customer #21851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8617   Customer #21854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8618   Customer #21857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8619   Customer #21858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8620   Customer #21859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8621   Customer #21862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8622   Customer #21863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8623   Customer #21865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8624   Customer #21866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8625   Customer #21867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8626   Customer #21875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8627   Customer #21876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8628   Customer #21877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8629   Customer #21878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8630   Customer #21879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8631   Customer #21880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8632   Customer #21881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8633   Customer #21882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8634   Customer #21883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8635   Customer #21884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8636   Customer #21885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8637   Customer #21886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8638   Customer #21887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8639   Customer #21888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8640   Customer #21889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8641   Customer #21893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8642   Customer #21898                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8643   Customer #21916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8644   Customer #21917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8645   Customer #21918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8646   Customer #21919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8647   Customer #21923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8648   Customer #21925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8649   Customer #21927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8650   Customer #21928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8651   Customer #21929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8652   Customer #21931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8653   Customer #21932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8654   Customer #21934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8655   Customer #21935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8656   Customer #21936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8657   Customer #21937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8658   Customer #21940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8659   Customer #21941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8660   Customer #21942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8661   Customer #21943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8662   Customer #21947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8663   Customer #21948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8664   Customer #21952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8665   Customer #21953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8666   Customer #21954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8667   Customer #21956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8668   Customer #21958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8669   Customer #21959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8670   Customer #21960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8671   Customer #21961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8672   Customer #21962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8673   Customer #21963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8674   Customer #21965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8675   Customer #21968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8676   Customer #21969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8677   Customer #21970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8678   Customer #21971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8679   Customer #21974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8680   Customer #21975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8681   Customer #21976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8682   Customer #21977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8683   Customer #21978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8684   Customer #21979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8685   Customer #21982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8686   Customer #21986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8687   Customer #21989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8688   Customer #21990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8689   Customer #21992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8690   Customer #21994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8691   Customer #21995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8692   Customer #21997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8693   Customer #22004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8694   Customer #22006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8695   Customer #22007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8696   Customer #22008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8697   Customer #22009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8698   Customer #22010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8699   Customer #22014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8700   Customer #22015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8701   Customer #22016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8702   Customer #22021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8703   Customer #22022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8704   Customer #22024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8705   Customer #22025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8706   Customer #22026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8707   Customer #22027                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8708   Customer #22028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8709   Customer #22029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8710   Customer #22030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8711   Customer #22031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8712   Customer #22032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8713   Customer #22033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8714   Customer #22034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8715   Customer #22035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8716   Customer #22038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8717   Customer #22040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8718   Customer #22041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8719   Customer #22042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8720   Customer #22043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8721   Customer #22044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8722   Customer #22045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8723   Customer #22046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8724   Customer #22047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8725   Customer #22054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8726   Customer #22055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8727   Customer #22057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8728   Customer #22058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8729   Customer #22062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8730   Customer #22063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8731   Customer #22064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8732   Customer #22065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8733   Customer #22066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8734   Customer #22068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8735   Customer #22073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8736   Customer #22077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8737   Customer #22081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8738   Customer #22086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8739   Customer #22094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8740   Customer #22095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8741   Customer #22097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8742   Customer #22098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8743   Customer #22099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8744   Customer #22100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8745   Customer #22101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8746   Customer #22103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8747   Customer #22104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8748   Customer #22105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8749   Customer #22106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8750   Customer #22108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8751   Customer #22109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8752   Customer #22114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8753   Customer #22115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8754   Customer #22116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8755   Customer #22117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8756   Customer #22118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8757   Customer #22123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8758   Customer #22125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8759   Customer #22126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8760   Customer #22128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8761   Customer #22129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8762   Customer #22130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8763   Customer #22133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8764   Customer #22135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8765   Customer #22136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8766   Customer #22148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8767   Customer #22149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8768   Customer #22150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8769   Customer #22151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8770   Customer #22152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8771   Customer #22153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8772   Customer #22155                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8773   Customer #22156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8774   Customer #22157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8775   Customer #22158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8776   Customer #22159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8777   Customer #22160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8778   Customer #22164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8779   Customer #22165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8780   Customer #22166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8781   Customer #22167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8782   Customer #22168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8783   Customer #22174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8784   Customer #22179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8785   Customer #22183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8786   Customer #22188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8787   Customer #22191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8788   Customer #22192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8789   Customer #22193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8790   Customer #22196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8791   Customer #22197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8792   Customer #22203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8793   Customer #22209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8794   Customer #22210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8795   Customer #22212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8796   Customer #22215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8797   Customer #22218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8798   Customer #22219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8799   Customer #22220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8800   Customer #22222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8801   Customer #22224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8802   Customer #22225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8803   Customer #22227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8804   Customer #22228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8805   Customer #22229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8806   Customer #22231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8807   Customer #22232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8808   Customer #22233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8809   Customer #22237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8810   Customer #22241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8811   Customer #22243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8812   Customer #22246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8813   Customer #22247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8814   Customer #22248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8815   Customer #22253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8816   Customer #22256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8817   Customer #22257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8818   Customer #22258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8819   Customer #22260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8820   Customer #22264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8821   Customer #22274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8822   Customer #22275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8823   Customer #22276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8824   Customer #22277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8825   Customer #22278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8826   Customer #22280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8827   Customer #22281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8828   Customer #22288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8829   Customer #22293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8830   Customer #22296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8831   Customer #22302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8832   Customer #22303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8833   Customer #22305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8834   Customer #22307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8835   Customer #22308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8836   Customer #22310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8837   Customer #22313                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8838   Customer #22317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8839   Customer #22318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8840   Customer #22320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8841   Customer #22321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8842   Customer #22322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8843   Customer #22331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8844   Customer #22332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8845   Customer #22333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8846   Customer #22337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8847   Customer #22339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8848   Customer #22363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8849   Customer #22366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8850   Customer #22367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8851   Customer #22368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8852   Customer #22369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8853   Customer #22370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8854   Customer #22371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8855   Customer #22377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8856   Customer #22379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8857   Customer #22381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8858   Customer #22382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8859   Customer #22383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8860   Customer #22384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8861   Customer #22386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8862   Customer #22388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8863   Customer #22390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8864   Customer #22391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8865   Customer #22394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8866   Customer #22395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8867   Customer #22396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8868   Customer #22397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8869   Customer #22399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8870   Customer #22400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8871   Customer #22401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8872   Customer #22403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8873   Customer #22405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8874   Customer #22406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8875   Customer #22409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8876   Customer #22411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8877   Customer #22414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8878   Customer #22415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8879   Customer #22416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8880   Customer #22418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8881   Customer #22423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8882   Customer #22424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8883   Customer #22426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8884   Customer #22429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8885   Customer #22431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8886   Customer #22431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8887   Customer #22431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8888   Customer #22431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8889   Customer #22432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8890   Customer #22437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8891   Customer #22438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8892   Customer #22440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8893   Customer #22446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8894   Customer #22449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8895   Customer #22450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8896   Customer #22452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8897   Customer #22453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8898   Customer #22454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8899   Customer #22455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8900   Customer #22457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8901   Customer #22459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8902   Customer #22465                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8903   Customer #22475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8904   Customer #22477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8905   Customer #22478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8906   Customer #22480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8907   Customer #22494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8908   Customer #22515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8909   Customer #22522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8910   Customer #22527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8911   Customer #22529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8912   Customer #22530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8913   Customer #22532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8914   Customer #22533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8915   Customer #22535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8916   Customer #22536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8917   Customer #22537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8918   Customer #22538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8919   Customer #22539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8920   Customer #22542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8921   Customer #22543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8922   Customer #22544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8923   Customer #22545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8924   Customer #22550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8925   Customer #22553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8926   Customer #22556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8927   Customer #22557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8928   Customer #22559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8929   Customer #22560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8930   Customer #22561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8931   Customer #22566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8932   Customer #22568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8933   Customer #22569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8934   Customer #22572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8935   Customer #22573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8936   Customer #22574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8937   Customer #22576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8938   Customer #22577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8939   Customer #22578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8940   Customer #22580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8941   Customer #22581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8942   Customer #22582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8943   Customer #22583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8944   Customer #22584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8945   Customer #22587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8946   Customer #22589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8947   Customer #22590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8948   Customer #22591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8949   Customer #22592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8950   Customer #22594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8951   Customer #22595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8952   Customer #22596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8953   Customer #22597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8954   Customer #22610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8955   Customer #22611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8956   Customer #22612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8957   Customer #22613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8958   Customer #22615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8959   Customer #22616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8960   Customer #22617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8961   Customer #22618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8962   Customer #22619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8963   Customer #22635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8964   Customer #22641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8965   Customer #22643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8966   Customer #22644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8967   Customer #22646                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.8968   Customer #22648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8969   Customer #22651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8970   Customer #22658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8971   Customer #22659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8972   Customer #22660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8973   Customer #22662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8974   Customer #22663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8975   Customer #22665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8976   Customer #22667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8977   Customer #22668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8978   Customer #22680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8979   Customer #22681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8980   Customer #22682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8981   Customer #22684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8982   Customer #22712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8983   Customer #22723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8984   Customer #22726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8985   Customer #22727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8986   Customer #22728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8987   Customer #22729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8988   Customer #22730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8989   Customer #22732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8990   Customer #22733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8991   Customer #22734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8992   Customer #22735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8993   Customer #22743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8994   Customer #22744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8995   Customer #22745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8996   Customer #22746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8997   Customer #22747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8998   Customer #22749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.8999   Customer #22752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9000   Customer #22754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9001   Customer #22755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9002   Customer #22756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9003   Customer #22758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9004   Customer #22760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9005   Customer #22763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9006   Customer #22764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9007   Customer #22765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9008   Customer #22766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9009   Customer #22767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9010   Customer #22768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9011   Customer #22769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9012   Customer #22770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9013   Customer #22771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9014   Customer #22772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9015   Customer #22773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9016   Customer #22775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9017   Customer #22776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9018   Customer #22778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9019   Customer #22779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9020   Customer #22782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9021   Customer #22786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9022   Customer #22787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9023   Customer #22788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9024   Customer #22794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9025   Customer #22795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9026   Customer #22796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9027   Customer #22798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9028   Customer #22799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9029   Customer #22803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9030   Customer #22804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9031   Customer #22805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9032   Customer #22806                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                       SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9033   Customer #22806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9034   Customer #22808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9035   Customer #22815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9036   Customer #22817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9037   Customer #22818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9038   Customer #22819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9039   Customer #22820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9040   Customer #22823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9041   Customer #22824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9042   Customer #22825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9043   Customer #22826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9044   Customer #22828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9045   Customer #22828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9046   Customer #22829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9047   Customer #22830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9048   Customer #22831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9049   Customer #22832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9050   Customer #22834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9051   Customer #22835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9052   Customer #22837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9053   Customer #22839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9054   Customer #22841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9055   Customer #22842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9056   Customer #22847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9057   Customer #22848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9058   Customer #22851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9059   Customer #22854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9060   Customer #22855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9061   Customer #22858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9062   Customer #22859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9063   Customer #22861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9064   Customer #22864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9065   Customer #22869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9066   Customer #22870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9067   Customer #22872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9068   Customer #22873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9069   Customer #22875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9070   Customer #22877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9071   Customer #22881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9072   Customer #22882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9073   Customer #22884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9074   Customer #22885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9075   Customer #22886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9076   Customer #22893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9077   Customer #22895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9078   Customer #22896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9079   Customer #22897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9080   Customer #22899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9081   Customer #22902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9082   Customer #22904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9083   Customer #22905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9084   Customer #22907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9085   Customer #22908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9086   Customer #22911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9087   Customer #22912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9088   Customer #22913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9089   Customer #22916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9090   Customer #22921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9091   Customer #22923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9092   Customer #22924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9093   Customer #22925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9094   Customer #22926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9095   Customer #22928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9096   Customer #22929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9097   Customer #22932                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9098   Customer #22951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9099   Customer #22959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9100   Customer #22964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9101   Customer #22967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9102   Customer #22968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9103   Customer #22969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9104   Customer #22970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9105   Customer #22972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9106   Customer #22975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9107   Customer #22977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9108   Customer #22978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9109   Customer #22980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9110   Customer #22981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9111   Customer #22982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9112   Customer #22983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9113   Customer #22985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9114   Customer #22986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9115   Customer #22988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9116   Customer #22990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9117   Customer #22991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9118   Customer #22996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9119   Customer #22998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9120   Customer #22999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9121   Customer #23000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9122   Customer #23001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9123   Customer #23002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9124   Customer #23003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9125   Customer #23004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9126   Customer #23005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9127   Customer #23006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9128   Customer #23007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9129   Customer #23008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9130   Customer #23018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9131   Customer #23020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9132   Customer #23024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9133   Customer #23025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9134   Customer #23026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9135   Customer #23038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9136   Customer #23039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9137   Customer #23040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9138   Customer #23041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9139   Customer #23042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9140   Customer #23043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9141   Customer #23044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9142   Customer #23046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9143   Customer #23047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9144   Customer #23048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9145   Customer #23050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9146   Customer #23052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9147   Customer #23053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9148   Customer #23055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9149   Customer #23056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9150   Customer #23057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9151   Customer #23057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9152   Customer #23058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9153   Customer #23059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9154   Customer #23060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9155   Customer #23062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9156   Customer #23064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9157   Customer #23074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9158   Customer #23075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9159   Customer #23090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9160   Customer #23092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9161   Customer #23093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9162   Customer #23094                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9163   Customer #23095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9164   Customer #23096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9165   Customer #23099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9166   Customer #23102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9167   Customer #23103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9168   Customer #23104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9169   Customer #23105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9170   Customer #23107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9171   Customer #23108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9172   Customer #23110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9173   Customer #23115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9174   Customer #23116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9175   Customer #23120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9176   Customer #23123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9177   Customer #23124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9178   Customer #23125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9179   Customer #23126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9180   Customer #23129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9181   Customer #23130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9182   Customer #23132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9183   Customer #23136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9184   Customer #23142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9185   Customer #23145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9186   Customer #23147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9187   Customer #23148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9188   Customer #23149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9189   Customer #23152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9190   Customer #23153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9191   Customer #23154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9192   Customer #23159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9193   Customer #23161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9194   Customer #23163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9195   Customer #23164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9196   Customer #23165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9197   Customer #23166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9198   Customer #23167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9199   Customer #23173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9200   Customer #23176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9201   Customer #23177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9202   Customer #23178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9203   Customer #23179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9204   Customer #23183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9205   Customer #23188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9206   Customer #23189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9207   Customer #23190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9208   Customer #23191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9209   Customer #23192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9210   Customer #23194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9211   Customer #23196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9212   Customer #23197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9213   Customer #23198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9214   Customer #23199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9215   Customer #23200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9216   Customer #23201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9217   Customer #23202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9218   Customer #23203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9219   Customer #23204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9220   Customer #23205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9221   Customer #23208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9222   Customer #23211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9223   Customer #23214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9224   Customer #23217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9225   Customer #23223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9226   Customer #23224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9227   Customer #23225                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9228   Customer #23226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9229   Customer #23227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9230   Customer #23228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9231   Customer #23232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9232   Customer #23243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9233   Customer #23247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9234   Customer #23247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9235   Customer #23248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9236   Customer #23256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9237   Customer #23259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9238   Customer #23260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9239   Customer #23261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9240   Customer #23263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9241   Customer #23265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9242   Customer #23269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9243   Customer #23272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9244   Customer #23275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9245   Customer #23277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9246   Customer #23279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9247   Customer #23280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9248   Customer #23286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9249   Customer #23287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9250   Customer #23288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9251   Customer #23289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9252   Customer #23291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9253   Customer #23292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9254   Customer #23293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9255   Customer #23294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9256   Customer #23295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9257   Customer #23296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9258   Customer #23299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9259   Customer #23300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9260   Customer #23301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9261   Customer #23302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9262   Customer #23303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9263   Customer #23304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9264   Customer #23306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9265   Customer #23307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9266   Customer #23310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9267   Customer #23311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9268   Customer #23312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9269   Customer #23313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9270   Customer #23314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9271   Customer #23315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9272   Customer #23317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9273   Customer #23318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9274   Customer #23319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9275   Customer #23321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9276   Customer #23322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9277   Customer #23330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9278   Customer #23334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9279   Customer #23338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9280   Customer #23339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9281   Customer #23340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9282   Customer #23349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9283   Customer #23354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9284   Customer #23356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9285   Customer #23358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9286   Customer #23359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9287   Customer #23361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9288   Customer #23362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9289   Customer #23364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9290   Customer #23366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9291   Customer #23371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9292   Customer #23375                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9293   Customer #23377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9294   Customer #23379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9295   Customer #23381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9296   Customer #23382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9297   Customer #23383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9298   Customer #23385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9299   Customer #23388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9300   Customer #23389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9301   Customer #23390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9302   Customer #23393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9303   Customer #23394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9304   Customer #23395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9305   Customer #23396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9306   Customer #23397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9307   Customer #23399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9308   Customer #23402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9309   Customer #23403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9310   Customer #23404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9311   Customer #23405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9312   Customer #23407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9313   Customer #23408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9314   Customer #23410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9315   Customer #23412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9316   Customer #23413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9317   Customer #23414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9318   Customer #23417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9319   Customer #23417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9320   Customer #23423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9321   Customer #23424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9322   Customer #23430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9323   Customer #23431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9324   Customer #23432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9325   Customer #23433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9326   Customer #23436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9327   Customer #23438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9328   Customer #23440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9329   Customer #23441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9330   Customer #23442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9331   Customer #23443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9332   Customer #23449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9333   Customer #23451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9334   Customer #23460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9335   Customer #23461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9336   Customer #23462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9337   Customer #23464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9338   Customer #23465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9339   Customer #23466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9340   Customer #23467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9341   Customer #23469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9342   Customer #23473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9343   Customer #23474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9344   Customer #23476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9345   Customer #23487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9346   Customer #23490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9347   Customer #23493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9348   Customer #23494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9349   Customer #23502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9350   Customer #23503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9351   Customer #23505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9352   Customer #23506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9353   Customer #23507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9354   Customer #23508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9355   Customer #23516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9356   Customer #23552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9357   Customer #23553                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9358   Customer #23556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9359   Customer #23558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9360   Customer #23559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9361   Customer #23560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9362   Customer #23567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9363   Customer #23569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9364   Customer #23570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9365   Customer #23571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9366   Customer #23572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9367   Customer #23573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9368   Customer #23574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9369   Customer #23575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9370   Customer #23577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9371   Customer #23579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9372   Customer #23580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9373   Customer #23581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9374   Customer #23582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9375   Customer #23584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9376   Customer #23585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9377   Customer #23586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9378   Customer #23590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9379   Customer #23593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9380   Customer #23595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9381   Customer #23598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9382   Customer #23599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9383   Customer #23641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9384   Customer #23643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9385   Customer #23644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9386   Customer #23645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9387   Customer #23647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9388   Customer #23652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9389   Customer #23653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9390   Customer #23654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9391   Customer #23656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9392   Customer #23659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9393   Customer #23660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9394   Customer #23661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9395   Customer #23663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9396   Customer #23667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9397   Customer #23676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9398   Customer #23677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9399   Customer #23678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9400   Customer #23679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9401   Customer #23680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9402   Customer #23693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9403   Customer #23694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9404   Customer #23695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9405   Customer #23696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9406   Customer #23698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9407   Customer #23704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9408   Customer #23705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9409   Customer #23706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9410   Customer #23707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9411   Customer #23713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9412   Customer #23724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9413   Customer #23735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9414   Customer #23737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9415   Customer #23739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9416   Customer #23740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9417   Customer #23743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9418   Customer #23745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9419   Customer #23746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9420   Customer #23747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9421   Customer #23753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9422   Customer #23755                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9423   Customer #23756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9424   Customer #23757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9425   Customer #23758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9426   Customer #23763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9427   Customer #23764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9428   Customer #23765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9429   Customer #23766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9430   Customer #23767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9431   Customer #23768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9432   Customer #23772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9433   Customer #23774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9434   Customer #23776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9435   Customer #23779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9436   Customer #23788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9437   Customer #23789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9438   Customer #23799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9439   Customer #23801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9440   Customer #23805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9441   Customer #23812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9442   Customer #23813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9443   Customer #23814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9444   Customer #23815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9445   Customer #23817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9446   Customer #23822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9447   Customer #23823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9448   Customer #23825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9449   Customer #23826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9450   Customer #23827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9451   Customer #23829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9452   Customer #23830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9453   Customer #23833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9454   Customer #23836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9455   Customer #23839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9456   Customer #23840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9457   Customer #23843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9458   Customer #23844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9459   Customer #23845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9460   Customer #23846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9461   Customer #23848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9462   Customer #23851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9463   Customer #23852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9464   Customer #23854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9465   Customer #23857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9466   Customer #23858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9467   Customer #23859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9468   Customer #23860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9469   Customer #23864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9470   Customer #23874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9471   Customer #23877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9472   Customer #23878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9473   Customer #23880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9474   Customer #23881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9475   Customer #23882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9476   Customer #23883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9477   Customer #23885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9478   Customer #23886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9479   Customer #23887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9480   Customer #23888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9481   Customer #23890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9482   Customer #23891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9483   Customer #23892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9484   Customer #23893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9485   Customer #23895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9486   Customer #23898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9487   Customer #23900                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9488   Customer #23904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9489   Customer #23905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9490   Customer #23907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9491   Customer #23908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9492   Customer #23911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9493   Customer #23913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9494   Customer #23914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9495   Customer #23918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9496   Customer #23919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9497   Customer #23920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9498   Customer #23921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9499   Customer #23922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9500   Customer #23928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9501   Customer #23929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9502   Customer #23930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9503   Customer #23931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9504   Customer #23931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9505   Customer #23935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9506   Customer #23936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9507   Customer #23938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9508   Customer #23939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9509   Customer #23941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9510   Customer #23943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9511   Customer #23944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9512   Customer #23945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9513   Customer #23946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9514   Customer #23947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9515   Customer #23950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9516   Customer #23952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9517   Customer #23955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9518   Customer #23957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9519   Customer #23958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9520   Customer #23959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9521   Customer #23972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9522   Customer #23974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9523   Customer #23977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9524   Customer #23979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9525   Customer #23980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9526   Customer #23989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9527   Customer #23990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9528   Customer #23992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9529   Customer #23993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9530   Customer #23997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9531   Customer #23999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9532   Customer #24000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9533   Customer #24003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9534   Customer #24005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9535   Customer #24006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9536   Customer #24007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9537   Customer #24007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9538   Customer #24007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9539   Customer #24008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9540   Customer #24009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9541   Customer #24013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9542   Customer #24018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9543   Customer #24020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9544   Customer #24022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9545   Customer #24023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9546   Customer #24024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9547   Customer #24027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9548   Customer #24028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9549   Customer #24029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9550   Customer #24030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9551   Customer #24031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9552   Customer #24032                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9553   Customer #24037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9554   Customer #24040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9555   Customer #24041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9556   Customer #24041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9557   Customer #24045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9558   Customer #24046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9559   Customer #24047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9560   Customer #24048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9561   Customer #24049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9562   Customer #24050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9563   Customer #24062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9564   Customer #24063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9565   Customer #24064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9566   Customer #24067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9567   Customer #24068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9568   Customer #24069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9569   Customer #24074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9570   Customer #24084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9571   Customer #24085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9572   Customer #24092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9573   Customer #24093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9574   Customer #24099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9575   Customer #24100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9576   Customer #24101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9577   Customer #24105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9578   Customer #24107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9579   Customer #24108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9580   Customer #24109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9581   Customer #24110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9582   Customer #24113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9583   Customer #24117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9584   Customer #24121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9585   Customer #24124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9586   Customer #24125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9587   Customer #24126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9588   Customer #24127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9589   Customer #24128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9590   Customer #24129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9591   Customer #24130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9592   Customer #24131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9593   Customer #24132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9594   Customer #24133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9595   Customer #24135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9596   Customer #24136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9597   Customer #24137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9598   Customer #24138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9599   Customer #24148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9600   Customer #24150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9601   Customer #24152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9602   Customer #24153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9603   Customer #24157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9604   Customer #24159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9605   Customer #24160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9606   Customer #24161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9607   Customer #24163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9608   Customer #24167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9609   Customer #24168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9610   Customer #24169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9611   Customer #24171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9612   Customer #24176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9613   Customer #24177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9614   Customer #24178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9615   Customer #24180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9616   Customer #24181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9617   Customer #24184                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9618   Customer #24187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9619   Customer #24188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9620   Customer #24190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9621   Customer #24191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9622   Customer #24198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9623   Customer #24199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9624   Customer #24203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9625   Customer #24204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9626   Customer #24205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9627   Customer #24206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9628   Customer #24207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9629   Customer #24209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9630   Customer #24211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9631   Customer #24212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9632   Customer #24213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9633   Customer #24214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9634   Customer #24215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9635   Customer #24216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9636   Customer #24217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9637   Customer #24218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9638   Customer #24220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9639   Customer #24221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9640   Customer #24222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9641   Customer #24226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9642   Customer #24227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9643   Customer #24228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9644   Customer #24230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9645   Customer #24232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9646   Customer #24233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9647   Customer #24236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9648   Customer #24237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9649   Customer #24255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9650   Customer #24256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9651   Customer #24258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9652   Customer #24259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9653   Customer #24260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9654   Customer #24261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9655   Customer #24262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9656   Customer #24263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9657   Customer #24266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9658   Customer #24272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9659   Customer #24273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9660   Customer #24274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9661   Customer #24275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9662   Customer #24276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9663   Customer #24277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9664   Customer #24278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9665   Customer #24281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9666   Customer #24282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9667   Customer #24287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9668   Customer #24292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9669   Customer #24294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9670   Customer #24298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9671   Customer #24301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9672   Customer #24304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9673   Customer #24305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9674   Customer #24305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9675   Customer #24311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9676   Customer #24314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9677   Customer #24338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9678   Customer #24347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9679   Customer #24349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9680   Customer #24350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9681   Customer #24351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9682   Customer #24352                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9683   Customer #24353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9684   Customer #24354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9685   Customer #24359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9686   Customer #24359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9687   Customer #24361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9688   Customer #24363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9689   Customer #24364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9690   Customer #24371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9691   Customer #24376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9692   Customer #24389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9693   Customer #24393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9694   Customer #24395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9695   Customer #24398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9696   Customer #24401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9697   Customer #24402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9698   Customer #24403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9699   Customer #24404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9700   Customer #24407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9701   Customer #24409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9702   Customer #24410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9703   Customer #24412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9704   Customer #24416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9705   Customer #24418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9706   Customer #24426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9707   Customer #24427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9708   Customer #24427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9709   Customer #24429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9710   Customer #24430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9711   Customer #24433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9712   Customer #24434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9713   Customer #24435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9714   Customer #24437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9715   Customer #24438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9716   Customer #24441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9717   Customer #24442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9718   Customer #24443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9719   Customer #24451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9720   Customer #24452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9721   Customer #24457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9722   Customer #24458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9723   Customer #24461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9724   Customer #24462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9725   Customer #24465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9726   Customer #24467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9727   Customer #24469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9728   Customer #24470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9729   Customer #24471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9730   Customer #24474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9731   Customer #24476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9732   Customer #24479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9733   Customer #24480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9734   Customer #24484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9735   Customer #24487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9736   Customer #24488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9737   Customer #24489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9738   Customer #24493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9739   Customer #24494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9740   Customer #24495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9741   Customer #24496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9742   Customer #24516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9743   Customer #24517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9744   Customer #24521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9745   Customer #24524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9746   Customer #24525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9747   Customer #24529                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9748   Customer #24530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9749   Customer #24534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9750   Customer #24537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9751   Customer #24540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9752   Customer #24544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9753   Customer #24545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9754   Customer #24546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9755   Customer #24547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9756   Customer #24548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9757   Customer #24549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9758   Customer #24551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9759   Customer #24556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9760   Customer #24566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9761   Customer #24572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9762   Customer #24577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9763   Customer #24580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9764   Customer #24584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9765   Customer #24585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9766   Customer #24586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9767   Customer #24600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9768   Customer #24602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9769   Customer #24606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9770   Customer #24609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9771   Customer #24610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9772   Customer #24615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9773   Customer #24616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9774   Customer #24625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9775   Customer #24636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9776   Customer #24637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9777   Customer #24639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9778   Customer #24640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9779   Customer #24642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9780   Customer #24643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9781   Customer #24644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9782   Customer #24647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9783   Customer #24648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9784   Customer #24650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9785   Customer #24651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9786   Customer #24652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9787   Customer #24655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9788   Customer #24656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9789   Customer #24658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9790   Customer #24659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9791   Customer #24664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9792   Customer #24666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9793   Customer #24669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9794   Customer #24671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9795   Customer #24675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9796   Customer #24677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9797   Customer #24678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9798   Customer #24680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9799   Customer #24685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9800   Customer #24689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9801   Customer #24690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9802   Customer #24692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9803   Customer #24693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9804   Customer #24694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9805   Customer #24697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9806   Customer #24698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9807   Customer #24701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9808   Customer #24703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9809   Customer #24706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9810   Customer #24707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9811   Customer #24708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9812   Customer #24710                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9813   Customer #24713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9814   Customer #24715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9815   Customer #24716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9816   Customer #24717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9817   Customer #24718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9818   Customer #24719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9819   Customer #24720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9820   Customer #24721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9821   Customer #24722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9822   Customer #24723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9823   Customer #24724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9824   Customer #24728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9825   Customer #24730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9826   Customer #24741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9827   Customer #24743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9828   Customer #24744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9829   Customer #24746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9830   Customer #24749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9831   Customer #24751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9832   Customer #24752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9833   Customer #24754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9834   Customer #24758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9835   Customer #24773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9836   Customer #24778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9837   Customer #24780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9838   Customer #24788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9839   Customer #24797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9840   Customer #24798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9841   Customer #24799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9842   Customer #24804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9843   Customer #24806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9844   Customer #24812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9845   Customer #24813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9846   Customer #24814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9847   Customer #24815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9848   Customer #24816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9849   Customer #24818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9850   Customer #24821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9851   Customer #24835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9852   Customer #24844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9853   Customer #24845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9854   Customer #24846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9855   Customer #24847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9856   Customer #24848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9857   Customer #24849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9858   Customer #24850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9859   Customer #24851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9860   Customer #24852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9861   Customer #24855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9862   Customer #24856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9863   Customer #24858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9864   Customer #24859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9865   Customer #24860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9866   Customer #24861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9867   Customer #24864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9868   Customer #24866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9869   Customer #24867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9870   Customer #24868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9871   Customer #24869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9872   Customer #24870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9873   Customer #24871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9874   Customer #24873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9875   Customer #24874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9876   Customer #24875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9877   Customer #24876                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                     Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                            Unliquidated
                                                                                                                                                                               Contingent
                                                                                                                                                                                                                      Is the Claim




                                                                                                                                                                                                           Disputed
                                                                                                                                                 Last 4                                                                Subject to
                                                                                  Address                                               Date    Digits of                                                                Offset?
     ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9878   Customer #24877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9879   Customer #24878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9880   Customer #24880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9881   Customer #24882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9882   Customer #24883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9883   Customer #24885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9884   Customer #24886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9885   Customer #24888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9886   Customer #24889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9887   Customer #24890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9888   Customer #24891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9889   Customer #24893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9890   Customer #24896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9891   Customer #24897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9892   Customer #24898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9893   Customer #24899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9894   Customer #24901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9895   Customer #24902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9896   Customer #24903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9897   Customer #24905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9898   Customer #24907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9899   Customer #24909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9900   Customer #24911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9901   Customer #24912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9902   Customer #24914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9903   Customer #24915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9904   Customer #24916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9905   Customer #24918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9906   Customer #24919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9907   Customer #24921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9908   Customer #24922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9909   Customer #24924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9910   Customer #24926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9911   Customer #24927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9912   Customer #24930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9913   Customer #24933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9914   Customer #24935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9915   Customer #24937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9916   Customer #24938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9917   Customer #24944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9918   Customer #24945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9919   Customer #24946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9920   Customer #24950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9921   Customer #24951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9922   Customer #24954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9923   Customer #24956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9924   Customer #24957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9925   Customer #24959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9926   Customer #24960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9927   Customer #24961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9928   Customer #24962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9929   Customer #24968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9930   Customer #24969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9931   Customer #24970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9932   Customer #24971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9933   Customer #24972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9934   Customer #24974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9935   Customer #24975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9936   Customer #24976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9937   Customer #24979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9938   Customer #24980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9939   Customer #24984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9940   Customer #24988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9941   Customer #24989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9942   Customer #24990                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.9943    Customer #24993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9944    Customer #24994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9945    Customer #24997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9946    Customer #24998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9947    Customer #24999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9948    Customer #25004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9949    Customer #25006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9950    Customer #25007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9951    Customer #25009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9952    Customer #25010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9953    Customer #25019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9954    Customer #25021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9955    Customer #25025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9956    Customer #25026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9957    Customer #25027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9958    Customer #25028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9959    Customer #25029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9960    Customer #25030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9961    Customer #25031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9962    Customer #25032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9963    Customer #25035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9964    Customer #25036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9965    Customer #25038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9966    Customer #25039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9967    Customer #25040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9968    Customer #25041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9969    Customer #25042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9970    Customer #25044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9971    Customer #25045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9972    Customer #25046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9973    Customer #25048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9974    Customer #25049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9975    Customer #25050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9976    Customer #25055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9977    Customer #25056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9978    Customer #25057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9979    Customer #25058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9980    Customer #25059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9981    Customer #25062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9982    Customer #25063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9983    Customer #25064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9984    Customer #25067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9985    Customer #25068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9986    Customer #25069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9987    Customer #25075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9988    Customer #25080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9989    Customer #25082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9990    Customer #25086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9991    Customer #25087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9992    Customer #25088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9993    Customer #25090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9994    Customer #25092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9995    Customer #25095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9996    Customer #25108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9997    Customer #25109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9998    Customer #25110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.9999    Customer #25112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10000   Customer #25113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10001   Customer #25114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10002   Customer #25115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10003   Customer #25116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10004   Customer #25117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10005   Customer #25118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10006   Customer #25119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10007   Customer #25120                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10008   Customer #25126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10009   Customer #25128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10010   Customer #25129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10011   Customer #25132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10012   Customer #25136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10013   Customer #25138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10014   Customer #25139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10015   Customer #25140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10016   Customer #25141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10017   Customer #25144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10018   Customer #25145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10019   Customer #25149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10020   Customer #25150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10021   Customer #25151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10022   Customer #25160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10023   Customer #25161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10024   Customer #25170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10025   Customer #25171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10026   Customer #25172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10027   Customer #25173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10028   Customer #25182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10029   Customer #25186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10030   Customer #25191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10031   Customer #25192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10032   Customer #25193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10033   Customer #25194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10034   Customer #25195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10035   Customer #25196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10036   Customer #25197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10037   Customer #25199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10038   Customer #25207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10039   Customer #25208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10040   Customer #25209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10041   Customer #25210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10042   Customer #25211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10043   Customer #25212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10044   Customer #25214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10045   Customer #25216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10046   Customer #25219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10047   Customer #25220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10048   Customer #25224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10049   Customer #25225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10050   Customer #25226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10051   Customer #25227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10052   Customer #25228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10053   Customer #25229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10054   Customer #25230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10055   Customer #25231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10056   Customer #25233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10057   Customer #25239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10058   Customer #25240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10059   Customer #25241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10060   Customer #25242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10061   Customer #25243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10062   Customer #25244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10063   Customer #25245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10064   Customer #25246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10065   Customer #25247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10066   Customer #25248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10067   Customer #25250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10068   Customer #25251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10069   Customer #25252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10070   Customer #25253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10071   Customer #25255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10072   Customer #25257                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10073   Customer #25260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10074   Customer #25261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10075   Customer #25263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10076   Customer #25264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10077   Customer #25265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10078   Customer #25267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10079   Customer #25272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10080   Customer #25273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10081   Customer #25274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10082   Customer #25276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10083   Customer #25279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10084   Customer #25280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10085   Customer #25281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10086   Customer #25285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10087   Customer #25287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10088   Customer #25291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10089   Customer #25292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10090   Customer #25293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10091   Customer #25294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10092   Customer #25295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10093   Customer #25297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10094   Customer #25298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10095   Customer #25299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10096   Customer #25300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10097   Customer #25301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10098   Customer #25305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10099   Customer #25307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10100   Customer #25308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10101   Customer #25309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10102   Customer #25311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10103   Customer #25314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10104   Customer #25315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10105   Customer #25316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10106   Customer #25317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10107   Customer #25322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10108   Customer #25323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10109   Customer #25324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10110   Customer #25326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10111   Customer #25330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10112   Customer #25332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10113   Customer #25344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10114   Customer #25345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10115   Customer #25346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10116   Customer #25347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10117   Customer #25349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10118   Customer #25350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10119   Customer #25351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10120   Customer #25352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10121   Customer #25353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10122   Customer #25354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10123   Customer #25355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10124   Customer #25356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10125   Customer #25357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10126   Customer #25361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10127   Customer #25364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10128   Customer #25365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10129   Customer #25366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10130   Customer #25369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10131   Customer #25377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10132   Customer #25380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10133   Customer #25381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10134   Customer #25382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10135   Customer #25383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10136   Customer #25384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10137   Customer #25385                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10138   Customer #25386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10139   Customer #25387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10140   Customer #25388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10141   Customer #25392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10142   Customer #25393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10143   Customer #25394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10144   Customer #25395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10145   Customer #25396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10146   Customer #25398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10147   Customer #25399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10148   Customer #25400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10149   Customer #25404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10150   Customer #25405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10151   Customer #25407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10152   Customer #25408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10153   Customer #25409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10154   Customer #25410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10155   Customer #25413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10156   Customer #25414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10157   Customer #25417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10158   Customer #25424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10159   Customer #25427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10160   Customer #25430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10161   Customer #25431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10162   Customer #25432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10163   Customer #25433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10164   Customer #25435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10165   Customer #25436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10166   Customer #25437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10167   Customer #25438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10168   Customer #25439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10169   Customer #25442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10170   Customer #25445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10171   Customer #25446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10172   Customer #25450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10173   Customer #25451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10174   Customer #25452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10175   Customer #25453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10176   Customer #25454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10177   Customer #25458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10178   Customer #25459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10179   Customer #25460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10180   Customer #25465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10181   Customer #25467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10182   Customer #25472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10183   Customer #25474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10184   Customer #25476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10185   Customer #25480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10186   Customer #25481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10187   Customer #25489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10188   Customer #25490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10189   Customer #25491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10190   Customer #25494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10191   Customer #25495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10192   Customer #25496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10193   Customer #25499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10194   Customer #25506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10195   Customer #25509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10196   Customer #25510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10197   Customer #25512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10198   Customer #25513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10199   Customer #25514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10200   Customer #25517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10201   Customer #25518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10202   Customer #25519                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10203   Customer #25521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10204   Customer #25522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10205   Customer #25523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10206   Customer #25525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10207   Customer #25526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10208   Customer #25543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10209   Customer #25545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10210   Customer #25546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10211   Customer #25547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10212   Customer #25549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10213   Customer #25550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10214   Customer #25555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10215   Customer #25556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10216   Customer #25557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10217   Customer #25558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10218   Customer #25559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10219   Customer #25561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10220   Customer #25562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10221   Customer #25563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10222   Customer #25566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10223   Customer #25567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10224   Customer #25570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10225   Customer #25571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10226   Customer #25572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10227   Customer #25574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10228   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10229   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10230   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10231   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10232   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10233   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10234   Customer #25575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10235   Customer #25576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10236   Customer #25579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10237   Customer #25580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10238   Customer #25583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10239   Customer #25599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10240   Customer #25605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10241   Customer #25606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10242   Customer #25606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10243   Customer #25614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10244   Customer #25630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10245   Customer #25631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10246   Customer #25634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10247   Customer #25636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10248   Customer #25637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10249   Customer #25639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10250   Customer #25640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10251   Customer #25644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10252   Customer #25645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10253   Customer #25646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10254   Customer #25648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10255   Customer #25649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10256   Customer #25650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10257   Customer #25651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10258   Customer #25653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10259   Customer #25654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10260   Customer #25655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10261   Customer #25657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10262   Customer #25659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10263   Customer #25661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10264   Customer #25662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10265   Customer #25664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10266   Customer #25672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10267   Customer #25673                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10268   Customer #25674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10269   Customer #25675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10270   Customer #25680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10271   Customer #25687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10272   Customer #25688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10273   Customer #25689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10274   Customer #25690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10275   Customer #25691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10276   Customer #25695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10277   Customer #25695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10278   Customer #25696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10279   Customer #25697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10280   Customer #25698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10281   Customer #25704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10282   Customer #25705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10283   Customer #25706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10284   Customer #25708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10285   Customer #25710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10286   Customer #25711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10287   Customer #25729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10288   Customer #25754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10289   Customer #25763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10290   Customer #25775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10291   Customer #25785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10292   Customer #25796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10293   Customer #25801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10294   Customer #25802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10295   Customer #25806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10296   Customer #25807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10297   Customer #25808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10298   Customer #25812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10299   Customer #25812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10300   Customer #25813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10301   Customer #25814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10302   Customer #25815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10303   Customer #25816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10304   Customer #25817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10305   Customer #25818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10306   Customer #25824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10307   Customer #25827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10308   Customer #25838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10309   Customer #25839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10310   Customer #25840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10311   Customer #25843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10312   Customer #25844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10313   Customer #25849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10314   Customer #25854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10315   Customer #25855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10316   Customer #25856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10317   Customer #25857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10318   Customer #25860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10319   Customer #25866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10320   Customer #25869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10321   Customer #25874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10322   Customer #25876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10323   Customer #25878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10324   Customer #25879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10325   Customer #25880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10326   Customer #25883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10327   Customer #25884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10328   Customer #25890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10329   Customer #25902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10330   Customer #25903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10331   Customer #25904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10332   Customer #25907                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10333   Customer #25908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10334   Customer #25909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10335   Customer #25910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10336   Customer #25912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10337   Customer #25916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10338   Customer #25918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10339   Customer #25921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10340   Customer #25926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10341   Customer #25928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10342   Customer #25929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10343   Customer #25930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10344   Customer #25932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10345   Customer #25935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10346   Customer #25937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10347   Customer #25940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10348   Customer #25942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10349   Customer #25945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10350   Customer #25947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10351   Customer #25953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10352   Customer #25955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10353   Customer #25956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10354   Customer #25958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10355   Customer #25958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10356   Customer #25959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10357   Customer #25960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10358   Customer #25961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10359   Customer #25963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10360   Customer #25964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10361   Customer #25965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10362   Customer #25968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10363   Customer #25969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10364   Customer #25973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10365   Customer #25976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10366   Customer #25977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10367   Customer #25982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10368   Customer #25983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10369   Customer #25985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10370   Customer #25986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10371   Customer #25987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10372   Customer #25989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10373   Customer #25990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10374   Customer #25991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10375   Customer #25994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10376   Customer #25996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10377   Customer #25997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10378   Customer #25999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10379   Customer #26000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10380   Customer #26003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10381   Customer #26004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10382   Customer #26005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10383   Customer #26007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10384   Customer #26008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10385   Customer #26011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10386   Customer #26012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10387   Customer #26013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10388   Customer #26015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10389   Customer #26017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10390   Customer #26020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10391   Customer #26021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10392   Customer #26022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10393   Customer #26024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10394   Customer #26028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10395   Customer #26031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10396   Customer #26041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10397   Customer #26043                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10398   Customer #26045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10399   Customer #26046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10400   Customer #26047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10401   Customer #26048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10402   Customer #26061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10403   Customer #26063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10404   Customer #26064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10405   Customer #26066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10406   Customer #26070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10407   Customer #26071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10408   Customer #26076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10409   Customer #26077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10410   Customer #26079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10411   Customer #26081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10412   Customer #26082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10413   Customer #26090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10414   Customer #26091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10415   Customer #26092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10416   Customer #26093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10417   Customer #26094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10418   Customer #26100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10419   Customer #26102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10420   Customer #26103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10421   Customer #26118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10422   Customer #26121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10423   Customer #26126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10424   Customer #26129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10425   Customer #26131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10426   Customer #26132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10427   Customer #26137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10428   Customer #26138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10429   Customer #26144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10430   Customer #26145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10431   Customer #26146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10432   Customer #26147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10433   Customer #26149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10434   Customer #26151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10435   Customer #26153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10436   Customer #26155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10437   Customer #26157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10438   Customer #26158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10439   Customer #26160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10440   Customer #26165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10441   Customer #26166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10442   Customer #26168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10443   Customer #26169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10444   Customer #26173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10445   Customer #26174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10446   Customer #26174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10447   Customer #26175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10448   Customer #26177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10449   Customer #26178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10450   Customer #26185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10451   Customer #26186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10452   Customer #26187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10453   Customer #26189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10454   Customer #26190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10455   Customer #26191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10456   Customer #26193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10457   Customer #26199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10458   Customer #26201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10459   Customer #26208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10460   Customer #26210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10461   Customer #26213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10462   Customer #26214                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10463   Customer #26215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10464   Customer #26216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10465   Customer #26225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10466   Customer #26226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10467   Customer #26227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10468   Customer #26228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10469   Customer #26229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10470   Customer #26230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10471   Customer #26232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10472   Customer #26233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10473   Customer #26234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10474   Customer #26235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10475   Customer #26237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10476   Customer #26239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10477   Customer #26244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10478   Customer #26249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10479   Customer #26252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10480   Customer #26253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10481   Customer #26255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10482   Customer #26256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10483   Customer #26268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10484   Customer #26269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10485   Customer #26270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10486   Customer #26271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10487   Customer #26273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10488   Customer #26274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10489   Customer #26279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10490   Customer #26279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10491   Customer #26280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10492   Customer #26284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10493   Customer #26285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10494   Customer #26286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10495   Customer #26288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10496   Customer #26289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10497   Customer #26292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10498   Customer #26295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10499   Customer #26296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10500   Customer #26298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10501   Customer #26303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10502   Customer #26304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10503   Customer #26305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10504   Customer #26306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10505   Customer #26306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10506   Customer #26309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10507   Customer #26310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10508   Customer #26314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10509   Customer #26315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10510   Customer #26323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10511   Customer #26324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10512   Customer #26327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10513   Customer #26328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10514   Customer #26342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10515   Customer #26343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10516   Customer #26346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10517   Customer #26347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10518   Customer #26348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10519   Customer #26359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10520   Customer #26361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10521   Customer #26362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10522   Customer #26365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10523   Customer #26366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10524   Customer #26367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10525   Customer #26368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10526   Customer #26371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10527   Customer #26372                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10528   Customer #26374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10529   Customer #26375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10530   Customer #26376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10531   Customer #26377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10532   Customer #26381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10533   Customer #26383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10534   Customer #26384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10535   Customer #26385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10536   Customer #26387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10537   Customer #26388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10538   Customer #26390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10539   Customer #26391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10540   Customer #26392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10541   Customer #26393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10542   Customer #26394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10543   Customer #26395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10544   Customer #26396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10545   Customer #26400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10546   Customer #26402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10547   Customer #26403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10548   Customer #26407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10549   Customer #26411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10550   Customer #26413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10551   Customer #26414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10552   Customer #26418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10553   Customer #26421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10554   Customer #26427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10555   Customer #26437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10556   Customer #26447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10557   Customer #26448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10558   Customer #26449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10559   Customer #26451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10560   Customer #26455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10561   Customer #26456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10562   Customer #26460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10563   Customer #26461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10564   Customer #26462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10565   Customer #26463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10566   Customer #26464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10567   Customer #26465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10568   Customer #26472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10569   Customer #26473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10570   Customer #26474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10571   Customer #26475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10572   Customer #26481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10573   Customer #26486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10574   Customer #26487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10575   Customer #26488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10576   Customer #26489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10577   Customer #26492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10578   Customer #26500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10579   Customer #26508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10580   Customer #26509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10581   Customer #26511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10582   Customer #26513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10583   Customer #26514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10584   Customer #26515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10585   Customer #26520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10586   Customer #26523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10587   Customer #26528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10588   Customer #26539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10589   Customer #26540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10590   Customer #26543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10591   Customer #26545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10592   Customer #26547                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10593   Customer #26549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10594   Customer #26550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10595   Customer #26553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10596   Customer #26555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10597   Customer #26557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10598   Customer #26559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10599   Customer #26561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10600   Customer #26563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10601   Customer #26565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10602   Customer #26567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10603   Customer #26568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10604   Customer #26571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10605   Customer #26572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10606   Customer #26573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10607   Customer #26576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10608   Customer #26579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10609   Customer #26585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10610   Customer #26587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10611   Customer #26589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10612   Customer #26589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10613   Customer #26593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10614   Customer #26596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10615   Customer #26600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10616   Customer #26603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10617   Customer #26605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10618   Customer #26609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10619   Customer #26612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10620   Customer #26612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10621   Customer #26612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10622   Customer #26613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10623   Customer #26615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10624   Customer #26617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10625   Customer #26618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10626   Customer #26621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10627   Customer #26624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10628   Customer #26625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10629   Customer #26626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10630   Customer #26630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10631   Customer #26633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10632   Customer #26634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10633   Customer #26635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10634   Customer #26636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10635   Customer #26644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10636   Customer #26647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10637   Customer #26648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10638   Customer #26649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10639   Customer #26650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10640   Customer #26651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10641   Customer #26652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10642   Customer #26656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10643   Customer #26658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10644   Customer #26660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10645   Customer #26664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10646   Customer #26666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10647   Customer #26667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10648   Customer #26668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10649   Customer #26669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10650   Customer #26670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10651   Customer #26671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10652   Customer #26672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10653   Customer #26676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10654   Customer #26677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10655   Customer #26678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10656   Customer #26680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10657   Customer #26681                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10658   Customer #26682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10659   Customer #26683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10660   Customer #26684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10661   Customer #26687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10662   Customer #26691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10663   Customer #26692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10664   Customer #26694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10665   Customer #26698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10666   Customer #26699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10667   Customer #26700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10668   Customer #26702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10669   Customer #26706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10670   Customer #26707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10671   Customer #26715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10672   Customer #26716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10673   Customer #26717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10674   Customer #26719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10675   Customer #26721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10676   Customer #26722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10677   Customer #26724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10678   Customer #26725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10679   Customer #26727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10680   Customer #26729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10681   Customer #26730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10682   Customer #26734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10683   Customer #26737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10684   Customer #26738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10685   Customer #26739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10686   Customer #26742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10687   Customer #26744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10688   Customer #26750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10689   Customer #26751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10690   Customer #26759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10691   Customer #26760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10692   Customer #26763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10693   Customer #26767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10694   Customer #26768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10695   Customer #26769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10696   Customer #26774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10697   Customer #26776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10698   Customer #26778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10699   Customer #26779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10700   Customer #26780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10701   Customer #26783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10702   Customer #26788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10703   Customer #26793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10704   Customer #26796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10705   Customer #26798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10706   Customer #26806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10707   Customer #26811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10708   Customer #26847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10709   Customer #26848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10710   Customer #26850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10711   Customer #26852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10712   Customer #26853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10713   Customer #26858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10714   Customer #26860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10715   Customer #26862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10716   Customer #26863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10717   Customer #26865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10718   Customer #26866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10719   Customer #26869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10720   Customer #26870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10721   Customer #26873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10722   Customer #26876                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10723   Customer #26877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10724   Customer #26880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10725   Customer #26883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10726   Customer #26886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10727   Customer #26887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10728   Customer #26894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10729   Customer #26896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10730   Customer #26897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10731   Customer #26898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10732   Customer #26900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10733   Customer #26901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10734   Customer #26902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10735   Customer #26903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10736   Customer #26904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10737   Customer #26905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10738   Customer #26909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10739   Customer #26910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10740   Customer #26911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10741   Customer #26912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10742   Customer #26913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10743   Customer #26914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10744   Customer #26915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10745   Customer #26916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10746   Customer #26917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10747   Customer #26919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10748   Customer #26921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10749   Customer #26922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10750   Customer #26922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10751   Customer #26923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10752   Customer #26924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10753   Customer #26925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10754   Customer #26926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10755   Customer #26934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10756   Customer #26945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10757   Customer #26946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10758   Customer #26947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10759   Customer #26954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10760   Customer #26955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10761   Customer #26957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10762   Customer #26960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10763   Customer #26961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10764   Customer #26965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10765   Customer #26970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10766   Customer #26972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10767   Customer #26976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10768   Customer #26977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10769   Customer #26978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10770   Customer #26979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10771   Customer #26980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10772   Customer #26982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10773   Customer #26984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10774   Customer #26986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10775   Customer #26987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10776   Customer #27012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10777   Customer #27013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10778   Customer #27014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10779   Customer #27015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10780   Customer #27016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10781   Customer #27017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10782   Customer #27019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10783   Customer #27021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10784   Customer #27022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10785   Customer #27032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10786   Customer #27037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10787   Customer #27041                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10788   Customer #27043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10789   Customer #27044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10790   Customer #27045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10791   Customer #27049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10792   Customer #27054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10793   Customer #27055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10794   Customer #27067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10795   Customer #27071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10796   Customer #27073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10797   Customer #27075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10798   Customer #27077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10799   Customer #27080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10800   Customer #27081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10801   Customer #27082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10802   Customer #27084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10803   Customer #27088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10804   Customer #27089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10805   Customer #27090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10806   Customer #27096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10807   Customer #27097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10808   Customer #27098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10809   Customer #27099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10810   Customer #27100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10811   Customer #27101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10812   Customer #27102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10813   Customer #27105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10814   Customer #27106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10815   Customer #27106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10816   Customer #27107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10817   Customer #27108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10818   Customer #27110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10819   Customer #27111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10820   Customer #27115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10821   Customer #27116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10822   Customer #27117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10823   Customer #27118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10824   Customer #27119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10825   Customer #27124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10826   Customer #27125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10827   Customer #27126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10828   Customer #27128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10829   Customer #27129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10830   Customer #27131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10831   Customer #27137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10832   Customer #27140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10833   Customer #27141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10834   Customer #27142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10835   Customer #27144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10836   Customer #27145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10837   Customer #27152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10838   Customer #27158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10839   Customer #27159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10840   Customer #27163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10841   Customer #27165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10842   Customer #27173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10843   Customer #27174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10844   Customer #27177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10845   Customer #27178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10846   Customer #27182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10847   Customer #27184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10848   Customer #27188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10849   Customer #27190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10850   Customer #27191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10851   Customer #27194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10852   Customer #27195                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10853   Customer #27196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10854   Customer #27200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10855   Customer #27201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10856   Customer #27203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10857   Customer #27204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10858   Customer #27205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10859   Customer #27206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10860   Customer #27206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10861   Customer #27207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10862   Customer #27209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10863   Customer #27210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10864   Customer #27211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10865   Customer #27212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10866   Customer #27218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10867   Customer #27224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10868   Customer #27225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10869   Customer #27226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10870   Customer #27227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10871   Customer #27229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10872   Customer #27230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10873   Customer #27232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10874   Customer #27233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10875   Customer #27235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10876   Customer #27236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10877   Customer #27260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10878   Customer #27268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10879   Customer #27269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10880   Customer #27273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10881   Customer #27275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10882   Customer #27279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10883   Customer #27280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10884   Customer #27283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10885   Customer #27286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10886   Customer #27288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10887   Customer #27299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10888   Customer #27302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10889   Customer #27320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10890   Customer #27324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10891   Customer #27326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10892   Customer #27328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10893   Customer #27329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10894   Customer #27331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10895   Customer #27332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10896   Customer #27334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10897   Customer #27335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10898   Customer #27337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10899   Customer #27340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10900   Customer #27343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10901   Customer #27350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10902   Customer #27353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10903   Customer #27360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10904   Customer #27362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10905   Customer #27371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10906   Customer #27372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10907   Customer #27373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10908   Customer #27375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10909   Customer #27379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10910   Customer #27381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10911   Customer #27382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10912   Customer #27386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10913   Customer #27387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10914   Customer #27388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10915   Customer #27392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10916   Customer #27395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10917   Customer #27396                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10918   Customer #27398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10919   Customer #27399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10920   Customer #27400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10921   Customer #27409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10922   Customer #27410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10923   Customer #27411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10924   Customer #27434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10925   Customer #27435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10926   Customer #27438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10927   Customer #27439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10928   Customer #27440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10929   Customer #27443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10930   Customer #27445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10931   Customer #27447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10932   Customer #27448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10933   Customer #27449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10934   Customer #27451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10935   Customer #27454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10936   Customer #27457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10937   Customer #27459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10938   Customer #27461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10939   Customer #27466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10940   Customer #27468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10941   Customer #27470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10942   Customer #27471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10943   Customer #27478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10944   Customer #27480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10945   Customer #27481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10946   Customer #27487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10947   Customer #27491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10948   Customer #27493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10949   Customer #27500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10950   Customer #27502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10951   Customer #27503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10952   Customer #27506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10953   Customer #27511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10954   Customer #27512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10955   Customer #27513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10956   Customer #27524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10957   Customer #27526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10958   Customer #27527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10959   Customer #27530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10960   Customer #27534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10961   Customer #27535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10962   Customer #27537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10963   Customer #27538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10964   Customer #27539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10965   Customer #27541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10966   Customer #27542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10967   Customer #27543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10968   Customer #27545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10969   Customer #27550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10970   Customer #27553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10971   Customer #27554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10972   Customer #27557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10973   Customer #27558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10974   Customer #27566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10975   Customer #27568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10976   Customer #27573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10977   Customer #27575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10978   Customer #27576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10979   Customer #27579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10980   Customer #27581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10981   Customer #27582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10982   Customer #27586                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.10983   Customer #27587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10984   Customer #27591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10985   Customer #27592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10986   Customer #27596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10987   Customer #27597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10988   Customer #27598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10989   Customer #27601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10990   Customer #27602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10991   Customer #27604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10992   Customer #27605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10993   Customer #27606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10994   Customer #27611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10995   Customer #27614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10996   Customer #27627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10997   Customer #27628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10998   Customer #27629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.10999   Customer #27638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11000   Customer #27641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11001   Customer #27642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11002   Customer #27647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11003   Customer #27648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11004   Customer #27650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11005   Customer #27653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11006   Customer #27658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11007   Customer #27659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11008   Customer #27667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11009   Customer #27670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11010   Customer #27671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11011   Customer #27672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11012   Customer #27680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11013   Customer #27682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11014   Customer #27685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11015   Customer #27686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11016   Customer #27688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11017   Customer #27694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11018   Customer #27696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11019   Customer #27698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11020   Customer #27701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11021   Customer #27703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11022   Customer #27706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11023   Customer #27707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11024   Customer #27710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11025   Customer #27711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11026   Customer #27712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11027   Customer #27716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11028   Customer #27717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11029   Customer #27733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11030   Customer #27738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11031   Customer #27740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11032   Customer #27741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11033   Customer #27744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11034   Customer #27753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11035   Customer #27754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11036   Customer #27755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11037   Customer #27756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11038   Customer #27761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11039   Customer #27765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11040   Customer #27766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11041   Customer #27769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11042   Customer #27777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11043   Customer #27780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11044   Customer #27781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11045   Customer #27784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11046   Customer #27785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11047   Customer #27786                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11048   Customer #27787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11049   Customer #27788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11050   Customer #27795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11051   Customer #27796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11052   Customer #27797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11053   Customer #27801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11054   Customer #27809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11055   Customer #27812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11056   Customer #27820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11057   Customer #27822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11058   Customer #27824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11059   Customer #27827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11060   Customer #27857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11061   Customer #27868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11062   Customer #27878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11063   Customer #27928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11064   Customer #27933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11065   Customer #27937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11066   Customer #27939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11067   Customer #27940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11068   Customer #27952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11069   Customer #27957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11070   Customer #27970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11071   Customer #27975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11072   Customer #27978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11073   Customer #27984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11074   Customer #28001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11075   Customer #28005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11076   Customer #28033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11077   Customer #28048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11078   Customer #28052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11079   Customer #28057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11080   Customer #28087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11081   Customer #28095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11082   Customer #28096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11083   Customer #28099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11084   Customer #28100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11085   Customer #28103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11086   Customer #28104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11087   Customer #28108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11088   Customer #28112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11089   Customer #28113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11090   Customer #28123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11091   Customer #28140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11092   Customer #28141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11093   Customer #28142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11094   Customer #28143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11095   Customer #28151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11096   Customer #28153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11097   Customer #28157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11098   Customer #28160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11099   Customer #28161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11100   Customer #28162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11101   Customer #28163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11102   Customer #28170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11103   Customer #28174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11104   Customer #28179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11105   Customer #28183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11106   Customer #28185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11107   Customer #28188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11108   Customer #28191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11109   Customer #28192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11110   Customer #28194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11111   Customer #28197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11112   Customer #28198                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11113   Customer #28203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11114   Customer #28207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11115   Customer #28208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11116   Customer #28209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11117   Customer #28210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11118   Customer #28211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11119   Customer #28212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11120   Customer #28214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11121   Customer #28215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11122   Customer #28216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11123   Customer #28218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11124   Customer #28221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11125   Customer #28224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11126   Customer #28226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11127   Customer #28231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11128   Customer #28233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11129   Customer #28234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11130   Customer #28236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11131   Customer #28239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11132   Customer #28240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11133   Customer #28242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11134   Customer #28244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11135   Customer #28245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11136   Customer #28246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11137   Customer #28247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11138   Customer #28249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11139   Customer #28250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11140   Customer #28252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11141   Customer #28254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11142   Customer #28255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11143   Customer #28258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11144   Customer #28262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11145   Customer #28263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11146   Customer #28264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11147   Customer #28266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11148   Customer #28271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11149   Customer #28274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11150   Customer #28277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11151   Customer #28278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11152   Customer #28279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11153   Customer #28280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11154   Customer #28282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11155   Customer #28283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11156   Customer #28291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11157   Customer #28292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11158   Customer #28293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11159   Customer #28294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11160   Customer #28297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11161   Customer #28298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11162   Customer #28300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11163   Customer #28304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11164   Customer #28307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11165   Customer #28309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11166   Customer #28314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11167   Customer #28316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11168   Customer #28319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11169   Customer #28328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11170   Customer #28331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11171   Customer #28335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11172   Customer #28337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11173   Customer #28338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11174   Customer #28342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11175   Customer #28343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11176   Customer #28347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11177   Customer #28349                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11178   Customer #28352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11179   Customer #28354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11180   Customer #28355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11181   Customer #28356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11182   Customer #28357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11183   Customer #28360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11184   Customer #28361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11185   Customer #28362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11186   Customer #28364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11187   Customer #28365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11188   Customer #28366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11189   Customer #28373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11190   Customer #28374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11191   Customer #28376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11192   Customer #28377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11193   Customer #28379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11194   Customer #28380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11195   Customer #28381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11196   Customer #28382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11197   Customer #28386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11198   Customer #28394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11199   Customer #28395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11200   Customer #28396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11201   Customer #28406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11202   Customer #28408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11203   Customer #28411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11204   Customer #28413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11205   Customer #28415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11206   Customer #28417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11207   Customer #28418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11208   Customer #28419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11209   Customer #28426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11210   Customer #28427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11211   Customer #28428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11212   Customer #28430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11213   Customer #28431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11214   Customer #28435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11215   Customer #28438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11216   Customer #28439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11217   Customer #28441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11218   Customer #28442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11219   Customer #28443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11220   Customer #28449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11221   Customer #28450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11222   Customer #28451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11223   Customer #28453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11224   Customer #28467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11225   Customer #28469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11226   Customer #28474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11227   Customer #28476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11228   Customer #28477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11229   Customer #28478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11230   Customer #28482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11231   Customer #28483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11232   Customer #28489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11233   Customer #28495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11234   Customer #28507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11235   Customer #28514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11236   Customer #28526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11237   Customer #28527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11238   Customer #28533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11239   Customer #28535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11240   Customer #28537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11241   Customer #28538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11242   Customer #28542                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11243   Customer #28554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11244   Customer #28555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11245   Customer #28556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11246   Customer #28557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11247   Customer #28560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11248   Customer #28562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11249   Customer #28563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11250   Customer #28564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11251   Customer #28565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11252   Customer #28566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11253   Customer #28568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11254   Customer #28569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11255   Customer #28573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11256   Customer #28574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11257   Customer #28578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11258   Customer #28590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11259   Customer #28593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11260   Customer #28595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11261   Customer #28596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11262   Customer #28599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11263   Customer #28600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11264   Customer #28606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11265   Customer #28607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11266   Customer #28609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11267   Customer #28610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11268   Customer #28613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11269   Customer #28614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11270   Customer #28619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11271   Customer #28620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11272   Customer #28621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11273   Customer #28623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11274   Customer #28628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11275   Customer #28637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11276   Customer #28639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11277   Customer #28640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11278   Customer #28641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11279   Customer #28645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11280   Customer #28646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11281   Customer #28647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11282   Customer #28648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11283   Customer #28652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11284   Customer #28653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11285   Customer #28664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11286   Customer #28666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11287   Customer #28667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11288   Customer #28672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11289   Customer #28673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11290   Customer #28680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11291   Customer #28685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11292   Customer #28687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11293   Customer #28689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11294   Customer #28691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11295   Customer #28693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11296   Customer #28722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11297   Customer #28723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11298   Customer #28724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11299   Customer #28726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11300   Customer #28727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11301   Customer #28727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11302   Customer #28728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11303   Customer #28730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11304   Customer #28733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11305   Customer #28734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11306   Customer #28736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11307   Customer #28741                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11308   Customer #28748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11309   Customer #28751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11310   Customer #28753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11311   Customer #28756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11312   Customer #28759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11313   Customer #28760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11314   Customer #28765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11315   Customer #28766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11316   Customer #28767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11317   Customer #28768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11318   Customer #28769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11319   Customer #28770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11320   Customer #28771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11321   Customer #28772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11322   Customer #28777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11323   Customer #28779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11324   Customer #28782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11325   Customer #28784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11326   Customer #28785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11327   Customer #28800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11328   Customer #28807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11329   Customer #28808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11330   Customer #28812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11331   Customer #28813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11332   Customer #28814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11333   Customer #28816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11334   Customer #28817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11335   Customer #28818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11336   Customer #28819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11337   Customer #28820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11338   Customer #28826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11339   Customer #28830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11340   Customer #28833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11341   Customer #28834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11342   Customer #28837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11343   Customer #28838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11344   Customer #28839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11345   Customer #28840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11346   Customer #28841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11347   Customer #28843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11348   Customer #28848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11349   Customer #28855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11350   Customer #28857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11351   Customer #28859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11352   Customer #28859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11353   Customer #28862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11354   Customer #28864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11355   Customer #28865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11356   Customer #28873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11357   Customer #28875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11358   Customer #28877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11359   Customer #28879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11360   Customer #28881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11361   Customer #28883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11362   Customer #28885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11363   Customer #28895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11364   Customer #28896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11365   Customer #28900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11366   Customer #28902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11367   Customer #28907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11368   Customer #28911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11369   Customer #28917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11370   Customer #28927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11371   Customer #28930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11372   Customer #28931                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11373   Customer #28933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11374   Customer #28938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11375   Customer #28946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11376   Customer #28947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11377   Customer #28950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11378   Customer #28951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11379   Customer #28960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11380   Customer #28962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11381   Customer #28963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11382   Customer #28964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11383   Customer #28969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11384   Customer #28973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11385   Customer #28974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11386   Customer #28978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11387   Customer #28979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11388   Customer #28979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11389   Customer #28980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11390   Customer #28981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11391   Customer #28983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11392   Customer #28985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11393   Customer #28998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11394   Customer #29000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11395   Customer #29013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11396   Customer #29015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11397   Customer #29018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11398   Customer #29019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11399   Customer #29021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11400   Customer #29022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11401   Customer #29025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11402   Customer #29026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11403   Customer #29027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11404   Customer #29028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11405   Customer #29029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11406   Customer #29032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11407   Customer #29034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11408   Customer #29038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11409   Customer #29039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11410   Customer #29040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11411   Customer #29045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11412   Customer #29050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11413   Customer #29052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11414   Customer #29053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11415   Customer #29055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11416   Customer #29056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11417   Customer #29058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11418   Customer #29065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11419   Customer #29071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11420   Customer #29074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11421   Customer #29074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11422   Customer #29093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11423   Customer #29093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11424   Customer #29095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11425   Customer #29098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11426   Customer #29103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11427   Customer #29105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11428   Customer #29106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11429   Customer #29107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11430   Customer #29112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11431   Customer #29113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11432   Customer #29114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11433   Customer #29119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11434   Customer #29120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11435   Customer #29121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11436   Customer #29122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11437   Customer #29126                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11438   Customer #29127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11439   Customer #29130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11440   Customer #29132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11441   Customer #29134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11442   Customer #29135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11443   Customer #29137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11444   Customer #29138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11445   Customer #29139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11446   Customer #29141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11447   Customer #29144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11448   Customer #29150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11449   Customer #29151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11450   Customer #29152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11451   Customer #29152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11452   Customer #29153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11453   Customer #29155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11454   Customer #29157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11455   Customer #29158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11456   Customer #29159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11457   Customer #29161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11458   Customer #29166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11459   Customer #29173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11460   Customer #29174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11461   Customer #29175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11462   Customer #29178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11463   Customer #29179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11464   Customer #29180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11465   Customer #29181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11466   Customer #29184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11467   Customer #29191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11468   Customer #29195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11469   Customer #29197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11470   Customer #29198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11471   Customer #29199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11472   Customer #29202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11473   Customer #29203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11474   Customer #29204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11475   Customer #29206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11476   Customer #29209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11477   Customer #29212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11478   Customer #29216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11479   Customer #29219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11480   Customer #29220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11481   Customer #29225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11482   Customer #29227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11483   Customer #29228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11484   Customer #29230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11485   Customer #29231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11486   Customer #29240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11487   Customer #29244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11488   Customer #29246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11489   Customer #29247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11490   Customer #29248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11491   Customer #29252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11492   Customer #29264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11493   Customer #29266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11494   Customer #29267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11495   Customer #29272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11496   Customer #29273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11497   Customer #29274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11498   Customer #29276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11499   Customer #29278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11500   Customer #29279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11501   Customer #29288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11502   Customer #29289                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11503   Customer #29291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11504   Customer #29293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11505   Customer #29294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11506   Customer #29296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11507   Customer #29299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11508   Customer #29302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11509   Customer #29303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11510   Customer #29304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11511   Customer #29307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11512   Customer #29309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11513   Customer #29310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11514   Customer #29313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11515   Customer #29317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11516   Customer #29318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11517   Customer #29320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11518   Customer #29321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11519   Customer #29323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11520   Customer #29326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11521   Customer #29329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11522   Customer #29330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11523   Customer #29333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11524   Customer #29336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11525   Customer #29345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11526   Customer #29346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11527   Customer #29348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11528   Customer #29350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11529   Customer #29371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11530   Customer #29374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11531   Customer #29375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11532   Customer #29376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11533   Customer #29379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11534   Customer #29394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11535   Customer #29398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11536   Customer #29399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11537   Customer #29403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11538   Customer #29404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11539   Customer #29407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11540   Customer #29409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11541   Customer #29418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11542   Customer #29419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11543   Customer #29422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11544   Customer #29426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11545   Customer #29427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11546   Customer #29446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11547   Customer #29447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11548   Customer #29449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11549   Customer #29452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11550   Customer #29465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11551   Customer #29467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11552   Customer #29468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11553   Customer #29469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11554   Customer #29470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11555   Customer #29471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11556   Customer #29473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11557   Customer #29474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11558   Customer #29476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11559   Customer #29478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11560   Customer #29479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11561   Customer #29480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11562   Customer #29481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11563   Customer #29484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11564   Customer #29487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11565   Customer #29491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11566   Customer #29493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11567   Customer #29495                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11568   Customer #29501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11569   Customer #29504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11570   Customer #29505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11571   Customer #29506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11572   Customer #29507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11573   Customer #29509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11574   Customer #29517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11575   Customer #29518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11576   Customer #29529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11577   Customer #29532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11578   Customer #29533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11579   Customer #29546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11580   Customer #29547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11581   Customer #29548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11582   Customer #29550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11583   Customer #29558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11584   Customer #29559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11585   Customer #29560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11586   Customer #29563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11587   Customer #29568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11588   Customer #29582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11589   Customer #29587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11590   Customer #29591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11591   Customer #29597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11592   Customer #29598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11593   Customer #29599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11594   Customer #29601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11595   Customer #29604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11596   Customer #29605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11597   Customer #29606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11598   Customer #29608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11599   Customer #29611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11600   Customer #29612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11601   Customer #29614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11602   Customer #29617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11603   Customer #29619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11604   Customer #29620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11605   Customer #29621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11606   Customer #29622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11607   Customer #29624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11608   Customer #29625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11609   Customer #29626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11610   Customer #29628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11611   Customer #29628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11612   Customer #29629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11613   Customer #29631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11614   Customer #29632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11615   Customer #29633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11616   Customer #29635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11617   Customer #29636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11618   Customer #29637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11619   Customer #29638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11620   Customer #29641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11621   Customer #29648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11622   Customer #29663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11623   Customer #29664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11624   Customer #29665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11625   Customer #29668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11626   Customer #29671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11627   Customer #29677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11628   Customer #29687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11629   Customer #29690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11630   Customer #29691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11631   Customer #29693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11632   Customer #29695                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11633   Customer #29696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11634   Customer #29698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11635   Customer #29699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11636   Customer #29702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11637   Customer #29704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11638   Customer #29705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11639   Customer #29707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11640   Customer #29708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11641   Customer #29713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11642   Customer #29714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11643   Customer #29715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11644   Customer #29718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11645   Customer #29721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11646   Customer #29727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11647   Customer #29728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11648   Customer #29729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11649   Customer #29730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11650   Customer #29736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11651   Customer #29740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11652   Customer #29742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11653   Customer #29752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11654   Customer #29761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11655   Customer #29766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11656   Customer #29769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11657   Customer #29771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11658   Customer #29772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11659   Customer #29774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11660   Customer #29777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11661   Customer #29778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11662   Customer #29779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11663   Customer #29780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11664   Customer #29782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11665   Customer #29783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11666   Customer #29784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11667   Customer #29787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11668   Customer #29791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11669   Customer #29793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11670   Customer #29808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11671   Customer #29818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11672   Customer #29820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11673   Customer #29824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11674   Customer #29827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11675   Customer #29828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11676   Customer #29832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11677   Customer #29836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11678   Customer #29841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11679   Customer #29853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11680   Customer #29856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11681   Customer #29857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11682   Customer #29858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11683   Customer #29859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11684   Customer #29860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11685   Customer #29861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11686   Customer #29862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11687   Customer #29865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11688   Customer #29866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11689   Customer #29872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11690   Customer #29873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11691   Customer #29881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11692   Customer #29882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11693   Customer #29883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11694   Customer #29884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11695   Customer #29884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11696   Customer #29887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11697   Customer #29888                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11698   Customer #29890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11699   Customer #29892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11700   Customer #29893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11701   Customer #29895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11702   Customer #29902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11703   Customer #29904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11704   Customer #29906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11705   Customer #29912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11706   Customer #29917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11707   Customer #29918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11708   Customer #29920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11709   Customer #29921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11710   Customer #29922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11711   Customer #29924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11712   Customer #29929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11713   Customer #29930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11714   Customer #29938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11715   Customer #29939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11716   Customer #29940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11717   Customer #29941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11718   Customer #29948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11719   Customer #29951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11720   Customer #29952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11721   Customer #29956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11722   Customer #29957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11723   Customer #29960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11724   Customer #29962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11725   Customer #29963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11726   Customer #29964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11727   Customer #29965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11728   Customer #29967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11729   Customer #29969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11730   Customer #29970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11731   Customer #29971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11732   Customer #29973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11733   Customer #29982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11734   Customer #29984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11735   Customer #29986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11736   Customer #29987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11737   Customer #29989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11738   Customer #30003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11739   Customer #30004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11740   Customer #30006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11741   Customer #30008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11742   Customer #30009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11743   Customer #30010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11744   Customer #30014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11745   Customer #30018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11746   Customer #30022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11747   Customer #30023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11748   Customer #30025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11749   Customer #30026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11750   Customer #30027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11751   Customer #30029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11752   Customer #30030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11753   Customer #30031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11754   Customer #30035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11755   Customer #30036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11756   Customer #30040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11757   Customer #30045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11758   Customer #30062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11759   Customer #30063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11760   Customer #30067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11761   Customer #30071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11762   Customer #30073                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11763   Customer #30079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11764   Customer #30081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11765   Customer #30085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11766   Customer #30091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11767   Customer #30095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11768   Customer #30096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11769   Customer #30101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11770   Customer #30107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11771   Customer #30109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11772   Customer #30112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11773   Customer #30115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11774   Customer #30118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11775   Customer #30125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11776   Customer #30126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11777   Customer #30127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11778   Customer #30128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11779   Customer #30133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11780   Customer #30134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11781   Customer #30135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11782   Customer #30136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11783   Customer #30147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11784   Customer #30148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11785   Customer #30156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11786   Customer #30160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11787   Customer #30166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11788   Customer #30167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11789   Customer #30176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11790   Customer #30180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11791   Customer #30181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11792   Customer #30192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11793   Customer #30193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11794   Customer #30194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11795   Customer #30197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11796   Customer #30201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11797   Customer #30244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11798   Customer #30249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11799   Customer #30253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11800   Customer #30259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11801   Customer #30260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11802   Customer #30261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11803   Customer #30264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11804   Customer #30267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11805   Customer #30279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11806   Customer #30286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11807   Customer #30290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11808   Customer #30291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11809   Customer #30311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11810   Customer #30312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11811   Customer #30320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11812   Customer #30328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11813   Customer #30330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11814   Customer #30336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11815   Customer #30340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11816   Customer #30341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11817   Customer #30344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11818   Customer #30347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11819   Customer #30349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11820   Customer #30355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11821   Customer #30356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11822   Customer #30357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11823   Customer #30360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11824   Customer #30377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11825   Customer #30382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11826   Customer #30383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11827   Customer #30388                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11828   Customer #30395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11829   Customer #30396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11830   Customer #30403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11831   Customer #30405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11832   Customer #30411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11833   Customer #30417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11834   Customer #30424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11835   Customer #30425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11836   Customer #30429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11837   Customer #30431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11838   Customer #30433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11839   Customer #30434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11840   Customer #30435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11841   Customer #30437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11842   Customer #30443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11843   Customer #30444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11844   Customer #30447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11845   Customer #30450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11846   Customer #30451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11847   Customer #30453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11848   Customer #30456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11849   Customer #30457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11850   Customer #30461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11851   Customer #30462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11852   Customer #30464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11853   Customer #30471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11854   Customer #30487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11855   Customer #30494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11856   Customer #30497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11857   Customer #30501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11858   Customer #30503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11859   Customer #30511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11860   Customer #30512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11861   Customer #30517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11862   Customer #30519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11863   Customer #30523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11864   Customer #30524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11865   Customer #30528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11866   Customer #30535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11867   Customer #30538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11868   Customer #30544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11869   Customer #30546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11870   Customer #30557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11871   Customer #30558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11872   Customer #30578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11873   Customer #30580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11874   Customer #30583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11875   Customer #30600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11876   Customer #30604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11877   Customer #30605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11878   Customer #30607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11879   Customer #30608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11880   Customer #30611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11881   Customer #30613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11882   Customer #30615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11883   Customer #30618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11884   Customer #30624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11885   Customer #30631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11886   Customer #30646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11887   Customer #30651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11888   Customer #30655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11889   Customer #30657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11890   Customer #30658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11891   Customer #30678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11892   Customer #30680                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11893   Customer #30681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11894   Customer #30685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11895   Customer #30689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11896   Customer #30693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11897   Customer #30699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11898   Customer #30704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11899   Customer #30707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11900   Customer #30710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11901   Customer #30718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11902   Customer #30730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11903   Customer #30736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11904   Customer #30737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11905   Customer #30742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11906   Customer #30746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11907   Customer #30747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11908   Customer #30749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11909   Customer #30750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11910   Customer #30751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11911   Customer #30755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11912   Customer #30771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11913   Customer #30772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11914   Customer #30779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11915   Customer #30780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11916   Customer #30782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11917   Customer #30795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11918   Customer #30799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11919   Customer #30804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11920   Customer #30805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11921   Customer #30808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11922   Customer #30809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11923   Customer #30822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11924   Customer #30828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11925   Customer #30838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11926   Customer #30845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11927   Customer #30851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11928   Customer #30853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11929   Customer #30855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11930   Customer #30857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11931   Customer #30858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11932   Customer #30860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11933   Customer #30870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11934   Customer #30871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11935   Customer #30880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11936   Customer #30882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11937   Customer #30891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11938   Customer #30892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11939   Customer #30895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11940   Customer #30896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11941   Customer #30918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11942   Customer #30922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11943   Customer #30924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11944   Customer #30932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11945   Customer #30933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11946   Customer #30935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11947   Customer #30936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11948   Customer #30937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11949   Customer #30951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11950   Customer #30952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11951   Customer #30955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11952   Customer #30960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11953   Customer #30963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11954   Customer #30964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11955   Customer #30967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11956   Customer #30975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11957   Customer #30981                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.11958   Customer #30986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11959   Customer #30996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11960   Customer #30997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11961   Customer #30999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11962   Customer #31006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11963   Customer #31012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11964   Customer #31014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11965   Customer #31020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11966   Customer #31021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11967   Customer #31034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11968   Customer #31035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11969   Customer #31041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11970   Customer #31047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11971   Customer #31050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11972   Customer #31051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11973   Customer #31053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11974   Customer #31073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11975   Customer #31074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11976   Customer #31079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11977   Customer #31081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11978   Customer #31087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11979   Customer #31102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11980   Customer #31104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11981   Customer #31106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11982   Customer #31107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11983   Customer #31109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11984   Customer #31111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11985   Customer #31114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11986   Customer #31115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11987   Customer #31117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11988   Customer #31122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11989   Customer #31123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11990   Customer #31127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11991   Customer #31143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11992   Customer #31153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11993   Customer #31154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11994   Customer #31165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11995   Customer #31166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11996   Customer #31168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11997   Customer #31171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11998   Customer #31176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.11999   Customer #31179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12000   Customer #31180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12001   Customer #31182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12002   Customer #31185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12003   Customer #31198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12004   Customer #31218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12005   Customer #31220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12006   Customer #31221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12007   Customer #31222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12008   Customer #31223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12009   Customer #31225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12010   Customer #31227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12011   Customer #31235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12012   Customer #31236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12013   Customer #31237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12014   Customer #31238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12015   Customer #31241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12016   Customer #31244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12017   Customer #31246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12018   Customer #31247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12019   Customer #31252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12020   Customer #31255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12021   Customer #31256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12022   Customer #31259                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12023   Customer #31260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12024   Customer #31263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12025   Customer #31264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12026   Customer #31265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12027   Customer #31266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12028   Customer #31269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12029   Customer #31276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12030   Customer #31280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12031   Customer #31289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12032   Customer #31291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12033   Customer #31294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12034   Customer #31297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12035   Customer #31300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12036   Customer #31301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12037   Customer #31302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12038   Customer #31304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12039   Customer #31307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12040   Customer #31308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12041   Customer #31309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12042   Customer #31317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12043   Customer #31321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12044   Customer #31324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12045   Customer #31326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12046   Customer #31330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12047   Customer #31331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12048   Customer #31333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12049   Customer #31334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12050   Customer #31336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12051   Customer #31337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12052   Customer #31340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12053   Customer #31341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12054   Customer #31343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12055   Customer #31344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12056   Customer #31362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12057   Customer #31363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12058   Customer #31364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12059   Customer #31365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12060   Customer #31380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12061   Customer #31383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12062   Customer #31387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12063   Customer #31391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12064   Customer #31410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12065   Customer #31411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12066   Customer #31413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12067   Customer #31425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12068   Customer #31428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12069   Customer #31435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12070   Customer #31449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12071   Customer #31453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12072   Customer #31454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12073   Customer #31460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12074   Customer #31465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12075   Customer #31466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12076   Customer #31470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12077   Customer #31471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12078   Customer #31477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12079   Customer #31484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12080   Customer #31490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12081   Customer #31493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12082   Customer #31496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12083   Customer #31498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12084   Customer #31501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12085   Customer #31523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12086   Customer #31524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12087   Customer #31541                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12088   Customer #31544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12089   Customer #31545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12090   Customer #31547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12091   Customer #31549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12092   Customer #31550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12093   Customer #31556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12094   Customer #31557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12095   Customer #31579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12096   Customer #31584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12097   Customer #31585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12098   Customer #31592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12099   Customer #31597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12100   Customer #31598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12101   Customer #31600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12102   Customer #31603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12103   Customer #31605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12104   Customer #31609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12105   Customer #31611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12106   Customer #31618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12107   Customer #31619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12108   Customer #31622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12109   Customer #31623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12110   Customer #31629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12111   Customer #31631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12112   Customer #31633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12113   Customer #31636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12114   Customer #31641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12115   Customer #31643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12116   Customer #31645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12117   Customer #31649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12118   Customer #31650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12119   Customer #31653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12120   Customer #31654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12121   Customer #31659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12122   Customer #31664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12123   Customer #31669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12124   Customer #31670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12125   Customer #31671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12126   Customer #31674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12127   Customer #31675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12128   Customer #31679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12129   Customer #31683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12130   Customer #31686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12131   Customer #31691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12132   Customer #31693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12133   Customer #31694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12134   Customer #31696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12135   Customer #31698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12136   Customer #31714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12137   Customer #31718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12138   Customer #31720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12139   Customer #31731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12140   Customer #31732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12141   Customer #31732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12142   Customer #31733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12143   Customer #31742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12144   Customer #31748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12145   Customer #31750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12146   Customer #31753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12147   Customer #31754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12148   Customer #31757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12149   Customer #31761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12150   Customer #31789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12151   Customer #31798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12152   Customer #31800                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12153   Customer #31803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12154   Customer #31806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12155   Customer #31812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12156   Customer #31817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12157   Customer #31817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12158   Customer #31825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12159   Customer #31827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12160   Customer #31830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12161   Customer #31831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12162   Customer #31832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12163   Customer #31834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12164   Customer #31842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12165   Customer #31844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12166   Customer #31850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12167   Customer #31852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12168   Customer #31853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12169   Customer #31862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12170   Customer #31863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12171   Customer #31865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12172   Customer #31866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12173   Customer #31867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12174   Customer #31868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12175   Customer #31869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12176   Customer #31871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12177   Customer #31872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12178   Customer #31874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12179   Customer #31875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12180   Customer #31876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12181   Customer #31877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12182   Customer #31887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12183   Customer #31890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12184   Customer #31896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12185   Customer #31899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12186   Customer #31910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12187   Customer #31911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12188   Customer #31913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12189   Customer #31915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12190   Customer #31921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12191   Customer #31923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12192   Customer #31925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12193   Customer #31926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12194   Customer #31927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12195   Customer #31942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12196   Customer #31946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12197   Customer #31948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12198   Customer #31949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12199   Customer #31950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12200   Customer #31951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12201   Customer #31952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12202   Customer #31954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12203   Customer #31956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12204   Customer #31960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12205   Customer #31962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12206   Customer #31963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12207   Customer #31964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12208   Customer #31966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12209   Customer #31967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12210   Customer #31972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12211   Customer #31973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12212   Customer #31975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12213   Customer #31978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12214   Customer #31978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12215   Customer #31988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12216   Customer #31994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12217   Customer #31996                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12218   Customer #31998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12219   Customer #31999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12220   Customer #32002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12221   Customer #32005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12222   Customer #32010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12223   Customer #32012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12224   Customer #32013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12225   Customer #32015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12226   Customer #32016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12227   Customer #32018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12228   Customer #32019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12229   Customer #32031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12230   Customer #32033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12231   Customer #32034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12232   Customer #32037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12233   Customer #32038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12234   Customer #32039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12235   Customer #32042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12236   Customer #32043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12237   Customer #32046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12238   Customer #32047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12239   Customer #32051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12240   Customer #32052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12241   Customer #32055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12242   Customer #32059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12243   Customer #32063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12244   Customer #32067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12245   Customer #32069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12246   Customer #32070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12247   Customer #32072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12248   Customer #32075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12249   Customer #32097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12250   Customer #32102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12251   Customer #32160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12252   Customer #32173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12253   Customer #32174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12254   Customer #32175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12255   Customer #32178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12256   Customer #32180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12257   Customer #32182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12258   Customer #32185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12259   Customer #32191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12260   Customer #32227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12261   Customer #32229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12262   Customer #32230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12263   Customer #32231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12264   Customer #32232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12265   Customer #32233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12266   Customer #32237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12267   Customer #32239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12268   Customer #32240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12269   Customer #32240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12270   Customer #32242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12271   Customer #32249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12272   Customer #32250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12273   Customer #32251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12274   Customer #32252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12275   Customer #32255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12276   Customer #32256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12277   Customer #32260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12278   Customer #32262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12279   Customer #32266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12280   Customer #32267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12281   Customer #32268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12282   Customer #32269                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12283   Customer #32273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12284   Customer #32288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12285   Customer #32290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12286   Customer #32291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12287   Customer #32294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12288   Customer #32295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12289   Customer #32304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12290   Customer #32305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12291   Customer #32309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12292   Customer #32310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12293   Customer #32312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12294   Customer #32313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12295   Customer #32317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12296   Customer #32318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12297   Customer #32320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12298   Customer #32324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12299   Customer #32325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12300   Customer #32329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12301   Customer #32332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12302   Customer #32333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12303   Customer #32352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12304   Customer #32357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12305   Customer #32359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12306   Customer #32360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12307   Customer #32362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12308   Customer #32365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12309   Customer #32369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12310   Customer #32371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12311   Customer #32373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12312   Customer #32374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12313   Customer #32375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12314   Customer #32376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12315   Customer #32382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12316   Customer #32385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12317   Customer #32386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12318   Customer #32389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12319   Customer #32392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12320   Customer #32394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12321   Customer #32398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12322   Customer #32401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12323   Customer #32404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12324   Customer #32409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12325   Customer #32410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12326   Customer #32416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12327   Customer #32419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12328   Customer #32422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12329   Customer #32428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12330   Customer #32433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12331   Customer #32435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12332   Customer #32439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12333   Customer #32441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12334   Customer #32443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12335   Customer #32445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12336   Customer #32449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12337   Customer #32450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12338   Customer #32452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12339   Customer #32453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12340   Customer #32454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12341   Customer #32457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12342   Customer #32462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12343   Customer #32465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12344   Customer #32473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12345   Customer #32474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12346   Customer #32475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12347   Customer #32476                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12348   Customer #32477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12349   Customer #32478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12350   Customer #32484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12351   Customer #32492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12352   Customer #32493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12353   Customer #32495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12354   Customer #32496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12355   Customer #32499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12356   Customer #32500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12357   Customer #32503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12358   Customer #32505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12359   Customer #32507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12360   Customer #32508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12361   Customer #32510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12362   Customer #32511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12363   Customer #32518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12364   Customer #32521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12365   Customer #32524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12366   Customer #32524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12367   Customer #32525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12368   Customer #32529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12369   Customer #32533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12370   Customer #32534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12371   Customer #32537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12372   Customer #32546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12373   Customer #32547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12374   Customer #32554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12375   Customer #32560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12376   Customer #32563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12377   Customer #32567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12378   Customer #32569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12379   Customer #32570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12380   Customer #32571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12381   Customer #32578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12382   Customer #32582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12383   Customer #32583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12384   Customer #32584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12385   Customer #32585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12386   Customer #32586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12387   Customer #32588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12388   Customer #32589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12389   Customer #32590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12390   Customer #32601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12391   Customer #32602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12392   Customer #32606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12393   Customer #32608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12394   Customer #32611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12395   Customer #32612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12396   Customer #32620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12397   Customer #32624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12398   Customer #32625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12399   Customer #32626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12400   Customer #32632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12401   Customer #32633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12402   Customer #32634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12403   Customer #32640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12404   Customer #32643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12405   Customer #32647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12406   Customer #32650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12407   Customer #32653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12408   Customer #32653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12409   Customer #32654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12410   Customer #32661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12411   Customer #32667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12412   Customer #32668                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12413   Customer #32670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12414   Customer #32671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12415   Customer #32673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12416   Customer #32674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12417   Customer #32677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12418   Customer #32686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12419   Customer #32691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12420   Customer #32692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12421   Customer #32696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12422   Customer #32697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12423   Customer #32710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12424   Customer #32711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12425   Customer #32712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12426   Customer #32714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12427   Customer #32716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12428   Customer #32718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12429   Customer #32720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12430   Customer #32725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12431   Customer #32735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12432   Customer #32738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12433   Customer #32741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12434   Customer #32746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12435   Customer #32751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12436   Customer #32759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12437   Customer #32761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12438   Customer #32763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12439   Customer #32768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12440   Customer #32770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12441   Customer #32773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12442   Customer #32775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12443   Customer #32778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12444   Customer #32780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12445   Customer #32781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12446   Customer #32786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12447   Customer #32788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12448   Customer #32790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12449   Customer #32793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12450   Customer #32795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12451   Customer #32798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12452   Customer #32801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12453   Customer #32803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12454   Customer #32805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12455   Customer #32810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12456   Customer #32820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12457   Customer #32827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12458   Customer #32831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12459   Customer #32837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12460   Customer #32838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12461   Customer #32844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12462   Customer #32845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12463   Customer #32846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12464   Customer #32848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12465   Customer #32850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12466   Customer #32850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12467   Customer #32851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12468   Customer #32852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12469   Customer #32855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12470   Customer #32860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12471   Customer #32860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12472   Customer #32860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12473   Customer #32861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12474   Customer #32864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12475   Customer #32865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12476   Customer #32867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12477   Customer #32868                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12478   Customer #32869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12479   Customer #32870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12480   Customer #32871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12481   Customer #32872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12482   Customer #32877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12483   Customer #32880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12484   Customer #32882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12485   Customer #32885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12486   Customer #32886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12487   Customer #32887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12488   Customer #32890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12489   Customer #32891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12490   Customer #32892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12491   Customer #32909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12492   Customer #32917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12493   Customer #32920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12494   Customer #32927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12495   Customer #32932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12496   Customer #32933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12497   Customer #32934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12498   Customer #32936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12499   Customer #32938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12500   Customer #32948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12501   Customer #32949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12502   Customer #32963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12503   Customer #32968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12504   Customer #32974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12505   Customer #32975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12506   Customer #32979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12507   Customer #32984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12508   Customer #32986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12509   Customer #32987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12510   Customer #32989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12511   Customer #32990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12512   Customer #33001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12513   Customer #33004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12514   Customer #33005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12515   Customer #33006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12516   Customer #33013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12517   Customer #33021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12518   Customer #33022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12519   Customer #33023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12520   Customer #33028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12521   Customer #33030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12522   Customer #33032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12523   Customer #33038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12524   Customer #33039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12525   Customer #33046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12526   Customer #33047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12527   Customer #33049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12528   Customer #33051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12529   Customer #33057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12530   Customer #33067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12531   Customer #33075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12532   Customer #33079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12533   Customer #33081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12534   Customer #33091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12535   Customer #33094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12536   Customer #33107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12537   Customer #33116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12538   Customer #33118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12539   Customer #33119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12540   Customer #33131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12541   Customer #33135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12542   Customer #33136                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12543   Customer #33137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12544   Customer #33139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12545   Customer #33141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12546   Customer #33142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12547   Customer #33153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12548   Customer #33154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12549   Customer #33154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12550   Customer #33155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12551   Customer #33158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12552   Customer #33160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12553   Customer #33164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12554   Customer #33167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12555   Customer #33173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12556   Customer #33175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12557   Customer #33176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12558   Customer #33179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12559   Customer #33189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12560   Customer #33192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12561   Customer #33195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12562   Customer #33197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12563   Customer #33203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12564   Customer #33205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12565   Customer #33209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12566   Customer #33236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12567   Customer #33243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12568   Customer #33245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12569   Customer #33257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12570   Customer #33263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12571   Customer #33265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12572   Customer #33266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12573   Customer #33268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12574   Customer #33269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12575   Customer #33270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12576   Customer #33273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12577   Customer #33286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12578   Customer #33288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12579   Customer #33289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12580   Customer #33294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12581   Customer #33300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12582   Customer #33303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12583   Customer #33306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12584   Customer #33307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12585   Customer #33309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12586   Customer #33312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12587   Customer #33319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12588   Customer #33321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12589   Customer #33323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12590   Customer #33325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12591   Customer #33333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12592   Customer #33340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12593   Customer #33341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12594   Customer #33347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12595   Customer #33355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12596   Customer #33356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12597   Customer #33380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12598   Customer #33382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12599   Customer #33385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12600   Customer #33398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12601   Customer #33402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12602   Customer #33430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12603   Customer #33431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12604   Customer #33436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12605   Customer #33444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12606   Customer #33446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12607   Customer #33447                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12608   Customer #33447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12609   Customer #33452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12610   Customer #33458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12611   Customer #33459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12612   Customer #33460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12613   Customer #33464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12614   Customer #33465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12615   Customer #33467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12616   Customer #33468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12617   Customer #33469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12618   Customer #33479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12619   Customer #33486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12620   Customer #33489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12621   Customer #33492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12622   Customer #33493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12623   Customer #33494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12624   Customer #33496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12625   Customer #33498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12626   Customer #33501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12627   Customer #33502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12628   Customer #33503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12629   Customer #33505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12630   Customer #33514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12631   Customer #33520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12632   Customer #33523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12633   Customer #33525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12634   Customer #33527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12635   Customer #33528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12636   Customer #33535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12637   Customer #33552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12638   Customer #33559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12639   Customer #33561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12640   Customer #33563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12641   Customer #33564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12642   Customer #33567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12643   Customer #33571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12644   Customer #33573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12645   Customer #33574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12646   Customer #33578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12647   Customer #33581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12648   Customer #33600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12649   Customer #33603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12650   Customer #33606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12651   Customer #33608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12652   Customer #33609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12653   Customer #33610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12654   Customer #33612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12655   Customer #33619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12656   Customer #33621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12657   Customer #33623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12658   Customer #33626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12659   Customer #33627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12660   Customer #33628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12661   Customer #33630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12662   Customer #33635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12663   Customer #33637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12664   Customer #33639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12665   Customer #33642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12666   Customer #33650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12667   Customer #33653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12668   Customer #33656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12669   Customer #33669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12670   Customer #33690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12671   Customer #33691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12672   Customer #33693                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12673   Customer #33695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12674   Customer #33696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12675   Customer #33697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12676   Customer #33701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12677   Customer #33703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12678   Customer #33706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12679   Customer #33707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12680   Customer #33710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12681   Customer #33712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12682   Customer #33716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12683   Customer #33717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12684   Customer #33719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12685   Customer #33725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12686   Customer #33726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12687   Customer #33728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12688   Customer #33729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12689   Customer #33735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12690   Customer #33741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12691   Customer #33742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12692   Customer #33743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12693   Customer #33750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12694   Customer #33768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12695   Customer #33776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12696   Customer #33779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12697   Customer #33789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12698   Customer #33793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12699   Customer #33794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12700   Customer #33799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12701   Customer #33800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12702   Customer #33801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12703   Customer #33803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12704   Customer #33814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12705   Customer #33816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12706   Customer #33818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12707   Customer #33819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12708   Customer #33820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12709   Customer #33822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12710   Customer #33825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12711   Customer #33826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12712   Customer #33829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12713   Customer #33831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12714   Customer #33835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12715   Customer #33837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12716   Customer #33843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12717   Customer #33844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12718   Customer #33845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12719   Customer #33848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12720   Customer #33851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12721   Customer #33854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12722   Customer #33855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12723   Customer #33857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12724   Customer #33859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12725   Customer #33864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12726   Customer #33865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12727   Customer #33870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12728   Customer #33871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12729   Customer #33874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12730   Customer #33879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12731   Customer #33897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12732   Customer #33910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12733   Customer #33917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12734   Customer #33918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12735   Customer #33922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12736   Customer #33924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12737   Customer #33929                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12738   Customer #33930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12739   Customer #33935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12740   Customer #33937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12741   Customer #33938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12742   Customer #33939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12743   Customer #33940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12744   Customer #33941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12745   Customer #33942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12746   Customer #33943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12747   Customer #33944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12748   Customer #33947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12749   Customer #33950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12750   Customer #33953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12751   Customer #33957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12752   Customer #33962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12753   Customer #33963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12754   Customer #33964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12755   Customer #33965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12756   Customer #33967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12757   Customer #33968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12758   Customer #33969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12759   Customer #33970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12760   Customer #33971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12761   Customer #33976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12762   Customer #33978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12763   Customer #33982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12764   Customer #33992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12765   Customer #33994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12766   Customer #33995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12767   Customer #33997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12768   Customer #33999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12769   Customer #34000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12770   Customer #34001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12771   Customer #34008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12772   Customer #34010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12773   Customer #34018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12774   Customer #34019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12775   Customer #34022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12776   Customer #34024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12777   Customer #34025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12778   Customer #34026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12779   Customer #34028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12780   Customer #34029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12781   Customer #34031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12782   Customer #34032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12783   Customer #34033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12784   Customer #34034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12785   Customer #34036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12786   Customer #34045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12787   Customer #34047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12788   Customer #34050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12789   Customer #34051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12790   Customer #34069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12791   Customer #34094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12792   Customer #34095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12793   Customer #34096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12794   Customer #34099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12795   Customer #34101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12796   Customer #34102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12797   Customer #34103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12798   Customer #34105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12799   Customer #34106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12800   Customer #34117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12801   Customer #34122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12802   Customer #34123                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12803   Customer #34124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12804   Customer #34125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12805   Customer #34132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12806   Customer #34137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12807   Customer #34138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12808   Customer #34139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12809   Customer #34149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12810   Customer #34150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12811   Customer #34151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12812   Customer #34154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12813   Customer #34157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12814   Customer #34160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12815   Customer #34162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12816   Customer #34165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12817   Customer #34167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12818   Customer #34172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12819   Customer #34178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12820   Customer #34181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12821   Customer #34184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12822   Customer #34186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12823   Customer #34187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12824   Customer #34190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12825   Customer #34194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12826   Customer #34195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12827   Customer #34199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12828   Customer #34208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12829   Customer #34214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12830   Customer #34214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12831   Customer #34219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12832   Customer #34230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12833   Customer #34232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12834   Customer #34237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12835   Customer #34238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12836   Customer #34238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12837   Customer #34266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12838   Customer #34267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12839   Customer #34268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12840   Customer #34270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12841   Customer #34273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12842   Customer #34286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12843   Customer #34292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12844   Customer #34301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12845   Customer #34302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12846   Customer #34304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12847   Customer #34309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12848   Customer #34310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12849   Customer #34311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12850   Customer #34312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12851   Customer #34315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12852   Customer #34317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12853   Customer #34318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12854   Customer #34319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12855   Customer #34321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12856   Customer #34323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12857   Customer #34324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12858   Customer #34326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12859   Customer #34327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12860   Customer #34331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12861   Customer #34338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12862   Customer #34348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12863   Customer #34349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12864   Customer #34350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12865   Customer #34351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12866   Customer #34352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12867   Customer #34354                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12868   Customer #34356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12869   Customer #34358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12870   Customer #34358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12871   Customer #34359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12872   Customer #34373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12873   Customer #34375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12874   Customer #34377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12875   Customer #34380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12876   Customer #34384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12877   Customer #34391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12878   Customer #34393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12879   Customer #34398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12880   Customer #34399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12881   Customer #34400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12882   Customer #34403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12883   Customer #34405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12884   Customer #34406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12885   Customer #34414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12886   Customer #34415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12887   Customer #34421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12888   Customer #34432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12889   Customer #34443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12890   Customer #34449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12891   Customer #34450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12892   Customer #34451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12893   Customer #34454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12894   Customer #34455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12895   Customer #34458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12896   Customer #34462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12897   Customer #34466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12898   Customer #34467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12899   Customer #34468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12900   Customer #34472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12901   Customer #34473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12902   Customer #34478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12903   Customer #34479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12904   Customer #34485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12905   Customer #34486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12906   Customer #34487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12907   Customer #34488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12908   Customer #34489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12909   Customer #34499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12910   Customer #34510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12911   Customer #34512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12912   Customer #34514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12913   Customer #34515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12914   Customer #34518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12915   Customer #34522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12916   Customer #34523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12917   Customer #34526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12918   Customer #34527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12919   Customer #34536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12920   Customer #34541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12921   Customer #34542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12922   Customer #34543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12923   Customer #34549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12924   Customer #34555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12925   Customer #34556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12926   Customer #34557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12927   Customer #34558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12928   Customer #34559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12929   Customer #34561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12930   Customer #34566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12931   Customer #34568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12932   Customer #34570                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12933   Customer #34575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12934   Customer #34578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12935   Customer #34584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12936   Customer #34585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12937   Customer #34590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12938   Customer #34591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12939   Customer #34596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12940   Customer #34598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12941   Customer #34606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12942   Customer #34607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12943   Customer #34608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12944   Customer #34609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12945   Customer #34616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12946   Customer #34624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12947   Customer #34628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12948   Customer #34629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12949   Customer #34630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12950   Customer #34634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12951   Customer #34635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12952   Customer #34638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12953   Customer #34640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12954   Customer #34651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12955   Customer #34654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12956   Customer #34655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12957   Customer #34656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12958   Customer #34657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12959   Customer #34658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12960   Customer #34676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12961   Customer #34680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12962   Customer #34683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12963   Customer #34684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12964   Customer #34686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12965   Customer #34688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12966   Customer #34689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12967   Customer #34690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12968   Customer #34691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12969   Customer #34696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12970   Customer #34697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12971   Customer #34698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12972   Customer #34704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12973   Customer #34705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12974   Customer #34706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12975   Customer #34707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12976   Customer #34712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12977   Customer #34716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12978   Customer #34723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12979   Customer #34726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12980   Customer #34728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12981   Customer #34752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12982   Customer #34755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12983   Customer #34760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12984   Customer #34761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12985   Customer #34763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12986   Customer #34764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12987   Customer #34781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12988   Customer #34792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12989   Customer #34794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12990   Customer #34795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12991   Customer #34797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12992   Customer #34799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12993   Customer #34800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12994   Customer #34804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12995   Customer #34805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12996   Customer #34806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12997   Customer #34810                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.12998   Customer #34811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.12999   Customer #34812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13000   Customer #34820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13001   Customer #34822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13002   Customer #34823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13003   Customer #34826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13004   Customer #34827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13005   Customer #34833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13006   Customer #34834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13007   Customer #34835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13008   Customer #34836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13009   Customer #34837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13010   Customer #34841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13011   Customer #34844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13012   Customer #34846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13013   Customer #34850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13014   Customer #34861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13015   Customer #34869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13016   Customer #34870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13017   Customer #34871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13018   Customer #34873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13019   Customer #34876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13020   Customer #34878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13021   Customer #34880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13022   Customer #34887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13023   Customer #34896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13024   Customer #34899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13025   Customer #34900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13026   Customer #34902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13027   Customer #34908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13028   Customer #34911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13029   Customer #34914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13030   Customer #34915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13031   Customer #34924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13032   Customer #34928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13033   Customer #34929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13034   Customer #34932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13035   Customer #34934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13036   Customer #34942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13037   Customer #34948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13038   Customer #34949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13039   Customer #34951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13040   Customer #34952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13041   Customer #34957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13042   Customer #34958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13043   Customer #34959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13044   Customer #34962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13045   Customer #34965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13046   Customer #34966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13047   Customer #34968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13048   Customer #34977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13049   Customer #34982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13050   Customer #34983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13051   Customer #34984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13052   Customer #34986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13053   Customer #34987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13054   Customer #34990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13055   Customer #34996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13056   Customer #34998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13057   Customer #35001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13058   Customer #35006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13059   Customer #35016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13060   Customer #35018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13061   Customer #35020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13062   Customer #35020                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13063   Customer #35026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13064   Customer #35027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13065   Customer #35032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13066   Customer #35034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13067   Customer #35038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13068   Customer #35039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13069   Customer #35041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13070   Customer #35043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13071   Customer #35046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13072   Customer #35050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13073   Customer #35069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13074   Customer #35082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13075   Customer #35089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13076   Customer #35090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13077   Customer #35092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13078   Customer #35098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13079   Customer #35102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13080   Customer #35108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13081   Customer #35110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13082   Customer #35111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13083   Customer #35113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13084   Customer #35120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13085   Customer #35123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13086   Customer #35125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13087   Customer #35127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13088   Customer #35129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13089   Customer #35130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13090   Customer #35131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13091   Customer #35132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13092   Customer #35134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13093   Customer #35136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13094   Customer #35138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13095   Customer #35139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13096   Customer #35140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13097   Customer #35144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13098   Customer #35146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13099   Customer #35147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13100   Customer #35152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13101   Customer #35155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13102   Customer #35157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13103   Customer #35159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13104   Customer #35161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13105   Customer #35163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13106   Customer #35173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13107   Customer #35176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13108   Customer #35181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13109   Customer #35184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13110   Customer #35185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13111   Customer #35186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13112   Customer #35187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13113   Customer #35190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13114   Customer #35191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13115   Customer #35199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13116   Customer #35209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13117   Customer #35211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13118   Customer #35214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13119   Customer #35228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13120   Customer #35234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13121   Customer #35239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13122   Customer #35241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13123   Customer #35242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13124   Customer #35243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13125   Customer #35247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13126   Customer #35248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13127   Customer #35249                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13128   Customer #35258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13129   Customer #35265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13130   Customer #35266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13131   Customer #35270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13132   Customer #35275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13133   Customer #35276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13134   Customer #35277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13135   Customer #35282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13136   Customer #35287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13137   Customer #35290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13138   Customer #35292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13139   Customer #35293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13140   Customer #35295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13141   Customer #35298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13142   Customer #35301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13143   Customer #35304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13144   Customer #35308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13145   Customer #35311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13146   Customer #35314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13147   Customer #35332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13148   Customer #35335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13149   Customer #35336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13150   Customer #35347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13151   Customer #35348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13152   Customer #35349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13153   Customer #35357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13154   Customer #35359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13155   Customer #35360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13156   Customer #35379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13157   Customer #35380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13158   Customer #35382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13159   Customer #35383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13160   Customer #35385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13161   Customer #35389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13162   Customer #35395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13163   Customer #35397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13164   Customer #35399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13165   Customer #35401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13166   Customer #35411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13167   Customer #35423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13168   Customer #35426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13169   Customer #35432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13170   Customer #35436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13171   Customer #35440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13172   Customer #35445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13173   Customer #35446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13174   Customer #35447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13175   Customer #35453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13176   Customer #35463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13177   Customer #35482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13178   Customer #35483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13179   Customer #35492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13180   Customer #35493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13181   Customer #35494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13182   Customer #35495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13183   Customer #35501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13184   Customer #35511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13185   Customer #35512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13186   Customer #35513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13187   Customer #35515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13188   Customer #35516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13189   Customer #35524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13190   Customer #35525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13191   Customer #35527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13192   Customer #35528                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13193   Customer #35529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13194   Customer #35541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13195   Customer #35543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13196   Customer #35544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13197   Customer #35545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13198   Customer #35548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13199   Customer #35552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13200   Customer #35553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13201   Customer #35555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13202   Customer #35556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13203   Customer #35559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13204   Customer #35561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13205   Customer #35562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13206   Customer #35566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13207   Customer #35568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13208   Customer #35569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13209   Customer #35578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13210   Customer #35585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13211   Customer #35587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13212   Customer #35590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13213   Customer #35593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13214   Customer #35596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13215   Customer #35599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13216   Customer #35601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13217   Customer #35606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13218   Customer #35608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13219   Customer #35616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13220   Customer #35617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13221   Customer #35621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13222   Customer #35631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13223   Customer #35631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13224   Customer #35642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13225   Customer #35650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13226   Customer #35653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13227   Customer #35655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13228   Customer #35656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13229   Customer #35658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13230   Customer #35663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13231   Customer #35666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13232   Customer #35668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13233   Customer #35692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13234   Customer #35694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13235   Customer #35695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13236   Customer #35698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13237   Customer #35699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13238   Customer #35705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13239   Customer #35706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13240   Customer #35710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13241   Customer #35711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13242   Customer #35712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13243   Customer #35714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13244   Customer #35715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13245   Customer #35717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13246   Customer #35717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13247   Customer #35718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13248   Customer #35726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13249   Customer #35733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13250   Customer #35734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13251   Customer #35735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13252   Customer #35736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13253   Customer #35744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13254   Customer #35746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13255   Customer #35755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13256   Customer #35758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13257   Customer #35759                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13258   Customer #35760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13259   Customer #35769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13260   Customer #35773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13261   Customer #35775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13262   Customer #35780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13263   Customer #35787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13264   Customer #35792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13265   Customer #35805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13266   Customer #35834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13267   Customer #35836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13268   Customer #35839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13269   Customer #35846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13270   Customer #35848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13271   Customer #35850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13272   Customer #35861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13273   Customer #35868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13274   Customer #35879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13275   Customer #35885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13276   Customer #35895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13277   Customer #35909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13278   Customer #35911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13279   Customer #35913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13280   Customer #35915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13281   Customer #35917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13282   Customer #35919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13283   Customer #35921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13284   Customer #35926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13285   Customer #35929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13286   Customer #35937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13287   Customer #35938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13288   Customer #35944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13289   Customer #35945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13290   Customer #35948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13291   Customer #35964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13292   Customer #35968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13293   Customer #35973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13294   Customer #35981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13295   Customer #35983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13296   Customer #35984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13297   Customer #36000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13298   Customer #36001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13299   Customer #36004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13300   Customer #36028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13301   Customer #36036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13302   Customer #36055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13303   Customer #36082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13304   Customer #36083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13305   Customer #36089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13306   Customer #36092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13307   Customer #36096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13308   Customer #36098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13309   Customer #36099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13310   Customer #36105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13311   Customer #36106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13312   Customer #36108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13313   Customer #36135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13314   Customer #36140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13315   Customer #36142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13316   Customer #36143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13317   Customer #36146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13318   Customer #36148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13319   Customer #36154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13320   Customer #36155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13321   Customer #36159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13322   Customer #36165                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13323   Customer #36168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13324   Customer #36168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13325   Customer #36175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13326   Customer #36176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13327   Customer #36179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13328   Customer #36183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13329   Customer #36185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13330   Customer #36186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13331   Customer #36188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13332   Customer #36190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13333   Customer #36192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13334   Customer #36194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13335   Customer #36199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13336   Customer #36210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13337   Customer #36211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13338   Customer #36219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13339   Customer #36240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13340   Customer #36243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13341   Customer #36258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13342   Customer #36260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13343   Customer #36261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13344   Customer #36267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13345   Customer #36271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13346   Customer #36274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13347   Customer #36284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13348   Customer #36285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13349   Customer #36296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13350   Customer #36298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13351   Customer #36305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13352   Customer #36306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13353   Customer #36312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13354   Customer #36333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13355   Customer #36339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13356   Customer #36341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13357   Customer #36342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13358   Customer #36346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13359   Customer #36348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13360   Customer #36351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13361   Customer #36352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13362   Customer #36362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13363   Customer #36363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13364   Customer #36364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13365   Customer #36366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13366   Customer #36368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13367   Customer #36376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13368   Customer #36379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13369   Customer #36381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13370   Customer #36384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13371   Customer #36387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13372   Customer #36391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13373   Customer #36408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13374   Customer #36409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13375   Customer #36412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13376   Customer #36415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13377   Customer #36419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13378   Customer #36427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13379   Customer #36442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13380   Customer #36443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13381   Customer #36444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13382   Customer #36449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13383   Customer #36450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13384   Customer #36451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13385   Customer #36452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13386   Customer #36456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13387   Customer #36459                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13388   Customer #36467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13389   Customer #36471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13390   Customer #36472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13391   Customer #36482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13392   Customer #36483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13393   Customer #36485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13394   Customer #36493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13395   Customer #36497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13396   Customer #36500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13397   Customer #36526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13398   Customer #36531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13399   Customer #36536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13400   Customer #36537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13401   Customer #36539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13402   Customer #36541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13403   Customer #36553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13404   Customer #36554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13405   Customer #36567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13406   Customer #36593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13407   Customer #36594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13408   Customer #36600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13409   Customer #36602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13410   Customer #36605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13411   Customer #36607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13412   Customer #36609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13413   Customer #36610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13414   Customer #36613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13415   Customer #36617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13416   Customer #36629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13417   Customer #36631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13418   Customer #36634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13419   Customer #36651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13420   Customer #36654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13421   Customer #36655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13422   Customer #36657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13423   Customer #36666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13424   Customer #36668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13425   Customer #36676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13426   Customer #36689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13427   Customer #36693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13428   Customer #36694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13429   Customer #36709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13430   Customer #36710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13431   Customer #36711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13432   Customer #36732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13433   Customer #36734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13434   Customer #36740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13435   Customer #36755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13436   Customer #36756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13437   Customer #36759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13438   Customer #36763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13439   Customer #36767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13440   Customer #36770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13441   Customer #36771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13442   Customer #36774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13443   Customer #36776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13444   Customer #36781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13445   Customer #36784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13446   Customer #36785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13447   Customer #36788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13448   Customer #36797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13449   Customer #36801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13450   Customer #36802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13451   Customer #36803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13452   Customer #36804                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13453   Customer #36821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13454   Customer #36824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13455   Customer #36828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13456   Customer #36830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13457   Customer #36844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13458   Customer #36849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13459   Customer #36856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13460   Customer #36858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13461   Customer #36859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13462   Customer #36866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13463   Customer #36869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13464   Customer #36870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13465   Customer #36881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13466   Customer #36882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13467   Customer #36889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13468   Customer #36890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13469   Customer #36893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13470   Customer #36897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13471   Customer #36898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13472   Customer #36900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13473   Customer #36902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13474   Customer #36905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13475   Customer #36906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13476   Customer #36906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13477   Customer #36908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13478   Customer #36909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13479   Customer #36912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13480   Customer #36924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13481   Customer #36929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13482   Customer #36955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13483   Customer #36959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13484   Customer #36964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13485   Customer #36978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13486   Customer #36988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13487   Customer #36989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13488   Customer #37000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13489   Customer #37001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13490   Customer #37004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13491   Customer #37007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13492   Customer #37009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13493   Customer #37013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13494   Customer #37017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13495   Customer #37022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13496   Customer #37023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13497   Customer #37026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13498   Customer #37028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13499   Customer #37033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13500   Customer #37035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13501   Customer #37049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13502   Customer #37050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13503   Customer #37053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13504   Customer #37054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13505   Customer #37057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13506   Customer #37060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13507   Customer #37076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13508   Customer #37089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13509   Customer #37091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13510   Customer #37094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13511   Customer #37100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13512   Customer #37113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13513   Customer #37114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13514   Customer #37116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13515   Customer #37122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13516   Customer #37125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13517   Customer #37126                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13518   Customer #37129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13519   Customer #37132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13520   Customer #37146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13521   Customer #37147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13522   Customer #37155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13523   Customer #37157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13524   Customer #37160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13525   Customer #37161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13526   Customer #37162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13527   Customer #37164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13528   Customer #37164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13529   Customer #37166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13530   Customer #37169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13531   Customer #37171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13532   Customer #37180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13533   Customer #37187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13534   Customer #37188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13535   Customer #37195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13536   Customer #37207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13537   Customer #37214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13538   Customer #37215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13539   Customer #37222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13540   Customer #37229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13541   Customer #37234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13542   Customer #37237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13543   Customer #37238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13544   Customer #37246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13545   Customer #37248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13546   Customer #37252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13547   Customer #37256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13548   Customer #37260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13549   Customer #37272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13550   Customer #37282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13551   Customer #37286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13552   Customer #37287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13553   Customer #37290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13554   Customer #37292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13555   Customer #37296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13556   Customer #37297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13557   Customer #37301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13558   Customer #37304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13559   Customer #37305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13560   Customer #37312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13561   Customer #37313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13562   Customer #37314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13563   Customer #37315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13564   Customer #37318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13565   Customer #37322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13566   Customer #37324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13567   Customer #37332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13568   Customer #37352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13569   Customer #37357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13570   Customer #37364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13571   Customer #37375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13572   Customer #37382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13573   Customer #37392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13574   Customer #37393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13575   Customer #37394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13576   Customer #37396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13577   Customer #37401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13578   Customer #37402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13579   Customer #37402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13580   Customer #37404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13581   Customer #37406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13582   Customer #37409                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13583   Customer #37413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13584   Customer #37417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13585   Customer #37418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13586   Customer #37419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13587   Customer #37432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13588   Customer #37436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13589   Customer #37439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13590   Customer #37440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13591   Customer #37442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13592   Customer #37443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13593   Customer #37445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13594   Customer #37450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13595   Customer #37452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13596   Customer #37453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13597   Customer #37457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13598   Customer #37461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13599   Customer #37462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13600   Customer #37476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13601   Customer #37482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13602   Customer #37483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13603   Customer #37487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13604   Customer #37492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13605   Customer #37496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13606   Customer #37507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13607   Customer #37508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13608   Customer #37510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13609   Customer #37516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13610   Customer #37517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13611   Customer #37518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13612   Customer #37522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13613   Customer #37524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13614   Customer #37525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13615   Customer #37527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13616   Customer #37529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13617   Customer #37531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13618   Customer #37540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13619   Customer #37542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13620   Customer #37545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13621   Customer #37547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13622   Customer #37568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13623   Customer #37569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13624   Customer #37583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13625   Customer #37588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13626   Customer #37592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13627   Customer #37597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13628   Customer #37600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13629   Customer #37602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13630   Customer #37604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13631   Customer #37605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13632   Customer #37612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13633   Customer #37614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13634   Customer #37619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13635   Customer #37625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13636   Customer #37626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13637   Customer #37636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13638   Customer #37639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13639   Customer #37641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13640   Customer #37643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13641   Customer #37644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13642   Customer #37645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13643   Customer #37647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13644   Customer #37648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13645   Customer #37653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13646   Customer #37654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13647   Customer #37656                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13648   Customer #37657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13649   Customer #37658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13650   Customer #37665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13651   Customer #37666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13652   Customer #37666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13653   Customer #37668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13654   Customer #37670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13655   Customer #37675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13656   Customer #37677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13657   Customer #37681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13658   Customer #37682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13659   Customer #37685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13660   Customer #37688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13661   Customer #37689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13662   Customer #37690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13663   Customer #37695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13664   Customer #37696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13665   Customer #37699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13666   Customer #37703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13667   Customer #37708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13668   Customer #37709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13669   Customer #37718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13670   Customer #37723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13671   Customer #37724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13672   Customer #37728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13673   Customer #37734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13674   Customer #37735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13675   Customer #37736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13676   Customer #37742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13677   Customer #37753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13678   Customer #37755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13679   Customer #37758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13680   Customer #37761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13681   Customer #37768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13682   Customer #37770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13683   Customer #37772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13684   Customer #37776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13685   Customer #37777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13686   Customer #37778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13687   Customer #37782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13688   Customer #37783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13689   Customer #37789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13690   Customer #37793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13691   Customer #37794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13692   Customer #37796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13693   Customer #37806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13694   Customer #37809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13695   Customer #37820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13696   Customer #37822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13697   Customer #37827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13698   Customer #37830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13699   Customer #37836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13700   Customer #37842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13701   Customer #37859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13702   Customer #37866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13703   Customer #37867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13704   Customer #37875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13705   Customer #37891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13706   Customer #37905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13707   Customer #37911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13708   Customer #37913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13709   Customer #37938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13710   Customer #37939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13711   Customer #37942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13712   Customer #37943                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13713   Customer #37949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13714   Customer #37956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13715   Customer #37966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13716   Customer #37968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13717   Customer #37969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13718   Customer #37976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13719   Customer #37983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13720   Customer #37987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13721   Customer #37988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13722   Customer #37989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13723   Customer #37993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13724   Customer #37998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13725   Customer #37999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13726   Customer #38000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13727   Customer #38005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13728   Customer #38010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13729   Customer #38021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13730   Customer #38024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13731   Customer #38028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13732   Customer #38033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13733   Customer #38034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13734   Customer #38045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13735   Customer #38074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13736   Customer #38076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13737   Customer #38078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13738   Customer #38083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13739   Customer #38084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13740   Customer #38086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13741   Customer #38090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13742   Customer #38091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13743   Customer #38092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13744   Customer #38093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13745   Customer #38094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13746   Customer #38101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13747   Customer #38120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13748   Customer #38124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13749   Customer #38126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13750   Customer #38133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13751   Customer #38134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13752   Customer #38135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13753   Customer #38138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13754   Customer #38139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13755   Customer #38140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13756   Customer #38145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13757   Customer #38146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13758   Customer #38150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13759   Customer #38155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13760   Customer #38156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13761   Customer #38157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13762   Customer #38158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13763   Customer #38162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13764   Customer #38162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13765   Customer #38166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13766   Customer #38167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13767   Customer #38170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13768   Customer #38171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13769   Customer #38177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13770   Customer #38179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13771   Customer #38181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13772   Customer #38189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13773   Customer #38206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13774   Customer #38209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13775   Customer #38210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13776   Customer #38212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13777   Customer #38223                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13778   Customer #38230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13779   Customer #38238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13780   Customer #38242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13781   Customer #38243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13782   Customer #38244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13783   Customer #38245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13784   Customer #38248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13785   Customer #38256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13786   Customer #38260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13787   Customer #38264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13788   Customer #38265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13789   Customer #38270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13790   Customer #38287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13791   Customer #38295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13792   Customer #38299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13793   Customer #38305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13794   Customer #38306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13795   Customer #38309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13796   Customer #38317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13797   Customer #38333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13798   Customer #38334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13799   Customer #38338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13800   Customer #38340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13801   Customer #38342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13802   Customer #38347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13803   Customer #38348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13804   Customer #38349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13805   Customer #38363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13806   Customer #38365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13807   Customer #38366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13808   Customer #38368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13809   Customer #38370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13810   Customer #38372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13811   Customer #38373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13812   Customer #38374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13813   Customer #38375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13814   Customer #38376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13815   Customer #38377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13816   Customer #38382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13817   Customer #38383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13818   Customer #38385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13819   Customer #38386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13820   Customer #38387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13821   Customer #38399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13822   Customer #38404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13823   Customer #38419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13824   Customer #38421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13825   Customer #38422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13826   Customer #38426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13827   Customer #38430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13828   Customer #38440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13829   Customer #38441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13830   Customer #38445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13831   Customer #38451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13832   Customer #38456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13833   Customer #38459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13834   Customer #38466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13835   Customer #38472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13836   Customer #38486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13837   Customer #38490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13838   Customer #38494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13839   Customer #38503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13840   Customer #38504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13841   Customer #38512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13842   Customer #38517                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13843   Customer #38519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13844   Customer #38527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13845   Customer #38529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13846   Customer #38531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13847   Customer #38535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13848   Customer #38548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13849   Customer #38556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13850   Customer #38568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13851   Customer #38587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13852   Customer #38612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13853   Customer #38624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13854   Customer #38638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13855   Customer #38639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13856   Customer #38644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13857   Customer #38687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13858   Customer #38695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13859   Customer #38707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13860   Customer #38709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13861   Customer #38714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13862   Customer #38723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13863   Customer #38739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13864   Customer #38743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13865   Customer #38751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13866   Customer #38759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13867   Customer #38791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13868   Customer #38830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13869   Customer #38830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13870   Customer #38831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13871   Customer #38835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13872   Customer #38836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13873   Customer #38837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13874   Customer #38869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13875   Customer #38876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13876   Customer #38880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13877   Customer #38890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13878   Customer #38891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13879   Customer #38896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13880   Customer #38900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13881   Customer #38902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13882   Customer #38924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13883   Customer #38928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13884   Customer #38933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13885   Customer #38950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13886   Customer #38952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13887   Customer #38963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13888   Customer #38975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13889   Customer #38984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13890   Customer #38986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13891   Customer #38989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13892   Customer #38991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13893   Customer #38995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13894   Customer #39002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13895   Customer #39024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13896   Customer #39030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13897   Customer #39059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13898   Customer #39103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13899   Customer #39104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13900   Customer #39109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13901   Customer #39117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13902   Customer #39118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13903   Customer #39119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13904   Customer #39138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13905   Customer #39149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13906   Customer #39155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13907   Customer #39156                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13908   Customer #39172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13909   Customer #39181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13910   Customer #39186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13911   Customer #39194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13912   Customer #39195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13913   Customer #39230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13914   Customer #39248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13915   Customer #39250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13916   Customer #39260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13917   Customer #39263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13918   Customer #39286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13919   Customer #39293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13920   Customer #39294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13921   Customer #39298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13922   Customer #39303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13923   Customer #39312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13924   Customer #39313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13925   Customer #39316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13926   Customer #39331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13927   Customer #39333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13928   Customer #39336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13929   Customer #39342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13930   Customer #39345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13931   Customer #39353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13932   Customer #39392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13933   Customer #39402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13934   Customer #39404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13935   Customer #39409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13936   Customer #39412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13937   Customer #39413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13938   Customer #39414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13939   Customer #39420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13940   Customer #39422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13941   Customer #39425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13942   Customer #39432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13943   Customer #39435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13944   Customer #39439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13945   Customer #39441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13946   Customer #39453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13947   Customer #39464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13948   Customer #39467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13949   Customer #39482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13950   Customer #39484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13951   Customer #39486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13952   Customer #39487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13953   Customer #39502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13954   Customer #39503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13955   Customer #39511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13956   Customer #39522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13957   Customer #39524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13958   Customer #39527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13959   Customer #39528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13960   Customer #39534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13961   Customer #39536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13962   Customer #39540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13963   Customer #39541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13964   Customer #39546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13965   Customer #39550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13966   Customer #39566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13967   Customer #39567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13968   Customer #39569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13969   Customer #39570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13970   Customer #39607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13971   Customer #39610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13972   Customer #39617                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.13973   Customer #39620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13974   Customer #39625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13975   Customer #39626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13976   Customer #39629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13977   Customer #39631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13978   Customer #39635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13979   Customer #39637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13980   Customer #39643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13981   Customer #39663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13982   Customer #39686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13983   Customer #39701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13984   Customer #39709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13985   Customer #39713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13986   Customer #39716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13987   Customer #39729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13988   Customer #39734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13989   Customer #39736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13990   Customer #39739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13991   Customer #39750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13992   Customer #39759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13993   Customer #39760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13994   Customer #39766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13995   Customer #39769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13996   Customer #39770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13997   Customer #39775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13998   Customer #39783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.13999   Customer #39792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14000   Customer #39796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14001   Customer #39801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14002   Customer #39815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14003   Customer #39821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14004   Customer #39826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14005   Customer #39827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14006   Customer #39834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14007   Customer #39841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14008   Customer #39843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14009   Customer #39847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14010   Customer #39856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14011   Customer #39867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14012   Customer #39868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14013   Customer #39871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14014   Customer #39881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14015   Customer #39884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14016   Customer #39884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14017   Customer #39891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14018   Customer #39901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14019   Customer #39903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14020   Customer #39906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14021   Customer #39910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14022   Customer #39912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14023   Customer #39929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14024   Customer #39930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14025   Customer #39932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14026   Customer #39938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14027   Customer #39944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14028   Customer #39953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14029   Customer #39959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14030   Customer #39969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14031   Customer #39970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14032   Customer #39971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14033   Customer #39972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14034   Customer #39974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14035   Customer #39976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14036   Customer #39990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14037   Customer #39999                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14038   Customer #40012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14039   Customer #40014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14040   Customer #40015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14041   Customer #40026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14042   Customer #40033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14043   Customer #40035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14044   Customer #40041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14045   Customer #40044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14046   Customer #40066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14047   Customer #40067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14048   Customer #40080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14049   Customer #40084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14050   Customer #40091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14051   Customer #40100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14052   Customer #40103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14053   Customer #40120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14054   Customer #40122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14055   Customer #40123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14056   Customer #40128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14057   Customer #40133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14058   Customer #40135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14059   Customer #40136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14060   Customer #40139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14061   Customer #40144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14062   Customer #40153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14063   Customer #40157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14064   Customer #40160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14065   Customer #40163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14066   Customer #40170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14067   Customer #40172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14068   Customer #40177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14069   Customer #40184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14070   Customer #40188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14071   Customer #40194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14072   Customer #40196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14073   Customer #40207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14074   Customer #40210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14075   Customer #40212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14076   Customer #40214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14077   Customer #40215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14078   Customer #40220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14079   Customer #40223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14080   Customer #40230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14081   Customer #40233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14082   Customer #40234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14083   Customer #40237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14084   Customer #40244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14085   Customer #40247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14086   Customer #40250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14087   Customer #40257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14088   Customer #40258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14089   Customer #40316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14090   Customer #40333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14091   Customer #40334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14092   Customer #40353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14093   Customer #40358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14094   Customer #40358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14095   Customer #40365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14096   Customer #40369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14097   Customer #40373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14098   Customer #40377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14099   Customer #40378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14100   Customer #40393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14101   Customer #40396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14102   Customer #40407                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14103   Customer #40409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14104   Customer #40422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14105   Customer #40440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14106   Customer #40450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14107   Customer #40453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14108   Customer #40480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14109   Customer #40489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14110   Customer #40496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14111   Customer #40501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14112   Customer #40507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14113   Customer #40509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14114   Customer #40514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14115   Customer #40515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14116   Customer #40520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14117   Customer #40521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14118   Customer #40522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14119   Customer #40523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14120   Customer #40524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14121   Customer #40525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14122   Customer #40527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14123   Customer #40529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14124   Customer #40537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14125   Customer #40541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14126   Customer #40552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14127   Customer #40554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14128   Customer #40555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14129   Customer #40563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14130   Customer #40565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14131   Customer #40572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14132   Customer #40591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14133   Customer #40593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14134   Customer #40601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14135   Customer #40602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14136   Customer #40611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14137   Customer #40613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14138   Customer #40615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14139   Customer #40621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14140   Customer #40633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14141   Customer #40639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14142   Customer #40641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14143   Customer #40645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14144   Customer #40648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14145   Customer #40650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14146   Customer #40651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14147   Customer #40653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14148   Customer #40655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14149   Customer #40664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14150   Customer #40672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14151   Customer #40673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14152   Customer #40681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14153   Customer #40682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14154   Customer #40685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14155   Customer #40694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14156   Customer #40700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14157   Customer #40721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14158   Customer #40726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14159   Customer #40727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14160   Customer #40733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14161   Customer #40735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14162   Customer #40744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14163   Customer #40746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14164   Customer #40747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14165   Customer #40752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14166   Customer #40753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14167   Customer #40759                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14168   Customer #40766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14169   Customer #40771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14170   Customer #40773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14171   Customer #40787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14172   Customer #40788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14173   Customer #40791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14174   Customer #40793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14175   Customer #40797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14176   Customer #40799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14177   Customer #40800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14178   Customer #40812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14179   Customer #40813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14180   Customer #40835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14181   Customer #40848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14182   Customer #40855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14183   Customer #40857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14184   Customer #40865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14185   Customer #40867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14186   Customer #40867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14187   Customer #40870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14188   Customer #40873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14189   Customer #40885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14190   Customer #40886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14191   Customer #40895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14192   Customer #40896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14193   Customer #40902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14194   Customer #40903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14195   Customer #40906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14196   Customer #40909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14197   Customer #40911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14198   Customer #40924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14199   Customer #40925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14200   Customer #40932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14201   Customer #40933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14202   Customer #40949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14203   Customer #40967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14204   Customer #40969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14205   Customer #40979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14206   Customer #40986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14207   Customer #40987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14208   Customer #40989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14209   Customer #40995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14210   Customer #40997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14211   Customer #41018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14212   Customer #41033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14213   Customer #41034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14214   Customer #41037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14215   Customer #41053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14216   Customer #41054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14217   Customer #41057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14218   Customer #41064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14219   Customer #41065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14220   Customer #41067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14221   Customer #41072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14222   Customer #41078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14223   Customer #41079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14224   Customer #41086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14225   Customer #41092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14226   Customer #41096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14227   Customer #41098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14228   Customer #41101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14229   Customer #41109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14230   Customer #41129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14231   Customer #41136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14232   Customer #41138                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14233   Customer #41139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14234   Customer #41152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14235   Customer #41153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14236   Customer #41162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14237   Customer #41164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14238   Customer #41166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14239   Customer #41174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14240   Customer #41176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14241   Customer #41183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14242   Customer #41193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14243   Customer #41202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14244   Customer #41208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14245   Customer #41216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14246   Customer #41224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14247   Customer #41228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14248   Customer #41233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14249   Customer #41235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14250   Customer #41236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14251   Customer #41243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14252   Customer #41255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14253   Customer #41256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14254   Customer #41260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14255   Customer #41263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14256   Customer #41267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14257   Customer #41268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14258   Customer #41270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14259   Customer #41271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14260   Customer #41272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14261   Customer #41272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14262   Customer #41276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14263   Customer #41277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14264   Customer #41283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14265   Customer #41285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14266   Customer #41290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14267   Customer #41291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14268   Customer #41301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14269   Customer #41305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14270   Customer #41308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14271   Customer #41340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14272   Customer #41341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14273   Customer #41343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14274   Customer #41345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14275   Customer #41352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14276   Customer #41356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14277   Customer #41358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14278   Customer #41359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14279   Customer #41360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14280   Customer #41374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14281   Customer #41375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14282   Customer #41377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14283   Customer #41379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14284   Customer #41381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14285   Customer #41385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14286   Customer #41389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14287   Customer #41392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14288   Customer #41394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14289   Customer #41405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14290   Customer #41426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14291   Customer #41430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14292   Customer #41432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14293   Customer #41442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14294   Customer #41443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14295   Customer #41449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14296   Customer #41451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14297   Customer #41459                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14298   Customer #41460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14299   Customer #41470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14300   Customer #41471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14301   Customer #41490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14302   Customer #41491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14303   Customer #41492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14304   Customer #41498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14305   Customer #41503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14306   Customer #41504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14307   Customer #41522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14308   Customer #41523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14309   Customer #41525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14310   Customer #41527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14311   Customer #41532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14312   Customer #41548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14313   Customer #41553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14314   Customer #41557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14315   Customer #41558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14316   Customer #41559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14317   Customer #41567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14318   Customer #41573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14319   Customer #41577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14320   Customer #41583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14321   Customer #41584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14322   Customer #41585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14323   Customer #41590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14324   Customer #41592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14325   Customer #41596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14326   Customer #41597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14327   Customer #41599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14328   Customer #41602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14329   Customer #41604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14330   Customer #41605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14331   Customer #41609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14332   Customer #41613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14333   Customer #41614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14334   Customer #41616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14335   Customer #41618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14336   Customer #41620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14337   Customer #41634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14338   Customer #41636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14339   Customer #41643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14340   Customer #41644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14341   Customer #41653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14342   Customer #41656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14343   Customer #41658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14344   Customer #41659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14345   Customer #41665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14346   Customer #41672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14347   Customer #41674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14348   Customer #41679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14349   Customer #41681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14350   Customer #41682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14351   Customer #41692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14352   Customer #41696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14353   Customer #41699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14354   Customer #41708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14355   Customer #41720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14356   Customer #41726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14357   Customer #41751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14358   Customer #41774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14359   Customer #41774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14360   Customer #41776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14361   Customer #41786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14362   Customer #41815                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14363   Customer #41821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14364   Customer #41824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14365   Customer #41832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14366   Customer #41833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14367   Customer #41834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14368   Customer #41845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14369   Customer #41850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14370   Customer #41854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14371   Customer #41864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14372   Customer #41867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14373   Customer #41870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14374   Customer #41873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14375   Customer #41875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14376   Customer #41884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14377   Customer #41887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14378   Customer #41889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14379   Customer #41895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14380   Customer #41896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14381   Customer #41904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14382   Customer #41905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14383   Customer #41916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14384   Customer #41922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14385   Customer #41923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14386   Customer #41926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14387   Customer #41931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14388   Customer #41947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14389   Customer #41950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14390   Customer #41961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14391   Customer #41962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14392   Customer #41977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14393   Customer #41985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14394   Customer #41992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14395   Customer #41994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14396   Customer #42012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14397   Customer #42014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14398   Customer #42021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14399   Customer #42024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14400   Customer #42025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14401   Customer #42028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14402   Customer #42030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14403   Customer #42031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14404   Customer #42032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14405   Customer #42036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14406   Customer #42037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14407   Customer #42039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14408   Customer #42042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14409   Customer #42043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14410   Customer #42046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14411   Customer #42058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14412   Customer #42061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14413   Customer #42072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14414   Customer #42074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14415   Customer #42075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14416   Customer #42076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14417   Customer #42083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14418   Customer #42088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14419   Customer #42090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14420   Customer #42093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14421   Customer #42099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14422   Customer #42105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14423   Customer #42135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14424   Customer #42136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14425   Customer #42143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14426   Customer #42148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14427   Customer #42159                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14428   Customer #42163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14429   Customer #42165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14430   Customer #42171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14431   Customer #42176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14432   Customer #42180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14433   Customer #42189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14434   Customer #42190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14435   Customer #42194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14436   Customer #42195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14437   Customer #42198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14438   Customer #42209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14439   Customer #42211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14440   Customer #42219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14441   Customer #42224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14442   Customer #42231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14443   Customer #42247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14444   Customer #42251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14445   Customer #42253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14446   Customer #42254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14447   Customer #42261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14448   Customer #42263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14449   Customer #42265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14450   Customer #42267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14451   Customer #42275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14452   Customer #42278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14453   Customer #42281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14454   Customer #42283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14455   Customer #42288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14456   Customer #42302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14457   Customer #42314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14458   Customer #42316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14459   Customer #42320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14460   Customer #42323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14461   Customer #42326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14462   Customer #42335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14463   Customer #42336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14464   Customer #42342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14465   Customer #42346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14466   Customer #42348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14467   Customer #42351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14468   Customer #42352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14469   Customer #42356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14470   Customer #42362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14471   Customer #42372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14472   Customer #42373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14473   Customer #42376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14474   Customer #42396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14475   Customer #42400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14476   Customer #42401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14477   Customer #42403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14478   Customer #42407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14479   Customer #42408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14480   Customer #42409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14481   Customer #42424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14482   Customer #42430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14483   Customer #42473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14484   Customer #42483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14485   Customer #42484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14486   Customer #42487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14487   Customer #42489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14488   Customer #42490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14489   Customer #42494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14490   Customer #42497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14491   Customer #42499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14492   Customer #42504                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14493   Customer #42507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14494   Customer #42508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14495   Customer #42511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14496   Customer #42515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14497   Customer #42518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14498   Customer #42519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14499   Customer #42529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14500   Customer #42530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14501   Customer #42535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14502   Customer #42539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14503   Customer #42540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14504   Customer #42553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14505   Customer #42554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14506   Customer #42566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14507   Customer #42573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14508   Customer #42580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14509   Customer #42582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14510   Customer #42589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14511   Customer #42590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14512   Customer #42595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14513   Customer #42596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14514   Customer #42600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14515   Customer #42602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14516   Customer #42627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14517   Customer #42632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14518   Customer #42634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14519   Customer #42638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14520   Customer #42641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14521   Customer #42646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14522   Customer #42648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14523   Customer #42649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14524   Customer #42654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14525   Customer #42661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14526   Customer #42666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14527   Customer #42667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14528   Customer #42668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14529   Customer #42669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14530   Customer #42673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14531   Customer #42676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14532   Customer #42690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14533   Customer #42693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14534   Customer #42708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14535   Customer #42713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14536   Customer #42714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14537   Customer #42716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14538   Customer #42717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14539   Customer #42718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14540   Customer #42719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14541   Customer #42722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14542   Customer #42729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14543   Customer #42731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14544   Customer #42734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14545   Customer #42735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14546   Customer #42745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14547   Customer #42750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14548   Customer #42756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14549   Customer #42757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14550   Customer #42759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14551   Customer #42765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14552   Customer #42789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14553   Customer #42793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14554   Customer #42806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14555   Customer #42817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14556   Customer #42818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14557   Customer #42845                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14558   Customer #42848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14559   Customer #42849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14560   Customer #42850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14561   Customer #42851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14562   Customer #42853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14563   Customer #42857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14564   Customer #42862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14565   Customer #42877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14566   Customer #42923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14567   Customer #42927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14568   Customer #42932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14569   Customer #42934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14570   Customer #42940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14571   Customer #42946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14572   Customer #42966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14573   Customer #42969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14574   Customer #42973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14575   Customer #42978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14576   Customer #42981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14577   Customer #42985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14578   Customer #42998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14579   Customer #43005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14580   Customer #43026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14581   Customer #43030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14582   Customer #43041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14583   Customer #43044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14584   Customer #43048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14585   Customer #43058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14586   Customer #43061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14587   Customer #43064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14588   Customer #43065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14589   Customer #43067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14590   Customer #43069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14591   Customer #43070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14592   Customer #43092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14593   Customer #43094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14594   Customer #43101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14595   Customer #43102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14596   Customer #43111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14597   Customer #43112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14598   Customer #43114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14599   Customer #43117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14600   Customer #43118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14601   Customer #43127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14602   Customer #43133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14603   Customer #43135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14604   Customer #43137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14605   Customer #43138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14606   Customer #43140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14607   Customer #43143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14608   Customer #43144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14609   Customer #43149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14610   Customer #43152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14611   Customer #43153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14612   Customer #43155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14613   Customer #43156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14614   Customer #43158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14615   Customer #43159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14616   Customer #43167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14617   Customer #43168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14618   Customer #43170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14619   Customer #43174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14620   Customer #43178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14621   Customer #43179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14622   Customer #43185                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14623   Customer #43186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14624   Customer #43191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14625   Customer #43198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14626   Customer #43199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14627   Customer #43203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14628   Customer #43205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14629   Customer #43207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14630   Customer #43215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14631   Customer #43217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14632   Customer #43232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14633   Customer #43236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14634   Customer #43237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14635   Customer #43245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14636   Customer #43266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14637   Customer #43271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14638   Customer #43274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14639   Customer #43280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14640   Customer #43286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14641   Customer #43291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14642   Customer #43298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14643   Customer #43301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14644   Customer #43304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14645   Customer #43307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14646   Customer #43308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14647   Customer #43310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14648   Customer #43313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14649   Customer #43318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14650   Customer #43321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14651   Customer #43322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14652   Customer #43325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14653   Customer #43330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14654   Customer #43331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14655   Customer #43334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14656   Customer #43338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14657   Customer #43340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14658   Customer #43342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14659   Customer #43344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14660   Customer #43346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14661   Customer #43353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14662   Customer #43355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14663   Customer #43357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14664   Customer #43362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14665   Customer #43370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14666   Customer #43371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14667   Customer #43378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14668   Customer #43379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14669   Customer #43381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14670   Customer #43385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14671   Customer #43386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14672   Customer #43389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14673   Customer #43398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14674   Customer #43403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14675   Customer #43416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14676   Customer #43423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14677   Customer #43431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14678   Customer #43432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14679   Customer #43441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14680   Customer #43444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14681   Customer #43447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14682   Customer #43451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14683   Customer #43453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14684   Customer #43455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14685   Customer #43461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14686   Customer #43470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14687   Customer #43473                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14688   Customer #43477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14689   Customer #43491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14690   Customer #43522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14691   Customer #43525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14692   Customer #43526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14693   Customer #43528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14694   Customer #43533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14695   Customer #43537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14696   Customer #43542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14697   Customer #43547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14698   Customer #43556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14699   Customer #43565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14700   Customer #43583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14701   Customer #43591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14702   Customer #43597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14703   Customer #43602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14704   Customer #43603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14705   Customer #43610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14706   Customer #43622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14707   Customer #43630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14708   Customer #43633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14709   Customer #43636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14710   Customer #43642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14711   Customer #43646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14712   Customer #43650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14713   Customer #43651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14714   Customer #43652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14715   Customer #43654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14716   Customer #43656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14717   Customer #43659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14718   Customer #43661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14719   Customer #43663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14720   Customer #43666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14721   Customer #43672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14722   Customer #43674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14723   Customer #43675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14724   Customer #43685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14725   Customer #43712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14726   Customer #43715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14727   Customer #43716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14728   Customer #43718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14729   Customer #43721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14730   Customer #43722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14731   Customer #43723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14732   Customer #43729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14733   Customer #43730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14734   Customer #43736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14735   Customer #43740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14736   Customer #43745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14737   Customer #43748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14738   Customer #43754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14739   Customer #43755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14740   Customer #43756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14741   Customer #43762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14742   Customer #43764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14743   Customer #43772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14744   Customer #43773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14745   Customer #43778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14746   Customer #43782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14747   Customer #43784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14748   Customer #43786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14749   Customer #43788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14750   Customer #43790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14751   Customer #43793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14752   Customer #43798                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14753   Customer #43800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14754   Customer #43803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14755   Customer #43804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14756   Customer #43814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14757   Customer #43817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14758   Customer #43821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14759   Customer #43822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14760   Customer #43823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14761   Customer #43825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14762   Customer #43829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14763   Customer #43830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14764   Customer #43832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14765   Customer #43845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14766   Customer #43848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14767   Customer #43849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14768   Customer #43850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14769   Customer #43851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14770   Customer #43852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14771   Customer #43857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14772   Customer #43862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14773   Customer #43864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14774   Customer #43872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14775   Customer #43873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14776   Customer #43875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14777   Customer #43892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14778   Customer #43895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14779   Customer #43897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14780   Customer #43907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14781   Customer #43913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14782   Customer #43923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14783   Customer #43927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14784   Customer #43941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14785   Customer #43946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14786   Customer #43948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14787   Customer #43949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14788   Customer #43952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14789   Customer #43954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14790   Customer #43960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14791   Customer #43966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14792   Customer #43974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14793   Customer #43977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14794   Customer #43989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14795   Customer #43990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14796   Customer #43996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14797   Customer #43997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14798   Customer #44003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14799   Customer #44017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14800   Customer #44019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14801   Customer #44025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14802   Customer #44034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14803   Customer #44035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14804   Customer #44036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14805   Customer #44038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14806   Customer #44040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14807   Customer #44046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14808   Customer #44048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14809   Customer #44050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14810   Customer #44051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14811   Customer #44066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14812   Customer #44080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14813   Customer #44083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14814   Customer #44089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14815   Customer #44090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14816   Customer #44097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14817   Customer #44122                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14818   Customer #44140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14819   Customer #44148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14820   Customer #44149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14821   Customer #44152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14822   Customer #44154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14823   Customer #44168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14824   Customer #44173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14825   Customer #44176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14826   Customer #44190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14827   Customer #44191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14828   Customer #44198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14829   Customer #44214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14830   Customer #44216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14831   Customer #44217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14832   Customer #44219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14833   Customer #44224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14834   Customer #44229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14835   Customer #44230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14836   Customer #44232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14837   Customer #44233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14838   Customer #44241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14839   Customer #44243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14840   Customer #44248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14841   Customer #44255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14842   Customer #44267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14843   Customer #44268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14844   Customer #44270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14845   Customer #44277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14846   Customer #44285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14847   Customer #44290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14848   Customer #44291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14849   Customer #44295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14850   Customer #44305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14851   Customer #44312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14852   Customer #44316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14853   Customer #44318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14854   Customer #44319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14855   Customer #44322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14856   Customer #44339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14857   Customer #44341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14858   Customer #44342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14859   Customer #44343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14860   Customer #44351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14861   Customer #44353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14862   Customer #44371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14863   Customer #44386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14864   Customer #44396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14865   Customer #44397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14866   Customer #44408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14867   Customer #44413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14868   Customer #44425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14869   Customer #44426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14870   Customer #44433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14871   Customer #44440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14872   Customer #44450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14873   Customer #44452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14874   Customer #44454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14875   Customer #44457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14876   Customer #44458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14877   Customer #44464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14878   Customer #44478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14879   Customer #44494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14880   Customer #44497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14881   Customer #44499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14882   Customer #44507                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14883   Customer #44508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14884   Customer #44509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14885   Customer #44512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14886   Customer #44513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14887   Customer #44515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14888   Customer #44518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14889   Customer #44523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14890   Customer #44529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14891   Customer #44531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14892   Customer #44532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14893   Customer #44533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14894   Customer #44534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14895   Customer #44539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14896   Customer #44540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14897   Customer #44541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14898   Customer #44542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14899   Customer #44552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14900   Customer #44554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14901   Customer #44558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14902   Customer #44560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14903   Customer #44562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14904   Customer #44583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14905   Customer #44591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14906   Customer #44593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14907   Customer #44594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14908   Customer #44595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14909   Customer #44599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14910   Customer #44604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14911   Customer #44606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14912   Customer #44611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14913   Customer #44614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14914   Customer #44617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14915   Customer #44627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14916   Customer #44628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14917   Customer #44631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14918   Customer #44633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14919   Customer #44634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14920   Customer #44637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14921   Customer #44642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14922   Customer #44645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14923   Customer #44647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14924   Customer #44654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14925   Customer #44655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14926   Customer #44663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14927   Customer #44664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14928   Customer #44668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14929   Customer #44669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14930   Customer #44673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14931   Customer #44674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14932   Customer #44675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14933   Customer #44678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14934   Customer #44683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14935   Customer #44691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14936   Customer #44697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14937   Customer #44703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14938   Customer #44713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14939   Customer #44714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14940   Customer #44716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14941   Customer #44728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14942   Customer #44729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14943   Customer #44733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14944   Customer #44754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14945   Customer #44756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14946   Customer #44757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14947   Customer #44758                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.14948   Customer #44765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14949   Customer #44766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14950   Customer #44772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14951   Customer #44775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14952   Customer #44778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14953   Customer #44785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14954   Customer #44793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14955   Customer #44795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14956   Customer #44810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14957   Customer #44812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14958   Customer #44826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14959   Customer #44841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14960   Customer #44847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14961   Customer #44851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14962   Customer #44853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14963   Customer #44858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14964   Customer #44861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14965   Customer #44877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14966   Customer #44880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14967   Customer #44884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14968   Customer #44886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14969   Customer #44890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14970   Customer #44891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14971   Customer #44900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14972   Customer #44902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14973   Customer #44905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14974   Customer #44906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14975   Customer #44910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14976   Customer #44942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14977   Customer #44943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14978   Customer #44944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14979   Customer #44944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14980   Customer #44950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14981   Customer #44953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14982   Customer #44954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14983   Customer #44956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14984   Customer #44958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14985   Customer #44961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14986   Customer #44964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14987   Customer #44971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14988   Customer #44972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14989   Customer #44973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14990   Customer #44975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14991   Customer #44980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14992   Customer #44981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14993   Customer #44983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14994   Customer #44986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14995   Customer #44991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14996   Customer #44997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14997   Customer #44998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14998   Customer #44999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.14999   Customer #45001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15000   Customer #45008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15001   Customer #45009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15002   Customer #45016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15003   Customer #45017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15004   Customer #45018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15005   Customer #45040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15006   Customer #45043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15007   Customer #45046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15008   Customer #45051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15009   Customer #45055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15010   Customer #45078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15011   Customer #45086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15012   Customer #45103                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15013   Customer #45104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15014   Customer #45107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15015   Customer #45108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15016   Customer #45110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15017   Customer #45112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15018   Customer #45133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15019   Customer #45141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15020   Customer #45143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15021   Customer #45147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15022   Customer #45164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15023   Customer #45167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15024   Customer #45173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15025   Customer #45174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15026   Customer #45216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15027   Customer #45220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15028   Customer #45224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15029   Customer #45227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15030   Customer #45245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15031   Customer #45248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15032   Customer #45254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15033   Customer #45255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15034   Customer #45256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15035   Customer #45263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15036   Customer #45264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15037   Customer #45268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15038   Customer #45272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15039   Customer #45274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15040   Customer #45279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15041   Customer #45281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15042   Customer #45291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15043   Customer #45299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15044   Customer #45317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15045   Customer #45319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15046   Customer #45321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15047   Customer #45330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15048   Customer #45331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15049   Customer #45332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15050   Customer #45335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15051   Customer #45348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15052   Customer #45351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15053   Customer #45361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15054   Customer #45362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15055   Customer #45365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15056   Customer #45366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15057   Customer #45371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15058   Customer #45374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15059   Customer #45377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15060   Customer #45379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15061   Customer #45380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15062   Customer #45381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15063   Customer #45382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15064   Customer #45383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15065   Customer #45383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15066   Customer #45386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15067   Customer #45387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15068   Customer #45400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15069   Customer #45408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15070   Customer #45412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15071   Customer #45417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15072   Customer #45420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15073   Customer #45421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15074   Customer #45425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15075   Customer #45437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15076   Customer #45439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15077   Customer #45441                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15078   Customer #45442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15079   Customer #45444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15080   Customer #45448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15081   Customer #45450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15082   Customer #45452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15083   Customer #45453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15084   Customer #45460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15085   Customer #45461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15086   Customer #45463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15087   Customer #45465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15088   Customer #45468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15089   Customer #45472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15090   Customer #45473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15091   Customer #45475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15092   Customer #45477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15093   Customer #45478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15094   Customer #45483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15095   Customer #45490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15096   Customer #45491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15097   Customer #45498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15098   Customer #45499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15099   Customer #45506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15100   Customer #45508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15101   Customer #45510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15102   Customer #45511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15103   Customer #45516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15104   Customer #45521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15105   Customer #45522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15106   Customer #45538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15107   Customer #45539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15108   Customer #45547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15109   Customer #45549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15110   Customer #45552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15111   Customer #45554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15112   Customer #45562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15113   Customer #45563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15114   Customer #45564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15115   Customer #45565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15116   Customer #45566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15117   Customer #45567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15118   Customer #45570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15119   Customer #45571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15120   Customer #45574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15121   Customer #45577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15122   Customer #45582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15123   Customer #45584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15124   Customer #45595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15125   Customer #45596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15126   Customer #45604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15127   Customer #45605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15128   Customer #45608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15129   Customer #45611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15130   Customer #45612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15131   Customer #45614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15132   Customer #45618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15133   Customer #45623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15134   Customer #45625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15135   Customer #45631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15136   Customer #45634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15137   Customer #45634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15138   Customer #45634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15139   Customer #45634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15140   Customer #45635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15141   Customer #45639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15142   Customer #45643                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15143   Customer #45644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15144   Customer #45648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15145   Customer #45652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15146   Customer #45652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15147   Customer #45653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15148   Customer #45658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15149   Customer #45665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15150   Customer #45670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15151   Customer #45672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15152   Customer #45676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15153   Customer #45677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15154   Customer #45678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15155   Customer #45684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15156   Customer #45686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15157   Customer #45697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15158   Customer #45700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15159   Customer #45703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15160   Customer #45706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15161   Customer #45724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15162   Customer #45728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15163   Customer #45729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15164   Customer #45734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15165   Customer #45735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15166   Customer #45739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15167   Customer #45743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15168   Customer #45744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15169   Customer #45745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15170   Customer #45748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15171   Customer #45752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15172   Customer #45754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15173   Customer #45770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15174   Customer #45777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15175   Customer #45778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15176   Customer #45779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15177   Customer #45793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15178   Customer #45803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15179   Customer #45813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15180   Customer #45817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15181   Customer #45819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15182   Customer #45820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15183   Customer #45822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15184   Customer #45823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15185   Customer #45827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15186   Customer #45828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15187   Customer #45831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15188   Customer #45832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15189   Customer #45834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15190   Customer #45835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15191   Customer #45837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15192   Customer #45838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15193   Customer #45844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15194   Customer #45845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15195   Customer #45846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15196   Customer #45848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15197   Customer #45849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15198   Customer #45850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15199   Customer #45853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15200   Customer #45854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15201   Customer #45855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15202   Customer #45857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15203   Customer #45864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15204   Customer #45868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15205   Customer #45869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15206   Customer #45870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15207   Customer #45878                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15208   Customer #45882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15209   Customer #45893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15210   Customer #45895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15211   Customer #45896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15212   Customer #45897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15213   Customer #45902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15214   Customer #45909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15215   Customer #45919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15216   Customer #45921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15217   Customer #45930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15218   Customer #45938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15219   Customer #45940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15220   Customer #45954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15221   Customer #45957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15222   Customer #45958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15223   Customer #45969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15224   Customer #45970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15225   Customer #45972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15226   Customer #45981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15227   Customer #45985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15228   Customer #45987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15229   Customer #45993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15230   Customer #45996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15231   Customer #46000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15232   Customer #46005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15233   Customer #46006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15234   Customer #46010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15235   Customer #46015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15236   Customer #46021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15237   Customer #46023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15238   Customer #46039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15239   Customer #46041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15240   Customer #46042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15241   Customer #46059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15242   Customer #46062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15243   Customer #46063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15244   Customer #46068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15245   Customer #46071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15246   Customer #46076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15247   Customer #46089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15248   Customer #46092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15249   Customer #46095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15250   Customer #46097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15251   Customer #46110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15252   Customer #46115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15253   Customer #46116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15254   Customer #46120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15255   Customer #46127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15256   Customer #46138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15257   Customer #46144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15258   Customer #46148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15259   Customer #46149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15260   Customer #46160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15261   Customer #46163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15262   Customer #46164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15263   Customer #46165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15264   Customer #46167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15265   Customer #46184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15266   Customer #46185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15267   Customer #46187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15268   Customer #46189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15269   Customer #46190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15270   Customer #46194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15271   Customer #46197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15272   Customer #46203                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15273   Customer #46208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15274   Customer #46209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15275   Customer #46210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15276   Customer #46222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15277   Customer #46228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15278   Customer #46231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15279   Customer #46234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15280   Customer #46239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15281   Customer #46240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15282   Customer #46240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15283   Customer #46241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15284   Customer #46242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15285   Customer #46258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15286   Customer #46261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15287   Customer #46272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15288   Customer #46273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15289   Customer #46275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15290   Customer #46277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15291   Customer #46280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15292   Customer #46284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15293   Customer #46285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15294   Customer #46286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15295   Customer #46288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15296   Customer #46289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15297   Customer #46293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15298   Customer #46294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15299   Customer #46295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15300   Customer #46296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15301   Customer #46299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15302   Customer #46304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15303   Customer #46305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15304   Customer #46312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15305   Customer #46313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15306   Customer #46315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15307   Customer #46316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15308   Customer #46319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15309   Customer #46320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15310   Customer #46322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15311   Customer #46323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15312   Customer #46327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15313   Customer #46328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15314   Customer #46331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15315   Customer #46332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15316   Customer #46333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15317   Customer #46334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15318   Customer #46336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15319   Customer #46337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15320   Customer #46345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15321   Customer #46347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15322   Customer #46348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15323   Customer #46350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15324   Customer #46351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15325   Customer #46356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15326   Customer #46359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15327   Customer #46361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15328   Customer #46362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15329   Customer #46366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15330   Customer #46367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15331   Customer #46368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15332   Customer #46380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15333   Customer #46381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15334   Customer #46382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15335   Customer #46383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15336   Customer #46385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15337   Customer #46386                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15338   Customer #46394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15339   Customer #46396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15340   Customer #46397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15341   Customer #46399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15342   Customer #46404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15343   Customer #46408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15344   Customer #46410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15345   Customer #46414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15346   Customer #46417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15347   Customer #46418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15348   Customer #46421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15349   Customer #46426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15350   Customer #46430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15351   Customer #46436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15352   Customer #46440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15353   Customer #46442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15354   Customer #46455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15355   Customer #46456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15356   Customer #46457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15357   Customer #46458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15358   Customer #46459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15359   Customer #46461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15360   Customer #46464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15361   Customer #46470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15362   Customer #46471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15363   Customer #46478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15364   Customer #46482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15365   Customer #46484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15366   Customer #46486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15367   Customer #46487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15368   Customer #46491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15369   Customer #46493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15370   Customer #46495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15371   Customer #46499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15372   Customer #46502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15373   Customer #46504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15374   Customer #46507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15375   Customer #46509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15376   Customer #46510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15377   Customer #46511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15378   Customer #46512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15379   Customer #46514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15380   Customer #46515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15381   Customer #46518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15382   Customer #46522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15383   Customer #46528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15384   Customer #46533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15385   Customer #46536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15386   Customer #46555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15387   Customer #46556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15388   Customer #46559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15389   Customer #46567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15390   Customer #46569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15391   Customer #46570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15392   Customer #46572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15393   Customer #46575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15394   Customer #46578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15395   Customer #46580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15396   Customer #46582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15397   Customer #46586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15398   Customer #46587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15399   Customer #46596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15400   Customer #46599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15401   Customer #46600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15402   Customer #46605                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15403   Customer #46612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15404   Customer #46613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15405   Customer #46614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15406   Customer #46616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15407   Customer #46616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15408   Customer #46617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15409   Customer #46618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15410   Customer #46619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15411   Customer #46630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15412   Customer #46635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15413   Customer #46636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15414   Customer #46637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15415   Customer #46640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15416   Customer #46646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15417   Customer #46648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15418   Customer #46653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15419   Customer #46655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15420   Customer #46656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15421   Customer #46657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15422   Customer #46658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15423   Customer #46660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15424   Customer #46662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15425   Customer #46664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15426   Customer #46665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15427   Customer #46667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15428   Customer #46680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15429   Customer #46687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15430   Customer #46688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15431   Customer #46689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15432   Customer #46698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15433   Customer #46700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15434   Customer #46720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15435   Customer #46727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15436   Customer #46730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15437   Customer #46731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15438   Customer #46733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15439   Customer #46735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15440   Customer #46736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15441   Customer #46737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15442   Customer #46745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15443   Customer #46749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15444   Customer #46750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15445   Customer #46752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15446   Customer #46753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15447   Customer #46755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15448   Customer #46757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15449   Customer #46758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15450   Customer #46760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15451   Customer #46763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15452   Customer #46764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15453   Customer #46780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15454   Customer #46786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15455   Customer #46788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15456   Customer #46788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15457   Customer #46796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15458   Customer #46800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15459   Customer #46802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15460   Customer #46802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15461   Customer #46804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15462   Customer #46814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15463   Customer #46815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15464   Customer #46819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15465   Customer #46820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15466   Customer #46822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15467   Customer #46825                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15468   Customer #46829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15469   Customer #46831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15470   Customer #46832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15471   Customer #46836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15472   Customer #46838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15473   Customer #46849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15474   Customer #46853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15475   Customer #46854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15476   Customer #46858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15477   Customer #46869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15478   Customer #46879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15479   Customer #46881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15480   Customer #46885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15481   Customer #46890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15482   Customer #46891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15483   Customer #46896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15484   Customer #46898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15485   Customer #46899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15486   Customer #46900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15487   Customer #46914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15488   Customer #46916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15489   Customer #46917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15490   Customer #46918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15491   Customer #46921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15492   Customer #46922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15493   Customer #46923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15494   Customer #46926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15495   Customer #46928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15496   Customer #46933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15497   Customer #46942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15498   Customer #46944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15499   Customer #46944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15500   Customer #46945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15501   Customer #46948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15502   Customer #46950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15503   Customer #46954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15504   Customer #46956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15505   Customer #46962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15506   Customer #46965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15507   Customer #46971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15508   Customer #46973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15509   Customer #46976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15510   Customer #46981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15511   Customer #46981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15512   Customer #46984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15513   Customer #46986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15514   Customer #46987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15515   Customer #46990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15516   Customer #46997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15517   Customer #47008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15518   Customer #47021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15519   Customer #47026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15520   Customer #47029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15521   Customer #47032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15522   Customer #47041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15523   Customer #47047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15524   Customer #47048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15525   Customer #47050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15526   Customer #47052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15527   Customer #47069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15528   Customer #47070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15529   Customer #47071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15530   Customer #47072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15531   Customer #47079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15532   Customer #47086                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15533   Customer #47087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15534   Customer #47088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15535   Customer #47089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15536   Customer #47098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15537   Customer #47109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15538   Customer #47114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15539   Customer #47117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15540   Customer #47118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15541   Customer #47120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15542   Customer #47131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15543   Customer #47132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15544   Customer #47135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15545   Customer #47140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15546   Customer #47141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15547   Customer #47149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15548   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15549   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15550   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15551   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15552   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15553   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15554   Customer #47156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15555   Customer #47165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15556   Customer #47168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15557   Customer #47172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15558   Customer #47173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15559   Customer #47177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15560   Customer #47180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15561   Customer #47185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15562   Customer #47188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15563   Customer #47189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15564   Customer #47198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15565   Customer #47199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15566   Customer #47201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15567   Customer #47204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15568   Customer #47205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15569   Customer #47206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15570   Customer #47208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15571   Customer #47213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15572   Customer #47214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15573   Customer #47217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15574   Customer #47225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15575   Customer #47226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15576   Customer #47229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15577   Customer #47240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15578   Customer #47244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15579   Customer #47248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15580   Customer #47250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15581   Customer #47256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15582   Customer #47270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15583   Customer #47284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15584   Customer #47289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15585   Customer #47292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15586   Customer #47293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15587   Customer #47295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15588   Customer #47296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15589   Customer #47299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15590   Customer #47304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15591   Customer #47307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15592   Customer #47308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15593   Customer #47309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15594   Customer #47310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15595   Customer #47312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15596   Customer #47313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15597   Customer #47315                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15598   Customer #47318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15599   Customer #47320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15600   Customer #47321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15601   Customer #47323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15602   Customer #47326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15603   Customer #47327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15604   Customer #47329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15605   Customer #47338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15606   Customer #47339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15607   Customer #47341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15608   Customer #47342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15609   Customer #47346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15610   Customer #47347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15611   Customer #47353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15612   Customer #47354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15613   Customer #47355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15614   Customer #47356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15615   Customer #47357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15616   Customer #47359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15617   Customer #47363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15618   Customer #47372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15619   Customer #47383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15620   Customer #47384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15621   Customer #47385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15622   Customer #47391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15623   Customer #47395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15624   Customer #47401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15625   Customer #47402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15626   Customer #47403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15627   Customer #47404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15628   Customer #47407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15629   Customer #47413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15630   Customer #47417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15631   Customer #47419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15632   Customer #47423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15633   Customer #47430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15634   Customer #47432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15635   Customer #47433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15636   Customer #47435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15637   Customer #47442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15638   Customer #47443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15639   Customer #47444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15640   Customer #47445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15641   Customer #47475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15642   Customer #47482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15643   Customer #47488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15644   Customer #47489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15645   Customer #47492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15646   Customer #47495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15647   Customer #47496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15648   Customer #47497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15649   Customer #47505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15650   Customer #47526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15651   Customer #47529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15652   Customer #47531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15653   Customer #47536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15654   Customer #47538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15655   Customer #47543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15656   Customer #47544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15657   Customer #47552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15658   Customer #47553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15659   Customer #47555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15660   Customer #47557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15661   Customer #47561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15662   Customer #47562                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15663   Customer #47563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15664   Customer #47564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15665   Customer #47567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15666   Customer #47569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15667   Customer #47572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15668   Customer #47574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15669   Customer #47576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15670   Customer #47577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15671   Customer #47583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15672   Customer #47587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15673   Customer #47588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15674   Customer #47589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15675   Customer #47590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15676   Customer #47592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15677   Customer #47593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15678   Customer #47596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15679   Customer #47603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15680   Customer #47604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15681   Customer #47606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15682   Customer #47607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15683   Customer #47611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15684   Customer #47613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15685   Customer #47614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15686   Customer #47616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15687   Customer #47617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15688   Customer #47618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15689   Customer #47619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15690   Customer #47620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15691   Customer #47623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15692   Customer #47632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15693   Customer #47639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15694   Customer #47640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15695   Customer #47643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15696   Customer #47647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15697   Customer #47648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15698   Customer #47649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15699   Customer #47653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15700   Customer #47654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15701   Customer #47664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15702   Customer #47665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15703   Customer #47669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15704   Customer #47672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15705   Customer #47679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15706   Customer #47682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15707   Customer #47686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15708   Customer #47704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15709   Customer #47707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15710   Customer #47715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15711   Customer #47718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15712   Customer #47724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15713   Customer #47730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15714   Customer #47733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15715   Customer #47739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15716   Customer #47741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15717   Customer #47745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15718   Customer #47753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15719   Customer #47754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15720   Customer #47755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15721   Customer #47765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15722   Customer #47771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15723   Customer #47773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15724   Customer #47779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15725   Customer #47804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15726   Customer #47805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15727   Customer #47807                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15728   Customer #47830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15729   Customer #47835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15730   Customer #47839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15731   Customer #47843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15732   Customer #47847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15733   Customer #47849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15734   Customer #47850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15735   Customer #47851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15736   Customer #47856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15737   Customer #47857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15738   Customer #47860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15739   Customer #47862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15740   Customer #47866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15741   Customer #47871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15742   Customer #47875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15743   Customer #47876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15744   Customer #47877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15745   Customer #47888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15746   Customer #47899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15747   Customer #47900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15748   Customer #47902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15749   Customer #47905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15750   Customer #47923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15751   Customer #47929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15752   Customer #47938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15753   Customer #47942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15754   Customer #47948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15755   Customer #47950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15756   Customer #47952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15757   Customer #47958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15758   Customer #47960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15759   Customer #47962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15760   Customer #47963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15761   Customer #47966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15762   Customer #47967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15763   Customer #47974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15764   Customer #47977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15765   Customer #47980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15766   Customer #47981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15767   Customer #47986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15768   Customer #47995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15769   Customer #47996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15770   Customer #47997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15771   Customer #47998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15772   Customer #47999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15773   Customer #48000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15774   Customer #48001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15775   Customer #48004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15776   Customer #48006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15777   Customer #48009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15778   Customer #48012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15779   Customer #48015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15780   Customer #48016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15781   Customer #48017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15782   Customer #48023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15783   Customer #48031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15784   Customer #48036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15785   Customer #48037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15786   Customer #48041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15787   Customer #48045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15788   Customer #48048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15789   Customer #48049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15790   Customer #48051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15791   Customer #48055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15792   Customer #48063                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15793   Customer #48065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15794   Customer #48066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15795   Customer #48073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15796   Customer #48074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15797   Customer #48075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15798   Customer #48083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15799   Customer #48084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15800   Customer #48090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15801   Customer #48104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15802   Customer #48111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15803   Customer #48120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15804   Customer #48124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15805   Customer #48125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15806   Customer #48131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15807   Customer #48134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15808   Customer #48155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15809   Customer #48158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15810   Customer #48159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15811   Customer #48160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15812   Customer #48161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15813   Customer #48165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15814   Customer #48168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15815   Customer #48173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15816   Customer #48176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15817   Customer #48179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15818   Customer #48180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15819   Customer #48181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15820   Customer #48185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15821   Customer #48186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15822   Customer #48190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15823   Customer #48193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15824   Customer #48197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15825   Customer #48204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15826   Customer #48205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15827   Customer #48207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15828   Customer #48209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15829   Customer #48217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15830   Customer #48218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15831   Customer #48222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15832   Customer #48223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15833   Customer #48226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15834   Customer #48228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15835   Customer #48234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15836   Customer #48241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15837   Customer #48251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15838   Customer #48253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15839   Customer #48256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15840   Customer #48257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15841   Customer #48259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15842   Customer #48264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15843   Customer #48270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15844   Customer #48271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15845   Customer #48272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15846   Customer #48273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15847   Customer #48274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15848   Customer #48279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15849   Customer #48281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15850   Customer #48286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15851   Customer #48293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15852   Customer #48294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15853   Customer #48295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15854   Customer #48297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15855   Customer #48298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15856   Customer #48300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15857   Customer #48315                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15858   Customer #48316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15859   Customer #48322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15860   Customer #48327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15861   Customer #48329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15862   Customer #48330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15863   Customer #48334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15864   Customer #48335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15865   Customer #48338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15866   Customer #48342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15867   Customer #48347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15868   Customer #48358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15869   Customer #48361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15870   Customer #48364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15871   Customer #48365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15872   Customer #48370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15873   Customer #48383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15874   Customer #48387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15875   Customer #48399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15876   Customer #48401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15877   Customer #48414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15878   Customer #48415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15879   Customer #48419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15880   Customer #48432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15881   Customer #48433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15882   Customer #48436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15883   Customer #48437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15884   Customer #48443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15885   Customer #48446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15886   Customer #48449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15887   Customer #48450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15888   Customer #48452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15889   Customer #48453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15890   Customer #48457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15891   Customer #48458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15892   Customer #48463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15893   Customer #48465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15894   Customer #48468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15895   Customer #48470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15896   Customer #48473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15897   Customer #48479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15898   Customer #48481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15899   Customer #48482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15900   Customer #48486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15901   Customer #48491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15902   Customer #48496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15903   Customer #48497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15904   Customer #48502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15905   Customer #48509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15906   Customer #48512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15907   Customer #48513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15908   Customer #48516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15909   Customer #48517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15910   Customer #48519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15911   Customer #48523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15912   Customer #48525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15913   Customer #48526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15914   Customer #48535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15915   Customer #48539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15916   Customer #48540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15917   Customer #48544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15918   Customer #48549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15919   Customer #48551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15920   Customer #48553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15921   Customer #48556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15922   Customer #48561                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15923   Customer #48572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15924   Customer #48573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15925   Customer #48577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15926   Customer #48580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15927   Customer #48586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15928   Customer #48597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15929   Customer #48599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15930   Customer #48613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15931   Customer #48619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15932   Customer #48620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15933   Customer #48621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15934   Customer #48634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15935   Customer #48656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15936   Customer #48661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15937   Customer #48662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15938   Customer #48668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15939   Customer #48669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15940   Customer #48675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15941   Customer #48678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15942   Customer #48681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15943   Customer #48685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15944   Customer #48686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15945   Customer #48687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15946   Customer #48688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15947   Customer #48693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15948   Customer #48694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15949   Customer #48695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15950   Customer #48697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15951   Customer #48702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15952   Customer #48704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15953   Customer #48706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15954   Customer #48707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15955   Customer #48709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15956   Customer #48713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15957   Customer #48718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15958   Customer #48719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15959   Customer #48727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15960   Customer #48735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15961   Customer #48740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15962   Customer #48747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15963   Customer #48752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15964   Customer #48755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15965   Customer #48756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15966   Customer #48760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15967   Customer #48764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15968   Customer #48767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15969   Customer #48768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15970   Customer #48773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15971   Customer #48774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15972   Customer #48778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15973   Customer #48779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15974   Customer #48793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15975   Customer #48801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15976   Customer #48802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15977   Customer #48803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15978   Customer #48809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15979   Customer #48815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15980   Customer #48822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15981   Customer #48825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15982   Customer #48834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15983   Customer #48835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15984   Customer #48842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15985   Customer #48845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15986   Customer #48846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15987   Customer #48850                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.15988   Customer #48851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15989   Customer #48854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15990   Customer #48856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15991   Customer #48867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15992   Customer #48868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15993   Customer #48870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15994   Customer #48872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15995   Customer #48873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15996   Customer #48875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15997   Customer #48876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15998   Customer #48876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.15999   Customer #48877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16000   Customer #48886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16001   Customer #48899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16002   Customer #48900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16003   Customer #48919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16004   Customer #48929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16005   Customer #48931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16006   Customer #48953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16007   Customer #48957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16008   Customer #48962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16009   Customer #48963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16010   Customer #48964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16011   Customer #48968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16012   Customer #48981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16013   Customer #48982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16014   Customer #48986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16015   Customer #48988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16016   Customer #48989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16017   Customer #48990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16018   Customer #48998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16019   Customer #49004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16020   Customer #49005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16021   Customer #49024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16022   Customer #49028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16023   Customer #49029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16024   Customer #49032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16025   Customer #49033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16026   Customer #49046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16027   Customer #49048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16028   Customer #49049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16029   Customer #49050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16030   Customer #49051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16031   Customer #49052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16032   Customer #49055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16033   Customer #49061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16034   Customer #49066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16035   Customer #49067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16036   Customer #49069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16037   Customer #49073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16038   Customer #49074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16039   Customer #49075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16040   Customer #49077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16041   Customer #49082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16042   Customer #49086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16043   Customer #49087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16044   Customer #49091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16045   Customer #49094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16046   Customer #49098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16047   Customer #49099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16048   Customer #49100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16049   Customer #49107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16050   Customer #49116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16051   Customer #49117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16052   Customer #49121                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16053   Customer #49122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16054   Customer #49128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16055   Customer #49149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16056   Customer #49151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16057   Customer #49163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16058   Customer #49164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16059   Customer #49172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16060   Customer #49174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16061   Customer #49181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16062   Customer #49185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16063   Customer #49202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16064   Customer #49215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16065   Customer #49220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16066   Customer #49224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16067   Customer #49226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16068   Customer #49230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16069   Customer #49234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16070   Customer #49236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16071   Customer #49253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16072   Customer #49261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16073   Customer #49264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16074   Customer #49274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16075   Customer #49281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16076   Customer #49289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16077   Customer #49292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16078   Customer #49297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16079   Customer #49302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16080   Customer #49306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16081   Customer #49314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16082   Customer #49320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16083   Customer #49322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16084   Customer #49323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16085   Customer #49337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16086   Customer #49339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16087   Customer #49340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16088   Customer #49341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16089   Customer #49351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16090   Customer #49359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16091   Customer #49360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16092   Customer #49380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16093   Customer #49384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16094   Customer #49411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16095   Customer #49412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16096   Customer #49413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16097   Customer #49418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16098   Customer #49419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16099   Customer #49423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16100   Customer #49433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16101   Customer #49437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16102   Customer #49443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16103   Customer #49444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16104   Customer #49447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16105   Customer #49448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16106   Customer #49449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16107   Customer #49450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16108   Customer #49451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16109   Customer #49456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16110   Customer #49472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16111   Customer #49477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16112   Customer #49485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16113   Customer #49489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16114   Customer #49494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16115   Customer #49498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16116   Customer #49509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16117   Customer #49510                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16118   Customer #49511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16119   Customer #49512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16120   Customer #49516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16121   Customer #49517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16122   Customer #49525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16123   Customer #49532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16124   Customer #49539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16125   Customer #49540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16126   Customer #49541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16127   Customer #49543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16128   Customer #49544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16129   Customer #49549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16130   Customer #49554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16131   Customer #49557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16132   Customer #49564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16133   Customer #49565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16134   Customer #49573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16135   Customer #49574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16136   Customer #49575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16137   Customer #49584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16138   Customer #49604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16139   Customer #49606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16140   Customer #49608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16141   Customer #49610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16142   Customer #49612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16143   Customer #49616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16144   Customer #49619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16145   Customer #49621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16146   Customer #49624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16147   Customer #49629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16148   Customer #49635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16149   Customer #49636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16150   Customer #49637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16151   Customer #49638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16152   Customer #49639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16153   Customer #49641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16154   Customer #49644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16155   Customer #49645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16156   Customer #49649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16157   Customer #49650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16158   Customer #49653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16159   Customer #49659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16160   Customer #49669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16161   Customer #49684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16162   Customer #49687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16163   Customer #49691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16164   Customer #49693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16165   Customer #49696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16166   Customer #49704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16167   Customer #49709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16168   Customer #49714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16169   Customer #49730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16170   Customer #49734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16171   Customer #49738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16172   Customer #49742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16173   Customer #49745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16174   Customer #49748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16175   Customer #49751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16176   Customer #49752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16177   Customer #49754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16178   Customer #49758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16179   Customer #49759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16180   Customer #49760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16181   Customer #49761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16182   Customer #49762                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16183   Customer #49765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16184   Customer #49766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16185   Customer #49768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16186   Customer #49771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16187   Customer #49772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16188   Customer #49783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16189   Customer #49785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16190   Customer #49787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16191   Customer #49814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16192   Customer #49817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16193   Customer #49820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16194   Customer #49821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16195   Customer #49823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16196   Customer #49824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16197   Customer #49827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16198   Customer #49829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16199   Customer #49830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16200   Customer #49834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16201   Customer #49838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16202   Customer #49839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16203   Customer #49843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16204   Customer #49844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16205   Customer #49851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16206   Customer #49853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16207   Customer #49854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16208   Customer #49859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16209   Customer #49860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16210   Customer #49870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16211   Customer #49871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16212   Customer #49873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16213   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16214   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16215   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16216   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16217   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16218   Customer #49874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16219   Customer #49880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16220   Customer #49888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16221   Customer #49889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16222   Customer #49892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16223   Customer #49893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16224   Customer #49894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16225   Customer #49896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16226   Customer #49897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16227   Customer #49898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16228   Customer #49899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16229   Customer #49900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16230   Customer #49903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16231   Customer #49906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16232   Customer #49910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16233   Customer #49912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16234   Customer #49913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16235   Customer #49914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16236   Customer #49915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16237   Customer #49917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16238   Customer #49929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16239   Customer #49934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16240   Customer #49943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16241   Customer #49944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16242   Customer #49947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16243   Customer #49948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16244   Customer #49954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16245   Customer #49955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16246   Customer #49956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16247   Customer #49961                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16248   Customer #49967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16249   Customer #49969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16250   Customer #49970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16251   Customer #49971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16252   Customer #49974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16253   Customer #49976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16254   Customer #49978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16255   Customer #49981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16256   Customer #49987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16257   Customer #49990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16258   Customer #49991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16259   Customer #49992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16260   Customer #49997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16261   Customer #50000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16262   Customer #50001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16263   Customer #50002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16264   Customer #50005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16265   Customer #50014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16266   Customer #50015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16267   Customer #50027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16268   Customer #50028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16269   Customer #50029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16270   Customer #50030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16271   Customer #50034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16272   Customer #50041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16273   Customer #50043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16274   Customer #50048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16275   Customer #50049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16276   Customer #50060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16277   Customer #50072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16278   Customer #50073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16279   Customer #50074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16280   Customer #50079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16281   Customer #50132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16282   Customer #50133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16283   Customer #50135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16284   Customer #50138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16285   Customer #50140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16286   Customer #50141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16287   Customer #50143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16288   Customer #50145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16289   Customer #50147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16290   Customer #50153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16291   Customer #50154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16292   Customer #50156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16293   Customer #50157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16294   Customer #50159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16295   Customer #50161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16296   Customer #50163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16297   Customer #50164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16298   Customer #50171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16299   Customer #50178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16300   Customer #50180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16301   Customer #50183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16302   Customer #50184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16303   Customer #50185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16304   Customer #50187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16305   Customer #50194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16306   Customer #50196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16307   Customer #50199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16308   Customer #50200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16309   Customer #50201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16310   Customer #50206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16311   Customer #50211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16312   Customer #50216                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16313   Customer #50220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16314   Customer #50226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16315   Customer #50227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16316   Customer #50232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16317   Customer #50235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16318   Customer #50241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16319   Customer #50243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16320   Customer #50255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16321   Customer #50256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16322   Customer #50258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16323   Customer #50259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16324   Customer #50265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16325   Customer #50270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16326   Customer #50274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16327   Customer #50276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16328   Customer #50277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16329   Customer #50280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16330   Customer #50281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16331   Customer #50282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16332   Customer #50283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16333   Customer #50285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16334   Customer #50292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16335   Customer #50293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16336   Customer #50301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16337   Customer #50304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16338   Customer #50306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16339   Customer #50316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16340   Customer #50317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16341   Customer #50319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16342   Customer #50320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16343   Customer #50349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16344   Customer #50366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16345   Customer #50370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16346   Customer #50371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16347   Customer #50389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16348   Customer #50392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16349   Customer #50395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16350   Customer #50406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16351   Customer #50412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16352   Customer #50414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16353   Customer #50426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16354   Customer #50431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16355   Customer #50433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16356   Customer #50435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16357   Customer #50438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16358   Customer #50439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16359   Customer #50441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16360   Customer #50443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16361   Customer #50453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16362   Customer #50454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16363   Customer #50460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16364   Customer #50461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16365   Customer #50465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16366   Customer #50467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16367   Customer #50476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16368   Customer #50477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16369   Customer #50483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16370   Customer #50485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16371   Customer #50486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16372   Customer #50487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16373   Customer #50488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16374   Customer #50491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16375   Customer #50516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16376   Customer #50527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16377   Customer #50528                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16378   Customer #50530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16379   Customer #50532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16380   Customer #50533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16381   Customer #50535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16382   Customer #50539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16383   Customer #50540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16384   Customer #50548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16385   Customer #50549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16386   Customer #50558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16387   Customer #50559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16388   Customer #50569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16389   Customer #50570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16390   Customer #50571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16391   Customer #50583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16392   Customer #50587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16393   Customer #50588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16394   Customer #50589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16395   Customer #50590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16396   Customer #50591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16397   Customer #50597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16398   Customer #50603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16399   Customer #50605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16400   Customer #50607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16401   Customer #50611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16402   Customer #50612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16403   Customer #50615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16404   Customer #50616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16405   Customer #50627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16406   Customer #50628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16407   Customer #50629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16408   Customer #50630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16409   Customer #50632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16410   Customer #50641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16411   Customer #50643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16412   Customer #50644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16413   Customer #50654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16414   Customer #50657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16415   Customer #50664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16416   Customer #50669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16417   Customer #50671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16418   Customer #50673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16419   Customer #50677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16420   Customer #50693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16421   Customer #50694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16422   Customer #50695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16423   Customer #50696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16424   Customer #50699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16425   Customer #50708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16426   Customer #50710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16427   Customer #50712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16428   Customer #50713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16429   Customer #50715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16430   Customer #50719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16431   Customer #50719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16432   Customer #50723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16433   Customer #50723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16434   Customer #50727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16435   Customer #50732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16436   Customer #50743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16437   Customer #50746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16438   Customer #50747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16439   Customer #50749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16440   Customer #50750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16441   Customer #50754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16442   Customer #50760                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16443   Customer #50763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16444   Customer #50763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16445   Customer #50768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16446   Customer #50771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16447   Customer #50772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16448   Customer #50773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16449   Customer #50779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16450   Customer #50780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16451   Customer #50781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16452   Customer #50783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16453   Customer #50789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16454   Customer #50794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16455   Customer #50803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16456   Customer #50805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16457   Customer #50806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16458   Customer #50807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16459   Customer #50808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16460   Customer #50812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16461   Customer #50813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16462   Customer #50816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16463   Customer #50824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16464   Customer #50830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16465   Customer #50831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16466   Customer #50835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16467   Customer #50839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16468   Customer #50845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16469   Customer #50851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16470   Customer #50853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16471   Customer #50857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16472   Customer #50863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16473   Customer #50865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16474   Customer #50878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16475   Customer #50880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16476   Customer #50893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16477   Customer #50895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16478   Customer #50896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16479   Customer #50899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16480   Customer #50908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16481   Customer #50909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16482   Customer #50911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16483   Customer #50914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16484   Customer #50929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16485   Customer #51025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16486   Customer #51029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16487   Customer #51031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16488   Customer #51036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16489   Customer #51038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16490   Customer #51044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16491   Customer #51048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16492   Customer #51049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16493   Customer #51055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16494   Customer #51056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16495   Customer #51060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16496   Customer #51061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16497   Customer #51063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16498   Customer #51068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16499   Customer #51069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16500   Customer #51070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16501   Customer #51071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16502   Customer #51073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16503   Customer #51076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16504   Customer #51101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16505   Customer #51102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16506   Customer #51108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16507   Customer #51113                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16508   Customer #51114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16509   Customer #51115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16510   Customer #51118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16511   Customer #51128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16512   Customer #51129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16513   Customer #51130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16514   Customer #51133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16515   Customer #51137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16516   Customer #51140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16517   Customer #51142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16518   Customer #51149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16519   Customer #51160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16520   Customer #51162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16521   Customer #51163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16522   Customer #51168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16523   Customer #51181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16524   Customer #51192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16525   Customer #51193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16526   Customer #51210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16527   Customer #51211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16528   Customer #51215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16529   Customer #51217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16530   Customer #51221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16531   Customer #51222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16532   Customer #51232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16533   Customer #51233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16534   Customer #51253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16535   Customer #51278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16536   Customer #51298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16537   Customer #51300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16538   Customer #51301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16539   Customer #51304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16540   Customer #51307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16541   Customer #51308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16542   Customer #51310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16543   Customer #51312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16544   Customer #51317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16545   Customer #51320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16546   Customer #51321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16547   Customer #51324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16548   Customer #51330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16549   Customer #51331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16550   Customer #51336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16551   Customer #51340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16552   Customer #51341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16553   Customer #51342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16554   Customer #51343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16555   Customer #51344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16556   Customer #51345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16557   Customer #51353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16558   Customer #51360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16559   Customer #51364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16560   Customer #51367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16561   Customer #51369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16562   Customer #51379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16563   Customer #51390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16564   Customer #51402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16565   Customer #51418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16566   Customer #51421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16567   Customer #51427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16568   Customer #51429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16569   Customer #51430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16570   Customer #51432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16571   Customer #51435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16572   Customer #51437                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16573   Customer #51440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16574   Customer #51443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16575   Customer #51445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16576   Customer #51446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16577   Customer #51447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16578   Customer #51448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16579   Customer #51449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16580   Customer #51454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16581   Customer #51455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16582   Customer #51456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16583   Customer #51457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16584   Customer #51464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16585   Customer #51465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16586   Customer #51468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16587   Customer #51470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16588   Customer #51472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16589   Customer #51474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16590   Customer #51481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16591   Customer #51482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16592   Customer #51486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16593   Customer #51487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16594   Customer #51489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16595   Customer #51498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16596   Customer #51500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16597   Customer #51501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16598   Customer #51503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16599   Customer #51505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16600   Customer #51506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16601   Customer #51511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16602   Customer #51512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16603   Customer #51515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16604   Customer #51516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16605   Customer #51525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16606   Customer #51527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16607   Customer #51528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16608   Customer #51530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16609   Customer #51532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16610   Customer #51534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16611   Customer #51535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16612   Customer #51537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16613   Customer #51540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16614   Customer #51541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16615   Customer #51547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16616   Customer #51548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16617   Customer #51549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16618   Customer #51554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16619   Customer #51561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16620   Customer #51570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16621   Customer #51574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16622   Customer #51576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16623   Customer #51580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16624   Customer #51587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16625   Customer #51588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16626   Customer #51590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16627   Customer #51591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16628   Customer #51592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16629   Customer #51593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16630   Customer #51604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16631   Customer #51606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16632   Customer #51609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16633   Customer #51610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16634   Customer #51611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16635   Customer #51612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16636   Customer #51613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16637   Customer #51614                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16638   Customer #51615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16639   Customer #51619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16640   Customer #51636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16641   Customer #51641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16642   Customer #51642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16643   Customer #51644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16644   Customer #51645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16645   Customer #51646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16646   Customer #51659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16647   Customer #51661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16648   Customer #51662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16649   Customer #51664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16650   Customer #51667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16651   Customer #51678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16652   Customer #51679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16653   Customer #51680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16654   Customer #51688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16655   Customer #51690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16656   Customer #51691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16657   Customer #51692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16658   Customer #51694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16659   Customer #51699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16660   Customer #51701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16661   Customer #51719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16662   Customer #51722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16663   Customer #51735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16664   Customer #51748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16665   Customer #51750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16666   Customer #51751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16667   Customer #51752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16668   Customer #51756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16669   Customer #51757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16670   Customer #51774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16671   Customer #51777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16672   Customer #51778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16673   Customer #51779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16674   Customer #51783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16675   Customer #51785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16676   Customer #51794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16677   Customer #51795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16678   Customer #51806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16679   Customer #51811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16680   Customer #51812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16681   Customer #51815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16682   Customer #51816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16683   Customer #51818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16684   Customer #51821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16685   Customer #51824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16686   Customer #51828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16687   Customer #51829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16688   Customer #51830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16689   Customer #51831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16690   Customer #51832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16691   Customer #51840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16692   Customer #51843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16693   Customer #51847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16694   Customer #51850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16695   Customer #51852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16696   Customer #51854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16697   Customer #51858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16698   Customer #51863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16699   Customer #51883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16700   Customer #51887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16701   Customer #51892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16702   Customer #51895                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16703   Customer #51896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16704   Customer #51900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16705   Customer #51901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16706   Customer #51902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16707   Customer #51903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16708   Customer #51905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16709   Customer #51908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16710   Customer #51912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16711   Customer #51914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16712   Customer #51915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16713   Customer #51922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16714   Customer #51923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16715   Customer #51929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16716   Customer #51930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16717   Customer #51937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16718   Customer #51942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16719   Customer #51947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16720   Customer #51951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16721   Customer #51956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16722   Customer #51958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16723   Customer #51966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16724   Customer #51967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16725   Customer #51968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16726   Customer #51970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16727   Customer #51973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16728   Customer #51974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16729   Customer #51977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16730   Customer #51978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16731   Customer #51979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16732   Customer #51985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16733   Customer #51986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16734   Customer #51991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16735   Customer #51993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16736   Customer #51996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16737   Customer #51997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16738   Customer #52006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16739   Customer #52011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16740   Customer #52012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16741   Customer #52015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16742   Customer #52019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16743   Customer #52021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16744   Customer #52038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16745   Customer #52047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16746   Customer #52057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16747   Customer #52078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16748   Customer #52083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16749   Customer #52087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16750   Customer #52088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16751   Customer #52089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16752   Customer #52091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16753   Customer #52095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16754   Customer #52099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16755   Customer #52103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16756   Customer #52105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16757   Customer #52109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16758   Customer #52110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16759   Customer #52119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16760   Customer #52121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16761   Customer #52123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16762   Customer #52128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16763   Customer #52130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16764   Customer #52131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16765   Customer #52132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16766   Customer #52139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16767   Customer #52144                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16768   Customer #52146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16769   Customer #52149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16770   Customer #52156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16771   Customer #52157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16772   Customer #52159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16773   Customer #52160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16774   Customer #52169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16775   Customer #52176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16776   Customer #52184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16777   Customer #52189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16778   Customer #52191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16779   Customer #52195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16780   Customer #52201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16781   Customer #52203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16782   Customer #52207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16783   Customer #52208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16784   Customer #52209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16785   Customer #52210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16786   Customer #52212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16787   Customer #52213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16788   Customer #52214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16789   Customer #52218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16790   Customer #52225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16791   Customer #52227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16792   Customer #52228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16793   Customer #52230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16794   Customer #52237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16795   Customer #52242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16796   Customer #52244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16797   Customer #52245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16798   Customer #52257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16799   Customer #52260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16800   Customer #52267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16801   Customer #52271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16802   Customer #52276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16803   Customer #52278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16804   Customer #52280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16805   Customer #52293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16806   Customer #52296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16807   Customer #52298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16808   Customer #52300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16809   Customer #52312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16810   Customer #52321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16811   Customer #52324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16812   Customer #52332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16813   Customer #52353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16814   Customer #52363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16815   Customer #52365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16816   Customer #52368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16817   Customer #52370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16818   Customer #52374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16819   Customer #52378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16820   Customer #52379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16821   Customer #52381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16822   Customer #52386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16823   Customer #52387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16824   Customer #52400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16825   Customer #52403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16826   Customer #52404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16827   Customer #52405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16828   Customer #52406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16829   Customer #52431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16830   Customer #52432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16831   Customer #52441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16832   Customer #52442                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16833   Customer #52451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16834   Customer #52463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16835   Customer #52464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16836   Customer #52478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16837   Customer #52481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16838   Customer #52491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16839   Customer #52502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16840   Customer #52508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16841   Customer #52513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16842   Customer #52514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16843   Customer #52523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16844   Customer #52526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16845   Customer #52527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16846   Customer #52530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16847   Customer #52532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16848   Customer #52535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16849   Customer #52545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16850   Customer #52547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16851   Customer #52550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16852   Customer #52561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16853   Customer #52564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16854   Customer #52578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16855   Customer #52582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16856   Customer #52583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16857   Customer #52588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16858   Customer #52589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16859   Customer #52592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16860   Customer #52597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16861   Customer #52598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16862   Customer #52599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16863   Customer #52601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16864   Customer #52608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16865   Customer #52609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16866   Customer #52610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16867   Customer #52614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16868   Customer #52615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16869   Customer #52617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16870   Customer #52618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16871   Customer #52620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16872   Customer #52625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16873   Customer #52626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16874   Customer #52629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16875   Customer #52636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16876   Customer #52638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16877   Customer #52639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16878   Customer #52643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16879   Customer #52651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16880   Customer #52660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16881   Customer #52663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16882   Customer #52664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16883   Customer #52666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16884   Customer #52667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16885   Customer #52668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16886   Customer #52672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16887   Customer #52673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16888   Customer #52675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16889   Customer #52681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16890   Customer #52684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16891   Customer #52692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16892   Customer #52694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16893   Customer #52698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16894   Customer #52700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16895   Customer #52705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16896   Customer #52708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16897   Customer #52715                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16898   Customer #52721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16899   Customer #52727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16900   Customer #52729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16901   Customer #52730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16902   Customer #52731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16903   Customer #52732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16904   Customer #52734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16905   Customer #52737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16906   Customer #52743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16907   Customer #52747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16908   Customer #52771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16909   Customer #52798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16910   Customer #52814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16911   Customer #52832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16912   Customer #52844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16913   Customer #52848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16914   Customer #52862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16915   Customer #52865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16916   Customer #52868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16917   Customer #52870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16918   Customer #52874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16919   Customer #52876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16920   Customer #52879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16921   Customer #52896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16922   Customer #52915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16923   Customer #52922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16924   Customer #52923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16925   Customer #52932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16926   Customer #52935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16927   Customer #52937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16928   Customer #52945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16929   Customer #52952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16930   Customer #52960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16931   Customer #52964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16932   Customer #52967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16933   Customer #52968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16934   Customer #52969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16935   Customer #52970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16936   Customer #52971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16937   Customer #52973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16938   Customer #52974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16939   Customer #52977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16940   Customer #52978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16941   Customer #52981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16942   Customer #52985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16943   Customer #52988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16944   Customer #52991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16945   Customer #52991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16946   Customer #52993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16947   Customer #52996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16948   Customer #52998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16949   Customer #53006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16950   Customer #53008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16951   Customer #53019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16952   Customer #53022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16953   Customer #53025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16954   Customer #53037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16955   Customer #53039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16956   Customer #53055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16957   Customer #53057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16958   Customer #53059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16959   Customer #53060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16960   Customer #53062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16961   Customer #53072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16962   Customer #53074                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.16963   Customer #53076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16964   Customer #53077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16965   Customer #53087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16966   Customer #53092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16967   Customer #53093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16968   Customer #53097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16969   Customer #53103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16970   Customer #53107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16971   Customer #53136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16972   Customer #53137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16973   Customer #53138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16974   Customer #53139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16975   Customer #53148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16976   Customer #53169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16977   Customer #53173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16978   Customer #53175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16979   Customer #53180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16980   Customer #53185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16981   Customer #53186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16982   Customer #53191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16983   Customer #53192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16984   Customer #53193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16985   Customer #53205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16986   Customer #53217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16987   Customer #53219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16988   Customer #53221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16989   Customer #53245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16990   Customer #53256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16991   Customer #53271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16992   Customer #53275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16993   Customer #53288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16994   Customer #53296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16995   Customer #53302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16996   Customer #53318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16997   Customer #53320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16998   Customer #53325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.16999   Customer #53328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17000   Customer #53331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17001   Customer #53335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17002   Customer #53340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17003   Customer #53349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17004   Customer #53355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17005   Customer #53365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17006   Customer #53376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17007   Customer #53398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17008   Customer #53405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17009   Customer #53423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17010   Customer #53425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17011   Customer #53426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17012   Customer #53437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17013   Customer #53438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17014   Customer #53446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17015   Customer #53456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17016   Customer #53474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17017   Customer #53506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17018   Customer #53524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17019   Customer #53525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17020   Customer #53526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17021   Customer #53526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17022   Customer #53526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17023   Customer #53528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17024   Customer #53532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17025   Customer #53533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17026   Customer #53538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17027   Customer #53553                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17028   Customer #53564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17029   Customer #53569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17030   Customer #53575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17031   Customer #53576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17032   Customer #53582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17033   Customer #53592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17034   Customer #53599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17035   Customer #53600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17036   Customer #53608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17037   Customer #53609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17038   Customer #53611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17039   Customer #53614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17040   Customer #53635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17041   Customer #53638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17042   Customer #53639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17043   Customer #53658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17044   Customer #53675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17045   Customer #53677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17046   Customer #53679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17047   Customer #53682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17048   Customer #53697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17049   Customer #53698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17050   Customer #53702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17051   Customer #53703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17052   Customer #53709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17053   Customer #53712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17054   Customer #53718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17055   Customer #53728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17056   Customer #53731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17057   Customer #53745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17058   Customer #53748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17059   Customer #53750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17060   Customer #53757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17061   Customer #53761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17062   Customer #53764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17063   Customer #53767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17064   Customer #53768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17065   Customer #53769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17066   Customer #53770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17067   Customer #53771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17068   Customer #53772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17069   Customer #53779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17070   Customer #53786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17071   Customer #53788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17072   Customer #53798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17073   Customer #53802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17074   Customer #53804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17075   Customer #53807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17076   Customer #53812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17077   Customer #53814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17078   Customer #53819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17079   Customer #53820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17080   Customer #53822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17081   Customer #53823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17082   Customer #53827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17083   Customer #53831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17084   Customer #53833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17085   Customer #53835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17086   Customer #53837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17087   Customer #53838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17088   Customer #53843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17089   Customer #53850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17090   Customer #53851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17091   Customer #53857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17092   Customer #53859                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17093   Customer #53866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17094   Customer #53869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17095   Customer #53890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17096   Customer #53898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17097   Customer #53899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17098   Customer #53902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17099   Customer #53904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17100   Customer #53905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17101   Customer #53906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17102   Customer #53911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17103   Customer #53922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17104   Customer #53923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17105   Customer #53926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17106   Customer #53927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17107   Customer #53930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17108   Customer #53933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17109   Customer #53937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17110   Customer #53938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17111   Customer #53940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17112   Customer #53944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17113   Customer #53951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17114   Customer #53964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17115   Customer #53966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17116   Customer #53967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17117   Customer #53979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17118   Customer #53984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17119   Customer #53998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17120   Customer #54001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17121   Customer #54015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17122   Customer #54021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17123   Customer #54023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17124   Customer #54025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17125   Customer #54027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17126   Customer #54029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17127   Customer #54030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17128   Customer #54035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17129   Customer #54039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17130   Customer #54040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17131   Customer #54045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17132   Customer #54054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17133   Customer #54061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17134   Customer #54065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17135   Customer #54070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17136   Customer #54074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17137   Customer #54080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17138   Customer #54081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17139   Customer #54084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17140   Customer #54085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17141   Customer #54089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17142   Customer #54103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17143   Customer #54104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17144   Customer #54105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17145   Customer #54106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17146   Customer #54118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17147   Customer #54123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17148   Customer #54126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17149   Customer #54132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17150   Customer #54137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17151   Customer #54147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17152   Customer #54152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17153   Customer #54156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17154   Customer #54160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17155   Customer #54162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17156   Customer #54164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17157   Customer #54167                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17158   Customer #54168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17159   Customer #54170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17160   Customer #54184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17161   Customer #54185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17162   Customer #54187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17163   Customer #54194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17164   Customer #54213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17165   Customer #54226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17166   Customer #54230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17167   Customer #54230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17168   Customer #54231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17169   Customer #54243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17170   Customer #54259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17171   Customer #54260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17172   Customer #54265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17173   Customer #54280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17174   Customer #54285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17175   Customer #54291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17176   Customer #54292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17177   Customer #54298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17178   Customer #54306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17179   Customer #54309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17180   Customer #54311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17181   Customer #54313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17182   Customer #54317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17183   Customer #54324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17184   Customer #54325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17185   Customer #54327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17186   Customer #54333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17187   Customer #54335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17188   Customer #54356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17189   Customer #54359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17190   Customer #54360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17191   Customer #54361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17192   Customer #54367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17193   Customer #54373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17194   Customer #54382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17195   Customer #54386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17196   Customer #54389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17197   Customer #54391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17198   Customer #54395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17199   Customer #54420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17200   Customer #54421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17201   Customer #54425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17202   Customer #54426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17203   Customer #54428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17204   Customer #54429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17205   Customer #54430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17206   Customer #54434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17207   Customer #54444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17208   Customer #54446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17209   Customer #54447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17210   Customer #54457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17211   Customer #54463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17212   Customer #54464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17213   Customer #54466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17214   Customer #54467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17215   Customer #54469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17216   Customer #54472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17217   Customer #54474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17218   Customer #54480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17219   Customer #54481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17220   Customer #54482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17221   Customer #54485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17222   Customer #54490                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17223   Customer #54491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17224   Customer #54499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17225   Customer #54503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17226   Customer #54504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17227   Customer #54509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17228   Customer #54511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17229   Customer #54512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17230   Customer #54519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17231   Customer #54524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17232   Customer #54525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17233   Customer #54536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17234   Customer #54537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17235   Customer #54539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17236   Customer #54541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17237   Customer #54546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17238   Customer #54548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17239   Customer #54549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17240   Customer #54550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17241   Customer #54563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17242   Customer #54564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17243   Customer #54565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17244   Customer #54566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17245   Customer #54575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17246   Customer #54581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17247   Customer #54592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17248   Customer #54593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17249   Customer #54595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17250   Customer #54597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17251   Customer #54598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17252   Customer #54608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17253   Customer #54611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17254   Customer #54623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17255   Customer #54625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17256   Customer #54641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17257   Customer #54649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17258   Customer #54652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17259   Customer #54655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17260   Customer #54656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17261   Customer #54657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17262   Customer #54658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17263   Customer #54661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17264   Customer #54664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17265   Customer #54671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17266   Customer #54675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17267   Customer #54677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17268   Customer #54678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17269   Customer #54685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17270   Customer #54691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17271   Customer #54701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17272   Customer #54702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17273   Customer #54705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17274   Customer #54710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17275   Customer #54716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17276   Customer #54734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17277   Customer #54739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17278   Customer #54749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17279   Customer #54753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17280   Customer #54760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17281   Customer #54766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17282   Customer #54774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17283   Customer #54779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17284   Customer #54782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17285   Customer #54788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17286   Customer #54799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17287   Customer #54801                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17288   Customer #54808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17289   Customer #54811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17290   Customer #54813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17291   Customer #54816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17292   Customer #54817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17293   Customer #54818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17294   Customer #54819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17295   Customer #54822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17296   Customer #54825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17297   Customer #54832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17298   Customer #54833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17299   Customer #54835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17300   Customer #54837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17301   Customer #54841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17302   Customer #54848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17303   Customer #54849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17304   Customer #54851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17305   Customer #54853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17306   Customer #54855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17307   Customer #54858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17308   Customer #54859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17309   Customer #54860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17310   Customer #54861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17311   Customer #54862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17312   Customer #54870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17313   Customer #54872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17314   Customer #54877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17315   Customer #54882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17316   Customer #54883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17317   Customer #54884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17318   Customer #54886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17319   Customer #54887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17320   Customer #54888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17321   Customer #54894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17322   Customer #54902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17323   Customer #54903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17324   Customer #54904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17325   Customer #54906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17326   Customer #54907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17327   Customer #54909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17328   Customer #54911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17329   Customer #54912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17330   Customer #54913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17331   Customer #54940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17332   Customer #54942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17333   Customer #54944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17334   Customer #54947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17335   Customer #54957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17336   Customer #54964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17337   Customer #54965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17338   Customer #54968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17339   Customer #54969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17340   Customer #54973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17341   Customer #54978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17342   Customer #54985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17343   Customer #54987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17344   Customer #54994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17345   Customer #54995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17346   Customer #55004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17347   Customer #55008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17348   Customer #55009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17349   Customer #55010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17350   Customer #55015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17351   Customer #55017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17352   Customer #55018                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17353   Customer #55021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17354   Customer #55023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17355   Customer #55024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17356   Customer #55028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17357   Customer #55029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17358   Customer #55035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17359   Customer #55037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17360   Customer #55057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17361   Customer #55058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17362   Customer #55059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17363   Customer #55060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17364   Customer #55061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17365   Customer #55062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17366   Customer #55063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17367   Customer #55070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17368   Customer #55076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17369   Customer #55077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17370   Customer #55092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17371   Customer #55093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17372   Customer #55094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17373   Customer #55096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17374   Customer #55100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17375   Customer #55102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17376   Customer #55103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17377   Customer #55105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17378   Customer #55111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17379   Customer #55126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17380   Customer #55127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17381   Customer #55134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17382   Customer #55136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17383   Customer #55142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17384   Customer #55148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17385   Customer #55153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17386   Customer #55154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17387   Customer #55157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17388   Customer #55162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17389   Customer #55163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17390   Customer #55166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17391   Customer #55178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17392   Customer #55185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17393   Customer #55186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17394   Customer #55188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17395   Customer #55192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17396   Customer #55194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17397   Customer #55210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17398   Customer #55214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17399   Customer #55219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17400   Customer #55219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17401   Customer #55244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17402   Customer #55245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17403   Customer #55248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17404   Customer #55250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17405   Customer #55251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17406   Customer #55252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17407   Customer #55254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17408   Customer #55255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17409   Customer #55257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17410   Customer #55259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17411   Customer #55264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17412   Customer #55276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17413   Customer #55279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17414   Customer #55284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17415   Customer #55285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17416   Customer #55293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17417   Customer #55296                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17418   Customer #55298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17419   Customer #55299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17420   Customer #55300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17421   Customer #55303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17422   Customer #55304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17423   Customer #55305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17424   Customer #55306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17425   Customer #55306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17426   Customer #55311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17427   Customer #55317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17428   Customer #55320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17429   Customer #55321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17430   Customer #55323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17431   Customer #55326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17432   Customer #55327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17433   Customer #55329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17434   Customer #55331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17435   Customer #55333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17436   Customer #55334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17437   Customer #55337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17438   Customer #55349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17439   Customer #55355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17440   Customer #55359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17441   Customer #55366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17442   Customer #55370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17443   Customer #55373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17444   Customer #55376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17445   Customer #55383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17446   Customer #55385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17447   Customer #55386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17448   Customer #55388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17449   Customer #55390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17450   Customer #55391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17451   Customer #55398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17452   Customer #55400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17453   Customer #55404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17454   Customer #55408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17455   Customer #55409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17456   Customer #55413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17457   Customer #55414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17458   Customer #55415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17459   Customer #55416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17460   Customer #55420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17461   Customer #55422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17462   Customer #55427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17463   Customer #55429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17464   Customer #55431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17465   Customer #55432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17466   Customer #55435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17467   Customer #55445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17468   Customer #55448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17469   Customer #55449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17470   Customer #55455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17471   Customer #55457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17472   Customer #55469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17473   Customer #55470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17474   Customer #55475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17475   Customer #55476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17476   Customer #55479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17477   Customer #55494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17478   Customer #55502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17479   Customer #55512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17480   Customer #55517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17481   Customer #55520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17482   Customer #55526                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17483   Customer #55529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17484   Customer #55541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17485   Customer #55544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17486   Customer #55545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17487   Customer #55547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17488   Customer #55548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17489   Customer #55550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17490   Customer #55555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17491   Customer #55561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17492   Customer #55565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17493   Customer #55567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17494   Customer #55573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17495   Customer #55579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17496   Customer #55587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17497   Customer #55590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17498   Customer #55598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17499   Customer #55607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17500   Customer #55609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17501   Customer #55614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17502   Customer #55617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17503   Customer #55622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17504   Customer #55624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17505   Customer #55633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17506   Customer #55636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17507   Customer #55637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17508   Customer #55651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17509   Customer #55669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17510   Customer #55698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17511   Customer #55704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17512   Customer #55707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17513   Customer #55711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17514   Customer #55715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17515   Customer #55719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17516   Customer #55723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17517   Customer #55732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17518   Customer #55738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17519   Customer #55741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17520   Customer #55750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17521   Customer #55751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17522   Customer #55760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17523   Customer #55761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17524   Customer #55763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17525   Customer #55767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17526   Customer #55772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17527   Customer #55776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17528   Customer #55777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17529   Customer #55779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17530   Customer #55793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17531   Customer #55800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17532   Customer #55801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17533   Customer #55802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17534   Customer #55815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17535   Customer #55817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17536   Customer #55824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17537   Customer #55826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17538   Customer #55828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17539   Customer #55833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17540   Customer #55834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17541   Customer #55835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17542   Customer #55849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17543   Customer #55857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17544   Customer #55859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17545   Customer #55870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17546   Customer #55874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17547   Customer #55881                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17548   Customer #55889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17549   Customer #55906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17550   Customer #55907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17551   Customer #55909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17552   Customer #55910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17553   Customer #55911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17554   Customer #55913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17555   Customer #55916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17556   Customer #55922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17557   Customer #55925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17558   Customer #55927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17559   Customer #55934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17560   Customer #55935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17561   Customer #55936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17562   Customer #55937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17563   Customer #55956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17564   Customer #55982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17565   Customer #55983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17566   Customer #55984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17567   Customer #55985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17568   Customer #55986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17569   Customer #55987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17570   Customer #55988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17571   Customer #55993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17572   Customer #55995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17573   Customer #55997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17574   Customer #56005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17575   Customer #56006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17576   Customer #56008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17577   Customer #56016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17578   Customer #56017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17579   Customer #56022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17580   Customer #56026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17581   Customer #56043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17582   Customer #56053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17583   Customer #56057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17584   Customer #56082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17585   Customer #56093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17586   Customer #56094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17587   Customer #56114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17588   Customer #56115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17589   Customer #56122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17590   Customer #56128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17591   Customer #56132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17592   Customer #56156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17593   Customer #56168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17594   Customer #56169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17595   Customer #56172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17596   Customer #56179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17597   Customer #56180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17598   Customer #56189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17599   Customer #56191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17600   Customer #56193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17601   Customer #56195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17602   Customer #56204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17603   Customer #56206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17604   Customer #56214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17605   Customer #56216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17606   Customer #56220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17607   Customer #56222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17608   Customer #56227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17609   Customer #56244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17610   Customer #56247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17611   Customer #56248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17612   Customer #56249                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17613   Customer #56250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17614   Customer #56253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17615   Customer #56264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17616   Customer #56276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17617   Customer #56279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17618   Customer #56280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17619   Customer #56284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17620   Customer #56294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17621   Customer #56312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17622   Customer #56317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17623   Customer #56322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17624   Customer #56329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17625   Customer #56330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17626   Customer #56331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17627   Customer #56348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17628   Customer #56350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17629   Customer #56353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17630   Customer #56366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17631   Customer #56370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17632   Customer #56377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17633   Customer #56378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17634   Customer #56380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17635   Customer #56389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17636   Customer #56392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17637   Customer #56411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17638   Customer #56412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17639   Customer #56420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17640   Customer #56421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17641   Customer #56429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17642   Customer #56442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17643   Customer #56443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17644   Customer #56444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17645   Customer #56445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17646   Customer #56446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17647   Customer #56456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17648   Customer #56466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17649   Customer #56481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17650   Customer #56486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17651   Customer #56489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17652   Customer #56491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17653   Customer #56497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17654   Customer #56508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17655   Customer #56508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17656   Customer #56510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17657   Customer #56514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17658   Customer #56523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17659   Customer #56529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17660   Customer #56533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17661   Customer #56534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17662   Customer #56543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17663   Customer #56550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17664   Customer #56556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17665   Customer #56557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17666   Customer #56574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17667   Customer #56587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17668   Customer #56598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17669   Customer #56608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17670   Customer #56610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17671   Customer #56612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17672   Customer #56620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17673   Customer #56626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17674   Customer #56627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17675   Customer #56636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17676   Customer #56637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17677   Customer #56646                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17678   Customer #56649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17679   Customer #56652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17680   Customer #56654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17681   Customer #56659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17682   Customer #56661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17683   Customer #56663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17684   Customer #56674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17685   Customer #56676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17686   Customer #56688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17687   Customer #56693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17688   Customer #56695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17689   Customer #56703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17690   Customer #56705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17691   Customer #56707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17692   Customer #56718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17693   Customer #56722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17694   Customer #56723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17695   Customer #56733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17696   Customer #56744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17697   Customer #56768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17698   Customer #56770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17699   Customer #56771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17700   Customer #56772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17701   Customer #56775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17702   Customer #56780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17703   Customer #56783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17704   Customer #56784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17705   Customer #56785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17706   Customer #56788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17707   Customer #56792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17708   Customer #56803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17709   Customer #56824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17710   Customer #56832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17711   Customer #56834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17712   Customer #56844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17713   Customer #56849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17714   Customer #56859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17715   Customer #56867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17716   Customer #56871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17717   Customer #56872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17718   Customer #56874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17719   Customer #56875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17720   Customer #56881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17721   Customer #56895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17722   Customer #56913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17723   Customer #56921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17724   Customer #56924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17725   Customer #56925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17726   Customer #56926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17727   Customer #56929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17728   Customer #56933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17729   Customer #56934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17730   Customer #56936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17731   Customer #56941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17732   Customer #56947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17733   Customer #56952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17734   Customer #56954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17735   Customer #56956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17736   Customer #56963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17737   Customer #56965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17738   Customer #56967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17739   Customer #56968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17740   Customer #56975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17741   Customer #56976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17742   Customer #56977                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17743   Customer #56978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17744   Customer #56990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17745   Customer #56994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17746   Customer #56996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17747   Customer #57000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17748   Customer #57007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17749   Customer #57008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17750   Customer #57009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17751   Customer #57010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17752   Customer #57012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17753   Customer #57017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17754   Customer #57024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17755   Customer #57025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17756   Customer #57031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17757   Customer #57033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17758   Customer #57039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17759   Customer #57040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17760   Customer #57042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17761   Customer #57045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17762   Customer #57047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17763   Customer #57049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17764   Customer #57052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17765   Customer #57053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17766   Customer #57054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17767   Customer #57056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17768   Customer #57059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17769   Customer #57063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17770   Customer #57066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17771   Customer #57067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17772   Customer #57072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17773   Customer #57074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17774   Customer #57079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17775   Customer #57080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17776   Customer #57091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17777   Customer #57095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17778   Customer #57096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17779   Customer #57098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17780   Customer #57104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17781   Customer #57108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17782   Customer #57122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17783   Customer #57128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17784   Customer #57129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17785   Customer #57131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17786   Customer #57139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17787   Customer #57140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17788   Customer #57156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17789   Customer #57163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17790   Customer #57188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17791   Customer #57200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17792   Customer #57201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17793   Customer #57206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17794   Customer #57210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17795   Customer #57216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17796   Customer #57227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17797   Customer #57228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17798   Customer #57241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17799   Customer #57242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17800   Customer #57244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17801   Customer #57245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17802   Customer #57251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17803   Customer #57252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17804   Customer #57253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17805   Customer #57254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17806   Customer #57263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17807   Customer #57264                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17808   Customer #57266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17809   Customer #57270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17810   Customer #57281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17811   Customer #57300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17812   Customer #57309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17813   Customer #57313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17814   Customer #57314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17815   Customer #57327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17816   Customer #57335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17817   Customer #57355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17818   Customer #57361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17819   Customer #57368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17820   Customer #57371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17821   Customer #57373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17822   Customer #57374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17823   Customer #57375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17824   Customer #57385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17825   Customer #57397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17826   Customer #57411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17827   Customer #57415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17828   Customer #57423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17829   Customer #57426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17830   Customer #57427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17831   Customer #57430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17832   Customer #57437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17833   Customer #57439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17834   Customer #57440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17835   Customer #57447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17836   Customer #57451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17837   Customer #57454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17838   Customer #57455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17839   Customer #57460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17840   Customer #57469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17841   Customer #57470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17842   Customer #57475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17843   Customer #57480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17844   Customer #57492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17845   Customer #57493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17846   Customer #57495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17847   Customer #57497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17848   Customer #57499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17849   Customer #57500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17850   Customer #57502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17851   Customer #57504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17852   Customer #57508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17853   Customer #57509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17854   Customer #57511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17855   Customer #57516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17856   Customer #57517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17857   Customer #57525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17858   Customer #57528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17859   Customer #57538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17860   Customer #57542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17861   Customer #57543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17862   Customer #57552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17863   Customer #57555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17864   Customer #57558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17865   Customer #57567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17866   Customer #57570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17867   Customer #57579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17868   Customer #57580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17869   Customer #57581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17870   Customer #57582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17871   Customer #57592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17872   Customer #57595                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17873   Customer #57605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17874   Customer #57609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17875   Customer #57613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17876   Customer #57614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17877   Customer #57618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17878   Customer #57621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17879   Customer #57626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17880   Customer #57627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17881   Customer #57631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17882   Customer #57634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17883   Customer #57635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17884   Customer #57642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17885   Customer #57645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17886   Customer #57653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17887   Customer #57657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17888   Customer #57661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17889   Customer #57670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17890   Customer #57673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17891   Customer #57677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17892   Customer #57679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17893   Customer #57681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17894   Customer #57683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17895   Customer #57684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17896   Customer #57688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17897   Customer #57692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17898   Customer #57694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17899   Customer #57696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17900   Customer #57697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17901   Customer #57699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17902   Customer #57700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17903   Customer #57702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17904   Customer #57713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17905   Customer #57714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17906   Customer #57715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17907   Customer #57716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17908   Customer #57720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17909   Customer #57722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17910   Customer #57724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17911   Customer #57726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17912   Customer #57736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17913   Customer #57749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17914   Customer #57756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17915   Customer #57767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17916   Customer #57769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17917   Customer #57773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17918   Customer #57776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17919   Customer #57779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17920   Customer #57786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17921   Customer #57797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17922   Customer #57806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17923   Customer #57812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17924   Customer #57813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17925   Customer #57814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17926   Customer #57817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17927   Customer #57821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17928   Customer #57830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17929   Customer #57833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17930   Customer #57834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17931   Customer #57836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17932   Customer #57852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17933   Customer #57860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17934   Customer #57862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17935   Customer #57877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17936   Customer #57882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17937   Customer #57893                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.17938   Customer #57894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17939   Customer #57895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17940   Customer #57898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17941   Customer #57899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17942   Customer #57902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17943   Customer #57904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17944   Customer #57908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17945   Customer #57911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17946   Customer #57917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17947   Customer #57937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17948   Customer #57947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17949   Customer #57957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17950   Customer #57973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17951   Customer #57976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17952   Customer #57982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17953   Customer #57983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17954   Customer #57993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17955   Customer #57999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17956   Customer #58003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17957   Customer #58004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17958   Customer #58012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17959   Customer #58016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17960   Customer #58028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17961   Customer #58031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17962   Customer #58034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17963   Customer #58041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17964   Customer #58042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17965   Customer #58043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17966   Customer #58049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17967   Customer #58051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17968   Customer #58053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17969   Customer #58058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17970   Customer #58064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17971   Customer #58070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17972   Customer #58072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17973   Customer #58082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17974   Customer #58083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17975   Customer #58084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17976   Customer #58091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17977   Customer #58094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17978   Customer #58098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17979   Customer #58106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17980   Customer #58107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17981   Customer #58109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17982   Customer #58110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17983   Customer #58111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17984   Customer #58112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17985   Customer #58115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17986   Customer #58116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17987   Customer #58122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17988   Customer #58124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17989   Customer #58127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17990   Customer #58130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17991   Customer #58135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17992   Customer #58142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17993   Customer #58143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17994   Customer #58144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17995   Customer #58145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17996   Customer #58150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17997   Customer #58152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17998   Customer #58153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.17999   Customer #58157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18000   Customer #58163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18001   Customer #58164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18002   Customer #58165                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18003   Customer #58171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18004   Customer #58177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18005   Customer #58178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18006   Customer #58179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18007   Customer #58181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18008   Customer #58185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18009   Customer #58188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18010   Customer #58199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18011   Customer #58201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18012   Customer #58210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18013   Customer #58229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18014   Customer #58230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18015   Customer #58231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18016   Customer #58233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18017   Customer #58245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18018   Customer #58248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18019   Customer #58254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18020   Customer #58255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18021   Customer #58262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18022   Customer #58268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18023   Customer #58271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18024   Customer #58274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18025   Customer #58275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18026   Customer #58284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18027   Customer #58287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18028   Customer #58292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18029   Customer #58294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18030   Customer #58297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18031   Customer #58301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18032   Customer #58305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18033   Customer #58306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18034   Customer #58309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18035   Customer #58311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18036   Customer #58318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18037   Customer #58320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18038   Customer #58323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18039   Customer #58328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18040   Customer #58333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18041   Customer #58344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18042   Customer #58346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18043   Customer #58346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18044   Customer #58347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18045   Customer #58351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18046   Customer #58354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18047   Customer #58355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18048   Customer #58366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18049   Customer #58367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18050   Customer #58370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18051   Customer #58373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18052   Customer #58379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18053   Customer #58383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18054   Customer #58385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18055   Customer #58403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18056   Customer #58411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18057   Customer #58414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18058   Customer #58422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18059   Customer #58428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18060   Customer #58430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18061   Customer #58432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18062   Customer #58439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18063   Customer #58441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18064   Customer #58443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18065   Customer #58452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18066   Customer #58461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18067   Customer #58478                     Address on File                                                                                             Customer             X             X             X                       Undetermined




In re: Griddy Energy LLC
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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18068   Customer #58484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18069   Customer #58488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18070   Customer #58489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18071   Customer #58494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18072   Customer #58495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18073   Customer #58496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18074   Customer #58497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18075   Customer #58498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18076   Customer #58499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18077   Customer #58500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18078   Customer #58506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18079   Customer #58510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18080   Customer #58515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18081   Customer #58522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18082   Customer #58525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18083   Customer #58526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18084   Customer #58537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18085   Customer #58538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18086   Customer #58540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18087   Customer #58545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18088   Customer #58546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18089   Customer #58549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18090   Customer #58551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18091   Customer #58553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18092   Customer #58554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18093   Customer #58555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18094   Customer #58560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18095   Customer #58565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18096   Customer #58567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18097   Customer #58575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18098   Customer #58577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18099   Customer #58577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18100   Customer #58579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18101   Customer #58583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18102   Customer #58584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18103   Customer #58585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18104   Customer #58589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18105   Customer #58591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18106   Customer #58593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18107   Customer #58595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18108   Customer #58596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18109   Customer #58597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18110   Customer #58600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18111   Customer #58606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18112   Customer #58607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18113   Customer #58616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18114   Customer #58617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18115   Customer #58625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18116   Customer #58627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18117   Customer #58628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18118   Customer #58635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18119   Customer #58637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18120   Customer #58642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18121   Customer #58643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18122   Customer #58645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18123   Customer #58651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18124   Customer #58654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18125   Customer #58655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18126   Customer #58656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18127   Customer #58657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18128   Customer #58663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18129   Customer #58664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18130   Customer #58669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18131   Customer #58672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18132   Customer #58677                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18133   Customer #58681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18134   Customer #58692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18135   Customer #58721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18136   Customer #58750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18137   Customer #58751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18138   Customer #58752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18139   Customer #58754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18140   Customer #58757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18141   Customer #58760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18142   Customer #58769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18143   Customer #58790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18144   Customer #58791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18145   Customer #58800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18146   Customer #58803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18147   Customer #58806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18148   Customer #58807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18149   Customer #58809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18150   Customer #58816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18151   Customer #58826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18152   Customer #58827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18153   Customer #58839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18154   Customer #58841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18155   Customer #58854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18156   Customer #58857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18157   Customer #58858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18158   Customer #58875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18159   Customer #58876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18160   Customer #58883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18161   Customer #58884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18162   Customer #58897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18163   Customer #58900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18164   Customer #58907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18165   Customer #58914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18166   Customer #58921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18167   Customer #58931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18168   Customer #58944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18169   Customer #58949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18170   Customer #58953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18171   Customer #58955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18172   Customer #58956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18173   Customer #58957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18174   Customer #58968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18175   Customer #58977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18176   Customer #58979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18177   Customer #58981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18178   Customer #58984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18179   Customer #58986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18180   Customer #58988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18181   Customer #58992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18182   Customer #58997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18183   Customer #59005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18184   Customer #59013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18185   Customer #59015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18186   Customer #59018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18187   Customer #59019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18188   Customer #59025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18189   Customer #59027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18190   Customer #59027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18191   Customer #59032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18192   Customer #59036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18193   Customer #59037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18194   Customer #59038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18195   Customer #59044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18196   Customer #59045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18197   Customer #59047                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18198   Customer #59055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18199   Customer #59061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18200   Customer #59066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18201   Customer #59069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18202   Customer #59070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18203   Customer #59071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18204   Customer #59083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18205   Customer #59088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18206   Customer #59093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18207   Customer #59096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18208   Customer #59097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18209   Customer #59099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18210   Customer #59101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18211   Customer #59102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18212   Customer #59103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18213   Customer #59107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18214   Customer #59109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18215   Customer #59112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18216   Customer #59116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18217   Customer #59137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18218   Customer #59147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18219   Customer #59167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18220   Customer #59172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18221   Customer #59182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18222   Customer #59189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18223   Customer #59200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18224   Customer #59201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18225   Customer #59214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18226   Customer #59215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18227   Customer #59217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18228   Customer #59218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18229   Customer #59228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18230   Customer #59235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18231   Customer #59237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18232   Customer #59249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18233   Customer #59251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18234   Customer #59253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18235   Customer #59254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18236   Customer #59256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18237   Customer #59263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18238   Customer #59266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18239   Customer #59267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18240   Customer #59268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18241   Customer #59270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18242   Customer #59279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18243   Customer #59280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18244   Customer #59284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18245   Customer #59285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18246   Customer #59286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18247   Customer #59291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18248   Customer #59292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18249   Customer #59293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18250   Customer #59305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18251   Customer #59311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18252   Customer #59320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18253   Customer #59336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18254   Customer #59338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18255   Customer #59343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18256   Customer #59354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18257   Customer #59355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18258   Customer #59369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18259   Customer #59373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18260   Customer #59374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18261   Customer #59380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18262   Customer #59384                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18263   Customer #59397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18264   Customer #59399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18265   Customer #59403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18266   Customer #59405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18267   Customer #59411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18268   Customer #59412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18269   Customer #59418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18270   Customer #59421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18271   Customer #59425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18272   Customer #59437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18273   Customer #59452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18274   Customer #59462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18275   Customer #59470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18276   Customer #59475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18277   Customer #59480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18278   Customer #59498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18279   Customer #59499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18280   Customer #59501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18281   Customer #59503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18282   Customer #59507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18283   Customer #59510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18284   Customer #59512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18285   Customer #59516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18286   Customer #59518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18287   Customer #59519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18288   Customer #59521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18289   Customer #59542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18290   Customer #59543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18291   Customer #59555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18292   Customer #59556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18293   Customer #59562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18294   Customer #59585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18295   Customer #59586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18296   Customer #59587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18297   Customer #59589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18298   Customer #59599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18299   Customer #59600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18300   Customer #59601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18301   Customer #59620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18302   Customer #59621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18303   Customer #59625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18304   Customer #59630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18305   Customer #59638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18306   Customer #59640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18307   Customer #59652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18308   Customer #59657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18309   Customer #59661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18310   Customer #59667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18311   Customer #59670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18312   Customer #59676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18313   Customer #59676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18314   Customer #59677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18315   Customer #59679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18316   Customer #59680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18317   Customer #59682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18318   Customer #59685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18319   Customer #59687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18320   Customer #59689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18321   Customer #59693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18322   Customer #59697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18323   Customer #59707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18324   Customer #59709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18325   Customer #59712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18326   Customer #59713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18327   Customer #59715                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18328   Customer #59716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18329   Customer #59718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18330   Customer #59720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18331   Customer #59729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18332   Customer #59732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18333   Customer #59734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18334   Customer #59735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18335   Customer #59736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18336   Customer #59738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18337   Customer #59740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18338   Customer #59745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18339   Customer #59746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18340   Customer #59748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18341   Customer #59748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18342   Customer #59748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18343   Customer #59749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18344   Customer #59749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18345   Customer #59751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18346   Customer #59753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18347   Customer #59754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18348   Customer #59756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18349   Customer #59757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18350   Customer #59760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18351   Customer #59764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18352   Customer #59765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18353   Customer #59768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18354   Customer #59770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18355   Customer #59776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18356   Customer #59786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18357   Customer #59789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18358   Customer #59790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18359   Customer #59791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18360   Customer #59792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18361   Customer #59798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18362   Customer #59799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18363   Customer #59801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18364   Customer #59804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18365   Customer #59808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18366   Customer #59809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18367   Customer #59810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18368   Customer #59812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18369   Customer #59813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18370   Customer #59815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18371   Customer #59816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18372   Customer #59819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18373   Customer #59825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18374   Customer #59826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18375   Customer #59828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18376   Customer #59830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18377   Customer #59838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18378   Customer #59842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18379   Customer #59846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18380   Customer #59847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18381   Customer #59848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18382   Customer #59850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18383   Customer #59851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18384   Customer #59860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18385   Customer #59861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18386   Customer #59862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18387   Customer #59866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18388   Customer #59869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18389   Customer #59874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18390   Customer #59878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18391   Customer #59880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18392   Customer #59882                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18393   Customer #59893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18394   Customer #59894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18395   Customer #59901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18396   Customer #59911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18397   Customer #59925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18398   Customer #59927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18399   Customer #59929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18400   Customer #59930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18401   Customer #59935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18402   Customer #59937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18403   Customer #59943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18404   Customer #59946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18405   Customer #59948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18406   Customer #59949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18407   Customer #59953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18408   Customer #59961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18409   Customer #59967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18410   Customer #59969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18411   Customer #59971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18412   Customer #59973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18413   Customer #59974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18414   Customer #59980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18415   Customer #59984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18416   Customer #59986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18417   Customer #59996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18418   Customer #59997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18419   Customer #60003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18420   Customer #60005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18421   Customer #60007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18422   Customer #60008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18423   Customer #60009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18424   Customer #60016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18425   Customer #60031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18426   Customer #60035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18427   Customer #60056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18428   Customer #60057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18429   Customer #60067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18430   Customer #60070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18431   Customer #60071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18432   Customer #60072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18433   Customer #60076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18434   Customer #60077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18435   Customer #60079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18436   Customer #60085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18437   Customer #60088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18438   Customer #60103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18439   Customer #60108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18440   Customer #60111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18441   Customer #60114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18442   Customer #60117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18443   Customer #60119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18444   Customer #60120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18445   Customer #60121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18446   Customer #60128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18447   Customer #60130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18448   Customer #60133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18449   Customer #60133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18450   Customer #60134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18451   Customer #60135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18452   Customer #60142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18453   Customer #60144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18454   Customer #60145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18455   Customer #60155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18456   Customer #60161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18457   Customer #60163                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18458   Customer #60164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18459   Customer #60166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18460   Customer #60168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18461   Customer #60172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18462   Customer #60174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18463   Customer #60176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18464   Customer #60177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18465   Customer #60179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18466   Customer #60180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18467   Customer #60181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18468   Customer #60182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18469   Customer #60190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18470   Customer #60191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18471   Customer #60202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18472   Customer #60208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18473   Customer #60209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18474   Customer #60214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18475   Customer #60224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18476   Customer #60241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18477   Customer #60245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18478   Customer #60246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18479   Customer #60252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18480   Customer #60254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18481   Customer #60256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18482   Customer #60257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18483   Customer #60261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18484   Customer #60264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18485   Customer #60266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18486   Customer #60271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18487   Customer #60272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18488   Customer #60275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18489   Customer #60281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18490   Customer #60282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18491   Customer #60290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18492   Customer #60293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18493   Customer #60306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18494   Customer #60307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18495   Customer #60310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18496   Customer #60311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18497   Customer #60312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18498   Customer #60314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18499   Customer #60317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18500   Customer #60318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18501   Customer #60319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18502   Customer #60320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18503   Customer #60324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18504   Customer #60332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18505   Customer #60333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18506   Customer #60334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18507   Customer #60337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18508   Customer #60339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18509   Customer #60345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18510   Customer #60362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18511   Customer #60363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18512   Customer #60364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18513   Customer #60365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18514   Customer #60368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18515   Customer #60380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18516   Customer #60381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18517   Customer #60388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18518   Customer #60393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18519   Customer #60394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18520   Customer #60396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18521   Customer #60397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18522   Customer #60398                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18523   Customer #60400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18524   Customer #60412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18525   Customer #60417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18526   Customer #60418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18527   Customer #60419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18528   Customer #60426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18529   Customer #60429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18530   Customer #60433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18531   Customer #60442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18532   Customer #60443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18533   Customer #60450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18534   Customer #60451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18535   Customer #60456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18536   Customer #60467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18537   Customer #60469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18538   Customer #60473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18539   Customer #60477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18540   Customer #60478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18541   Customer #60479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18542   Customer #60480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18543   Customer #60504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18544   Customer #60510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18545   Customer #60511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18546   Customer #60512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18547   Customer #60513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18548   Customer #60514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18549   Customer #60516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18550   Customer #60521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18551   Customer #60531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18552   Customer #60535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18553   Customer #60542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18554   Customer #60544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18555   Customer #60546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18556   Customer #60556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18557   Customer #60559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18558   Customer #60563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18559   Customer #60566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18560   Customer #60568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18561   Customer #60573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18562   Customer #60574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18563   Customer #60589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18564   Customer #60595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18565   Customer #60596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18566   Customer #60598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18567   Customer #60599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18568   Customer #60619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18569   Customer #60625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18570   Customer #60630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18571   Customer #60631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18572   Customer #60632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18573   Customer #60635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18574   Customer #60641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18575   Customer #60642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18576   Customer #60643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18577   Customer #60643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18578   Customer #60644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18579   Customer #60645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18580   Customer #60646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18581   Customer #60652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18582   Customer #60653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18583   Customer #60655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18584   Customer #60656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18585   Customer #60657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18586   Customer #60659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18587   Customer #60660                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18588   Customer #60661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18589   Customer #60662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18590   Customer #60664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18591   Customer #60668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18592   Customer #60687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18593   Customer #60688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18594   Customer #60689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18595   Customer #60690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18596   Customer #60695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18597   Customer #60717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18598   Customer #60722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18599   Customer #60724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18600   Customer #60727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18601   Customer #60728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18602   Customer #60733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18603   Customer #60734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18604   Customer #60741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18605   Customer #60745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18606   Customer #60748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18607   Customer #60751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18608   Customer #60752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18609   Customer #60766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18610   Customer #60767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18611   Customer #60779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18612   Customer #60782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18613   Customer #60784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18614   Customer #60785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18615   Customer #60790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18616   Customer #60808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18617   Customer #60810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18618   Customer #60811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18619   Customer #60815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18620   Customer #60817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18621   Customer #60821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18622   Customer #60822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18623   Customer #60825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18624   Customer #60828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18625   Customer #60830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18626   Customer #60832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18627   Customer #60835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18628   Customer #60836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18629   Customer #60837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18630   Customer #60838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18631   Customer #60840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18632   Customer #60847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18633   Customer #60850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18634   Customer #60854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18635   Customer #60863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18636   Customer #60874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18637   Customer #60879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18638   Customer #60899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18639   Customer #60902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18640   Customer #60904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18641   Customer #60910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18642   Customer #60917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18643   Customer #60925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18644   Customer #60926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18645   Customer #60931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18646   Customer #60932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18647   Customer #60932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18648   Customer #60933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18649   Customer #60934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18650   Customer #60941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18651   Customer #60942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18652   Customer #60943                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18653   Customer #60946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18654   Customer #60950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18655   Customer #60953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18656   Customer #60955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18657   Customer #60957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18658   Customer #60959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18659   Customer #60960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18660   Customer #60962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18661   Customer #60963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18662   Customer #60965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18663   Customer #60966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18664   Customer #60968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18665   Customer #60971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18666   Customer #60974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18667   Customer #60977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18668   Customer #60980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18669   Customer #60981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18670   Customer #60983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18671   Customer #60989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18672   Customer #60990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18673   Customer #60991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18674   Customer #60996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18675   Customer #60997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18676   Customer #61001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18677   Customer #61005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18678   Customer #61008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18679   Customer #61009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18680   Customer #61014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18681   Customer #61019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18682   Customer #61021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18683   Customer #61022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18684   Customer #61026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18685   Customer #61031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18686   Customer #61033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18687   Customer #61034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18688   Customer #61036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18689   Customer #61038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18690   Customer #61039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18691   Customer #61040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18692   Customer #61048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18693   Customer #61055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18694   Customer #61056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18695   Customer #61057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18696   Customer #61060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18697   Customer #61061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18698   Customer #61090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18699   Customer #61092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18700   Customer #61098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18701   Customer #61102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18702   Customer #61104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18703   Customer #61110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18704   Customer #61112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18705   Customer #61117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18706   Customer #61133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18707   Customer #61138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18708   Customer #61140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18709   Customer #61141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18710   Customer #61142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18711   Customer #61152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18712   Customer #61157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18713   Customer #61159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18714   Customer #61163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18715   Customer #61164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18716   Customer #61165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18717   Customer #61166                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18718   Customer #61171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18719   Customer #61172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18720   Customer #61173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18721   Customer #61177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18722   Customer #61183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18723   Customer #61184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18724   Customer #61198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18725   Customer #61200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18726   Customer #61202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18727   Customer #61207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18728   Customer #61209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18729   Customer #61210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18730   Customer #61211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18731   Customer #61214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18732   Customer #61215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18733   Customer #61223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18734   Customer #61237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18735   Customer #61244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18736   Customer #61267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18737   Customer #61272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18738   Customer #61277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18739   Customer #61280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18740   Customer #61281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18741   Customer #61295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18742   Customer #61305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18743   Customer #61306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18744   Customer #61313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18745   Customer #61319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18746   Customer #61321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18747   Customer #61322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18748   Customer #61325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18749   Customer #61326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18750   Customer #61346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18751   Customer #61348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18752   Customer #61349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18753   Customer #61350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18754   Customer #61361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18755   Customer #61362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18756   Customer #61367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18757   Customer #61369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18758   Customer #61371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18759   Customer #61372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18760   Customer #61373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18761   Customer #61375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18762   Customer #61377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18763   Customer #61378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18764   Customer #61379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18765   Customer #61380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18766   Customer #61381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18767   Customer #61384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18768   Customer #61387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18769   Customer #61390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18770   Customer #61391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18771   Customer #61393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18772   Customer #61394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18773   Customer #61395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18774   Customer #61399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18775   Customer #61403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18776   Customer #61410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18777   Customer #61412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18778   Customer #61415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18779   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18780   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18781   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18782   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18783   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18784   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18785   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18786   Customer #61420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18787   Customer #61421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18788   Customer #61422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18789   Customer #61428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18790   Customer #61431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18791   Customer #61435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18792   Customer #61437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18793   Customer #61438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18794   Customer #61447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18795   Customer #61453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18796   Customer #61469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18797   Customer #61469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18798   Customer #61471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18799   Customer #61479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18800   Customer #61480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18801   Customer #61481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18802   Customer #61486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18803   Customer #61487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18804   Customer #61488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18805   Customer #61489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18806   Customer #61496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18807   Customer #61499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18808   Customer #61503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18809   Customer #61504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18810   Customer #61505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18811   Customer #61506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18812   Customer #61516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18813   Customer #61524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18814   Customer #61525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18815   Customer #61530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18816   Customer #61533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18817   Customer #61533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18818   Customer #61545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18819   Customer #61546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18820   Customer #61549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18821   Customer #61559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18822   Customer #61562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18823   Customer #61566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18824   Customer #61571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18825   Customer #61573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18826   Customer #61574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18827   Customer #61577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18828   Customer #61580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18829   Customer #61585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18830   Customer #61593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18831   Customer #61597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18832   Customer #61605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18833   Customer #61616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18834   Customer #61623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18835   Customer #61625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18836   Customer #61626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18837   Customer #61628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18838   Customer #61629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18839   Customer #61630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18840   Customer #61631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18841   Customer #61635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18842   Customer #61636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18843   Customer #61637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18844   Customer #61653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18845   Customer #61660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18846   Customer #61666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18847   Customer #61667                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18848   Customer #61668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18849   Customer #61679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18850   Customer #61681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18851   Customer #61682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18852   Customer #61691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18853   Customer #61692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18854   Customer #61693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18855   Customer #61695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18856   Customer #61699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18857   Customer #61700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18858   Customer #61744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18859   Customer #61745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18860   Customer #61748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18861   Customer #61749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18862   Customer #61753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18863   Customer #61774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18864   Customer #61787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18865   Customer #61791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18866   Customer #61792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18867   Customer #61796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18868   Customer #61797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18869   Customer #61798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18870   Customer #61801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18871   Customer #61812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18872   Customer #61846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18873   Customer #61847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18874   Customer #61849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18875   Customer #61851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18876   Customer #61852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18877   Customer #61855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18878   Customer #61858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18879   Customer #61864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18880   Customer #61869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18881   Customer #61872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18882   Customer #61875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18883   Customer #61876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18884   Customer #61878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18885   Customer #61878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18886   Customer #61880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18887   Customer #61893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18888   Customer #61895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18889   Customer #61896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18890   Customer #61900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18891   Customer #61904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18892   Customer #61915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18893   Customer #61918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18894   Customer #61920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18895   Customer #61927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18896   Customer #61928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18897   Customer #61930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18898   Customer #61934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18899   Customer #61935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18900   Customer #61936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18901   Customer #61961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18902   Customer #61962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18903   Customer #61964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18904   Customer #61966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18905   Customer #61968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18906   Customer #61974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18907   Customer #61977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18908   Customer #61981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18909   Customer #61983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18910   Customer #61996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18911   Customer #62010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18912   Customer #62011                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18913   Customer #62040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18914   Customer #62046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18915   Customer #62047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18916   Customer #62048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18917   Customer #62053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18918   Customer #62061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18919   Customer #62062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18920   Customer #62064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18921   Customer #62067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18922   Customer #62068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18923   Customer #62069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18924   Customer #62070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18925   Customer #62074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18926   Customer #62075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18927   Customer #62083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18928   Customer #62084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18929   Customer #62087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18930   Customer #62088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18931   Customer #62091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18932   Customer #62109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18933   Customer #62111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18934   Customer #62117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18935   Customer #62118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18936   Customer #62124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18937   Customer #62128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18938   Customer #62134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18939   Customer #62138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18940   Customer #62139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18941   Customer #62150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18942   Customer #62153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18943   Customer #62159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18944   Customer #62177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18945   Customer #62178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18946   Customer #62180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18947   Customer #62182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18948   Customer #62189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18949   Customer #62200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18950   Customer #62204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18951   Customer #62206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18952   Customer #62208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18953   Customer #62208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18954   Customer #62210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18955   Customer #62212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18956   Customer #62214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18957   Customer #62217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18958   Customer #62220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18959   Customer #62224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18960   Customer #62239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18961   Customer #62253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18962   Customer #62255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18963   Customer #62257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18964   Customer #62269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18965   Customer #62283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18966   Customer #62291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18967   Customer #62293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18968   Customer #62295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18969   Customer #62296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18970   Customer #62300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18971   Customer #62303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18972   Customer #62310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18973   Customer #62311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18974   Customer #62314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18975   Customer #62317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18976   Customer #62325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18977   Customer #62326                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.18978   Customer #62335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18979   Customer #62338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18980   Customer #62340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18981   Customer #62347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18982   Customer #62350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18983   Customer #62357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18984   Customer #62358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18985   Customer #62372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18986   Customer #62386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18987   Customer #62392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18988   Customer #62393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18989   Customer #62394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18990   Customer #62404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18991   Customer #62406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18992   Customer #62409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18993   Customer #62410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18994   Customer #62416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18995   Customer #62417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18996   Customer #62418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18997   Customer #62436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18998   Customer #62437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.18999   Customer #62438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19000   Customer #62443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19001   Customer #62447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19002   Customer #62449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19003   Customer #62450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19004   Customer #62451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19005   Customer #62455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19006   Customer #62457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19007   Customer #62458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19008   Customer #62460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19009   Customer #62462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19010   Customer #62468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19011   Customer #62477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19012   Customer #62479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19013   Customer #62482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19014   Customer #62483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19015   Customer #62489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19016   Customer #62492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19017   Customer #62493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19018   Customer #62494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19019   Customer #62499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19020   Customer #62502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19021   Customer #62504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19022   Customer #62515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19023   Customer #62516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19024   Customer #62519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19025   Customer #62540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19026   Customer #62544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19027   Customer #62546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19028   Customer #62549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19029   Customer #62550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19030   Customer #62560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19031   Customer #62561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19032   Customer #62562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19033   Customer #62563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19034   Customer #62568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19035   Customer #62580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19036   Customer #62582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19037   Customer #62583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19038   Customer #62586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19039   Customer #62587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19040   Customer #62588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19041   Customer #62591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19042   Customer #62601                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19043   Customer #62602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19044   Customer #62606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19045   Customer #62609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19046   Customer #62613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19047   Customer #62614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19048   Customer #62622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19049   Customer #62627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19050   Customer #62629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19051   Customer #62631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19052   Customer #62632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19053   Customer #62638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19054   Customer #62640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19055   Customer #62645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19056   Customer #62646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19057   Customer #62649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19058   Customer #62652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19059   Customer #62654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19060   Customer #62655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19061   Customer #62659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19062   Customer #62660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19063   Customer #62664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19064   Customer #62665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19065   Customer #62666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19066   Customer #62667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19067   Customer #62670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19068   Customer #62673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19069   Customer #62675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19070   Customer #62684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19071   Customer #62686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19072   Customer #62688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19073   Customer #62689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19074   Customer #62690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19075   Customer #62692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19076   Customer #62695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19077   Customer #62697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19078   Customer #62698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19079   Customer #62707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19080   Customer #62715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19081   Customer #62718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19082   Customer #62719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19083   Customer #62725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19084   Customer #62727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19085   Customer #62728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19086   Customer #62732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19087   Customer #62736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19088   Customer #62737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19089   Customer #62744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19090   Customer #62746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19091   Customer #62748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19092   Customer #62751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19093   Customer #62753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19094   Customer #62755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19095   Customer #62756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19096   Customer #62760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19097   Customer #62763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19098   Customer #62764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19099   Customer #62765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19100   Customer #62768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19101   Customer #62772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19102   Customer #62773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19103   Customer #62774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19104   Customer #62775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19105   Customer #62776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19106   Customer #62791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19107   Customer #62796                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19108   Customer #62798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19109   Customer #62799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19110   Customer #62807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19111   Customer #62808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19112   Customer #62809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19113   Customer #62813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19114   Customer #62815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19115   Customer #62816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19116   Customer #62818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19117   Customer #62822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19118   Customer #62825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19119   Customer #62827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19120   Customer #62830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19121   Customer #62835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19122   Customer #62837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19123   Customer #62839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19124   Customer #62849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19125   Customer #62854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19126   Customer #62855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19127   Customer #62856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19128   Customer #62857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19129   Customer #62862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19130   Customer #62872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19131   Customer #62873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19132   Customer #62875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19133   Customer #62885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19134   Customer #62888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19135   Customer #62896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19136   Customer #62902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19137   Customer #62907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19138   Customer #62911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19139   Customer #62913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19140   Customer #62923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19141   Customer #62930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19142   Customer #62935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19143   Customer #62948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19144   Customer #62969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19145   Customer #62971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19146   Customer #62976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19147   Customer #62978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19148   Customer #62979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19149   Customer #62982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19150   Customer #62985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19151   Customer #62994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19152   Customer #62998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19153   Customer #63005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19154   Customer #63009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19155   Customer #63012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19156   Customer #63014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19157   Customer #63024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19158   Customer #63027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19159   Customer #63036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19160   Customer #63037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19161   Customer #63047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19162   Customer #63054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19163   Customer #63055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19164   Customer #63057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19165   Customer #63058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19166   Customer #63064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19167   Customer #63069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19168   Customer #63070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19169   Customer #63082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19170   Customer #63083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19171   Customer #63094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19172   Customer #63098                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19173   Customer #63099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19174   Customer #63102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19175   Customer #63104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19176   Customer #63108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19177   Customer #63112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19178   Customer #63115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19179   Customer #63116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19180   Customer #63117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19181   Customer #63119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19182   Customer #63120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19183   Customer #63121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19184   Customer #63122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19185   Customer #63124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19186   Customer #63133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19187   Customer #63134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19188   Customer #63135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19189   Customer #63137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19190   Customer #63141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19191   Customer #63142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19192   Customer #63144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19193   Customer #63145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19194   Customer #63150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19195   Customer #63152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19196   Customer #63155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19197   Customer #63157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19198   Customer #63158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19199   Customer #63162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19200   Customer #63163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19201   Customer #63169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19202   Customer #63173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19203   Customer #63179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19204   Customer #63183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19205   Customer #63186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19206   Customer #63198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19207   Customer #63199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19208   Customer #63210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19209   Customer #63214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19210   Customer #63216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19211   Customer #63217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19212   Customer #63231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19213   Customer #63234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19214   Customer #63242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19215   Customer #63243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19216   Customer #63244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19217   Customer #63250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19218   Customer #63251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19219   Customer #63261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19220   Customer #63273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19221   Customer #63278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19222   Customer #63280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19223   Customer #63285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19224   Customer #63286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19225   Customer #63287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19226   Customer #63289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19227   Customer #63296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19228   Customer #63308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19229   Customer #63311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19230   Customer #63317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19231   Customer #63320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19232   Customer #63321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19233   Customer #63326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19234   Customer #63328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19235   Customer #63332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19236   Customer #63333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19237   Customer #63337                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19238   Customer #63341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19239   Customer #63342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19240   Customer #63347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19241   Customer #63349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19242   Customer #63350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19243   Customer #63358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19244   Customer #63360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19245   Customer #63368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19246   Customer #63381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19247   Customer #63385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19248   Customer #63387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19249   Customer #63390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19250   Customer #63391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19251   Customer #63397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19252   Customer #63402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19253   Customer #63403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19254   Customer #63404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19255   Customer #63406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19256   Customer #63407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19257   Customer #63411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19258   Customer #63412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19259   Customer #63413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19260   Customer #63431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19261   Customer #63433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19262   Customer #63437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19263   Customer #63441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19264   Customer #63454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19265   Customer #63458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19266   Customer #63463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19267   Customer #63468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19268   Customer #63483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19269   Customer #63484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19270   Customer #63485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19271   Customer #63491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19272   Customer #63498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19273   Customer #63500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19274   Customer #63501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19275   Customer #63505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19276   Customer #63506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19277   Customer #63510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19278   Customer #63511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19279   Customer #63513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19280   Customer #63519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19281   Customer #63521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19282   Customer #63526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19283   Customer #63529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19284   Customer #63532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19285   Customer #63534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19286   Customer #63536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19287   Customer #63537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19288   Customer #63542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19289   Customer #63545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19290   Customer #63546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19291   Customer #63547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19292   Customer #63551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19293   Customer #63552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19294   Customer #63553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19295   Customer #63555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19296   Customer #63556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19297   Customer #63557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19298   Customer #63558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19299   Customer #63572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19300   Customer #63573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19301   Customer #63578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19302   Customer #63591                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19303   Customer #63593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19304   Customer #63595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19305   Customer #63597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19306   Customer #63598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19307   Customer #63599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19308   Customer #63600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19309   Customer #63615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19310   Customer #63616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19311   Customer #63617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19312   Customer #63625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19313   Customer #63626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19314   Customer #63628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19315   Customer #63658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19316   Customer #63659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19317   Customer #63662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19318   Customer #63670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19319   Customer #63675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19320   Customer #63676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19321   Customer #63677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19322   Customer #63677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19323   Customer #63678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19324   Customer #63682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19325   Customer #63685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19326   Customer #63686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19327   Customer #63687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19328   Customer #63691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19329   Customer #63692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19330   Customer #63698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19331   Customer #63701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19332   Customer #63702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19333   Customer #63703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19334   Customer #63706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19335   Customer #63717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19336   Customer #63729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19337   Customer #63730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19338   Customer #63732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19339   Customer #63739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19340   Customer #63741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19341   Customer #63742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19342   Customer #63743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19343   Customer #63744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19344   Customer #63746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19345   Customer #63749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19346   Customer #63750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19347   Customer #63751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19348   Customer #63753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19349   Customer #63761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19350   Customer #63764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19351   Customer #63769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19352   Customer #63775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19353   Customer #63780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19354   Customer #63788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19355   Customer #63789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19356   Customer #63795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19357   Customer #63810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19358   Customer #63811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19359   Customer #63816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19360   Customer #63825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19361   Customer #63837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19362   Customer #63852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19363   Customer #63858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19364   Customer #63862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19365   Customer #63863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19366   Customer #63865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19367   Customer #63865                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19368   Customer #63870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19369   Customer #63875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19370   Customer #63879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19371   Customer #63884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19372   Customer #63886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19373   Customer #63893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19374   Customer #63896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19375   Customer #63898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19376   Customer #63905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19377   Customer #63916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19378   Customer #63920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19379   Customer #63927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19380   Customer #63929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19381   Customer #63933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19382   Customer #63942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19383   Customer #63943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19384   Customer #63952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19385   Customer #63953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19386   Customer #63954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19387   Customer #63957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19388   Customer #63958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19389   Customer #63977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19390   Customer #64005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19391   Customer #64007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19392   Customer #64031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19393   Customer #64041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19394   Customer #64042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19395   Customer #64043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19396   Customer #64044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19397   Customer #64046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19398   Customer #64049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19399   Customer #64053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19400   Customer #64054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19401   Customer #64055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19402   Customer #64057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19403   Customer #64059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19404   Customer #64072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19405   Customer #64073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19406   Customer #64074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19407   Customer #64076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19408   Customer #64079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19409   Customer #64080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19410   Customer #64080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19411   Customer #64084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19412   Customer #64085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19413   Customer #64085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19414   Customer #64090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19415   Customer #64091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19416   Customer #64093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19417   Customer #64099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19418   Customer #64100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19419   Customer #64106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19420   Customer #64108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19421   Customer #64110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19422   Customer #64118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19423   Customer #64121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19424   Customer #64124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19425   Customer #64126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19426   Customer #64127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19427   Customer #64136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19428   Customer #64137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19429   Customer #64138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19430   Customer #64140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19431   Customer #64142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19432   Customer #64144                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19433   Customer #64151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19434   Customer #64152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19435   Customer #64153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19436   Customer #64159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19437   Customer #64160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19438   Customer #64162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19439   Customer #64163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19440   Customer #64165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19441   Customer #64174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19442   Customer #64176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19443   Customer #64178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19444   Customer #64179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19445   Customer #64181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19446   Customer #64194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19447   Customer #64226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19448   Customer #64227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19449   Customer #64229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19450   Customer #64231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19451   Customer #64241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19452   Customer #64244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19453   Customer #64248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19454   Customer #64269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19455   Customer #64273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19456   Customer #64276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19457   Customer #64279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19458   Customer #64282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19459   Customer #64287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19460   Customer #64292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19461   Customer #64293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19462   Customer #64298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19463   Customer #64308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19464   Customer #64312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19465   Customer #64331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19466   Customer #64337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19467   Customer #64344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19468   Customer #64345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19469   Customer #64347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19470   Customer #64354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19471   Customer #64355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19472   Customer #64357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19473   Customer #64360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19474   Customer #64364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19475   Customer #64366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19476   Customer #64368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19477   Customer #64369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19478   Customer #64371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19479   Customer #64376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19480   Customer #64379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19481   Customer #64385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19482   Customer #64386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19483   Customer #64394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19484   Customer #64395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19485   Customer #64396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19486   Customer #64397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19487   Customer #64399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19488   Customer #64414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19489   Customer #64415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19490   Customer #64417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19491   Customer #64418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19492   Customer #64419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19493   Customer #64432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19494   Customer #64434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19495   Customer #64435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19496   Customer #64436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19497   Customer #64437                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19498   Customer #64438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19499   Customer #64440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19500   Customer #64441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19501   Customer #64457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19502   Customer #64461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19503   Customer #64462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19504   Customer #64463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19505   Customer #64464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19506   Customer #64466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19507   Customer #64473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19508   Customer #64477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19509   Customer #64481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19510   Customer #64488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19511   Customer #64490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19512   Customer #64491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19513   Customer #64492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19514   Customer #64496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19515   Customer #64498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19516   Customer #64505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19517   Customer #64506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19518   Customer #64507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19519   Customer #64508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19520   Customer #64510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19521   Customer #64511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19522   Customer #64512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19523   Customer #64514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19524   Customer #64520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19525   Customer #64521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19526   Customer #64523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19527   Customer #64524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19528   Customer #64530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19529   Customer #64534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19530   Customer #64536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19531   Customer #64537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19532   Customer #64544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19533   Customer #64547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19534   Customer #64548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19535   Customer #64549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19536   Customer #64551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19537   Customer #64553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19538   Customer #64554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19539   Customer #64555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19540   Customer #64568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19541   Customer #64575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19542   Customer #64588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19543   Customer #64589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19544   Customer #64590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19545   Customer #64591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19546   Customer #64593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19547   Customer #64594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19548   Customer #64617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19549   Customer #64618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19550   Customer #64624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19551   Customer #64626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19552   Customer #64628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19553   Customer #64629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19554   Customer #64633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19555   Customer #64634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19556   Customer #64639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19557   Customer #64642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19558   Customer #64651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19559   Customer #64652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19560   Customer #64654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19561   Customer #64654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19562   Customer #64655                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19563   Customer #64662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19564   Customer #64668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19565   Customer #64684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19566   Customer #64685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19567   Customer #64689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19568   Customer #64690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19569   Customer #64691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19570   Customer #64697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19571   Customer #64702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19572   Customer #64708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19573   Customer #64714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19574   Customer #64715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19575   Customer #64718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19576   Customer #64723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19577   Customer #64747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19578   Customer #64750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19579   Customer #64752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19580   Customer #64762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19581   Customer #64764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19582   Customer #64765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19583   Customer #64767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19584   Customer #64774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19585   Customer #64775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19586   Customer #64782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19587   Customer #64783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19588   Customer #64791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19589   Customer #64802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19590   Customer #64806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19591   Customer #64814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19592   Customer #64820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19593   Customer #64823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19594   Customer #64824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19595   Customer #64827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19596   Customer #64834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19597   Customer #64847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19598   Customer #64860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19599   Customer #64871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19600   Customer #64873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19601   Customer #64881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19602   Customer #64887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19603   Customer #64890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19604   Customer #64891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19605   Customer #64893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19606   Customer #64895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19607   Customer #64898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19608   Customer #64904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19609   Customer #64908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19610   Customer #64914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19611   Customer #64917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19612   Customer #64917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19613   Customer #64919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19614   Customer #64922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19615   Customer #64934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19616   Customer #64936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19617   Customer #64937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19618   Customer #64945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19619   Customer #64947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19620   Customer #64951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19621   Customer #64953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19622   Customer #64954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19623   Customer #64956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19624   Customer #64961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19625   Customer #64962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19626   Customer #64969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19627   Customer #64970                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19628   Customer #64972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19629   Customer #64973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19630   Customer #64975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19631   Customer #64976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19632   Customer #64977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19633   Customer #64978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19634   Customer #64985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19635   Customer #64986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19636   Customer #64988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19637   Customer #64989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19638   Customer #64991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19639   Customer #64992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19640   Customer #64994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19641   Customer #64995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19642   Customer #64998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19643   Customer #65004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19644   Customer #65006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19645   Customer #65035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19646   Customer #65041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19647   Customer #65047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19648   Customer #65050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19649   Customer #65055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19650   Customer #65059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19651   Customer #65062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19652   Customer #65069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19653   Customer #65070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19654   Customer #65076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19655   Customer #65080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19656   Customer #65082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19657   Customer #65092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19658   Customer #65093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19659   Customer #65098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19660   Customer #65106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19661   Customer #65109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19662   Customer #65113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19663   Customer #65117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19664   Customer #65125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19665   Customer #65132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19666   Customer #65133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19667   Customer #65136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19668   Customer #65138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19669   Customer #65139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19670   Customer #65140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19671   Customer #65141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19672   Customer #65142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19673   Customer #65145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19674   Customer #65153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19675   Customer #65156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19676   Customer #65171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19677   Customer #65174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19678   Customer #65192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19679   Customer #65195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19680   Customer #65196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19681   Customer #65215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19682   Customer #65216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19683   Customer #65217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19684   Customer #65223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19685   Customer #65234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19686   Customer #65243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19687   Customer #65248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19688   Customer #65249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19689   Customer #65263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19690   Customer #65266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19691   Customer #65267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19692   Customer #65274                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19693   Customer #65278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19694   Customer #65279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19695   Customer #65280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19696   Customer #65287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19697   Customer #65289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19698   Customer #65290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19699   Customer #65291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19700   Customer #65292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19701   Customer #65293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19702   Customer #65296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19703   Customer #65299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19704   Customer #65302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19705   Customer #65303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19706   Customer #65306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19707   Customer #65310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19708   Customer #65312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19709   Customer #65313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19710   Customer #65315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19711   Customer #65318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19712   Customer #65331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19713   Customer #65339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19714   Customer #65346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19715   Customer #65353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19716   Customer #65356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19717   Customer #65358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19718   Customer #65360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19719   Customer #65361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19720   Customer #65364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19721   Customer #65367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19722   Customer #65368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19723   Customer #65383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19724   Customer #65385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19725   Customer #65391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19726   Customer #65392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19727   Customer #65393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19728   Customer #65398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19729   Customer #65400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19730   Customer #65401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19731   Customer #65413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19732   Customer #65414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19733   Customer #65416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19734   Customer #65418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19735   Customer #65427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19736   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19737   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19738   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19739   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19740   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19741   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19742   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19743   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19744   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19745   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19746   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19747   Customer #65435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19748   Customer #65437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19749   Customer #65439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19750   Customer #65442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19751   Customer #65445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19752   Customer #65449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19753   Customer #65451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19754   Customer #65456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19755   Customer #65459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19756   Customer #65460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19757   Customer #65461                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19758   Customer #65463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19759   Customer #65465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19760   Customer #65471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19761   Customer #65473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19762   Customer #65475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19763   Customer #65476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19764   Customer #65479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19765   Customer #65482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19766   Customer #65491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19767   Customer #65492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19768   Customer #65493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19769   Customer #65513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19770   Customer #65527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19771   Customer #65528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19772   Customer #65530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19773   Customer #65531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19774   Customer #65557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19775   Customer #65561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19776   Customer #65562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19777   Customer #65569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19778   Customer #65570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19779   Customer #65571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19780   Customer #65572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19781   Customer #65574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19782   Customer #65594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19783   Customer #65596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19784   Customer #65606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19785   Customer #65608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19786   Customer #65610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19787   Customer #65612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19788   Customer #65620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19789   Customer #65630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19790   Customer #65632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19791   Customer #65645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19792   Customer #65656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19793   Customer #65658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19794   Customer #65660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19795   Customer #65675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19796   Customer #65679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19797   Customer #65685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19798   Customer #65686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19799   Customer #65690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19800   Customer #65699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19801   Customer #65700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19802   Customer #65703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19803   Customer #65704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19804   Customer #65706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19805   Customer #65708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19806   Customer #65714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19807   Customer #65733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19808   Customer #65734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19809   Customer #65743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19810   Customer #65745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19811   Customer #65755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19812   Customer #65764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19813   Customer #65771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19814   Customer #65780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19815   Customer #65783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19816   Customer #65789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19817   Customer #65790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19818   Customer #65791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19819   Customer #65793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19820   Customer #65794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19821   Customer #65797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19822   Customer #65798                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19823   Customer #65802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19824   Customer #65803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19825   Customer #65806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19826   Customer #65807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19827   Customer #65811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19828   Customer #65816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19829   Customer #65818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19830   Customer #65819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19831   Customer #65820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19832   Customer #65826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19833   Customer #65829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19834   Customer #65831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19835   Customer #65834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19836   Customer #65837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19837   Customer #65840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19838   Customer #65843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19839   Customer #65844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19840   Customer #65848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19841   Customer #65854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19842   Customer #65855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19843   Customer #65856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19844   Customer #65858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19845   Customer #65870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19846   Customer #65871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19847   Customer #65875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19848   Customer #65888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19849   Customer #65892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19850   Customer #65901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19851   Customer #65902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19852   Customer #65903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19853   Customer #65911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19854   Customer #65914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19855   Customer #65918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19856   Customer #65919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19857   Customer #65932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19858   Customer #65935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19859   Customer #65942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19860   Customer #65945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19861   Customer #65946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19862   Customer #65947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19863   Customer #65949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19864   Customer #65953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19865   Customer #65957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19866   Customer #65962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19867   Customer #65972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19868   Customer #65973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19869   Customer #65976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19870   Customer #65984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19871   Customer #65986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19872   Customer #65988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19873   Customer #65990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19874   Customer #66004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19875   Customer #66014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19876   Customer #66015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19877   Customer #66016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19878   Customer #66017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19879   Customer #66019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19880   Customer #66020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19881   Customer #66022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19882   Customer #66033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19883   Customer #66034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19884   Customer #66035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19885   Customer #66036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19886   Customer #66037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19887   Customer #66050                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19888   Customer #66051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19889   Customer #66052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19890   Customer #66062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19891   Customer #66065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19892   Customer #66066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19893   Customer #66079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19894   Customer #66102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19895   Customer #66105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19896   Customer #66109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19897   Customer #66121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19898   Customer #66125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19899   Customer #66131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19900   Customer #66145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19901   Customer #66149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19902   Customer #66160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19903   Customer #66161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19904   Customer #66162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19905   Customer #66163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19906   Customer #66164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19907   Customer #66168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19908   Customer #66173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19909   Customer #66175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19910   Customer #66179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19911   Customer #66199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19912   Customer #66200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19913   Customer #66205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19914   Customer #66208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19915   Customer #66214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19916   Customer #66216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19917   Customer #66218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19918   Customer #66222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19919   Customer #66226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19920   Customer #66236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19921   Customer #66238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19922   Customer #66242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19923   Customer #66248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19924   Customer #66249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19925   Customer #66250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19926   Customer #66256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19927   Customer #66257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19928   Customer #66262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19929   Customer #66264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19930   Customer #66265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19931   Customer #66266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19932   Customer #66270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19933   Customer #66272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19934   Customer #66273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19935   Customer #66280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19936   Customer #66285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19937   Customer #66287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19938   Customer #66299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19939   Customer #66300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19940   Customer #66301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19941   Customer #66303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19942   Customer #66305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19943   Customer #66308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19944   Customer #66310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19945   Customer #66311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19946   Customer #66313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19947   Customer #66314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19948   Customer #66316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19949   Customer #66318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19950   Customer #66325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19951   Customer #66326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19952   Customer #66335                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.19953   Customer #66339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19954   Customer #66344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19955   Customer #66345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19956   Customer #66346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19957   Customer #66351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19958   Customer #66354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19959   Customer #66363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19960   Customer #66364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19961   Customer #66378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19962   Customer #66379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19963   Customer #66383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19964   Customer #66388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19965   Customer #66392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19966   Customer #66394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19967   Customer #66396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19968   Customer #66397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19969   Customer #66398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19970   Customer #66400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19971   Customer #66403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19972   Customer #66405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19973   Customer #66407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19974   Customer #66414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19975   Customer #66420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19976   Customer #66425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19977   Customer #66427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19978   Customer #66434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19979   Customer #66435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19980   Customer #66436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19981   Customer #66440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19982   Customer #66443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19983   Customer #66449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19984   Customer #66455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19985   Customer #66458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19986   Customer #66460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19987   Customer #66466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19988   Customer #66468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19989   Customer #66472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19990   Customer #66478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19991   Customer #66481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19992   Customer #66484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19993   Customer #66489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19994   Customer #66492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19995   Customer #66495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19996   Customer #66497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19997   Customer #66502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19998   Customer #66519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.19999   Customer #66522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20000   Customer #66525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20001   Customer #66530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20002   Customer #66535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20003   Customer #66542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20004   Customer #66547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20005   Customer #66548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20006   Customer #66552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20007   Customer #66557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20008   Customer #66565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20009   Customer #66567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20010   Customer #66573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20011   Customer #66574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20012   Customer #66582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20013   Customer #66583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20014   Customer #66592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20015   Customer #66600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20016   Customer #66601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20017   Customer #66605                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20018   Customer #66615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20019   Customer #66623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20020   Customer #66627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20021   Customer #66651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20022   Customer #66654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20023   Customer #66657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20024   Customer #66658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20025   Customer #66664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20026   Customer #66668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20027   Customer #66673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20028   Customer #66680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20029   Customer #66683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20030   Customer #66684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20031   Customer #66690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20032   Customer #66691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20033   Customer #66694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20034   Customer #66698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20035   Customer #66699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20036   Customer #66707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20037   Customer #66708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20038   Customer #66709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20039   Customer #66713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20040   Customer #66717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20041   Customer #66725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20042   Customer #66726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20043   Customer #66727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20044   Customer #66733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20045   Customer #66734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20046   Customer #66738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20047   Customer #66741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20048   Customer #66747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20049   Customer #66749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20050   Customer #66751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20051   Customer #66754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20052   Customer #66765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20053   Customer #66766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20054   Customer #66773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20055   Customer #66779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20056   Customer #66780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20057   Customer #66781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20058   Customer #66783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20059   Customer #66785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20060   Customer #66792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20061   Customer #66795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20062   Customer #66796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20063   Customer #66803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20064   Customer #66804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20065   Customer #66809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20066   Customer #66811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20067   Customer #66812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20068   Customer #66815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20069   Customer #66817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20070   Customer #66819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20071   Customer #66822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20072   Customer #66823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20073   Customer #66829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20074   Customer #66830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20075   Customer #66833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20076   Customer #66834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20077   Customer #66837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20078   Customer #66838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20079   Customer #66839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20080   Customer #66840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20081   Customer #66843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20082   Customer #66845                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20083   Customer #66847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20084   Customer #66849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20085   Customer #66850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20086   Customer #66851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20087   Customer #66852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20088   Customer #66882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20089   Customer #66885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20090   Customer #66891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20091   Customer #66894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20092   Customer #66902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20093   Customer #66903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20094   Customer #66904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20095   Customer #66907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20096   Customer #66916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20097   Customer #66917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20098   Customer #66922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20099   Customer #66929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20100   Customer #66931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20101   Customer #66935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20102   Customer #66944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20103   Customer #66958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20104   Customer #66960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20105   Customer #66965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20106   Customer #66968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20107   Customer #66970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20108   Customer #66973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20109   Customer #66982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20110   Customer #67007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20111   Customer #67009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20112   Customer #67020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20113   Customer #67025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20114   Customer #67053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20115   Customer #67062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20116   Customer #67063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20117   Customer #67089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20118   Customer #67092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20119   Customer #67096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20120   Customer #67099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20121   Customer #67104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20122   Customer #67106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20123   Customer #67107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20124   Customer #67116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20125   Customer #67120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20126   Customer #67122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20127   Customer #67125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20128   Customer #67138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20129   Customer #67142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20130   Customer #67144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20131   Customer #67152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20132   Customer #67156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20133   Customer #67160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20134   Customer #67163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20135   Customer #67167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20136   Customer #67168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20137   Customer #67169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20138   Customer #67170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20139   Customer #67174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20140   Customer #67176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20141   Customer #67177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20142   Customer #67179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20143   Customer #67182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20144   Customer #67184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20145   Customer #67187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20146   Customer #67188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20147   Customer #67191                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20148   Customer #67192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20149   Customer #67194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20150   Customer #67196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20151   Customer #67197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20152   Customer #67199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20153   Customer #67203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20154   Customer #67204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20155   Customer #67204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20156   Customer #67222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20157   Customer #67225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20158   Customer #67226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20159   Customer #67231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20160   Customer #67232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20161   Customer #67234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20162   Customer #67235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20163   Customer #67236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20164   Customer #67240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20165   Customer #67248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20166   Customer #67267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20167   Customer #67269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20168   Customer #67271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20169   Customer #67272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20170   Customer #67274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20171   Customer #67276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20172   Customer #67278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20173   Customer #67290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20174   Customer #67293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20175   Customer #67294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20176   Customer #67295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20177   Customer #67297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20178   Customer #67299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20179   Customer #67303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20180   Customer #67304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20181   Customer #67306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20182   Customer #67307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20183   Customer #67314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20184   Customer #67316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20185   Customer #67318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20186   Customer #67327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20187   Customer #67329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20188   Customer #67331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20189   Customer #67334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20190   Customer #67337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20191   Customer #67340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20192   Customer #67342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20193   Customer #67345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20194   Customer #67349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20195   Customer #67352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20196   Customer #67356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20197   Customer #67362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20198   Customer #67369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20199   Customer #67380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20200   Customer #67381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20201   Customer #67383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20202   Customer #67390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20203   Customer #67395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20204   Customer #67402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20205   Customer #67403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20206   Customer #67408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20207   Customer #67412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20208   Customer #67416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20209   Customer #67417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20210   Customer #67421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20211   Customer #67428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20212   Customer #67434                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20213   Customer #67436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20214   Customer #67446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20215   Customer #67451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20216   Customer #67454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20217   Customer #67455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20218   Customer #67458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20219   Customer #67460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20220   Customer #67462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20221   Customer #67463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20222   Customer #67464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20223   Customer #67465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20224   Customer #67466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20225   Customer #67468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20226   Customer #67471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20227   Customer #67472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20228   Customer #67477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20229   Customer #67478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20230   Customer #67486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20231   Customer #67490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20232   Customer #67493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20233   Customer #67494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20234   Customer #67498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20235   Customer #67501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20236   Customer #67502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20237   Customer #67504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20238   Customer #67509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20239   Customer #67510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20240   Customer #67516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20241   Customer #67517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20242   Customer #67520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20243   Customer #67521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20244   Customer #67523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20245   Customer #67531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20246   Customer #67533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20247   Customer #67547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20248   Customer #67550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20249   Customer #67551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20250   Customer #67559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20251   Customer #67561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20252   Customer #67564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20253   Customer #67568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20254   Customer #67571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20255   Customer #67572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20256   Customer #67574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20257   Customer #67575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20258   Customer #67580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20259   Customer #67585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20260   Customer #67590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20261   Customer #67594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20262   Customer #67600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20263   Customer #67601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20264   Customer #67603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20265   Customer #67604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20266   Customer #67611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20267   Customer #67613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20268   Customer #67614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20269   Customer #67617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20270   Customer #67636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20271   Customer #67637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20272   Customer #67642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20273   Customer #67643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20274   Customer #67647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20275   Customer #67649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20276   Customer #67651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20277   Customer #67653                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20278   Customer #67656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20279   Customer #67657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20280   Customer #67658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20281   Customer #67659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20282   Customer #67664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20283   Customer #67666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20284   Customer #67673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20285   Customer #67675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20286   Customer #67681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20287   Customer #67686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20288   Customer #67687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20289   Customer #67691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20290   Customer #67692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20291   Customer #67693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20292   Customer #67695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20293   Customer #67696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20294   Customer #67700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20295   Customer #67702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20296   Customer #67706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20297   Customer #67708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20298   Customer #67711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20299   Customer #67712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20300   Customer #67713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20301   Customer #67716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20302   Customer #67718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20303   Customer #67719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20304   Customer #67722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20305   Customer #67723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20306   Customer #67727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20307   Customer #67738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20308   Customer #67739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20309   Customer #67740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20310   Customer #67741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20311   Customer #67745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20312   Customer #67746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20313   Customer #67751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20314   Customer #67757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20315   Customer #67762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20316   Customer #67764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20317   Customer #67766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20318   Customer #67768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20319   Customer #67771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20320   Customer #67789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20321   Customer #67790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20322   Customer #67794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20323   Customer #67798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20324   Customer #67800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20325   Customer #67801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20326   Customer #67825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20327   Customer #67838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20328   Customer #67844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20329   Customer #67850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20330   Customer #67852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20331   Customer #67854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20332   Customer #67868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20333   Customer #67870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20334   Customer #67871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20335   Customer #67872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20336   Customer #67877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20337   Customer #67878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20338   Customer #67882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20339   Customer #67883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20340   Customer #67894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20341   Customer #67895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20342   Customer #67897                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20343   Customer #67899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20344   Customer #67902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20345   Customer #67907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20346   Customer #67909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20347   Customer #67909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20348   Customer #67914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20349   Customer #67915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20350   Customer #67928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20351   Customer #67930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20352   Customer #67931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20353   Customer #67939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20354   Customer #67945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20355   Customer #67947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20356   Customer #67948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20357   Customer #67955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20358   Customer #67956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20359   Customer #67961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20360   Customer #67962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20361   Customer #67964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20362   Customer #67969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20363   Customer #67970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20364   Customer #67978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20365   Customer #67983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20366   Customer #67984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20367   Customer #67989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20368   Customer #68001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20369   Customer #68011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20370   Customer #68017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20371   Customer #68022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20372   Customer #68029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20373   Customer #68035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20374   Customer #68038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20375   Customer #68044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20376   Customer #68055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20377   Customer #68058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20378   Customer #68061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20379   Customer #68066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20380   Customer #68068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20381   Customer #68075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20382   Customer #68078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20383   Customer #68084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20384   Customer #68085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20385   Customer #68087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20386   Customer #68090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20387   Customer #68095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20388   Customer #68098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20389   Customer #68100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20390   Customer #68106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20391   Customer #68111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20392   Customer #68113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20393   Customer #68113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20394   Customer #68116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20395   Customer #68117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20396   Customer #68124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20397   Customer #68132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20398   Customer #68133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20399   Customer #68137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20400   Customer #68138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20401   Customer #68144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20402   Customer #68146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20403   Customer #68150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20404   Customer #68151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20405   Customer #68156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20406   Customer #68158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20407   Customer #68160                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20408   Customer #68161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20409   Customer #68166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20410   Customer #68169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20411   Customer #68172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20412   Customer #68177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20413   Customer #68179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20414   Customer #68180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20415   Customer #68181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20416   Customer #68185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20417   Customer #68189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20418   Customer #68190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20419   Customer #68201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20420   Customer #68203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20421   Customer #68206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20422   Customer #68211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20423   Customer #68215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20424   Customer #68227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20425   Customer #68228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20426   Customer #68230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20427   Customer #68231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20428   Customer #68232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20429   Customer #68233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20430   Customer #68234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20431   Customer #68237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20432   Customer #68238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20433   Customer #68239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20434   Customer #68242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20435   Customer #68245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20436   Customer #68252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20437   Customer #68253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20438   Customer #68255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20439   Customer #68256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20440   Customer #68260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20441   Customer #68262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20442   Customer #68274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20443   Customer #68285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20444   Customer #68286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20445   Customer #68289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20446   Customer #68294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20447   Customer #68298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20448   Customer #68300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20449   Customer #68302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20450   Customer #68306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20451   Customer #68312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20452   Customer #68313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20453   Customer #68323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20454   Customer #68325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20455   Customer #68326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20456   Customer #68327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20457   Customer #68328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20458   Customer #68330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20459   Customer #68331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20460   Customer #68335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20461   Customer #68338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20462   Customer #68341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20463   Customer #68345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20464   Customer #68348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20465   Customer #68349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20466   Customer #68356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20467   Customer #68357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20468   Customer #68358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20469   Customer #68359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20470   Customer #68360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20471   Customer #68363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20472   Customer #68364                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20473   Customer #68367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20474   Customer #68372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20475   Customer #68377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20476   Customer #68379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20477   Customer #68381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20478   Customer #68382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20479   Customer #68382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20480   Customer #68384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20481   Customer #68388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20482   Customer #68389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20483   Customer #68392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20484   Customer #68395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20485   Customer #68399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20486   Customer #68402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20487   Customer #68403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20488   Customer #68411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20489   Customer #68417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20490   Customer #68419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20491   Customer #68422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20492   Customer #68426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20493   Customer #68436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20494   Customer #68442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20495   Customer #68444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20496   Customer #68455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20497   Customer #68456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20498   Customer #68458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20499   Customer #68465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20500   Customer #68466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20501   Customer #68467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20502   Customer #68469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20503   Customer #68471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20504   Customer #68492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20505   Customer #68493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20506   Customer #68494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20507   Customer #68503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20508   Customer #68505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20509   Customer #68507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20510   Customer #68524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20511   Customer #68525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20512   Customer #68527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20513   Customer #68528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20514   Customer #68530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20515   Customer #68538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20516   Customer #68539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20517   Customer #68548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20518   Customer #68557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20519   Customer #68559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20520   Customer #68561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20521   Customer #68568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20522   Customer #68570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20523   Customer #68575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20524   Customer #68581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20525   Customer #68582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20526   Customer #68586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20527   Customer #68587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20528   Customer #68588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20529   Customer #68633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20530   Customer #68634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20531   Customer #68637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20532   Customer #68639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20533   Customer #68645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20534   Customer #68651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20535   Customer #68658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20536   Customer #68667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20537   Customer #68677                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20538   Customer #68680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20539   Customer #68681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20540   Customer #68682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20541   Customer #68683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20542   Customer #68685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20543   Customer #68697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20544   Customer #68699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20545   Customer #68710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20546   Customer #68722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20547   Customer #68727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20548   Customer #68728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20549   Customer #68729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20550   Customer #68730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20551   Customer #68731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20552   Customer #68734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20553   Customer #68737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20554   Customer #68749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20555   Customer #68750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20556   Customer #68751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20557   Customer #68752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20558   Customer #68766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20559   Customer #68767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20560   Customer #68773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20561   Customer #68778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20562   Customer #68779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20563   Customer #68782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20564   Customer #68785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20565   Customer #68791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20566   Customer #68798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20567   Customer #68799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20568   Customer #68801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20569   Customer #68813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20570   Customer #68815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20571   Customer #68825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20572   Customer #68826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20573   Customer #68835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20574   Customer #68836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20575   Customer #68839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20576   Customer #68842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20577   Customer #68843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20578   Customer #68846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20579   Customer #68848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20580   Customer #68851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20581   Customer #68852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20582   Customer #68855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20583   Customer #68857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20584   Customer #68859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20585   Customer #68862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20586   Customer #68867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20587   Customer #68869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20588   Customer #68872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20589   Customer #68873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20590   Customer #68874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20591   Customer #68875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20592   Customer #68876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20593   Customer #68879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20594   Customer #68880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20595   Customer #68882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20596   Customer #68883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20597   Customer #68887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20598   Customer #68894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20599   Customer #68900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20600   Customer #68916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20601   Customer #68919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20602   Customer #68920                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20603   Customer #68927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20604   Customer #68933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20605   Customer #68942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20606   Customer #68946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20607   Customer #68949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20608   Customer #68952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20609   Customer #68956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20610   Customer #68957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20611   Customer #68964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20612   Customer #68966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20613   Customer #68968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20614   Customer #68975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20615   Customer #68976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20616   Customer #68979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20617   Customer #68982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20618   Customer #68983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20619   Customer #68986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20620   Customer #68999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20621   Customer #69002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20622   Customer #69004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20623   Customer #69007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20624   Customer #69011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20625   Customer #69025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20626   Customer #69026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20627   Customer #69037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20628   Customer #69038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20629   Customer #69041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20630   Customer #69043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20631   Customer #69047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20632   Customer #69048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20633   Customer #69054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20634   Customer #69057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20635   Customer #69060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20636   Customer #69068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20637   Customer #69073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20638   Customer #69076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20639   Customer #69081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20640   Customer #69086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20641   Customer #69087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20642   Customer #69091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20643   Customer #69092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20644   Customer #69094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20645   Customer #69096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20646   Customer #69098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20647   Customer #69101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20648   Customer #69107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20649   Customer #69109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20650   Customer #69111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20651   Customer #69112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20652   Customer #69117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20653   Customer #69118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20654   Customer #69120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20655   Customer #69125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20656   Customer #69127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20657   Customer #69136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20658   Customer #69143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20659   Customer #69147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20660   Customer #69153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20661   Customer #69154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20662   Customer #69156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20663   Customer #69169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20664   Customer #69175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20665   Customer #69179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20666   Customer #69180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20667   Customer #69182                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20668   Customer #69200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20669   Customer #69201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20670   Customer #69206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20671   Customer #69211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20672   Customer #69213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20673   Customer #69217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20674   Customer #69219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20675   Customer #69221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20676   Customer #69237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20677   Customer #69238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20678   Customer #69245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20679   Customer #69246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20680   Customer #69247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20681   Customer #69250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20682   Customer #69255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20683   Customer #69256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20684   Customer #69261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20685   Customer #69282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20686   Customer #69295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20687   Customer #69298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20688   Customer #69299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20689   Customer #69301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20690   Customer #69302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20691   Customer #69306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20692   Customer #69309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20693   Customer #69310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20694   Customer #69311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20695   Customer #69323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20696   Customer #69327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20697   Customer #69328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20698   Customer #69330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20699   Customer #69333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20700   Customer #69337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20701   Customer #69338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20702   Customer #69339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20703   Customer #69341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20704   Customer #69345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20705   Customer #69346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20706   Customer #69347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20707   Customer #69348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20708   Customer #69349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20709   Customer #69351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20710   Customer #69352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20711   Customer #69355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20712   Customer #69357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20713   Customer #69359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20714   Customer #69361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20715   Customer #69362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20716   Customer #69365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20717   Customer #69373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20718   Customer #69374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20719   Customer #69377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20720   Customer #69378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20721   Customer #69380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20722   Customer #69383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20723   Customer #69385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20724   Customer #69386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20725   Customer #69387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20726   Customer #69388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20727   Customer #69389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20728   Customer #69390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20729   Customer #69400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20730   Customer #69402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20731   Customer #69403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20732   Customer #69411                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20733   Customer #69412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20734   Customer #69413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20735   Customer #69416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20736   Customer #69420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20737   Customer #69426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20738   Customer #69427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20739   Customer #69430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20740   Customer #69431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20741   Customer #69432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20742   Customer #69434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20743   Customer #69435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20744   Customer #69451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20745   Customer #69457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20746   Customer #69459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20747   Customer #69460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20748   Customer #69461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20749   Customer #69462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20750   Customer #69463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20751   Customer #69464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20752   Customer #69465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20753   Customer #69473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20754   Customer #69483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20755   Customer #69484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20756   Customer #69487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20757   Customer #69490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20758   Customer #69492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20759   Customer #69496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20760   Customer #69498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20761   Customer #69504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20762   Customer #69514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20763   Customer #69519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20764   Customer #69522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20765   Customer #69523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20766   Customer #69525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20767   Customer #69527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20768   Customer #69530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20769   Customer #69531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20770   Customer #69533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20771   Customer #69535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20772   Customer #69537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20773   Customer #69540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20774   Customer #69541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20775   Customer #69546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20776   Customer #69555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20777   Customer #69556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20778   Customer #69557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20779   Customer #69558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20780   Customer #69563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20781   Customer #69564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20782   Customer #69571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20783   Customer #69576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20784   Customer #69579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20785   Customer #69585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20786   Customer #69587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20787   Customer #69590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20788   Customer #69591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20789   Customer #69608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20790   Customer #69617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20791   Customer #69622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20792   Customer #69623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20793   Customer #69624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20794   Customer #69630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20795   Customer #69634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20796   Customer #69636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20797   Customer #69637                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20798   Customer #69645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20799   Customer #69654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20800   Customer #69655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20801   Customer #69656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20802   Customer #69657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20803   Customer #69658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20804   Customer #69659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20805   Customer #69662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20806   Customer #69668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20807   Customer #69669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20808   Customer #69679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20809   Customer #69681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20810   Customer #69695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20811   Customer #69712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20812   Customer #69713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20813   Customer #69715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20814   Customer #69716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20815   Customer #69723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20816   Customer #69725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20817   Customer #69727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20818   Customer #69728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20819   Customer #69741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20820   Customer #69744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20821   Customer #69745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20822   Customer #69746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20823   Customer #69747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20824   Customer #69751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20825   Customer #69757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20826   Customer #69766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20827   Customer #69768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20828   Customer #69772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20829   Customer #69773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20830   Customer #69774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20831   Customer #69775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20832   Customer #69777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20833   Customer #69780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20834   Customer #69783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20835   Customer #69784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20836   Customer #69785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20837   Customer #69786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20838   Customer #69789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20839   Customer #69792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20840   Customer #69794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20841   Customer #69798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20842   Customer #69801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20843   Customer #69804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20844   Customer #69806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20845   Customer #69807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20846   Customer #69812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20847   Customer #69821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20848   Customer #69822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20849   Customer #69831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20850   Customer #69836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20851   Customer #69843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20852   Customer #69845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20853   Customer #69846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20854   Customer #69847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20855   Customer #69849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20856   Customer #69851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20857   Customer #69851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20858   Customer #69853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20859   Customer #69854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20860   Customer #69856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20861   Customer #69859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20862   Customer #69861                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20863   Customer #69866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20864   Customer #69870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20865   Customer #69870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20866   Customer #69874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20867   Customer #69875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20868   Customer #69876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20869   Customer #69877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20870   Customer #69878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20871   Customer #69879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20872   Customer #69880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20873   Customer #69883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20874   Customer #69884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20875   Customer #69885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20876   Customer #69886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20877   Customer #69888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20878   Customer #69890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20879   Customer #69891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20880   Customer #69892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20881   Customer #69893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20882   Customer #69894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20883   Customer #69895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20884   Customer #69897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20885   Customer #69898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20886   Customer #69904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20887   Customer #69918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20888   Customer #69919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20889   Customer #69921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20890   Customer #69925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20891   Customer #69926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20892   Customer #69927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20893   Customer #69930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20894   Customer #69931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20895   Customer #69933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20896   Customer #69934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20897   Customer #69935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20898   Customer #69936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20899   Customer #69938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20900   Customer #69939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20901   Customer #69943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20902   Customer #69948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20903   Customer #69949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20904   Customer #69950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20905   Customer #69952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20906   Customer #69954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20907   Customer #69956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20908   Customer #69958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20909   Customer #69961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20910   Customer #69962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20911   Customer #69963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20912   Customer #69964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20913   Customer #69970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20914   Customer #69972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20915   Customer #69987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20916   Customer #69989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20917   Customer #69990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20918   Customer #69998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20919   Customer #70003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20920   Customer #70023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20921   Customer #70028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20922   Customer #70031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20923   Customer #70034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20924   Customer #70035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20925   Customer #70039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20926   Customer #70041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20927   Customer #70044                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20928   Customer #70047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20929   Customer #70048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20930   Customer #70052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20931   Customer #70053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20932   Customer #70062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20933   Customer #70065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20934   Customer #70067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20935   Customer #70071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20936   Customer #70072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20937   Customer #70075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20938   Customer #70076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20939   Customer #70079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20940   Customer #70097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20941   Customer #70102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20942   Customer #70107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20943   Customer #70107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20944   Customer #70108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20945   Customer #70109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20946   Customer #70110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20947   Customer #70111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20948   Customer #70120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20949   Customer #70121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20950   Customer #70123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20951   Customer #70126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20952   Customer #70133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20953   Customer #70138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20954   Customer #70140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20955   Customer #70142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20956   Customer #70147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20957   Customer #70150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20958   Customer #70161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20959   Customer #70167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20960   Customer #70170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20961   Customer #70171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20962   Customer #70172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20963   Customer #70175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20964   Customer #70177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20965   Customer #70178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20966   Customer #70179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20967   Customer #70181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20968   Customer #70183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20969   Customer #70184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20970   Customer #70185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20971   Customer #70186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20972   Customer #70187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20973   Customer #70188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20974   Customer #70189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20975   Customer #70194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20976   Customer #70200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20977   Customer #70203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20978   Customer #70204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20979   Customer #70205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20980   Customer #70206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20981   Customer #70213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20982   Customer #70215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20983   Customer #70217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20984   Customer #70218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20985   Customer #70219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20986   Customer #70224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20987   Customer #70225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20988   Customer #70228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20989   Customer #70229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20990   Customer #70230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20991   Customer #70231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20992   Customer #70232                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.20993   Customer #70245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20994   Customer #70247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20995   Customer #70248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20996   Customer #70250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20997   Customer #70251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20998   Customer #70253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.20999   Customer #70255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21000   Customer #70260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21001   Customer #70261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21002   Customer #70262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21003   Customer #70264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21004   Customer #70265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21005   Customer #70267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21006   Customer #70272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21007   Customer #70276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21008   Customer #70292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21009   Customer #70295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21010   Customer #70302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21011   Customer #70306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21012   Customer #70308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21013   Customer #70313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21014   Customer #70316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21015   Customer #70319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21016   Customer #70320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21017   Customer #70321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21018   Customer #70325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21019   Customer #70332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21020   Customer #70335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21021   Customer #70344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21022   Customer #70353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21023   Customer #70353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21024   Customer #70354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21025   Customer #70356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21026   Customer #70369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21027   Customer #70373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21028   Customer #70374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21029   Customer #70375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21030   Customer #70381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21031   Customer #70388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21032   Customer #70398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21033   Customer #70413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21034   Customer #70422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21035   Customer #70425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21036   Customer #70427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21037   Customer #70437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21038   Customer #70442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21039   Customer #70444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21040   Customer #70445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21041   Customer #70449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21042   Customer #70450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21043   Customer #70451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21044   Customer #70452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21045   Customer #70458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21046   Customer #70459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21047   Customer #70460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21048   Customer #70466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21049   Customer #70468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21050   Customer #70471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21051   Customer #70473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21052   Customer #70476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21053   Customer #70478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21054   Customer #70479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21055   Customer #70485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21056   Customer #70486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21057   Customer #70487                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21058   Customer #70488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21059   Customer #70489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21060   Customer #70491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21061   Customer #70492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21062   Customer #70497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21063   Customer #70498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21064   Customer #70504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21065   Customer #70505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21066   Customer #70509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21067   Customer #70512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21068   Customer #70516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21069   Customer #70517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21070   Customer #70533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21071   Customer #70534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21072   Customer #70535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21073   Customer #70542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21074   Customer #70543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21075   Customer #70548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21076   Customer #70551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21077   Customer #70552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21078   Customer #70562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21079   Customer #70570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21080   Customer #70572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21081   Customer #70574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21082   Customer #70576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21083   Customer #70579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21084   Customer #70582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21085   Customer #70583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21086   Customer #70584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21087   Customer #70596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21088   Customer #70598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21089   Customer #70605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21090   Customer #70613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21091   Customer #70617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21092   Customer #70618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21093   Customer #70621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21094   Customer #70626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21095   Customer #70629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21096   Customer #70637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21097   Customer #70665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21098   Customer #70674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21099   Customer #70679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21100   Customer #70684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21101   Customer #70691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21102   Customer #70695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21103   Customer #70698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21104   Customer #70700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21105   Customer #70702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21106   Customer #70715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21107   Customer #70717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21108   Customer #70718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21109   Customer #70719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21110   Customer #70720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21111   Customer #70722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21112   Customer #70723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21113   Customer #70724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21114   Customer #70731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21115   Customer #70733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21116   Customer #70736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21117   Customer #70737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21118   Customer #70738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21119   Customer #70741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21120   Customer #70749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21121   Customer #70761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21122   Customer #70762                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21123   Customer #70768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21124   Customer #70785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21125   Customer #70786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21126   Customer #70790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21127   Customer #70791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21128   Customer #70792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21129   Customer #70796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21130   Customer #70828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21131   Customer #70830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21132   Customer #70833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21133   Customer #70837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21134   Customer #70849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21135   Customer #70850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21136   Customer #70863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21137   Customer #70869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21138   Customer #70870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21139   Customer #70871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21140   Customer #70874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21141   Customer #70881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21142   Customer #70888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21143   Customer #70892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21144   Customer #70893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21145   Customer #70896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21146   Customer #70901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21147   Customer #70904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21148   Customer #70907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21149   Customer #70908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21150   Customer #70909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21151   Customer #70913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21152   Customer #70918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21153   Customer #70924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21154   Customer #70926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21155   Customer #70927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21156   Customer #70929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21157   Customer #70932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21158   Customer #70935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21159   Customer #70946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21160   Customer #70948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21161   Customer #70951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21162   Customer #70953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21163   Customer #70954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21164   Customer #70960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21165   Customer #70968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21166   Customer #70988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21167   Customer #70991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21168   Customer #70994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21169   Customer #71000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21170   Customer #71001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21171   Customer #71002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21172   Customer #71004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21173   Customer #71014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21174   Customer #71015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21175   Customer #71017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21176   Customer #71018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21177   Customer #71019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21178   Customer #71020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21179   Customer #71021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21180   Customer #71026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21181   Customer #71027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21182   Customer #71028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21183   Customer #71029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21184   Customer #71037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21185   Customer #71041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21186   Customer #71042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21187   Customer #71043                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21188   Customer #71048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21189   Customer #71053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21190   Customer #71084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21191   Customer #71085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21192   Customer #71087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21193   Customer #71090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21194   Customer #71091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21195   Customer #71092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21196   Customer #71095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21197   Customer #71098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21198   Customer #71101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21199   Customer #71107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21200   Customer #71109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21201   Customer #71118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21202   Customer #71120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21203   Customer #71124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21204   Customer #71126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21205   Customer #71129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21206   Customer #71131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21207   Customer #71133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21208   Customer #71135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21209   Customer #71136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21210   Customer #71143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21211   Customer #71150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21212   Customer #71153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21213   Customer #71165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21214   Customer #71174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21215   Customer #71178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21216   Customer #71181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21217   Customer #71183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21218   Customer #71189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21219   Customer #71195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21220   Customer #71204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21221   Customer #71207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21222   Customer #71209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21223   Customer #71212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21224   Customer #71216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21225   Customer #71227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21226   Customer #71230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21227   Customer #71233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21228   Customer #71238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21229   Customer #71244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21230   Customer #71249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21231   Customer #71253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21232   Customer #71255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21233   Customer #71256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21234   Customer #71261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21235   Customer #71266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21236   Customer #71269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21237   Customer #71270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21238   Customer #71283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21239   Customer #71285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21240   Customer #71288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21241   Customer #71289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21242   Customer #71296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21243   Customer #71303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21244   Customer #71304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21245   Customer #71307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21246   Customer #71308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21247   Customer #71310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21248   Customer #71316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21249   Customer #71323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21250   Customer #71328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21251   Customer #71332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21252   Customer #71336                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21253   Customer #71347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21254   Customer #71357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21255   Customer #71358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21256   Customer #71362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21257   Customer #71364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21258   Customer #71365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21259   Customer #71371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21260   Customer #71376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21261   Customer #71380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21262   Customer #71387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21263   Customer #71388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21264   Customer #71389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21265   Customer #71397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21266   Customer #71399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21267   Customer #71401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21268   Customer #71404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21269   Customer #71405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21270   Customer #71406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21271   Customer #71408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21272   Customer #71414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21273   Customer #71415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21274   Customer #71418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21275   Customer #71419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21276   Customer #71420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21277   Customer #71421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21278   Customer #71425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21279   Customer #71430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21280   Customer #71441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21281   Customer #71448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21282   Customer #71450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21283   Customer #71454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21284   Customer #71455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21285   Customer #71456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21286   Customer #71458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21287   Customer #71459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21288   Customer #71460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21289   Customer #71461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21290   Customer #71468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21291   Customer #71475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21292   Customer #71476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21293   Customer #71477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21294   Customer #71478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21295   Customer #71487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21296   Customer #71490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21297   Customer #71493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21298   Customer #71497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21299   Customer #71503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21300   Customer #71504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21301   Customer #71505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21302   Customer #71510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21303   Customer #71512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21304   Customer #71515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21305   Customer #71520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21306   Customer #71523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21307   Customer #71531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21308   Customer #71548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21309   Customer #71555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21310   Customer #71556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21311   Customer #71557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21312   Customer #71561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21313   Customer #71564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21314   Customer #71568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21315   Customer #71569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21316   Customer #71573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21317   Customer #71574                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21318   Customer #71579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21319   Customer #71582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21320   Customer #71583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21321   Customer #71586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21322   Customer #71588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21323   Customer #71589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21324   Customer #71590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21325   Customer #71594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21326   Customer #71597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21327   Customer #71602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21328   Customer #71604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21329   Customer #71606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21330   Customer #71608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21331   Customer #71610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21332   Customer #71614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21333   Customer #71617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21334   Customer #71628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21335   Customer #71629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21336   Customer #71630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21337   Customer #71632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21338   Customer #71633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21339   Customer #71635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21340   Customer #71636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21341   Customer #71637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21342   Customer #71639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21343   Customer #71640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21344   Customer #71641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21345   Customer #71643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21346   Customer #71645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21347   Customer #71646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21348   Customer #71647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21349   Customer #71648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21350   Customer #71650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21351   Customer #71653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21352   Customer #71659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21353   Customer #71664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21354   Customer #71667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21355   Customer #71670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21356   Customer #71672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21357   Customer #71674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21358   Customer #71675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21359   Customer #71677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21360   Customer #71680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21361   Customer #71681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21362   Customer #71681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21363   Customer #71682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21364   Customer #71683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21365   Customer #71688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21366   Customer #71690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21367   Customer #71691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21368   Customer #71699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21369   Customer #71704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21370   Customer #71705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21371   Customer #71711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21372   Customer #71720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21373   Customer #71723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21374   Customer #71725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21375   Customer #71726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21376   Customer #71729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21377   Customer #71732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21378   Customer #71737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21379   Customer #71738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21380   Customer #71740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21381   Customer #71746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21382   Customer #71747                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21383   Customer #71748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21384   Customer #71750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21385   Customer #71751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21386   Customer #71758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21387   Customer #71759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21388   Customer #71760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21389   Customer #71761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21390   Customer #71775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21391   Customer #71784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21392   Customer #71817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21393   Customer #71819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21394   Customer #71827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21395   Customer #71831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21396   Customer #71834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21397   Customer #71835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21398   Customer #71838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21399   Customer #71856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21400   Customer #71856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21401   Customer #71859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21402   Customer #71869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21403   Customer #71880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21404   Customer #71881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21405   Customer #71882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21406   Customer #71893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21407   Customer #71894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21408   Customer #71910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21409   Customer #71919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21410   Customer #71920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21411   Customer #71921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21412   Customer #71922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21413   Customer #71923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21414   Customer #71925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21415   Customer #71928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21416   Customer #71931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21417   Customer #71932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21418   Customer #71932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21419   Customer #71936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21420   Customer #71938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21421   Customer #71940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21422   Customer #71942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21423   Customer #71944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21424   Customer #71947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21425   Customer #71948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21426   Customer #71962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21427   Customer #71963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21428   Customer #71967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21429   Customer #71968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21430   Customer #71969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21431   Customer #71971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21432   Customer #71972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21433   Customer #71974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21434   Customer #71979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21435   Customer #71981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21436   Customer #71982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21437   Customer #71986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21438   Customer #71990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21439   Customer #71991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21440   Customer #71994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21441   Customer #71997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21442   Customer #71999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21443   Customer #72006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21444   Customer #72007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21445   Customer #72008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21446   Customer #72012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21447   Customer #72013                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21448   Customer #72015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21449   Customer #72017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21450   Customer #72022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21451   Customer #72030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21452   Customer #72032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21453   Customer #72040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21454   Customer #72041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21455   Customer #72042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21456   Customer #72048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21457   Customer #72050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21458   Customer #72059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21459   Customer #72063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21460   Customer #72064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21461   Customer #72065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21462   Customer #72067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21463   Customer #72069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21464   Customer #72076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21465   Customer #72077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21466   Customer #72081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21467   Customer #72086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21468   Customer #72087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21469   Customer #72089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21470   Customer #72091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21471   Customer #72092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21472   Customer #72096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21473   Customer #72118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21474   Customer #72119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21475   Customer #72120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21476   Customer #72123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21477   Customer #72125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21478   Customer #72126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21479   Customer #72128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21480   Customer #72137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21481   Customer #72138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21482   Customer #72140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21483   Customer #72141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21484   Customer #72144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21485   Customer #72155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21486   Customer #72160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21487   Customer #72165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21488   Customer #72170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21489   Customer #72171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21490   Customer #72172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21491   Customer #72175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21492   Customer #72176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21493   Customer #72181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21494   Customer #72183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21495   Customer #72186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21496   Customer #72187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21497   Customer #72188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21498   Customer #72203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21499   Customer #72204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21500   Customer #72206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21501   Customer #72208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21502   Customer #72209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21503   Customer #72210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21504   Customer #72217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21505   Customer #72219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21506   Customer #72228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21507   Customer #72229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21508   Customer #72231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21509   Customer #72233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21510   Customer #72235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21511   Customer #72239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21512   Customer #72241                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21513   Customer #72245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21514   Customer #72253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21515   Customer #72260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21516   Customer #72261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21517   Customer #72263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21518   Customer #72265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21519   Customer #72266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21520   Customer #72267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21521   Customer #72275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21522   Customer #72276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21523   Customer #72278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21524   Customer #72282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21525   Customer #72283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21526   Customer #72284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21527   Customer #72288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21528   Customer #72291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21529   Customer #72296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21530   Customer #72297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21531   Customer #72300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21532   Customer #72305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21533   Customer #72306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21534   Customer #72309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21535   Customer #72316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21536   Customer #72319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21537   Customer #72320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21538   Customer #72321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21539   Customer #72323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21540   Customer #72327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21541   Customer #72330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21542   Customer #72358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21543   Customer #72360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21544   Customer #72361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21545   Customer #72363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21546   Customer #72364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21547   Customer #72366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21548   Customer #72376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21549   Customer #72378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21550   Customer #72379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21551   Customer #72382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21552   Customer #72383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21553   Customer #72386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21554   Customer #72392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21555   Customer #72393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21556   Customer #72396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21557   Customer #72397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21558   Customer #72397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21559   Customer #72405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21560   Customer #72407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21561   Customer #72421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21562   Customer #72424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21563   Customer #72427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21564   Customer #72429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21565   Customer #72430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21566   Customer #72434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21567   Customer #72437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21568   Customer #72443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21569   Customer #72445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21570   Customer #72446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21571   Customer #72447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21572   Customer #72448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21573   Customer #72449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21574   Customer #72450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21575   Customer #72455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21576   Customer #72461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21577   Customer #72462                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21578   Customer #72463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21579   Customer #72463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21580   Customer #72472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21581   Customer #72476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21582   Customer #72477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21583   Customer #72482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21584   Customer #72490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21585   Customer #72491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21586   Customer #72504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21587   Customer #72515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21588   Customer #72521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21589   Customer #72523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21590   Customer #72529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21591   Customer #72531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21592   Customer #72532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21593   Customer #72537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21594   Customer #72542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21595   Customer #72546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21596   Customer #72548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21597   Customer #72550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21598   Customer #72553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21599   Customer #72558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21600   Customer #72569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21601   Customer #72573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21602   Customer #72574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21603   Customer #72575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21604   Customer #72576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21605   Customer #72586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21606   Customer #72587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21607   Customer #72591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21608   Customer #72596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21609   Customer #72600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21610   Customer #72603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21611   Customer #72611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21612   Customer #72614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21613   Customer #72615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21614   Customer #72616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21615   Customer #72619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21616   Customer #72624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21617   Customer #72628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21618   Customer #72629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21619   Customer #72641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21620   Customer #72641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21621   Customer #72659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21622   Customer #72669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21623   Customer #72671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21624   Customer #72673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21625   Customer #72675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21626   Customer #72682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21627   Customer #72683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21628   Customer #72685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21629   Customer #72695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21630   Customer #72697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21631   Customer #72698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21632   Customer #72699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21633   Customer #72706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21634   Customer #72707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21635   Customer #72711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21636   Customer #72715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21637   Customer #72716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21638   Customer #72717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21639   Customer #72720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21640   Customer #72723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21641   Customer #72726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21642   Customer #72736                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21643   Customer #72739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21644   Customer #72748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21645   Customer #72749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21646   Customer #72751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21647   Customer #72758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21648   Customer #72761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21649   Customer #72763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21650   Customer #72764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21651   Customer #72769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21652   Customer #72774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21653   Customer #72785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21654   Customer #72786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21655   Customer #72803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21656   Customer #72808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21657   Customer #72812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21658   Customer #72816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21659   Customer #72830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21660   Customer #72831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21661   Customer #72844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21662   Customer #72850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21663   Customer #72864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21664   Customer #72865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21665   Customer #72866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21666   Customer #72869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21667   Customer #72873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21668   Customer #72875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21669   Customer #72884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21670   Customer #72888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21671   Customer #72892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21672   Customer #72893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21673   Customer #72897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21674   Customer #72904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21675   Customer #72908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21676   Customer #72909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21677   Customer #72910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21678   Customer #72916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21679   Customer #72917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21680   Customer #72918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21681   Customer #72923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21682   Customer #72924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21683   Customer #72925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21684   Customer #72941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21685   Customer #72942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21686   Customer #72943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21687   Customer #72952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21688   Customer #72955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21689   Customer #72959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21690   Customer #72963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21691   Customer #72982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21692   Customer #72985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21693   Customer #72990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21694   Customer #72993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21695   Customer #72997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21696   Customer #73002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21697   Customer #73004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21698   Customer #73005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21699   Customer #73015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21700   Customer #73017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21701   Customer #73020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21702   Customer #73022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21703   Customer #73025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21704   Customer #73028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21705   Customer #73029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21706   Customer #73032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21707   Customer #73033                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21708   Customer #73034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21709   Customer #73035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21710   Customer #73037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21711   Customer #73045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21712   Customer #73048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21713   Customer #73050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21714   Customer #73051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21715   Customer #73054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21716   Customer #73059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21717   Customer #73063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21718   Customer #73068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21719   Customer #73073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21720   Customer #73074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21721   Customer #73082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21722   Customer #73083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21723   Customer #73087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21724   Customer #73088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21725   Customer #73101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21726   Customer #73102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21727   Customer #73104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21728   Customer #73105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21729   Customer #73108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21730   Customer #73109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21731   Customer #73109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21732   Customer #73116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21733   Customer #73120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21734   Customer #73125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21735   Customer #73126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21736   Customer #73129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21737   Customer #73130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21738   Customer #73135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21739   Customer #73136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21740   Customer #73142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21741   Customer #73158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21742   Customer #73159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21743   Customer #73164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21744   Customer #73165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21745   Customer #73177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21746   Customer #73181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21747   Customer #73191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21748   Customer #73203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21749   Customer #73211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21750   Customer #73220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21751   Customer #73228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21752   Customer #73229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21753   Customer #73230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21754   Customer #73231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21755   Customer #73233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21756   Customer #73242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21757   Customer #73243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21758   Customer #73246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21759   Customer #73248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21760   Customer #73252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21761   Customer #73258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21762   Customer #73259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21763   Customer #73261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21764   Customer #73264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21765   Customer #73266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21766   Customer #73269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21767   Customer #73273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21768   Customer #73276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21769   Customer #73281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21770   Customer #73291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21771   Customer #73294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21772   Customer #73300                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21773   Customer #73301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21774   Customer #73302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21775   Customer #73305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21776   Customer #73321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21777   Customer #73322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21778   Customer #73324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21779   Customer #73325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21780   Customer #73327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21781   Customer #73329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21782   Customer #73330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21783   Customer #73331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21784   Customer #73332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21785   Customer #73333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21786   Customer #73344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21787   Customer #73347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21788   Customer #73348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21789   Customer #73349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21790   Customer #73357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21791   Customer #73360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21792   Customer #73361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21793   Customer #73362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21794   Customer #73367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21795   Customer #73368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21796   Customer #73375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21797   Customer #73377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21798   Customer #73387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21799   Customer #73388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21800   Customer #73389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21801   Customer #73395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21802   Customer #73402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21803   Customer #73403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21804   Customer #73410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21805   Customer #73417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21806   Customer #73419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21807   Customer #73420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21808   Customer #73421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21809   Customer #73423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21810   Customer #73430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21811   Customer #73432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21812   Customer #73442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21813   Customer #73445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21814   Customer #73450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21815   Customer #73468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21816   Customer #73470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21817   Customer #73475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21818   Customer #73477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21819   Customer #73478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21820   Customer #73479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21821   Customer #73484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21822   Customer #73485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21823   Customer #73488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21824   Customer #73489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21825   Customer #73490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21826   Customer #73491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21827   Customer #73495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21828   Customer #73499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21829   Customer #73501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21830   Customer #73503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21831   Customer #73514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21832   Customer #73551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21833   Customer #73557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21834   Customer #73561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21835   Customer #73564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21836   Customer #73573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21837   Customer #73576                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21838   Customer #73586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21839   Customer #73590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21840   Customer #73598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21841   Customer #73617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21842   Customer #73620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21843   Customer #73622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21844   Customer #73623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21845   Customer #73629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21846   Customer #73630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21847   Customer #73640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21848   Customer #73641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21849   Customer #73643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21850   Customer #73648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21851   Customer #73652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21852   Customer #73653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21853   Customer #73659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21854   Customer #73662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21855   Customer #73664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21856   Customer #73668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21857   Customer #73669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21858   Customer #73690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21859   Customer #73693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21860   Customer #73694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21861   Customer #73695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21862   Customer #73697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21863   Customer #73698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21864   Customer #73711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21865   Customer #73714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21866   Customer #73721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21867   Customer #73725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21868   Customer #73727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21869   Customer #73730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21870   Customer #73731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21871   Customer #73732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21872   Customer #73743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21873   Customer #73756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21874   Customer #73764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21875   Customer #73786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21876   Customer #73787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21877   Customer #73788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21878   Customer #73813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21879   Customer #73815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21880   Customer #73816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21881   Customer #73820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21882   Customer #73821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21883   Customer #73825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21884   Customer #73828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21885   Customer #73833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21886   Customer #73835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21887   Customer #73836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21888   Customer #73850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21889   Customer #73856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21890   Customer #73857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21891   Customer #73864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21892   Customer #73867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21893   Customer #73868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21894   Customer #73871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21895   Customer #73874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21896   Customer #73876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21897   Customer #73878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21898   Customer #73880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21899   Customer #73888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21900   Customer #73890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21901   Customer #73899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21902   Customer #73900                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21903   Customer #73902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21904   Customer #73911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21905   Customer #73916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21906   Customer #73939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21907   Customer #73959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21908   Customer #73960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21909   Customer #73961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21910   Customer #73962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21911   Customer #73967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21912   Customer #73972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21913   Customer #73974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21914   Customer #73978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21915   Customer #73994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21916   Customer #73996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21917   Customer #74004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21918   Customer #74008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21919   Customer #74013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21920   Customer #74016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21921   Customer #74022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21922   Customer #74035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21923   Customer #74036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21924   Customer #74044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21925   Customer #74048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21926   Customer #74049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21927   Customer #74050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21928   Customer #74056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21929   Customer #74058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21930   Customer #74061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21931   Customer #74073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21932   Customer #74074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21933   Customer #74086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21934   Customer #74093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21935   Customer #74096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21936   Customer #74097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21937   Customer #74107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21938   Customer #74109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21939   Customer #74116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21940   Customer #74129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21941   Customer #74130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21942   Customer #74131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21943   Customer #74142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21944   Customer #74144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21945   Customer #74148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21946   Customer #74152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21947   Customer #74154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21948   Customer #74166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21949   Customer #74167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21950   Customer #74171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21951   Customer #74173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21952   Customer #74181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21953   Customer #74182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21954   Customer #74185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21955   Customer #74191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21956   Customer #74193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21957   Customer #74195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21958   Customer #74197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21959   Customer #74205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21960   Customer #74208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21961   Customer #74210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21962   Customer #74227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21963   Customer #74230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21964   Customer #74231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21965   Customer #74237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21966   Customer #74239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21967   Customer #74249                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.21968   Customer #74253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21969   Customer #74257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21970   Customer #74267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21971   Customer #74270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21972   Customer #74272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21973   Customer #74274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21974   Customer #74286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21975   Customer #74292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21976   Customer #74294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21977   Customer #74299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21978   Customer #74301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21979   Customer #74309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21980   Customer #74310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21981   Customer #74316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21982   Customer #74322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21983   Customer #74324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21984   Customer #74336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21985   Customer #74345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21986   Customer #74350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21987   Customer #74353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21988   Customer #74355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21989   Customer #74356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21990   Customer #74371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21991   Customer #74376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21992   Customer #74377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21993   Customer #74381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21994   Customer #74382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21995   Customer #74394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21996   Customer #74399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21997   Customer #74400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21998   Customer #74401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.21999   Customer #74411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22000   Customer #74414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22001   Customer #74416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22002   Customer #74417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22003   Customer #74418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22004   Customer #74423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22005   Customer #74424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22006   Customer #74425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22007   Customer #74431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22008   Customer #74432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22009   Customer #74435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22010   Customer #74436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22011   Customer #74437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22012   Customer #74438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22013   Customer #74441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22014   Customer #74443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22015   Customer #74447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22016   Customer #74448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22017   Customer #74449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22018   Customer #74451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22019   Customer #74461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22020   Customer #74464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22021   Customer #74465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22022   Customer #74469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22023   Customer #74473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22024   Customer #74485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22025   Customer #74486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22026   Customer #74495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22027   Customer #74504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22028   Customer #74505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22029   Customer #74509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22030   Customer #74513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22031   Customer #74515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22032   Customer #74515                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22033   Customer #74516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22034   Customer #74519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22035   Customer #74520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22036   Customer #74525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22037   Customer #74528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22038   Customer #74532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22039   Customer #74533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22040   Customer #74540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22041   Customer #74543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22042   Customer #74549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22043   Customer #74553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22044   Customer #74561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22045   Customer #74562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22046   Customer #74563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22047   Customer #74564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22048   Customer #74587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22049   Customer #74597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22050   Customer #74598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22051   Customer #74603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22052   Customer #74608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22053   Customer #74610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22054   Customer #74611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22055   Customer #74620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22056   Customer #74631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22057   Customer #74632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22058   Customer #74634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22059   Customer #74640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22060   Customer #74645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22061   Customer #74649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22062   Customer #74653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22063   Customer #74656                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22064   Customer #74662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22065   Customer #74665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22066   Customer #74666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22067   Customer #74667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22068   Customer #74669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22069   Customer #74670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22070   Customer #74671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22071   Customer #74681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22072   Customer #74682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22073   Customer #74683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22074   Customer #74684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22075   Customer #74687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22076   Customer #74691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22077   Customer #74693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22078   Customer #74694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22079   Customer #74695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22080   Customer #74707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22081   Customer #74712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22082   Customer #74715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22083   Customer #74716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22084   Customer #74720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22085   Customer #74722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22086   Customer #74726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22087   Customer #74728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22088   Customer #74730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22089   Customer #74731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22090   Customer #74732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22091   Customer #74734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22092   Customer #74739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22093   Customer #74740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22094   Customer #74741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22095   Customer #74745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22096   Customer #74748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22097   Customer #74749                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22098   Customer #74752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22099   Customer #74756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22100   Customer #74757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22101   Customer #74758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22102   Customer #74758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22103   Customer #74759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22104   Customer #74761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22105   Customer #74762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22106   Customer #74763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22107   Customer #74764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22108   Customer #74766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22109   Customer #74768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22110   Customer #74769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22111   Customer #74771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22112   Customer #74772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22113   Customer #74777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22114   Customer #74781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22115   Customer #74786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22116   Customer #74788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22117   Customer #74790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22118   Customer #74792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22119   Customer #74794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22120   Customer #74799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22121   Customer #74801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22122   Customer #74806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22123   Customer #74809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22124   Customer #74810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22125   Customer #74813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22126   Customer #74815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22127   Customer #74823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22128   Customer #74825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22129   Customer #74830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22130   Customer #74832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22131   Customer #74833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22132   Customer #74834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22133   Customer #74835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22134   Customer #74837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22135   Customer #74844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22136   Customer #74860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22137   Customer #74861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22138   Customer #74862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22139   Customer #74864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22140   Customer #74865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22141   Customer #74881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22142   Customer #74884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22143   Customer #74897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22144   Customer #74899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22145   Customer #74902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22146   Customer #74908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22147   Customer #74909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22148   Customer #74912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22149   Customer #74913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22150   Customer #74916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22151   Customer #74917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22152   Customer #74918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22153   Customer #74920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22154   Customer #74921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22155   Customer #74926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22156   Customer #74927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22157   Customer #74928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22158   Customer #74929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22159   Customer #74933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22160   Customer #74939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22161   Customer #74941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22162   Customer #74947                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22163   Customer #74949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22164   Customer #74955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22165   Customer #74956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22166   Customer #74964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22167   Customer #74968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22168   Customer #74981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22169   Customer #74982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22170   Customer #74987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22171   Customer #74997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22172   Customer #74999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22173   Customer #75000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22174   Customer #75001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22175   Customer #75004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22176   Customer #75005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22177   Customer #75008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22178   Customer #75017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22179   Customer #75019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22180   Customer #75021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22181   Customer #75022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22182   Customer #75024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22183   Customer #75025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22184   Customer #75026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22185   Customer #75027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22186   Customer #75031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22187   Customer #75036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22188   Customer #75039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22189   Customer #75040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22190   Customer #75042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22191   Customer #75043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22192   Customer #75045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22193   Customer #75048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22194   Customer #75049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22195   Customer #75054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22196   Customer #75055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22197   Customer #75058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22198   Customer #75067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22199   Customer #75068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22200   Customer #75071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22201   Customer #75075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22202   Customer #75080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22203   Customer #75082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22204   Customer #75083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22205   Customer #75085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22206   Customer #75093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22207   Customer #75095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22208   Customer #75096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22209   Customer #75097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22210   Customer #75100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22211   Customer #75103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22212   Customer #75108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22213   Customer #75111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22214   Customer #75112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22215   Customer #75114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22216   Customer #75119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22217   Customer #75122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22218   Customer #75126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22219   Customer #75129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22220   Customer #75132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22221   Customer #75133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22222   Customer #75137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22223   Customer #75140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22224   Customer #75141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22225   Customer #75145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22226   Customer #75150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22227   Customer #75152                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22228   Customer #75157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22229   Customer #75158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22230   Customer #75159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22231   Customer #75160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22232   Customer #75162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22233   Customer #75190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22234   Customer #75191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22235   Customer #75192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22236   Customer #75193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22237   Customer #75195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22238   Customer #75196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22239   Customer #75199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22240   Customer #75202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22241   Customer #75207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22242   Customer #75209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22243   Customer #75212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22244   Customer #75214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22245   Customer #75215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22246   Customer #75218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22247   Customer #75223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22248   Customer #75227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22249   Customer #75228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22250   Customer #75229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22251   Customer #75238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22252   Customer #75239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22253   Customer #75241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22254   Customer #75242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22255   Customer #75243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22256   Customer #75245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22257   Customer #75247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22258   Customer #75248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22259   Customer #75249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22260   Customer #75256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22261   Customer #75259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22262   Customer #75260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22263   Customer #75282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22264   Customer #75294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22265   Customer #75295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22266   Customer #75312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22267   Customer #75317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22268   Customer #75319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22269   Customer #75321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22270   Customer #75324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22271   Customer #75338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22272   Customer #75345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22273   Customer #75348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22274   Customer #75351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22275   Customer #75352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22276   Customer #75355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22277   Customer #75357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22278   Customer #75358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22279   Customer #75360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22280   Customer #75361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22281   Customer #75363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22282   Customer #75372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22283   Customer #75385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22284   Customer #75388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22285   Customer #75399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22286   Customer #75400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22287   Customer #75407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22288   Customer #75409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22289   Customer #75417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22290   Customer #75423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22291   Customer #75424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22292   Customer #75428                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22293   Customer #75432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22294   Customer #75434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22295   Customer #75439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22296   Customer #75440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22297   Customer #75448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22298   Customer #75450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22299   Customer #75455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22300   Customer #75460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22301   Customer #75461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22302   Customer #75462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22303   Customer #75463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22304   Customer #75465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22305   Customer #75466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22306   Customer #75467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22307   Customer #75469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22308   Customer #75470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22309   Customer #75471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22310   Customer #75474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22311   Customer #75477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22312   Customer #75478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22313   Customer #75479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22314   Customer #75484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22315   Customer #75486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22316   Customer #75488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22317   Customer #75489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22318   Customer #75491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22319   Customer #75504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22320   Customer #75510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22321   Customer #75514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22322   Customer #75516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22323   Customer #75519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22324   Customer #75521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22325   Customer #75526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22326   Customer #75529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22327   Customer #75531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22328   Customer #75532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22329   Customer #75543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22330   Customer #75543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22331   Customer #75544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22332   Customer #75545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22333   Customer #75547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22334   Customer #75552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22335   Customer #75553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22336   Customer #75560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22337   Customer #75561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22338   Customer #75563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22339   Customer #75564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22340   Customer #75565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22341   Customer #75567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22342   Customer #75571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22343   Customer #75579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22344   Customer #75580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22345   Customer #75584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22346   Customer #75587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22347   Customer #75590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22348   Customer #75591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22349   Customer #75592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22350   Customer #75593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22351   Customer #75595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22352   Customer #75595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22353   Customer #75598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22354   Customer #75601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22355   Customer #75602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22356   Customer #75603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22357   Customer #75604                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22358   Customer #75606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22359   Customer #75610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22360   Customer #75620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22361   Customer #75643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22362   Customer #75644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22363   Customer #75655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22364   Customer #75692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22365   Customer #75695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22366   Customer #75701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22367   Customer #75705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22368   Customer #75707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22369   Customer #75712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22370   Customer #75714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22371   Customer #75715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22372   Customer #75719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22373   Customer #75720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22374   Customer #75722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22375   Customer #75723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22376   Customer #75726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22377   Customer #75731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22378   Customer #75740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22379   Customer #75744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22380   Customer #75749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22381   Customer #75752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22382   Customer #75753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22383   Customer #75754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22384   Customer #75756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22385   Customer #75758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22386   Customer #75761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22387   Customer #75765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22388   Customer #75770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22389   Customer #75776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22390   Customer #75777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22391   Customer #75779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22392   Customer #75780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22393   Customer #75782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22394   Customer #75783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22395   Customer #75786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22396   Customer #75791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22397   Customer #75792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22398   Customer #75794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22399   Customer #75799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22400   Customer #75803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22401   Customer #75807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22402   Customer #75810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22403   Customer #75812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22404   Customer #75813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22405   Customer #75816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22406   Customer #75821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22407   Customer #75825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22408   Customer #75825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22409   Customer #75830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22410   Customer #75837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22411   Customer #75838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22412   Customer #75842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22413   Customer #75843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22414   Customer #75845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22415   Customer #75846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22416   Customer #75849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22417   Customer #75851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22418   Customer #75854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22419   Customer #75855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22420   Customer #75866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22421   Customer #75867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22422   Customer #75874                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22423   Customer #75875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22424   Customer #75876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22425   Customer #75879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22426   Customer #75881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22427   Customer #75885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22428   Customer #75887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22429   Customer #75889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22430   Customer #75891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22431   Customer #75898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22432   Customer #75899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22433   Customer #75901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22434   Customer #75902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22435   Customer #75904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22436   Customer #75905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22437   Customer #75912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22438   Customer #75913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22439   Customer #75924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22440   Customer #75927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22441   Customer #75930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22442   Customer #75941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22443   Customer #75942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22444   Customer #75950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22445   Customer #75951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22446   Customer #75956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22447   Customer #75957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22448   Customer #75961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22449   Customer #75963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22450   Customer #75968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22451   Customer #75974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22452   Customer #75978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22453   Customer #75989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22454   Customer #75992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22455   Customer #75993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22456   Customer #75994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22457   Customer #75997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22458   Customer #76004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22459   Customer #76011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22460   Customer #76019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22461   Customer #76020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22462   Customer #76022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22463   Customer #76025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22464   Customer #76032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22465   Customer #76042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22466   Customer #76044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22467   Customer #76058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22468   Customer #76061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22469   Customer #76070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22470   Customer #76093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22471   Customer #76098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22472   Customer #76106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22473   Customer #76108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22474   Customer #76110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22475   Customer #76115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22476   Customer #76122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22477   Customer #76124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22478   Customer #76125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22479   Customer #76126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22480   Customer #76127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22481   Customer #76132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22482   Customer #76133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22483   Customer #76140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22484   Customer #76142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22485   Customer #76144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22486   Customer #76148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22487   Customer #76150                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22488   Customer #76153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22489   Customer #76154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22490   Customer #76160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22491   Customer #76164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22492   Customer #76165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22493   Customer #76169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22494   Customer #76176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22495   Customer #76177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22496   Customer #76178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22497   Customer #76187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22498   Customer #76189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22499   Customer #76191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22500   Customer #76194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22501   Customer #76197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22502   Customer #76205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22503   Customer #76209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22504   Customer #76210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22505   Customer #76210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22506   Customer #76212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22507   Customer #76213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22508   Customer #76215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22509   Customer #76217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22510   Customer #76221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22511   Customer #76224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22512   Customer #76227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22513   Customer #76230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22514   Customer #76235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22515   Customer #76243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22516   Customer #76244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22517   Customer #76251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22518   Customer #76253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22519   Customer #76254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22520   Customer #76255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22521   Customer #76256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22522   Customer #76258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22523   Customer #76259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22524   Customer #76266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22525   Customer #76269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22526   Customer #76272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22527   Customer #76276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22528   Customer #76278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22529   Customer #76279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22530   Customer #76280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22531   Customer #76288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22532   Customer #76293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22533   Customer #76293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22534   Customer #76303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22535   Customer #76307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22536   Customer #76312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22537   Customer #76314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22538   Customer #76319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22539   Customer #76320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22540   Customer #76321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22541   Customer #76328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22542   Customer #76329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22543   Customer #76330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22544   Customer #76331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22545   Customer #76333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22546   Customer #76334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22547   Customer #76336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22548   Customer #76341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22549   Customer #76352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22550   Customer #76354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22551   Customer #76355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22552   Customer #76356                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22553   Customer #76356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22554   Customer #76356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22555   Customer #76363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22556   Customer #76365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22557   Customer #76374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22558   Customer #76377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22559   Customer #76378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22560   Customer #76389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22561   Customer #76391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22562   Customer #76392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22563   Customer #76395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22564   Customer #76405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22565   Customer #76410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22566   Customer #76411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22567   Customer #76412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22568   Customer #76415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22569   Customer #76415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22570   Customer #76416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22571   Customer #76422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22572   Customer #76424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22573   Customer #76439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22574   Customer #76443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22575   Customer #76444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22576   Customer #76450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22577   Customer #76451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22578   Customer #76452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22579   Customer #76457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22580   Customer #76460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22581   Customer #76468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22582   Customer #76470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22583   Customer #76475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22584   Customer #76477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22585   Customer #76477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22586   Customer #76480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22587   Customer #76483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22588   Customer #76485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22589   Customer #76487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22590   Customer #76488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22591   Customer #76489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22592   Customer #76493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22593   Customer #76495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22594   Customer #76497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22595   Customer #76507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22596   Customer #76514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22597   Customer #76515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22598   Customer #76517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22599   Customer #76518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22600   Customer #76519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22601   Customer #76520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22602   Customer #76521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22603   Customer #76524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22604   Customer #76526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22605   Customer #76529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22606   Customer #76533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22607   Customer #76538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22608   Customer #76540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22609   Customer #76542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22610   Customer #76543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22611   Customer #76545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22612   Customer #76546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22613   Customer #76547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22614   Customer #76548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22615   Customer #76549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22616   Customer #76551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22617   Customer #76553                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22618   Customer #76555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22619   Customer #76648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22620   Customer #76658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22621   Customer #76661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22622   Customer #76673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22623   Customer #76673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22624   Customer #76680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22625   Customer #76681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22626   Customer #76691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22627   Customer #76692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22628   Customer #76694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22629   Customer #76695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22630   Customer #76699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22631   Customer #76701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22632   Customer #76702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22633   Customer #76703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22634   Customer #76704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22635   Customer #76706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22636   Customer #76709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22637   Customer #76711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22638   Customer #76717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22639   Customer #76719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22640   Customer #76722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22641   Customer #76728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22642   Customer #76731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22643   Customer #76734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22644   Customer #76750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22645   Customer #76751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22646   Customer #76754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22647   Customer #76756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22648   Customer #76757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22649   Customer #76762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22650   Customer #76763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22651   Customer #76765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22652   Customer #76766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22653   Customer #76768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22654   Customer #76769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22655   Customer #76770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22656   Customer #76773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22657   Customer #76775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22658   Customer #76780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22659   Customer #76792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22660   Customer #76793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22661   Customer #76796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22662   Customer #76803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22663   Customer #76805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22664   Customer #76812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22665   Customer #76824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22666   Customer #76826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22667   Customer #76827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22668   Customer #76828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22669   Customer #76835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22670   Customer #76843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22671   Customer #76850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22672   Customer #76862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22673   Customer #76873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22674   Customer #76881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22675   Customer #76882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22676   Customer #76887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22677   Customer #76889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22678   Customer #76890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22679   Customer #76896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22680   Customer #76897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22681   Customer #76898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22682   Customer #76905                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22683   Customer #76907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22684   Customer #76908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22685   Customer #76911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22686   Customer #76921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22687   Customer #76923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22688   Customer #76929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22689   Customer #76933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22690   Customer #76936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22691   Customer #76942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22692   Customer #76944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22693   Customer #76945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22694   Customer #76946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22695   Customer #76948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22696   Customer #76952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22697   Customer #76953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22698   Customer #76955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22699   Customer #76962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22700   Customer #76971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22701   Customer #76972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22702   Customer #76973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22703   Customer #76978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22704   Customer #76979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22705   Customer #76990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22706   Customer #76991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22707   Customer #76996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22708   Customer #76997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22709   Customer #76999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22710   Customer #77000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22711   Customer #77001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22712   Customer #77002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22713   Customer #77003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22714   Customer #77004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22715   Customer #77006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22716   Customer #77011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22717   Customer #77014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22718   Customer #77016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22719   Customer #77017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22720   Customer #77021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22721   Customer #77022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22722   Customer #77023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22723   Customer #77028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22724   Customer #77029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22725   Customer #77035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22726   Customer #77036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22727   Customer #77038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22728   Customer #77041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22729   Customer #77045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22730   Customer #77046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22731   Customer #77047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22732   Customer #77049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22733   Customer #77051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22734   Customer #77053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22735   Customer #77058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22736   Customer #77064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22737   Customer #77067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22738   Customer #77069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22739   Customer #77074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22740   Customer #77077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22741   Customer #77078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22742   Customer #77079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22743   Customer #77081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22744   Customer #77084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22745   Customer #77085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22746   Customer #77096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22747   Customer #77100                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22748   Customer #77107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22749   Customer #77110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22750   Customer #77111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22751   Customer #77119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22752   Customer #77120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22753   Customer #77121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22754   Customer #77149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22755   Customer #77163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22756   Customer #77165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22757   Customer #77166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22758   Customer #77172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22759   Customer #77175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22760   Customer #77178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22761   Customer #77179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22762   Customer #77180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22763   Customer #77182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22764   Customer #77184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22765   Customer #77191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22766   Customer #77195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22767   Customer #77196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22768   Customer #77197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22769   Customer #77203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22770   Customer #77209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22771   Customer #77216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22772   Customer #77217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22773   Customer #77218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22774   Customer #77220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22775   Customer #77221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22776   Customer #77226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22777   Customer #77229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22778   Customer #77232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22779   Customer #77234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22780   Customer #77235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22781   Customer #77237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22782   Customer #77238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22783   Customer #77241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22784   Customer #77242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22785   Customer #77247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22786   Customer #77248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22787   Customer #77249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22788   Customer #77254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22789   Customer #77278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22790   Customer #77279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22791   Customer #77281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22792   Customer #77282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22793   Customer #77283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22794   Customer #77288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22795   Customer #77291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22796   Customer #77292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22797   Customer #77296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22798   Customer #77297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22799   Customer #77300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22800   Customer #77302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22801   Customer #77303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22802   Customer #77305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22803   Customer #77309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22804   Customer #77318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22805   Customer #77319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22806   Customer #77326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22807   Customer #77328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22808   Customer #77330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22809   Customer #77332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22810   Customer #77339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22811   Customer #77350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22812   Customer #77351                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22813   Customer #77353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22814   Customer #77357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22815   Customer #77359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22816   Customer #77360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22817   Customer #77365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22818   Customer #77368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22819   Customer #77369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22820   Customer #77371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22821   Customer #77372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22822   Customer #77374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22823   Customer #77382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22824   Customer #77383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22825   Customer #77386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22826   Customer #77389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22827   Customer #77390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22828   Customer #77391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22829   Customer #77392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22830   Customer #77393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22831   Customer #77395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22832   Customer #77405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22833   Customer #77408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22834   Customer #77409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22835   Customer #77410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22836   Customer #77416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22837   Customer #77429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22838   Customer #77431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22839   Customer #77432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22840   Customer #77435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22841   Customer #77436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22842   Customer #77437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22843   Customer #77441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22844   Customer #77442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22845   Customer #77445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22846   Customer #77450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22847   Customer #77464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22848   Customer #77465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22849   Customer #77469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22850   Customer #77473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22851   Customer #77503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22852   Customer #77506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22853   Customer #77510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22854   Customer #77542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22855   Customer #77553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22856   Customer #77555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22857   Customer #77556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22858   Customer #77560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22859   Customer #77563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22860   Customer #77565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22861   Customer #77566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22862   Customer #77570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22863   Customer #77577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22864   Customer #77580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22865   Customer #77585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22866   Customer #77588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22867   Customer #77611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22868   Customer #77612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22869   Customer #77613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22870   Customer #77619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22871   Customer #77624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22872   Customer #77625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22873   Customer #77629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22874   Customer #77630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22875   Customer #77631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22876   Customer #77635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22877   Customer #77641                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22878   Customer #77643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22879   Customer #77645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22880   Customer #77646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22881   Customer #77650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22882   Customer #77651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22883   Customer #77655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22884   Customer #77664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22885   Customer #77665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22886   Customer #77669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22887   Customer #77671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22888   Customer #77672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22889   Customer #77675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22890   Customer #77680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22891   Customer #77681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22892   Customer #77684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22893   Customer #77687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22894   Customer #77692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22895   Customer #77693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22896   Customer #77705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22897   Customer #77707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22898   Customer #77708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22899   Customer #77712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22900   Customer #77714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22901   Customer #77716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22902   Customer #77717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22903   Customer #77724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22904   Customer #77727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22905   Customer #77732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22906   Customer #77734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22907   Customer #77736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22908   Customer #77737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22909   Customer #77742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22910   Customer #77743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22911   Customer #77744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22912   Customer #77745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22913   Customer #77749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22914   Customer #77751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22915   Customer #77759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22916   Customer #77760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22917   Customer #77762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22918   Customer #77765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22919   Customer #77767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22920   Customer #77771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22921   Customer #77773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22922   Customer #77775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22923   Customer #77778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22924   Customer #77779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22925   Customer #77788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22926   Customer #77790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22927   Customer #77794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22928   Customer #77800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22929   Customer #77804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22930   Customer #77805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22931   Customer #77806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22932   Customer #77813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22933   Customer #77814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22934   Customer #77824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22935   Customer #77829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22936   Customer #77830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22937   Customer #77832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22938   Customer #77839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22939   Customer #77840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22940   Customer #77844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22941   Customer #77847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22942   Customer #77851                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.22943   Customer #77852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22944   Customer #77854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22945   Customer #77857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22946   Customer #77858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22947   Customer #77862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22948   Customer #77863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22949   Customer #77864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22950   Customer #77864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22951   Customer #77865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22952   Customer #77867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22953   Customer #77869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22954   Customer #77870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22955   Customer #77880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22956   Customer #77886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22957   Customer #77887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22958   Customer #77891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22959   Customer #77893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22960   Customer #77896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22961   Customer #77898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22962   Customer #77903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22963   Customer #77908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22964   Customer #77909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22965   Customer #77910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22966   Customer #77911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22967   Customer #77916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22968   Customer #77917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22969   Customer #78025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22970   Customer #78028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22971   Customer #78031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22972   Customer #78141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22973   Customer #78321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22974   Customer #78386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22975   Customer #78389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22976   Customer #78393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22977   Customer #78395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22978   Customer #78406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22979   Customer #78415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22980   Customer #78416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22981   Customer #78417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22982   Customer #78419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22983   Customer #78420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22984   Customer #78424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22985   Customer #78427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22986   Customer #78428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22987   Customer #78430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22988   Customer #78434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22989   Customer #78442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22990   Customer #78452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22991   Customer #78453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22992   Customer #78456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22993   Customer #78462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22994   Customer #78463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22995   Customer #78464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22996   Customer #78466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22997   Customer #78468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22998   Customer #78475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.22999   Customer #78476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23000   Customer #78477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23001   Customer #78478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23002   Customer #78482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23003   Customer #78484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23004   Customer #78493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23005   Customer #78502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23006   Customer #78509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23007   Customer #78538                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23008   Customer #78549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23009   Customer #78611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23010   Customer #78615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23011   Customer #78616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23012   Customer #78618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23013   Customer #78640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23014   Customer #78642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23015   Customer #78643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23016   Customer #78647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23017   Customer #78648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23018   Customer #78652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23019   Customer #78659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23020   Customer #78660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23021   Customer #78661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23022   Customer #78663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23023   Customer #78665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23024   Customer #78678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23025   Customer #78680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23026   Customer #78686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23027   Customer #78687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23028   Customer #78691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23029   Customer #78692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23030   Customer #78697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23031   Customer #78701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23032   Customer #78705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23033   Customer #78708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23034   Customer #78712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23035   Customer #78714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23036   Customer #78724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23037   Customer #78725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23038   Customer #78729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23039   Customer #78732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23040   Customer #78747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23041   Customer #78748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23042   Customer #78752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23043   Customer #78761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23044   Customer #78762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23045   Customer #78765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23046   Customer #78775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23047   Customer #78776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23048   Customer #78778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23049   Customer #78781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23050   Customer #78783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23051   Customer #78784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23052   Customer #78785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23053   Customer #78786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23054   Customer #78787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23055   Customer #78789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23056   Customer #78798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23057   Customer #78799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23058   Customer #78805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23059   Customer #78824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23060   Customer #78826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23061   Customer #78830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23062   Customer #78831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23063   Customer #78832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23064   Customer #78835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23065   Customer #78836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23066   Customer #78847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23067   Customer #78848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23068   Customer #78850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23069   Customer #78852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23070   Customer #78868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23071   Customer #78878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23072   Customer #78882                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23073   Customer #78883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23074   Customer #78895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23075   Customer #78901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23076   Customer #78902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23077   Customer #78904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23078   Customer #78908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23079   Customer #78911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23080   Customer #78914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23081   Customer #78916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23082   Customer #78921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23083   Customer #78922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23084   Customer #78923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23085   Customer #78925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23086   Customer #78928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23087   Customer #78930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23088   Customer #78931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23089   Customer #78933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23090   Customer #78935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23091   Customer #78938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23092   Customer #78939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23093   Customer #78945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23094   Customer #78950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23095   Customer #78952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23096   Customer #78953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23097   Customer #78961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23098   Customer #78965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23099   Customer #78966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23100   Customer #78970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23101   Customer #78971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23102   Customer #78974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23103   Customer #78976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23104   Customer #78989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23105   Customer #78990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23106   Customer #78991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23107   Customer #78992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23108   Customer #78993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23109   Customer #78994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23110   Customer #78995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23111   Customer #78996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23112   Customer #78998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23113   Customer #79001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23114   Customer #79005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23115   Customer #79006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23116   Customer #79008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23117   Customer #79015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23118   Customer #79016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23119   Customer #79018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23120   Customer #79022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23121   Customer #79023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23122   Customer #79024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23123   Customer #79031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23124   Customer #79040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23125   Customer #79040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23126   Customer #79041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23127   Customer #79044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23128   Customer #79045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23129   Customer #79045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23130   Customer #79046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23131   Customer #79052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23132   Customer #79057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23133   Customer #79058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23134   Customer #79059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23135   Customer #79060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23136   Customer #79063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23137   Customer #79067                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23138   Customer #79069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23139   Customer #79072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23140   Customer #79073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23141   Customer #79076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23142   Customer #79079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23143   Customer #79086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23144   Customer #79088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23145   Customer #79090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23146   Customer #79092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23147   Customer #79094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23148   Customer #79098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23149   Customer #79105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23150   Customer #79112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23151   Customer #79116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23152   Customer #79126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23153   Customer #79132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23154   Customer #79133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23155   Customer #79138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23156   Customer #79142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23157   Customer #79143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23158   Customer #79144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23159   Customer #79151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23160   Customer #79154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23161   Customer #79156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23162   Customer #79160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23163   Customer #79176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23164   Customer #79178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23165   Customer #79180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23166   Customer #79199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23167   Customer #79204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23168   Customer #79209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23169   Customer #79219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23170   Customer #79219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23171   Customer #79220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23172   Customer #79230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23173   Customer #79231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23174   Customer #79232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23175   Customer #79233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23176   Customer #79237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23177   Customer #79239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23178   Customer #79243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23179   Customer #79245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23180   Customer #79247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23181   Customer #79249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23182   Customer #79251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23183   Customer #79253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23184   Customer #79257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23185   Customer #79259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23186   Customer #79261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23187   Customer #79262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23188   Customer #79263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23189   Customer #79264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23190   Customer #79267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23191   Customer #79268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23192   Customer #79272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23193   Customer #79273                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23194   Customer #79274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23195   Customer #79275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23196   Customer #79280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23197   Customer #79282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23198   Customer #79286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23199   Customer #79288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23200   Customer #79290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23201   Customer #79293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23202   Customer #79295                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23203   Customer #79296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23204   Customer #79297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23205   Customer #79298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23206   Customer #79302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23207   Customer #79304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23208   Customer #79305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23209   Customer #79308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23210   Customer #79309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23211   Customer #79311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23212   Customer #79312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23213   Customer #79313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23214   Customer #79314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23215   Customer #79316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23216   Customer #79318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23217   Customer #79320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23218   Customer #79321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23219   Customer #79332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23220   Customer #79336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23221   Customer #79337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23222   Customer #79340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23223   Customer #79342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23224   Customer #79348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23225   Customer #79349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23226   Customer #79354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23227   Customer #79356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23228   Customer #79358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23229   Customer #79364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23230   Customer #79365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23231   Customer #79366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23232   Customer #79367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23233   Customer #79377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23234   Customer #79379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23235   Customer #79386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23236   Customer #79388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23237   Customer #79392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23238   Customer #79395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23239   Customer #79396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23240   Customer #79399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23241   Customer #79400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23242   Customer #79402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23243   Customer #79403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23244   Customer #79403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23245   Customer #79405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23246   Customer #79408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23247   Customer #79411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23248   Customer #79413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23249   Customer #79420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23250   Customer #79425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23251   Customer #79427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23252   Customer #79428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23253   Customer #79430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23254   Customer #79433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23255   Customer #79434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23256   Customer #79436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23257   Customer #79438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23258   Customer #79441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23259   Customer #79443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23260   Customer #79448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23261   Customer #79449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23262   Customer #79464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23263   Customer #79472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23264   Customer #79481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23265   Customer #79486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23266   Customer #79487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23267   Customer #79491                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23268   Customer #79492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23269   Customer #79492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23270   Customer #79494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23271   Customer #79496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23272   Customer #79498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23273   Customer #79499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23274   Customer #79501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23275   Customer #79502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23276   Customer #79504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23277   Customer #79506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23278   Customer #79507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23279   Customer #79510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23280   Customer #79512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23281   Customer #79515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23282   Customer #79546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23283   Customer #79558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23284   Customer #79559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23285   Customer #79560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23286   Customer #79562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23287   Customer #79563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23288   Customer #79566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23289   Customer #79567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23290   Customer #79568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23291   Customer #79570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23292   Customer #79571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23293   Customer #79572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23294   Customer #79573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23295   Customer #79575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23296   Customer #79585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23297   Customer #79586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23298   Customer #79590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23299   Customer #79600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23300   Customer #79601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23301   Customer #79606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23302   Customer #79618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23303   Customer #79625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23304   Customer #79629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23305   Customer #79631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23306   Customer #79637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23307   Customer #79643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23308   Customer #79648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23309   Customer #79650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23310   Customer #79658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23311   Customer #79659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23312   Customer #79662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23313   Customer #79671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23314   Customer #79676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23315   Customer #79677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23316   Customer #79680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23317   Customer #79680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23318   Customer #79683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23319   Customer #79685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23320   Customer #79687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23321   Customer #79689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23322   Customer #79691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23323   Customer #79694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23324   Customer #79695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23325   Customer #79696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23326   Customer #79698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23327   Customer #79702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23328   Customer #79704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23329   Customer #79711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23330   Customer #79713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23331   Customer #79714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23332   Customer #79719                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23333   Customer #79721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23334   Customer #79723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23335   Customer #79728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23336   Customer #79740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23337   Customer #79744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23338   Customer #79746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23339   Customer #79747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23340   Customer #79749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23341   Customer #79752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23342   Customer #79753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23343   Customer #79754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23344   Customer #79755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23345   Customer #79756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23346   Customer #79764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23347   Customer #79766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23348   Customer #79773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23349   Customer #79778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23350   Customer #79781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23351   Customer #79782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23352   Customer #79790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23353   Customer #79792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23354   Customer #79793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23355   Customer #79795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23356   Customer #79800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23357   Customer #79802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23358   Customer #79812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23359   Customer #79813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23360   Customer #79814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23361   Customer #79815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23362   Customer #79816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23363   Customer #79820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23364   Customer #79823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23365   Customer #79825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23366   Customer #79828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23367   Customer #79831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23368   Customer #79833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23369   Customer #79834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23370   Customer #79836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23371   Customer #79837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23372   Customer #79839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23373   Customer #79843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23374   Customer #79848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23375   Customer #79849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23376   Customer #79868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23377   Customer #79871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23378   Customer #79880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23379   Customer #79881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23380   Customer #79882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23381   Customer #79883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23382   Customer #79887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23383   Customer #79888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23384   Customer #79892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23385   Customer #79893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23386   Customer #79904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23387   Customer #79916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23388   Customer #79919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23389   Customer #79920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23390   Customer #79922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23391   Customer #79923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23392   Customer #79925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23393   Customer #79929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23394   Customer #79930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23395   Customer #79931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23396   Customer #79933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23397   Customer #79934                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23398   Customer #79936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23399   Customer #79938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23400   Customer #79942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23401   Customer #79944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23402   Customer #79945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23403   Customer #79949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23404   Customer #79954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23405   Customer #79955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23406   Customer #79956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23407   Customer #79957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23408   Customer #79958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23409   Customer #79959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23410   Customer #79968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23411   Customer #79970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23412   Customer #79971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23413   Customer #79977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23414   Customer #79980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23415   Customer #79989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23416   Customer #79995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23417   Customer #79996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23418   Customer #79998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23419   Customer #80000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23420   Customer #80001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23421   Customer #80014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23422   Customer #80016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23423   Customer #80019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23424   Customer #80022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23425   Customer #80023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23426   Customer #80025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23427   Customer #80028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23428   Customer #80030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23429   Customer #80032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23430   Customer #80040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23431   Customer #80042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23432   Customer #80044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23433   Customer #80047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23434   Customer #80053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23435   Customer #80055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23436   Customer #80060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23437   Customer #80062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23438   Customer #80065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23439   Customer #80070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23440   Customer #80080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23441   Customer #80081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23442   Customer #80084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23443   Customer #80086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23444   Customer #80087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23445   Customer #80089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23446   Customer #80091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23447   Customer #80092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23448   Customer #80096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23449   Customer #80099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23450   Customer #80100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23451   Customer #80101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23452   Customer #80108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23453   Customer #80109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23454   Customer #80110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23455   Customer #80112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23456   Customer #80114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23457   Customer #80117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23458   Customer #80118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23459   Customer #80119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23460   Customer #80120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23461   Customer #80125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23462   Customer #80130                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23463   Customer #80138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23464   Customer #80143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23465   Customer #80145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23466   Customer #80146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23467   Customer #80147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23468   Customer #80149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23469   Customer #80155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23470   Customer #80161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23471   Customer #80162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23472   Customer #80164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23473   Customer #80167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23474   Customer #80169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23475   Customer #80171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23476   Customer #80172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23477   Customer #80181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23478   Customer #80183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23479   Customer #80184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23480   Customer #80189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23481   Customer #80192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23482   Customer #80194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23483   Customer #80200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23484   Customer #80210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23485   Customer #80212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23486   Customer #80216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23487   Customer #80217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23488   Customer #80218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23489   Customer #80219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23490   Customer #80219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23491   Customer #80219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23492   Customer #80220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23493   Customer #80222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23494   Customer #80223                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23495   Customer #80224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23496   Customer #80226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23497   Customer #80228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23498   Customer #80229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23499   Customer #80231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23500   Customer #80237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23501   Customer #80238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23502   Customer #80248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23503   Customer #80249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23504   Customer #80250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23505   Customer #80251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23506   Customer #80254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23507   Customer #80255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23508   Customer #80256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23509   Customer #80258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23510   Customer #80259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23511   Customer #80265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23512   Customer #80266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23513   Customer #80275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23514   Customer #80292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23515   Customer #80293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23516   Customer #80295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23517   Customer #80296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23518   Customer #80386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23519   Customer #80388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23520   Customer #80391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23521   Customer #80395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23522   Customer #80396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23523   Customer #80411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23524   Customer #80416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23525   Customer #80424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23526   Customer #80426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23527   Customer #80427                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23528   Customer #80437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23529   Customer #80443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23530   Customer #80447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23531   Customer #80450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23532   Customer #80458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23533   Customer #80459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23534   Customer #80461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23535   Customer #80462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23536   Customer #80470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23537   Customer #80472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23538   Customer #80473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23539   Customer #80476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23540   Customer #80479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23541   Customer #80487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23542   Customer #80493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23543   Customer #80494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23544   Customer #80495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23545   Customer #80500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23546   Customer #80503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23547   Customer #80505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23548   Customer #80507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23549   Customer #80514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23550   Customer #80522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23551   Customer #80524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23552   Customer #80525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23553   Customer #80526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23554   Customer #80534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23555   Customer #80543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23556   Customer #80547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23557   Customer #80549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23558   Customer #80550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23559   Customer #80556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23560   Customer #80567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23561   Customer #80573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23562   Customer #80578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23563   Customer #80581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23564   Customer #80583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23565   Customer #80593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23566   Customer #80599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23567   Customer #80604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23568   Customer #80610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23569   Customer #80621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23570   Customer #80626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23571   Customer #80627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23572   Customer #80631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23573   Customer #80634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23574   Customer #80638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23575   Customer #80643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23576   Customer #80645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23577   Customer #80655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23578   Customer #80659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23579   Customer #80666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23580   Customer #80676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23581   Customer #80681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23582   Customer #80682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23583   Customer #80699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23584   Customer #80712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23585   Customer #80736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23586   Customer #80746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23587   Customer #80751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23588   Customer #80752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23589   Customer #80753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23590   Customer #80764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23591   Customer #80777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23592   Customer #80780                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23593   Customer #80783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23594   Customer #80785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23595   Customer #80792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23596   Customer #80793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23597   Customer #80795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23598   Customer #80802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23599   Customer #80809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23600   Customer #80810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23601   Customer #80818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23602   Customer #80821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23603   Customer #80825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23604   Customer #80832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23605   Customer #80835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23606   Customer #80840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23607   Customer #80841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23608   Customer #80856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23609   Customer #80857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23610   Customer #80858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23611   Customer #80860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23612   Customer #80863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23613   Customer #80874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23614   Customer #80875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23615   Customer #80876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23616   Customer #80878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23617   Customer #80880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23618   Customer #80881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23619   Customer #80882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23620   Customer #80885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23621   Customer #80889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23622   Customer #80891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23623   Customer #80894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23624   Customer #80901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23625   Customer #80902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23626   Customer #80904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23627   Customer #80908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23628   Customer #80910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23629   Customer #80911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23630   Customer #80914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23631   Customer #80921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23632   Customer #80960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23633   Customer #80961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23634   Customer #80962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23635   Customer #80964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23636   Customer #80966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23637   Customer #80967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23638   Customer #80969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23639   Customer #80977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23640   Customer #80978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23641   Customer #80981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23642   Customer #80987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23643   Customer #80988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23644   Customer #80995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23645   Customer #80999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23646   Customer #81000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23647   Customer #81008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23648   Customer #81026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23649   Customer #81028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23650   Customer #81033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23651   Customer #81035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23652   Customer #81036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23653   Customer #81037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23654   Customer #81038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23655   Customer #81043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23656   Customer #81044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23657   Customer #81047                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23658   Customer #81053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23659   Customer #81054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23660   Customer #81055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23661   Customer #81062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23662   Customer #81065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23663   Customer #81074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23664   Customer #81078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23665   Customer #81081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23666   Customer #81083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23667   Customer #81087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23668   Customer #81088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23669   Customer #81093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23670   Customer #81095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23671   Customer #81096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23672   Customer #81098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23673   Customer #81100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23674   Customer #81104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23675   Customer #81105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23676   Customer #81111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23677   Customer #81113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23678   Customer #81119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23679   Customer #81120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23680   Customer #81121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23681   Customer #81129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23682   Customer #81130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23683   Customer #81133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23684   Customer #81139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23685   Customer #81143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23686   Customer #81148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23687   Customer #81149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23688   Customer #81153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23689   Customer #81154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23690   Customer #81155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23691   Customer #81161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23692   Customer #81163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23693   Customer #81166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23694   Customer #81166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23695   Customer #81167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23696   Customer #81168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23697   Customer #81169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23698   Customer #81170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23699   Customer #81171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23700   Customer #81172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23701   Customer #81178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23702   Customer #81179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23703   Customer #81182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23704   Customer #81186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23705   Customer #81189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23706   Customer #81200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23707   Customer #81205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23708   Customer #81212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23709   Customer #81213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23710   Customer #81216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23711   Customer #81217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23712   Customer #81221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23713   Customer #81225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23714   Customer #81226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23715   Customer #81229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23716   Customer #81230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23717   Customer #81231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23718   Customer #81233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23719   Customer #81234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23720   Customer #81235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23721   Customer #81236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23722   Customer #81237                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23723   Customer #81238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23724   Customer #81241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23725   Customer #81244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23726   Customer #81246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23727   Customer #81247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23728   Customer #81248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23729   Customer #81250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23730   Customer #81251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23731   Customer #81253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23732   Customer #81254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23733   Customer #81255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23734   Customer #81256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23735   Customer #81259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23736   Customer #81262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23737   Customer #81266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23738   Customer #81269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23739   Customer #81276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23740   Customer #81281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23741   Customer #81282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23742   Customer #81285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23743   Customer #81288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23744   Customer #81304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23745   Customer #81307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23746   Customer #81312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23747   Customer #81313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23748   Customer #81315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23749   Customer #81316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23750   Customer #81320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23751   Customer #81325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23752   Customer #81327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23753   Customer #81329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23754   Customer #81330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23755   Customer #81332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23756   Customer #81333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23757   Customer #81334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23758   Customer #81335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23759   Customer #81338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23760   Customer #81338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23761   Customer #81346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23762   Customer #81363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23763   Customer #81364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23764   Customer #81367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23765   Customer #81374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23766   Customer #81379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23767   Customer #81383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23768   Customer #81385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23769   Customer #81387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23770   Customer #81388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23771   Customer #81391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23772   Customer #81392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23773   Customer #81394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23774   Customer #81395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23775   Customer #81399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23776   Customer #81403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23777   Customer #81404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23778   Customer #81406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23779   Customer #81410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23780   Customer #81413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23781   Customer #81414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23782   Customer #81416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23783   Customer #81423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23784   Customer #81425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23785   Customer #81427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23786   Customer #81430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23787   Customer #81431                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23788   Customer #81436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23789   Customer #81450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23790   Customer #81451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23791   Customer #81452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23792   Customer #81459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23793   Customer #81461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23794   Customer #81468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23795   Customer #81481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23796   Customer #81488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23797   Customer #81490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23798   Customer #81491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23799   Customer #81506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23800   Customer #81515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23801   Customer #81518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23802   Customer #81519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23803   Customer #81524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23804   Customer #81525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23805   Customer #81526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23806   Customer #81529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23807   Customer #81531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23808   Customer #81532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23809   Customer #81534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23810   Customer #81536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23811   Customer #81538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23812   Customer #81540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23813   Customer #81541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23814   Customer #81553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23815   Customer #81555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23816   Customer #81556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23817   Customer #81559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23818   Customer #81565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23819   Customer #81566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23820   Customer #81572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23821   Customer #81573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23822   Customer #81579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23823   Customer #81583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23824   Customer #81585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23825   Customer #81602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23826   Customer #81621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23827   Customer #81624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23828   Customer #81625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23829   Customer #81630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23830   Customer #81631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23831   Customer #81643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23832   Customer #81657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23833   Customer #81663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23834   Customer #81665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23835   Customer #81673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23836   Customer #81676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23837   Customer #81678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23838   Customer #81680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23839   Customer #81684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23840   Customer #81686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23841   Customer #81688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23842   Customer #81689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23843   Customer #81690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23844   Customer #81691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23845   Customer #81702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23846   Customer #81703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23847   Customer #81705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23848   Customer #81706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23849   Customer #81712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23850   Customer #81723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23851   Customer #81724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23852   Customer #81725                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23853   Customer #81732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23854   Customer #81738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23855   Customer #81739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23856   Customer #81740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23857   Customer #81742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23858   Customer #81743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23859   Customer #81744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23860   Customer #81745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23861   Customer #81746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23862   Customer #81748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23863   Customer #81750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23864   Customer #81755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23865   Customer #81756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23866   Customer #81757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23867   Customer #81760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23868   Customer #81761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23869   Customer #81762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23870   Customer #81764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23871   Customer #81768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23872   Customer #81769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23873   Customer #81770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23874   Customer #81779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23875   Customer #81781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23876   Customer #81785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23877   Customer #81791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23878   Customer #81793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23879   Customer #81794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23880   Customer #81800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23881   Customer #81803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23882   Customer #81811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23883   Customer #81812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23884   Customer #81814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23885   Customer #81819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23886   Customer #81825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23887   Customer #81830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23888   Customer #81831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23889   Customer #81833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23890   Customer #81835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23891   Customer #81837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23892   Customer #81840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23893   Customer #81841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23894   Customer #81842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23895   Customer #81843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23896   Customer #81844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23897   Customer #81846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23898   Customer #81851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23899   Customer #81853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23900   Customer #81855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23901   Customer #81856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23902   Customer #81861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23903   Customer #81863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23904   Customer #81866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23905   Customer #81867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23906   Customer #81874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23907   Customer #81877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23908   Customer #81881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23909   Customer #81886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23910   Customer #81887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23911   Customer #81888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23912   Customer #81889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23913   Customer #81892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23914   Customer #81896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23915   Customer #81903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23916   Customer #81910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23917   Customer #81913                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23918   Customer #81914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23919   Customer #81923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23920   Customer #81925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23921   Customer #81926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23922   Customer #81928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23923   Customer #81929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23924   Customer #81930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23925   Customer #81931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23926   Customer #81933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23927   Customer #81934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23928   Customer #81937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23929   Customer #81938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23930   Customer #81939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23931   Customer #81942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23932   Customer #81948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23933   Customer #81953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23934   Customer #81961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23935   Customer #81964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23936   Customer #81968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23937   Customer #81977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23938   Customer #81983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23939   Customer #81986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23940   Customer #81990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23941   Customer #81991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23942   Customer #81992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23943   Customer #81993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23944   Customer #81994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23945   Customer #82005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23946   Customer #82007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23947   Customer #82016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23948   Customer #82024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23949   Customer #82035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23950   Customer #82041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23951   Customer #82049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23952   Customer #82062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23953   Customer #82070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23954   Customer #82073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23955   Customer #82074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23956   Customer #82075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23957   Customer #82084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23958   Customer #82086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23959   Customer #82090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23960   Customer #82102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23961   Customer #82106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23962   Customer #82110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23963   Customer #82110                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23964   Customer #82125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23965   Customer #82126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23966   Customer #82128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23967   Customer #82142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23968   Customer #82144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23969   Customer #82145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23970   Customer #82146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23971   Customer #82153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23972   Customer #82154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23973   Customer #82157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23974   Customer #82160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23975   Customer #82163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23976   Customer #82166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23977   Customer #82169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23978   Customer #82173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23979   Customer #82175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23980   Customer #82183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23981   Customer #82186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23982   Customer #82189                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.23983   Customer #82190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23984   Customer #82191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23985   Customer #82193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23986   Customer #82193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23987   Customer #82195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23988   Customer #82196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23989   Customer #82203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23990   Customer #82214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23991   Customer #82217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23992   Customer #82226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23993   Customer #82227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23994   Customer #82237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23995   Customer #82242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23996   Customer #82248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23997   Customer #82251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23998   Customer #82253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.23999   Customer #82258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24000   Customer #82264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24001   Customer #82301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24002   Customer #82302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24003   Customer #82305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24004   Customer #82307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24005   Customer #82319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24006   Customer #82320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24007   Customer #82324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24008   Customer #82329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24009   Customer #82331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24010   Customer #82345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24011   Customer #82350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24012   Customer #82353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24013   Customer #82356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24014   Customer #82357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24015   Customer #82360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24016   Customer #82361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24017   Customer #82365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24018   Customer #82370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24019   Customer #82371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24020   Customer #82372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24021   Customer #82375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24022   Customer #82379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24023   Customer #82380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24024   Customer #82386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24025   Customer #82389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24026   Customer #82390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24027   Customer #82392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24028   Customer #82396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24029   Customer #82400                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24030   Customer #82401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24031   Customer #82403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24032   Customer #82406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24033   Customer #82409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24034   Customer #82416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24035   Customer #82417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24036   Customer #82418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24037   Customer #82421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24038   Customer #82424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24039   Customer #82433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24040   Customer #82437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24041   Customer #82438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24042   Customer #82441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24043   Customer #82445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24044   Customer #82449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24045   Customer #82450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24046   Customer #82450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24047   Customer #82450                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24048   Customer #82455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24049   Customer #82457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24050   Customer #82460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24051   Customer #82464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24052   Customer #82476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24053   Customer #82477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24054   Customer #82478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24055   Customer #82480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24056   Customer #82484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24057   Customer #82486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24058   Customer #82491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24059   Customer #82501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24060   Customer #82523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24061   Customer #82524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24062   Customer #82525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24063   Customer #82526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24064   Customer #82528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24065   Customer #82535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24066   Customer #82540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24067   Customer #82545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24068   Customer #82546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24069   Customer #82547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24070   Customer #82548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24071   Customer #82553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24072   Customer #82556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24073   Customer #82558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24074   Customer #82559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24075   Customer #82560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24076   Customer #82564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24077   Customer #82566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24078   Customer #82569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24079   Customer #82570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24080   Customer #82574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24081   Customer #82575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24082   Customer #82577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24083   Customer #82578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24084   Customer #82586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24085   Customer #82587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24086   Customer #82592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24087   Customer #82597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24088   Customer #82603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24089   Customer #82607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24090   Customer #82611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24091   Customer #82612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24092   Customer #82621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24093   Customer #82622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24094   Customer #82624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24095   Customer #82626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24096   Customer #82627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24097   Customer #82628                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24098   Customer #82629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24099   Customer #82632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24100   Customer #82633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24101   Customer #82635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24102   Customer #82638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24103   Customer #82640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24104   Customer #82642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24105   Customer #82644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24106   Customer #82647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24107   Customer #82660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24108   Customer #82661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24109   Customer #82663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24110   Customer #82672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24111   Customer #82680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24112   Customer #82681                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24113   Customer #82685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24114   Customer #82686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24115   Customer #82691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24116   Customer #82693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24117   Customer #82694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24118   Customer #82695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24119   Customer #82697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24120   Customer #82699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24121   Customer #82700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24122   Customer #82702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24123   Customer #82704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24124   Customer #82705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24125   Customer #82711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24126   Customer #82714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24127   Customer #82715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24128   Customer #82717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24129   Customer #82719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24130   Customer #82722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24131   Customer #82724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24132   Customer #82727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24133   Customer #82730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24134   Customer #82731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24135   Customer #82740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24136   Customer #82741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24137   Customer #82745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24138   Customer #82755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24139   Customer #82760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24140   Customer #82761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24141   Customer #82762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24142   Customer #82763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24143   Customer #82765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24144   Customer #82766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24145   Customer #82767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24146   Customer #82776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24147   Customer #82777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24148   Customer #82779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24149   Customer #82782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24150   Customer #82786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24151   Customer #82789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24152   Customer #82790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24153   Customer #82791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24154   Customer #82792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24155   Customer #82796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24156   Customer #82798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24157   Customer #82800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24158   Customer #82802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24159   Customer #82809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24160   Customer #82813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24161   Customer #82818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24162   Customer #82819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24163   Customer #82820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24164   Customer #82835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24165   Customer #82843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24166   Customer #82854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24167   Customer #82856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24168   Customer #82859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24169   Customer #82864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24170   Customer #82876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24171   Customer #82882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24172   Customer #82892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24173   Customer #82897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24174   Customer #82898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24175   Customer #82904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24176   Customer #82906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24177   Customer #82908                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24178   Customer #82909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24179   Customer #82915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24180   Customer #82919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24181   Customer #82923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24182   Customer #82925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24183   Customer #82926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24184   Customer #82927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24185   Customer #82928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24186   Customer #82942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24187   Customer #82945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24188   Customer #82947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24189   Customer #82949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24190   Customer #82958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24191   Customer #82973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24192   Customer #82975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24193   Customer #82984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24194   Customer #82985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24195   Customer #82989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24196   Customer #82991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24197   Customer #82995                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24198   Customer #82999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24199   Customer #83009                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24200   Customer #83011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24201   Customer #83013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24202   Customer #83018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24203   Customer #83023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24204   Customer #83024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24205   Customer #83025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24206   Customer #83039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24207   Customer #83050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24208   Customer #83052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24209   Customer #83060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24210   Customer #83062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24211   Customer #83064                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24212   Customer #83065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24213   Customer #83066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24214   Customer #83068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24215   Customer #83070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24216   Customer #83076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24217   Customer #83086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24218   Customer #83091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24219   Customer #83095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24220   Customer #83101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24221   Customer #83102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24222   Customer #83105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24223   Customer #83108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24224   Customer #83126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24225   Customer #83127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24226   Customer #83128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24227   Customer #83130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24228   Customer #83132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24229   Customer #83135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24230   Customer #83136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24231   Customer #83137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24232   Customer #83141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24233   Customer #83142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24234   Customer #83148                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24235   Customer #83152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24236   Customer #83153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24237   Customer #83159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24238   Customer #83168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24239   Customer #83170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24240   Customer #83171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24241   Customer #83179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24242   Customer #83181                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24243   Customer #83185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24244   Customer #83186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24245   Customer #83187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24246   Customer #83188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24247   Customer #83189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24248   Customer #83193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24249   Customer #83198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24250   Customer #83199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24251   Customer #83201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24252   Customer #83208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24253   Customer #83214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24254   Customer #83216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24255   Customer #83222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24256   Customer #83228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24257   Customer #83228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24258   Customer #83229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24259   Customer #83230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24260   Customer #83230                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24261   Customer #83236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24262   Customer #83243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24263   Customer #83245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24264   Customer #83250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24265   Customer #83256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24266   Customer #83257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24267   Customer #83258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24268   Customer #83263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24269   Customer #83265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24270   Customer #83267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24271   Customer #83269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24272   Customer #83270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24273   Customer #83271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24274   Customer #83272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24275   Customer #83274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24276   Customer #83277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24277   Customer #83284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24278   Customer #83287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24279   Customer #83291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24280   Customer #83299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24281   Customer #83304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24282   Customer #83308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24283   Customer #83309                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24284   Customer #83311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24285   Customer #83313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24286   Customer #83322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24287   Customer #83333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24288   Customer #83334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24289   Customer #83338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24290   Customer #83340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24291   Customer #83341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24292   Customer #83348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24293   Customer #83349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24294   Customer #83353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24295   Customer #83359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24296   Customer #83362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24297   Customer #83364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24298   Customer #83365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24299   Customer #83367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24300   Customer #83374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24301   Customer #83378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24302   Customer #83380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24303   Customer #83384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24304   Customer #83386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24305   Customer #83387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24306   Customer #83388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24307   Customer #83394                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24308   Customer #83399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24309   Customer #83407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24310   Customer #83412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24311   Customer #83415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24312   Customer #83416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24313   Customer #83419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24314   Customer #83445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24315   Customer #83449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24316   Customer #83468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24317   Customer #83501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24318   Customer #83506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24319   Customer #83507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24320   Customer #83519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24321   Customer #83523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24322   Customer #83523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24323   Customer #83524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24324   Customer #83526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24325   Customer #83527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24326   Customer #83529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24327   Customer #83547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24328   Customer #83554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24329   Customer #83558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24330   Customer #83559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24331   Customer #83571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24332   Customer #83572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24333   Customer #83573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24334   Customer #83574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24335   Customer #83574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24336   Customer #83574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24337   Customer #83575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24338   Customer #83577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24339   Customer #83581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24340   Customer #83586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24341   Customer #83587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24342   Customer #83588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24343   Customer #83589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24344   Customer #83590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24345   Customer #83591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24346   Customer #83603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24347   Customer #83609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24348   Customer #83610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24349   Customer #83613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24350   Customer #83615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24351   Customer #83616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24352   Customer #83623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24353   Customer #83631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24354   Customer #83635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24355   Customer #83636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24356   Customer #83639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24357   Customer #83646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24358   Customer #83651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24359   Customer #83652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24360   Customer #83657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24361   Customer #83664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24362   Customer #83666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24363   Customer #83667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24364   Customer #83670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24365   Customer #83678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24366   Customer #83683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24367   Customer #83702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24368   Customer #83712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24369   Customer #83713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24370   Customer #83719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24371   Customer #83725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24372   Customer #83729                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24373   Customer #83744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24374   Customer #83749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24375   Customer #83756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24376   Customer #83759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24377   Customer #83764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24378   Customer #83771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24379   Customer #83773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24380   Customer #83774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24381   Customer #83776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24382   Customer #83777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24383   Customer #83779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24384   Customer #83782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24385   Customer #83784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24386   Customer #83789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24387   Customer #83791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24388   Customer #83811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24389   Customer #83813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24390   Customer #83814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24391   Customer #83820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24392   Customer #83837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24393   Customer #83838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24394   Customer #83841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24395   Customer #83848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24396   Customer #83851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24397   Customer #83856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24398   Customer #83861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24399   Customer #83889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24400   Customer #83893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24401   Customer #83896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24402   Customer #83905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24403   Customer #83907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24404   Customer #83908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24405   Customer #83912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24406   Customer #83915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24407   Customer #83918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24408   Customer #83921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24409   Customer #83923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24410   Customer #83929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24411   Customer #83932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24412   Customer #83959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24413   Customer #83966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24414   Customer #83969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24415   Customer #83973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24416   Customer #83975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24417   Customer #83976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24418   Customer #83977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24419   Customer #83978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24420   Customer #83983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24421   Customer #83994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24422   Customer #84026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24423   Customer #84030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24424   Customer #84031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24425   Customer #84033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24426   Customer #84035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24427   Customer #84039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24428   Customer #84056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24429   Customer #84059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24430   Customer #84061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24431   Customer #84063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24432   Customer #84074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24433   Customer #84077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24434   Customer #84096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24435   Customer #84096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24436   Customer #84112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24437   Customer #84116                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24438   Customer #84117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24439   Customer #84119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24440   Customer #84122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24441   Customer #84123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24442   Customer #84133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24443   Customer #84161                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24444   Customer #84165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24445   Customer #84166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24446   Customer #84169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24447   Customer #84173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24448   Customer #84186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24449   Customer #84188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24450   Customer #84192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24451   Customer #84194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24452   Customer #84201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24453   Customer #84202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24454   Customer #84203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24455   Customer #84210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24456   Customer #84215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24457   Customer #84222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24458   Customer #84225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24459   Customer #84244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24460   Customer #84251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24461   Customer #84253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24462   Customer #84254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24463   Customer #84278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24464   Customer #84279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24465   Customer #84282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24466   Customer #84283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24467   Customer #84287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24468   Customer #84288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24469   Customer #84291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24470   Customer #84305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24471   Customer #84307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24472   Customer #84308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24473   Customer #84310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24474   Customer #84314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24475   Customer #84315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24476   Customer #84319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24477   Customer #84319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24478   Customer #84320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24479   Customer #84322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24480   Customer #84324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24481   Customer #84326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24482   Customer #84327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24483   Customer #84328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24484   Customer #84332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24485   Customer #84334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24486   Customer #84338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24487   Customer #84341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24488   Customer #84345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24489   Customer #84348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24490   Customer #84351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24491   Customer #84355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24492   Customer #84358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24493   Customer #84364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24494   Customer #84365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24495   Customer #84367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24496   Customer #84373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24497   Customer #84384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24498   Customer #84397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24499   Customer #84403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24500   Customer #84405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24501   Customer #84410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24502   Customer #84419                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24503   Customer #84422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24504   Customer #84423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24505   Customer #84429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24506   Customer #84430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24507   Customer #84433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24508   Customer #84454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24509   Customer #84466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24510   Customer #84467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24511   Customer #84470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24512   Customer #84472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24513   Customer #84473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24514   Customer #84474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24515   Customer #84476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24516   Customer #84477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24517   Customer #84480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24518   Customer #84484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24519   Customer #84487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24520   Customer #84508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24521   Customer #84513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24522   Customer #84516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24523   Customer #84520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24524   Customer #84521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24525   Customer #84522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24526   Customer #84525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24527   Customer #84526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24528   Customer #84527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24529   Customer #84529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24530   Customer #84530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24531   Customer #84531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24532   Customer #84532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24533   Customer #84533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24534   Customer #84534                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24535   Customer #84547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24536   Customer #84554                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24537   Customer #84561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24538   Customer #84564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24539   Customer #84568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24540   Customer #84583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24541   Customer #84587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24542   Customer #84589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24543   Customer #84591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24544   Customer #84593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24545   Customer #84594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24546   Customer #84596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24547   Customer #84599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24548   Customer #84608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24549   Customer #84609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24550   Customer #84610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24551   Customer #84614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24552   Customer #84615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24553   Customer #84616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24554   Customer #84621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24555   Customer #84624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24556   Customer #84625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24557   Customer #84640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24558   Customer #84644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24559   Customer #84647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24560   Customer #84648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24561   Customer #84649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24562   Customer #84650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24563   Customer #84652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24564   Customer #84657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24565   Customer #84662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24566   Customer #84663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24567   Customer #84664                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24568   Customer #84665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24569   Customer #84669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24570   Customer #84678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24571   Customer #84681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24572   Customer #84685                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24573   Customer #84689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24574   Customer #84690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24575   Customer #84691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24576   Customer #84705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24577   Customer #84716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24578   Customer #84717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24579   Customer #84727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24580   Customer #84729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24581   Customer #84739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24582   Customer #84750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24583   Customer #84753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24584   Customer #84756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24585   Customer #84761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24586   Customer #84763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24587   Customer #84764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24588   Customer #84770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24589   Customer #84771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24590   Customer #84773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24591   Customer #84777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24592   Customer #84777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24593   Customer #84785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24594   Customer #84786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24595   Customer #84787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24596   Customer #84794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24597   Customer #84795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24598   Customer #84797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24599   Customer #84802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24600   Customer #84802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24601   Customer #84806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24602   Customer #84808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24603   Customer #84810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24604   Customer #84811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24605   Customer #84815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24606   Customer #84817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24607   Customer #84828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24608   Customer #84832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24609   Customer #84841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24610   Customer #84856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24611   Customer #84858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24612   Customer #84864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24613   Customer #84867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24614   Customer #84868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24615   Customer #84872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24616   Customer #84878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24617   Customer #84879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24618   Customer #84880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24619   Customer #84886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24620   Customer #84888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24621   Customer #84890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24622   Customer #84891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24623   Customer #84901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24624   Customer #84902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24625   Customer #84903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24626   Customer #84905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24627   Customer #84905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24628   Customer #84907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24629   Customer #84910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24630   Customer #84915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24631   Customer #84923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24632   Customer #84925                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24633   Customer #84926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24634   Customer #84932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24635   Customer #84934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24636   Customer #84936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24637   Customer #84937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24638   Customer #84940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24639   Customer #84954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24640   Customer #84955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24641   Customer #84957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24642   Customer #84964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24643   Customer #84972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24644   Customer #84987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24645   Customer #85000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24646   Customer #85016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24647   Customer #85023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24648   Customer #85024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24649   Customer #85035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24650   Customer #85040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24651   Customer #85043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24652   Customer #85059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24653   Customer #85062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24654   Customer #85068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24655   Customer #85081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24656   Customer #85086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24657   Customer #85087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24658   Customer #85095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24659   Customer #85097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24660   Customer #85137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24661   Customer #85139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24662   Customer #85142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24663   Customer #85143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24664   Customer #85149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24665   Customer #85155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24666   Customer #85156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24667   Customer #85169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24668   Customer #85174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24669   Customer #85176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24670   Customer #85178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24671   Customer #85180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24672   Customer #85182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24673   Customer #85191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24674   Customer #85201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24675   Customer #85207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24676   Customer #85212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24677   Customer #85217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24678   Customer #85226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24679   Customer #85227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24680   Customer #85229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24681   Customer #85233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24682   Customer #85234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24683   Customer #85236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24684   Customer #85238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24685   Customer #85250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24686   Customer #85258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24687   Customer #85259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24688   Customer #85260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24689   Customer #85262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24690   Customer #85263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24691   Customer #85264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24692   Customer #85267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24693   Customer #85268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24694   Customer #85269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24695   Customer #85272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24696   Customer #85272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24697   Customer #85273                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24698   Customer #85274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24699   Customer #85276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24700   Customer #85286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24701   Customer #85288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24702   Customer #85293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24703   Customer #85299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24704   Customer #85301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24705   Customer #85320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24706   Customer #85321                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24707   Customer #85323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24708   Customer #85325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24709   Customer #85328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24710   Customer #85330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24711   Customer #85338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24712   Customer #85341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24713   Customer #85346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24714   Customer #85361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24715   Customer #85367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24716   Customer #85370                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24717   Customer #85374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24718   Customer #85376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24719   Customer #85377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24720   Customer #85380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24721   Customer #85385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24722   Customer #85389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24723   Customer #85391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24724   Customer #85399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24725   Customer #85401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24726   Customer #85412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24727   Customer #85413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24728   Customer #85416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24729   Customer #85417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24730   Customer #85418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24731   Customer #85420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24732   Customer #85421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24733   Customer #85423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24734   Customer #85425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24735   Customer #85427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24736   Customer #85432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24737   Customer #85444                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24738   Customer #85445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24739   Customer #85451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24740   Customer #85453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24741   Customer #85456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24742   Customer #85457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24743   Customer #85458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24744   Customer #85461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24745   Customer #85479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24746   Customer #85481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24747   Customer #85487                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24748   Customer #85489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24749   Customer #85494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24750   Customer #85496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24751   Customer #85497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24752   Customer #85499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24753   Customer #85501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24754   Customer #85502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24755   Customer #85503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24756   Customer #85507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24757   Customer #85512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24758   Customer #85518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24759   Customer #85523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24760   Customer #85524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24761   Customer #85537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24762   Customer #85538                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24763   Customer #85542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24764   Customer #85543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24765   Customer #85545                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24766   Customer #85549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24767   Customer #85550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24768   Customer #85552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24769   Customer #85553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24770   Customer #85555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24771   Customer #85556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24772   Customer #85559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24773   Customer #85561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24774   Customer #85562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24775   Customer #85563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24776   Customer #85564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24777   Customer #85565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24778   Customer #85568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24779   Customer #85569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24780   Customer #85570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24781   Customer #85570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24782   Customer #85577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24783   Customer #85579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24784   Customer #85580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24785   Customer #85589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24786   Customer #85590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24787   Customer #85598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24788   Customer #85600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24789   Customer #85603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24790   Customer #85605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24791   Customer #85607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24792   Customer #85608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24793   Customer #85610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24794   Customer #85611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24795   Customer #85617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24796   Customer #85620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24797   Customer #85621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24798   Customer #85622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24799   Customer #85626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24800   Customer #85636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24801   Customer #85637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24802   Customer #85638                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24803   Customer #85642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24804   Customer #85647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24805   Customer #85648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24806   Customer #85651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24807   Customer #85659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24808   Customer #85664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24809   Customer #85666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24810   Customer #85672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24811   Customer #85674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24812   Customer #85678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24813   Customer #85681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24814   Customer #85691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24815   Customer #85692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24816   Customer #85693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24817   Customer #85704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24818   Customer #85711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24819   Customer #85713                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24820   Customer #85718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24821   Customer #85720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24822   Customer #85722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24823   Customer #85724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24824   Customer #85727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24825   Customer #85728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24826   Customer #85730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24827   Customer #85738                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24828   Customer #85745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24829   Customer #85753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24830   Customer #85754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24831   Customer #85755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24832   Customer #85756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24833   Customer #85757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24834   Customer #85761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24835   Customer #85767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24836   Customer #85768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24837   Customer #85770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24838   Customer #85772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24839   Customer #85774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24840   Customer #85778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24841   Customer #85792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24842   Customer #85806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24843   Customer #85807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24844   Customer #85815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24845   Customer #85817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24846   Customer #85818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24847   Customer #85836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24848   Customer #85841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24849   Customer #85847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24850   Customer #85853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24851   Customer #85854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24852   Customer #85857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24853   Customer #85859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24854   Customer #85862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24855   Customer #85872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24856   Customer #85873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24857   Customer #85875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24858   Customer #85876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24859   Customer #85881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24860   Customer #85885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24861   Customer #85893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24862   Customer #85904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24863   Customer #85915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24864   Customer #85920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24865   Customer #85921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24866   Customer #85922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24867   Customer #85924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24868   Customer #85931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24869   Customer #85932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24870   Customer #85935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24871   Customer #85938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24872   Customer #85939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24873   Customer #85940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24874   Customer #85949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24875   Customer #85952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24876   Customer #85954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24877   Customer #85964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24878   Customer #85965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24879   Customer #85968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24880   Customer #85971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24881   Customer #85972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24882   Customer #85978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24883   Customer #85981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24884   Customer #85982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24885   Customer #85984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24886   Customer #85985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24887   Customer #85989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24888   Customer #85992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24889   Customer #85994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24890   Customer #85997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24891   Customer #86004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24892   Customer #86005                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24893   Customer #86008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24894   Customer #86010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24895   Customer #86011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24896   Customer #86014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24897   Customer #86018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24898   Customer #86023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24899   Customer #86040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24900   Customer #86041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24901   Customer #86046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24902   Customer #86047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24903   Customer #86062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24904   Customer #86063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24905   Customer #86065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24906   Customer #86066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24907   Customer #86069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24908   Customer #86072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24909   Customer #86074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24910   Customer #86075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24911   Customer #86077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24912   Customer #86085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24913   Customer #86086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24914   Customer #86089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24915   Customer #86091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24916   Customer #86092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24917   Customer #86094                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24918   Customer #86098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24919   Customer #86116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24920   Customer #86121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24921   Customer #86122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24922   Customer #86123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24923   Customer #86124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24924   Customer #86125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24925   Customer #86135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24926   Customer #86139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24927   Customer #86143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24928   Customer #86147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24929   Customer #86151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24930   Customer #86152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24931   Customer #86153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24932   Customer #86159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24933   Customer #86164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24934   Customer #86167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24935   Customer #86170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24936   Customer #86173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24937   Customer #86179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24938   Customer #86181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24939   Customer #86182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24940   Customer #86195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24941   Customer #86198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24942   Customer #86199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24943   Customer #86201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24944   Customer #86216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24945   Customer #86228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24946   Customer #86229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24947   Customer #86231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24948   Customer #86232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24949   Customer #86234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24950   Customer #86235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24951   Customer #86240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24952   Customer #86241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24953   Customer #86242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24954   Customer #86243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24955   Customer #86245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24956   Customer #86248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24957   Customer #86256                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.24958   Customer #86259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24959   Customer #86260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24960   Customer #86261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24961   Customer #86262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24962   Customer #86263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24963   Customer #86263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24964   Customer #86263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24965   Customer #86264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24966   Customer #86269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24967   Customer #86283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24968   Customer #86284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24969   Customer #86290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24970   Customer #86293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24971   Customer #86299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24972   Customer #86301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24973   Customer #86302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24974   Customer #86303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24975   Customer #86306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24976   Customer #86317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24977   Customer #86322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24978   Customer #86323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24979   Customer #86326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24980   Customer #86327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24981   Customer #86330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24982   Customer #86332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24983   Customer #86335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24984   Customer #86337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24985   Customer #86338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24986   Customer #86341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24987   Customer #86342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24988   Customer #86343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24989   Customer #86348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24990   Customer #86350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24991   Customer #86351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24992   Customer #86353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24993   Customer #86356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24994   Customer #86357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24995   Customer #86359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24996   Customer #86360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24997   Customer #86364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24998   Customer #86367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.24999   Customer #86374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25000   Customer #86374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25001   Customer #86376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25002   Customer #86386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25003   Customer #86388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25004   Customer #86390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25005   Customer #86393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25006   Customer #86395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25007   Customer #86396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25008   Customer #86402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25009   Customer #86411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25010   Customer #86412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25011   Customer #86413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25012   Customer #86418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25013   Customer #86428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25014   Customer #86435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25015   Customer #86436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25016   Customer #86437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25017   Customer #86440                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25018   Customer #86446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25019   Customer #86447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25020   Customer #86449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25021   Customer #86450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25022   Customer #86451                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25023   Customer #86453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25024   Customer #86457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25025   Customer #86458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25026   Customer #86461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25027   Customer #86463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25028   Customer #86465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25029   Customer #86467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25030   Customer #86468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25031   Customer #86469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25032   Customer #86473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25033   Customer #86478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25034   Customer #86479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25035   Customer #86481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25036   Customer #86482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25037   Customer #86488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25038   Customer #86491                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25039   Customer #86501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25040   Customer #86503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25041   Customer #86514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25042   Customer #86518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25043   Customer #86526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25044   Customer #86527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25045   Customer #86529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25046   Customer #86535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25047   Customer #86540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25048   Customer #86542                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25049   Customer #86543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25050   Customer #86544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25051   Customer #86547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25052   Customer #86552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25053   Customer #86553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25054   Customer #86557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25055   Customer #86558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25056   Customer #86560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25057   Customer #86566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25058   Customer #86567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25059   Customer #86568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25060   Customer #86577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25061   Customer #86579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25062   Customer #86581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25063   Customer #86584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25064   Customer #86585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25065   Customer #86599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25066   Customer #86600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25067   Customer #86603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25068   Customer #86610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25069   Customer #86611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25070   Customer #86613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25071   Customer #86615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25072   Customer #86617                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25073   Customer #86618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25074   Customer #86621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25075   Customer #86626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25076   Customer #86627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25077   Customer #86633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25078   Customer #86640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25079   Customer #86642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25080   Customer #86646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25081   Customer #86647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25082   Customer #86648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25083   Customer #86649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25084   Customer #86654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25085   Customer #86658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25086   Customer #86659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25087   Customer #86662                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25088   Customer #86664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25089   Customer #86665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25090   Customer #86666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25091   Customer #86693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25092   Customer #86694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25093   Customer #86702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25094   Customer #86703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25095   Customer #86707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25096   Customer #86708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25097   Customer #86720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25098   Customer #86721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25099   Customer #86724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25100   Customer #86725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25101   Customer #86733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25102   Customer #86736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25103   Customer #86737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25104   Customer #86738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25105   Customer #86760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25106   Customer #86761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25107   Customer #86762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25108   Customer #86765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25109   Customer #86767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25110   Customer #86770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25111   Customer #86771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25112   Customer #86775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25113   Customer #86776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25114   Customer #86778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25115   Customer #86780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25116   Customer #86782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25117   Customer #86785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25118   Customer #86786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25119   Customer #86791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25120   Customer #86801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25121   Customer #86802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25122   Customer #86812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25123   Customer #86815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25124   Customer #86819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25125   Customer #86820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25126   Customer #86821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25127   Customer #86824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25128   Customer #86838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25129   Customer #86841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25130   Customer #86842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25131   Customer #86847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25132   Customer #86848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25133   Customer #86849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25134   Customer #86853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25135   Customer #86854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25136   Customer #86858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25137   Customer #86879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25138   Customer #86880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25139   Customer #86882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25140   Customer #86883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25141   Customer #86884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25142   Customer #86885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25143   Customer #86888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25144   Customer #86894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25145   Customer #86897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25146   Customer #86898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25147   Customer #86910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25148   Customer #86914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25149   Customer #86915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25150   Customer #86916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25151   Customer #86919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25152   Customer #86921                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25153   Customer #86923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25154   Customer #86925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25155   Customer #86927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25156   Customer #86935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25157   Customer #86939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25158   Customer #86947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25159   Customer #86949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25160   Customer #86953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25161   Customer #86954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25162   Customer #86956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25163   Customer #86961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25164   Customer #86962                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25165   Customer #86968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25166   Customer #86984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25167   Customer #86987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25168   Customer #86988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25169   Customer #87003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25170   Customer #87004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25171   Customer #87006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25172   Customer #87007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25173   Customer #87014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25174   Customer #87016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25175   Customer #87017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25176   Customer #87017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25177   Customer #87018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25178   Customer #87019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25179   Customer #87020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25180   Customer #87021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25181   Customer #87022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25182   Customer #87037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25183   Customer #87039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25184   Customer #87041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25185   Customer #87042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25186   Customer #87043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25187   Customer #87048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25188   Customer #87049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25189   Customer #87051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25190   Customer #87053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25191   Customer #87057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25192   Customer #87063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25193   Customer #87068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25194   Customer #87069                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25195   Customer #87076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25196   Customer #87077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25197   Customer #87078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25198   Customer #87079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25199   Customer #87080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25200   Customer #87087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25201   Customer #87089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25202   Customer #87090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25203   Customer #87099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25204   Customer #87103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25205   Customer #87112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25206   Customer #87113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25207   Customer #87116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25208   Customer #87120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25209   Customer #87121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25210   Customer #87122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25211   Customer #87125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25212   Customer #87126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25213   Customer #87128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25214   Customer #87129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25215   Customer #87133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25216   Customer #87135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25217   Customer #87139                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25218   Customer #87140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25219   Customer #87141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25220   Customer #87142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25221   Customer #87143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25222   Customer #87145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25223   Customer #87158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25224   Customer #87167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25225   Customer #87168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25226   Customer #87169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25227   Customer #87171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25228   Customer #87179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25229   Customer #87181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25230   Customer #87195                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25231   Customer #87200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25232   Customer #87201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25233   Customer #87202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25234   Customer #87205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25235   Customer #87206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25236   Customer #87218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25237   Customer #87219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25238   Customer #87228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25239   Customer #87236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25240   Customer #87237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25241   Customer #87238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25242   Customer #87241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25243   Customer #87243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25244   Customer #87244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25245   Customer #87247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25246   Customer #87249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25247   Customer #87251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25248   Customer #87262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25249   Customer #87266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25250   Customer #87270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25251   Customer #87271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25252   Customer #87274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25253   Customer #87282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25254   Customer #87287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25255   Customer #87296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25256   Customer #87298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25257   Customer #87301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25258   Customer #87311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25259   Customer #87316                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25260   Customer #87317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25261   Customer #87324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25262   Customer #87325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25263   Customer #87330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25264   Customer #87334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25265   Customer #87371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25266   Customer #87373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25267   Customer #87381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25268   Customer #87382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25269   Customer #87385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25270   Customer #87390                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25271   Customer #87393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25272   Customer #87408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25273   Customer #87409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25274   Customer #87410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25275   Customer #87418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25276   Customer #87421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25277   Customer #87422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25278   Customer #87423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25279   Customer #87425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25280   Customer #87426                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25281   Customer #87427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25282   Customer #87428                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25283   Customer #87429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25284   Customer #87431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25285   Customer #87432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25286   Customer #87433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25287   Customer #87434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25288   Customer #87435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25289   Customer #87438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25290   Customer #87442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25291   Customer #87445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25292   Customer #87445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25293   Customer #87445                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25294   Customer #87449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25295   Customer #87451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25296   Customer #87452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25297   Customer #87456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25298   Customer #87457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25299   Customer #87458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25300   Customer #87460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25301   Customer #87467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25302   Customer #87471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25303   Customer #87499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25304   Customer #87505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25305   Customer #87508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25306   Customer #87509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25307   Customer #87510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25308   Customer #87511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25309   Customer #87514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25310   Customer #87515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25311   Customer #87517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25312   Customer #87518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25313   Customer #87544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25314   Customer #87546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25315   Customer #87547                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25316   Customer #87548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25317   Customer #87549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25318   Customer #87550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25319   Customer #87558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25320   Customer #87564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25321   Customer #87565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25322   Customer #87566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25323   Customer #87568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25324   Customer #87583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25325   Customer #87588                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25326   Customer #87589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25327   Customer #87590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25328   Customer #87591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25329   Customer #87594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25330   Customer #87596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25331   Customer #87598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25332   Customer #87599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25333   Customer #87601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25334   Customer #87607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25335   Customer #87610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25336   Customer #87618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25337   Customer #87619                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25338   Customer #87636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25339   Customer #87642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25340   Customer #87647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25341   Customer #87648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25342   Customer #87650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25343   Customer #87657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25344   Customer #87658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25345   Customer #87661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25346   Customer #87662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25347   Customer #87665                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25348   Customer #87669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25349   Customer #87671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25350   Customer #87672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25351   Customer #87673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25352   Customer #87674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25353   Customer #87678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25354   Customer #87681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25355   Customer #87682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25356   Customer #87688                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25357   Customer #87689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25358   Customer #87697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25359   Customer #87714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25360   Customer #87715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25361   Customer #87722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25362   Customer #87724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25363   Customer #87728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25364   Customer #87730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25365   Customer #87731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25366   Customer #87732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25367   Customer #87733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25368   Customer #87736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25369   Customer #87740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25370   Customer #87741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25371   Customer #87745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25372   Customer #87746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25373   Customer #87748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25374   Customer #87752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25375   Customer #87753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25376   Customer #87759                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25377   Customer #87762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25378   Customer #87770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25379   Customer #87772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25380   Customer #87774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25381   Customer #87784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25382   Customer #87792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25383   Customer #87797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25384   Customer #87802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25385   Customer #87803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25386   Customer #87811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25387   Customer #87814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25388   Customer #87820                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25389   Customer #87825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25390   Customer #87829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25391   Customer #87831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25392   Customer #87832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25393   Customer #87834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25394   Customer #87837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25395   Customer #87839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25396   Customer #87840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25397   Customer #87841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25398   Customer #87842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25399   Customer #87844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25400   Customer #87848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25401   Customer #87855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25402   Customer #87856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25403   Customer #87863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25404   Customer #87865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25405   Customer #87878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25406   Customer #87879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25407   Customer #87881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25408   Customer #87884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25409   Customer #87886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25410   Customer #87886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25411   Customer #87888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25412   Customer #87891                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25413   Customer #87896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25414   Customer #87897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25415   Customer #87904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25416   Customer #87909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25417   Customer #87912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25418   Customer #87914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25419   Customer #87916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25420   Customer #87922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25421   Customer #87927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25422   Customer #87930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25423   Customer #87942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25424   Customer #87943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25425   Customer #87944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25426   Customer #87952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25427   Customer #87964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25428   Customer #87966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25429   Customer #87970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25430   Customer #87974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25431   Customer #87975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25432   Customer #87977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25433   Customer #87979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25434   Customer #87981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25435   Customer #87985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25436   Customer #87986                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25437   Customer #87987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25438   Customer #87998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25439   Customer #87999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25440   Customer #88000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25441   Customer #88001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25442   Customer #88013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25443   Customer #88015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25444   Customer #88016                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25445   Customer #88017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25446   Customer #88023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25447   Customer #88025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25448   Customer #88030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25449   Customer #88044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25450   Customer #88046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25451   Customer #88051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25452   Customer #88057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25453   Customer #88059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25454   Customer #88065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25455   Customer #88079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25456   Customer #88083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25457   Customer #88084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25458   Customer #88096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25459   Customer #88101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25460   Customer #88103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25461   Customer #88123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25462   Customer #88133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25463   Customer #88137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25464   Customer #88140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25465   Customer #88144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25466   Customer #88157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25467   Customer #88171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25468   Customer #88173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25469   Customer #88188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25470   Customer #88216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25471   Customer #88219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25472   Customer #88221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25473   Customer #88227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25474   Customer #88234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25475   Customer #88241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25476   Customer #88246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25477   Customer #88255                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25478   Customer #88258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25479   Customer #88260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25480   Customer #88262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25481   Customer #88263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25482   Customer #88269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25483   Customer #88270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25484   Customer #88275                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25485   Customer #88280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25486   Customer #88292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25487   Customer #88296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25488   Customer #88299                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25489   Customer #88300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25490   Customer #88307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25491   Customer #88315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25492   Customer #88318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25493   Customer #88329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25494   Customer #88340                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25495   Customer #88341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25496   Customer #88343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25497   Customer #88345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25498   Customer #88349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25499   Customer #88353                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25500   Customer #88354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25501   Customer #88359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25502   Customer #88360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25503   Customer #88362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25504   Customer #88364                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25505   Customer #88366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25506   Customer #88374                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25507   Customer #88377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25508   Customer #88384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25509   Customer #88385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25510   Customer #88389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25511   Customer #88391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25512   Customer #88392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25513   Customer #88393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25514   Customer #88396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25515   Customer #88402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25516   Customer #88405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25517   Customer #88406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25518   Customer #88411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25519   Customer #88415                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25520   Customer #88416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25521   Customer #88417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25522   Customer #88431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25523   Customer #88438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25524   Customer #88442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25525   Customer #88455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25526   Customer #88467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25527   Customer #88470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25528   Customer #88477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25529   Customer #88479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25530   Customer #88482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25531   Customer #88485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25532   Customer #88488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25533   Customer #88489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25534   Customer #88492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25535   Customer #88496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25536   Customer #88498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25537   Customer #88500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25538   Customer #88507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25539   Customer #88514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25540   Customer #88515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25541   Customer #88517                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25542   Customer #88523                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25543   Customer #88524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25544   Customer #88528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25545   Customer #88538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25546   Customer #88540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25547   Customer #88550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25548   Customer #88552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25549   Customer #88555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25550   Customer #88559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25551   Customer #88561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25552   Customer #88564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25553   Customer #88565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25554   Customer #88567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25555   Customer #88580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25556   Customer #88583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25557   Customer #88589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25558   Customer #88592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25559   Customer #88595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25560   Customer #88596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25561   Customer #88597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25562   Customer #88604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25563   Customer #88614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25564   Customer #88616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25565   Customer #88631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25566   Customer #88649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25567   Customer #88650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25568   Customer #88651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25569   Customer #88653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25570   Customer #88659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25571   Customer #88669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25572   Customer #88670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25573   Customer #88674                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25574   Customer #88675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25575   Customer #88680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25576   Customer #88702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25577   Customer #88703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25578   Customer #88708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25579   Customer #88711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25580   Customer #88719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25581   Customer #88720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25582   Customer #88724                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25583   Customer #88725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25584   Customer #88730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25585   Customer #88747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25586   Customer #88772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25587   Customer #88781                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25588   Customer #88783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25589   Customer #88788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25590   Customer #88794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25591   Customer #88802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25592   Customer #88805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25593   Customer #88806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25594   Customer #88807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25595   Customer #88808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25596   Customer #88811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25597   Customer #88815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25598   Customer #88819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25599   Customer #88824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25600   Customer #88836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25601   Customer #88837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25602   Customer #88838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25603   Customer #88839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25604   Customer #88840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25605   Customer #88842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25606   Customer #88848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25607   Customer #88850                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25608   Customer #88854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25609   Customer #88855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25610   Customer #88858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25611   Customer #88878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25612   Customer #88880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25613   Customer #88883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25614   Customer #88887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25615   Customer #88890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25616   Customer #88892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25617   Customer #88895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25618   Customer #88900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25619   Customer #88902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25620   Customer #88904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25621   Customer #88908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25622   Customer #88913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25623   Customer #88915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25624   Customer #88917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25625   Customer #88918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25626   Customer #88922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25627   Customer #88923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25628   Customer #88928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25629   Customer #88930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25630   Customer #88935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25631   Customer #88936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25632   Customer #88941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25633   Customer #88943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25634   Customer #88945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25635   Customer #88947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25636   Customer #88948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25637   Customer #88951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25638   Customer #88952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25639   Customer #88953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25640   Customer #88954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25641   Customer #88956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25642   Customer #88967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25643   Customer #88968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25644   Customer #88972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25645   Customer #88974                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25646   Customer #88977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25647   Customer #88981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25648   Customer #88984                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25649   Customer #88987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25650   Customer #88988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25651   Customer #88990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25652   Customer #88999                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25653   Customer #89001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25654   Customer #89004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25655   Customer #89005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25656   Customer #89007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25657   Customer #89012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25658   Customer #89018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25659   Customer #89019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25660   Customer #89020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25661   Customer #89021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25662   Customer #89022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25663   Customer #89029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25664   Customer #89034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25665   Customer #89035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25666   Customer #89036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25667   Customer #89039                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25668   Customer #89048                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25669   Customer #89059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25670   Customer #89063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25671   Customer #89066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25672   Customer #89071                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25673   Customer #89073                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25674   Customer #89077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25675   Customer #89084                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25676   Customer #89086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25677   Customer #89087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25678   Customer #89089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25679   Customer #89095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25680   Customer #89097                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25681   Customer #89099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25682   Customer #89102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25683   Customer #89104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25684   Customer #89107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25685   Customer #89109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25686   Customer #89117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25687   Customer #89118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25688   Customer #89119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25689   Customer #89122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25690   Customer #89123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25691   Customer #89124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25692   Customer #89125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25693   Customer #89126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25694   Customer #89128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25695   Customer #89129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25696   Customer #89130                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25697   Customer #89136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25698   Customer #89147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25699   Customer #89153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25700   Customer #89155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25701   Customer #89156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25702   Customer #89159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25703   Customer #89183                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25704   Customer #89200                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25705   Customer #89204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25706   Customer #89210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25707   Customer #89220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25708   Customer #89233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25709   Customer #89248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25710   Customer #89252                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25711   Customer #89254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25712   Customer #89262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25713   Customer #89264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25714   Customer #89266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25715   Customer #89271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25716   Customer #89278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25717   Customer #89284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25718   Customer #89287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25719   Customer #89296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25720   Customer #89300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25721   Customer #89303                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25722   Customer #89312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25723   Customer #89313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25724   Customer #89314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25725   Customer #89320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25726   Customer #89324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25727   Customer #89325                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25728   Customer #89331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25729   Customer #89338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25730   Customer #89365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25731   Customer #89369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25732   Customer #89373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25733   Customer #89386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25734   Customer #89389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25735   Customer #89399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25736   Customer #89403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25737   Customer #89405                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25738   Customer #89407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25739   Customer #89409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25740   Customer #89410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25741   Customer #89416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25742   Customer #89418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25743   Customer #89419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25744   Customer #89422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25745   Customer #89425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25746   Customer #89431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25747   Customer #89435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25748   Customer #89441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25749   Customer #89447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25750   Customer #89449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25751   Customer #89455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25752   Customer #89458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25753   Customer #89461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25754   Customer #89472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25755   Customer #89474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25756   Customer #89477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25757   Customer #89482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25758   Customer #89484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25759   Customer #89485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25760   Customer #89490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25761   Customer #89496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25762   Customer #89503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25763   Customer #89507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25764   Customer #89509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25765   Customer #89521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25766   Customer #89522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25767   Customer #89531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25768   Customer #89532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25769   Customer #89549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25770   Customer #89555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25771   Customer #89564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25772   Customer #89565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25773   Customer #89568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25774   Customer #89572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25775   Customer #89573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25776   Customer #89576                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25777   Customer #89579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25778   Customer #89580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25779   Customer #89581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25780   Customer #89582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25781   Customer #89583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25782   Customer #89586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25783   Customer #89589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25784   Customer #89592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25785   Customer #89593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25786   Customer #89610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25787   Customer #89613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25788   Customer #89615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25789   Customer #89624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25790   Customer #89631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25791   Customer #89632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25792   Customer #89636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25793   Customer #89639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25794   Customer #89642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25795   Customer #89655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25796   Customer #89660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25797   Customer #89662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25798   Customer #89670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25799   Customer #89673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25800   Customer #89676                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25801   Customer #89678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25802   Customer #89682                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25803   Customer #89684                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25804   Customer #89686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25805   Customer #89690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25806   Customer #89691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25807   Customer #89693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25808   Customer #89696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25809   Customer #89698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25810   Customer #89699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25811   Customer #89700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25812   Customer #89702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25813   Customer #89707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25814   Customer #89710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25815   Customer #89717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25816   Customer #89718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25817   Customer #89723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25818   Customer #89725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25819   Customer #89726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25820   Customer #89727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25821   Customer #89728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25822   Customer #89730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25823   Customer #89731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25824   Customer #89732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25825   Customer #89733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25826   Customer #89734                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25827   Customer #89735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25828   Customer #89737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25829   Customer #89739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25830   Customer #89757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25831   Customer #89768                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25832   Customer #89769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25833   Customer #89775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25834   Customer #89777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25835   Customer #89795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25836   Customer #89796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25837   Customer #89797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25838   Customer #89798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25839   Customer #89799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25840   Customer #89802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25841   Customer #89814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25842   Customer #89818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25843   Customer #89819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25844   Customer #89827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25845   Customer #89851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25846   Customer #89854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25847   Customer #89857                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25848   Customer #89878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25849   Customer #89881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25850   Customer #89882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25851   Customer #89889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25852   Customer #89890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25853   Customer #89890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25854   Customer #89903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25855   Customer #89905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25856   Customer #89912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25857   Customer #89913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25858   Customer #89915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25859   Customer #89916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25860   Customer #89917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25861   Customer #89918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25862   Customer #89919                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25863   Customer #89920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25864   Customer #89923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25865   Customer #89929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25866   Customer #89931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25867   Customer #89936                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25868   Customer #89940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25869   Customer #89947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25870   Customer #89950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25871   Customer #89955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25872   Customer #89957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25873   Customer #89958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25874   Customer #89959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25875   Customer #89963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25876   Customer #89964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25877   Customer #89973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25878   Customer #89975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25879   Customer #89976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25880   Customer #89977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25881   Customer #89978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25882   Customer #89979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25883   Customer #89980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25884   Customer #89989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25885   Customer #89993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25886   Customer #89994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25887   Customer #89996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25888   Customer #89997                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25889   Customer #90010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25890   Customer #90013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25891   Customer #90014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25892   Customer #90020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25893   Customer #90025                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25894   Customer #90027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25895   Customer #90038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25896   Customer #90040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25897   Customer #90041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25898   Customer #90043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25899   Customer #90044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25900   Customer #90049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25901   Customer #90051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25902   Customer #90054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25903   Customer #90055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25904   Customer #90056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25905   Customer #90090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25906   Customer #90095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25907   Customer #90098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25908   Customer #90100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25909   Customer #90101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25910   Customer #90108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25911   Customer #90114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25912   Customer #90118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25913   Customer #90126                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25914   Customer #90133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25915   Customer #90143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25916   Customer #90153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25917   Customer #90155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25918   Customer #90158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25919   Customer #90172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25920   Customer #90179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25921   Customer #90182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25922   Customer #90221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25923   Customer #90225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25924   Customer #90228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25925   Customer #90233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25926   Customer #90234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25927   Customer #90235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25928   Customer #90240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25929   Customer #90242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25930   Customer #90256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25931   Customer #90263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25932   Customer #90277                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25933   Customer #90279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25934   Customer #90289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25935   Customer #90296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25936   Customer #90302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25937   Customer #90307                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25938   Customer #90311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25939   Customer #90313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25940   Customer #90317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25941   Customer #90320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25942   Customer #90323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25943   Customer #90329                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25944   Customer #90341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25945   Customer #90349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25946   Customer #90355                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25947   Customer #90357                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25948   Customer #90358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25949   Customer #90428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25950   Customer #90430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25951   Customer #90436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25952   Customer #90448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25953   Customer #90449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25954   Customer #90450                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25955   Customer #90453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25956   Customer #90454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25957   Customer #90457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25958   Customer #90458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25959   Customer #90459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25960   Customer #90462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25961   Customer #90467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25962   Customer #90468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25963   Customer #90475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25964   Customer #90476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25965   Customer #90477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25966   Customer #90479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25967   Customer #90480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25968   Customer #90490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25969   Customer #90497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25970   Customer #90498                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25971   Customer #90503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25972   Customer #90504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25973   Customer #90507                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25974   Customer #90508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25975   Customer #90510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25976   Customer #90512                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25977   Customer #90513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25978   Customer #90514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25979   Customer #90521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25980   Customer #90541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25981   Customer #90548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25982   Customer #90549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25983   Customer #90550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25984   Customer #90552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25985   Customer #90563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25986   Customer #90565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25987   Customer #90568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25988   Customer #90571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25989   Customer #90582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25990   Customer #90584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25991   Customer #90586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25992   Customer #90589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25993   Customer #90590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25994   Customer #90591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25995   Customer #90592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25996   Customer #90596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25997   Customer #90599                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.25998   Customer #90601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.25999   Customer #90602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26000   Customer #90603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26001   Customer #90605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26002   Customer #90606                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26003   Customer #90608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26004   Customer #90610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26005   Customer #90612                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26006   Customer #90613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26007   Customer #90630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26008   Customer #90632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26009   Customer #90634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26010   Customer #90636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26011   Customer #90637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26012   Customer #90640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26013   Customer #90650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26014   Customer #90652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26015   Customer #90662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26016   Customer #90663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26017   Customer #90668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26018   Customer #90669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26019   Customer #90670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26020   Customer #90686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26021   Customer #90687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26022   Customer #90692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26023   Customer #90693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26024   Customer #90708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26025   Customer #90709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26026   Customer #90712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26027   Customer #90718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26028   Customer #90720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26029   Customer #90721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26030   Customer #90722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26031   Customer #90723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26032   Customer #90725                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26033   Customer #90726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26034   Customer #90727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26035   Customer #90729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26036   Customer #90743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26037   Customer #90746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26038   Customer #90748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26039   Customer #90749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26040   Customer #90751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26041   Customer #90752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26042   Customer #90753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26043   Customer #90756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26044   Customer #90757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26045   Customer #90758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26046   Customer #90760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26047   Customer #90766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26048   Customer #90769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26049   Customer #90770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26050   Customer #90777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26051   Customer #90782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26052   Customer #90785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26053   Customer #90789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26054   Customer #90790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26055   Customer #90793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26056   Customer #90800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26057   Customer #90802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26058   Customer #90809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26059   Customer #90812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26060   Customer #90813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26061   Customer #90814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26062   Customer #90815                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26063   Customer #90818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26064   Customer #90821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26065   Customer #90822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26066   Customer #90825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26067   Customer #90826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26068   Customer #90827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26069   Customer #90829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26070   Customer #90835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26071   Customer #90837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26072   Customer #90838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26073   Customer #90840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26074   Customer #90841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26075   Customer #90845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26076   Customer #90846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26077   Customer #90847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26078   Customer #90849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26079   Customer #90850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26080   Customer #90851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26081   Customer #90854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26082   Customer #90855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26083   Customer #90861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26084   Customer #90866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26085   Customer #90868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26086   Customer #90870                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26087   Customer #90871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26088   Customer #90872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26089   Customer #90876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26090   Customer #90877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26091   Customer #90879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26092   Customer #90880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26093   Customer #90898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26094   Customer #90900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26095   Customer #90900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26096   Customer #90903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26097   Customer #90905                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26098   Customer #90906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26099   Customer #90920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26100   Customer #90921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26101   Customer #90922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26102   Customer #90923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26103   Customer #90925                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26104   Customer #90929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26105   Customer #90933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26106   Customer #90935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26107   Customer #90938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26108   Customer #90939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26109   Customer #90940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26110   Customer #90944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26111   Customer #90946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26112   Customer #90947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26113   Customer #90950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26114   Customer #90951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26115   Customer #90953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26116   Customer #90954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26117   Customer #90955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26118   Customer #90969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26119   Customer #90970                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26120   Customer #90977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26121   Customer #90982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26122   Customer #90990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26123   Customer #91002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26124   Customer #91008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26125   Customer #91018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26126   Customer #91019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26127   Customer #91020                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26128   Customer #91022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26129   Customer #91029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26130   Customer #91031                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26131   Customer #91032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26132   Customer #91037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26133   Customer #91038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26134   Customer #91040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26135   Customer #91042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26136   Customer #91049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26137   Customer #91052                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26138   Customer #91061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26139   Customer #91068                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26140   Customer #91075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26141   Customer #91076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26142   Customer #91079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26143   Customer #91081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26144   Customer #91086                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26145   Customer #91087                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26146   Customer #91091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26147   Customer #91096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26148   Customer #91098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26149   Customer #91108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26150   Customer #91120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26151   Customer #91134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26152   Customer #91136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26153   Customer #91136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26154   Customer #91139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26155   Customer #91143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26156   Customer #91147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26157   Customer #91149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26158   Customer #91150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26159   Customer #91155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26160   Customer #91156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26161   Customer #91171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26162   Customer #91173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26163   Customer #91180                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26164   Customer #91186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26165   Customer #91189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26166   Customer #91190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26167   Customer #91191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26168   Customer #91193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26169   Customer #91201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26170   Customer #91207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26171   Customer #91208                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26172   Customer #91209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26173   Customer #91211                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26174   Customer #91212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26175   Customer #91217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26176   Customer #91224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26177   Customer #91228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26178   Customer #91233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26179   Customer #91236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26180   Customer #91239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26181   Customer #91250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26182   Customer #91255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26183   Customer #91256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26184   Customer #91259                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26185   Customer #91265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26186   Customer #91266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26187   Customer #91269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26188   Customer #91281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26189   Customer #91294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26190   Customer #91295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26191   Customer #91301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26192   Customer #91303                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26193   Customer #91305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26194   Customer #91310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26195   Customer #91314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26196   Customer #91317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26197   Customer #91327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26198   Customer #91337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26199   Customer #91341                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26200   Customer #91342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26201   Customer #91347                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26202   Customer #91360                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26203   Customer #91361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26204   Customer #91362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26205   Customer #91363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26206   Customer #91365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26207   Customer #91366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26208   Customer #91367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26209   Customer #91369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26210   Customer #91371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26211   Customer #91373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26212   Customer #91375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26213   Customer #91381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26214   Customer #91395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26215   Customer #91406                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26216   Customer #91411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26217   Customer #91414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26218   Customer #91416                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26219   Customer #91418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26220   Customer #91422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26221   Customer #91429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26222   Customer #91430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26223   Customer #91431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26224   Customer #91434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26225   Customer #91437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26226   Customer #91448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26227   Customer #91452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26228   Customer #91454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26229   Customer #91455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26230   Customer #91456                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26231   Customer #91467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26232   Customer #91470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26233   Customer #91471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26234   Customer #91472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26235   Customer #91474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26236   Customer #91475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26237   Customer #91476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26238   Customer #91478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26239   Customer #91480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26240   Customer #91484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26241   Customer #91485                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26242   Customer #91488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26243   Customer #91503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26244   Customer #91513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26245   Customer #91518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26246   Customer #91520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26247   Customer #91524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26248   Customer #91525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26249   Customer #91529                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26250   Customer #91533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26251   Customer #91535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26252   Customer #91536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26253   Customer #91538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26254   Customer #91539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26255   Customer #91541                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26256   Customer #91543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26257   Customer #91544                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26258   Customer #91552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26259   Customer #91555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26260   Customer #91557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26261   Customer #91566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26262   Customer #91569                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26263   Customer #91572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26264   Customer #91573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26265   Customer #91584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26266   Customer #91587                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26267   Customer #91589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26268   Customer #91590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26269   Customer #91591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26270   Customer #91593                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26271   Customer #91596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26272   Customer #91597                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26273   Customer #91598                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26274   Customer #91599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26275   Customer #91600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26276   Customer #91603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26277   Customer #91605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26278   Customer #91614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26279   Customer #91615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26280   Customer #91616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26281   Customer #91624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26282   Customer #91626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26283   Customer #91629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26284   Customer #91630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26285   Customer #91631                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26286   Customer #91632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26287   Customer #91640                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26288   Customer #91641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26289   Customer #91643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26290   Customer #91644                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26291   Customer #91645                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26292   Customer #91650                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26293   Customer #91652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26294   Customer #91658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26295   Customer #91659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26296   Customer #91671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26297   Customer #91672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26298   Customer #91673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26299   Customer #91677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26300   Customer #91680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26301   Customer #91681                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26302   Customer #91683                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26303   Customer #91689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26304   Customer #91690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26305   Customer #91697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26306   Customer #91704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26307   Customer #91706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26308   Customer #91710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26309   Customer #91714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26310   Customer #91717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26311   Customer #91720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26312   Customer #91723                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26313   Customer #91731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26314   Customer #91752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26315   Customer #91757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26316   Customer #91760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26317   Customer #91762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26318   Customer #91763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26319   Customer #91767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26320   Customer #91767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26321   Customer #91773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26322   Customer #91776                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26323   Customer #91779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26324   Customer #91786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26325   Customer #91792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26326   Customer #91797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26327   Customer #91798                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26328   Customer #91799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26329   Customer #91800                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26330   Customer #91805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26331   Customer #91809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26332   Customer #91810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26333   Customer #91814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26334   Customer #91815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26335   Customer #91817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26336   Customer #91824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26337   Customer #91825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26338   Customer #91841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26339   Customer #91842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26340   Customer #91844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26341   Customer #91848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26342   Customer #91851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26343   Customer #91859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26344   Customer #91864                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26345   Customer #91865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26346   Customer #91866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26347   Customer #91869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26348   Customer #91873                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26349   Customer #91875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26350   Customer #91877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26351   Customer #91879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26352   Customer #91880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26353   Customer #91881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26354   Customer #91882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26355   Customer #91884                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26356   Customer #91890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26357   Customer #91890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26358   Customer #91894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26359   Customer #91895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26360   Customer #91897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26361   Customer #91898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26362   Customer #91899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26363   Customer #91911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26364   Customer #91913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26365   Customer #91914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26366   Customer #91915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26367   Customer #91916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26368   Customer #91917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26369   Customer #91918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26370   Customer #91920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26371   Customer #91922                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26372   Customer #91927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26373   Customer #91928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26374   Customer #91933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26375   Customer #91934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26376   Customer #91935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26377   Customer #91942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26378   Customer #91946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26379   Customer #91947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26380   Customer #91948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26381   Customer #91953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26382   Customer #91956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26383   Customer #91957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26384   Customer #91963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26385   Customer #91965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26386   Customer #91977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26387   Customer #91983                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26388   Customer #91985                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26389   Customer #91988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26390   Customer #91991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26391   Customer #92008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26392   Customer #92018                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26393   Customer #92021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26394   Customer #92026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26395   Customer #92029                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26396   Customer #92030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26397   Customer #92032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26398   Customer #92036                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26399   Customer #92041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26400   Customer #92043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26401   Customer #92046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26402   Customer #92047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26403   Customer #92062                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26404   Customer #92065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26405   Customer #92067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26406   Customer #92071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26407   Customer #92072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26408   Customer #92075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26409   Customer #92080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26410   Customer #92088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26411   Customer #92089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26412   Customer #92091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26413   Customer #92093                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26414   Customer #92096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26415   Customer #92108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26416   Customer #92119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26417   Customer #92121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26418   Customer #92122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26419   Customer #92124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26420   Customer #92125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26421   Customer #92128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26422   Customer #92131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26423   Customer #92134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26424   Customer #92139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26425   Customer #92140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26426   Customer #92142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26427   Customer #92144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26428   Customer #92145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26429   Customer #92147                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26430   Customer #92149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26431   Customer #92155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26432   Customer #92156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26433   Customer #92158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26434   Customer #92160                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26435   Customer #92162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26436   Customer #92164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26437   Customer #92167                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26438   Customer #92169                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26439   Customer #92171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26440   Customer #92172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26441   Customer #92174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26442   Customer #92181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26443   Customer #92189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26444   Customer #92191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26445   Customer #92218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26446   Customer #92222                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26447   Customer #92225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26448   Customer #92226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26449   Customer #92238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26450   Customer #92239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26451   Customer #92240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26452   Customer #92246                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26453   Customer #92247                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26454   Customer #92250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26455   Customer #92258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26456   Customer #92261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26457   Customer #92262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26458   Customer #92265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26459   Customer #92268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26460   Customer #92272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26461   Customer #92280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26462   Customer #92281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26463   Customer #92282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26464   Customer #92284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26465   Customer #92287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26466   Customer #92291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26467   Customer #92305                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26468   Customer #92311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26469   Customer #92313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26470   Customer #92315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26471   Customer #92317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26472   Customer #92318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26473   Customer #92320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26474   Customer #92324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26475   Customer #92326                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26476   Customer #92331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26477   Customer #92332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26478   Customer #92334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26479   Customer #92336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26480   Customer #92338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26481   Customer #92346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26482   Customer #92348                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26483   Customer #92351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26484   Customer #92358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26485   Customer #92363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26486   Customer #92369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26487   Customer #92371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26488   Customer #92376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26489   Customer #92377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26490   Customer #92393                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26491   Customer #92396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26492   Customer #92397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26493   Customer #92398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26494   Customer #92402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26495   Customer #92408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26496   Customer #92414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26497   Customer #92418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26498   Customer #92420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26499   Customer #92425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26500   Customer #92429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26501   Customer #92434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26502   Customer #92435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26503   Customer #92437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26504   Customer #92443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26505   Customer #92457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26506   Customer #92458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26507   Customer #92459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26508   Customer #92470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26509   Customer #92471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26510   Customer #92480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26511   Customer #92486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26512   Customer #92489                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26513   Customer #92495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26514   Customer #92504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26515   Customer #92509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26516   Customer #92516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26517   Customer #92517                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26518   Customer #92519                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26519   Customer #92521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26520   Customer #92526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26521   Customer #92527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26522   Customer #92530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26523   Customer #92532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26524   Customer #92535                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26525   Customer #92536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26526   Customer #92538                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26527   Customer #92540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26528   Customer #92563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26529   Customer #92564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26530   Customer #92577                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26531   Customer #92582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26532   Customer #92584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26533   Customer #92585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26534   Customer #92589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26535   Customer #92591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26536   Customer #92599                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26537   Customer #92610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26538   Customer #92613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26539   Customer #92614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26540   Customer #92615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26541   Customer #92618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26542   Customer #92620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26543   Customer #92624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26544   Customer #92624                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26545   Customer #92625                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26546   Customer #92626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26547   Customer #92627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26548   Customer #92630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26549   Customer #92633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26550   Customer #92634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26551   Customer #92636                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26552   Customer #92639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26553   Customer #92641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26554   Customer #92648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26555   Customer #92653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26556   Customer #92654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26557   Customer #92654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26558   Customer #92658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26559   Customer #92659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26560   Customer #92664                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26561   Customer #92665                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26562   Customer #92671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26563   Customer #92672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26564   Customer #92675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26565   Customer #92678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26566   Customer #92690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26567   Customer #92692                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26568   Customer #92695                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26569   Customer #92696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26570   Customer #92699                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26571   Customer #92702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26572   Customer #92706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26573   Customer #92707                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26574   Customer #92710                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26575   Customer #92712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26576   Customer #92718                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26577   Customer #92719                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26578   Customer #92742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26579   Customer #92752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26580   Customer #92753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26581   Customer #92755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26582   Customer #92756                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26583   Customer #92758                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26584   Customer #92762                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26585   Customer #92763                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26586   Customer #92765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26587   Customer #92766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26588   Customer #92767                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26589   Customer #92769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26590   Customer #92782                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26591   Customer #92802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26592   Customer #92804                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26593   Customer #92807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26594   Customer #92810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26595   Customer #92811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26596   Customer #92817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26597   Customer #92821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26598   Customer #92822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26599   Customer #92825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26600   Customer #92829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26601   Customer #92831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26602   Customer #92834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26603   Customer #92836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26604   Customer #92837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26605   Customer #92840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26606   Customer #92841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26607   Customer #92845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26608   Customer #92848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26609   Customer #92853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26610   Customer #92868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26611   Customer #92890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26612   Customer #92892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26613   Customer #92894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26614   Customer #92895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26615   Customer #92897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26616   Customer #92898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26617   Customer #92899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26618   Customer #92900                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26619   Customer #92902                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26620   Customer #92904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26621   Customer #92911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26622   Customer #92913                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26623   Customer #92914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26624   Customer #92916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26625   Customer #92921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26626   Customer #92924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26627   Customer #92926                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26628   Customer #92931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26629   Customer #92933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26630   Customer #92940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26631   Customer #92942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26632   Customer #92943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26633   Customer #92949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26634   Customer #92952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26635   Customer #92954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26636   Customer #92955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26637   Customer #92957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26638   Customer #92960                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26639   Customer #92961                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26640   Customer #92964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26641   Customer #92966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26642   Customer #92967                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26643   Customer #92968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26644   Customer #92976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26645   Customer #92977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26646   Customer #92998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26647   Customer #93000                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26648   Customer #93006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26649   Customer #93012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26650   Customer #93063                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26651   Customer #93102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26652   Customer #93103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26653   Customer #93107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26654   Customer #93108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26655   Customer #93109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26656   Customer #93114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26657   Customer #93120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26658   Customer #93124                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26659   Customer #93128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26660   Customer #93135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26661   Customer #93136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26662   Customer #93142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26663   Customer #93143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26664   Customer #93145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26665   Customer #93152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26666   Customer #93175                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26667   Customer #93184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26668   Customer #93186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26669   Customer #93189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26670   Customer #93194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26671   Customer #93198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26672   Customer #93203                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26673   Customer #93205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26674   Customer #93209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26675   Customer #93210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26676   Customer #93212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26677   Customer #93213                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26678   Customer #93215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26679   Customer #93218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26680   Customer #93233                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26681   Customer #93234                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26682   Customer #93238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26683   Customer #93239                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26684   Customer #93240                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26685   Customer #93241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26686   Customer #93242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26687   Customer #93244                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26688   Customer #93245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26689   Customer #93250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26690   Customer #93253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26691   Customer #93260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26692   Customer #93261                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26693   Customer #93268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26694   Customer #93278                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26695   Customer #93279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26696   Customer #93283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26697   Customer #93284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26698   Customer #93285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26699   Customer #93288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26700   Customer #93289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26701   Customer #93290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26702   Customer #93293                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26703   Customer #93302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26704   Customer #93310                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26705   Customer #93311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26706   Customer #93314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26707   Customer #93315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26708   Customer #93317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26709   Customer #93318                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26710   Customer #93320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26711   Customer #93324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26712   Customer #93330                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26713   Customer #93331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26714   Customer #93333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26715   Customer #93334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26716   Customer #93336                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26717   Customer #93338                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26718   Customer #93346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26719   Customer #93350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26720   Customer #93354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26721   Customer #93356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26722   Customer #93365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26723   Customer #93367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26724   Customer #93368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26725   Customer #93371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26726   Customer #93372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26727   Customer #93372                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26728   Customer #93378                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26729   Customer #93386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26730   Customer #93387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26731   Customer #93389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26732   Customer #93391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26733   Customer #93395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26734   Customer #93402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26735   Customer #93405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26736   Customer #93409                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26737   Customer #93419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26738   Customer #93420                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26739   Customer #93423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26740   Customer #93425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26741   Customer #93431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26742   Customer #93432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26743   Customer #93437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26744   Customer #93449                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26745   Customer #93451                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26746   Customer #93452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26747   Customer #93467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26748   Customer #93468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26749   Customer #93469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26750   Customer #93470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26751   Customer #93474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26752   Customer #93486                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26753   Customer #93488                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26754   Customer #93490                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26755   Customer #93521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26756   Customer #93525                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26757   Customer #93540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26758   Customer #93560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26759   Customer #93564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26760   Customer #93579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26761   Customer #93582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26762   Customer #93590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26763   Customer #93604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26764   Customer #93605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26765   Customer #93611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26766   Customer #93614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26767   Customer #93622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26768   Customer #93623                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26769   Customer #93630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26770   Customer #93632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26771   Customer #93634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26772   Customer #93635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26773   Customer #93637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26774   Customer #93639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26775   Customer #93643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26776   Customer #93646                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26777   Customer #93650                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26778   Customer #93651                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26779   Customer #93652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26780   Customer #93653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26781   Customer #93654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26782   Customer #93660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26783   Customer #93667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26784   Customer #93671                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26785   Customer #93673                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26786   Customer #93675                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26787   Customer #93678                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26788   Customer #93679                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26789   Customer #93682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26790   Customer #93694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26791   Customer #93696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26792   Customer #93700                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26793   Customer #93703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26794   Customer #93712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26795   Customer #93714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26796   Customer #93715                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26797   Customer #93716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26798   Customer #93720                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26799   Customer #93721                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26800   Customer #93722                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26801   Customer #93726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26802   Customer #93728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26803   Customer #93729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26804   Customer #93731                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26805   Customer #93732                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26806   Customer #93733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26807   Customer #93741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26808   Customer #93746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26809   Customer #93747                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26810   Customer #93751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26811   Customer #93761                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26812   Customer #93765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26813   Customer #93766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26814   Customer #93769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26815   Customer #93770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26816   Customer #93772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26817   Customer #93774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26818   Customer #93775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26819   Customer #93775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26820   Customer #93776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26821   Customer #93779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26822   Customer #93780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26823   Customer #93784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26824   Customer #93791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26825   Customer #93793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26826   Customer #93794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26827   Customer #93796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26828   Customer #93799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26829   Customer #93801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26830   Customer #93809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26831   Customer #93814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26832   Customer #93815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26833   Customer #93825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26834   Customer #93828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26835   Customer #93832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26836   Customer #93833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26837   Customer #93834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26838   Customer #93835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26839   Customer #93838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26840   Customer #93841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26841   Customer #93844                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26842   Customer #93846                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26843   Customer #93848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26844   Customer #93850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26845   Customer #93852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26846   Customer #93859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26847   Customer #93861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26848   Customer #93867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26849   Customer #93869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26850   Customer #93869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26851   Customer #93871                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26852   Customer #93872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26853   Customer #93877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26854   Customer #93882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26855   Customer #93885                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26856   Customer #93886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26857   Customer #93887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26858   Customer #93890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26859   Customer #93897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26860   Customer #93898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26861   Customer #93901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26862   Customer #93906                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26863   Customer #93907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26864   Customer #93910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26865   Customer #93914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26866   Customer #93916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26867   Customer #93928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26868   Customer #93929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26869   Customer #93933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26870   Customer #93935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26871   Customer #93940                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26872   Customer #93942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26873   Customer #93945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26874   Customer #93951                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26875   Customer #93952                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26876   Customer #93953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26877   Customer #93954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26878   Customer #93956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26879   Customer #93958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26880   Customer #93963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26881   Customer #93976                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26882   Customer #93978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26883   Customer #93980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26884   Customer #93981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26885   Customer #93982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26886   Customer #93994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26887   Customer #93996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26888   Customer #94004                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26889   Customer #94005                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26890   Customer #94006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26891   Customer #94008                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26892   Customer #94011                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26893   Customer #94019                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26894   Customer #94020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26895   Customer #94021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26896   Customer #94027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26897   Customer #94034                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26898   Customer #94035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26899   Customer #94042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26900   Customer #94043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26901   Customer #94045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26902   Customer #94047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26903   Customer #94053                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26904   Customer #94055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26905   Customer #94057                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26906   Customer #94058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26907   Customer #94059                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26908   Customer #94060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26909   Customer #94061                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26910   Customer #94067                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26911   Customer #94070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26912   Customer #94072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26913   Customer #94076                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26914   Customer #94077                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26915   Customer #94078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26916   Customer #94095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26917   Customer #94101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26918   Customer #94102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26919   Customer #94105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26920   Customer #94107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26921   Customer #94111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26922   Customer #94112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26923   Customer #94113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26924   Customer #94114                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26925   Customer #94116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26926   Customer #94128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26927   Customer #94132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26928   Customer #94135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26929   Customer #94137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26930   Customer #94142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26931   Customer #94143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26932   Customer #94154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26933   Customer #94156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26934   Customer #94157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26935   Customer #94158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26936   Customer #94163                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26937   Customer #94165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26938   Customer #94168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26939   Customer #94170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26940   Customer #94173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26941   Customer #94188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26942   Customer #94196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26943   Customer #94197                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26944   Customer #94206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26945   Customer #94209                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26946   Customer #94210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26947   Customer #94212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26948   Customer #94217                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26949   Customer #94220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26950   Customer #94224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26951   Customer #94229                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26952   Customer #94246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26953   Customer #94248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26954   Customer #94250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26955   Customer #94271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26956   Customer #94281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26957   Customer #94283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26958   Customer #94290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26959   Customer #94291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26960   Customer #94294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26961   Customer #94295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26962   Customer #94297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26963   Customer #94300                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26964   Customer #94301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26965   Customer #94304                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26966   Customer #94306                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26967   Customer #94315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26968   Customer #94320                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26969   Customer #94342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26970   Customer #94343                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26971   Customer #94346                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26972   Customer #94350                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.26973   Customer #94351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26974   Customer #94358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26975   Customer #94363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26976   Customer #94365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26977   Customer #94366                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26978   Customer #94368                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26979   Customer #94381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26980   Customer #94385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26981   Customer #94388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26982   Customer #94389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26983   Customer #94398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26984   Customer #94399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26985   Customer #94402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26986   Customer #94405                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26987   Customer #94407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26988   Customer #94418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26989   Customer #94422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26990   Customer #94429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26991   Customer #94430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26992   Customer #94437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26993   Customer #94439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26994   Customer #94460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26995   Customer #94468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26996   Customer #94481                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26997   Customer #94492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26998   Customer #94495                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.26999   Customer #94506                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27000   Customer #94515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27001   Customer #94520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27002   Customer #94533                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27003   Customer #94539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27004   Customer #94549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27005   Customer #94550                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27006   Customer #94555                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27007   Customer #94559                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27008   Customer #94560                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27009   Customer #94562                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27010   Customer #94567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27011   Customer #94570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27012   Customer #94575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27013   Customer #94578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27014   Customer #94579                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27015   Customer #94581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27016   Customer #94583                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27017   Customer #94584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27018   Customer #94586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27019   Customer #94591                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27020   Customer #94595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27021   Customer #94596                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27022   Customer #94601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27023   Customer #94605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27024   Customer #94610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27025   Customer #94614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27026   Customer #94618                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27027   Customer #94620                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27028   Customer #94621                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27029   Customer #94622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27030   Customer #94632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27031   Customer #94641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27032   Customer #94647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27033   Customer #94648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27034   Customer #94652                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27035   Customer #94658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27036   Customer #94666                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27037   Customer #94671                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27038   Customer #94672                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27039   Customer #94677                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27040   Customer #94691                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27041   Customer #94693                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27042   Customer #94697                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27043   Customer #94703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27044   Customer #94716                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27045   Customer #94717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27046   Customer #94728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27047   Customer #94737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27048   Customer #94739                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27049   Customer #94741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27050   Customer #94743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27051   Customer #94744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27052   Customer #94751                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27053   Customer #94752                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27054   Customer #94755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27055   Customer #94764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27056   Customer #94765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27057   Customer #94772                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27058   Customer #94775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27059   Customer #94776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27060   Customer #94785                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27061   Customer #94791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27062   Customer #94792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27063   Customer #94793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27064   Customer #94795                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27065   Customer #94817                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27066   Customer #94818                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27067   Customer #94822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27068   Customer #94823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27069   Customer #94824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27070   Customer #94828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27071   Customer #94830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27072   Customer #94834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27073   Customer #94835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27074   Customer #94835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27075   Customer #94836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27076   Customer #94837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27077   Customer #94838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27078   Customer #94840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27079   Customer #94841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27080   Customer #94842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27081   Customer #94849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27082   Customer #94852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27083   Customer #94855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27084   Customer #94856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27085   Customer #94859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27086   Customer #94865                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27087   Customer #94868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27088   Customer #94872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27089   Customer #94877                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27090   Customer #94878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27091   Customer #94879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27092   Customer #94890                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27093   Customer #94899                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27094   Customer #94904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27095   Customer #94912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27096   Customer #94921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27097   Customer #94929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27098   Customer #94931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27099   Customer #94935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27100   Customer #94937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27101   Customer #94945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27102   Customer #94947                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27103   Customer #94953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27104   Customer #94957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27105   Customer #94959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27106   Customer #94964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27107   Customer #94966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27108   Customer #94969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27109   Customer #94971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27110   Customer #94977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27111   Customer #94978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27112   Customer #94982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27113   Customer #94988                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27114   Customer #94990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27115   Customer #94991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27116   Customer #95013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27117   Customer #95017                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27118   Customer #95024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27119   Customer #95028                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27120   Customer #95033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27121   Customer #95040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27122   Customer #95041                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27123   Customer #95054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27124   Customer #95058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27125   Customer #95066                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27126   Customer #95070                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27127   Customer #95074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27128   Customer #95081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27129   Customer #95091                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27130   Customer #95096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27131   Customer #95107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27132   Customer #95112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27133   Customer #95116                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27134   Customer #95117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27135   Customer #95119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27136   Customer #95122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27137   Customer #95123                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27138   Customer #95135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27139   Customer #95140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27140   Customer #95150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27141   Customer #95152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27142   Customer #95153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27143   Customer #95158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27144   Customer #95162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27145   Customer #95172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27146   Customer #95176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27147   Customer #95177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27148   Customer #95178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27149   Customer #95185                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27150   Customer #95191                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27151   Customer #95198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27152   Customer #95204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27153   Customer #95205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27154   Customer #95212                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27155   Customer #95214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27156   Customer #95216                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27157   Customer #95221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27158   Customer #95224                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27159   Customer #95226                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27160   Customer #95245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27161   Customer #95248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27162   Customer #95250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27163   Customer #95251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27164   Customer #95254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27165   Customer #95256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27166   Customer #95257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27167   Customer #95259                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27168   Customer #95263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27169   Customer #95264                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27170   Customer #95268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27171   Customer #95272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27172   Customer #95274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27173   Customer #95279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27174   Customer #95281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27175   Customer #95282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27176   Customer #95286                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27177   Customer #95291                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27178   Customer #95292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27179   Customer #95294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27180   Customer #95317                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27181   Customer #95319                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27182   Customer #95322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27183   Customer #95324                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27184   Customer #95344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27185   Customer #95371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27186   Customer #95381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27187   Customer #95383                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27188   Customer #95384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27189   Customer #95398                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27190   Customer #95399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27191   Customer #95401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27192   Customer #95402                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27193   Customer #95404                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27194   Customer #95407                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27195   Customer #95408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27196   Customer #95414                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27197   Customer #95417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27198   Customer #95418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27199   Customer #95430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27200   Customer #95432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27201   Customer #95433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27202   Customer #95434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27203   Customer #95436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27204   Customer #95437                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27205   Customer #95452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27206   Customer #95457                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27207   Customer #95460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27208   Customer #95463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27209   Customer #95467                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27210   Customer #95476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27211   Customer #95477                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27212   Customer #95478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27213   Customer #95479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27214   Customer #95480                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27215   Customer #95482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27216   Customer #95484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27217   Customer #95492                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27218   Customer #95493                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27219   Customer #95494                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27220   Customer #95499                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27221   Customer #95503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27222   Customer #95504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27223   Customer #95505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27224   Customer #95508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27225   Customer #95513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27226   Customer #95521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27227   Customer #95523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27228   Customer #95524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27229   Customer #95526                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27230   Customer #95530                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27231   Customer #95536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27232   Customer #95538                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27233   Customer #95544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27234   Customer #95546                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27235   Customer #95552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27236   Customer #95565                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27237   Customer #95566                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27238   Customer #95580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27239   Customer #95581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27240   Customer #95582                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27241   Customer #95585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27242   Customer #95590                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27243   Customer #95601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27244   Customer #95607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27245   Customer #95614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27246   Customer #95614                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27247   Customer #95615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27248   Customer #95616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27249   Customer #95622                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27250   Customer #95626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27251   Customer #95632                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27252   Customer #95633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27253   Customer #95634                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27254   Customer #95648                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27255   Customer #95655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27256   Customer #95660                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27257   Customer #95663                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27258   Customer #95667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27259   Customer #95682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27260   Customer #95696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27261   Customer #95726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27262   Customer #95733                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27263   Customer #95736                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27264   Customer #95743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27265   Customer #95749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27266   Customer #95750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27267   Customer #95755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27268   Customer #95765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27269   Customer #95766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27270   Customer #95769                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27271   Customer #95770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27272   Customer #95776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27273   Customer #95777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27274   Customer #95783                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27275   Customer #95786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27276   Customer #95787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27277   Customer #95789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27278   Customer #95793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27279   Customer #95799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27280   Customer #95801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27281   Customer #95805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27282   Customer #95806                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27283   Customer #95807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27284   Customer #95809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27285   Customer #95810                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27286   Customer #95815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27287   Customer #95823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27288   Customer #95824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27289   Customer #95825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27290   Customer #95829                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27291   Customer #95830                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27292   Customer #95831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27293   Customer #95833                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27294   Customer #95836                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27295   Customer #95838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27296   Customer #95839                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27297   Customer #95845                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27298   Customer #95847                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27299   Customer #95852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27300   Customer #95853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27301   Customer #95855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27302   Customer #95862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27303   Customer #95863                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27304   Customer #95868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27305   Customer #95872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27306   Customer #95876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27307   Customer #95878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27308   Customer #95879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27309   Customer #95888                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27310   Customer #95889                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27311   Customer #95893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27312   Customer #95894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27313   Customer #95895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27314   Customer #95903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27315   Customer #95910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27316   Customer #95912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27317   Customer #95914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27318   Customer #95915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27319   Customer #95918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27320   Customer #95920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27321   Customer #95923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27322   Customer #95924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27323   Customer #95928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27324   Customer #95929                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27325   Customer #95931                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27326   Customer #95935                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27327   Customer #95937                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27328   Customer #95938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27329   Customer #95948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27330   Customer #95949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27331   Customer #95954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27332   Customer #95955                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27333   Customer #95956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27334   Customer #95959                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27335   Customer #95963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27336   Customer #95964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27337   Customer #95965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27338   Customer #95966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27339   Customer #95969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27340   Customer #95971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27341   Customer #95972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27342   Customer #95978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27343   Customer #95979                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27344   Customer #95980                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27345   Customer #95981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27346   Customer #95983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27347   Customer #95992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27348   Customer #96000                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27349   Customer #96013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27350   Customer #96021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27351   Customer #96022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27352   Customer #96026                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27353   Customer #96027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27354   Customer #96035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27355   Customer #96038                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27356   Customer #96040                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27357   Customer #96042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27358   Customer #96043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27359   Customer #96045                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27360   Customer #96046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27361   Customer #96047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27362   Customer #96048                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27363   Customer #96051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27364   Customer #96055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27365   Customer #96058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27366   Customer #96059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27367   Customer #96065                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27368   Customer #96072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27369   Customer #96074                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27370   Customer #96075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27371   Customer #96078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27372   Customer #96080                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27373   Customer #96096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27374   Customer #96100                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27375   Customer #96101                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27376   Customer #96102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27377   Customer #96103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27378   Customer #96104                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27379   Customer #96105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27380   Customer #96106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27381   Customer #96107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27382   Customer #96108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27383   Customer #96113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27384   Customer #96115                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27385   Customer #96117                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27386   Customer #96118                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27387   Customer #96122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27388   Customer #96125                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27389   Customer #96127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27390   Customer #96128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27391   Customer #96129                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27392   Customer #96131                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27393   Customer #96133                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27394   Customer #96134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27395   Customer #96136                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27396   Customer #96141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27397   Customer #96142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27398   Customer #96143                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27399   Customer #96145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27400   Customer #96149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27401   Customer #96151                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27402   Customer #96153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27403   Customer #96153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27404   Customer #96153                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27405   Customer #96154                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27406   Customer #96155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27407   Customer #96156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27408   Customer #96158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27409   Customer #96159                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27410   Customer #96162                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27411   Customer #96164                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27412   Customer #96166                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27413   Customer #96168                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27414   Customer #96170                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27415   Customer #96171                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27416   Customer #96173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27417   Customer #96174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27418   Customer #96178                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27419   Customer #96179                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27420   Customer #96188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27421   Customer #96194                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27422   Customer #96196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27423   Customer #96202                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27424   Customer #96204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27425   Customer #96205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27426   Customer #96206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27427   Customer #96213                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27428   Customer #96218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27429   Customer #96219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27430   Customer #96220                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27431   Customer #96221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27432   Customer #96225                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27433   Customer #96227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27434   Customer #96231                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27435   Customer #96232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27436   Customer #96242                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27437   Customer #96243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27438   Customer #96251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27439   Customer #96255                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27440   Customer #96257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27441   Customer #96260                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27442   Customer #96265                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27443   Customer #96267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27444   Customer #96269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27445   Customer #96272                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27446   Customer #96276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27447   Customer #96277                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27448   Customer #96281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27449   Customer #96289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27450   Customer #96290                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27451   Customer #96295                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27452   Customer #96297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27453   Customer #96298                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27454   Customer #96313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27455   Customer #96327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27456   Customer #96328                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27457   Customer #96332                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27458   Customer #96335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27459   Customer #96356                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27460   Customer #96358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27461   Customer #96359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27462   Customer #96361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27463   Customer #96362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27464   Customer #96367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27465   Customer #96371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27466   Customer #96380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27467   Customer #96381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27468   Customer #96385                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27469   Customer #96386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27470   Customer #96388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27471   Customer #96389                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27472   Customer #96413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27473   Customer #96419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27474   Customer #96423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27475   Customer #96425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27476   Customer #96427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27477   Customer #96429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27478   Customer #96432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27479   Customer #96433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27480   Customer #96446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27481   Customer #96462                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27482   Customer #96464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27483   Customer #96465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27484   Customer #96469                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27485   Customer #96470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27486   Customer #96473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27487   Customer #96475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27488   Customer #96476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27489   Customer #96479                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27490   Customer #96482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27491   Customer #96484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27492   Customer #96488                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27493   Customer #96505                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27494   Customer #96516                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27495   Customer #96524                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27496   Customer #96543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27497   Customer #96548                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27498   Customer #96549                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27499   Customer #96551                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27500   Customer #96552                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27501   Customer #96557                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27502   Customer #96568                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27503   Customer #96574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27504   Customer #96578                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27505   Customer #96584                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27506   Customer #96586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27507   Customer #96589                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27508   Customer #96594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27509   Customer #96601                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27510   Customer #96607                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27511   Customer #96610                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27512   Customer #96615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27513   Customer #96630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27514   Customer #96633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27515   Customer #96653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27516   Customer #96661                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27517   Customer #96668                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27518   Customer #96669                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27519   Customer #96670                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27520   Customer #96680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27521   Customer #96687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27522   Customer #96689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27523   Customer #96690                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27524   Customer #96694                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27525   Customer #96698                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27526   Customer #96701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27527   Customer #96702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27528   Customer #96705                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27529   Customer #96708                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27530   Customer #96711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27531   Customer #96712                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27532   Customer #96714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27533   Customer #96726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27534   Customer #96727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27535   Customer #96728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27536   Customer #96735                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27537   Customer #96740                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27538   Customer #96748                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27539   Customer #96754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27540   Customer #96757                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27541   Customer #96764                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27542   Customer #96774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27543   Customer #96775                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27544   Customer #96789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27545   Customer #96790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27546   Customer #96792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27547   Customer #96793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27548   Customer #96794                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27549   Customer #96796                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27550   Customer #96802                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27551   Customer #96803                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27552   Customer #96805                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27553   Customer #96807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27554   Customer #96809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27555   Customer #96812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27556   Customer #96819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27557   Customer #96820                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27558   Customer #96822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27559   Customer #96824                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27560   Customer #96826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27561   Customer #96828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27562   Customer #96831                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27563   Customer #96832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27564   Customer #96841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27565   Customer #96850                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27566   Customer #96854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27567   Customer #96855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27568   Customer #96858                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27569   Customer #96859                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27570   Customer #96861                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27571   Customer #96866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27572   Customer #96869                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27573   Customer #96874                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27574   Customer #96878                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27575   Customer #96879                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27576   Customer #96880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27577   Customer #96887                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27578   Customer #96892                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27579   Customer #96893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27580   Customer #96894                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27581   Customer #96896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27582   Customer #96897                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27583   Customer #96903                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27584   Customer #96904                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27585   Customer #96908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27586   Customer #96909                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27587   Customer #96911                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27588   Customer #96915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27589   Customer #96917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27590   Customer #96918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27591   Customer #96924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27592   Customer #96927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27593   Customer #96928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27594   Customer #96930                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27595   Customer #96934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27596   Customer #96938                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27597   Customer #96939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27598   Customer #96943                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27599   Customer #96945                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27600   Customer #96948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27601   Customer #96949                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27602   Customer #96953                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27603   Customer #96954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27604   Customer #96964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27605   Customer #96966                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27606   Customer #96968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27607   Customer #96973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27608   Customer #96975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27609   Customer #96981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27610   Customer #96982                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27611   Customer #96983                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27612   Customer #96987                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27613   Customer #96989                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27614   Customer #96990                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27615   Customer #96991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27616   Customer #97002                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27617   Customer #97003                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27618   Customer #97014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27619   Customer #97021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27620   Customer #97024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27621   Customer #97030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27622   Customer #97038                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27623   Customer #97043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27624   Customer #97044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27625   Customer #97046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27626   Customer #97049                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27627   Customer #97050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27628   Customer #97054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27629   Customer #97058                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27630   Customer #97059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27631   Customer #97071                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27632   Customer #97072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27633   Customer #97078                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27634   Customer #97081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27635   Customer #97082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27636   Customer #97085                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27637   Customer #97088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27638   Customer #97090                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27639   Customer #97092                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27640   Customer #97095                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27641   Customer #97096                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27642   Customer #97098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27643   Customer #97099                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27644   Customer #97105                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27645   Customer #97106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27646   Customer #97108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27647   Customer #97109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27648   Customer #97127                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27649   Customer #97128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27650   Customer #97135                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27651   Customer #97140                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27652   Customer #97156                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27653   Customer #97158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27654   Customer #97165                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27655   Customer #97172                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27656   Customer #97176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27657   Customer #97177                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27658   Customer #97181                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27659   Customer #97184                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27660   Customer #97187                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27661   Customer #97188                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27662   Customer #97190                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27663   Customer #97193                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27664   Customer #97196                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27665   Customer #97198                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27666   Customer #97199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27667   Customer #97201                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27668   Customer #97205                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27669   Customer #97206                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27670   Customer #97218                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27671   Customer #97219                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27672   Customer #97228                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27673   Customer #97232                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27674   Customer #97238                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27675   Customer #97243                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27676   Customer #97249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27677   Customer #97251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27678   Customer #97258                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27679   Customer #97262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27680   Customer #97263                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27681   Customer #97267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27682   Customer #97269                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27683   Customer #97270                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27684   Customer #97276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27685   Customer #97279                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27686   Customer #97280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27687   Customer #97286                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27688   Customer #97288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27689   Customer #97296                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27690   Customer #97297                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27691   Customer #97301                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27692   Customer #97314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27693   Customer #97322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27694   Customer #97323                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27695   Customer #97327                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27696   Customer #97330                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27697   Customer #97331                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27698   Customer #97333                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27699   Customer #97335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27700   Customer #97337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27701   Customer #97345                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27702   Customer #97350                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27703   Customer #97351                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27704   Customer #97354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27705   Customer #97358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27706   Customer #97359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27707   Customer #97363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27708   Customer #97369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27709   Customer #97371                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27710   Customer #97373                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27711   Customer #97376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27712   Customer #97377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27713   Customer #97379                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27714   Customer #97382                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27715   Customer #97386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27716   Customer #97391                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27717   Customer #97392                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27718   Customer #97394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27719   Customer #97396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27720   Customer #97399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27721   Customer #97408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27722   Customer #97418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27723   Customer #97421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27724   Customer #97422                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27725   Customer #97427                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27726   Customer #97430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27727   Customer #97431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27728   Customer #97438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27729   Customer #97443                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27730   Customer #97446                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27731   Customer #97458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27732   Customer #97459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27733   Customer #97472                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27734   Customer #97473                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27735   Customer #97478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27736   Customer #97483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27737   Customer #97497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27738   Customer #97497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27739   Customer #97501                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27740   Customer #97503                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27741   Customer #97521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27742   Customer #97527                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27743   Customer #97532                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27744   Customer #97536                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27745   Customer #97539                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27746   Customer #97540                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27747   Customer #97543                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27748   Customer #97556                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27749   Customer #97558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27750   Customer #97561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27751   Customer #97563                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27752   Customer #97569                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27753   Customer #97570                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27754   Customer #97575                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27755   Customer #97581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27756   Customer #97605                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27757   Customer #97609                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27758   Customer #97616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27759   Customer #97629                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27760   Customer #97637                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27761   Customer #97639                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27762   Customer #97641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27763   Customer #97642                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27764   Customer #97647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27765   Customer #97649                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27766   Customer #97654                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27767   Customer #97659                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27768   Customer #97662                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27769   Customer #97667                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27770   Customer #97680                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27771   Customer #97686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27772   Customer #97687                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27773   Customer #97696                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27774   Customer #97701                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27775   Customer #97702                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27776   Customer #97703                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27777   Customer #97704                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27778   Customer #97706                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27779   Customer #97711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27780   Customer #97714                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27781   Customer #97717                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27782   Customer #97726                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27783   Customer #97727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27784   Customer #97728                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27785   Customer #97729                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27786   Customer #97737                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27787   Customer #97741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27788   Customer #97754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27789   Customer #97765                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27790   Customer #97771                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27791   Customer #97779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27792   Customer #97780                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27793   Customer #97784                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27794   Customer #97786                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27795   Customer #97787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27796   Customer #97789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27797   Customer #97797                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27798   Customer #97811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27799   Customer #97812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27800   Customer #97813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27801   Customer #97823                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27802   Customer #97825                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27803   Customer #97826                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27804   Customer #97835                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27805   Customer #97843                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27806   Customer #97845                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27807   Customer #97860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27808   Customer #97866                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27809   Customer #97875                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27810   Customer #97886                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27811   Customer #97893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27812   Customer #97895                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27813   Customer #97898                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27814   Customer #97908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27815   Customer #97914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27816   Customer #97920                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27817   Customer #97931                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27818   Customer #97933                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27819   Customer #97941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27820   Customer #97942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27821   Customer #97944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27822   Customer #97964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27823   Customer #97973                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27824   Customer #97975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27825   Customer #97981                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27826   Customer #97991                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27827   Customer #97992                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27828   Customer #98001                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27829   Customer #98006                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27830   Customer #98015                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27831   Customer #98020                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27832   Customer #98024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27833   Customer #98027                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27834   Customer #98030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27835   Customer #98032                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27836   Customer #98033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27837   Customer #98042                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27838   Customer #98043                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27839   Customer #98047                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27840   Customer #98051                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27841   Customer #98054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27842   Customer #98060                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27843   Customer #98075                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27844   Customer #98079                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27845   Customer #98081                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27846   Customer #98082                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27847   Customer #98083                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27848   Customer #98088                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27849   Customer #98089                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27850   Customer #98098                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27851   Customer #98103                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27852   Customer #98106                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27853   Customer #98107                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27854   Customer #98108                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27855   Customer #98111                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27856   Customer #98112                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27857   Customer #98113                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27858   Customer #98120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27859   Customer #98121                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27860   Customer #98122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27861   Customer #98128                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27862   Customer #98132                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27863   Customer #98134                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27864   Customer #98137                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27865   Customer #98138                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27866   Customer #98139                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27867   Customer #98141                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27868   Customer #98142                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27869   Customer #98144                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27870   Customer #98145                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27871   Customer #98149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27872   Customer #98150                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27873   Customer #98152                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27874   Customer #98157                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27875   Customer #98158                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27876   Customer #98173                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27877   Customer #98174                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27878   Customer #98176                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27879   Customer #98182                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27880   Customer #98186                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27881   Customer #98189                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27882   Customer #98190                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27883   Customer #98192                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27884   Customer #98199                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27885   Customer #98207                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27886   Customer #98210                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27887   Customer #98214                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27888   Customer #98215                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27889   Customer #98221                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27890   Customer #98227                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27891   Customer #98235                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27892   Customer #98236                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27893   Customer #98237                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27894   Customer #98245                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27895   Customer #98246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27896   Customer #98246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27897   Customer #98246                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27898   Customer #98248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27899   Customer #98249                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27900   Customer #98253                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27901   Customer #98254                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27902   Customer #98256                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27903   Customer #98257                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27904   Customer #98266                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27905   Customer #98267                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27906   Customer #98268                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27907   Customer #98274                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27908   Customer #98276                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27909   Customer #98280                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27910   Customer #98284                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27911   Customer #98285                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27912   Customer #98288                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27913   Customer #98289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27914   Customer #98292                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27915   Customer #98294                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27916   Customer #98308                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27917   Customer #98311                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27918   Customer #98313                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27919   Customer #98314                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27920   Customer #98315                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27921   Customer #98334                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27922   Customer #98335                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27923   Customer #98337                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27924   Customer #98339                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27925   Customer #98342                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27926   Customer #98344                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27927   Customer #98349                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27928   Customer #98352                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27929   Customer #98354                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27930   Customer #98358                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27931   Customer #98362                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27932   Customer #98369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27933   Customer #98377                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27934   Customer #98381                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27935   Customer #98386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27936   Customer #98387                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27937   Customer #98394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27938   Customer #98394                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27939   Customer #98395                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27940   Customer #98396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27941   Customer #98397                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27942   Customer #98399                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27943   Customer #98408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27944   Customer #98410                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27945   Customer #98412                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27946   Customer #98413                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27947   Customer #98414                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.27948   Customer #98417                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27949   Customer #98418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27950   Customer #98419                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27951   Customer #98421                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27952   Customer #98424                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27953   Customer #98432                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27954   Customer #98434                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27955   Customer #98438                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27956   Customer #98439                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27957   Customer #98441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27958   Customer #98448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27959   Customer #98454                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27960   Customer #98455                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27961   Customer #98459                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27962   Customer #98460                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27963   Customer #98461                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27964   Customer #98464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27965   Customer #98465                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27966   Customer #98466                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27967   Customer #98471                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27968   Customer #98475                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27969   Customer #98504                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27970   Customer #98509                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27971   Customer #98510                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27972   Customer #98511                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27973   Customer #98513                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27974   Customer #98514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27975   Customer #98518                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27976   Customer #98520                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27977   Customer #98521                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27978   Customer #98522                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27979   Customer #98537                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27980   Customer #98558                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27981   Customer #98564                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27982   Customer #98572                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27983   Customer #98574                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27984   Customer #98580                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27985   Customer #98581                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27986   Customer #98586                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27987   Customer #98592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27988   Customer #98595                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27989   Customer #98602                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27990   Customer #98603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27991   Customer #98604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27992   Customer #98738                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27993   Customer #98741                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27994   Customer #98743                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27995   Customer #98745                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27996   Customer #98746                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27997   Customer #98749                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27998   Customer #98750                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.27999   Customer #98756                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28000   Customer #98770                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28001   Customer #98774                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28002   Customer #98776                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28003   Customer #98777                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28004   Customer #98778                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28005   Customer #98787                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28006   Customer #98790                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28007   Customer #98791                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28008   Customer #98792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28009   Customer #98799                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28010   Customer #98811                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28011   Customer #98813                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28012   Customer #98820                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28013   Customer #98827                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28014   Customer #98828                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28015   Customer #98832                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28016   Customer #98834                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28017   Customer #98837                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28018   Customer #98842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28019   Customer #98852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28020   Customer #98856                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28021   Customer #98860                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28022   Customer #98862                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28023   Customer #98867                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28024   Customer #98868                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28025   Customer #98872                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28026   Customer #98876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28027   Customer #98880                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28028   Customer #98891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28029   Customer #98893                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28030   Customer #98896                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28031   Customer #98901                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28032   Customer #98908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28033   Customer #98910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28034   Customer #98912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28035   Customer #98915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28036   Customer #98923                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28037   Customer #98924                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28038   Customer #98927                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28039   Customer #98928                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28040   Customer #98932                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28041   Customer #98934                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28042   Customer #98936                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28043   Customer #98941                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28044   Customer #98942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28045   Customer #98944                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28046   Customer #98946                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28047   Customer #98948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28048   Customer #98957                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28049   Customer #98958                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28050   Customer #98964                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28051   Customer #98968                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28052   Customer #98969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28053   Customer #98971                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28054   Customer #98978                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28055   Customer #98994                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28056   Customer #98996                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28057   Customer #99007                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28058   Customer #99010                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28059   Customer #99012                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28060   Customer #99013                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28061   Customer #99014                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28062   Customer #99021                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28063   Customer #99022                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28064   Customer #99023                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28065   Customer #99024                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28066   Customer #99030                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28067   Customer #99033                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28068   Customer #99035                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28069   Customer #99037                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28070   Customer #99044                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28071   Customer #99046                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28072   Customer #99050                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28073   Customer #99054                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28074   Customer #99055                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28075   Customer #99056                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28076   Customer #99059                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28077   Customer #99060                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28078   Customer #99072                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28079   Customer #99102                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28080   Customer #99109                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28081   Customer #99119                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28082   Customer #99120                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28083   Customer #99122                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28084   Customer #99146                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28085   Customer #99149                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28086   Customer #99155                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28087   Customer #99204                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28088   Customer #99241                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28089   Customer #99248                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28090   Customer #99250                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28091   Customer #99251                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28092   Customer #99262                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28093   Customer #99271                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28094   Customer #99281                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28095   Customer #99282                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28096   Customer #99283                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28097   Customer #99287                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28098   Customer #99289                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28099   Customer #99302                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28100   Customer #99312                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28101   Customer #99322                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28102   Customer #99359                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28103   Customer #99361                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28104   Customer #99363                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28105   Customer #99365                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28106   Customer #99367                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28107   Customer #99369                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28108   Customer #99375                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28109   Customer #99376                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28110   Customer #99380                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28111   Customer #99384                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28112   Customer #99386                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28113   Customer #99388                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28114   Customer #99396                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28115   Customer #99401                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28116   Customer #99403                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28117   Customer #99408                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28118   Customer #99411                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28119   Customer #99418                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28120   Customer #99423                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28121   Customer #99425                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28122   Customer #99428                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28123   Customer #99429                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28124   Customer #99430                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28125   Customer #99431                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28126   Customer #99433                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28127   Customer #99435                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28128   Customer #99436                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28129   Customer #99441                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28130   Customer #99442                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28131   Customer #99447                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28132   Customer #99448                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28133   Customer #99452                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28134   Customer #99453                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28135   Customer #99458                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28136   Customer #99463                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28137   Customer #99464                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28138   Customer #99468                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28139   Customer #99470                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28140   Customer #99474                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28141   Customer #99476                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28142   Customer #99477                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28143   Customer #99478                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28144   Customer #99482                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28145   Customer #99483                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28146   Customer #99484                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28147   Customer #99496                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28148   Customer #99497                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28149   Customer #99500                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28150   Customer #99502                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28151   Customer #99508                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28152   Customer #99514                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28153   Customer #99515                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28154   Customer #99523                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28155   Customer #99528                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28156   Customer #99531                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28157   Customer #99544                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28158   Customer #99553                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28159   Customer #99561                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28160   Customer #99567                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28161   Customer #99571                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28162   Customer #99573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28163   Customer #99573                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28164   Customer #99585                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28165   Customer #99592                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28166   Customer #99594                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28167   Customer #99600                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28168   Customer #99603                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28169   Customer #99604                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28170   Customer #99608                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28171   Customer #99611                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28172   Customer #99613                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28173   Customer #99615                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28174   Customer #99616                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28175   Customer #99626                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28176   Customer #99627                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28177   Customer #99630                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28178   Customer #99633                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28179   Customer #99635                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28180   Customer #99641                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28181   Customer #99643                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28182   Customer #99647                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28183   Customer #99653                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28184   Customer #99655                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28185   Customer #99657                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28186   Customer #99658                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28187   Customer #99682                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28188   Customer #99686                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28189   Customer #99689                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28190   Customer #99709                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28191   Customer #99711                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28192   Customer #99727                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28193   Customer #99730                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28194   Customer #99742                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28195   Customer #99744                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28196   Customer #99753                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28197   Customer #99754                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28198   Customer #99755                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28199   Customer #99760                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28200   Customer #99766                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28201   Customer #99773                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28202   Customer #99779                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28203   Customer #99788                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28204   Customer #99789                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28205   Customer #99792                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28206   Customer #99793                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28207   Customer #99795                     Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28208   Customer #99801                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28209   Customer #99807                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28210   Customer #99808                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28211   Customer #99809                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28212   Customer #99812                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28213   Customer #99814                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28214   Customer #99815                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28215   Customer #99816                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28216   Customer #99819                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28217   Customer #99821                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28218   Customer #99822                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28219   Customer #99838                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28220   Customer #99840                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28221   Customer #99841                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28222   Customer #99842                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28223   Customer #99846                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28224   Customer #99848                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28225   Customer #99849                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28226   Customer #99851                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28227   Customer #99852                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28228   Customer #99853                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28229   Customer #99854                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28230   Customer #99855                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28231   Customer #99876                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28232   Customer #99881                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28233   Customer #99882                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28234   Customer #99883                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28235   Customer #99891                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28236   Customer #99907                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28237   Customer #99908                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28238   Customer #99910                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28239   Customer #99912                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28240   Customer #99914                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28241   Customer #99915                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28242   Customer #99916                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28243   Customer #99917                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28244   Customer #99918                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28245   Customer #99921                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28246   Customer #99939                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28247   Customer #99942                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28248   Customer #99947                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28249   Customer #99948                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28250   Customer #99950                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28251   Customer #99954                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28252   Customer #99956                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28253   Customer #99963                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28254   Customer #99965                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28255   Customer #99969                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28256   Customer #99972                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28257   Customer #99975                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28258   Customer #99977                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28259   Customer #99993                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28260   Customer #99998                     Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28261   Customer #100003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28262   Customer #100026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28263   Customer #100028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28264   Customer #100034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28265   Customer #100035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28266   Customer #100039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28267   Customer #100040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28268   Customer #100047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28269   Customer #100086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28270   Customer #100133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28271   Customer #100174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28272   Customer #100182                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28273   Customer #100192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28274   Customer #100200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28275   Customer #100205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28276   Customer #100212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28277   Customer #100215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28278   Customer #100230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28279   Customer #100231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28280   Customer #100239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28281   Customer #100245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28282   Customer #100248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28283   Customer #100259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28284   Customer #100260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28285   Customer #100264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28286   Customer #100265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28287   Customer #100272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28288   Customer #100281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28289   Customer #100282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28290   Customer #100287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28291   Customer #100291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28292   Customer #100292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28293   Customer #100293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28294   Customer #100298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28295   Customer #100299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28296   Customer #100302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28297   Customer #100313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28298   Customer #100329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28299   Customer #100332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28300   Customer #100357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28301   Customer #100361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28302   Customer #100363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28303   Customer #100372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28304   Customer #100380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28305   Customer #100383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28306   Customer #100384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28307   Customer #100395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28308   Customer #100396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28309   Customer #100398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28310   Customer #100401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28311   Customer #100407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28312   Customer #100408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28313   Customer #100409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28314   Customer #100409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28315   Customer #100410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28316   Customer #100411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28317   Customer #100417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28318   Customer #100424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28319   Customer #100428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28320   Customer #100440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28321   Customer #100441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28322   Customer #100442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28323   Customer #100451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28324   Customer #100462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28325   Customer #100477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28326   Customer #100478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28327   Customer #100479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28328   Customer #100491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28329   Customer #100492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28330   Customer #100497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28331   Customer #100498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28332   Customer #100506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28333   Customer #100508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28334   Customer #100511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28335   Customer #100516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28336   Customer #100519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28337   Customer #100521                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28338   Customer #100530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28339   Customer #100573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28340   Customer #100586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28341   Customer #100596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28342   Customer #100597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28343   Customer #100616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28344   Customer #100622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28345   Customer #100627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28346   Customer #100629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28347   Customer #100643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28348   Customer #100670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28349   Customer #100677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28350   Customer #100679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28351   Customer #100682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28352   Customer #100685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28353   Customer #100687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28354   Customer #100691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28355   Customer #100700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28356   Customer #100702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28357   Customer #100704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28358   Customer #100722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28359   Customer #100723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28360   Customer #100724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28361   Customer #100725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28362   Customer #100726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28363   Customer #100732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28364   Customer #100733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28365   Customer #100735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28366   Customer #100736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28367   Customer #100740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28368   Customer #100741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28369   Customer #100744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28370   Customer #100746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28371   Customer #100758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28372   Customer #100760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28373   Customer #100761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28374   Customer #100767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28375   Customer #100769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28376   Customer #100770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28377   Customer #100773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28378   Customer #100774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28379   Customer #100777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28380   Customer #100779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28381   Customer #100780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28382   Customer #100786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28383   Customer #100792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28384   Customer #100804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28385   Customer #100807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28386   Customer #100813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28387   Customer #100814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28388   Customer #100827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28389   Customer #100827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28390   Customer #100827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28391   Customer #100829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28392   Customer #100833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28393   Customer #100837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28394   Customer #100839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28395   Customer #100840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28396   Customer #100841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28397   Customer #100842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28398   Customer #100850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28399   Customer #100851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28400   Customer #100852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28401   Customer #100855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28402   Customer #100859                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28403   Customer #100861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28404   Customer #100862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28405   Customer #100865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28406   Customer #100868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28407   Customer #100869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28408   Customer #100871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28409   Customer #100877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28410   Customer #100890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28411   Customer #100891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28412   Customer #100898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28413   Customer #100902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28414   Customer #100905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28415   Customer #100911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28416   Customer #100922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28417   Customer #100940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28418   Customer #100945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28419   Customer #100953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28420   Customer #100954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28421   Customer #100956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28422   Customer #100957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28423   Customer #100958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28424   Customer #100960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28425   Customer #100962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28426   Customer #100967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28427   Customer #100968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28428   Customer #100969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28429   Customer #100977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28430   Customer #100977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28431   Customer #100979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28432   Customer #100980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28433   Customer #100983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28434   Customer #100987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28435   Customer #100988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28436   Customer #100990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28437   Customer #100991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28438   Customer #100992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28439   Customer #100995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28440   Customer #101001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28441   Customer #101003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28442   Customer #101004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28443   Customer #101005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28444   Customer #101009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28445   Customer #101011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28446   Customer #101012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28447   Customer #101017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28448   Customer #101022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28449   Customer #101029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28450   Customer #101047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28451   Customer #101048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28452   Customer #101051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28453   Customer #101054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28454   Customer #101062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28455   Customer #101065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28456   Customer #101066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28457   Customer #101068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28458   Customer #101070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28459   Customer #101072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28460   Customer #101086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28461   Customer #101091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28462   Customer #101097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28463   Customer #101098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28464   Customer #101101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28465   Customer #101107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28466   Customer #101108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28467   Customer #101110                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28468   Customer #101112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28469   Customer #101114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28470   Customer #101115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28471   Customer #101117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28472   Customer #101119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28473   Customer #101126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28474   Customer #101127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28475   Customer #101137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28476   Customer #101140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28477   Customer #101152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28478   Customer #101158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28479   Customer #101162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28480   Customer #101183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28481   Customer #101184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28482   Customer #101186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28483   Customer #101192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28484   Customer #101193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28485   Customer #101198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28486   Customer #101201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28487   Customer #101202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28488   Customer #101206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28489   Customer #101207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28490   Customer #101208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28491   Customer #101209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28492   Customer #101228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28493   Customer #101241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28494   Customer #101244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28495   Customer #101245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28496   Customer #101247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28497   Customer #101248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28498   Customer #101252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28499   Customer #101253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28500   Customer #101256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28501   Customer #101259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28502   Customer #101261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28503   Customer #101264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28504   Customer #101265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28505   Customer #101266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28506   Customer #101267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28507   Customer #101273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28508   Customer #101275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28509   Customer #101283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28510   Customer #101286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28511   Customer #101286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28512   Customer #101292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28513   Customer #101298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28514   Customer #101299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28515   Customer #101304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28516   Customer #101306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28517   Customer #101309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28518   Customer #101313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28519   Customer #101314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28520   Customer #101319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28521   Customer #101320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28522   Customer #101324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28523   Customer #101326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28524   Customer #101336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28525   Customer #101338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28526   Customer #101342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28527   Customer #101344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28528   Customer #101349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28529   Customer #101350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28530   Customer #101358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28531   Customer #101369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28532   Customer #101370                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28533   Customer #101371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28534   Customer #101375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28535   Customer #101378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28536   Customer #101381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28537   Customer #101386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28538   Customer #101388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28539   Customer #101390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28540   Customer #101391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28541   Customer #101393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28542   Customer #101399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28543   Customer #101401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28544   Customer #101402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28545   Customer #101403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28546   Customer #101405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28547   Customer #101420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28548   Customer #101423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28549   Customer #101429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28550   Customer #101442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28551   Customer #101447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28552   Customer #101448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28553   Customer #101449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28554   Customer #101452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28555   Customer #101454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28556   Customer #101459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28557   Customer #101461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28558   Customer #101463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28559   Customer #101489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28560   Customer #101516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28561   Customer #101520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28562   Customer #101521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28563   Customer #101523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28564   Customer #101532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28565   Customer #101545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28566   Customer #101556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28567   Customer #101558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28568   Customer #101560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28569   Customer #101561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28570   Customer #101567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28571   Customer #101572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28572   Customer #101593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28573   Customer #101594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28574   Customer #101596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28575   Customer #101598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28576   Customer #101618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28577   Customer #101619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28578   Customer #101630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28579   Customer #101632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28580   Customer #101635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28581   Customer #101638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28582   Customer #101646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28583   Customer #101648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28584   Customer #101649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28585   Customer #101660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28586   Customer #101663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28587   Customer #101666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28588   Customer #101670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28589   Customer #101693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28590   Customer #101694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28591   Customer #101704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28592   Customer #101712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28593   Customer #101720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28594   Customer #101721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28595   Customer #101725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28596   Customer #101727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28597   Customer #101732                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28598   Customer #101742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28599   Customer #101761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28600   Customer #101763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28601   Customer #101770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28602   Customer #101777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28603   Customer #101781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28604   Customer #101790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28605   Customer #101798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28606   Customer #101803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28607   Customer #101804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28608   Customer #101815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28609   Customer #101816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28610   Customer #101817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28611   Customer #101823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28612   Customer #101824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28613   Customer #101825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28614   Customer #101826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28615   Customer #101827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28616   Customer #101829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28617   Customer #101837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28618   Customer #101845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28619   Customer #101848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28620   Customer #101861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28621   Customer #101862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28622   Customer #101868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28623   Customer #101869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28624   Customer #101871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28625   Customer #101881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28626   Customer #101882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28627   Customer #101884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28628   Customer #101887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28629   Customer #101889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28630   Customer #101893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28631   Customer #101894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28632   Customer #101895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28633   Customer #101902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28634   Customer #101904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28635   Customer #101909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28636   Customer #101911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28637   Customer #101913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28638   Customer #101914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28639   Customer #101916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28640   Customer #101919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28641   Customer #101921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28642   Customer #101921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28643   Customer #101926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28644   Customer #101931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28645   Customer #101936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28646   Customer #101938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28647   Customer #101941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28648   Customer #101943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28649   Customer #101950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28650   Customer #101951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28651   Customer #101953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28652   Customer #101957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28653   Customer #101964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28654   Customer #101968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28655   Customer #101972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28656   Customer #101978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28657   Customer #101980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28658   Customer #101981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28659   Customer #101983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28660   Customer #101984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28661   Customer #101986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28662   Customer #101989                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28663   Customer #101990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28664   Customer #101991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28665   Customer #101994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28666   Customer #101996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28667   Customer #102000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28668   Customer #102004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28669   Customer #102006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28670   Customer #102008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28671   Customer #102009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28672   Customer #102010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28673   Customer #102011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28674   Customer #102012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28675   Customer #102016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28676   Customer #102017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28677   Customer #102020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28678   Customer #102033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28679   Customer #102034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28680   Customer #102036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28681   Customer #102039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28682   Customer #102040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28683   Customer #102046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28684   Customer #102055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28685   Customer #102058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28686   Customer #102059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28687   Customer #102061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28688   Customer #102062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28689   Customer #102067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28690   Customer #102069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28691   Customer #102079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28692   Customer #102082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28693   Customer #102084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28694   Customer #102088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28695   Customer #102091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28696   Customer #102094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28697   Customer #102095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28698   Customer #102096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28699   Customer #102106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28700   Customer #102113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28701   Customer #102123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28702   Customer #102140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28703   Customer #102149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28704   Customer #102151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28705   Customer #102157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28706   Customer #102173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28707   Customer #102184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28708   Customer #102189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28709   Customer #102192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28710   Customer #102205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28711   Customer #102207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28712   Customer #102208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28713   Customer #102209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28714   Customer #102214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28715   Customer #102219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28716   Customer #102223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28717   Customer #102237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28718   Customer #102238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28719   Customer #102239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28720   Customer #102240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28721   Customer #102242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28722   Customer #102243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28723   Customer #102245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28724   Customer #102248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28725   Customer #102252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28726   Customer #102254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28727   Customer #102258                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28728   Customer #102267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28729   Customer #102268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28730   Customer #102272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28731   Customer #102274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28732   Customer #102277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28733   Customer #102278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28734   Customer #102279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28735   Customer #102280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28736   Customer #102284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28737   Customer #102289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28738   Customer #102301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28739   Customer #102305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28740   Customer #102306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28741   Customer #102307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28742   Customer #102312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28743   Customer #102316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28744   Customer #102324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28745   Customer #102325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28746   Customer #102331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28747   Customer #102333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28748   Customer #102337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28749   Customer #102342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28750   Customer #102343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28751   Customer #102347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28752   Customer #102350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28753   Customer #102351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28754   Customer #102359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28755   Customer #102360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28756   Customer #102497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28757   Customer #102498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28758   Customer #102499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28759   Customer #102521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28760   Customer #102526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28761   Customer #102531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28762   Customer #102535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28763   Customer #102536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28764   Customer #102537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28765   Customer #102540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28766   Customer #102566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28767   Customer #102573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28768   Customer #102575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28769   Customer #102580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28770   Customer #102586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28771   Customer #102592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28772   Customer #102595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28773   Customer #102597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28774   Customer #102598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28775   Customer #102608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28776   Customer #102609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28777   Customer #102611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28778   Customer #102616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28779   Customer #102617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28780   Customer #102618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28781   Customer #102619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28782   Customer #102620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28783   Customer #102624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28784   Customer #102632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28785   Customer #102639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28786   Customer #102641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28787   Customer #102644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28788   Customer #102646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28789   Customer #102657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28790   Customer #102660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28791   Customer #102666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28792   Customer #102667                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28793   Customer #102680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28794   Customer #102681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28795   Customer #102686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28796   Customer #102696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28797   Customer #102699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28798   Customer #102702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28799   Customer #102706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28800   Customer #102715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28801   Customer #102718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28802   Customer #102719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28803   Customer #102721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28804   Customer #102722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28805   Customer #102727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28806   Customer #102728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28807   Customer #102731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28808   Customer #102737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28809   Customer #102740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28810   Customer #102746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28811   Customer #102756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28812   Customer #102760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28813   Customer #102763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28814   Customer #102765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28815   Customer #102766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28816   Customer #102768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28817   Customer #102771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28818   Customer #102772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28819   Customer #102773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28820   Customer #102776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28821   Customer #102778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28822   Customer #102779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28823   Customer #102784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28824   Customer #102791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28825   Customer #102792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28826   Customer #102798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28827   Customer #102806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28828   Customer #102818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28829   Customer #102819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28830   Customer #102820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28831   Customer #102844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28832   Customer #102852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28833   Customer #102858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28834   Customer #102859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28835   Customer #102868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28836   Customer #102871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28837   Customer #102874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28838   Customer #102875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28839   Customer #102882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28840   Customer #102883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28841   Customer #102886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28842   Customer #102903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28843   Customer #102905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28844   Customer #102928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28845   Customer #102933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28846   Customer #102940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28847   Customer #102945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28848   Customer #102947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28849   Customer #102950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28850   Customer #102952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28851   Customer #102954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28852   Customer #102955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28853   Customer #102957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28854   Customer #102962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28855   Customer #102964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28856   Customer #102967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28857   Customer #102972                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28858   Customer #102975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28859   Customer #102976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28860   Customer #102978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28861   Customer #102979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28862   Customer #102980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28863   Customer #102981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28864   Customer #102985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28865   Customer #102986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28866   Customer #102993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28867   Customer #102995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28868   Customer #102996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28869   Customer #102997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28870   Customer #102999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28871   Customer #103001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28872   Customer #103005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28873   Customer #103009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28874   Customer #103021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28875   Customer #103022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28876   Customer #103023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28877   Customer #103027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28878   Customer #103038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28879   Customer #103041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28880   Customer #103044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28881   Customer #103055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28882   Customer #103057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28883   Customer #103058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28884   Customer #103059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28885   Customer #103060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28886   Customer #103061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28887   Customer #103062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28888   Customer #103063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28889   Customer #103066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28890   Customer #103068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28891   Customer #103068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28892   Customer #103070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28893   Customer #103073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28894   Customer #103074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28895   Customer #103080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28896   Customer #103096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28897   Customer #103098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28898   Customer #103111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28899   Customer #103115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28900   Customer #103119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28901   Customer #103119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28902   Customer #103142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28903   Customer #103149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28904   Customer #103151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28905   Customer #103157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28906   Customer #103161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28907   Customer #103162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28908   Customer #103172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28909   Customer #103174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28910   Customer #103175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28911   Customer #103178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28912   Customer #103180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28913   Customer #103190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28914   Customer #103237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28915   Customer #103238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28916   Customer #103241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28917   Customer #103244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28918   Customer #103246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28919   Customer #103251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28920   Customer #103254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28921   Customer #103266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28922   Customer #103268                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




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                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28923   Customer #103274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28924   Customer #103276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28925   Customer #103288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28926   Customer #103290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28927   Customer #103303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28928   Customer #103304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28929   Customer #103313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28930   Customer #103316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28931   Customer #103318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28932   Customer #103319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28933   Customer #103334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28934   Customer #103340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28935   Customer #103361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28936   Customer #103362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28937   Customer #103369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28938   Customer #103377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28939   Customer #103384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28940   Customer #103386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28941   Customer #103392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28942   Customer #103393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28943   Customer #103394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28944   Customer #103395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28945   Customer #103398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28946   Customer #103400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28947   Customer #103401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28948   Customer #103403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28949   Customer #103408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28950   Customer #103414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28951   Customer #103417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28952   Customer #103418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28953   Customer #103422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28954   Customer #103423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28955   Customer #103425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28956   Customer #103427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28957   Customer #103429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28958   Customer #103430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28959   Customer #103437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28960   Customer #103442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28961   Customer #103443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28962   Customer #103460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28963   Customer #103461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28964   Customer #103463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28965   Customer #103464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28966   Customer #103466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28967   Customer #103469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28968   Customer #103471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28969   Customer #103474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28970   Customer #103479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28971   Customer #103482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28972   Customer #103484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28973   Customer #103491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28974   Customer #103497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28975   Customer #103501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28976   Customer #103502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28977   Customer #103503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28978   Customer #103515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28979   Customer #103518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28980   Customer #103521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28981   Customer #103522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28982   Customer #103523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28983   Customer #103535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28984   Customer #103539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28985   Customer #103541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28986   Customer #103543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28987   Customer #103544                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.28988   Customer #103545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28989   Customer #103546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28990   Customer #103548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28991   Customer #103551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28992   Customer #103556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28993   Customer #103560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28994   Customer #103563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28995   Customer #103564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28996   Customer #103566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28997   Customer #103569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28998   Customer #103570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.28999   Customer #103572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29000   Customer #103576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29001   Customer #103577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29002   Customer #103582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29003   Customer #103586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29004   Customer #103587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29005   Customer #103593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29006   Customer #103595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29007   Customer #103597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29008   Customer #103599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29009   Customer #103600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29010   Customer #103611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29011   Customer #103612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29012   Customer #103614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29013   Customer #103619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29014   Customer #103621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29015   Customer #103622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29016   Customer #103624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29017   Customer #103625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29018   Customer #103628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29019   Customer #103634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29020   Customer #103639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29021   Customer #103642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29022   Customer #103643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29023   Customer #103648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29024   Customer #103649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29025   Customer #103650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29026   Customer #103651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29027   Customer #103652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29028   Customer #103653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29029   Customer #103654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29030   Customer #103663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29031   Customer #103668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29032   Customer #103677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29033   Customer #103678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29034   Customer #103679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29035   Customer #103681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29036   Customer #103685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29037   Customer #103686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29038   Customer #103688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29039   Customer #103693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29040   Customer #103694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29041   Customer #103695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29042   Customer #103696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29043   Customer #103700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29044   Customer #103725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29045   Customer #103730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29046   Customer #103731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29047   Customer #103739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29048   Customer #103741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29049   Customer #103750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29050   Customer #103758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29051   Customer #103760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29052   Customer #103764                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29053   Customer #103765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29054   Customer #103777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29055   Customer #103782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29056   Customer #103783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29057   Customer #103784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29058   Customer #103787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29059   Customer #103791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29060   Customer #103793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29061   Customer #103796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29062   Customer #103797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29063   Customer #103804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29064   Customer #103805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29065   Customer #103807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29066   Customer #103810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29067   Customer #103813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29068   Customer #103814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29069   Customer #103816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29070   Customer #103818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29071   Customer #103819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29072   Customer #103822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29073   Customer #103824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29074   Customer #103829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29075   Customer #103839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29076   Customer #103840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29077   Customer #103843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29078   Customer #103844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29079   Customer #103848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29080   Customer #103851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29081   Customer #103855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29082   Customer #103856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29083   Customer #103858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29084   Customer #103859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29085   Customer #103861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29086   Customer #103862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29087   Customer #103864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29088   Customer #103866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29089   Customer #103873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29090   Customer #103875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29091   Customer #103891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29092   Customer #103892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29093   Customer #103898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29094   Customer #103900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29095   Customer #103901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29096   Customer #103902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29097   Customer #103903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29098   Customer #103905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29099   Customer #103906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29100   Customer #103907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29101   Customer #103911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29102   Customer #103912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29103   Customer #103918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29104   Customer #103920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29105   Customer #103926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29106   Customer #103931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29107   Customer #103954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29108   Customer #103956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29109   Customer #103963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29110   Customer #103964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29111   Customer #103968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29112   Customer #103990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29113   Customer #104021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29114   Customer #104035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29115   Customer #104054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29116   Customer #104071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29117   Customer #104078                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29118   Customer #104088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29119   Customer #104090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29120   Customer #104118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29121   Customer #104120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29122   Customer #104123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29123   Customer #104136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29124   Customer #104141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29125   Customer #104150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29126   Customer #104152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29127   Customer #104161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29128   Customer #104163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29129   Customer #104167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29130   Customer #104168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29131   Customer #104171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29132   Customer #104172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29133   Customer #104178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29134   Customer #104179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29135   Customer #104183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29136   Customer #104190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29137   Customer #104199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29138   Customer #104206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29139   Customer #104213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29140   Customer #104220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29141   Customer #104221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29142   Customer #104222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29143   Customer #104231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29144   Customer #104251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29145   Customer #104253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29146   Customer #104258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29147   Customer #104264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29148   Customer #104276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29149   Customer #104285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29150   Customer #104288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29151   Customer #104290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29152   Customer #104291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29153   Customer #104293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29154   Customer #104296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29155   Customer #104297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29156   Customer #104317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29157   Customer #104319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29158   Customer #104320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29159   Customer #104323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29160   Customer #104325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29161   Customer #104326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29162   Customer #104327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29163   Customer #104333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29164   Customer #104340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29165   Customer #104344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29166   Customer #104347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29167   Customer #104348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29168   Customer #104360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29169   Customer #104364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29170   Customer #104368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29171   Customer #104372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29172   Customer #104373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29173   Customer #104375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29174   Customer #104380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29175   Customer #104393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29176   Customer #104397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29177   Customer #104398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29178   Customer #104402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29179   Customer #104406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29180   Customer #104408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29181   Customer #104410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29182   Customer #104411                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29183   Customer #104412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29184   Customer #104414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29185   Customer #104418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29186   Customer #104421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29187   Customer #104422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29188   Customer #104423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29189   Customer #104425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29190   Customer #104427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29191   Customer #104431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29192   Customer #104432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29193   Customer #104434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29194   Customer #104434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29195   Customer #104461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29196   Customer #104469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29197   Customer #104470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29198   Customer #104472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29199   Customer #104475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29200   Customer #104479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29201   Customer #104480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29202   Customer #104484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29203   Customer #104487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29204   Customer #104488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29205   Customer #104492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29206   Customer #104493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29207   Customer #104496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29208   Customer #104509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29209   Customer #104512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29210   Customer #104513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29211   Customer #104524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29212   Customer #104527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29213   Customer #104534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29214   Customer #104535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29215   Customer #104538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29216   Customer #104541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29217   Customer #104543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29218   Customer #104545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29219   Customer #104547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29220   Customer #104548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29221   Customer #104550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29222   Customer #104557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29223   Customer #104567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29224   Customer #104579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29225   Customer #104584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29226   Customer #104589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29227   Customer #104590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29228   Customer #104591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29229   Customer #104593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29230   Customer #104594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29231   Customer #104602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29232   Customer #104634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29233   Customer #104644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29234   Customer #104653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29235   Customer #104659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29236   Customer #104660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29237   Customer #104661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29238   Customer #104679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29239   Customer #104691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29240   Customer #104692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29241   Customer #104700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29242   Customer #104701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29243   Customer #104713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29244   Customer #104722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29245   Customer #104723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29246   Customer #104730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29247   Customer #104731                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29248   Customer #104753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29249   Customer #104756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29250   Customer #104757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29251   Customer #104768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29252   Customer #104769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29253   Customer #104772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29254   Customer #104773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29255   Customer #104774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29256   Customer #104782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29257   Customer #104786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29258   Customer #104789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29259   Customer #104792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29260   Customer #104804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29261   Customer #104805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29262   Customer #104806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29263   Customer #104808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29264   Customer #104812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29265   Customer #104814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29266   Customer #104815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29267   Customer #104823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29268   Customer #104833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29269   Customer #104837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29270   Customer #104838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29271   Customer #104860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29272   Customer #104861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29273   Customer #104868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29274   Customer #104869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29275   Customer #104873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29276   Customer #104879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29277   Customer #104881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29278   Customer #104882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29279   Customer #104884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29280   Customer #104886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29281   Customer #104888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29282   Customer #104890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29283   Customer #104891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29284   Customer #104895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29285   Customer #104897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29286   Customer #104904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29287   Customer #104906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29288   Customer #104918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29289   Customer #104926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29290   Customer #104939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29291   Customer #104951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29292   Customer #104953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29293   Customer #104955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29294   Customer #104958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29295   Customer #104959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29296   Customer #104960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29297   Customer #104966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29298   Customer #104967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29299   Customer #104969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29300   Customer #104996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29301   Customer #105000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29302   Customer #105002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29303   Customer #105019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29304   Customer #105021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29305   Customer #105030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29306   Customer #105031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29307   Customer #105035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29308   Customer #105036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29309   Customer #105038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29310   Customer #105040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29311   Customer #105047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29312   Customer #105048                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29313   Customer #105055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29314   Customer #105056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29315   Customer #105057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29316   Customer #105061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29317   Customer #105063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29318   Customer #105064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29319   Customer #105067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29320   Customer #105068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29321   Customer #105075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29322   Customer #105086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29323   Customer #105094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29324   Customer #105095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29325   Customer #105104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29326   Customer #105106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29327   Customer #105115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29328   Customer #105117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29329   Customer #105120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29330   Customer #105125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29331   Customer #105126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29332   Customer #105130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29333   Customer #105131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29334   Customer #105133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29335   Customer #105135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29336   Customer #105136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29337   Customer #105169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29338   Customer #105186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29339   Customer #105188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29340   Customer #105189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29341   Customer #105191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29342   Customer #105194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29343   Customer #105196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29344   Customer #105197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29345   Customer #105198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29346   Customer #105199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29347   Customer #105200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29348   Customer #105201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29349   Customer #105203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29350   Customer #105204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29351   Customer #105206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29352   Customer #105207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29353   Customer #105208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29354   Customer #105209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29355   Customer #105240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29356   Customer #105255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29357   Customer #105258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29358   Customer #105261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29359   Customer #105266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29360   Customer #105266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29361   Customer #105269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29362   Customer #105274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29363   Customer #105275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29364   Customer #105277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29365   Customer #105279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29366   Customer #105282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29367   Customer #105286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29368   Customer #105289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29369   Customer #105291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29370   Customer #105299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29371   Customer #105308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29372   Customer #105318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29373   Customer #105319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29374   Customer #105320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29375   Customer #105324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29376   Customer #105332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29377   Customer #105339                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29378   Customer #105341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29379   Customer #105345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29380   Customer #105346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29381   Customer #105348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29382   Customer #105351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29383   Customer #105357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29384   Customer #105361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29385   Customer #105368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29386   Customer #105380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29387   Customer #105380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29388   Customer #105382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29389   Customer #105387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29390   Customer #105388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29391   Customer #105389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29392   Customer #105390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29393   Customer #105397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29394   Customer #105405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29395   Customer #105408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29396   Customer #105418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29397   Customer #105421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29398   Customer #105422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29399   Customer #105423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29400   Customer #105427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29401   Customer #105431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29402   Customer #105433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29403   Customer #105435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29404   Customer #105440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29405   Customer #105443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29406   Customer #105444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29407   Customer #105447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29408   Customer #105452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29409   Customer #105453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29410   Customer #105456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29411   Customer #105457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29412   Customer #105458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29413   Customer #105461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29414   Customer #105465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29415   Customer #105467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29416   Customer #105472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29417   Customer #105476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29418   Customer #105482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29419   Customer #105489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29420   Customer #105492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29421   Customer #105496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29422   Customer #105497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29423   Customer #105508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29424   Customer #105509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29425   Customer #105537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29426   Customer #105550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29427   Customer #105564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29428   Customer #105565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29429   Customer #105566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29430   Customer #105568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29431   Customer #105575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29432   Customer #105582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29433   Customer #105583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29434   Customer #105591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29435   Customer #105595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29436   Customer #105607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29437   Customer #105613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29438   Customer #105614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29439   Customer #105615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29440   Customer #105616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29441   Customer #105622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29442   Customer #105624                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29443   Customer #105625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29444   Customer #105626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29445   Customer #105630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29446   Customer #105631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29447   Customer #105632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29448   Customer #105633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29449   Customer #105646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29450   Customer #105648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29451   Customer #105650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29452   Customer #105652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29453   Customer #105658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29454   Customer #105669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29455   Customer #105691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29456   Customer #105700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29457   Customer #105702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29458   Customer #105706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29459   Customer #105710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29460   Customer #105713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29461   Customer #105714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29462   Customer #105722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29463   Customer #105730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29464   Customer #105741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29465   Customer #105750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29466   Customer #105752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29467   Customer #105756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29468   Customer #105760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29469   Customer #105761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29470   Customer #105765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29471   Customer #105768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29472   Customer #105770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29473   Customer #105774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29474   Customer #105779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29475   Customer #105781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29476   Customer #105785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29477   Customer #105788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29478   Customer #105791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29479   Customer #105807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29480   Customer #105808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29481   Customer #105811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29482   Customer #105822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29483   Customer #105823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29484   Customer #105824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29485   Customer #105826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29486   Customer #105827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29487   Customer #105828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29488   Customer #105838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29489   Customer #105849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29490   Customer #105850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29491   Customer #105852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29492   Customer #105857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29493   Customer #105859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29494   Customer #105866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29495   Customer #105877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29496   Customer #105880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29497   Customer #105887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29498   Customer #105892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29499   Customer #105897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29500   Customer #105898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29501   Customer #105901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29502   Customer #105902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29503   Customer #105912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29504   Customer #105916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29505   Customer #105917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29506   Customer #105919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29507   Customer #105920                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29508   Customer #105924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29509   Customer #105929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29510   Customer #105934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29511   Customer #105940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29512   Customer #105951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29513   Customer #105958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29514   Customer #105960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29515   Customer #105964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29516   Customer #105969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29517   Customer #105972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29518   Customer #105973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29519   Customer #105979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29520   Customer #105982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29521   Customer #105983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29522   Customer #105985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29523   Customer #105987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29524   Customer #105989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29525   Customer #105995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29526   Customer #105997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29527   Customer #106000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29528   Customer #106003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29529   Customer #106007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29530   Customer #106015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29531   Customer #106020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29532   Customer #106025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29533   Customer #106034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29534   Customer #106042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29535   Customer #106044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29536   Customer #106071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29537   Customer #106076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29538   Customer #106082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29539   Customer #106088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29540   Customer #106091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29541   Customer #106094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29542   Customer #106111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29543   Customer #106113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29544   Customer #106115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29545   Customer #106122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29546   Customer #106124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29547   Customer #106126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29548   Customer #106127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29549   Customer #106130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29550   Customer #106132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29551   Customer #106136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29552   Customer #106141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29553   Customer #106147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29554   Customer #106148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29555   Customer #106159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29556   Customer #106160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29557   Customer #106165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29558   Customer #106166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29559   Customer #106183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29560   Customer #106197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29561   Customer #106198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29562   Customer #106201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29563   Customer #106220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29564   Customer #106234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29565   Customer #106241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29566   Customer #106245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29567   Customer #106262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29568   Customer #106270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29569   Customer #106273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29570   Customer #106276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29571   Customer #106278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29572   Customer #106280                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29573   Customer #106285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29574   Customer #106288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29575   Customer #106316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29576   Customer #106322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29577   Customer #106327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29578   Customer #106328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29579   Customer #106330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29580   Customer #106340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29581   Customer #106345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29582   Customer #106347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29583   Customer #106349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29584   Customer #106359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29585   Customer #106361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29586   Customer #106368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29587   Customer #106374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29588   Customer #106375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29589   Customer #106377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29590   Customer #106379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29591   Customer #106380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29592   Customer #106381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29593   Customer #106382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29594   Customer #106384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29595   Customer #106389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29596   Customer #106390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29597   Customer #106391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29598   Customer #106394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29599   Customer #106395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29600   Customer #106397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29601   Customer #106398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29602   Customer #106400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29603   Customer #106405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29604   Customer #106406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29605   Customer #106407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29606   Customer #106409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29607   Customer #106414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29608   Customer #106418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29609   Customer #106419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29610   Customer #106420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29611   Customer #106421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29612   Customer #106424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29613   Customer #106427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29614   Customer #106428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29615   Customer #106432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29616   Customer #106434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29617   Customer #106441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29618   Customer #106445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29619   Customer #106448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29620   Customer #106449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29621   Customer #106450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29622   Customer #106468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29623   Customer #106481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29624   Customer #106485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29625   Customer #106487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29626   Customer #106488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29627   Customer #106495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29628   Customer #106503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29629   Customer #106507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29630   Customer #106508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29631   Customer #106509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29632   Customer #106512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29633   Customer #106517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29634   Customer #106521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29635   Customer #106522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29636   Customer #106524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29637   Customer #106525                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29638   Customer #106529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29639   Customer #106531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29640   Customer #106532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29641   Customer #106533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29642   Customer #106545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29643   Customer #106546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29644   Customer #106548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29645   Customer #106548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29646   Customer #106549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29647   Customer #106553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29648   Customer #106559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29649   Customer #106561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29650   Customer #106562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29651   Customer #106573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29652   Customer #106579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29653   Customer #106580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29654   Customer #106590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29655   Customer #106594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29656   Customer #106597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29657   Customer #106604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29658   Customer #106609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29659   Customer #106612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29660   Customer #106619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29661   Customer #106622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29662   Customer #106631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29663   Customer #106633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29664   Customer #106635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29665   Customer #106638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29666   Customer #106640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29667   Customer #106642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29668   Customer #106643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29669   Customer #106644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29670   Customer #106645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29671   Customer #106646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29672   Customer #106651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29673   Customer #106657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29674   Customer #106658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29675   Customer #106662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29676   Customer #106665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29677   Customer #106667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29678   Customer #106670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29679   Customer #106674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29680   Customer #106679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29681   Customer #106686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29682   Customer #106688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29683   Customer #106689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29684   Customer #106691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29685   Customer #106701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29686   Customer #106710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29687   Customer #106714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29688   Customer #106727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29689   Customer #106733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29690   Customer #106740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29691   Customer #106749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29692   Customer #106755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29693   Customer #106756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29694   Customer #106762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29695   Customer #106763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29696   Customer #106766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29697   Customer #106771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29698   Customer #106775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29699   Customer #106781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29700   Customer #106782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29701   Customer #106787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29702   Customer #106790                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29703   Customer #106795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29704   Customer #106796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29705   Customer #106803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29706   Customer #106816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29707   Customer #106818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29708   Customer #106831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29709   Customer #106832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29710   Customer #106834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29711   Customer #106835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29712   Customer #106836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29713   Customer #106839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29714   Customer #106840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29715   Customer #106841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29716   Customer #106842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29717   Customer #106843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29718   Customer #106849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29719   Customer #106852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29720   Customer #106853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29721   Customer #106856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29722   Customer #106861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29723   Customer #106862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29724   Customer #106868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29725   Customer #106879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29726   Customer #106882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29727   Customer #106883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29728   Customer #106884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29729   Customer #106887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29730   Customer #106895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29731   Customer #106897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29732   Customer #106900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29733   Customer #106901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29734   Customer #106903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29735   Customer #106906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29736   Customer #106910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29737   Customer #106911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29738   Customer #106917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29739   Customer #106923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29740   Customer #106925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29741   Customer #106927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29742   Customer #106928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29743   Customer #106931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29744   Customer #106939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29745   Customer #106944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29746   Customer #106945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29747   Customer #106946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29748   Customer #106947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29749   Customer #106949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29750   Customer #106950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29751   Customer #106958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29752   Customer #106959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29753   Customer #106962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29754   Customer #106970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29755   Customer #106971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29756   Customer #106983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29757   Customer #106986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29758   Customer #106987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29759   Customer #107009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29760   Customer #107012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29761   Customer #107014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29762   Customer #107017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29763   Customer #107020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29764   Customer #107021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29765   Customer #107024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29766   Customer #107025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29767   Customer #107027                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29768   Customer #107037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29769   Customer #107039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29770   Customer #107044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29771   Customer #107046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29772   Customer #107052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29773   Customer #107054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29774   Customer #107058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29775   Customer #107059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29776   Customer #107069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29777   Customer #107079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29778   Customer #107080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29779   Customer #107084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29780   Customer #107091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29781   Customer #107093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29782   Customer #107096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29783   Customer #107099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29784   Customer #107101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29785   Customer #107103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29786   Customer #107110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29787   Customer #107114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29788   Customer #107124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29789   Customer #107125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29790   Customer #107128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29791   Customer #107131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29792   Customer #107148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29793   Customer #107149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29794   Customer #107156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29795   Customer #107157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29796   Customer #107181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29797   Customer #107185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29798   Customer #107186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29799   Customer #107187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29800   Customer #107194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29801   Customer #107195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29802   Customer #107201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29803   Customer #107210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29804   Customer #107212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29805   Customer #107214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29806   Customer #107218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29807   Customer #107222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29808   Customer #107224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29809   Customer #107226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29810   Customer #107227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29811   Customer #107242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29812   Customer #107244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29813   Customer #107245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29814   Customer #107248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29815   Customer #107249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29816   Customer #107250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29817   Customer #107251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29818   Customer #107258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29819   Customer #107259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29820   Customer #107260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29821   Customer #107276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29822   Customer #107279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29823   Customer #107285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29824   Customer #107288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29825   Customer #107290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29826   Customer #107292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29827   Customer #107293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29828   Customer #107313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29829   Customer #107315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29830   Customer #107316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29831   Customer #107324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29832   Customer #107326                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29833   Customer #107327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29834   Customer #107331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29835   Customer #107343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29836   Customer #107344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29837   Customer #107349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29838   Customer #107354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29839   Customer #107361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29840   Customer #107373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29841   Customer #107374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29842   Customer #107376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29843   Customer #107381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29844   Customer #107386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29845   Customer #107405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29846   Customer #107406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29847   Customer #107407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29848   Customer #107410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29849   Customer #107415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29850   Customer #107425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29851   Customer #107440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29852   Customer #107441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29853   Customer #107442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29854   Customer #107449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29855   Customer #107465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29856   Customer #107477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29857   Customer #107478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29858   Customer #107501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29859   Customer #107524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29860   Customer #107539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29861   Customer #107568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29862   Customer #107570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29863   Customer #107579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29864   Customer #107580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29865   Customer #107589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29866   Customer #107595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29867   Customer #107623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29868   Customer #107624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29869   Customer #107648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29870   Customer #107653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29871   Customer #107678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29872   Customer #107696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29873   Customer #107723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29874   Customer #107728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29875   Customer #107730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29876   Customer #107754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29877   Customer #107765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29878   Customer #107781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29879   Customer #107785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29880   Customer #107796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29881   Customer #107797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29882   Customer #107802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29883   Customer #107803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29884   Customer #107818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29885   Customer #107828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29886   Customer #107829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29887   Customer #107850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29888   Customer #107851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29889   Customer #107852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29890   Customer #107859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29891   Customer #107860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29892   Customer #107861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29893   Customer #107868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29894   Customer #107871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29895   Customer #107874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29896   Customer #107875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29897   Customer #107878                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29898   Customer #107883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29899   Customer #107884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29900   Customer #107885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29901   Customer #107888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29902   Customer #107889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29903   Customer #107891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29904   Customer #107894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29905   Customer #107896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29906   Customer #107897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29907   Customer #107899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29908   Customer #107902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29909   Customer #107903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29910   Customer #107903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29911   Customer #107904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29912   Customer #107905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29913   Customer #107908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29914   Customer #107909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29915   Customer #107920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29916   Customer #107925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29917   Customer #107928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29918   Customer #107948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29919   Customer #107959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29920   Customer #107961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29921   Customer #107962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29922   Customer #107966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29923   Customer #108020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29924   Customer #108021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29925   Customer #108023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29926   Customer #108024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29927   Customer #108031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29928   Customer #108045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29929   Customer #108046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29930   Customer #108050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29931   Customer #108054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29932   Customer #108060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29933   Customer #108072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29934   Customer #108097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29935   Customer #108106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29936   Customer #108108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29937   Customer #108112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29938   Customer #108117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29939   Customer #108121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29940   Customer #108126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29941   Customer #108129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29942   Customer #108130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29943   Customer #108134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29944   Customer #108161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29945   Customer #108169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29946   Customer #108183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29947   Customer #108183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29948   Customer #108185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29949   Customer #108189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29950   Customer #108196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29951   Customer #108198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29952   Customer #108203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29953   Customer #108213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29954   Customer #108231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29955   Customer #108249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29956   Customer #108253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29957   Customer #108280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29958   Customer #108285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29959   Customer #108288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29960   Customer #108299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29961   Customer #108302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29962   Customer #108303                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.29963   Customer #108304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29964   Customer #108306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29965   Customer #108311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29966   Customer #108315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29967   Customer #108320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29968   Customer #108325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29969   Customer #108327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29970   Customer #108333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29971   Customer #108351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29972   Customer #108352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29973   Customer #108356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29974   Customer #108369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29975   Customer #108370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29976   Customer #108375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29977   Customer #108377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29978   Customer #108378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29979   Customer #108379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29980   Customer #108382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29981   Customer #108383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29982   Customer #108390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29983   Customer #108395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29984   Customer #108397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29985   Customer #108405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29986   Customer #108409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29987   Customer #108410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29988   Customer #108415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29989   Customer #108417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29990   Customer #108425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29991   Customer #108429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29992   Customer #108430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29993   Customer #108439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29994   Customer #108440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29995   Customer #108447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29996   Customer #108451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29997   Customer #108457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29998   Customer #108471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.29999   Customer #108473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30000   Customer #108478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30001   Customer #108479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30002   Customer #108482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30003   Customer #108484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30004   Customer #108487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30005   Customer #108489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30006   Customer #108490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30007   Customer #108501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30008   Customer #108523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30009   Customer #108524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30010   Customer #108525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30011   Customer #108528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30012   Customer #108535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30013   Customer #108537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30014   Customer #108539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30015   Customer #108546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30016   Customer #108547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30017   Customer #108572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30018   Customer #108576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30019   Customer #108576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30020   Customer #108593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30021   Customer #108594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30022   Customer #108613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30023   Customer #108618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30024   Customer #108619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30025   Customer #108620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30026   Customer #108631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30027   Customer #108632                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30028   Customer #108633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30029   Customer #108634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30030   Customer #108642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30031   Customer #108645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30032   Customer #108654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30033   Customer #108655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30034   Customer #108659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30035   Customer #108687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30036   Customer #108693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30037   Customer #108693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30038   Customer #108694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30039   Customer #108700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30040   Customer #108705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30041   Customer #108706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30042   Customer #108707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30043   Customer #108718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30044   Customer #108728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30045   Customer #108733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30046   Customer #108745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30047   Customer #108747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30048   Customer #108752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30049   Customer #108779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30050   Customer #108780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30051   Customer #108784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30052   Customer #108803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30053   Customer #108807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30054   Customer #108808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30055   Customer #108811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30056   Customer #108812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30057   Customer #108819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30058   Customer #108834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30059   Customer #108838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30060   Customer #108839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30061   Customer #108842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30062   Customer #108847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30063   Customer #108849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30064   Customer #108853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30065   Customer #108854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30066   Customer #108855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30067   Customer #108858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30068   Customer #108867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30069   Customer #108872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30070   Customer #108897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30071   Customer #108898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30072   Customer #108901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30073   Customer #108914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30074   Customer #108920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30075   Customer #108924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30076   Customer #108927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30077   Customer #108928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30078   Customer #108929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30079   Customer #108932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30080   Customer #108933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30081   Customer #108935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30082   Customer #108940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30083   Customer #108943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30084   Customer #108947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30085   Customer #108950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30086   Customer #108960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30087   Customer #108963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30088   Customer #108966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30089   Customer #108966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30090   Customer #108970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30091   Customer #108972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30092   Customer #108979                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30093   Customer #108980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30094   Customer #108983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30095   Customer #108985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30096   Customer #108986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30097   Customer #108991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30098   Customer #108992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30099   Customer #108993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30100   Customer #108995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30101   Customer #108996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30102   Customer #108997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30103   Customer #108999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30104   Customer #109005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30105   Customer #109009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30106   Customer #109015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30107   Customer #109017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30108   Customer #109020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30109   Customer #109024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30110   Customer #109034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30111   Customer #109038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30112   Customer #109042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30113   Customer #109043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30114   Customer #109044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30115   Customer #109046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30116   Customer #109065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30117   Customer #109073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30118   Customer #109074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30119   Customer #109076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30120   Customer #109077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30121   Customer #109078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30122   Customer #109079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30123   Customer #109080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30124   Customer #109083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30125   Customer #109086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30126   Customer #109089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30127   Customer #109090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30128   Customer #109097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30129   Customer #109100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30130   Customer #109101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30131   Customer #109102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30132   Customer #109103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30133   Customer #109104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30134   Customer #109106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30135   Customer #109108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30136   Customer #109114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30137   Customer #109119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30138   Customer #109121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30139   Customer #109122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30140   Customer #109124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30141   Customer #109129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30142   Customer #109137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30143   Customer #109147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30144   Customer #109150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30145   Customer #109156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30146   Customer #109161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30147   Customer #109165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30148   Customer #109169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30149   Customer #109174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30150   Customer #109177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30151   Customer #109180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30152   Customer #109186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30153   Customer #109190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30154   Customer #109195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30155   Customer #109199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30156   Customer #109203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30157   Customer #109205                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30158   Customer #109212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30159   Customer #109213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30160   Customer #109217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30161   Customer #109218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30162   Customer #109219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30163   Customer #109220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30164   Customer #109221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30165   Customer #109222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30166   Customer #109223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30167   Customer #109235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30168   Customer #109236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30169   Customer #109239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30170   Customer #109241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30171   Customer #109245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30172   Customer #109246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30173   Customer #109249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30174   Customer #109253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30175   Customer #109254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30176   Customer #109270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30177   Customer #109273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30178   Customer #109279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30179   Customer #109291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30180   Customer #109298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30181   Customer #109300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30182   Customer #109308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30183   Customer #109309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30184   Customer #109310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30185   Customer #109311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30186   Customer #109313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30187   Customer #109327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30188   Customer #109328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30189   Customer #109330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30190   Customer #109331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30191   Customer #109332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30192   Customer #109337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30193   Customer #109338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30194   Customer #109339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30195   Customer #109342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30196   Customer #109345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30197   Customer #109347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30198   Customer #109349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30199   Customer #109350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30200   Customer #109352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30201   Customer #109354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30202   Customer #109360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30203   Customer #109373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30204   Customer #109378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30205   Customer #109383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30206   Customer #109387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30207   Customer #109389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30208   Customer #109399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30209   Customer #109406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30210   Customer #109408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30211   Customer #109409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30212   Customer #109414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30213   Customer #109415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30214   Customer #109420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30215   Customer #109421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30216   Customer #109423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30217   Customer #109430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30218   Customer #109437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30219   Customer #109440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30220   Customer #109446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30221   Customer #109447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30222   Customer #109448                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30223   Customer #109457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30224   Customer #109458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30225   Customer #109472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30226   Customer #109475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30227   Customer #109490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30228   Customer #109497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30229   Customer #109498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30230   Customer #109502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30231   Customer #109504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30232   Customer #109505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30233   Customer #109506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30234   Customer #109510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30235   Customer #109512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30236   Customer #109513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30237   Customer #109514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30238   Customer #109518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30239   Customer #109522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30240   Customer #109523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30241   Customer #109529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30242   Customer #109532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30243   Customer #109533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30244   Customer #109550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30245   Customer #109565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30246   Customer #109576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30247   Customer #109579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30248   Customer #109592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30249   Customer #109593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30250   Customer #109594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30251   Customer #109599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30252   Customer #109600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30253   Customer #109604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30254   Customer #109605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30255   Customer #109614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30256   Customer #109619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30257   Customer #109624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30258   Customer #109634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30259   Customer #109636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30260   Customer #109649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30261   Customer #109651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30262   Customer #109653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30263   Customer #109662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30264   Customer #109675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30265   Customer #109683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30266   Customer #109685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30267   Customer #109687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30268   Customer #109692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30269   Customer #109709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30270   Customer #109741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30271   Customer #109745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30272   Customer #109779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30273   Customer #109780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30274   Customer #109788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30275   Customer #109790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30276   Customer #109792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30277   Customer #109803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30278   Customer #109808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30279   Customer #109816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30280   Customer #109826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30281   Customer #109828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30282   Customer #109831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30283   Customer #109834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30284   Customer #109841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30285   Customer #109849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30286   Customer #109851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30287   Customer #109857                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30288   Customer #109859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30289   Customer #109860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30290   Customer #109922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30291   Customer #109924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30292   Customer #109926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30293   Customer #109930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30294   Customer #110005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30295   Customer #110006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30296   Customer #110007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30297   Customer #110019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30298   Customer #110020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30299   Customer #110026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30300   Customer #110031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30301   Customer #110038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30302   Customer #110056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30303   Customer #110062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30304   Customer #110090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30305   Customer #110111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30306   Customer #110111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30307   Customer #110112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30308   Customer #110113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30309   Customer #110114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30310   Customer #110132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30311   Customer #110143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30312   Customer #110144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30313   Customer #110184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30314   Customer #110208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30315   Customer #110210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30316   Customer #110212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30317   Customer #110214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30318   Customer #110215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30319   Customer #110218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30320   Customer #110219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30321   Customer #110220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30322   Customer #110227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30323   Customer #110228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30324   Customer #110229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30325   Customer #110230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30326   Customer #110231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30327   Customer #110234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30328   Customer #110237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30329   Customer #110238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30330   Customer #110240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30331   Customer #110242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30332   Customer #110243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30333   Customer #110249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30334   Customer #110255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30335   Customer #110257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30336   Customer #110259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30337   Customer #110265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30338   Customer #110268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30339   Customer #110270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30340   Customer #110274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30341   Customer #110275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30342   Customer #110278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30343   Customer #110278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30344   Customer #110282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30345   Customer #110285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30346   Customer #110290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30347   Customer #110293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30348   Customer #110298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30349   Customer #110301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30350   Customer #110301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30351   Customer #110308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30352   Customer #110309                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30353   Customer #110315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30354   Customer #110320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30355   Customer #110328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30356   Customer #110332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30357   Customer #110334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30358   Customer #110341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30359   Customer #110343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30360   Customer #110344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30361   Customer #110350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30362   Customer #110355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30363   Customer #110359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30364   Customer #110360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30365   Customer #110364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30366   Customer #110367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30367   Customer #110373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30368   Customer #110383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30369   Customer #110385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30370   Customer #110387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30371   Customer #110388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30372   Customer #110392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30373   Customer #110400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30374   Customer #110401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30375   Customer #110405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30376   Customer #110414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30377   Customer #110420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30378   Customer #110422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30379   Customer #110425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30380   Customer #110427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30381   Customer #110428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30382   Customer #110429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30383   Customer #110429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30384   Customer #110433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30385   Customer #110439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30386   Customer #110447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30387   Customer #110453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30388   Customer #110455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30389   Customer #110462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30390   Customer #110476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30391   Customer #110477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30392   Customer #110480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30393   Customer #110483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30394   Customer #110484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30395   Customer #110491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30396   Customer #110493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30397   Customer #110497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30398   Customer #110501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30399   Customer #110503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30400   Customer #110513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30401   Customer #110520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30402   Customer #110529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30403   Customer #110532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30404   Customer #110533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30405   Customer #110536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30406   Customer #110538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30407   Customer #110543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30408   Customer #110548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30409   Customer #110552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30410   Customer #110553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30411   Customer #110554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30412   Customer #110555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30413   Customer #110557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30414   Customer #110558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30415   Customer #110569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30416   Customer #110579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30417   Customer #110583                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30418   Customer #110585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30419   Customer #110587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30420   Customer #110591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30421   Customer #110600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30422   Customer #110601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30423   Customer #110607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30424   Customer #110608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30425   Customer #110609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30426   Customer #110610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30427   Customer #110611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30428   Customer #110614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30429   Customer #110616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30430   Customer #110620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30431   Customer #110623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30432   Customer #110628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30433   Customer #110629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30434   Customer #110630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30435   Customer #110631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30436   Customer #110636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30437   Customer #110639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30438   Customer #110641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30439   Customer #110646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30440   Customer #110651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30441   Customer #110652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30442   Customer #110653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30443   Customer #110658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30444   Customer #110659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30445   Customer #110660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30446   Customer #110663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30447   Customer #110670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30448   Customer #110673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30449   Customer #110682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30450   Customer #110691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30451   Customer #110692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30452   Customer #110702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30453   Customer #110704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30454   Customer #110706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30455   Customer #110707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30456   Customer #110714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30457   Customer #110718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30458   Customer #110721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30459   Customer #110725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30460   Customer #110742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30461   Customer #110743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30462   Customer #110760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30463   Customer #110763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30464   Customer #110777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30465   Customer #110780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30466   Customer #110781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30467   Customer #110782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30468   Customer #110794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30469   Customer #110795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30470   Customer #110795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30471   Customer #110801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30472   Customer #110803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30473   Customer #110807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30474   Customer #110873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30475   Customer #110875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30476   Customer #110877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30477   Customer #110881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30478   Customer #110883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30479   Customer #110901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30480   Customer #110907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30481   Customer #110910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30482   Customer #110912                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30483   Customer #110923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30484   Customer #110939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30485   Customer #110951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30486   Customer #110964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30487   Customer #110966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30488   Customer #110970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30489   Customer #110974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30490   Customer #111007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30491   Customer #111015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30492   Customer #111036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30493   Customer #111060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30494   Customer #111078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30495   Customer #111084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30496   Customer #111100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30497   Customer #111102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30498   Customer #111106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30499   Customer #111114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30500   Customer #111116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30501   Customer #111122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30502   Customer #111131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30503   Customer #111146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30504   Customer #111147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30505   Customer #111153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30506   Customer #111162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30507   Customer #111167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30508   Customer #111168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30509   Customer #111188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30510   Customer #111191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30511   Customer #111197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30512   Customer #111198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30513   Customer #111200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30514   Customer #111201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30515   Customer #111211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30516   Customer #111220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30517   Customer #111224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30518   Customer #111225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30519   Customer #111226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30520   Customer #111237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30521   Customer #111239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30522   Customer #111243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30523   Customer #111247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30524   Customer #111278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30525   Customer #111282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30526   Customer #111283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30527   Customer #111308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30528   Customer #111312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30529   Customer #111318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30530   Customer #111320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30531   Customer #111323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30532   Customer #111350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30533   Customer #111353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30534   Customer #111355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30535   Customer #111357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30536   Customer #111358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30537   Customer #111362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30538   Customer #111363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30539   Customer #111367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30540   Customer #111378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30541   Customer #111386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30542   Customer #111387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30543   Customer #111402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30544   Customer #111404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30545   Customer #111408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30546   Customer #111414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30547   Customer #111431                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30548   Customer #111433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30549   Customer #111442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30550   Customer #111457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30551   Customer #111458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30552   Customer #111459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30553   Customer #111464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30554   Customer #111465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30555   Customer #111469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30556   Customer #111471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30557   Customer #111494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30558   Customer #111498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30559   Customer #111523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30560   Customer #111529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30561   Customer #111530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30562   Customer #111536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30563   Customer #111537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30564   Customer #111544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30565   Customer #111545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30566   Customer #111547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30567   Customer #111557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30568   Customer #111558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30569   Customer #111564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30570   Customer #111564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30571   Customer #111565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30572   Customer #111575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30573   Customer #111577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30574   Customer #111587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30575   Customer #111588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30576   Customer #111600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30577   Customer #111604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30578   Customer #111610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30579   Customer #111610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30580   Customer #111613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30581   Customer #111623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30582   Customer #111626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30583   Customer #111627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30584   Customer #111630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30585   Customer #111635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30586   Customer #111640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30587   Customer #111648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30588   Customer #111651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30589   Customer #111675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30590   Customer #111678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30591   Customer #111679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30592   Customer #111690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30593   Customer #111693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30594   Customer #111697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30595   Customer #111700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30596   Customer #111729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30597   Customer #111732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30598   Customer #111744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30599   Customer #111746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30600   Customer #111758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30601   Customer #111758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30602   Customer #111760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30603   Customer #111761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30604   Customer #111771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30605   Customer #111774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30606   Customer #111777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30607   Customer #111783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30608   Customer #111786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30609   Customer #111788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30610   Customer #111795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30611   Customer #111798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30612   Customer #111806                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30613   Customer #111811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30614   Customer #111812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30615   Customer #111814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30616   Customer #111816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30617   Customer #111820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30618   Customer #111822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30619   Customer #111824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30620   Customer #111834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30621   Customer #111835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30622   Customer #111837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30623   Customer #111846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30624   Customer #111847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30625   Customer #111852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30626   Customer #111853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30627   Customer #111860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30628   Customer #111861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30629   Customer #111863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30630   Customer #111870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30631   Customer #111871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30632   Customer #111873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30633   Customer #111886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30634   Customer #111887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30635   Customer #111892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30636   Customer #111893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30637   Customer #111900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30638   Customer #111902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30639   Customer #111903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30640   Customer #111908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30641   Customer #111911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30642   Customer #111913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30643   Customer #111917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30644   Customer #111918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30645   Customer #111929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30646   Customer #111930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30647   Customer #111942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30648   Customer #111943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30649   Customer #111944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30650   Customer #111950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30651   Customer #111961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30652   Customer #111964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30653   Customer #111973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30654   Customer #111974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30655   Customer #111976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30656   Customer #111983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30657   Customer #111984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30658   Customer #111998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30659   Customer #112001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30660   Customer #112012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30661   Customer #112018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30662   Customer #112034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30663   Customer #112041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30664   Customer #112043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30665   Customer #112049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30666   Customer #112057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30667   Customer #112059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30668   Customer #112060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30669   Customer #112062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30670   Customer #112070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30671   Customer #112083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30672   Customer #112107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30673   Customer #112111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30674   Customer #112112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30675   Customer #112115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30676   Customer #112117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30677   Customer #112120                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30678   Customer #112123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30679   Customer #112136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30680   Customer #112138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30681   Customer #112150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30682   Customer #112153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30683   Customer #112159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30684   Customer #112161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30685   Customer #112162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30686   Customer #112163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30687   Customer #112168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30688   Customer #112171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30689   Customer #112172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30690   Customer #112179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30691   Customer #112180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30692   Customer #112183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30693   Customer #112184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30694   Customer #112191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30695   Customer #112196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30696   Customer #112200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30697   Customer #112205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30698   Customer #112219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30699   Customer #112221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30700   Customer #112223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30701   Customer #112224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30702   Customer #112228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30703   Customer #112229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30704   Customer #112231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30705   Customer #112234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30706   Customer #112238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30707   Customer #112250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30708   Customer #112253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30709   Customer #112260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30710   Customer #112267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30711   Customer #112269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30712   Customer #112271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30713   Customer #112272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30714   Customer #112273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30715   Customer #112278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30716   Customer #112280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30717   Customer #112283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30718   Customer #112284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30719   Customer #112287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30720   Customer #112288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30721   Customer #112291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30722   Customer #112292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30723   Customer #112295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30724   Customer #112297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30725   Customer #112300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30726   Customer #112302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30727   Customer #112303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30728   Customer #112305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30729   Customer #112306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30730   Customer #112321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30731   Customer #112322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30732   Customer #112323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30733   Customer #112324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30734   Customer #112328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30735   Customer #112332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30736   Customer #112333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30737   Customer #112334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30738   Customer #112335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30739   Customer #112343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30740   Customer #112344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30741   Customer #112351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30742   Customer #112353                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30743   Customer #112356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30744   Customer #112359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30745   Customer #112367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30746   Customer #112373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30747   Customer #112375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30748   Customer #112377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30749   Customer #112400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30750   Customer #112406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30751   Customer #112407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30752   Customer #112412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30753   Customer #112414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30754   Customer #112416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30755   Customer #112418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30756   Customer #112419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30757   Customer #112421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30758   Customer #112424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30759   Customer #112425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30760   Customer #112429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30761   Customer #112430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30762   Customer #112433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30763   Customer #112435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30764   Customer #112440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30765   Customer #112443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30766   Customer #112446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30767   Customer #112449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30768   Customer #112461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30769   Customer #112462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30770   Customer #112464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30771   Customer #112473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30772   Customer #112474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30773   Customer #112482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30774   Customer #112485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30775   Customer #112486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30776   Customer #112487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30777   Customer #112490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30778   Customer #112491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30779   Customer #112500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30780   Customer #112503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30781   Customer #112504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30782   Customer #112508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30783   Customer #112515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30784   Customer #112528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30785   Customer #112530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30786   Customer #112535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30787   Customer #112537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30788   Customer #112550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30789   Customer #112551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30790   Customer #112552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30791   Customer #112558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30792   Customer #112580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30793   Customer #112585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30794   Customer #112587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30795   Customer #112596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30796   Customer #112600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30797   Customer #112601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30798   Customer #112603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30799   Customer #112604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30800   Customer #112607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30801   Customer #112609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30802   Customer #112614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30803   Customer #112616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30804   Customer #112620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30805   Customer #112627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30806   Customer #112628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30807   Customer #112633                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




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                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30808   Customer #112651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30809   Customer #112657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30810   Customer #112658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30811   Customer #112660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30812   Customer #112662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30813   Customer #112668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30814   Customer #112669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30815   Customer #112672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30816   Customer #112675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30817   Customer #112676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30818   Customer #112678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30819   Customer #112683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30820   Customer #112685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30821   Customer #112688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30822   Customer #112695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30823   Customer #112696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30824   Customer #112697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30825   Customer #112700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30826   Customer #112701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30827   Customer #112702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30828   Customer #112703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30829   Customer #112706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30830   Customer #112709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30831   Customer #112717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30832   Customer #112722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30833   Customer #112723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30834   Customer #112724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30835   Customer #112726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30836   Customer #112731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30837   Customer #112733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30838   Customer #112737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30839   Customer #112740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30840   Customer #112741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30841   Customer #112742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30842   Customer #112743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30843   Customer #112751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30844   Customer #112757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30845   Customer #112762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30846   Customer #112767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30847   Customer #112769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30848   Customer #112773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30849   Customer #112774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30850   Customer #112777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30851   Customer #112780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30852   Customer #112783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30853   Customer #112787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30854   Customer #112788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30855   Customer #112789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30856   Customer #112791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30857   Customer #112793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30858   Customer #112814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30859   Customer #112821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30860   Customer #112822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30861   Customer #112828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30862   Customer #112834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30863   Customer #112839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30864   Customer #112846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30865   Customer #112869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30866   Customer #112881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30867   Customer #112891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30868   Customer #112895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30869   Customer #112899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30870   Customer #112901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30871   Customer #112904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30872   Customer #112905                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30873   Customer #112907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30874   Customer #112908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30875   Customer #112908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30876   Customer #112911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30877   Customer #112936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30878   Customer #112938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30879   Customer #112939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30880   Customer #112941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30881   Customer #112942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30882   Customer #112946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30883   Customer #112948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30884   Customer #112952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30885   Customer #112954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30886   Customer #112957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30887   Customer #112966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30888   Customer #112973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30889   Customer #112981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30890   Customer #112983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30891   Customer #112984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30892   Customer #112997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30893   Customer #113000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30894   Customer #113006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30895   Customer #113015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30896   Customer #113020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30897   Customer #113028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30898   Customer #113032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30899   Customer #113034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30900   Customer #113048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30901   Customer #113050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30902   Customer #113051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30903   Customer #113055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30904   Customer #113057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30905   Customer #113063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30906   Customer #113064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30907   Customer #113068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30908   Customer #113069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30909   Customer #113077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30910   Customer #113079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30911   Customer #113082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30912   Customer #113083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30913   Customer #113084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30914   Customer #113085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30915   Customer #113089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30916   Customer #113093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30917   Customer #113094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30918   Customer #113096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30919   Customer #113102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30920   Customer #113114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30921   Customer #113118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30922   Customer #113120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30923   Customer #113125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30924   Customer #113126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30925   Customer #113127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30926   Customer #113128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30927   Customer #113130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30928   Customer #113135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30929   Customer #113142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30930   Customer #113146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30931   Customer #113148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30932   Customer #113158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30933   Customer #113159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30934   Customer #113165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30935   Customer #113166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30936   Customer #113167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30937   Customer #113169                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.30938   Customer #113174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30939   Customer #113190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30940   Customer #113192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30941   Customer #113193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30942   Customer #113195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30943   Customer #113198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30944   Customer #113201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30945   Customer #113206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30946   Customer #113208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30947   Customer #113212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30948   Customer #113213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30949   Customer #113215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30950   Customer #113218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30951   Customer #113220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30952   Customer #113223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30953   Customer #113228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30954   Customer #113229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30955   Customer #113233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30956   Customer #113240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30957   Customer #113241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30958   Customer #113242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30959   Customer #113270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30960   Customer #113281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30961   Customer #113289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30962   Customer #113304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30963   Customer #113309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30964   Customer #113310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30965   Customer #113330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30966   Customer #113342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30967   Customer #113357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30968   Customer #113367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30969   Customer #113371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30970   Customer #113372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30971   Customer #113379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30972   Customer #113380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30973   Customer #113381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30974   Customer #113382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30975   Customer #113383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30976   Customer #113390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30977   Customer #113399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30978   Customer #113415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30979   Customer #113418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30980   Customer #113426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30981   Customer #113444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30982   Customer #113445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30983   Customer #113447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30984   Customer #113452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30985   Customer #113457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30986   Customer #113462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30987   Customer #113466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30988   Customer #113473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30989   Customer #113475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30990   Customer #113488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30991   Customer #113500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30992   Customer #113503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30993   Customer #113506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30994   Customer #113507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30995   Customer #113516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30996   Customer #113519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30997   Customer #113520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30998   Customer #113521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.30999   Customer #113526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31000   Customer #113531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31001   Customer #113538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31002   Customer #113541                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31003   Customer #113543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31004   Customer #113545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31005   Customer #113549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31006   Customer #113558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31007   Customer #113559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31008   Customer #113560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31009   Customer #113565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31010   Customer #113566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31011   Customer #113568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31012   Customer #113569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31013   Customer #113573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31014   Customer #113574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31015   Customer #113576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31016   Customer #113578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31017   Customer #113584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31018   Customer #113586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31019   Customer #113592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31020   Customer #113601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31021   Customer #113604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31022   Customer #113606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31023   Customer #113607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31024   Customer #113611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31025   Customer #113616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31026   Customer #113620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31027   Customer #113622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31028   Customer #113624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31029   Customer #113633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31030   Customer #113634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31031   Customer #113635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31032   Customer #113639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31033   Customer #113642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31034   Customer #113643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31035   Customer #113646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31036   Customer #113650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31037   Customer #113657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31038   Customer #113658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31039   Customer #113659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31040   Customer #113663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31041   Customer #113666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31042   Customer #113677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31043   Customer #113683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31044   Customer #113685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31045   Customer #113686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31046   Customer #113694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31047   Customer #113695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31048   Customer #113696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31049   Customer #113709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31050   Customer #113715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31051   Customer #113721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31052   Customer #113739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31053   Customer #113755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31054   Customer #113757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31055   Customer #113759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31056   Customer #113765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31057   Customer #113767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31058   Customer #113769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31059   Customer #113774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31060   Customer #113778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31061   Customer #113783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31062   Customer #113818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31063   Customer #113821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31064   Customer #113825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31065   Customer #113833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31066   Customer #113836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31067   Customer #113845                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31068   Customer #113856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31069   Customer #113861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31070   Customer #113862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31071   Customer #113865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31072   Customer #113866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31073   Customer #113872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31074   Customer #113873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31075   Customer #113875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31076   Customer #113877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31077   Customer #113885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31078   Customer #113887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31079   Customer #113898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31080   Customer #113900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31081   Customer #113901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31082   Customer #113902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31083   Customer #113903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31084   Customer #113908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31085   Customer #113921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31086   Customer #113923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31087   Customer #113925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31088   Customer #113927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31089   Customer #113929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31090   Customer #113941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31091   Customer #113949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31092   Customer #113954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31093   Customer #113965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31094   Customer #113967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31095   Customer #113970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31096   Customer #113971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31097   Customer #113974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31098   Customer #113977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31099   Customer #114000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31100   Customer #114001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31101   Customer #114015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31102   Customer #114015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31103   Customer #114015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31104   Customer #114016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31105   Customer #114017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31106   Customer #114019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31107   Customer #114030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31108   Customer #114034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31109   Customer #114037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31110   Customer #114038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31111   Customer #114043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31112   Customer #114045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31113   Customer #114073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31114   Customer #114077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31115   Customer #114079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31116   Customer #114080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31117   Customer #114083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31118   Customer #114089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31119   Customer #114093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31120   Customer #114104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31121   Customer #114106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31122   Customer #114107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31123   Customer #114113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31124   Customer #114114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31125   Customer #114124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31126   Customer #114126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31127   Customer #114133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31128   Customer #114134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31129   Customer #114135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31130   Customer #114140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31131   Customer #114145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31132   Customer #114146                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31133   Customer #114147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31134   Customer #114151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31135   Customer #114153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31136   Customer #114156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31137   Customer #114176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31138   Customer #114179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31139   Customer #114187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31140   Customer #114190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31141   Customer #114198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31142   Customer #114199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31143   Customer #114203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31144   Customer #114204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31145   Customer #114206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31146   Customer #114210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31147   Customer #114212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31148   Customer #114215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31149   Customer #114216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31150   Customer #114221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31151   Customer #114226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31152   Customer #114231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31153   Customer #114236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31154   Customer #114238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31155   Customer #114239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31156   Customer #114240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31157   Customer #114242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31158   Customer #114244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31159   Customer #114244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31160   Customer #114251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31161   Customer #114260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31162   Customer #114276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31163   Customer #114279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31164   Customer #114280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31165   Customer #114281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31166   Customer #114285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31167   Customer #114286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31168   Customer #114287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31169   Customer #114298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31170   Customer #114301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31171   Customer #114308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31172   Customer #114312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31173   Customer #114317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31174   Customer #114323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31175   Customer #114329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31176   Customer #114338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31177   Customer #114344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31178   Customer #114352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31179   Customer #114354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31180   Customer #114355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31181   Customer #114360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31182   Customer #114378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31183   Customer #114382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31184   Customer #114383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31185   Customer #114389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31186   Customer #114394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31187   Customer #114395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31188   Customer #114396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31189   Customer #114399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31190   Customer #114400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31191   Customer #114401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31192   Customer #114402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31193   Customer #114403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31194   Customer #114404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31195   Customer #114411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31196   Customer #114413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31197   Customer #114417                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31198   Customer #114425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31199   Customer #114426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31200   Customer #114428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31201   Customer #114429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31202   Customer #114431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31203   Customer #114435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31204   Customer #114436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31205   Customer #114445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31206   Customer #114447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31207   Customer #114450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31208   Customer #114456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31209   Customer #114466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31210   Customer #114467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31211   Customer #114477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31212   Customer #114481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31213   Customer #114484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31214   Customer #114495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31215   Customer #114499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31216   Customer #114507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31217   Customer #114511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31218   Customer #114515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31219   Customer #114520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31220   Customer #114525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31221   Customer #114526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31222   Customer #114534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31223   Customer #114544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31224   Customer #114563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31225   Customer #114573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31226   Customer #114579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31227   Customer #114583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31228   Customer #114587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31229   Customer #114590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31230   Customer #114600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31231   Customer #114608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31232   Customer #114609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31233   Customer #114614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31234   Customer #114622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31235   Customer #114623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31236   Customer #114624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31237   Customer #114625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31238   Customer #114627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31239   Customer #114629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31240   Customer #114641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31241   Customer #114643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31242   Customer #114649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31243   Customer #114652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31244   Customer #114653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31245   Customer #114667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31246   Customer #114670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31247   Customer #114677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31248   Customer #114688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31249   Customer #114689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31250   Customer #114690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31251   Customer #114695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31252   Customer #114713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31253   Customer #114714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31254   Customer #114716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31255   Customer #114719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31256   Customer #114724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31257   Customer #114725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31258   Customer #114729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31259   Customer #114731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31260   Customer #114733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31261   Customer #114734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31262   Customer #114735                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31263   Customer #114740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31264   Customer #114750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31265   Customer #114768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31266   Customer #114777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31267   Customer #114778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31268   Customer #114779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31269   Customer #114788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31270   Customer #114789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31271   Customer #114790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31272   Customer #114792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31273   Customer #114798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31274   Customer #114805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31275   Customer #114809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31276   Customer #114815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31277   Customer #114827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31278   Customer #114829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31279   Customer #114841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31280   Customer #114858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31281   Customer #114865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31282   Customer #114882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31283   Customer #114888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31284   Customer #114893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31285   Customer #114894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31286   Customer #114896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31287   Customer #114897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31288   Customer #114901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31289   Customer #114907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31290   Customer #114914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31291   Customer #114916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31292   Customer #114917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31293   Customer #114920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31294   Customer #114921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31295   Customer #114926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31296   Customer #114927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31297   Customer #114933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31298   Customer #114942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31299   Customer #114945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31300   Customer #114947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31301   Customer #114954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31302   Customer #114961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31303   Customer #114967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31304   Customer #115000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31305   Customer #115015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31306   Customer #115016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31307   Customer #115020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31308   Customer #115023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31309   Customer #115037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31310   Customer #115039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31311   Customer #115049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31312   Customer #115050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31313   Customer #115065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31314   Customer #115067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31315   Customer #115080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31316   Customer #115082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31317   Customer #115084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31318   Customer #115085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31319   Customer #115092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31320   Customer #115110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31321   Customer #115112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31322   Customer #115118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31323   Customer #115125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31324   Customer #115127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31325   Customer #115128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31326   Customer #115131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31327   Customer #115136                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31328   Customer #115139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31329   Customer #115145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31330   Customer #115148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31331   Customer #115149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31332   Customer #115170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31333   Customer #115174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31334   Customer #115176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31335   Customer #115178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31336   Customer #115183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31337   Customer #115185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31338   Customer #115189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31339   Customer #115191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31340   Customer #115192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31341   Customer #115194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31342   Customer #115200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31343   Customer #115201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31344   Customer #115202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31345   Customer #115203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31346   Customer #115205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31347   Customer #115208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31348   Customer #115210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31349   Customer #115211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31350   Customer #115212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31351   Customer #115216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31352   Customer #115218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31353   Customer #115225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31354   Customer #115229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31355   Customer #115234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31356   Customer #115235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31357   Customer #115238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31358   Customer #115242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31359   Customer #115243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31360   Customer #115244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31361   Customer #115245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31362   Customer #115252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31363   Customer #115261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31364   Customer #115263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31365   Customer #115264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31366   Customer #115270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31367   Customer #115273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31368   Customer #115275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31369   Customer #115276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31370   Customer #115287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31371   Customer #115289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31372   Customer #115293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31373   Customer #115295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31374   Customer #115298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31375   Customer #115301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31376   Customer #115302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31377   Customer #115303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31378   Customer #115305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31379   Customer #115314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31380   Customer #115315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31381   Customer #115318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31382   Customer #115321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31383   Customer #115322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31384   Customer #115328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31385   Customer #115331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31386   Customer #115332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31387   Customer #115341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31388   Customer #115343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31389   Customer #115344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31390   Customer #115346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31391   Customer #115347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31392   Customer #115355                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31393   Customer #115357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31394   Customer #115358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31395   Customer #115359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31396   Customer #115360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31397   Customer #115362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31398   Customer #115364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31399   Customer #115365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31400   Customer #115368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31401   Customer #115370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31402   Customer #115376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31403   Customer #115377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31404   Customer #115379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31405   Customer #115382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31406   Customer #115383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31407   Customer #115387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31408   Customer #115388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31409   Customer #115390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31410   Customer #115392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31411   Customer #115402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31412   Customer #115403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31413   Customer #115407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31414   Customer #115410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31415   Customer #115414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31416   Customer #115428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31417   Customer #115429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31418   Customer #115434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31419   Customer #115435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31420   Customer #115437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31421   Customer #115438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31422   Customer #115439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31423   Customer #115440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31424   Customer #115450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31425   Customer #115452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31426   Customer #115454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31427   Customer #115469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31428   Customer #115473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31429   Customer #115474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31430   Customer #115485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31431   Customer #115490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31432   Customer #115502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31433   Customer #115515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31434   Customer #115520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31435   Customer #115524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31436   Customer #115528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31437   Customer #115530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31438   Customer #115531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31439   Customer #115533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31440   Customer #115535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31441   Customer #115538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31442   Customer #115539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31443   Customer #115544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31444   Customer #115545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31445   Customer #115551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31446   Customer #115554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31447   Customer #115561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31448   Customer #115570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31449   Customer #115575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31450   Customer #115577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31451   Customer #115602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31452   Customer #115608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31453   Customer #115610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31454   Customer #115642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31455   Customer #115646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31456   Customer #115647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31457   Customer #115652                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31458   Customer #115653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31459   Customer #115656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31460   Customer #115661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31461   Customer #115663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31462   Customer #115667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31463   Customer #115672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31464   Customer #115673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31465   Customer #115674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31466   Customer #115677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31467   Customer #115677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31468   Customer #115677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31469   Customer #115677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31470   Customer #115677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31471   Customer #115681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31472   Customer #115684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31473   Customer #115685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31474   Customer #115686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31475   Customer #115691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31476   Customer #115702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31477   Customer #115703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31478   Customer #115704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31479   Customer #115705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31480   Customer #115707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31481   Customer #115708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31482   Customer #115709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31483   Customer #115710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31484   Customer #115720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31485   Customer #115726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31486   Customer #115735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31487   Customer #115743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31488   Customer #115745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31489   Customer #115750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31490   Customer #115754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31491   Customer #115768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31492   Customer #115769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31493   Customer #115778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31494   Customer #115781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31495   Customer #115782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31496   Customer #115784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31497   Customer #115786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31498   Customer #115805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31499   Customer #115816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31500   Customer #115817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31501   Customer #115822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31502   Customer #115829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31503   Customer #115833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31504   Customer #115839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31505   Customer #115852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31506   Customer #115854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31507   Customer #115857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31508   Customer #115858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31509   Customer #115863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31510   Customer #115866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31511   Customer #115868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31512   Customer #115870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31513   Customer #115880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31514   Customer #115881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31515   Customer #115883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31516   Customer #115887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31517   Customer #115888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31518   Customer #115904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31519   Customer #115906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31520   Customer #115916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31521   Customer #115924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31522   Customer #115932                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31523   Customer #115935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31524   Customer #115941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31525   Customer #115946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31526   Customer #115948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31527   Customer #115949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31528   Customer #115950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31529   Customer #115951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31530   Customer #115968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31531   Customer #115969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31532   Customer #115970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31533   Customer #115972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31534   Customer #115974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31535   Customer #115988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31536   Customer #115989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31537   Customer #115992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31538   Customer #115996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31539   Customer #115997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31540   Customer #116007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31541   Customer #116017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31542   Customer #116018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31543   Customer #116033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31544   Customer #116036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31545   Customer #116037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31546   Customer #116046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31547   Customer #116047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31548   Customer #116050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31549   Customer #116053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31550   Customer #116054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31551   Customer #116059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31552   Customer #116060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31553   Customer #116063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31554   Customer #116064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31555   Customer #116069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31556   Customer #116070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31557   Customer #116072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31558   Customer #116086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31559   Customer #116091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31560   Customer #116100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31561   Customer #116102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31562   Customer #116111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31563   Customer #116113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31564   Customer #116114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31565   Customer #116120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31566   Customer #116124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31567   Customer #116136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31568   Customer #116139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31569   Customer #116144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31570   Customer #116145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31571   Customer #116156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31572   Customer #116158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31573   Customer #116159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31574   Customer #116160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31575   Customer #116163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31576   Customer #116167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31577   Customer #116168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31578   Customer #116171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31579   Customer #116184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31580   Customer #116190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31581   Customer #116195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31582   Customer #116196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31583   Customer #116200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31584   Customer #116202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31585   Customer #116214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31586   Customer #116217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31587   Customer #116218                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31588   Customer #116225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31589   Customer #116227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31590   Customer #116228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31591   Customer #116239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31592   Customer #116247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31593   Customer #116251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31594   Customer #116254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31595   Customer #116257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31596   Customer #116260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31597   Customer #116263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31598   Customer #116264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31599   Customer #116266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31600   Customer #116269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31601   Customer #116275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31602   Customer #116277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31603   Customer #116278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31604   Customer #116290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31605   Customer #116291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31606   Customer #116295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31607   Customer #116312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31608   Customer #116315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31609   Customer #116319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31610   Customer #116333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31611   Customer #116345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31612   Customer #116357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31613   Customer #116367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31614   Customer #116369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31615   Customer #116379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31616   Customer #116384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31617   Customer #116385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31618   Customer #116390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31619   Customer #116402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31620   Customer #116403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31621   Customer #116407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31622   Customer #116408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31623   Customer #116410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31624   Customer #116412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31625   Customer #116414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31626   Customer #116415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31627   Customer #116416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31628   Customer #116420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31629   Customer #116424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31630   Customer #116425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31631   Customer #116433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31632   Customer #116441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31633   Customer #116442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31634   Customer #116445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31635   Customer #116455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31636   Customer #116459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31637   Customer #116476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31638   Customer #116491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31639   Customer #116492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31640   Customer #116494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31641   Customer #116497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31642   Customer #116499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31643   Customer #116500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31644   Customer #116502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31645   Customer #116507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31646   Customer #116511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31647   Customer #116518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31648   Customer #116521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31649   Customer #116527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31650   Customer #116529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31651   Customer #116534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31652   Customer #116535                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31653   Customer #116543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31654   Customer #116545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31655   Customer #116555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31656   Customer #116556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31657   Customer #116558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31658   Customer #116560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31659   Customer #116562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31660   Customer #116567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31661   Customer #116570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31662   Customer #116573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31663   Customer #116574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31664   Customer #116576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31665   Customer #116577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31666   Customer #116585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31667   Customer #116589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31668   Customer #116593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31669   Customer #116595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31670   Customer #116596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31671   Customer #116598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31672   Customer #116600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31673   Customer #116601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31674   Customer #116605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31675   Customer #116614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31676   Customer #116618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31677   Customer #116620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31678   Customer #116621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31679   Customer #116622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31680   Customer #116623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31681   Customer #116625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31682   Customer #116626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31683   Customer #116627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31684   Customer #116631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31685   Customer #116633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31686   Customer #116637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31687   Customer #116638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31688   Customer #116647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31689   Customer #116649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31690   Customer #116656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31691   Customer #116666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31692   Customer #116673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31693   Customer #116675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31694   Customer #116676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31695   Customer #116677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31696   Customer #116679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31697   Customer #116687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31698   Customer #116700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31699   Customer #116714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31700   Customer #116718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31701   Customer #116721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31702   Customer #116723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31703   Customer #116727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31704   Customer #116729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31705   Customer #116733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31706   Customer #116741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31707   Customer #116751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31708   Customer #116753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31709   Customer #116767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31710   Customer #116769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31711   Customer #116771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31712   Customer #116774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31713   Customer #116782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31714   Customer #116783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31715   Customer #116785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31716   Customer #116791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31717   Customer #116792                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31718   Customer #116793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31719   Customer #116794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31720   Customer #116803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31721   Customer #116805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31722   Customer #116808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31723   Customer #116809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31724   Customer #116810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31725   Customer #116811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31726   Customer #116818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31727   Customer #116822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31728   Customer #116829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31729   Customer #116831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31730   Customer #116832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31731   Customer #116846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31732   Customer #116847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31733   Customer #116856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31734   Customer #116862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31735   Customer #116868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31736   Customer #116869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31737   Customer #116876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31738   Customer #116877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31739   Customer #116880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31740   Customer #116881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31741   Customer #116887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31742   Customer #116890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31743   Customer #116891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31744   Customer #116892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31745   Customer #116911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31746   Customer #116913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31747   Customer #116922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31748   Customer #116928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31749   Customer #116929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31750   Customer #116930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31751   Customer #116931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31752   Customer #116934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31753   Customer #116935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31754   Customer #116936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31755   Customer #116937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31756   Customer #116943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31757   Customer #116944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31758   Customer #116953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31759   Customer #116954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31760   Customer #116955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31761   Customer #116965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31762   Customer #116966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31763   Customer #116968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31764   Customer #116973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31765   Customer #116977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31766   Customer #116978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31767   Customer #116979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31768   Customer #116981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31769   Customer #116986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31770   Customer #116989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31771   Customer #116993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31772   Customer #116996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31773   Customer #116999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31774   Customer #117001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31775   Customer #117013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31776   Customer #117014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31777   Customer #117022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31778   Customer #117023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31779   Customer #117024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31780   Customer #117026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31781   Customer #117029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31782   Customer #117034                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31783   Customer #117035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31784   Customer #117038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31785   Customer #117039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31786   Customer #117046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31787   Customer #117047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31788   Customer #117056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31789   Customer #117057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31790   Customer #117061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31791   Customer #117065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31792   Customer #117068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31793   Customer #117069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31794   Customer #117071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31795   Customer #117083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31796   Customer #117091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31797   Customer #117099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31798   Customer #117103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31799   Customer #117104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31800   Customer #117105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31801   Customer #117106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31802   Customer #117108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31803   Customer #117110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31804   Customer #117111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31805   Customer #117116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31806   Customer #117118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31807   Customer #117122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31808   Customer #117123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31809   Customer #117133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31810   Customer #117134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31811   Customer #117135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31812   Customer #117143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31813   Customer #117148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31814   Customer #117150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31815   Customer #117154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31816   Customer #117156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31817   Customer #117157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31818   Customer #117158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31819   Customer #117161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31820   Customer #117162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31821   Customer #117166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31822   Customer #117175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31823   Customer #117176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31824   Customer #117183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31825   Customer #117185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31826   Customer #117189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31827   Customer #117195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31828   Customer #117200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31829   Customer #117201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31830   Customer #117202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31831   Customer #117203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31832   Customer #117206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31833   Customer #117207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31834   Customer #117208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31835   Customer #117210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31836   Customer #117213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31837   Customer #117214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31838   Customer #117216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31839   Customer #117217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31840   Customer #117219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31841   Customer #117222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31842   Customer #117227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31843   Customer #117232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31844   Customer #117235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31845   Customer #117236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31846   Customer #117245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31847   Customer #117248                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31848   Customer #117253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31849   Customer #117257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31850   Customer #117258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31851   Customer #117265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31852   Customer #117266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31853   Customer #117267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31854   Customer #117275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31855   Customer #117276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31856   Customer #117280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31857   Customer #117284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31858   Customer #117288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31859   Customer #117290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31860   Customer #117295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31861   Customer #117306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31862   Customer #117307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31863   Customer #117313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31864   Customer #117314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31865   Customer #117315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31866   Customer #117318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31867   Customer #117322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31868   Customer #117325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31869   Customer #117326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31870   Customer #117334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31871   Customer #117370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31872   Customer #117386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31873   Customer #117388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31874   Customer #117396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31875   Customer #117415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31876   Customer #117417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31877   Customer #117422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31878   Customer #117423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31879   Customer #117424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31880   Customer #117437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31881   Customer #117438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31882   Customer #117452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31883   Customer #117458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31884   Customer #117463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31885   Customer #117470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31886   Customer #117471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31887   Customer #117472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31888   Customer #117486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31889   Customer #117493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31890   Customer #117499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31891   Customer #117506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31892   Customer #117507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31893   Customer #117508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31894   Customer #117513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31895   Customer #117515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31896   Customer #117517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31897   Customer #117530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31898   Customer #117533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31899   Customer #117537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31900   Customer #117538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31901   Customer #117547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31902   Customer #117548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31903   Customer #117552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31904   Customer #117555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31905   Customer #117557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31906   Customer #117561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31907   Customer #117562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31908   Customer #117564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31909   Customer #117565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31910   Customer #117577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31911   Customer #117588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31912   Customer #117591                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31913   Customer #117592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31914   Customer #117597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31915   Customer #117603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31916   Customer #117605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31917   Customer #117606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31918   Customer #117616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31919   Customer #117618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31920   Customer #117619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31921   Customer #117620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31922   Customer #117621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31923   Customer #117623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31924   Customer #117629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31925   Customer #117636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31926   Customer #117638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31927   Customer #117644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31928   Customer #117648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31929   Customer #117649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31930   Customer #117652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31931   Customer #117654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31932   Customer #117655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31933   Customer #117662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31934   Customer #117663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31935   Customer #117666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31936   Customer #117675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31937   Customer #117676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31938   Customer #117683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31939   Customer #117691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31940   Customer #117701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31941   Customer #117715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31942   Customer #117717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31943   Customer #117725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31944   Customer #117726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31945   Customer #117743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31946   Customer #117750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31947   Customer #117770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31948   Customer #117786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31949   Customer #117798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31950   Customer #117815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31951   Customer #117819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31952   Customer #117838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31953   Customer #117843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31954   Customer #117844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31955   Customer #117860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31956   Customer #117866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31957   Customer #117874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31958   Customer #117877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31959   Customer #117879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31960   Customer #117880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31961   Customer #117899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31962   Customer #117900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31963   Customer #117918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31964   Customer #117920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31965   Customer #117927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31966   Customer #117945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31967   Customer #117946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31968   Customer #117952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31969   Customer #117954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31970   Customer #117956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31971   Customer #117957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31972   Customer #117961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31973   Customer #117965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31974   Customer #117966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31975   Customer #117968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31976   Customer #117970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31977   Customer #117978                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.31978   Customer #117980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31979   Customer #117982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31980   Customer #117987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31981   Customer #117991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31982   Customer #117992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31983   Customer #117993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31984   Customer #117994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31985   Customer #117996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31986   Customer #117997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31987   Customer #117999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31988   Customer #118003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31989   Customer #118004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31990   Customer #118009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31991   Customer #118010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31992   Customer #118014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31993   Customer #118026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31994   Customer #118027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31995   Customer #118029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31996   Customer #118031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31997   Customer #118032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31998   Customer #118033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.31999   Customer #118034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32000   Customer #118035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32001   Customer #118037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32002   Customer #118058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32003   Customer #118067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32004   Customer #118071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32005   Customer #118077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32006   Customer #118085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32007   Customer #118086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32008   Customer #118087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32009   Customer #118092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32010   Customer #118099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32011   Customer #118103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32012   Customer #118106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32013   Customer #118111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32014   Customer #118117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32015   Customer #118141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32016   Customer #118150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32017   Customer #118172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32018   Customer #118173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32019   Customer #118174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32020   Customer #118179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32021   Customer #118197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32022   Customer #118207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32023   Customer #118209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32024   Customer #118210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32025   Customer #118211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32026   Customer #118217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32027   Customer #118218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32028   Customer #118226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32029   Customer #118236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32030   Customer #118238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32031   Customer #118242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32032   Customer #118245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32033   Customer #118263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32034   Customer #118278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32035   Customer #118279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32036   Customer #118283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32037   Customer #118284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32038   Customer #118287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32039   Customer #118294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32040   Customer #118305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32041   Customer #118310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32042   Customer #118312                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32043   Customer #118314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32044   Customer #118318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32045   Customer #118319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32046   Customer #118325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32047   Customer #118327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32048   Customer #118331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32049   Customer #118336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32050   Customer #118343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32051   Customer #118348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32052   Customer #118350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32053   Customer #118366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32054   Customer #118368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32055   Customer #118379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32056   Customer #118382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32057   Customer #118385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32058   Customer #118387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32059   Customer #118388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32060   Customer #118397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32061   Customer #118398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32062   Customer #118399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32063   Customer #118400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32064   Customer #118409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32065   Customer #118413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32066   Customer #118416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32067   Customer #118417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32068   Customer #118418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32069   Customer #118420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32070   Customer #118423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32071   Customer #118424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32072   Customer #118430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32073   Customer #118440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32074   Customer #118441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32075   Customer #118444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32076   Customer #118445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32077   Customer #118446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32078   Customer #118448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32079   Customer #118449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32080   Customer #118450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32081   Customer #118451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32082   Customer #118460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32083   Customer #118463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32084   Customer #118464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32085   Customer #118469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32086   Customer #118471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32087   Customer #118473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32088   Customer #118474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32089   Customer #118476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32090   Customer #118484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32091   Customer #118492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32092   Customer #118500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32093   Customer #118505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32094   Customer #118515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32095   Customer #118518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32096   Customer #118520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32097   Customer #118522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32098   Customer #118547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32099   Customer #118551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32100   Customer #118553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32101   Customer #118593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32102   Customer #118597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32103   Customer #118600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32104   Customer #118614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32105   Customer #118656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32106   Customer #118657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32107   Customer #118667                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32108   Customer #118668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32109   Customer #118669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32110   Customer #118670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32111   Customer #118676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32112   Customer #118688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32113   Customer #118689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32114   Customer #118693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32115   Customer #118694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32116   Customer #118698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32117   Customer #118703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32118   Customer #118710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32119   Customer #118714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32120   Customer #118729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32121   Customer #118730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32122   Customer #118731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32123   Customer #118743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32124   Customer #118744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32125   Customer #118746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32126   Customer #118749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32127   Customer #118752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32128   Customer #118753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32129   Customer #118755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32130   Customer #118760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32131   Customer #118762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32132   Customer #118763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32133   Customer #118764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32134   Customer #118767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32135   Customer #118768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32136   Customer #118769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32137   Customer #118778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32138   Customer #118789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32139   Customer #118798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32140   Customer #118801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32141   Customer #118803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32142   Customer #118806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32143   Customer #118808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32144   Customer #118814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32145   Customer #118818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32146   Customer #118822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32147   Customer #118828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32148   Customer #118835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32149   Customer #118847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32150   Customer #118851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32151   Customer #118852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32152   Customer #118855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32153   Customer #118856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32154   Customer #118857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32155   Customer #118858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32156   Customer #118862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32157   Customer #118890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32158   Customer #118891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32159   Customer #118895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32160   Customer #118896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32161   Customer #118900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32162   Customer #118907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32163   Customer #118909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32164   Customer #118910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32165   Customer #118912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32166   Customer #118913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32167   Customer #118916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32168   Customer #118917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32169   Customer #118919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32170   Customer #118923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32171   Customer #118927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32172   Customer #118930                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32173   Customer #118950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32174   Customer #118952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32175   Customer #118962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32176   Customer #118965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32177   Customer #118974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32178   Customer #118977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32179   Customer #118982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32180   Customer #118985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32181   Customer #118990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32182   Customer #119038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32183   Customer #119039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32184   Customer #119043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32185   Customer #119047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32186   Customer #119058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32187   Customer #119067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32188   Customer #119068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32189   Customer #119074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32190   Customer #119081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32191   Customer #119082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32192   Customer #119083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32193   Customer #119085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32194   Customer #119091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32195   Customer #119101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32196   Customer #119102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32197   Customer #119108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32198   Customer #119114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32199   Customer #119122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32200   Customer #119123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32201   Customer #119124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32202   Customer #119127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32203   Customer #119128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32204   Customer #119129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32205   Customer #119132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32206   Customer #119136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32207   Customer #119139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32208   Customer #119166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32209   Customer #119167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32210   Customer #119171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32211   Customer #119173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32212   Customer #119177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32213   Customer #119198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32214   Customer #119216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32215   Customer #119234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32216   Customer #119235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32217   Customer #119239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32218   Customer #119247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32219   Customer #119250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32220   Customer #119251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32221   Customer #119257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32222   Customer #119258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32223   Customer #119282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32224   Customer #119282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32225   Customer #119284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32226   Customer #119286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32227   Customer #119298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32228   Customer #119309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32229   Customer #119315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32230   Customer #119345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32231   Customer #119346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32232   Customer #119351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32233   Customer #119362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32234   Customer #119365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32235   Customer #119379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32236   Customer #119381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32237   Customer #119382                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




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                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32238   Customer #119383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32239   Customer #119384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32240   Customer #119386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32241   Customer #119389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32242   Customer #119390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32243   Customer #119391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32244   Customer #119394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32245   Customer #119403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32246   Customer #119405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32247   Customer #119408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32248   Customer #119414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32249   Customer #119414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32250   Customer #119417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32251   Customer #119419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32252   Customer #119431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32253   Customer #119437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32254   Customer #119445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32255   Customer #119467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32256   Customer #119468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32257   Customer #119469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32258   Customer #119515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32259   Customer #119521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32260   Customer #119530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32261   Customer #119544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32262   Customer #119549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32263   Customer #119552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32264   Customer #119554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32265   Customer #119558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32266   Customer #119559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32267   Customer #119565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32268   Customer #119568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32269   Customer #119572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32270   Customer #119576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32271   Customer #119576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32272   Customer #119580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32273   Customer #119583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32274   Customer #119585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32275   Customer #119586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32276   Customer #119588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32277   Customer #119590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32278   Customer #119602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32279   Customer #119607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32280   Customer #119608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32281   Customer #119612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32282   Customer #119615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32283   Customer #119616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32284   Customer #119619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32285   Customer #119627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32286   Customer #119629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32287   Customer #119632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32288   Customer #119636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32289   Customer #119637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32290   Customer #119638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32291   Customer #119642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32292   Customer #119644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32293   Customer #119645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32294   Customer #119646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32295   Customer #119648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32296   Customer #119657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32297   Customer #119663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32298   Customer #119664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32299   Customer #119665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32300   Customer #119678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32301   Customer #119679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32302   Customer #119685                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32303   Customer #119693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32304   Customer #119696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32305   Customer #119702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32306   Customer #119705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32307   Customer #119708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32308   Customer #119713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32309   Customer #119714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32310   Customer #119719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32311   Customer #119723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32312   Customer #119725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32313   Customer #119727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32314   Customer #119733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32315   Customer #119736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32316   Customer #119745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32317   Customer #119747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32318   Customer #119760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32319   Customer #119762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32320   Customer #119766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32321   Customer #119767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32322   Customer #119770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32323   Customer #119776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32324   Customer #119778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32325   Customer #119786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32326   Customer #119792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32327   Customer #119794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32328   Customer #119795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32329   Customer #119798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32330   Customer #119809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32331   Customer #119817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32332   Customer #119820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32333   Customer #119822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32334   Customer #119827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32335   Customer #119837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32336   Customer #119838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32337   Customer #119840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32338   Customer #119845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32339   Customer #119848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32340   Customer #119850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32341   Customer #119868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32342   Customer #119870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32343   Customer #119871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32344   Customer #119874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32345   Customer #119890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32346   Customer #119898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32347   Customer #119905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32348   Customer #119921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32349   Customer #119926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32350   Customer #119927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32351   Customer #119929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32352   Customer #119930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32353   Customer #119940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32354   Customer #119944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32355   Customer #119948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32356   Customer #119950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32357   Customer #119952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32358   Customer #119963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32359   Customer #119966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32360   Customer #119973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32361   Customer #119977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32362   Customer #119979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32363   Customer #119980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32364   Customer #119986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32365   Customer #119986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32366   Customer #119988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32367   Customer #119991                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32368   Customer #119994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32369   Customer #119995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32370   Customer #120003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32371   Customer #120004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32372   Customer #120005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32373   Customer #120006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32374   Customer #120008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32375   Customer #120018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32376   Customer #120043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32377   Customer #120047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32378   Customer #120049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32379   Customer #120053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32380   Customer #120057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32381   Customer #120058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32382   Customer #120061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32383   Customer #120062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32384   Customer #120064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32385   Customer #120068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32386   Customer #120069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32387   Customer #120070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32388   Customer #120075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32389   Customer #120077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32390   Customer #120080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32391   Customer #120088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32392   Customer #120089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32393   Customer #120092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32394   Customer #120101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32395   Customer #120111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32396   Customer #120114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32397   Customer #120118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32398   Customer #120119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32399   Customer #120123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32400   Customer #120145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32401   Customer #120146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32402   Customer #120152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32403   Customer #120157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32404   Customer #120165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32405   Customer #120165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32406   Customer #120166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32407   Customer #120167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32408   Customer #120169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32409   Customer #120170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32410   Customer #120172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32411   Customer #120179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32412   Customer #120180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32413   Customer #120182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32414   Customer #120184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32415   Customer #120185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32416   Customer #120186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32417   Customer #120187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32418   Customer #120189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32419   Customer #120213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32420   Customer #120242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32421   Customer #120245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32422   Customer #120249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32423   Customer #120250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32424   Customer #120251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32425   Customer #120252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32426   Customer #120291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32427   Customer #120301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32428   Customer #120302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32429   Customer #120304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32430   Customer #120308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32431   Customer #120313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32432   Customer #120339                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32433   Customer #120344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32434   Customer #120353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32435   Customer #120362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32436   Customer #120364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32437   Customer #120365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32438   Customer #120371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32439   Customer #120377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32440   Customer #120378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32441   Customer #120388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32442   Customer #120396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32443   Customer #120404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32444   Customer #120411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32445   Customer #120419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32446   Customer #120444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32447   Customer #120453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32448   Customer #120455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32449   Customer #120460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32450   Customer #120464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32451   Customer #120471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32452   Customer #120473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32453   Customer #120480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32454   Customer #120481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32455   Customer #120486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32456   Customer #120489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32457   Customer #120490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32458   Customer #120492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32459   Customer #120497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32460   Customer #120498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32461   Customer #120527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32462   Customer #120535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32463   Customer #120540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32464   Customer #120548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32465   Customer #120552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32466   Customer #120554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32467   Customer #120562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32468   Customer #120566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32469   Customer #120567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32470   Customer #120569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32471   Customer #120573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32472   Customer #120574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32473   Customer #120575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32474   Customer #120587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32475   Customer #120595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32476   Customer #120596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32477   Customer #120604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32478   Customer #120610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32479   Customer #120612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32480   Customer #120613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32481   Customer #120614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32482   Customer #120635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32483   Customer #120637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32484   Customer #120639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32485   Customer #120643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32486   Customer #120644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32487   Customer #120649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32488   Customer #120651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32489   Customer #120654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32490   Customer #120659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32491   Customer #120662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32492   Customer #120667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32493   Customer #120670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32494   Customer #120671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32495   Customer #120675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32496   Customer #120677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32497   Customer #120682                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32498   Customer #120688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32499   Customer #120694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32500   Customer #120704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32501   Customer #120705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32502   Customer #120706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32503   Customer #120718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32504   Customer #120719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32505   Customer #120720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32506   Customer #120721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32507   Customer #120726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32508   Customer #120727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32509   Customer #120732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32510   Customer #120734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32511   Customer #120735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32512   Customer #120738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32513   Customer #120740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32514   Customer #120742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32515   Customer #120743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32516   Customer #120745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32517   Customer #120746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32518   Customer #120747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32519   Customer #120748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32520   Customer #120760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32521   Customer #120764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32522   Customer #120769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32523   Customer #120770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32524   Customer #120774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32525   Customer #120776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32526   Customer #120777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32527   Customer #120781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32528   Customer #120783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32529   Customer #120786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32530   Customer #120794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32531   Customer #120800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32532   Customer #120801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32533   Customer #120805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32534   Customer #120806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32535   Customer #120807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32536   Customer #120809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32537   Customer #120814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32538   Customer #120821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32539   Customer #120837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32540   Customer #120848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32541   Customer #120849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32542   Customer #120855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32543   Customer #120869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32544   Customer #120872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32545   Customer #120886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32546   Customer #120889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32547   Customer #120902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32548   Customer #120907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32549   Customer #120918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32550   Customer #120937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32551   Customer #120938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32552   Customer #120939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32553   Customer #120940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32554   Customer #120943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32555   Customer #120944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32556   Customer #120948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32557   Customer #120950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32558   Customer #120953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32559   Customer #120966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32560   Customer #120969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32561   Customer #120970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32562   Customer #120971                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32563   Customer #120980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32564   Customer #120986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32565   Customer #120987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32566   Customer #120997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32567   Customer #120999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32568   Customer #121001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32569   Customer #121002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32570   Customer #121003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32571   Customer #121004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32572   Customer #121015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32573   Customer #121020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32574   Customer #121027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32575   Customer #121029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32576   Customer #121030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32577   Customer #121036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32578   Customer #121040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32579   Customer #121045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32580   Customer #121046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32581   Customer #121047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32582   Customer #121049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32583   Customer #121051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32584   Customer #121052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32585   Customer #121054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32586   Customer #121055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32587   Customer #121059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32588   Customer #121065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32589   Customer #121076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32590   Customer #121085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32591   Customer #121092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32592   Customer #121093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32593   Customer #121094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32594   Customer #121095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32595   Customer #121100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32596   Customer #121104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32597   Customer #121106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32598   Customer #121114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32599   Customer #121115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32600   Customer #121119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32601   Customer #121122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32602   Customer #121133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32603   Customer #121134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32604   Customer #121148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32605   Customer #121150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32606   Customer #121151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32607   Customer #121159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32608   Customer #121163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32609   Customer #121168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32610   Customer #121169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32611   Customer #121175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32612   Customer #121178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32613   Customer #121195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32614   Customer #121198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32615   Customer #121203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32616   Customer #121214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32617   Customer #121218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32618   Customer #121223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32619   Customer #121227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32620   Customer #121228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32621   Customer #121231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32622   Customer #121235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32623   Customer #121236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32624   Customer #121243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32625   Customer #121255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32626   Customer #121269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32627   Customer #121273                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32628   Customer #121279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32629   Customer #121281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32630   Customer #121285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32631   Customer #121297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32632   Customer #121298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32633   Customer #121318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32634   Customer #121321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32635   Customer #121323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32636   Customer #121325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32637   Customer #121327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32638   Customer #121329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32639   Customer #121336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32640   Customer #121338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32641   Customer #121340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32642   Customer #121344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32643   Customer #121354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32644   Customer #121360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32645   Customer #121368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32646   Customer #121374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32647   Customer #121375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32648   Customer #121380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32649   Customer #121387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32650   Customer #121389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32651   Customer #121392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32652   Customer #121393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32653   Customer #121395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32654   Customer #121396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32655   Customer #121402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32656   Customer #121408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32657   Customer #121410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32658   Customer #121412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32659   Customer #121414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32660   Customer #121415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32661   Customer #121416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32662   Customer #121423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32663   Customer #121424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32664   Customer #121426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32665   Customer #121426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32666   Customer #121426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32667   Customer #121437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32668   Customer #121440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32669   Customer #121441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32670   Customer #121448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32671   Customer #121451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32672   Customer #121461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32673   Customer #121462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32674   Customer #121462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32675   Customer #121463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32676   Customer #121464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32677   Customer #121466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32678   Customer #121468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32679   Customer #121479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32680   Customer #121480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32681   Customer #121486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32682   Customer #121489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32683   Customer #121490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32684   Customer #121491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32685   Customer #121492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32686   Customer #121493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32687   Customer #121494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32688   Customer #121495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32689   Customer #121499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32690   Customer #121501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32691   Customer #121508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32692   Customer #121515                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32693   Customer #121516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32694   Customer #121520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32695   Customer #121526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32696   Customer #121527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32697   Customer #121528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32698   Customer #121537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32699   Customer #121540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32700   Customer #121544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32701   Customer #121545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32702   Customer #121547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32703   Customer #121549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32704   Customer #121550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32705   Customer #121552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32706   Customer #121553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32707   Customer #121554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32708   Customer #121559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32709   Customer #121571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32710   Customer #121573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32711   Customer #121585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32712   Customer #121586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32713   Customer #121592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32714   Customer #121593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32715   Customer #121594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32716   Customer #121597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32717   Customer #121600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32718   Customer #121601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32719   Customer #121606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32720   Customer #121627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32721   Customer #121631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32722   Customer #121633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32723   Customer #121636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32724   Customer #121642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32725   Customer #121647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32726   Customer #121651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32727   Customer #121653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32728   Customer #121654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32729   Customer #121659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32730   Customer #121660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32731   Customer #121663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32732   Customer #121664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32733   Customer #121670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32734   Customer #121671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32735   Customer #121676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32736   Customer #121677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32737   Customer #121679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32738   Customer #121687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32739   Customer #121691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32740   Customer #121692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32741   Customer #121693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32742   Customer #121695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32743   Customer #121696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32744   Customer #121699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32745   Customer #121701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32746   Customer #121702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32747   Customer #121705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32748   Customer #121713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32749   Customer #121716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32750   Customer #121721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32751   Customer #121729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32752   Customer #121736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32753   Customer #121737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32754   Customer #121742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32755   Customer #121743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32756   Customer #121752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32757   Customer #121754                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32758   Customer #121755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32759   Customer #121756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32760   Customer #121759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32761   Customer #121766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32762   Customer #121772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32763   Customer #121773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32764   Customer #121775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32765   Customer #121787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32766   Customer #121803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32767   Customer #121806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32768   Customer #121809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32769   Customer #121817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32770   Customer #121819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32771   Customer #121825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32772   Customer #121833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32773   Customer #121838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32774   Customer #121840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32775   Customer #121844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32776   Customer #121846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32777   Customer #121853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32778   Customer #121854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32779   Customer #121856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32780   Customer #121857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32781   Customer #121862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32782   Customer #121867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32783   Customer #121877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32784   Customer #121884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32785   Customer #121891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32786   Customer #121898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32787   Customer #121908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32788   Customer #121909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32789   Customer #121912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32790   Customer #121919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32791   Customer #121925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32792   Customer #121927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32793   Customer #121929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32794   Customer #121931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32795   Customer #121933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32796   Customer #121934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32797   Customer #121936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32798   Customer #121937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32799   Customer #121940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32800   Customer #121945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32801   Customer #121949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32802   Customer #121958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32803   Customer #121961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32804   Customer #121963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32805   Customer #121964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32806   Customer #121967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32807   Customer #121978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32808   Customer #121979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32809   Customer #121994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32810   Customer #121997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32811   Customer #122005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32812   Customer #122009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32813   Customer #122012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32814   Customer #122015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32815   Customer #122021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32816   Customer #122033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32817   Customer #122038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32818   Customer #122039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32819   Customer #122040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32820   Customer #122057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32821   Customer #122059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32822   Customer #122060                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32823   Customer #122061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32824   Customer #122065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32825   Customer #122068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32826   Customer #122074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32827   Customer #122080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32828   Customer #122082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32829   Customer #122085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32830   Customer #122093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32831   Customer #122094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32832   Customer #122099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32833   Customer #122100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32834   Customer #122100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32835   Customer #122104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32836   Customer #122105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32837   Customer #122106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32838   Customer #122107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32839   Customer #122110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32840   Customer #122112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32841   Customer #122123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32842   Customer #122127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32843   Customer #122133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32844   Customer #122136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32845   Customer #122141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32846   Customer #122145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32847   Customer #122146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32848   Customer #122152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32849   Customer #122153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32850   Customer #122161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32851   Customer #122162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32852   Customer #122167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32853   Customer #122173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32854   Customer #122183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32855   Customer #122187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32856   Customer #122191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32857   Customer #122203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32858   Customer #122210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32859   Customer #122216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32860   Customer #122217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32861   Customer #122221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32862   Customer #122224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32863   Customer #122225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32864   Customer #122235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32865   Customer #122239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32866   Customer #122247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32867   Customer #122251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32868   Customer #122263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32869   Customer #122285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32870   Customer #122286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32871   Customer #122287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32872   Customer #122288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32873   Customer #122291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32874   Customer #122292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32875   Customer #122293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32876   Customer #122298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32877   Customer #122302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32878   Customer #122306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32879   Customer #122313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32880   Customer #122315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32881   Customer #122317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32882   Customer #122336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32883   Customer #122339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32884   Customer #122340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32885   Customer #122344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32886   Customer #122349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32887   Customer #122350                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32888   Customer #122377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32889   Customer #122378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32890   Customer #122395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32891   Customer #122401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32892   Customer #122405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32893   Customer #122415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32894   Customer #122418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32895   Customer #122419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32896   Customer #122440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32897   Customer #122442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32898   Customer #122444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32899   Customer #122453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32900   Customer #122456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32901   Customer #122457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32902   Customer #122463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32903   Customer #122464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32904   Customer #122465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32905   Customer #122466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32906   Customer #122470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32907   Customer #122475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32908   Customer #122481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32909   Customer #122489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32910   Customer #122494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32911   Customer #122498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32912   Customer #122501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32913   Customer #122503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32914   Customer #122505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32915   Customer #122507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32916   Customer #122510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32917   Customer #122513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32918   Customer #122518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32919   Customer #122526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32920   Customer #122527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32921   Customer #122528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32922   Customer #122530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32923   Customer #122531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32924   Customer #122537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32925   Customer #122547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32926   Customer #122551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32927   Customer #122555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32928   Customer #122558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32929   Customer #122566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32930   Customer #122578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32931   Customer #122580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32932   Customer #122582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32933   Customer #122584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32934   Customer #122585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32935   Customer #122590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32936   Customer #122591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32937   Customer #122601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32938   Customer #122604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32939   Customer #122607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32940   Customer #122608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32941   Customer #122609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32942   Customer #122611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32943   Customer #122614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32944   Customer #122617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32945   Customer #122708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32946   Customer #122730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32947   Customer #122735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32948   Customer #122740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32949   Customer #122741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32950   Customer #122768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32951   Customer #122774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32952   Customer #122784                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.32953   Customer #122790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32954   Customer #122794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32955   Customer #122798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32956   Customer #122802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32957   Customer #122806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32958   Customer #122809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32959   Customer #122821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32960   Customer #122822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32961   Customer #122823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32962   Customer #122834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32963   Customer #122838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32964   Customer #122840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32965   Customer #122842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32966   Customer #122845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32967   Customer #122853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32968   Customer #122854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32969   Customer #122855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32970   Customer #122873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32971   Customer #122878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32972   Customer #122882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32973   Customer #122884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32974   Customer #122888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32975   Customer #122889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32976   Customer #122892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32977   Customer #122893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32978   Customer #122896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32979   Customer #122898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32980   Customer #122907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32981   Customer #122912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32982   Customer #122914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32983   Customer #122916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32984   Customer #122917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32985   Customer #122935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32986   Customer #122943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32987   Customer #122949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32988   Customer #122950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32989   Customer #122952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32990   Customer #122955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32991   Customer #122956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32992   Customer #122959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32993   Customer #122959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32994   Customer #122962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32995   Customer #122982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32996   Customer #122984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32997   Customer #123001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32998   Customer #123003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.32999   Customer #123009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33000   Customer #123019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33001   Customer #123020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33002   Customer #123021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33003   Customer #123030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33004   Customer #123032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33005   Customer #123035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33006   Customer #123036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33007   Customer #123037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33008   Customer #123041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33009   Customer #123043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33010   Customer #123055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33011   Customer #123056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33012   Customer #123064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33013   Customer #123065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33014   Customer #123077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33015   Customer #123078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33016   Customer #123082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33017   Customer #123099                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33018   Customer #123106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33019   Customer #123108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33020   Customer #123109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33021   Customer #123112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33022   Customer #123116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33023   Customer #123117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33024   Customer #123118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33025   Customer #123122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33026   Customer #123123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33027   Customer #123124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33028   Customer #123126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33029   Customer #123136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33030   Customer #123141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33031   Customer #123144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33032   Customer #123154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33033   Customer #123155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33034   Customer #123157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33035   Customer #123164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33036   Customer #123166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33037   Customer #123171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33038   Customer #123173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33039   Customer #123176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33040   Customer #123178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33041   Customer #123187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33042   Customer #123188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33043   Customer #123189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33044   Customer #123190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33045   Customer #123191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33046   Customer #123192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33047   Customer #123210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33048   Customer #123211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33049   Customer #123221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33050   Customer #123224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33051   Customer #123228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33052   Customer #123229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33053   Customer #123233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33054   Customer #123234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33055   Customer #123235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33056   Customer #123239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33057   Customer #123242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33058   Customer #123251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33059   Customer #123256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33060   Customer #123257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33061   Customer #123258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33062   Customer #123259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33063   Customer #123280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33064   Customer #123293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33065   Customer #123298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33066   Customer #123299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33067   Customer #123301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33068   Customer #123302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33069   Customer #123306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33070   Customer #123308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33071   Customer #123310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33072   Customer #123316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33073   Customer #123317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33074   Customer #123325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33075   Customer #123331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33076   Customer #123337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33077   Customer #123338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33078   Customer #123341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33079   Customer #123342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33080   Customer #123344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33081   Customer #123348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33082   Customer #123352                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33083   Customer #123356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33084   Customer #123358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33085   Customer #123359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33086   Customer #123360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33087   Customer #123363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33088   Customer #123365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33089   Customer #123369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33090   Customer #123376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33091   Customer #123380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33092   Customer #123391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33093   Customer #123393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33094   Customer #123398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33095   Customer #123400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33096   Customer #123408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33097   Customer #123410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33098   Customer #123411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33099   Customer #123417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33100   Customer #123418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33101   Customer #123420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33102   Customer #123421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33103   Customer #123432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33104   Customer #123433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33105   Customer #123439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33106   Customer #123448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33107   Customer #123449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33108   Customer #123450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33109   Customer #123457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33110   Customer #123461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33111   Customer #123462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33112   Customer #123470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33113   Customer #123471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33114   Customer #123475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33115   Customer #123476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33116   Customer #123478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33117   Customer #123481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33118   Customer #123488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33119   Customer #123490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33120   Customer #123492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33121   Customer #123495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33122   Customer #123497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33123   Customer #123499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33124   Customer #123500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33125   Customer #123501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33126   Customer #123504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33127   Customer #123516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33128   Customer #123523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33129   Customer #123525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33130   Customer #123526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33131   Customer #123527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33132   Customer #123531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33133   Customer #123533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33134   Customer #123541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33135   Customer #123550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33136   Customer #123551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33137   Customer #123555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33138   Customer #123561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33139   Customer #123568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33140   Customer #123572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33141   Customer #123575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33142   Customer #123577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33143   Customer #123599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33144   Customer #123606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33145   Customer #123607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33146   Customer #123610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33147   Customer #123612                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33148   Customer #123615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33149   Customer #123623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33150   Customer #123637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33151   Customer #123640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33152   Customer #123641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33153   Customer #123648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33154   Customer #123658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33155   Customer #123661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33156   Customer #123673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33157   Customer #123674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33158   Customer #123678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33159   Customer #123679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33160   Customer #123680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33161   Customer #123683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33162   Customer #123686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33163   Customer #123691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33164   Customer #123692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33165   Customer #123700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33166   Customer #123702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33167   Customer #123715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33168   Customer #123716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33169   Customer #123718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33170   Customer #123724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33171   Customer #123725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33172   Customer #123729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33173   Customer #123746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33174   Customer #123751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33175   Customer #123756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33176   Customer #123757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33177   Customer #123758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33178   Customer #123762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33179   Customer #123763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33180   Customer #123776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33181   Customer #123779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33182   Customer #123780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33183   Customer #123781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33184   Customer #123783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33185   Customer #123785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33186   Customer #123788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33187   Customer #123796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33188   Customer #123799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33189   Customer #123803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33190   Customer #123805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33191   Customer #123809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33192   Customer #123820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33193   Customer #123822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33194   Customer #123825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33195   Customer #123826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33196   Customer #123835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33197   Customer #123836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33198   Customer #123842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33199   Customer #123850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33200   Customer #123852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33201   Customer #123853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33202   Customer #123860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33203   Customer #123862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33204   Customer #123864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33205   Customer #123867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33206   Customer #123869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33207   Customer #123877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33208   Customer #123885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33209   Customer #123890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33210   Customer #123891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33211   Customer #123896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33212   Customer #123898                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33213   Customer #123910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33214   Customer #123911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33215   Customer #123912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33216   Customer #123916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33217   Customer #123918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33218   Customer #123919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33219   Customer #123921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33220   Customer #123933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33221   Customer #123961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33222   Customer #123969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33223   Customer #123970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33224   Customer #123977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33225   Customer #123980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33226   Customer #123993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33227   Customer #123995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33228   Customer #123998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33229   Customer #123999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33230   Customer #124002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33231   Customer #124006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33232   Customer #124009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33233   Customer #124018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33234   Customer #124026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33235   Customer #124029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33236   Customer #124030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33237   Customer #124035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33238   Customer #124038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33239   Customer #124039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33240   Customer #124042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33241   Customer #124043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33242   Customer #124048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33243   Customer #124049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33244   Customer #124056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33245   Customer #124057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33246   Customer #124059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33247   Customer #124100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33248   Customer #124112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33249   Customer #124117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33250   Customer #124119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33251   Customer #124121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33252   Customer #124122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33253   Customer #124125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33254   Customer #124126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33255   Customer #124135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33256   Customer #124137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33257   Customer #124162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33258   Customer #124165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33259   Customer #124176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33260   Customer #124178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33261   Customer #124192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33262   Customer #124197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33263   Customer #124212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33264   Customer #124217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33265   Customer #124218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33266   Customer #124220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33267   Customer #124223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33268   Customer #124224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33269   Customer #124230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33270   Customer #124237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33271   Customer #124239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33272   Customer #124242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33273   Customer #124247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33274   Customer #124248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33275   Customer #124254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33276   Customer #124257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33277   Customer #124272                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33278   Customer #124273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33279   Customer #124275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33280   Customer #124279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33281   Customer #124280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33282   Customer #124284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33283   Customer #124295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33284   Customer #124301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33285   Customer #124302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33286   Customer #124309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33287   Customer #124310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33288   Customer #124311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33289   Customer #124320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33290   Customer #124321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33291   Customer #124322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33292   Customer #124325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33293   Customer #124326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33294   Customer #124328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33295   Customer #124334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33296   Customer #124339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33297   Customer #124340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33298   Customer #124341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33299   Customer #124345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33300   Customer #124346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33301   Customer #124348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33302   Customer #124349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33303   Customer #124351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33304   Customer #124352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33305   Customer #124355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33306   Customer #124356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33307   Customer #124357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33308   Customer #124359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33309   Customer #124363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33310   Customer #124378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33311   Customer #124380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33312   Customer #124384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33313   Customer #124387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33314   Customer #124388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33315   Customer #124391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33316   Customer #124392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33317   Customer #124397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33318   Customer #124400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33319   Customer #124407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33320   Customer #124408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33321   Customer #124433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33322   Customer #124434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33323   Customer #124437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33324   Customer #124480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33325   Customer #124487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33326   Customer #124488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33327   Customer #124489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33328   Customer #124501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33329   Customer #124508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33330   Customer #124511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33331   Customer #124541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33332   Customer #124546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33333   Customer #124548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33334   Customer #124551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33335   Customer #124553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33336   Customer #124556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33337   Customer #124558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33338   Customer #124559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33339   Customer #124561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33340   Customer #124563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33341   Customer #124570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33342   Customer #124572                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33343   Customer #124578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33344   Customer #124579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33345   Customer #124581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33346   Customer #124582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33347   Customer #124588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33348   Customer #124589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33349   Customer #124593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33350   Customer #124594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33351   Customer #124596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33352   Customer #124597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33353   Customer #124598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33354   Customer #124600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33355   Customer #124601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33356   Customer #124608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33357   Customer #124609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33358   Customer #124612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33359   Customer #124615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33360   Customer #124616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33361   Customer #124620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33362   Customer #124621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33363   Customer #124623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33364   Customer #124626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33365   Customer #124628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33366   Customer #124631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33367   Customer #124642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33368   Customer #124642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33369   Customer #124650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33370   Customer #124661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33371   Customer #124668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33372   Customer #124669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33373   Customer #124671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33374   Customer #124673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33375   Customer #124675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33376   Customer #124678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33377   Customer #124679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33378   Customer #124680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33379   Customer #124683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33380   Customer #124687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33381   Customer #124694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33382   Customer #124696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33383   Customer #124702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33384   Customer #124711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33385   Customer #124723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33386   Customer #124724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33387   Customer #124725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33388   Customer #124727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33389   Customer #124735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33390   Customer #124737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33391   Customer #124739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33392   Customer #124740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33393   Customer #124755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33394   Customer #124764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33395   Customer #124766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33396   Customer #124770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33397   Customer #124777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33398   Customer #124783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33399   Customer #124785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33400   Customer #124792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33401   Customer #124794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33402   Customer #124797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33403   Customer #124806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33404   Customer #124818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33405   Customer #124820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33406   Customer #124822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33407   Customer #124830                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33408   Customer #124831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33409   Customer #124837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33410   Customer #124839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33411   Customer #124841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33412   Customer #124853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33413   Customer #124854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33414   Customer #124857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33415   Customer #124869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33416   Customer #124870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33417   Customer #124872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33418   Customer #124877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33419   Customer #124878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33420   Customer #124880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33421   Customer #124887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33422   Customer #124889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33423   Customer #124894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33424   Customer #124900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33425   Customer #124905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33426   Customer #124906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33427   Customer #124911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33428   Customer #124912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33429   Customer #124919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33430   Customer #124922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33431   Customer #124923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33432   Customer #124926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33433   Customer #124929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33434   Customer #124930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33435   Customer #124943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33436   Customer #124945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33437   Customer #124946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33438   Customer #124947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33439   Customer #124949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33440   Customer #124950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33441   Customer #124957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33442   Customer #124958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33443   Customer #124959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33444   Customer #124969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33445   Customer #124975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33446   Customer #124976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33447   Customer #124993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33448   Customer #124994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33449   Customer #125004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33450   Customer #125008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33451   Customer #125022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33452   Customer #125023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33453   Customer #125025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33454   Customer #125026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33455   Customer #125030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33456   Customer #125032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33457   Customer #125046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33458   Customer #125069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33459   Customer #125071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33460   Customer #125072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33461   Customer #125075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33462   Customer #125122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33463   Customer #125125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33464   Customer #125126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33465   Customer #125127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33466   Customer #125128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33467   Customer #125129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33468   Customer #125136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33469   Customer #125137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33470   Customer #125142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33471   Customer #125149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33472   Customer #125150                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33473   Customer #125156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33474   Customer #125179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33475   Customer #125184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33476   Customer #125185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33477   Customer #125187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33478   Customer #125192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33479   Customer #125198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33480   Customer #125200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33481   Customer #125202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33482   Customer #125214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33483   Customer #125219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33484   Customer #125220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33485   Customer #125221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33486   Customer #125226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33487   Customer #125228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33488   Customer #125235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33489   Customer #125238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33490   Customer #125240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33491   Customer #125241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33492   Customer #125245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33493   Customer #125247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33494   Customer #125251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33495   Customer #125253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33496   Customer #125256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33497   Customer #125259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33498   Customer #125263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33499   Customer #125264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33500   Customer #125269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33501   Customer #125274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33502   Customer #125280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33503   Customer #125281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33504   Customer #125284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33505   Customer #125288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33506   Customer #125290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33507   Customer #125294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33508   Customer #125295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33509   Customer #125296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33510   Customer #125297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33511   Customer #125299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33512   Customer #125301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33513   Customer #125302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33514   Customer #125303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33515   Customer #125306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33516   Customer #125315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33517   Customer #125319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33518   Customer #125321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33519   Customer #125325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33520   Customer #125329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33521   Customer #125332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33522   Customer #125334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33523   Customer #125339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33524   Customer #125351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33525   Customer #125360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33526   Customer #125362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33527   Customer #125363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33528   Customer #125365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33529   Customer #125371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33530   Customer #125374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33531   Customer #125376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33532   Customer #125377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33533   Customer #125378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33534   Customer #125383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33535   Customer #125392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33536   Customer #125394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33537   Customer #125399                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33538   Customer #125400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33539   Customer #125413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33540   Customer #125414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33541   Customer #125421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33542   Customer #125433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33543   Customer #125434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33544   Customer #125437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33545   Customer #125440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33546   Customer #125459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33547   Customer #125466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33548   Customer #125471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33549   Customer #125482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33550   Customer #125485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33551   Customer #125486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33552   Customer #125494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33553   Customer #125501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33554   Customer #125506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33555   Customer #125509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33556   Customer #125511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33557   Customer #125513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33558   Customer #125515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33559   Customer #125520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33560   Customer #125522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33561   Customer #125524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33562   Customer #125525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33563   Customer #125526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33564   Customer #125528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33565   Customer #125553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33566   Customer #125554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33567   Customer #125570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33568   Customer #125576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33569   Customer #125586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33570   Customer #125587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33571   Customer #125603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33572   Customer #125608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33573   Customer #125610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33574   Customer #125613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33575   Customer #125614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33576   Customer #125618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33577   Customer #125630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33578   Customer #125631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33579   Customer #125634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33580   Customer #125635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33581   Customer #125636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33582   Customer #125637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33583   Customer #125650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33584   Customer #125670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33585   Customer #125676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33586   Customer #125687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33587   Customer #125692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33588   Customer #125696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33589   Customer #125701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33590   Customer #125714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33591   Customer #125722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33592   Customer #125731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33593   Customer #125734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33594   Customer #125737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33595   Customer #125738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33596   Customer #125739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33597   Customer #125740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33598   Customer #125743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33599   Customer #125744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33600   Customer #125745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33601   Customer #125755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33602   Customer #125771                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33603   Customer #125780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33604   Customer #125782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33605   Customer #125786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33606   Customer #125794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33607   Customer #125810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33608   Customer #125811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33609   Customer #125818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33610   Customer #125821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33611   Customer #125827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33612   Customer #125832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33613   Customer #125835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33614   Customer #125839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33615   Customer #125843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33616   Customer #125849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33617   Customer #125867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33618   Customer #125876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33619   Customer #125882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33620   Customer #125884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33621   Customer #125892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33622   Customer #125893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33623   Customer #125902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33624   Customer #125910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33625   Customer #125914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33626   Customer #125920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33627   Customer #125930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33628   Customer #125931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33629   Customer #125932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33630   Customer #125933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33631   Customer #125934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33632   Customer #125936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33633   Customer #125940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33634   Customer #125948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33635   Customer #125949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33636   Customer #125953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33637   Customer #125956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33638   Customer #125963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33639   Customer #125969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33640   Customer #125970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33641   Customer #125983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33642   Customer #125986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33643   Customer #125987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33644   Customer #125988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33645   Customer #125989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33646   Customer #125992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33647   Customer #125993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33648   Customer #125997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33649   Customer #126001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33650   Customer #126005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33651   Customer #126006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33652   Customer #126012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33653   Customer #126016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33654   Customer #126018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33655   Customer #126030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33656   Customer #126034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33657   Customer #126035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33658   Customer #126038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33659   Customer #126040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33660   Customer #126041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33661   Customer #126044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33662   Customer #126048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33663   Customer #126049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33664   Customer #126054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33665   Customer #126056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33666   Customer #126072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33667   Customer #126075                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33668   Customer #126082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33669   Customer #126084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33670   Customer #126089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33671   Customer #126095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33672   Customer #126096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33673   Customer #126099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33674   Customer #126105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33675   Customer #126106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33676   Customer #126107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33677   Customer #126108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33678   Customer #126118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33679   Customer #126121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33680   Customer #126122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33681   Customer #126127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33682   Customer #126131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33683   Customer #126135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33684   Customer #126143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33685   Customer #126148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33686   Customer #126149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33687   Customer #126152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33688   Customer #126154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33689   Customer #126155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33690   Customer #126156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33691   Customer #126160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33692   Customer #126161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33693   Customer #126165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33694   Customer #126216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33695   Customer #126222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33696   Customer #126223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33697   Customer #126229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33698   Customer #126232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33699   Customer #126233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33700   Customer #126238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33701   Customer #126257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33702   Customer #126275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33703   Customer #126280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33704   Customer #126295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33705   Customer #126306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33706   Customer #126316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33707   Customer #126344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33708   Customer #126346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33709   Customer #126351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33710   Customer #126359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33711   Customer #126364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33712   Customer #126380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33713   Customer #126381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33714   Customer #126386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33715   Customer #126405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33716   Customer #126408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33717   Customer #126409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33718   Customer #126416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33719   Customer #126419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33720   Customer #126420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33721   Customer #126424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33722   Customer #126425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33723   Customer #126426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33724   Customer #126427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33725   Customer #126438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33726   Customer #126443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33727   Customer #126446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33728   Customer #126449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33729   Customer #126459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33730   Customer #126463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33731   Customer #126487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33732   Customer #126488                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33733   Customer #126493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33734   Customer #126494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33735   Customer #126503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33736   Customer #126520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33737   Customer #126522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33738   Customer #126523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33739   Customer #126542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33740   Customer #126547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33741   Customer #126548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33742   Customer #126550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33743   Customer #126568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33744   Customer #126613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33745   Customer #126622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33746   Customer #126630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33747   Customer #126633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33748   Customer #126634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33749   Customer #126646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33750   Customer #126648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33751   Customer #126650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33752   Customer #126652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33753   Customer #126653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33754   Customer #126659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33755   Customer #126665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33756   Customer #126670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33757   Customer #126679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33758   Customer #126679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33759   Customer #126689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33760   Customer #126690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33761   Customer #126697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33762   Customer #126710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33763   Customer #126712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33764   Customer #126715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33765   Customer #126720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33766   Customer #126733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33767   Customer #126734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33768   Customer #126736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33769   Customer #126749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33770   Customer #126761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33771   Customer #126762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33772   Customer #126802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33773   Customer #126804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33774   Customer #126805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33775   Customer #126808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33776   Customer #126810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33777   Customer #126815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33778   Customer #126820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33779   Customer #126851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33780   Customer #126853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33781   Customer #126864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33782   Customer #126865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33783   Customer #126867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33784   Customer #126870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33785   Customer #126873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33786   Customer #126875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33787   Customer #126879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33788   Customer #126888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33789   Customer #126891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33790   Customer #126892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33791   Customer #126893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33792   Customer #126897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33793   Customer #126898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33794   Customer #126899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33795   Customer #126904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33796   Customer #126906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33797   Customer #126931                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33798   Customer #126940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33799   Customer #126943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33800   Customer #126951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33801   Customer #126956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33802   Customer #126957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33803   Customer #126965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33804   Customer #126971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33805   Customer #126973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33806   Customer #126980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33807   Customer #126981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33808   Customer #126986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33809   Customer #126987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33810   Customer #126990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33811   Customer #126992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33812   Customer #126996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33813   Customer #127002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33814   Customer #127005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33815   Customer #127011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33816   Customer #127012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33817   Customer #127014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33818   Customer #127018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33819   Customer #127025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33820   Customer #127026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33821   Customer #127029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33822   Customer #127031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33823   Customer #127037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33824   Customer #127044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33825   Customer #127046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33826   Customer #127052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33827   Customer #127056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33828   Customer #127060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33829   Customer #127069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33830   Customer #127070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33831   Customer #127090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33832   Customer #127092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33833   Customer #127100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33834   Customer #127103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33835   Customer #127104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33836   Customer #127120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33837   Customer #127121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33838   Customer #127128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33839   Customer #127129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33840   Customer #127131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33841   Customer #127134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33842   Customer #127150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33843   Customer #127152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33844   Customer #127155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33845   Customer #127189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33846   Customer #127218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33847   Customer #127231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33848   Customer #127233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33849   Customer #127247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33850   Customer #127253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33851   Customer #127260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33852   Customer #127281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33853   Customer #127284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33854   Customer #127310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33855   Customer #127312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33856   Customer #127322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33857   Customer #127328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33858   Customer #127329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33859   Customer #127342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33860   Customer #127346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33861   Customer #127348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33862   Customer #127349                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33863   Customer #127357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33864   Customer #127363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33865   Customer #127364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33866   Customer #127375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33867   Customer #127377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33868   Customer #127378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33869   Customer #127383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33870   Customer #127397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33871   Customer #127398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33872   Customer #127402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33873   Customer #127403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33874   Customer #127408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33875   Customer #127416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33876   Customer #127426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33877   Customer #127427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33878   Customer #127431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33879   Customer #127436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33880   Customer #127437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33881   Customer #127440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33882   Customer #127443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33883   Customer #127449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33884   Customer #127450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33885   Customer #127455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33886   Customer #127456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33887   Customer #127457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33888   Customer #127458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33889   Customer #127467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33890   Customer #127472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33891   Customer #127474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33892   Customer #127479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33893   Customer #127484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33894   Customer #127488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33895   Customer #127491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33896   Customer #127495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33897   Customer #127497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33898   Customer #127503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33899   Customer #127506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33900   Customer #127509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33901   Customer #127516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33902   Customer #127517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33903   Customer #127520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33904   Customer #127522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33905   Customer #127523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33906   Customer #127528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33907   Customer #127530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33908   Customer #127532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33909   Customer #127533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33910   Customer #127537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33911   Customer #127543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33912   Customer #127544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33913   Customer #127551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33914   Customer #127556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33915   Customer #127567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33916   Customer #127572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33917   Customer #127573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33918   Customer #127592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33919   Customer #127596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33920   Customer #127600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33921   Customer #127603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33922   Customer #127604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33923   Customer #127609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33924   Customer #127613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33925   Customer #127626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33926   Customer #127628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33927   Customer #127629                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33928   Customer #127630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33929   Customer #127631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33930   Customer #127633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33931   Customer #127634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33932   Customer #127637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33933   Customer #127637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33934   Customer #127640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33935   Customer #127644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33936   Customer #127650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33937   Customer #127653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33938   Customer #127659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33939   Customer #127663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33940   Customer #127670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33941   Customer #127673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33942   Customer #127677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33943   Customer #127701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33944   Customer #127707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33945   Customer #127709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33946   Customer #127712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33947   Customer #127713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33948   Customer #127714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33949   Customer #127715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33950   Customer #127718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33951   Customer #127723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33952   Customer #127725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33953   Customer #127726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33954   Customer #127730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33955   Customer #127731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33956   Customer #127739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33957   Customer #127740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33958   Customer #127747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33959   Customer #127750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33960   Customer #127759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33961   Customer #127790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33962   Customer #127791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33963   Customer #127792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33964   Customer #127793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33965   Customer #127798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33966   Customer #127800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33967   Customer #127801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33968   Customer #127802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33969   Customer #127803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33970   Customer #127805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33971   Customer #127812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33972   Customer #127815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33973   Customer #127818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33974   Customer #127819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33975   Customer #127829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33976   Customer #127831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33977   Customer #127831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33978   Customer #127831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33979   Customer #127840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33980   Customer #127842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33981   Customer #127846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33982   Customer #127848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33983   Customer #127869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33984   Customer #127871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33985   Customer #127872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33986   Customer #127873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33987   Customer #127877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33988   Customer #127879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33989   Customer #127881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33990   Customer #127893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33991   Customer #127906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33992   Customer #127928                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.33993   Customer #127928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33994   Customer #127930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33995   Customer #127931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33996   Customer #127933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33997   Customer #127938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33998   Customer #127940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.33999   Customer #127948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34000   Customer #127959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34001   Customer #127960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34002   Customer #127962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34003   Customer #127967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34004   Customer #127968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34005   Customer #127969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34006   Customer #127976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34007   Customer #127980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34008   Customer #127982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34009   Customer #127988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34010   Customer #127994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34011   Customer #128000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34012   Customer #128005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34013   Customer #128010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34014   Customer #128012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34015   Customer #128013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34016   Customer #128015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34017   Customer #128047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34018   Customer #128052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34019   Customer #128054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34020   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34021   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34022   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34023   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34024   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34025   Customer #128071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34026   Customer #128086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34027   Customer #128089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34028   Customer #128094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34029   Customer #128099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34030   Customer #128100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34031   Customer #128101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34032   Customer #128105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34033   Customer #128106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34034   Customer #128116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34035   Customer #128125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34036   Customer #128128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34037   Customer #128129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34038   Customer #128131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34039   Customer #128133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34040   Customer #128135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34041   Customer #128138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34042   Customer #128139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34043   Customer #128143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34044   Customer #128145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34045   Customer #128150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34046   Customer #128152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34047   Customer #128154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34048   Customer #128162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34049   Customer #128175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34050   Customer #128178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34051   Customer #128181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34052   Customer #128189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34053   Customer #128195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34054   Customer #128199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34055   Customer #128205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34056   Customer #128207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34057   Customer #128208                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34058   Customer #128212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34059   Customer #128213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34060   Customer #128221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34061   Customer #128222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34062   Customer #128230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34063   Customer #128231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34064   Customer #128234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34065   Customer #128240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34066   Customer #128247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34067   Customer #128248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34068   Customer #128249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34069   Customer #128250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34070   Customer #128257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34071   Customer #128260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34072   Customer #128261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34073   Customer #128263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34074   Customer #128266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34075   Customer #128268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34076   Customer #128274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34077   Customer #128279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34078   Customer #128280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34079   Customer #128306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34080   Customer #128308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34081   Customer #128310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34082   Customer #128311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34083   Customer #128312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34084   Customer #128315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34085   Customer #128318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34086   Customer #128325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34087   Customer #128327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34088   Customer #128329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34089   Customer #128335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34090   Customer #128337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34091   Customer #128347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34092   Customer #128350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34093   Customer #128354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34094   Customer #128355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34095   Customer #128357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34096   Customer #128360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34097   Customer #128362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34098   Customer #128363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34099   Customer #128364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34100   Customer #128369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34101   Customer #128375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34102   Customer #128376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34103   Customer #128385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34104   Customer #128387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34105   Customer #128390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34106   Customer #128393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34107   Customer #128395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34108   Customer #128400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34109   Customer #128404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34110   Customer #128407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34111   Customer #128408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34112   Customer #128409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34113   Customer #128414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34114   Customer #128416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34115   Customer #128420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34116   Customer #128424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34117   Customer #128426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34118   Customer #128430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34119   Customer #128436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34120   Customer #128440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34121   Customer #128442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34122   Customer #128447                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34123   Customer #128453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34124   Customer #128462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34125   Customer #128463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34126   Customer #128470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34127   Customer #128473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34128   Customer #128474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34129   Customer #128490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34130   Customer #128492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34131   Customer #128495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34132   Customer #128496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34133   Customer #128498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34134   Customer #128503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34135   Customer #128509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34136   Customer #128511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34137   Customer #128524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34138   Customer #128529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34139   Customer #128530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34140   Customer #128533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34141   Customer #128533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34142   Customer #128547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34143   Customer #128552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34144   Customer #128577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34145   Customer #128578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34146   Customer #128582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34147   Customer #128584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34148   Customer #128591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34149   Customer #128593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34150   Customer #128601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34151   Customer #128603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34152   Customer #128614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34153   Customer #128619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34154   Customer #128629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34155   Customer #128632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34156   Customer #128633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34157   Customer #128643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34158   Customer #128646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34159   Customer #128647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34160   Customer #128670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34161   Customer #128673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34162   Customer #128676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34163   Customer #128679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34164   Customer #128683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34165   Customer #128698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34166   Customer #128700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34167   Customer #128710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34168   Customer #128716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34169   Customer #128718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34170   Customer #128722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34171   Customer #128731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34172   Customer #128742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34173   Customer #128745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34174   Customer #128756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34175   Customer #128777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34176   Customer #128779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34177   Customer #128783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34178   Customer #128786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34179   Customer #128795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34180   Customer #128796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34181   Customer #128803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34182   Customer #128804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34183   Customer #128805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34184   Customer #128806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34185   Customer #128808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34186   Customer #128812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34187   Customer #128814                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34188   Customer #128816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34189   Customer #128825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34190   Customer #128826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34191   Customer #128827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34192   Customer #128829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34193   Customer #128832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34194   Customer #128848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34195   Customer #128849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34196   Customer #128850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34197   Customer #128914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34198   Customer #128915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34199   Customer #128918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34200   Customer #128920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34201   Customer #128922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34202   Customer #128925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34203   Customer #128928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34204   Customer #128929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34205   Customer #128931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34206   Customer #128939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34207   Customer #128940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34208   Customer #128942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34209   Customer #128945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34210   Customer #128946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34211   Customer #128948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34212   Customer #128952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34213   Customer #128953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34214   Customer #128975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34215   Customer #128980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34216   Customer #128985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34217   Customer #128996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34218   Customer #129002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34219   Customer #129008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34220   Customer #129012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34221   Customer #129015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34222   Customer #129017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34223   Customer #129018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34224   Customer #129021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34225   Customer #129022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34226   Customer #129023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34227   Customer #129032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34228   Customer #129035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34229   Customer #129036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34230   Customer #129037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34231   Customer #129042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34232   Customer #129051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34233   Customer #129057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34234   Customer #129064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34235   Customer #129066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34236   Customer #129067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34237   Customer #129080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34238   Customer #129082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34239   Customer #129088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34240   Customer #129097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34241   Customer #129106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34242   Customer #129109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34243   Customer #129110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34244   Customer #129111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34245   Customer #129120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34246   Customer #129122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34247   Customer #129131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34248   Customer #129141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34249   Customer #129145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34250   Customer #129148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34251   Customer #129153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34252   Customer #129157                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34253   Customer #129171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34254   Customer #129172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34255   Customer #129173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34256   Customer #129181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34257   Customer #129182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34258   Customer #129184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34259   Customer #129188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34260   Customer #129189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34261   Customer #129206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34262   Customer #129208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34263   Customer #129210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34264   Customer #129212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34265   Customer #129213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34266   Customer #129217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34267   Customer #129221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34268   Customer #129222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34269   Customer #129223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34270   Customer #129224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34271   Customer #129236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34272   Customer #129246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34273   Customer #129252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34274   Customer #129258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34275   Customer #129263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34276   Customer #129264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34277   Customer #129275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34278   Customer #129276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34279   Customer #129277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34280   Customer #129278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34281   Customer #129287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34282   Customer #129308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34283   Customer #129321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34284   Customer #129322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34285   Customer #129325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34286   Customer #129325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34287   Customer #129325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34288   Customer #129327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34289   Customer #129328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34290   Customer #129341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34291   Customer #129351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34292   Customer #129357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34293   Customer #129361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34294   Customer #129372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34295   Customer #129373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34296   Customer #129375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34297   Customer #129382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34298   Customer #129384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34299   Customer #129386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34300   Customer #129388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34301   Customer #129408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34302   Customer #129409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34303   Customer #129413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34304   Customer #129418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34305   Customer #129420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34306   Customer #129421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34307   Customer #129422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34308   Customer #129424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34309   Customer #129428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34310   Customer #129432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34311   Customer #129435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34312   Customer #129440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34313   Customer #129444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34314   Customer #129445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34315   Customer #129450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34316   Customer #129453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34317   Customer #129456                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34318   Customer #129459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34319   Customer #129460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34320   Customer #129468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34321   Customer #129483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34322   Customer #129484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34323   Customer #129485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34324   Customer #129487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34325   Customer #129489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34326   Customer #129495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34327   Customer #129496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34328   Customer #129500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34329   Customer #129502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34330   Customer #129503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34331   Customer #129504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34332   Customer #129506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34333   Customer #129514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34334   Customer #129517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34335   Customer #129519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34336   Customer #129520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34337   Customer #129532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34338   Customer #129535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34339   Customer #129537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34340   Customer #129539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34341   Customer #129547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34342   Customer #129555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34343   Customer #129565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34344   Customer #129566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34345   Customer #129567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34346   Customer #129568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34347   Customer #129570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34348   Customer #129572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34349   Customer #129583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34350   Customer #129605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34351   Customer #129606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34352   Customer #129627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34353   Customer #129631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34354   Customer #129640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34355   Customer #129654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34356   Customer #129658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34357   Customer #129662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34358   Customer #129669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34359   Customer #129682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34360   Customer #129713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34361   Customer #129715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34362   Customer #129717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34363   Customer #129720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34364   Customer #129721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34365   Customer #129731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34366   Customer #129754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34367   Customer #129756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34368   Customer #129760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34369   Customer #129766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34370   Customer #129784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34371   Customer #129785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34372   Customer #129792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34373   Customer #129796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34374   Customer #129797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34375   Customer #129811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34376   Customer #129819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34377   Customer #129824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34378   Customer #129825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34379   Customer #129828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34380   Customer #129830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34381   Customer #129831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34382   Customer #129832                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34383   Customer #129833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34384   Customer #129837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34385   Customer #129839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34386   Customer #129840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34387   Customer #129844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34388   Customer #129848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34389   Customer #129854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34390   Customer #129857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34391   Customer #129858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34392   Customer #129859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34393   Customer #129877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34394   Customer #129881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34395   Customer #129883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34396   Customer #129884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34397   Customer #129885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34398   Customer #129894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34399   Customer #129897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34400   Customer #129900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34401   Customer #129901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34402   Customer #129908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34403   Customer #129915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34404   Customer #129927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34405   Customer #129932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34406   Customer #129936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34407   Customer #129941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34408   Customer #129943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34409   Customer #129946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34410   Customer #129947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34411   Customer #129949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34412   Customer #129950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34413   Customer #129951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34414   Customer #129964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34415   Customer #129965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34416   Customer #129967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34417   Customer #129975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34418   Customer #129983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34419   Customer #129984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34420   Customer #129989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34421   Customer #129990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34422   Customer #129991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34423   Customer #129994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34424   Customer #129997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34425   Customer #130015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34426   Customer #130020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34427   Customer #130023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34428   Customer #130029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34429   Customer #130030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34430   Customer #130032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34431   Customer #130034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34432   Customer #130038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34433   Customer #130041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34434   Customer #130042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34435   Customer #130050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34436   Customer #130051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34437   Customer #130052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34438   Customer #130057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34439   Customer #130058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34440   Customer #130059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34441   Customer #130061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34442   Customer #130062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34443   Customer #130063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34444   Customer #130064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34445   Customer #130067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34446   Customer #130068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34447   Customer #130071                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34448   Customer #130075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34449   Customer #130082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34450   Customer #130084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34451   Customer #130085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34452   Customer #130086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34453   Customer #130091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34454   Customer #130092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34455   Customer #130099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34456   Customer #130101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34457   Customer #130104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34458   Customer #130105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34459   Customer #130116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34460   Customer #130119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34461   Customer #130125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34462   Customer #130127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34463   Customer #130138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34464   Customer #130139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34465   Customer #130144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34466   Customer #130146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34467   Customer #130148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34468   Customer #130153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34469   Customer #130155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34470   Customer #130156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34471   Customer #130159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34472   Customer #130160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34473   Customer #130161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34474   Customer #130173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34475   Customer #130174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34476   Customer #130182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34477   Customer #130185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34478   Customer #130186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34479   Customer #130187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34480   Customer #130188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34481   Customer #130191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34482   Customer #130204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34483   Customer #130209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34484   Customer #130232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34485   Customer #130252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34486   Customer #130254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34487   Customer #130259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34488   Customer #130273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34489   Customer #130286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34490   Customer #130288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34491   Customer #130313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34492   Customer #130314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34493   Customer #130317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34494   Customer #130325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34495   Customer #130335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34496   Customer #130338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34497   Customer #130345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34498   Customer #130352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34499   Customer #130369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34500   Customer #130371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34501   Customer #130373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34502   Customer #130374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34503   Customer #130378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34504   Customer #130379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34505   Customer #130383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34506   Customer #130383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34507   Customer #130386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34508   Customer #130403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34509   Customer #130408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34510   Customer #130412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34511   Customer #130414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34512   Customer #130416                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34513   Customer #130422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34514   Customer #130437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34515   Customer #130438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34516   Customer #130441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34517   Customer #130448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34518   Customer #130450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34519   Customer #130451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34520   Customer #130455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34521   Customer #130458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34522   Customer #130459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34523   Customer #130462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34524   Customer #130478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34525   Customer #130481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34526   Customer #130484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34527   Customer #130493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34528   Customer #130495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34529   Customer #130497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34530   Customer #130498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34531   Customer #130500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34532   Customer #130504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34533   Customer #130505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34534   Customer #130508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34535   Customer #130514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34536   Customer #130516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34537   Customer #130550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34538   Customer #130551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34539   Customer #130561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34540   Customer #130568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34541   Customer #130585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34542   Customer #130595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34543   Customer #130600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34544   Customer #130615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34545   Customer #130616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34546   Customer #130621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34547   Customer #130627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34548   Customer #130634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34549   Customer #130636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34550   Customer #130646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34551   Customer #130649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34552   Customer #130668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34553   Customer #130669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34554   Customer #130673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34555   Customer #130679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34556   Customer #130682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34557   Customer #130688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34558   Customer #130697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34559   Customer #130698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34560   Customer #130699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34561   Customer #130706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34562   Customer #130710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34563   Customer #130717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34564   Customer #130720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34565   Customer #130728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34566   Customer #130731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34567   Customer #130731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34568   Customer #130734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34569   Customer #130736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34570   Customer #130738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34571   Customer #130739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34572   Customer #130741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34573   Customer #130746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34574   Customer #130748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34575   Customer #130751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34576   Customer #130755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34577   Customer #130760                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34578   Customer #130763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34579   Customer #130764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34580   Customer #130768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34581   Customer #130769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34582   Customer #130772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34583   Customer #130775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34584   Customer #130776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34585   Customer #130784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34586   Customer #130788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34587   Customer #130810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34588   Customer #130812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34589   Customer #130815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34590   Customer #130821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34591   Customer #130825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34592   Customer #130832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34593   Customer #130836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34594   Customer #130843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34595   Customer #130846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34596   Customer #130847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34597   Customer #130857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34598   Customer #130859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34599   Customer #130871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34600   Customer #130873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34601   Customer #130876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34602   Customer #130878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34603   Customer #130883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34604   Customer #130891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34605   Customer #130894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34606   Customer #130895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34607   Customer #130903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34608   Customer #130923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34609   Customer #130933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34610   Customer #130934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34611   Customer #130936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34612   Customer #130937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34613   Customer #130939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34614   Customer #130940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34615   Customer #130947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34616   Customer #130955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34617   Customer #130969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34618   Customer #130974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34619   Customer #130975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34620   Customer #130977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34621   Customer #130979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34622   Customer #130989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34623   Customer #130995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34624   Customer #130997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34625   Customer #131000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34626   Customer #131006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34627   Customer #131010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34628   Customer #131014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34629   Customer #131017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34630   Customer #131019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34631   Customer #131020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34632   Customer #131022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34633   Customer #131029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34634   Customer #131033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34635   Customer #131043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34636   Customer #131048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34637   Customer #131054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34638   Customer #131055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34639   Customer #131056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34640   Customer #131060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34641   Customer #131065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34642   Customer #131068                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34643   Customer #131089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34644   Customer #131091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34645   Customer #131093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34646   Customer #131097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34647   Customer #131100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34648   Customer #131102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34649   Customer #131121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34650   Customer #131132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34651   Customer #131135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34652   Customer #131137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34653   Customer #131139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34654   Customer #131141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34655   Customer #131147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34656   Customer #131154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34657   Customer #131165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34658   Customer #131178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34659   Customer #131180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34660   Customer #131181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34661   Customer #131191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34662   Customer #131192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34663   Customer #131193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34664   Customer #131197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34665   Customer #131203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34666   Customer #131204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34667   Customer #131206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34668   Customer #131208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34669   Customer #131217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34670   Customer #131221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34671   Customer #131224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34672   Customer #131227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34673   Customer #131237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34674   Customer #131242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34675   Customer #131246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34676   Customer #131247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34677   Customer #131249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34678   Customer #131251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34679   Customer #131252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34680   Customer #131256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34681   Customer #131266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34682   Customer #131279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34683   Customer #131289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34684   Customer #131293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34685   Customer #131296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34686   Customer #131297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34687   Customer #131301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34688   Customer #131302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34689   Customer #131306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34690   Customer #131307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34691   Customer #131309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34692   Customer #131312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34693   Customer #131324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34694   Customer #131332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34695   Customer #131338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34696   Customer #131341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34697   Customer #131370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34698   Customer #131371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34699   Customer #131387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34700   Customer #131390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34701   Customer #131396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34702   Customer #131398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34703   Customer #131400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34704   Customer #131401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34705   Customer #131403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34706   Customer #131407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34707   Customer #131409                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34708   Customer #131419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34709   Customer #131422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34710   Customer #131428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34711   Customer #131434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34712   Customer #131436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34713   Customer #131448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34714   Customer #131466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34715   Customer #131473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34716   Customer #131478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34717   Customer #131480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34718   Customer #131482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34719   Customer #131489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34720   Customer #131496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34721   Customer #131497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34722   Customer #131506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34723   Customer #131514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34724   Customer #131517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34725   Customer #131521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34726   Customer #131526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34727   Customer #131528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34728   Customer #131530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34729   Customer #131544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34730   Customer #131552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34731   Customer #131554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34732   Customer #131558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34733   Customer #131560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34734   Customer #131562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34735   Customer #131565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34736   Customer #131566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34737   Customer #131568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34738   Customer #131570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34739   Customer #131572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34740   Customer #131574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34741   Customer #131582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34742   Customer #131598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34743   Customer #131599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34744   Customer #131609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34745   Customer #131617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34746   Customer #131627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34747   Customer #131636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34748   Customer #131639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34749   Customer #131641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34750   Customer #131642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34751   Customer #131666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34752   Customer #131673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34753   Customer #131677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34754   Customer #131694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34755   Customer #131696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34756   Customer #131707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34757   Customer #131711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34758   Customer #131717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34759   Customer #131722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34760   Customer #131722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34761   Customer #131738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34762   Customer #131739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34763   Customer #131742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34764   Customer #131744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34765   Customer #131746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34766   Customer #131747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34767   Customer #131765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34768   Customer #131769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34769   Customer #131773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34770   Customer #131775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34771   Customer #131776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34772   Customer #131777                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34773   Customer #131778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34774   Customer #131780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34775   Customer #131781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34776   Customer #131785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34777   Customer #131787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34778   Customer #131791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34779   Customer #131792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34780   Customer #131794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34781   Customer #131799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34782   Customer #131802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34783   Customer #131810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34784   Customer #131812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34785   Customer #131815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34786   Customer #131817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34787   Customer #131819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34788   Customer #131820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34789   Customer #131828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34790   Customer #131830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34791   Customer #131831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34792   Customer #131832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34793   Customer #131852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34794   Customer #131854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34795   Customer #131855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34796   Customer #131868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34797   Customer #131869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34798   Customer #131914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34799   Customer #131921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34800   Customer #131922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34801   Customer #131928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34802   Customer #131929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34803   Customer #131930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34804   Customer #131936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34805   Customer #131952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34806   Customer #131958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34807   Customer #131960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34808   Customer #131963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34809   Customer #131964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34810   Customer #131967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34811   Customer #131974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34812   Customer #131979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34813   Customer #131982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34814   Customer #131989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34815   Customer #131990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34816   Customer #131994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34817   Customer #132002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34818   Customer #132003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34819   Customer #132012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34820   Customer #132014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34821   Customer #132016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34822   Customer #132017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34823   Customer #132023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34824   Customer #132024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34825   Customer #132026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34826   Customer #132037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34827   Customer #132038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34828   Customer #132051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34829   Customer #132053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34830   Customer #132057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34831   Customer #132059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34832   Customer #132060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34833   Customer #132061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34834   Customer #132072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34835   Customer #132074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34836   Customer #132081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34837   Customer #132084                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34838   Customer #132091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34839   Customer #132096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34840   Customer #132099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34841   Customer #132102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34842   Customer #132104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34843   Customer #132105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34844   Customer #132109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34845   Customer #132111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34846   Customer #132113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34847   Customer #132115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34848   Customer #132116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34849   Customer #132118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34850   Customer #132149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34851   Customer #132161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34852   Customer #132177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34853   Customer #132178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34854   Customer #132179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34855   Customer #132180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34856   Customer #132184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34857   Customer #132185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34858   Customer #132189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34859   Customer #132190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34860   Customer #132191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34861   Customer #132198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34862   Customer #132202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34863   Customer #132204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34864   Customer #132205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34865   Customer #132209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34866   Customer #132210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34867   Customer #132214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34868   Customer #132216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34869   Customer #132222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34870   Customer #132223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34871   Customer #132224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34872   Customer #132230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34873   Customer #132231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34874   Customer #132241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34875   Customer #132243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34876   Customer #132247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34877   Customer #132248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34878   Customer #132254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34879   Customer #132256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34880   Customer #132265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34881   Customer #132268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34882   Customer #132275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34883   Customer #132278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34884   Customer #132280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34885   Customer #132282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34886   Customer #132283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34887   Customer #132285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34888   Customer #132286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34889   Customer #132287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34890   Customer #132289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34891   Customer #132290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34892   Customer #132291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34893   Customer #132294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34894   Customer #132298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34895   Customer #132299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34896   Customer #132304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34897   Customer #132307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34898   Customer #132311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34899   Customer #132313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34900   Customer #132321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34901   Customer #132323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34902   Customer #132326                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34903   Customer #132327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34904   Customer #132331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34905   Customer #132343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34906   Customer #132349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34907   Customer #132352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34908   Customer #132355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34909   Customer #132358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34910   Customer #132360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34911   Customer #132381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34912   Customer #132384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34913   Customer #132387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34914   Customer #132389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34915   Customer #132390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34916   Customer #132391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34917   Customer #132407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34918   Customer #132409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34919   Customer #132412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34920   Customer #132434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34921   Customer #132436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34922   Customer #132438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34923   Customer #132439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34924   Customer #132450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34925   Customer #132451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34926   Customer #132457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34927   Customer #132459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34928   Customer #132496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34929   Customer #132497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34930   Customer #132501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34931   Customer #132506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34932   Customer #132510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34933   Customer #132513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34934   Customer #132517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34935   Customer #132520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34936   Customer #132523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34937   Customer #132537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34938   Customer #132562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34939   Customer #132573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34940   Customer #132576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34941   Customer #132582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34942   Customer #132588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34943   Customer #132592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34944   Customer #132593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34945   Customer #132618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34946   Customer #132627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34947   Customer #132637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34948   Customer #132640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34949   Customer #132643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34950   Customer #132645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34951   Customer #132650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34952   Customer #132657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34953   Customer #132659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34954   Customer #132664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34955   Customer #132667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34956   Customer #132675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34957   Customer #132686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34958   Customer #132687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34959   Customer #132689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34960   Customer #132696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34961   Customer #132697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34962   Customer #132702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34963   Customer #132703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34964   Customer #132709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34965   Customer #132711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34966   Customer #132734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34967   Customer #132740                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.34968   Customer #132747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34969   Customer #132748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34970   Customer #132754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34971   Customer #132757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34972   Customer #132758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34973   Customer #132760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34974   Customer #132761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34975   Customer #132763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34976   Customer #132764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34977   Customer #132765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34978   Customer #132768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34979   Customer #132774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34980   Customer #132779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34981   Customer #132787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34982   Customer #132788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34983   Customer #132798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34984   Customer #132804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34985   Customer #132823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34986   Customer #132827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34987   Customer #132830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34988   Customer #132832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34989   Customer #132846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34990   Customer #132853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34991   Customer #132862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34992   Customer #132864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34993   Customer #132865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34994   Customer #132867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34995   Customer #132872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34996   Customer #132878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34997   Customer #132880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34998   Customer #132887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.34999   Customer #132888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35000   Customer #132894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35001   Customer #132908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35002   Customer #132909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35003   Customer #132912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35004   Customer #132913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35005   Customer #132915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35006   Customer #132920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35007   Customer #132922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35008   Customer #132925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35009   Customer #132932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35010   Customer #132937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35011   Customer #132939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35012   Customer #132940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35013   Customer #132941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35014   Customer #132943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35015   Customer #132947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35016   Customer #132950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35017   Customer #132952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35018   Customer #132954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35019   Customer #132955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35020   Customer #132956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35021   Customer #132959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35022   Customer #132975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35023   Customer #132976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35024   Customer #132980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35025   Customer #132981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35026   Customer #133019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35027   Customer #133019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35028   Customer #133019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35029   Customer #133019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35030   Customer #133031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35031   Customer #133033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35032   Customer #133034                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35033   Customer #133035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35034   Customer #133037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35035   Customer #133045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35036   Customer #133046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35037   Customer #133047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35038   Customer #133048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35039   Customer #133049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35040   Customer #133050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35041   Customer #133051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35042   Customer #133052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35043   Customer #133064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35044   Customer #133075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35045   Customer #133092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35046   Customer #133097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35047   Customer #133097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35048   Customer #133104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35049   Customer #133105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35050   Customer #133126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35051   Customer #133134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35052   Customer #133137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35053   Customer #133138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35054   Customer #133140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35055   Customer #133146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35056   Customer #133147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35057   Customer #133148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35058   Customer #133157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35059   Customer #133161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35060   Customer #133166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35061   Customer #133171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35062   Customer #133174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35063   Customer #133175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35064   Customer #133178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35065   Customer #133179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35066   Customer #133183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35067   Customer #133184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35068   Customer #133186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35069   Customer #133187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35070   Customer #133189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35071   Customer #133190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35072   Customer #133193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35073   Customer #133194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35074   Customer #133200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35075   Customer #133203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35076   Customer #133206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35077   Customer #133211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35078   Customer #133212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35079   Customer #133215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35080   Customer #133218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35081   Customer #133221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35082   Customer #133225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35083   Customer #133228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35084   Customer #133229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35085   Customer #133234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35086   Customer #133238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35087   Customer #133239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35088   Customer #133241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35089   Customer #133242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35090   Customer #133243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35091   Customer #133244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35092   Customer #133248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35093   Customer #133251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35094   Customer #133253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35095   Customer #133267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35096   Customer #133269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35097   Customer #133270                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35098   Customer #133271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35099   Customer #133273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35100   Customer #133274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35101   Customer #133276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35102   Customer #133280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35103   Customer #133285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35104   Customer #133286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35105   Customer #133288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35106   Customer #133289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35107   Customer #133290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35108   Customer #133291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35109   Customer #133294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35110   Customer #133295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35111   Customer #133298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35112   Customer #133300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35113   Customer #133310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35114   Customer #133313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35115   Customer #133317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35116   Customer #133327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35117   Customer #133328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35118   Customer #133329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35119   Customer #133331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35120   Customer #133332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35121   Customer #133333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35122   Customer #133346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35123   Customer #133348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35124   Customer #133352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35125   Customer #133366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35126   Customer #133367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35127   Customer #133379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35128   Customer #133386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35129   Customer #133390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35130   Customer #133395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35131   Customer #133397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35132   Customer #133400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35133   Customer #133409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35134   Customer #133410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35135   Customer #133411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35136   Customer #133412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35137   Customer #133415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35138   Customer #133426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35139   Customer #133432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35140   Customer #133433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35141   Customer #133435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35142   Customer #133442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35143   Customer #133443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35144   Customer #133446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35145   Customer #133447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35146   Customer #133450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35147   Customer #133455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35148   Customer #133457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35149   Customer #133477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35150   Customer #133483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35151   Customer #133484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35152   Customer #133485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35153   Customer #133494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35154   Customer #133497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35155   Customer #133498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35156   Customer #133499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35157   Customer #133500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35158   Customer #133503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35159   Customer #133514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35160   Customer #133524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35161   Customer #133527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35162   Customer #133536                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35163   Customer #133537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35164   Customer #133540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35165   Customer #133541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35166   Customer #133542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35167   Customer #133546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35168   Customer #133554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35169   Customer #133555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35170   Customer #133556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35171   Customer #133565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35172   Customer #133574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35173   Customer #133580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35174   Customer #133586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35175   Customer #133588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35176   Customer #133604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35177   Customer #133605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35178   Customer #133611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35179   Customer #133620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35180   Customer #133622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35181   Customer #133623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35182   Customer #133633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35183   Customer #133635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35184   Customer #133636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35185   Customer #133641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35186   Customer #133642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35187   Customer #133643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35188   Customer #133646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35189   Customer #133649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35190   Customer #133651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35191   Customer #133656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35192   Customer #133657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35193   Customer #133659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35194   Customer #133662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35195   Customer #133677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35196   Customer #133686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35197   Customer #133703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35198   Customer #133705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35199   Customer #133706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35200   Customer #133709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35201   Customer #133712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35202   Customer #133715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35203   Customer #133721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35204   Customer #133726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35205   Customer #133728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35206   Customer #133729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35207   Customer #133730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35208   Customer #133734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35209   Customer #133737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35210   Customer #133738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35211   Customer #133740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35212   Customer #133741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35213   Customer #133744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35214   Customer #133746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35215   Customer #133747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35216   Customer #133749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35217   Customer #133750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35218   Customer #133764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35219   Customer #133765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35220   Customer #133773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35221   Customer #133776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35222   Customer #133785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35223   Customer #133791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35224   Customer #133794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35225   Customer #133795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35226   Customer #133796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35227   Customer #133798                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35228   Customer #133802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35229   Customer #133805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35230   Customer #133825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35231   Customer #133836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35232   Customer #133837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35233   Customer #133838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35234   Customer #133839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35235   Customer #133840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35236   Customer #133844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35237   Customer #133846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35238   Customer #133847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35239   Customer #133849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35240   Customer #133850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35241   Customer #133851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35242   Customer #133856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35243   Customer #133857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35244   Customer #133860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35245   Customer #133861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35246   Customer #133862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35247   Customer #133869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35248   Customer #133872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35249   Customer #133876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35250   Customer #133882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35251   Customer #133886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35252   Customer #133889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35253   Customer #133892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35254   Customer #133894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35255   Customer #133897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35256   Customer #133899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35257   Customer #133904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35258   Customer #133908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35259   Customer #133922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35260   Customer #133938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35261   Customer #133946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35262   Customer #133947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35263   Customer #133950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35264   Customer #133951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35265   Customer #133955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35266   Customer #133956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35267   Customer #133957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35268   Customer #133961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35269   Customer #133964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35270   Customer #133967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35271   Customer #133983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35272   Customer #133990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35273   Customer #133992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35274   Customer #133999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35275   Customer #134000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35276   Customer #134006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35277   Customer #134007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35278   Customer #134009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35279   Customer #134012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35280   Customer #134015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35281   Customer #134038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35282   Customer #134042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35283   Customer #134043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35284   Customer #134058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35285   Customer #134079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35286   Customer #134081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35287   Customer #134082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35288   Customer #134084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35289   Customer #134117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35290   Customer #134133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35291   Customer #134136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35292   Customer #134149                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35293   Customer #134150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35294   Customer #134151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35295   Customer #134183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35296   Customer #134193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35297   Customer #134194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35298   Customer #134197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35299   Customer #134201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35300   Customer #134205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35301   Customer #134210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35302   Customer #134212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35303   Customer #134215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35304   Customer #134216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35305   Customer #134259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35306   Customer #134266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35307   Customer #134272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35308   Customer #134277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35309   Customer #134281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35310   Customer #134281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35311   Customer #134284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35312   Customer #134289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35313   Customer #134302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35314   Customer #134306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35315   Customer #134308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35316   Customer #134313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35317   Customer #134315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35318   Customer #134317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35319   Customer #134335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35320   Customer #134338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35321   Customer #134340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35322   Customer #134352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35323   Customer #134355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35324   Customer #134365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35325   Customer #134366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35326   Customer #134370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35327   Customer #134371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35328   Customer #134380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35329   Customer #134390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35330   Customer #134391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35331   Customer #134394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35332   Customer #134395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35333   Customer #134397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35334   Customer #134405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35335   Customer #134407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35336   Customer #134409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35337   Customer #134410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35338   Customer #134411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35339   Customer #134412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35340   Customer #134416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35341   Customer #134418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35342   Customer #134421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35343   Customer #134423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35344   Customer #134424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35345   Customer #134439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35346   Customer #134445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35347   Customer #134446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35348   Customer #134449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35349   Customer #134456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35350   Customer #134469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35351   Customer #134475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35352   Customer #134487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35353   Customer #134488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35354   Customer #134491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35355   Customer #134492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35356   Customer #134495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35357   Customer #134496                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35358   Customer #134498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35359   Customer #134502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35360   Customer #134504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35361   Customer #134505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35362   Customer #134506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35363   Customer #134509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35364   Customer #134510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35365   Customer #134513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35366   Customer #134515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35367   Customer #134516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35368   Customer #134517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35369   Customer #134518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35370   Customer #134520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35371   Customer #134522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35372   Customer #134524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35373   Customer #134526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35374   Customer #134527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35375   Customer #134529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35376   Customer #134531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35377   Customer #134534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35378   Customer #134535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35379   Customer #134537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35380   Customer #134539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35381   Customer #134544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35382   Customer #134547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35383   Customer #134550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35384   Customer #134551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35385   Customer #134553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35386   Customer #134555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35387   Customer #134563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35388   Customer #134564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35389   Customer #134566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35390   Customer #134573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35391   Customer #134575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35392   Customer #134576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35393   Customer #134578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35394   Customer #134580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35395   Customer #134585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35396   Customer #134586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35397   Customer #134589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35398   Customer #134590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35399   Customer #134591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35400   Customer #134598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35401   Customer #134600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35402   Customer #134605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35403   Customer #134612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35404   Customer #134619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35405   Customer #134623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35406   Customer #134626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35407   Customer #134632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35408   Customer #134642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35409   Customer #134648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35410   Customer #134650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35411   Customer #134652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35412   Customer #134658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35413   Customer #134661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35414   Customer #134666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35415   Customer #134672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35416   Customer #134679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35417   Customer #134681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35418   Customer #134685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35419   Customer #134687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35420   Customer #134692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35421   Customer #134694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35422   Customer #134699                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35423   Customer #134703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35424   Customer #134706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35425   Customer #134712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35426   Customer #134714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35427   Customer #134716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35428   Customer #134720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35429   Customer #134725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35430   Customer #134731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35431   Customer #134734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35432   Customer #134739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35433   Customer #134740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35434   Customer #134741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35435   Customer #134744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35436   Customer #134748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35437   Customer #134749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35438   Customer #134750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35439   Customer #134751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35440   Customer #134754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35441   Customer #134756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35442   Customer #134758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35443   Customer #134759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35444   Customer #134768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35445   Customer #134773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35446   Customer #134775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35447   Customer #134780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35448   Customer #134787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35449   Customer #134789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35450   Customer #134792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35451   Customer #134802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35452   Customer #134813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35453   Customer #134826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35454   Customer #134832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35455   Customer #134834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35456   Customer #134836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35457   Customer #134840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35458   Customer #134841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35459   Customer #134842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35460   Customer #134853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35461   Customer #134855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35462   Customer #134859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35463   Customer #134860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35464   Customer #134865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35465   Customer #134868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35466   Customer #134869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35467   Customer #134870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35468   Customer #134874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35469   Customer #134889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35470   Customer #134892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35471   Customer #134893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35472   Customer #134894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35473   Customer #134895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35474   Customer #134897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35475   Customer #134899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35476   Customer #134905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35477   Customer #134910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35478   Customer #134927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35479   Customer #134951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35480   Customer #134956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35481   Customer #134959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35482   Customer #134960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35483   Customer #134965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35484   Customer #134967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35485   Customer #134993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35486   Customer #134996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35487   Customer #134997                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35488   Customer #134999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35489   Customer #135001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35490   Customer #135002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35491   Customer #135005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35492   Customer #135006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35493   Customer #135008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35494   Customer #135018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35495   Customer #135045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35496   Customer #135051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35497   Customer #135053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35498   Customer #135057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35499   Customer #135059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35500   Customer #135068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35501   Customer #135073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35502   Customer #135085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35503   Customer #135091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35504   Customer #135098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35505   Customer #135155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35506   Customer #135202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35507   Customer #135223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35508   Customer #135232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35509   Customer #135270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35510   Customer #135271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35511   Customer #135288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35512   Customer #135302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35513   Customer #135325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35514   Customer #135336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35515   Customer #135342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35516   Customer #135347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35517   Customer #135356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35518   Customer #135360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35519   Customer #135366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35520   Customer #135368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35521   Customer #135381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35522   Customer #135411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35523   Customer #135421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35524   Customer #135433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35525   Customer #135436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35526   Customer #135437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35527   Customer #135452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35528   Customer #135456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35529   Customer #135457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35530   Customer #135478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35531   Customer #135482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35532   Customer #135496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35533   Customer #135497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35534   Customer #135501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35535   Customer #135502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35536   Customer #135502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35537   Customer #135509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35538   Customer #135514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35539   Customer #135521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35540   Customer #135533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35541   Customer #135538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35542   Customer #135555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35543   Customer #135556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35544   Customer #135600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35545   Customer #135602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35546   Customer #135613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35547   Customer #135614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35548   Customer #135616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35549   Customer #135618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35550   Customer #135632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35551   Customer #135642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35552   Customer #135643                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35553   Customer #135644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35554   Customer #135650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35555   Customer #135663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35556   Customer #135679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35557   Customer #135684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35558   Customer #135685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35559   Customer #135698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35560   Customer #135706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35561   Customer #135716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35562   Customer #135744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35563   Customer #135746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35564   Customer #135750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35565   Customer #135757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35566   Customer #135762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35567   Customer #135763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35568   Customer #135766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35569   Customer #135773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35570   Customer #135780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35571   Customer #135781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35572   Customer #135785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35573   Customer #135785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35574   Customer #135787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35575   Customer #135796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35576   Customer #135803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35577   Customer #135806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35578   Customer #135820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35579   Customer #135832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35580   Customer #135837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35581   Customer #135838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35582   Customer #135839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35583   Customer #135842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35584   Customer #135845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35585   Customer #135849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35586   Customer #135851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35587   Customer #135853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35588   Customer #135873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35589   Customer #135877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35590   Customer #135886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35591   Customer #135904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35592   Customer #135905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35593   Customer #135906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35594   Customer #135907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35595   Customer #135918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35596   Customer #135930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35597   Customer #135942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35598   Customer #135968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35599   Customer #135972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35600   Customer #135985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35601   Customer #135989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35602   Customer #135991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35603   Customer #135993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35604   Customer #135997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35605   Customer #136002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35606   Customer #136008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35607   Customer #136025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35608   Customer #136035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35609   Customer #136045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35610   Customer #136049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35611   Customer #136050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35612   Customer #136056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35613   Customer #136099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35614   Customer #136108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35615   Customer #136110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35616   Customer #136116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35617   Customer #136119                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35618   Customer #136125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35619   Customer #136142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35620   Customer #136145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35621   Customer #136149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35622   Customer #136150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35623   Customer #136157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35624   Customer #136169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35625   Customer #136177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35626   Customer #136179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35627   Customer #136185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35628   Customer #136209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35629   Customer #136213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35630   Customer #136219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35631   Customer #136221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35632   Customer #136224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35633   Customer #136243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35634   Customer #136254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35635   Customer #136255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35636   Customer #136256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35637   Customer #136270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35638   Customer #136271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35639   Customer #136276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35640   Customer #136281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35641   Customer #136282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35642   Customer #136292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35643   Customer #136313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35644   Customer #136314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35645   Customer #136325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35646   Customer #136326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35647   Customer #136328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35648   Customer #136330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35649   Customer #136337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35650   Customer #136340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35651   Customer #136359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35652   Customer #136360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35653   Customer #136368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35654   Customer #136369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35655   Customer #136370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35656   Customer #136372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35657   Customer #136374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35658   Customer #136375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35659   Customer #136377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35660   Customer #136400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35661   Customer #136408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35662   Customer #136409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35663   Customer #136414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35664   Customer #136416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35665   Customer #136422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35666   Customer #136423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35667   Customer #136424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35668   Customer #136427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35669   Customer #136436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35670   Customer #136442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35671   Customer #136444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35672   Customer #136447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35673   Customer #136450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35674   Customer #136452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35675   Customer #136454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35676   Customer #136461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35677   Customer #136464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35678   Customer #136465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35679   Customer #136466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35680   Customer #136467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35681   Customer #136471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35682   Customer #136482                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35683   Customer #136485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35684   Customer #136487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35685   Customer #136488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35686   Customer #136500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35687   Customer #136501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35688   Customer #136508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35689   Customer #136524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35690   Customer #136535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35691   Customer #136543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35692   Customer #136544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35693   Customer #136545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35694   Customer #136546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35695   Customer #136549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35696   Customer #136552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35697   Customer #136553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35698   Customer #136554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35699   Customer #136555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35700   Customer #136557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35701   Customer #136561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35702   Customer #136566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35703   Customer #136569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35704   Customer #136570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35705   Customer #136575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35706   Customer #136585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35707   Customer #136590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35708   Customer #136593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35709   Customer #136595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35710   Customer #136596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35711   Customer #136599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35712   Customer #136602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35713   Customer #136603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35714   Customer #136604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35715   Customer #136610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35716   Customer #136614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35717   Customer #136616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35718   Customer #136618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35719   Customer #136619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35720   Customer #136621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35721   Customer #136623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35722   Customer #136625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35723   Customer #136633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35724   Customer #136635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35725   Customer #136636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35726   Customer #136639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35727   Customer #136642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35728   Customer #136643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35729   Customer #136644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35730   Customer #136645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35731   Customer #136646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35732   Customer #136654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35733   Customer #136679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35734   Customer #136680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35735   Customer #136681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35736   Customer #136686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35737   Customer #136694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35738   Customer #136700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35739   Customer #136701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35740   Customer #136703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35741   Customer #136704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35742   Customer #136707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35743   Customer #136708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35744   Customer #136709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35745   Customer #136710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35746   Customer #136714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35747   Customer #136716                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35748   Customer #136725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35749   Customer #136729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35750   Customer #136734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35751   Customer #136739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35752   Customer #136740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35753   Customer #136745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35754   Customer #136750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35755   Customer #136753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35756   Customer #136759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35757   Customer #136766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35758   Customer #136777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35759   Customer #136781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35760   Customer #136785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35761   Customer #136797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35762   Customer #136808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35763   Customer #136839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35764   Customer #136843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35765   Customer #136844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35766   Customer #136858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35767   Customer #136860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35768   Customer #136869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35769   Customer #136871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35770   Customer #136878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35771   Customer #136879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35772   Customer #136885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35773   Customer #136889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35774   Customer #136909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35775   Customer #136931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35776   Customer #136932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35777   Customer #136937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35778   Customer #136938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35779   Customer #136949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35780   Customer #136950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35781   Customer #136955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35782   Customer #136956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35783   Customer #136961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35784   Customer #136969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35785   Customer #136972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35786   Customer #136976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35787   Customer #136977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35788   Customer #136978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35789   Customer #136982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35790   Customer #136985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35791   Customer #136991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35792   Customer #136992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35793   Customer #136997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35794   Customer #136999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35795   Customer #137000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35796   Customer #137004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35797   Customer #137005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35798   Customer #137006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35799   Customer #137012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35800   Customer #137015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35801   Customer #137018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35802   Customer #137041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35803   Customer #137042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35804   Customer #137044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35805   Customer #137045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35806   Customer #137053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35807   Customer #137054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35808   Customer #137055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35809   Customer #137059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35810   Customer #137060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35811   Customer #137063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35812   Customer #137064                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35813   Customer #137065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35814   Customer #137069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35815   Customer #137079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35816   Customer #137081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35817   Customer #137087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35818   Customer #137094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35819   Customer #137101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35820   Customer #137103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35821   Customer #137115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35822   Customer #137117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35823   Customer #137119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35824   Customer #137122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35825   Customer #137123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35826   Customer #137124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35827   Customer #137128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35828   Customer #137133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35829   Customer #137138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35830   Customer #137141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35831   Customer #137157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35832   Customer #137161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35833   Customer #137162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35834   Customer #137178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35835   Customer #137181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35836   Customer #137190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35837   Customer #137193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35838   Customer #137194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35839   Customer #137207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35840   Customer #137214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35841   Customer #137222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35842   Customer #137235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35843   Customer #137238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35844   Customer #137242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35845   Customer #137246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35846   Customer #137248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35847   Customer #137269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35848   Customer #137275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35849   Customer #137287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35850   Customer #137305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35851   Customer #137306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35852   Customer #137310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35853   Customer #137312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35854   Customer #137313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35855   Customer #137319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35856   Customer #137328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35857   Customer #137331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35858   Customer #137332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35859   Customer #137339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35860   Customer #137342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35861   Customer #137356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35862   Customer #137358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35863   Customer #137360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35864   Customer #137363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35865   Customer #137367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35866   Customer #137374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35867   Customer #137383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35868   Customer #137408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35869   Customer #137409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35870   Customer #137412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35871   Customer #137413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35872   Customer #137427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35873   Customer #137432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35874   Customer #137436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35875   Customer #137446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35876   Customer #137462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35877   Customer #137470                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35878   Customer #137472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35879   Customer #137473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35880   Customer #137474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35881   Customer #137479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35882   Customer #137483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35883   Customer #137484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35884   Customer #137507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35885   Customer #137517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35886   Customer #137537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35887   Customer #137538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35888   Customer #137541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35889   Customer #137548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35890   Customer #137596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35891   Customer #137612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35892   Customer #137635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35893   Customer #137646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35894   Customer #137648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35895   Customer #137687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35896   Customer #137693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35897   Customer #137696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35898   Customer #137707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35899   Customer #137711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35900   Customer #137722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35901   Customer #137723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35902   Customer #137725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35903   Customer #137726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35904   Customer #137728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35905   Customer #137729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35906   Customer #137730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35907   Customer #137759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35908   Customer #137760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35909   Customer #137763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35910   Customer #137764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35911   Customer #137767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35912   Customer #137779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35913   Customer #137779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35914   Customer #137782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35915   Customer #137796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35916   Customer #137798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35917   Customer #137799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35918   Customer #137800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35919   Customer #137803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35920   Customer #137805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35921   Customer #137814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35922   Customer #137816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35923   Customer #137821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35924   Customer #137825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35925   Customer #137827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35926   Customer #137828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35927   Customer #137829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35928   Customer #137831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35929   Customer #137835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35930   Customer #137837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35931   Customer #137839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35932   Customer #137848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35933   Customer #137850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35934   Customer #137885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35935   Customer #137901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35936   Customer #137903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35937   Customer #137906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35938   Customer #137909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35939   Customer #137924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35940   Customer #137925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35941   Customer #137927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35942   Customer #137934                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.35943   Customer #137938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35944   Customer #137941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35945   Customer #137942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35946   Customer #137944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35947   Customer #137945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35948   Customer #137948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35949   Customer #137951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35950   Customer #137956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35951   Customer #137957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35952   Customer #137966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35953   Customer #137970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35954   Customer #137971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35955   Customer #137979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35956   Customer #137984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35957   Customer #137986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35958   Customer #137988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35959   Customer #137989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35960   Customer #137990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35961   Customer #137992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35962   Customer #137996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35963   Customer #138005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35964   Customer #138009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35965   Customer #138010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35966   Customer #138012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35967   Customer #138024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35968   Customer #138028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35969   Customer #138029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35970   Customer #138029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35971   Customer #138038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35972   Customer #138043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35973   Customer #138045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35974   Customer #138051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35975   Customer #138054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35976   Customer #138084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35977   Customer #138090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35978   Customer #138091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35979   Customer #138099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35980   Customer #138109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35981   Customer #138112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35982   Customer #138116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35983   Customer #138124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35984   Customer #138125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35985   Customer #138128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35986   Customer #138133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35987   Customer #138135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35988   Customer #138143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35989   Customer #138150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35990   Customer #138151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35991   Customer #138153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35992   Customer #138160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35993   Customer #138161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35994   Customer #138164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35995   Customer #138176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35996   Customer #138190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35997   Customer #138194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35998   Customer #138195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.35999   Customer #138201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36000   Customer #138204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36001   Customer #138230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36002   Customer #138231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36003   Customer #138244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36004   Customer #138248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36005   Customer #138250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36006   Customer #138256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36007   Customer #138257                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36008   Customer #138261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36009   Customer #138276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36010   Customer #138282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36011   Customer #138283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36012   Customer #138286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36013   Customer #138290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36014   Customer #138294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36015   Customer #138298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36016   Customer #138301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36017   Customer #138319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36018   Customer #138320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36019   Customer #138321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36020   Customer #138324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36021   Customer #138326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36022   Customer #138331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36023   Customer #138332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36024   Customer #138333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36025   Customer #138339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36026   Customer #138341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36027   Customer #138349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36028   Customer #138354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36029   Customer #138357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36030   Customer #138362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36031   Customer #138398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36032   Customer #138400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36033   Customer #138401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36034   Customer #138411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36035   Customer #138414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36036   Customer #138421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36037   Customer #138422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36038   Customer #138432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36039   Customer #138440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36040   Customer #138442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36041   Customer #138447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36042   Customer #138456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36043   Customer #138463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36044   Customer #138466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36045   Customer #138471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36046   Customer #138476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36047   Customer #138488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36048   Customer #138489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36049   Customer #138492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36050   Customer #138493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36051   Customer #138495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36052   Customer #138496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36053   Customer #138498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36054   Customer #138511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36055   Customer #138512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36056   Customer #138532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36057   Customer #138534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36058   Customer #138535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36059   Customer #138544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36060   Customer #138548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36061   Customer #138553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36062   Customer #138555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36063   Customer #138556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36064   Customer #138562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36065   Customer #138563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36066   Customer #138567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36067   Customer #138578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36068   Customer #138579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36069   Customer #138580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36070   Customer #138584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36071   Customer #138586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36072   Customer #138598                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36073   Customer #138602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36074   Customer #138606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36075   Customer #138610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36076   Customer #138612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36077   Customer #138616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36078   Customer #138619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36079   Customer #138623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36080   Customer #138631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36081   Customer #138632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36082   Customer #138637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36083   Customer #138643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36084   Customer #138644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36085   Customer #138645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36086   Customer #138663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36087   Customer #138665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36088   Customer #138674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36089   Customer #138687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36090   Customer #138689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36091   Customer #138691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36092   Customer #138700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36093   Customer #138703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36094   Customer #138748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36095   Customer #138768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36096   Customer #138776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36097   Customer #138777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36098   Customer #138779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36099   Customer #138784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36100   Customer #138788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36101   Customer #138791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36102   Customer #138792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36103   Customer #138816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36104   Customer #138819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36105   Customer #138829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36106   Customer #138831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36107   Customer #138832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36108   Customer #138836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36109   Customer #138838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36110   Customer #138840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36111   Customer #138841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36112   Customer #138847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36113   Customer #138890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36114   Customer #138893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36115   Customer #138903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36116   Customer #138911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36117   Customer #138918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36118   Customer #138922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36119   Customer #138923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36120   Customer #138925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36121   Customer #138937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36122   Customer #138941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36123   Customer #138947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36124   Customer #138974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36125   Customer #138981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36126   Customer #138990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36127   Customer #138997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36128   Customer #139014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36129   Customer #139033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36130   Customer #139034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36131   Customer #139046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36132   Customer #139053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36133   Customer #139059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36134   Customer #139090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36135   Customer #139096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36136   Customer #139108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36137   Customer #139109                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36138   Customer #139114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36139   Customer #139117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36140   Customer #139142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36141   Customer #139145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36142   Customer #139145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36143   Customer #139171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36144   Customer #139182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36145   Customer #139187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36146   Customer #139188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36147   Customer #139192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36148   Customer #139194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36149   Customer #139210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36150   Customer #139241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36151   Customer #139243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36152   Customer #139248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36153   Customer #139257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36154   Customer #139266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36155   Customer #139270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36156   Customer #139273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36157   Customer #139274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36158   Customer #139274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36159   Customer #139277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36160   Customer #139279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36161   Customer #139280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36162   Customer #139281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36163   Customer #139283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36164   Customer #139285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36165   Customer #139286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36166   Customer #139294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36167   Customer #139296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36168   Customer #139298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36169   Customer #139302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36170   Customer #139307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36171   Customer #139312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36172   Customer #139316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36173   Customer #139325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36174   Customer #139333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36175   Customer #139335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36176   Customer #139344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36177   Customer #139347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36178   Customer #139349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36179   Customer #139351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36180   Customer #139351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36181   Customer #139352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36182   Customer #139372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36183   Customer #139374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36184   Customer #139376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36185   Customer #139379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36186   Customer #139386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36187   Customer #139388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36188   Customer #139403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36189   Customer #139411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36190   Customer #139413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36191   Customer #139418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36192   Customer #139420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36193   Customer #139423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36194   Customer #139425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36195   Customer #139427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36196   Customer #139430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36197   Customer #139436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36198   Customer #139438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36199   Customer #139439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36200   Customer #139442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36201   Customer #139453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36202   Customer #139459                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36203   Customer #139461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36204   Customer #139463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36205   Customer #139464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36206   Customer #139465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36207   Customer #139466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36208   Customer #139467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36209   Customer #139469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36210   Customer #139484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36211   Customer #139485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36212   Customer #139486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36213   Customer #139488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36214   Customer #139499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36215   Customer #139523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36216   Customer #139547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36217   Customer #139550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36218   Customer #139551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36219   Customer #139552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36220   Customer #139558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36221   Customer #139559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36222   Customer #139560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36223   Customer #139561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36224   Customer #139584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36225   Customer #139586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36226   Customer #139587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36227   Customer #139592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36228   Customer #139595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36229   Customer #139596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36230   Customer #139623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36231   Customer #139636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36232   Customer #139638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36233   Customer #139639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36234   Customer #139644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36235   Customer #139648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36236   Customer #139650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36237   Customer #139650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36238   Customer #139651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36239   Customer #139654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36240   Customer #139671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36241   Customer #139674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36242   Customer #139678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36243   Customer #139683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36244   Customer #139685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36245   Customer #139686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36246   Customer #139687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36247   Customer #139701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36248   Customer #139701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36249   Customer #139702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36250   Customer #139705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36251   Customer #139706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36252   Customer #139711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36253   Customer #139717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36254   Customer #139741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36255   Customer #139743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36256   Customer #139744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36257   Customer #139762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36258   Customer #139765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36259   Customer #139774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36260   Customer #139775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36261   Customer #139785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36262   Customer #139789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36263   Customer #139801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36264   Customer #139805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36265   Customer #139807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36266   Customer #139808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36267   Customer #139811                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36268   Customer #139814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36269   Customer #139815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36270   Customer #139816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36271   Customer #139822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36272   Customer #139835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36273   Customer #139841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36274   Customer #139850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36275   Customer #139851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36276   Customer #139855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36277   Customer #139856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36278   Customer #139859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36279   Customer #139862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36280   Customer #139864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36281   Customer #139882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36282   Customer #139885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36283   Customer #139913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36284   Customer #139914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36285   Customer #139915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36286   Customer #139929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36287   Customer #139949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36288   Customer #139951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36289   Customer #139955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36290   Customer #139956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36291   Customer #139965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36292   Customer #139970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36293   Customer #139973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36294   Customer #139976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36295   Customer #139991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36296   Customer #140000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36297   Customer #140002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36298   Customer #140010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36299   Customer #140011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36300   Customer #140012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36301   Customer #140015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36302   Customer #140031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36303   Customer #140034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36304   Customer #140035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36305   Customer #140038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36306   Customer #140041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36307   Customer #140047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36308   Customer #140054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36309   Customer #140065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36310   Customer #140081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36311   Customer #140083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36312   Customer #140086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36313   Customer #140088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36314   Customer #140103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36315   Customer #140109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36316   Customer #140112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36317   Customer #140113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36318   Customer #140115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36319   Customer #140117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36320   Customer #140129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36321   Customer #140130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36322   Customer #140133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36323   Customer #140141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36324   Customer #140150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36325   Customer #140151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36326   Customer #140160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36327   Customer #140161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36328   Customer #140165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36329   Customer #140166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36330   Customer #140173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36331   Customer #140176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36332   Customer #140182                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36333   Customer #140191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36334   Customer #140193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36335   Customer #140205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36336   Customer #140214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36337   Customer #140222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36338   Customer #140233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36339   Customer #140237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36340   Customer #140238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36341   Customer #140242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36342   Customer #140243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36343   Customer #140245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36344   Customer #140247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36345   Customer #140263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36346   Customer #140272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36347   Customer #140273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36348   Customer #140274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36349   Customer #140277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36350   Customer #140281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36351   Customer #140283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36352   Customer #140284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36353   Customer #140285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36354   Customer #140298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36355   Customer #140327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36356   Customer #140332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36357   Customer #140339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36358   Customer #140351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36359   Customer #140355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36360   Customer #140361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36361   Customer #140369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36362   Customer #140372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36363   Customer #140380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36364   Customer #140381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36365   Customer #140383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36366   Customer #140392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36367   Customer #140393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36368   Customer #140394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36369   Customer #140399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36370   Customer #140406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36371   Customer #140407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36372   Customer #140410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36373   Customer #140415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36374   Customer #140427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36375   Customer #140428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36376   Customer #140431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36377   Customer #140432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36378   Customer #140438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36379   Customer #140459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36380   Customer #140469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36381   Customer #140471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36382   Customer #140480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36383   Customer #140487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36384   Customer #140492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36385   Customer #140539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36386   Customer #140541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36387   Customer #140545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36388   Customer #140554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36389   Customer #140558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36390   Customer #140570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36391   Customer #140573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36392   Customer #140580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36393   Customer #140590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36394   Customer #140594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36395   Customer #140604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36396   Customer #140608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36397   Customer #140617                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36398   Customer #140621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36399   Customer #140628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36400   Customer #140630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36401   Customer #140632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36402   Customer #140634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36403   Customer #140635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36404   Customer #140659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36405   Customer #140661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36406   Customer #140671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36407   Customer #140676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36408   Customer #140680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36409   Customer #140684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36410   Customer #140689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36411   Customer #140709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36412   Customer #140710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36413   Customer #140714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36414   Customer #140715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36415   Customer #140719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36416   Customer #140720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36417   Customer #140723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36418   Customer #140725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36419   Customer #140726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36420   Customer #140734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36421   Customer #140735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36422   Customer #140737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36423   Customer #140747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36424   Customer #140755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36425   Customer #140775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36426   Customer #140776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36427   Customer #140788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36428   Customer #140789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36429   Customer #140791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36430   Customer #140797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36431   Customer #140811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36432   Customer #140836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36433   Customer #140843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36434   Customer #140845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36435   Customer #140854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36436   Customer #140857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36437   Customer #140859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36438   Customer #140861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36439   Customer #140862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36440   Customer #140871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36441   Customer #140873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36442   Customer #140874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36443   Customer #140892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36444   Customer #140894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36445   Customer #140896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36446   Customer #140897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36447   Customer #140908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36448   Customer #140913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36449   Customer #140923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36450   Customer #140935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36451   Customer #140943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36452   Customer #140945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36453   Customer #140950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36454   Customer #140954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36455   Customer #140956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36456   Customer #140967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36457   Customer #140975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36458   Customer #140976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36459   Customer #140979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36460   Customer #140998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36461   Customer #141000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36462   Customer #141026                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36463   Customer #141033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36464   Customer #141034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36465   Customer #141036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36466   Customer #141039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36467   Customer #141041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36468   Customer #141047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36469   Customer #141048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36470   Customer #141062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36471   Customer #141067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36472   Customer #141068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36473   Customer #141079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36474   Customer #141096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36475   Customer #141100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36476   Customer #141102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36477   Customer #141111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36478   Customer #141113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36479   Customer #141127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36480   Customer #141130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36481   Customer #141140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36482   Customer #141142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36483   Customer #141143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36484   Customer #141147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36485   Customer #141150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36486   Customer #141153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36487   Customer #141159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36488   Customer #141179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36489   Customer #141186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36490   Customer #141187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36491   Customer #141189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36492   Customer #141193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36493   Customer #141195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36494   Customer #141202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36495   Customer #141220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36496   Customer #141227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36497   Customer #141228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36498   Customer #141230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36499   Customer #141233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36500   Customer #141234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36501   Customer #141252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36502   Customer #141261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36503   Customer #141270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36504   Customer #141271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36505   Customer #141273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36506   Customer #141275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36507   Customer #141283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36508   Customer #141284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36509   Customer #141286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36510   Customer #141287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36511   Customer #141288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36512   Customer #141300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36513   Customer #141310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36514   Customer #141312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36515   Customer #141316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36516   Customer #141321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36517   Customer #141334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36518   Customer #141335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36519   Customer #141336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36520   Customer #141337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36521   Customer #141341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36522   Customer #141344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36523   Customer #141355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36524   Customer #141363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36525   Customer #141385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36526   Customer #141389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36527   Customer #141391                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36528   Customer #141396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36529   Customer #141397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36530   Customer #141399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36531   Customer #141404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36532   Customer #141412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36533   Customer #141415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36534   Customer #141415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36535   Customer #141421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36536   Customer #141426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36537   Customer #141462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36538   Customer #141467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36539   Customer #141468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36540   Customer #141475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36541   Customer #141475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36542   Customer #141475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36543   Customer #141482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36544   Customer #141495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36545   Customer #141503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36546   Customer #141503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36547   Customer #141503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36548   Customer #141503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36549   Customer #141504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36550   Customer #141508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36551   Customer #141509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36552   Customer #141516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36553   Customer #141519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36554   Customer #141520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36555   Customer #141528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36556   Customer #141533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36557   Customer #141534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36558   Customer #141535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36559   Customer #141540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36560   Customer #141547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36561   Customer #141552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36562   Customer #141556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36563   Customer #141563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36564   Customer #141574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36565   Customer #141581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36566   Customer #141587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36567   Customer #141593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36568   Customer #141595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36569   Customer #141599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36570   Customer #141601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36571   Customer #141613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36572   Customer #141618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36573   Customer #141620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36574   Customer #141631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36575   Customer #141662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36576   Customer #141664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36577   Customer #141666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36578   Customer #141673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36579   Customer #141674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36580   Customer #141681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36581   Customer #141704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36582   Customer #141706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36583   Customer #141722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36584   Customer #141724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36585   Customer #141727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36586   Customer #141728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36587   Customer #141730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36588   Customer #141736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36589   Customer #141737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36590   Customer #141745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36591   Customer #141747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36592   Customer #141752                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36593   Customer #141756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36594   Customer #141774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36595   Customer #141778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36596   Customer #141781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36597   Customer #141782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36598   Customer #141784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36599   Customer #141785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36600   Customer #141802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36601   Customer #141808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36602   Customer #141814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36603   Customer #141823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36604   Customer #141824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36605   Customer #141825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36606   Customer #141829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36607   Customer #141830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36608   Customer #141835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36609   Customer #141840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36610   Customer #141843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36611   Customer #141844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36612   Customer #141848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36613   Customer #141849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36614   Customer #141850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36615   Customer #141852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36616   Customer #141853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36617   Customer #141855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36618   Customer #141856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36619   Customer #141858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36620   Customer #141860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36621   Customer #141862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36622   Customer #141863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36623   Customer #141865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36624   Customer #141867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36625   Customer #141869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36626   Customer #141871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36627   Customer #141877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36628   Customer #141878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36629   Customer #141882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36630   Customer #141885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36631   Customer #141886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36632   Customer #141890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36633   Customer #141901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36634   Customer #141909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36635   Customer #141913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36636   Customer #141928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36637   Customer #141930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36638   Customer #141933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36639   Customer #141935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36640   Customer #141936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36641   Customer #141940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36642   Customer #141942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36643   Customer #141944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36644   Customer #141948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36645   Customer #141962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36646   Customer #141963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36647   Customer #141966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36648   Customer #141969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36649   Customer #141976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36650   Customer #141983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36651   Customer #141987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36652   Customer #141993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36653   Customer #141995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36654   Customer #141999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36655   Customer #142006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36656   Customer #142007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36657   Customer #142010                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36658   Customer #142012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36659   Customer #142013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36660   Customer #142014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36661   Customer #142019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36662   Customer #142020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36663   Customer #142021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36664   Customer #142023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36665   Customer #142026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36666   Customer #142027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36667   Customer #142028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36668   Customer #142032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36669   Customer #142034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36670   Customer #142035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36671   Customer #142036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36672   Customer #142043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36673   Customer #142045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36674   Customer #142048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36675   Customer #142049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36676   Customer #142064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36677   Customer #142068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36678   Customer #142073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36679   Customer #142081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36680   Customer #142083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36681   Customer #142084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36682   Customer #142086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36683   Customer #142092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36684   Customer #142098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36685   Customer #142099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36686   Customer #142100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36687   Customer #142101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36688   Customer #142102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36689   Customer #142105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36690   Customer #142106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36691   Customer #142107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36692   Customer #142112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36693   Customer #142119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36694   Customer #142121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36695   Customer #142123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36696   Customer #142130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36697   Customer #142131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36698   Customer #142138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36699   Customer #142141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36700   Customer #142142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36701   Customer #142144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36702   Customer #142145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36703   Customer #142146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36704   Customer #142147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36705   Customer #142148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36706   Customer #142150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36707   Customer #142152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36708   Customer #142155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36709   Customer #142156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36710   Customer #142170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36711   Customer #142171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36712   Customer #142172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36713   Customer #142175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36714   Customer #142177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36715   Customer #142178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36716   Customer #142179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36717   Customer #142180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36718   Customer #142181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36719   Customer #142182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36720   Customer #142185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36721   Customer #142189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36722   Customer #142201                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36723   Customer #142203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36724   Customer #142204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36725   Customer #142205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36726   Customer #142206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36727   Customer #142208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36728   Customer #142209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36729   Customer #142211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36730   Customer #142213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36731   Customer #142219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36732   Customer #142220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36733   Customer #142221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36734   Customer #142223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36735   Customer #142224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36736   Customer #142228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36737   Customer #142230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36738   Customer #142236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36739   Customer #142237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36740   Customer #142242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36741   Customer #142246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36742   Customer #142251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36743   Customer #142266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36744   Customer #142274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36745   Customer #142276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36746   Customer #142277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36747   Customer #142279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36748   Customer #142281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36749   Customer #142292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36750   Customer #142302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36751   Customer #142303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36752   Customer #142304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36753   Customer #142305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36754   Customer #142309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36755   Customer #142310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36756   Customer #142313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36757   Customer #142316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36758   Customer #142318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36759   Customer #142319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36760   Customer #142332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36761   Customer #142343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36762   Customer #142344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36763   Customer #142354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36764   Customer #142358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36765   Customer #142369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36766   Customer #142375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36767   Customer #142381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36768   Customer #142383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36769   Customer #142385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36770   Customer #142386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36771   Customer #142390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36772   Customer #142395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36773   Customer #142403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36774   Customer #142406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36775   Customer #142409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36776   Customer #142424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36777   Customer #142426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36778   Customer #142433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36779   Customer #142436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36780   Customer #142452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36781   Customer #142456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36782   Customer #142458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36783   Customer #142464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36784   Customer #142473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36785   Customer #142477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36786   Customer #142482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36787   Customer #142490                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36788   Customer #142506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36789   Customer #142510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36790   Customer #142511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36791   Customer #142514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36792   Customer #142520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36793   Customer #142526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36794   Customer #142530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36795   Customer #142532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36796   Customer #142536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36797   Customer #142537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36798   Customer #142562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36799   Customer #142563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36800   Customer #142572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36801   Customer #142574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36802   Customer #142584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36803   Customer #142590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36804   Customer #142597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36805   Customer #142598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36806   Customer #142606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36807   Customer #142609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36808   Customer #142611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36809   Customer #142613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36810   Customer #142614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36811   Customer #142617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36812   Customer #142629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36813   Customer #142633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36814   Customer #142650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36815   Customer #142653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36816   Customer #142683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36817   Customer #142689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36818   Customer #142691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36819   Customer #142691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36820   Customer #142694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36821   Customer #142695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36822   Customer #142720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36823   Customer #142725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36824   Customer #142726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36825   Customer #142727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36826   Customer #142728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36827   Customer #142729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36828   Customer #142733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36829   Customer #142734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36830   Customer #142744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36831   Customer #142747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36832   Customer #142750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36833   Customer #142752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36834   Customer #142756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36835   Customer #142763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36836   Customer #142764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36837   Customer #142770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36838   Customer #142771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36839   Customer #142774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36840   Customer #142783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36841   Customer #142784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36842   Customer #142790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36843   Customer #142793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36844   Customer #142828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36845   Customer #142841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36846   Customer #142858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36847   Customer #142862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36848   Customer #142865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36849   Customer #142867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36850   Customer #142870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36851   Customer #142873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36852   Customer #142876                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36853   Customer #142882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36854   Customer #142885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36855   Customer #142889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36856   Customer #142890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36857   Customer #142896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36858   Customer #142897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36859   Customer #142903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36860   Customer #142907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36861   Customer #142912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36862   Customer #142915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36863   Customer #142919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36864   Customer #142925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36865   Customer #142926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36866   Customer #142927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36867   Customer #142934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36868   Customer #142939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36869   Customer #142946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36870   Customer #142951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36871   Customer #142962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36872   Customer #142965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36873   Customer #142967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36874   Customer #142971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36875   Customer #142983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36876   Customer #142985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36877   Customer #143001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36878   Customer #143005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36879   Customer #143008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36880   Customer #143010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36881   Customer #143023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36882   Customer #143033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36883   Customer #143034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36884   Customer #143043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36885   Customer #143046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36886   Customer #143054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36887   Customer #143062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36888   Customer #143063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36889   Customer #143091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36890   Customer #143115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36891   Customer #143136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36892   Customer #143139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36893   Customer #143141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36894   Customer #143147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36895   Customer #143152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36896   Customer #143159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36897   Customer #143161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36898   Customer #143164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36899   Customer #143168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36900   Customer #143174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36901   Customer #143176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36902   Customer #143180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36903   Customer #143186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36904   Customer #143190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36905   Customer #143191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36906   Customer #143192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36907   Customer #143200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36908   Customer #143202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36909   Customer #143204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36910   Customer #143215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36911   Customer #143216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36912   Customer #143220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36913   Customer #143221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36914   Customer #143223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36915   Customer #143230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36916   Customer #143232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36917   Customer #143236                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36918   Customer #143241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36919   Customer #143243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36920   Customer #143245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36921   Customer #143246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36922   Customer #143247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36923   Customer #143248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36924   Customer #143250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36925   Customer #143262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36926   Customer #143275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36927   Customer #143276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36928   Customer #143278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36929   Customer #143279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36930   Customer #143280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36931   Customer #143282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36932   Customer #143284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36933   Customer #143286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36934   Customer #143287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36935   Customer #143292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36936   Customer #143296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36937   Customer #143300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36938   Customer #143303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36939   Customer #143310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36940   Customer #143312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36941   Customer #143315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36942   Customer #143316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36943   Customer #143318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36944   Customer #143323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36945   Customer #143324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36946   Customer #143327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36947   Customer #143336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36948   Customer #143337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36949   Customer #143341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36950   Customer #143350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36951   Customer #143350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36952   Customer #143351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36953   Customer #143353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36954   Customer #143355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36955   Customer #143358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36956   Customer #143364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36957   Customer #143366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36958   Customer #143376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36959   Customer #143378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36960   Customer #143379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36961   Customer #143381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36962   Customer #143385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36963   Customer #143386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36964   Customer #143392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36965   Customer #143393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36966   Customer #143398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36967   Customer #143399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36968   Customer #143400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36969   Customer #143402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36970   Customer #143404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36971   Customer #143405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36972   Customer #143407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36973   Customer #143408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36974   Customer #143414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36975   Customer #143415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36976   Customer #143416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36977   Customer #143420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36978   Customer #143423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36979   Customer #143427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36980   Customer #143430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36981   Customer #143432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36982   Customer #143433                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.36983   Customer #143437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36984   Customer #143452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36985   Customer #143455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36986   Customer #143458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36987   Customer #143459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36988   Customer #143460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36989   Customer #143461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36990   Customer #143473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36991   Customer #143474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36992   Customer #143475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36993   Customer #143476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36994   Customer #143477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36995   Customer #143481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36996   Customer #143482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36997   Customer #143486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36998   Customer #143493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.36999   Customer #143494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37000   Customer #143496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37001   Customer #143498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37002   Customer #143501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37003   Customer #143502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37004   Customer #143503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37005   Customer #143507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37006   Customer #143514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37007   Customer #143520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37008   Customer #143523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37009   Customer #143542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37010   Customer #143544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37011   Customer #143547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37012   Customer #143551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37013   Customer #143553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37014   Customer #143557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37015   Customer #143558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37016   Customer #143559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37017   Customer #143564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37018   Customer #143570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37019   Customer #143574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37020   Customer #143578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37021   Customer #143579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37022   Customer #143585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37023   Customer #143588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37024   Customer #143590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37025   Customer #143604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37026   Customer #143606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37027   Customer #143607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37028   Customer #143608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37029   Customer #143614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37030   Customer #143615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37031   Customer #143616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37032   Customer #143617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37033   Customer #143622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37034   Customer #143623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37035   Customer #143627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37036   Customer #143628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37037   Customer #143629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37038   Customer #143636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37039   Customer #143645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37040   Customer #143661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37041   Customer #143663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37042   Customer #143665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37043   Customer #143668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37044   Customer #143680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37045   Customer #143681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37046   Customer #143682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37047   Customer #143683                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37048   Customer #143697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37049   Customer #143698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37050   Customer #143700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37051   Customer #143706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37052   Customer #143711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37053   Customer #143712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37054   Customer #143716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37055   Customer #143719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37056   Customer #143736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37057   Customer #143739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37058   Customer #143752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37059   Customer #143757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37060   Customer #143764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37061   Customer #143766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37062   Customer #143767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37063   Customer #143770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37064   Customer #143774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37065   Customer #143777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37066   Customer #143779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37067   Customer #143780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37068   Customer #143788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37069   Customer #143793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37070   Customer #143806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37071   Customer #143812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37072   Customer #143815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37073   Customer #143822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37074   Customer #143825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37075   Customer #143831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37076   Customer #143850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37077   Customer #143855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37078   Customer #143856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37079   Customer #143859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37080   Customer #143860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37081   Customer #143861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37082   Customer #143863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37083   Customer #143878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37084   Customer #143881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37085   Customer #143884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37086   Customer #143892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37087   Customer #143899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37088   Customer #143916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37089   Customer #143917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37090   Customer #143925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37091   Customer #143939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37092   Customer #143942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37093   Customer #143944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37094   Customer #143945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37095   Customer #143949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37096   Customer #143951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37097   Customer #143953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37098   Customer #143958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37099   Customer #143967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37100   Customer #143976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37101   Customer #143980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37102   Customer #143983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37103   Customer #143986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37104   Customer #143987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37105   Customer #143989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37106   Customer #143990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37107   Customer #143993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37108   Customer #143998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37109   Customer #144000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37110   Customer #144005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37111   Customer #144006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37112   Customer #144008                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37113   Customer #144010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37114   Customer #144013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37115   Customer #144014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37116   Customer #144019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37117   Customer #144022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37118   Customer #144024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37119   Customer #144027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37120   Customer #144030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37121   Customer #144033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37122   Customer #144040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37123   Customer #144069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37124   Customer #144087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37125   Customer #144087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37126   Customer #144088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37127   Customer #144089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37128   Customer #144098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37129   Customer #144099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37130   Customer #144101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37131   Customer #144110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37132   Customer #144115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37133   Customer #144117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37134   Customer #144121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37135   Customer #144122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37136   Customer #144126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37137   Customer #144127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37138   Customer #144128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37139   Customer #144136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37140   Customer #144138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37141   Customer #144139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37142   Customer #144142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37143   Customer #144145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37144   Customer #144146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37145   Customer #144147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37146   Customer #144153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37147   Customer #144158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37148   Customer #144163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37149   Customer #144166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37150   Customer #144169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37151   Customer #144172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37152   Customer #144173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37153   Customer #144174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37154   Customer #144176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37155   Customer #144183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37156   Customer #144184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37157   Customer #144189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37158   Customer #144199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37159   Customer #144201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37160   Customer #144202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37161   Customer #144204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37162   Customer #144205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37163   Customer #144212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37164   Customer #144217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37165   Customer #144224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37166   Customer #144225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37167   Customer #144228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37168   Customer #144231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37169   Customer #144253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37170   Customer #144263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37171   Customer #144264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37172   Customer #144265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37173   Customer #144268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37174   Customer #144283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37175   Customer #144291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37176   Customer #144293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37177   Customer #144294                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37178   Customer #144305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37179   Customer #144307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37180   Customer #144327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37181   Customer #144341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37182   Customer #144348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37183   Customer #144352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37184   Customer #144356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37185   Customer #144360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37186   Customer #144385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37187   Customer #144388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37188   Customer #144402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37189   Customer #144407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37190   Customer #144409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37191   Customer #144412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37192   Customer #144422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37193   Customer #144424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37194   Customer #144429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37195   Customer #144430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37196   Customer #144448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37197   Customer #144456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37198   Customer #144458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37199   Customer #144465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37200   Customer #144466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37201   Customer #144475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37202   Customer #144476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37203   Customer #144478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37204   Customer #144479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37205   Customer #144480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37206   Customer #144487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37207   Customer #144491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37208   Customer #144497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37209   Customer #144498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37210   Customer #144506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37211   Customer #144510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37212   Customer #144513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37213   Customer #144525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37214   Customer #144527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37215   Customer #144529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37216   Customer #144531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37217   Customer #144534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37218   Customer #144536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37219   Customer #144545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37220   Customer #144548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37221   Customer #144550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37222   Customer #144551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37223   Customer #144559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37224   Customer #144560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37225   Customer #144561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37226   Customer #144571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37227   Customer #144574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37228   Customer #144577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37229   Customer #144585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37230   Customer #144586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37231   Customer #144590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37232   Customer #144593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37233   Customer #144594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37234   Customer #144596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37235   Customer #144597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37236   Customer #144601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37237   Customer #144614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37238   Customer #144617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37239   Customer #144621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37240   Customer #144625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37241   Customer #144626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37242   Customer #144627                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37243   Customer #144632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37244   Customer #144633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37245   Customer #144635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37246   Customer #144659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37247   Customer #144663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37248   Customer #144664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37249   Customer #144665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37250   Customer #144667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37251   Customer #144668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37252   Customer #144671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37253   Customer #144675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37254   Customer #144680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37255   Customer #144681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37256   Customer #144687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37257   Customer #144691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37258   Customer #144693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37259   Customer #144695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37260   Customer #144698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37261   Customer #144730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37262   Customer #144732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37263   Customer #144737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37264   Customer #144740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37265   Customer #144743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37266   Customer #144744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37267   Customer #144745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37268   Customer #144754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37269   Customer #144757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37270   Customer #144758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37271   Customer #144769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37272   Customer #144770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37273   Customer #144771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37274   Customer #144773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37275   Customer #144775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37276   Customer #144777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37277   Customer #144778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37278   Customer #144785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37279   Customer #144786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37280   Customer #144793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37281   Customer #144800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37282   Customer #144803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37283   Customer #144810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37284   Customer #144811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37285   Customer #144814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37286   Customer #144815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37287   Customer #144818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37288   Customer #144838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37289   Customer #144848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37290   Customer #144858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37291   Customer #144864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37292   Customer #144867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37293   Customer #144868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37294   Customer #144869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37295   Customer #144871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37296   Customer #144877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37297   Customer #144879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37298   Customer #144881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37299   Customer #144885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37300   Customer #144892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37301   Customer #144893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37302   Customer #144894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37303   Customer #144895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37304   Customer #144897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37305   Customer #144898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37306   Customer #144904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37307   Customer #144909                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37308   Customer #144910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37309   Customer #144911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37310   Customer #144914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37311   Customer #144915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37312   Customer #144916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37313   Customer #144921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37314   Customer #144928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37315   Customer #144946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37316   Customer #144952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37317   Customer #144956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37318   Customer #144974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37319   Customer #144980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37320   Customer #144984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37321   Customer #144987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37322   Customer #144990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37323   Customer #144992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37324   Customer #144993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37325   Customer #144999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37326   Customer #145006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37327   Customer #145010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37328   Customer #145033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37329   Customer #145034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37330   Customer #145037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37331   Customer #145038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37332   Customer #145039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37333   Customer #145041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37334   Customer #145042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37335   Customer #145044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37336   Customer #145057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37337   Customer #145059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37338   Customer #145061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37339   Customer #145064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37340   Customer #145069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37341   Customer #145071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37342   Customer #145074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37343   Customer #145075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37344   Customer #145077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37345   Customer #145080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37346   Customer #145103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37347   Customer #145106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37348   Customer #145108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37349   Customer #145109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37350   Customer #145114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37351   Customer #145119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37352   Customer #145121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37353   Customer #145122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37354   Customer #145132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37355   Customer #145143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37356   Customer #145145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37357   Customer #145146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37358   Customer #145148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37359   Customer #145149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37360   Customer #145151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37361   Customer #145152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37362   Customer #145154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37363   Customer #145156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37364   Customer #145159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37365   Customer #145161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37366   Customer #145165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37367   Customer #145166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37368   Customer #145168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37369   Customer #145178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37370   Customer #145184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37371   Customer #145188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37372   Customer #145188                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37373   Customer #145191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37374   Customer #145192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37375   Customer #145194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37376   Customer #145202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37377   Customer #145209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37378   Customer #145210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37379   Customer #145211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37380   Customer #145212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37381   Customer #145213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37382   Customer #145222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37383   Customer #145227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37384   Customer #145233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37385   Customer #145244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37386   Customer #145245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37387   Customer #145246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37388   Customer #145247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37389   Customer #145254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37390   Customer #145255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37391   Customer #145257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37392   Customer #145261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37393   Customer #145268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37394   Customer #145269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37395   Customer #145273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37396   Customer #145276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37397   Customer #145288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37398   Customer #145289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37399   Customer #145302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37400   Customer #145309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37401   Customer #145315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37402   Customer #145320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37403   Customer #145321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37404   Customer #145322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37405   Customer #145326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37406   Customer #145327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37407   Customer #145328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37408   Customer #145338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37409   Customer #145346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37410   Customer #145347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37411   Customer #145354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37412   Customer #145355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37413   Customer #145356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37414   Customer #145359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37415   Customer #145360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37416   Customer #145362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37417   Customer #145363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37418   Customer #145367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37419   Customer #145369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37420   Customer #145374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37421   Customer #145376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37422   Customer #145382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37423   Customer #145386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37424   Customer #145387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37425   Customer #145388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37426   Customer #145390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37427   Customer #145391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37428   Customer #145392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37429   Customer #145405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37430   Customer #145413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37431   Customer #145418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37432   Customer #145427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37433   Customer #145430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37434   Customer #145434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37435   Customer #145442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37436   Customer #145445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37437   Customer #145446                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37438   Customer #145450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37439   Customer #145453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37440   Customer #145454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37441   Customer #145455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37442   Customer #145465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37443   Customer #145467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37444   Customer #145469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37445   Customer #145470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37446   Customer #145474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37447   Customer #145475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37448   Customer #145500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37449   Customer #145505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37450   Customer #145507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37451   Customer #145511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37452   Customer #145518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37453   Customer #145519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37454   Customer #145523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37455   Customer #145524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37456   Customer #145528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37457   Customer #145529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37458   Customer #145530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37459   Customer #145534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37460   Customer #145542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37461   Customer #145544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37462   Customer #145554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37463   Customer #145558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37464   Customer #145559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37465   Customer #145562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37466   Customer #145566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37467   Customer #145567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37468   Customer #145576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37469   Customer #145579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37470   Customer #145585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37471   Customer #145588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37472   Customer #145589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37473   Customer #145599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37474   Customer #145601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37475   Customer #145602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37476   Customer #145609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37477   Customer #145618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37478   Customer #145619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37479   Customer #145620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37480   Customer #145624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37481   Customer #145625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37482   Customer #145627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37483   Customer #145629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37484   Customer #145636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37485   Customer #145650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37486   Customer #145655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37487   Customer #145657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37488   Customer #145669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37489   Customer #145670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37490   Customer #145672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37491   Customer #145679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37492   Customer #145681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37493   Customer #145683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37494   Customer #145690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37495   Customer #145695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37496   Customer #145696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37497   Customer #145697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37498   Customer #145698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37499   Customer #145700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37500   Customer #145701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37501   Customer #145712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37502   Customer #145722                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37503   Customer #145724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37504   Customer #145727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37505   Customer #145734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37506   Customer #145743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37507   Customer #145744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37508   Customer #145753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37509   Customer #145765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37510   Customer #145771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37511   Customer #145773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37512   Customer #145775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37513   Customer #145781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37514   Customer #145792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37515   Customer #145793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37516   Customer #145796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37517   Customer #145800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37518   Customer #145806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37519   Customer #145821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37520   Customer #145829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37521   Customer #145841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37522   Customer #145844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37523   Customer #145846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37524   Customer #145847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37525   Customer #145851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37526   Customer #145864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37527   Customer #145872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37528   Customer #145873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37529   Customer #145876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37530   Customer #145889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37531   Customer #145892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37532   Customer #145893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37533   Customer #145895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37534   Customer #145903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37535   Customer #145904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37536   Customer #145915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37537   Customer #145918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37538   Customer #145922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37539   Customer #145923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37540   Customer #145930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37541   Customer #145931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37542   Customer #145941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37543   Customer #145942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37544   Customer #145943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37545   Customer #145971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37546   Customer #145979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37547   Customer #145982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37548   Customer #145991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37549   Customer #146004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37550   Customer #146013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37551   Customer #146028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37552   Customer #146035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37553   Customer #146036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37554   Customer #146038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37555   Customer #146041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37556   Customer #146046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37557   Customer #146049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37558   Customer #146050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37559   Customer #146051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37560   Customer #146053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37561   Customer #146056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37562   Customer #146060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37563   Customer #146068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37564   Customer #146070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37565   Customer #146071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37566   Customer #146076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37567   Customer #146090                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37568   Customer #146091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37569   Customer #146096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37570   Customer #146104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37571   Customer #146109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37572   Customer #146112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37573   Customer #146114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37574   Customer #146117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37575   Customer #146120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37576   Customer #146127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37577   Customer #146130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37578   Customer #146148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37579   Customer #146165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37580   Customer #146166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37581   Customer #146167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37582   Customer #146177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37583   Customer #146178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37584   Customer #146183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37585   Customer #146195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37586   Customer #146198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37587   Customer #146206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37588   Customer #146212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37589   Customer #146213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37590   Customer #146216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37591   Customer #146221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37592   Customer #146231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37593   Customer #146241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37594   Customer #146247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37595   Customer #146248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37596   Customer #146253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37597   Customer #146254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37598   Customer #146256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37599   Customer #146274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37600   Customer #146304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37601   Customer #146306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37602   Customer #146307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37603   Customer #146318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37604   Customer #146319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37605   Customer #146320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37606   Customer #146323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37607   Customer #146325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37608   Customer #146330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37609   Customer #146346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37610   Customer #146348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37611   Customer #146350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37612   Customer #146351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37613   Customer #146352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37614   Customer #146373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37615   Customer #146375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37616   Customer #146381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37617   Customer #146392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37618   Customer #146394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37619   Customer #146400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37620   Customer #146408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37621   Customer #146421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37622   Customer #146424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37623   Customer #146426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37624   Customer #146431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37625   Customer #146432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37626   Customer #146434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37627   Customer #146437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37628   Customer #146438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37629   Customer #146442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37630   Customer #146443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37631   Customer #146451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37632   Customer #146480                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37633   Customer #146503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37634   Customer #146515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37635   Customer #146560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37636   Customer #146567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37637   Customer #146576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37638   Customer #146577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37639   Customer #146580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37640   Customer #146588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37641   Customer #146591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37642   Customer #146595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37643   Customer #146600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37644   Customer #146616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37645   Customer #146628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37646   Customer #146635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37647   Customer #146640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37648   Customer #146642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37649   Customer #146647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37650   Customer #146651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37651   Customer #146668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37652   Customer #146671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37653   Customer #146672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37654   Customer #146674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37655   Customer #146679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37656   Customer #146685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37657   Customer #146688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37658   Customer #146689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37659   Customer #146694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37660   Customer #146698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37661   Customer #146710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37662   Customer #146711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37663   Customer #146719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37664   Customer #146724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37665   Customer #146740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37666   Customer #146742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37667   Customer #146744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37668   Customer #146745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37669   Customer #146746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37670   Customer #146755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37671   Customer #146756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37672   Customer #146768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37673   Customer #146770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37674   Customer #146771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37675   Customer #146772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37676   Customer #146786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37677   Customer #146788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37678   Customer #146791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37679   Customer #146793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37680   Customer #146796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37681   Customer #146808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37682   Customer #146815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37683   Customer #146817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37684   Customer #146821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37685   Customer #146824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37686   Customer #146828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37687   Customer #146830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37688   Customer #146831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37689   Customer #146850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37690   Customer #146852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37691   Customer #146853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37692   Customer #146857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37693   Customer #146862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37694   Customer #146866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37695   Customer #146874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37696   Customer #146875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37697   Customer #146877                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37698   Customer #146878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37699   Customer #146879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37700   Customer #146881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37701   Customer #146884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37702   Customer #146889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37703   Customer #146890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37704   Customer #146894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37705   Customer #146895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37706   Customer #146898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37707   Customer #146899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37708   Customer #146900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37709   Customer #146904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37710   Customer #146909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37711   Customer #146910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37712   Customer #146912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37713   Customer #146929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37714   Customer #146938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37715   Customer #146940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37716   Customer #146941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37717   Customer #146944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37718   Customer #146948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37719   Customer #146959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37720   Customer #146961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37721   Customer #146962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37722   Customer #146967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37723   Customer #146969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37724   Customer #146973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37725   Customer #146974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37726   Customer #146979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37727   Customer #146979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37728   Customer #146979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37729   Customer #146979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37730   Customer #146983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37731   Customer #146990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37732   Customer #146992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37733   Customer #146996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37734   Customer #147004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37735   Customer #147007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37736   Customer #147009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37737   Customer #147016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37738   Customer #147024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37739   Customer #147026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37740   Customer #147027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37741   Customer #147032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37742   Customer #147036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37743   Customer #147047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37744   Customer #147049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37745   Customer #147050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37746   Customer #147052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37747   Customer #147054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37748   Customer #147059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37749   Customer #147063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37750   Customer #147064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37751   Customer #147066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37752   Customer #147076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37753   Customer #147078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37754   Customer #147079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37755   Customer #147082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37756   Customer #147086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37757   Customer #147087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37758   Customer #147100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37759   Customer #147122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37760   Customer #147127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37761   Customer #147128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37762   Customer #147131                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37763   Customer #147134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37764   Customer #147139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37765   Customer #147140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37766   Customer #147143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37767   Customer #147147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37768   Customer #147148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37769   Customer #147149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37770   Customer #147150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37771   Customer #147154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37772   Customer #147155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37773   Customer #147156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37774   Customer #147157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37775   Customer #147187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37776   Customer #147188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37777   Customer #147190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37778   Customer #147191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37779   Customer #147205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37780   Customer #147213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37781   Customer #147222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37782   Customer #147236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37783   Customer #147238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37784   Customer #147241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37785   Customer #147250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37786   Customer #147259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37787   Customer #147264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37788   Customer #147272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37789   Customer #147275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37790   Customer #147295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37791   Customer #147297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37792   Customer #147298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37793   Customer #147299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37794   Customer #147301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37795   Customer #147305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37796   Customer #147307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37797   Customer #147309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37798   Customer #147310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37799   Customer #147311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37800   Customer #147312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37801   Customer #147317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37802   Customer #147318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37803   Customer #147322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37804   Customer #147324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37805   Customer #147327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37806   Customer #147336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37807   Customer #147338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37808   Customer #147343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37809   Customer #147344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37810   Customer #147346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37811   Customer #147347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37812   Customer #147362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37813   Customer #147363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37814   Customer #147366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37815   Customer #147375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37816   Customer #147376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37817   Customer #147377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37818   Customer #147385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37819   Customer #147390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37820   Customer #147396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37821   Customer #147397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37822   Customer #147400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37823   Customer #147402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37824   Customer #147409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37825   Customer #147409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37826   Customer #147410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37827   Customer #147412                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37828   Customer #147413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37829   Customer #147415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37830   Customer #147417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37831   Customer #147418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37832   Customer #147420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37833   Customer #147426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37834   Customer #147427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37835   Customer #147432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37836   Customer #147435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37837   Customer #147441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37838   Customer #147447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37839   Customer #147450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37840   Customer #147455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37841   Customer #147457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37842   Customer #147463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37843   Customer #147471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37844   Customer #147472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37845   Customer #147477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37846   Customer #147479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37847   Customer #147514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37848   Customer #147515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37849   Customer #147516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37850   Customer #147517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37851   Customer #147538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37852   Customer #147544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37853   Customer #147546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37854   Customer #147550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37855   Customer #147559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37856   Customer #147561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37857   Customer #147563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37858   Customer #147565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37859   Customer #147566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37860   Customer #147567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37861   Customer #147569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37862   Customer #147571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37863   Customer #147578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37864   Customer #147583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37865   Customer #147585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37866   Customer #147588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37867   Customer #147594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37868   Customer #147595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37869   Customer #147596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37870   Customer #147602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37871   Customer #147604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37872   Customer #147609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37873   Customer #147614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37874   Customer #147620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37875   Customer #147621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37876   Customer #147628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37877   Customer #147639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37878   Customer #147642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37879   Customer #147644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37880   Customer #147646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37881   Customer #147647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37882   Customer #147648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37883   Customer #147650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37884   Customer #147657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37885   Customer #147659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37886   Customer #147660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37887   Customer #147668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37888   Customer #147677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37889   Customer #147679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37890   Customer #147683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37891   Customer #147685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37892   Customer #147687                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37893   Customer #147688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37894   Customer #147697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37895   Customer #147700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37896   Customer #147704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37897   Customer #147708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37898   Customer #147719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37899   Customer #147726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37900   Customer #147729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37901   Customer #147732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37902   Customer #147733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37903   Customer #147734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37904   Customer #147735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37905   Customer #147737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37906   Customer #147738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37907   Customer #147745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37908   Customer #147754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37909   Customer #147773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37910   Customer #147781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37911   Customer #147782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37912   Customer #147783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37913   Customer #147787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37914   Customer #147790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37915   Customer #147794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37916   Customer #147799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37917   Customer #147805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37918   Customer #147807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37919   Customer #147818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37920   Customer #147819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37921   Customer #147821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37922   Customer #147822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37923   Customer #147828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37924   Customer #147831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37925   Customer #147839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37926   Customer #147841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37927   Customer #147842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37928   Customer #147843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37929   Customer #147846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37930   Customer #147847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37931   Customer #147855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37932   Customer #147857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37933   Customer #147861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37934   Customer #147864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37935   Customer #147866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37936   Customer #147879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37937   Customer #147882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37938   Customer #147887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37939   Customer #147893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37940   Customer #147915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37941   Customer #147924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37942   Customer #147931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37943   Customer #147936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37944   Customer #147942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37945   Customer #147942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37946   Customer #147944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37947   Customer #147957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37948   Customer #147958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37949   Customer #147960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37950   Customer #147970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37951   Customer #147971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37952   Customer #147975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37953   Customer #147978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37954   Customer #147984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37955   Customer #147988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37956   Customer #148007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37957   Customer #148010                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.37958   Customer #148011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37959   Customer #148026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37960   Customer #148027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37961   Customer #148044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37962   Customer #148048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37963   Customer #148051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37964   Customer #148053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37965   Customer #148056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37966   Customer #148059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37967   Customer #148072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37968   Customer #148077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37969   Customer #148078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37970   Customer #148080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37971   Customer #148082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37972   Customer #148091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37973   Customer #148096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37974   Customer #148115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37975   Customer #148140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37976   Customer #148148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37977   Customer #148158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37978   Customer #148158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37979   Customer #148174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37980   Customer #148180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37981   Customer #148185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37982   Customer #148186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37983   Customer #148191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37984   Customer #148192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37985   Customer #148193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37986   Customer #148194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37987   Customer #148199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37988   Customer #148200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37989   Customer #148201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37990   Customer #148213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37991   Customer #148220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37992   Customer #148224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37993   Customer #148234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37994   Customer #148237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37995   Customer #148248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37996   Customer #148254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37997   Customer #148255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37998   Customer #148256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.37999   Customer #148257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38000   Customer #148258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38001   Customer #148259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38002   Customer #148264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38003   Customer #148266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38004   Customer #148268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38005   Customer #148271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38006   Customer #148274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38007   Customer #148282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38008   Customer #148291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38009   Customer #148294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38010   Customer #148309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38011   Customer #148311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38012   Customer #148312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38013   Customer #148314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38014   Customer #148331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38015   Customer #148335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38016   Customer #148339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38017   Customer #148349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38018   Customer #148352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38019   Customer #148353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38020   Customer #148362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38021   Customer #148363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38022   Customer #148372                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38023   Customer #148380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38024   Customer #148381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38025   Customer #148383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38026   Customer #148386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38027   Customer #148389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38028   Customer #148393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38029   Customer #148395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38030   Customer #148397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38031   Customer #148399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38032   Customer #148400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38033   Customer #148404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38034   Customer #148413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38035   Customer #148418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38036   Customer #148421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38037   Customer #148426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38038   Customer #148428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38039   Customer #148433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38040   Customer #148441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38041   Customer #148445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38042   Customer #148453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38043   Customer #148468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38044   Customer #148501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38045   Customer #148502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38046   Customer #148505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38047   Customer #148508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38048   Customer #148509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38049   Customer #148511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38050   Customer #148513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38051   Customer #148522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38052   Customer #148526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38053   Customer #148528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38054   Customer #148529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38055   Customer #148531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38056   Customer #148534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38057   Customer #148535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38058   Customer #148537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38059   Customer #148539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38060   Customer #148541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38061   Customer #148542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38062   Customer #148544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38063   Customer #148551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38064   Customer #148555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38065   Customer #148556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38066   Customer #148559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38067   Customer #148564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38068   Customer #148565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38069   Customer #148567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38070   Customer #148572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38071   Customer #148581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38072   Customer #148582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38073   Customer #148630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38074   Customer #148633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38075   Customer #148635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38076   Customer #148638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38077   Customer #148647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38078   Customer #148648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38079   Customer #148658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38080   Customer #148659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38081   Customer #148663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38082   Customer #148664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38083   Customer #148666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38084   Customer #148667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38085   Customer #148669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38086   Customer #148687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38087   Customer #148692                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38088   Customer #148696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38089   Customer #148711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38090   Customer #148712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38091   Customer #148712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38092   Customer #148715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38093   Customer #148716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38094   Customer #148718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38095   Customer #148720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38096   Customer #148728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38097   Customer #148732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38098   Customer #148733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38099   Customer #148735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38100   Customer #148736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38101   Customer #148741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38102   Customer #148743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38103   Customer #148748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38104   Customer #148755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38105   Customer #148758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38106   Customer #148759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38107   Customer #148761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38108   Customer #148764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38109   Customer #148767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38110   Customer #148768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38111   Customer #148769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38112   Customer #148770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38113   Customer #148775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38114   Customer #148776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38115   Customer #148781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38116   Customer #148802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38117   Customer #148806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38118   Customer #148808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38119   Customer #148809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38120   Customer #148814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38121   Customer #148827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38122   Customer #148828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38123   Customer #148829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38124   Customer #148832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38125   Customer #148850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38126   Customer #148851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38127   Customer #148859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38128   Customer #148860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38129   Customer #148863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38130   Customer #148869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38131   Customer #148884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38132   Customer #148895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38133   Customer #148896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38134   Customer #148899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38135   Customer #148900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38136   Customer #148903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38137   Customer #148905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38138   Customer #148907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38139   Customer #148915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38140   Customer #148917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38141   Customer #148920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38142   Customer #148921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38143   Customer #148931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38144   Customer #148935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38145   Customer #148936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38146   Customer #148938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38147   Customer #148944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38148   Customer #148946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38149   Customer #148958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38150   Customer #148964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38151   Customer #148969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38152   Customer #148987                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38153   Customer #148993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38154   Customer #149000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38155   Customer #149004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38156   Customer #149011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38157   Customer #149017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38158   Customer #149022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38159   Customer #149023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38160   Customer #149028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38161   Customer #149034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38162   Customer #149035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38163   Customer #149047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38164   Customer #149047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38165   Customer #149047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38166   Customer #149055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38167   Customer #149059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38168   Customer #149060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38169   Customer #149064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38170   Customer #149065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38171   Customer #149071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38172   Customer #149072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38173   Customer #149075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38174   Customer #149076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38175   Customer #149077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38176   Customer #149080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38177   Customer #149083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38178   Customer #149087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38179   Customer #149088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38180   Customer #149090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38181   Customer #149093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38182   Customer #149095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38183   Customer #149097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38184   Customer #149103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38185   Customer #149109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38186   Customer #149120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38187   Customer #149134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38188   Customer #149135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38189   Customer #149143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38190   Customer #149161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38191   Customer #149166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38192   Customer #149171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38193   Customer #149173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38194   Customer #149185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38195   Customer #149186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38196   Customer #149188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38197   Customer #149195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38198   Customer #149196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38199   Customer #149197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38200   Customer #149200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38201   Customer #149212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38202   Customer #149213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38203   Customer #149217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38204   Customer #149226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38205   Customer #149229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38206   Customer #149230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38207   Customer #149247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38208   Customer #149249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38209   Customer #149250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38210   Customer #149251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38211   Customer #149255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38212   Customer #149282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38213   Customer #149285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38214   Customer #149291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38215   Customer #149296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38216   Customer #149302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38217   Customer #149306                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38218   Customer #149307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38219   Customer #149316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38220   Customer #149323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38221   Customer #149329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38222   Customer #149332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38223   Customer #149350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38224   Customer #149356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38225   Customer #149358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38226   Customer #149362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38227   Customer #149364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38228   Customer #149365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38229   Customer #149384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38230   Customer #149392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38231   Customer #149398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38232   Customer #149410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38233   Customer #149435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38234   Customer #149436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38235   Customer #149437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38236   Customer #149438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38237   Customer #149441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38238   Customer #149445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38239   Customer #149461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38240   Customer #149464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38241   Customer #149465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38242   Customer #149479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38243   Customer #149490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38244   Customer #149491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38245   Customer #149505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38246   Customer #149509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38247   Customer #149512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38248   Customer #149520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38249   Customer #149532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38250   Customer #149539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38251   Customer #149552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38252   Customer #149554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38253   Customer #149567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38254   Customer #149569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38255   Customer #149581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38256   Customer #149593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38257   Customer #149596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38258   Customer #149602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38259   Customer #149603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38260   Customer #149629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38261   Customer #149631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38262   Customer #149632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38263   Customer #149638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38264   Customer #149644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38265   Customer #149649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38266   Customer #149652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38267   Customer #149655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38268   Customer #149656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38269   Customer #149659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38270   Customer #149660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38271   Customer #149661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38272   Customer #149677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38273   Customer #149684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38274   Customer #149692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38275   Customer #149695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38276   Customer #149696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38277   Customer #149697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38278   Customer #149698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38279   Customer #149707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38280   Customer #149709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38281   Customer #149715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38282   Customer #149716                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38283   Customer #149718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38284   Customer #149719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38285   Customer #149721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38286   Customer #149724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38287   Customer #149727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38288   Customer #149733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38289   Customer #149734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38290   Customer #149742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38291   Customer #149743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38292   Customer #149747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38293   Customer #149748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38294   Customer #149754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38295   Customer #149757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38296   Customer #149759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38297   Customer #149763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38298   Customer #149767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38299   Customer #149770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38300   Customer #149771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38301   Customer #149775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38302   Customer #149793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38303   Customer #149795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38304   Customer #149796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38305   Customer #149797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38306   Customer #149804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38307   Customer #149809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38308   Customer #149822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38309   Customer #149826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38310   Customer #149827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38311   Customer #149830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38312   Customer #149833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38313   Customer #149836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38314   Customer #149840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38315   Customer #149841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38316   Customer #149845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38317   Customer #149852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38318   Customer #149856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38319   Customer #149857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38320   Customer #149858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38321   Customer #149859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38322   Customer #149860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38323   Customer #149863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38324   Customer #149865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38325   Customer #149870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38326   Customer #149874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38327   Customer #149886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38328   Customer #149890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38329   Customer #149892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38330   Customer #149894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38331   Customer #149932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38332   Customer #149946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38333   Customer #149950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38334   Customer #149951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38335   Customer #149966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38336   Customer #149967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38337   Customer #149974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38338   Customer #149980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38339   Customer #149981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38340   Customer #149982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38341   Customer #149984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38342   Customer #149985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38343   Customer #149987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38344   Customer #150003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38345   Customer #150004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38346   Customer #150011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38347   Customer #150018                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38348   Customer #150033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38349   Customer #150034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38350   Customer #150035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38351   Customer #150037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38352   Customer #150039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38353   Customer #150040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38354   Customer #150048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38355   Customer #150050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38356   Customer #150055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38357   Customer #150055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38358   Customer #150066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38359   Customer #150071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38360   Customer #150071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38361   Customer #150072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38362   Customer #150074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38363   Customer #150076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38364   Customer #150078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38365   Customer #150081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38366   Customer #150087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38367   Customer #150089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38368   Customer #150094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38369   Customer #150095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38370   Customer #150097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38371   Customer #150098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38372   Customer #150101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38373   Customer #150103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38374   Customer #150108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38375   Customer #150117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38376   Customer #150120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38377   Customer #150138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38378   Customer #150140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38379   Customer #150146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38380   Customer #150147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38381   Customer #150151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38382   Customer #150156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38383   Customer #150158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38384   Customer #150183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38385   Customer #150189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38386   Customer #150191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38387   Customer #150192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38388   Customer #150194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38389   Customer #150197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38390   Customer #150201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38391   Customer #150208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38392   Customer #150224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38393   Customer #150236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38394   Customer #150241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38395   Customer #150242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38396   Customer #150243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38397   Customer #150254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38398   Customer #150255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38399   Customer #150256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38400   Customer #150262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38401   Customer #150263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38402   Customer #150269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38403   Customer #150270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38404   Customer #150276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38405   Customer #150279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38406   Customer #150307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38407   Customer #150309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38408   Customer #150311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38409   Customer #150314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38410   Customer #150325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38411   Customer #150334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38412   Customer #150336                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38413   Customer #150341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38414   Customer #150342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38415   Customer #150345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38416   Customer #150352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38417   Customer #150358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38418   Customer #150365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38419   Customer #150367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38420   Customer #150368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38421   Customer #150369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38422   Customer #150371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38423   Customer #150380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38424   Customer #150389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38425   Customer #150392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38426   Customer #150393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38427   Customer #150405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38428   Customer #150416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38429   Customer #150421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38430   Customer #150422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38431   Customer #150436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38432   Customer #150441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38433   Customer #150446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38434   Customer #150455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38435   Customer #150460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38436   Customer #150476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38437   Customer #150479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38438   Customer #150491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38439   Customer #150493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38440   Customer #150497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38441   Customer #150503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38442   Customer #150503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38443   Customer #150519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38444   Customer #150523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38445   Customer #150544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38446   Customer #150554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38447   Customer #150557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38448   Customer #150559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38449   Customer #150566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38450   Customer #150572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38451   Customer #150573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38452   Customer #150579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38453   Customer #150584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38454   Customer #150586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38455   Customer #150591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38456   Customer #150593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38457   Customer #150600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38458   Customer #150608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38459   Customer #150613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38460   Customer #150630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38461   Customer #150635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38462   Customer #150636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38463   Customer #150641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38464   Customer #150648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38465   Customer #150653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38466   Customer #150656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38467   Customer #150657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38468   Customer #150659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38469   Customer #150662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38470   Customer #150665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38471   Customer #150676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38472   Customer #150679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38473   Customer #150686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38474   Customer #150692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38475   Customer #150694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38476   Customer #150713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38477   Customer #150714                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38478   Customer #150718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38479   Customer #150719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38480   Customer #150721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38481   Customer #150724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38482   Customer #150726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38483   Customer #150737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38484   Customer #150766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38485   Customer #150779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38486   Customer #150793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38487   Customer #150811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38488   Customer #150814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38489   Customer #150819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38490   Customer #150820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38491   Customer #150831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38492   Customer #150836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38493   Customer #150843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38494   Customer #150844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38495   Customer #150850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38496   Customer #150853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38497   Customer #150854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38498   Customer #150857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38499   Customer #150861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38500   Customer #150862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38501   Customer #150869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38502   Customer #150874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38503   Customer #150886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38504   Customer #150887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38505   Customer #150890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38506   Customer #150891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38507   Customer #150893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38508   Customer #150895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38509   Customer #150901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38510   Customer #150903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38511   Customer #150905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38512   Customer #150910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38513   Customer #150914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38514   Customer #150918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38515   Customer #150919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38516   Customer #150922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38517   Customer #150929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38518   Customer #150930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38519   Customer #150937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38520   Customer #150939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38521   Customer #150943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38522   Customer #150945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38523   Customer #150946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38524   Customer #150947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38525   Customer #150949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38526   Customer #150951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38527   Customer #150962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38528   Customer #150963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38529   Customer #150966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38530   Customer #150967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38531   Customer #150969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38532   Customer #150971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38533   Customer #150983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38534   Customer #150985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38535   Customer #150988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38536   Customer #151009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38537   Customer #151033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38538   Customer #151035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38539   Customer #151038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38540   Customer #151055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38541   Customer #151086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38542   Customer #151088                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38543   Customer #151093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38544   Customer #151097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38545   Customer #151112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38546   Customer #151133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38547   Customer #151141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38548   Customer #151148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38549   Customer #151149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38550   Customer #151151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38551   Customer #151156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38552   Customer #151160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38553   Customer #151165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38554   Customer #151167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38555   Customer #151184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38556   Customer #151186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38557   Customer #151189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38558   Customer #151191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38559   Customer #151193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38560   Customer #151200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38561   Customer #151204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38562   Customer #151206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38563   Customer #151212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38564   Customer #151214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38565   Customer #151215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38566   Customer #151216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38567   Customer #151221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38568   Customer #151231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38569   Customer #151241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38570   Customer #151245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38571   Customer #151261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38572   Customer #151262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38573   Customer #151265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38574   Customer #151266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38575   Customer #151268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38576   Customer #151269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38577   Customer #151273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38578   Customer #151276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38579   Customer #151277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38580   Customer #151282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38581   Customer #151287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38582   Customer #151292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38583   Customer #151298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38584   Customer #151299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38585   Customer #151301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38586   Customer #151305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38587   Customer #151306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38588   Customer #151321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38589   Customer #151322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38590   Customer #151323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38591   Customer #151324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38592   Customer #151328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38593   Customer #151330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38594   Customer #151343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38595   Customer #151348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38596   Customer #151354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38597   Customer #151355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38598   Customer #151356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38599   Customer #151357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38600   Customer #151378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38601   Customer #151381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38602   Customer #151401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38603   Customer #151403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38604   Customer #151406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38605   Customer #151409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38606   Customer #151423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38607   Customer #151427                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38608   Customer #151432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38609   Customer #151436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38610   Customer #151440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38611   Customer #151451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38612   Customer #151459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38613   Customer #151460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38614   Customer #151461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38615   Customer #151467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38616   Customer #151468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38617   Customer #151471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38618   Customer #151473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38619   Customer #151476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38620   Customer #151480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38621   Customer #151484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38622   Customer #151485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38623   Customer #151488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38624   Customer #151492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38625   Customer #151495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38626   Customer #151499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38627   Customer #151504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38628   Customer #151510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38629   Customer #151511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38630   Customer #151513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38631   Customer #151518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38632   Customer #151519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38633   Customer #151520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38634   Customer #151521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38635   Customer #151523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38636   Customer #151527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38637   Customer #151536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38638   Customer #151537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38639   Customer #151542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38640   Customer #151546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38641   Customer #151547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38642   Customer #151552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38643   Customer #151554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38644   Customer #151557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38645   Customer #151559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38646   Customer #151561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38647   Customer #151562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38648   Customer #151574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38649   Customer #151575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38650   Customer #151581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38651   Customer #151583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38652   Customer #151589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38653   Customer #151593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38654   Customer #151596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38655   Customer #151598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38656   Customer #151601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38657   Customer #151602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38658   Customer #151605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38659   Customer #151614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38660   Customer #151615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38661   Customer #151617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38662   Customer #151628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38663   Customer #151635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38664   Customer #151642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38665   Customer #151645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38666   Customer #151649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38667   Customer #151650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38668   Customer #151651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38669   Customer #151653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38670   Customer #151654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38671   Customer #151665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38672   Customer #151669                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38673   Customer #151675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38674   Customer #151679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38675   Customer #151683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38676   Customer #151690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38677   Customer #151703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38678   Customer #151704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38679   Customer #151715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38680   Customer #151716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38681   Customer #151718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38682   Customer #151741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38683   Customer #151742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38684   Customer #151746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38685   Customer #151758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38686   Customer #151761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38687   Customer #151790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38688   Customer #151802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38689   Customer #151804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38690   Customer #151813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38691   Customer #151816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38692   Customer #151817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38693   Customer #151819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38694   Customer #151822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38695   Customer #151830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38696   Customer #151832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38697   Customer #151834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38698   Customer #151843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38699   Customer #151856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38700   Customer #151859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38701   Customer #151862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38702   Customer #151863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38703   Customer #151865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38704   Customer #151871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38705   Customer #151874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38706   Customer #151879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38707   Customer #151881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38708   Customer #151884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38709   Customer #151886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38710   Customer #151901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38711   Customer #151903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38712   Customer #151905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38713   Customer #151906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38714   Customer #151908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38715   Customer #151910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38716   Customer #151911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38717   Customer #151914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38718   Customer #151922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38719   Customer #151930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38720   Customer #151934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38721   Customer #151935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38722   Customer #151938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38723   Customer #151942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38724   Customer #151943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38725   Customer #151946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38726   Customer #151958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38727   Customer #151959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38728   Customer #151962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38729   Customer #151966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38730   Customer #151967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38731   Customer #151968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38732   Customer #151972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38733   Customer #151973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38734   Customer #151976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38735   Customer #151982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38736   Customer #151983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38737   Customer #151984                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38738   Customer #151991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38739   Customer #152001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38740   Customer #152004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38741   Customer #152006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38742   Customer #152009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38743   Customer #152013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38744   Customer #152017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38745   Customer #152039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38746   Customer #152040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38747   Customer #152042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38748   Customer #152047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38749   Customer #152049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38750   Customer #152051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38751   Customer #152053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38752   Customer #152055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38753   Customer #152060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38754   Customer #152062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38755   Customer #152064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38756   Customer #152066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38757   Customer #152068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38758   Customer #152082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38759   Customer #152094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38760   Customer #152095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38761   Customer #152097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38762   Customer #152099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38763   Customer #152102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38764   Customer #152117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38765   Customer #152121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38766   Customer #152122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38767   Customer #152124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38768   Customer #152127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38769   Customer #152131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38770   Customer #152133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38771   Customer #152135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38772   Customer #152137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38773   Customer #152141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38774   Customer #152142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38775   Customer #152143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38776   Customer #152150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38777   Customer #152152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38778   Customer #152154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38779   Customer #152163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38780   Customer #152170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38781   Customer #152171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38782   Customer #152172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38783   Customer #152177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38784   Customer #152178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38785   Customer #152181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38786   Customer #152185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38787   Customer #152186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38788   Customer #152188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38789   Customer #152199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38790   Customer #152201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38791   Customer #152212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38792   Customer #152213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38793   Customer #152219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38794   Customer #152221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38795   Customer #152223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38796   Customer #152239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38797   Customer #152242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38798   Customer #152255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38799   Customer #152259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38800   Customer #152267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38801   Customer #152268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38802   Customer #152270                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38803   Customer #152271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38804   Customer #152276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38805   Customer #152280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38806   Customer #152287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38807   Customer #152289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38808   Customer #152295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38809   Customer #152296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38810   Customer #152298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38811   Customer #152299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38812   Customer #152301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38813   Customer #152311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38814   Customer #152313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38815   Customer #152319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38816   Customer #152322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38817   Customer #152326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38818   Customer #152327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38819   Customer #152329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38820   Customer #152330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38821   Customer #152331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38822   Customer #152337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38823   Customer #152338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38824   Customer #152342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38825   Customer #152345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38826   Customer #152346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38827   Customer #152349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38828   Customer #152350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38829   Customer #152351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38830   Customer #152352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38831   Customer #152355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38832   Customer #152356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38833   Customer #152360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38834   Customer #152361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38835   Customer #152366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38836   Customer #152367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38837   Customer #152368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38838   Customer #152371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38839   Customer #152372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38840   Customer #152373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38841   Customer #152378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38842   Customer #152381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38843   Customer #152386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38844   Customer #152410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38845   Customer #152411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38846   Customer #152415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38847   Customer #152417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38848   Customer #152419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38849   Customer #152421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38850   Customer #152422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38851   Customer #152424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38852   Customer #152425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38853   Customer #152440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38854   Customer #152451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38855   Customer #152452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38856   Customer #152458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38857   Customer #152459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38858   Customer #152460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38859   Customer #152462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38860   Customer #152466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38861   Customer #152472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38862   Customer #152473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38863   Customer #152476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38864   Customer #152478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38865   Customer #152480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38866   Customer #152483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38867   Customer #152491                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38868   Customer #152492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38869   Customer #152499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38870   Customer #152508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38871   Customer #152509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38872   Customer #152512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38873   Customer #152514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38874   Customer #152517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38875   Customer #152519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38876   Customer #152526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38877   Customer #152531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38878   Customer #152532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38879   Customer #152534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38880   Customer #152537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38881   Customer #152540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38882   Customer #152544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38883   Customer #152551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38884   Customer #152557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38885   Customer #152563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38886   Customer #152565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38887   Customer #152574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38888   Customer #152578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38889   Customer #152579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38890   Customer #152583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38891   Customer #152586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38892   Customer #152588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38893   Customer #152600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38894   Customer #152607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38895   Customer #152610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38896   Customer #152623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38897   Customer #152631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38898   Customer #152646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38899   Customer #152649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38900   Customer #152659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38901   Customer #152661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38902   Customer #152666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38903   Customer #152667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38904   Customer #152668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38905   Customer #152669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38906   Customer #152670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38907   Customer #152680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38908   Customer #152688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38909   Customer #152694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38910   Customer #152701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38911   Customer #152702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38912   Customer #152707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38913   Customer #152710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38914   Customer #152711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38915   Customer #152715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38916   Customer #152717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38917   Customer #152718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38918   Customer #152722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38919   Customer #152724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38920   Customer #152727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38921   Customer #152728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38922   Customer #152729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38923   Customer #152733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38924   Customer #152735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38925   Customer #152736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38926   Customer #152740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38927   Customer #152742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38928   Customer #152746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38929   Customer #152753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38930   Customer #152754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38931   Customer #152764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38932   Customer #152766                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38933   Customer #152769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38934   Customer #152771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38935   Customer #152775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38936   Customer #152778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38937   Customer #152792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38938   Customer #152794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38939   Customer #152798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38940   Customer #152805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38941   Customer #152808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38942   Customer #152809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38943   Customer #152810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38944   Customer #152812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38945   Customer #152813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38946   Customer #152814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38947   Customer #152815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38948   Customer #152816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38949   Customer #152826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38950   Customer #152838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38951   Customer #152841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38952   Customer #152843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38953   Customer #152844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38954   Customer #152845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38955   Customer #152845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38956   Customer #152854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38957   Customer #152856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38958   Customer #152860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38959   Customer #152872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38960   Customer #152875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38961   Customer #152877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38962   Customer #152884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38963   Customer #152888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38964   Customer #152893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38965   Customer #152894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38966   Customer #152899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38967   Customer #152905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38968   Customer #152906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38969   Customer #152907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38970   Customer #152908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38971   Customer #152911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38972   Customer #152919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38973   Customer #152921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38974   Customer #152922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38975   Customer #152928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38976   Customer #152932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38977   Customer #152933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38978   Customer #152942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38979   Customer #152944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38980   Customer #152945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38981   Customer #152946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38982   Customer #152948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38983   Customer #152960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38984   Customer #152961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38985   Customer #152977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38986   Customer #152980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38987   Customer #152982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38988   Customer #152994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38989   Customer #153005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38990   Customer #153015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38991   Customer #153022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38992   Customer #153025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38993   Customer #153028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38994   Customer #153031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38995   Customer #153035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38996   Customer #153038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38997   Customer #153040                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.38998   Customer #153045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.38999   Customer #153049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39000   Customer #153050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39001   Customer #153053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39002   Customer #153068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39003   Customer #153072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39004   Customer #153073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39005   Customer #153084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39006   Customer #153085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39007   Customer #153089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39008   Customer #153090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39009   Customer #153095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39010   Customer #153101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39011   Customer #153104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39012   Customer #153112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39013   Customer #153134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39014   Customer #153147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39015   Customer #153153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39016   Customer #153156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39017   Customer #153160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39018   Customer #153168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39019   Customer #153169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39020   Customer #153172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39021   Customer #153178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39022   Customer #153179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39023   Customer #153204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39024   Customer #153207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39025   Customer #153223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39026   Customer #153226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39027   Customer #153234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39028   Customer #153240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39029   Customer #153241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39030   Customer #153242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39031   Customer #153253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39032   Customer #153254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39033   Customer #153255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39034   Customer #153256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39035   Customer #153260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39036   Customer #153264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39037   Customer #153266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39038   Customer #153274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39039   Customer #153275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39040   Customer #153276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39041   Customer #153283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39042   Customer #153286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39043   Customer #153287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39044   Customer #153288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39045   Customer #153290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39046   Customer #153291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39047   Customer #153294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39048   Customer #153295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39049   Customer #153297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39050   Customer #153309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39051   Customer #153310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39052   Customer #153316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39053   Customer #153327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39054   Customer #153328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39055   Customer #153329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39056   Customer #153334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39057   Customer #153339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39058   Customer #153342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39059   Customer #153345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39060   Customer #153354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39061   Customer #153354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39062   Customer #153355                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39063   Customer #153356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39064   Customer #153357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39065   Customer #153365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39066   Customer #153369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39067   Customer #153371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39068   Customer #153372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39069   Customer #153376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39070   Customer #153378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39071   Customer #153380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39072   Customer #153381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39073   Customer #153382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39074   Customer #153382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39075   Customer #153384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39076   Customer #153385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39077   Customer #153387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39078   Customer #153389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39079   Customer #153396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39080   Customer #153397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39081   Customer #153402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39082   Customer #153409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39083   Customer #153409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39084   Customer #153417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39085   Customer #153421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39086   Customer #153423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39087   Customer #153425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39088   Customer #153426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39089   Customer #153436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39090   Customer #153439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39091   Customer #153443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39092   Customer #153454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39093   Customer #153456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39094   Customer #153458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39095   Customer #153466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39096   Customer #153467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39097   Customer #153473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39098   Customer #153477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39099   Customer #153480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39100   Customer #153481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39101   Customer #153483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39102   Customer #153486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39103   Customer #153491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39104   Customer #153501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39105   Customer #153505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39106   Customer #153506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39107   Customer #153511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39108   Customer #153515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39109   Customer #153517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39110   Customer #153526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39111   Customer #153549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39112   Customer #153553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39113   Customer #153562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39114   Customer #153563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39115   Customer #153565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39116   Customer #153575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39117   Customer #153578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39118   Customer #153585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39119   Customer #153587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39120   Customer #153589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39121   Customer #153590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39122   Customer #153594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39123   Customer #153596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39124   Customer #153599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39125   Customer #153600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39126   Customer #153601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39127   Customer #153603                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39128   Customer #153609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39129   Customer #153611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39130   Customer #153621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39131   Customer #153622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39132   Customer #153627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39133   Customer #153630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39134   Customer #153633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39135   Customer #153639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39136   Customer #153640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39137   Customer #153641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39138   Customer #153643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39139   Customer #153644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39140   Customer #153645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39141   Customer #153650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39142   Customer #153653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39143   Customer #153668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39144   Customer #153673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39145   Customer #153678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39146   Customer #153687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39147   Customer #153688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39148   Customer #153689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39149   Customer #153697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39150   Customer #153708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39151   Customer #153715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39152   Customer #153716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39153   Customer #153721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39154   Customer #153725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39155   Customer #153726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39156   Customer #153727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39157   Customer #153728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39158   Customer #153731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39159   Customer #153738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39160   Customer #153752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39161   Customer #153754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39162   Customer #153757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39163   Customer #153758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39164   Customer #153761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39165   Customer #153762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39166   Customer #153766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39167   Customer #153767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39168   Customer #153774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39169   Customer #153777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39170   Customer #153781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39171   Customer #153783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39172   Customer #153784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39173   Customer #153786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39174   Customer #153789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39175   Customer #153791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39176   Customer #153792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39177   Customer #153793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39178   Customer #153804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39179   Customer #153806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39180   Customer #153814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39181   Customer #153829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39182   Customer #153832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39183   Customer #153842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39184   Customer #153850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39185   Customer #153853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39186   Customer #153860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39187   Customer #153865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39188   Customer #153869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39189   Customer #153870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39190   Customer #153871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39191   Customer #153872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39192   Customer #153885                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39193   Customer #153887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39194   Customer #153891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39195   Customer #153892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39196   Customer #153894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39197   Customer #153896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39198   Customer #153897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39199   Customer #153898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39200   Customer #153899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39201   Customer #153900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39202   Customer #153901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39203   Customer #153902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39204   Customer #153904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39205   Customer #153905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39206   Customer #153910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39207   Customer #153911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39208   Customer #153912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39209   Customer #153915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39210   Customer #153916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39211   Customer #153918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39212   Customer #153920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39213   Customer #153921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39214   Customer #153928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39215   Customer #153929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39216   Customer #153934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39217   Customer #153938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39218   Customer #153940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39219   Customer #153947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39220   Customer #153952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39221   Customer #153953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39222   Customer #153955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39223   Customer #153957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39224   Customer #153958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39225   Customer #153962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39226   Customer #153967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39227   Customer #153970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39228   Customer #153971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39229   Customer #153972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39230   Customer #153976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39231   Customer #153978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39232   Customer #153981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39233   Customer #153983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39234   Customer #153986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39235   Customer #153993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39236   Customer #153998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39237   Customer #153999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39238   Customer #154001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39239   Customer #154009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39240   Customer #154013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39241   Customer #154020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39242   Customer #154021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39243   Customer #154031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39244   Customer #154035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39245   Customer #154037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39246   Customer #154040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39247   Customer #154045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39248   Customer #154046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39249   Customer #154051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39250   Customer #154053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39251   Customer #154058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39252   Customer #154059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39253   Customer #154060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39254   Customer #154062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39255   Customer #154064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39256   Customer #154066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39257   Customer #154067                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39258   Customer #154068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39259   Customer #154071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39260   Customer #154073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39261   Customer #154078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39262   Customer #154079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39263   Customer #154082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39264   Customer #154090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39265   Customer #154102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39266   Customer #154113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39267   Customer #154115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39268   Customer #154117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39269   Customer #154123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39270   Customer #154125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39271   Customer #154127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39272   Customer #154134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39273   Customer #154135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39274   Customer #154136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39275   Customer #154145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39276   Customer #154145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39277   Customer #154146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39278   Customer #154147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39279   Customer #154149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39280   Customer #154156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39281   Customer #154159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39282   Customer #154164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39283   Customer #154165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39284   Customer #154166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39285   Customer #154171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39286   Customer #154173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39287   Customer #154174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39288   Customer #154175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39289   Customer #154180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39290   Customer #154182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39291   Customer #154192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39292   Customer #154197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39293   Customer #154198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39294   Customer #154199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39295   Customer #154204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39296   Customer #154211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39297   Customer #154220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39298   Customer #154222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39299   Customer #154224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39300   Customer #154225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39301   Customer #154227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39302   Customer #154228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39303   Customer #154241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39304   Customer #154247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39305   Customer #154257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39306   Customer #154261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39307   Customer #154263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39308   Customer #154264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39309   Customer #154282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39310   Customer #154283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39311   Customer #154294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39312   Customer #154298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39313   Customer #154301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39314   Customer #154305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39315   Customer #154305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39316   Customer #154331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39317   Customer #154333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39318   Customer #154342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39319   Customer #154356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39320   Customer #154358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39321   Customer #154369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39322   Customer #154402                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39323   Customer #154418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39324   Customer #154423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39325   Customer #154429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39326   Customer #154432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39327   Customer #154433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39328   Customer #154441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39329   Customer #154443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39330   Customer #154454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39331   Customer #154456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39332   Customer #154463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39333   Customer #154464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39334   Customer #154468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39335   Customer #154469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39336   Customer #154486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39337   Customer #154487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39338   Customer #154491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39339   Customer #154493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39340   Customer #154498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39341   Customer #154502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39342   Customer #154504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39343   Customer #154516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39344   Customer #154528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39345   Customer #154529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39346   Customer #154532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39347   Customer #154533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39348   Customer #154535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39349   Customer #154536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39350   Customer #154546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39351   Customer #154550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39352   Customer #154553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39353   Customer #154558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39354   Customer #154564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39355   Customer #154565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39356   Customer #154568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39357   Customer #154570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39358   Customer #154572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39359   Customer #154574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39360   Customer #154575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39361   Customer #154577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39362   Customer #154578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39363   Customer #154583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39364   Customer #154585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39365   Customer #154588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39366   Customer #154589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39367   Customer #154596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39368   Customer #154598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39369   Customer #154604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39370   Customer #154607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39371   Customer #154613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39372   Customer #154615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39373   Customer #154616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39374   Customer #154617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39375   Customer #154623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39376   Customer #154628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39377   Customer #154629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39378   Customer #154630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39379   Customer #154631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39380   Customer #154632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39381   Customer #154635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39382   Customer #154642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39383   Customer #154643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39384   Customer #154644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39385   Customer #154648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39386   Customer #154649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39387   Customer #154651                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39388   Customer #154656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39389   Customer #154657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39390   Customer #154658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39391   Customer #154659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39392   Customer #154661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39393   Customer #154663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39394   Customer #154664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39395   Customer #154672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39396   Customer #154674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39397   Customer #154676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39398   Customer #154677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39399   Customer #154682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39400   Customer #154686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39401   Customer #154687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39402   Customer #154695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39403   Customer #154696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39404   Customer #154697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39405   Customer #154700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39406   Customer #154701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39407   Customer #154706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39408   Customer #154707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39409   Customer #154709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39410   Customer #154722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39411   Customer #154723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39412   Customer #154724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39413   Customer #154727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39414   Customer #154728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39415   Customer #154730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39416   Customer #154731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39417   Customer #154739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39418   Customer #154743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39419   Customer #154746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39420   Customer #154754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39421   Customer #154758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39422   Customer #154760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39423   Customer #154763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39424   Customer #154765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39425   Customer #154770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39426   Customer #154773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39427   Customer #154774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39428   Customer #154776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39429   Customer #154777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39430   Customer #154778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39431   Customer #154782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39432   Customer #154785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39433   Customer #154786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39434   Customer #154790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39435   Customer #154793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39436   Customer #154794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39437   Customer #154798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39438   Customer #154804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39439   Customer #154805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39440   Customer #154808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39441   Customer #154812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39442   Customer #154815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39443   Customer #154819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39444   Customer #154820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39445   Customer #154826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39446   Customer #154829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39447   Customer #154834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39448   Customer #154837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39449   Customer #154840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39450   Customer #154841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39451   Customer #154842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39452   Customer #154850                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39453   Customer #154859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39454   Customer #154860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39455   Customer #154863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39456   Customer #154864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39457   Customer #154866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39458   Customer #154867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39459   Customer #154871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39460   Customer #154873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39461   Customer #154874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39462   Customer #154880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39463   Customer #154883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39464   Customer #154888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39465   Customer #154889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39466   Customer #154891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39467   Customer #154894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39468   Customer #154895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39469   Customer #154898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39470   Customer #154900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39471   Customer #154902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39472   Customer #154903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39473   Customer #154905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39474   Customer #154908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39475   Customer #154909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39476   Customer #154912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39477   Customer #154919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39478   Customer #154923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39479   Customer #154924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39480   Customer #154931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39481   Customer #154933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39482   Customer #154937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39483   Customer #154939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39484   Customer #154942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39485   Customer #154943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39486   Customer #154944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39487   Customer #154961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39488   Customer #154965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39489   Customer #154966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39490   Customer #154968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39491   Customer #154972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39492   Customer #154975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39493   Customer #154976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39494   Customer #154981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39495   Customer #154982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39496   Customer #154984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39497   Customer #154986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39498   Customer #154987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39499   Customer #154992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39500   Customer #154993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39501   Customer #154997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39502   Customer #155002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39503   Customer #155007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39504   Customer #155008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39505   Customer #155010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39506   Customer #155011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39507   Customer #155017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39508   Customer #155018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39509   Customer #155019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39510   Customer #155022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39511   Customer #155025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39512   Customer #155030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39513   Customer #155031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39514   Customer #155033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39515   Customer #155052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39516   Customer #155059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39517   Customer #155061                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39518   Customer #155062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39519   Customer #155069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39520   Customer #155073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39521   Customer #155076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39522   Customer #155083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39523   Customer #155085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39524   Customer #155088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39525   Customer #155095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39526   Customer #155100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39527   Customer #155102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39528   Customer #155110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39529   Customer #155111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39530   Customer #155114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39531   Customer #155128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39532   Customer #155137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39533   Customer #155140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39534   Customer #155144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39535   Customer #155146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39536   Customer #155159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39537   Customer #155162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39538   Customer #155173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39539   Customer #155174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39540   Customer #155175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39541   Customer #155185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39542   Customer #155189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39543   Customer #155191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39544   Customer #155203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39545   Customer #155204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39546   Customer #155205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39547   Customer #155212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39548   Customer #155216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39549   Customer #155217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39550   Customer #155221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39551   Customer #155222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39552   Customer #155225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39553   Customer #155229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39554   Customer #155230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39555   Customer #155233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39556   Customer #155240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39557   Customer #155251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39558   Customer #155253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39559   Customer #155257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39560   Customer #155265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39561   Customer #155273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39562   Customer #155276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39563   Customer #155281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39564   Customer #155289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39565   Customer #155291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39566   Customer #155292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39567   Customer #155297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39568   Customer #155302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39569   Customer #155311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39570   Customer #155314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39571   Customer #155316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39572   Customer #155317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39573   Customer #155321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39574   Customer #155322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39575   Customer #155326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39576   Customer #155327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39577   Customer #155353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39578   Customer #155365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39579   Customer #155366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39580   Customer #155370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39581   Customer #155375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39582   Customer #155381                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39583   Customer #155415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39584   Customer #155440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39585   Customer #155446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39586   Customer #155447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39587   Customer #155455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39588   Customer #155467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39589   Customer #155469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39590   Customer #155470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39591   Customer #155471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39592   Customer #155479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39593   Customer #155491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39594   Customer #155494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39595   Customer #155499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39596   Customer #155505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39597   Customer #155507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39598   Customer #155510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39599   Customer #155514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39600   Customer #155518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39601   Customer #155521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39602   Customer #155524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39603   Customer #155524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39604   Customer #155524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39605   Customer #155524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39606   Customer #155529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39607   Customer #155530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39608   Customer #155532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39609   Customer #155534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39610   Customer #155536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39611   Customer #155543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39612   Customer #155546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39613   Customer #155552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39614   Customer #155554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39615   Customer #155556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39616   Customer #155564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39617   Customer #155574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39618   Customer #155576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39619   Customer #155579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39620   Customer #155580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39621   Customer #155583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39622   Customer #155585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39623   Customer #155588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39624   Customer #155592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39625   Customer #155594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39626   Customer #155601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39627   Customer #155603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39628   Customer #155604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39629   Customer #155607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39630   Customer #155608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39631   Customer #155609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39632   Customer #155618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39633   Customer #155619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39634   Customer #155619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39635   Customer #155620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39636   Customer #155626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39637   Customer #155632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39638   Customer #155633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39639   Customer #155639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39640   Customer #155641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39641   Customer #155646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39642   Customer #155648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39643   Customer #155652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39644   Customer #155654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39645   Customer #155657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39646   Customer #155661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39647   Customer #155662                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39648   Customer #155663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39649   Customer #155664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39650   Customer #155665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39651   Customer #155666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39652   Customer #155669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39653   Customer #155672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39654   Customer #155677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39655   Customer #155681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39656   Customer #155685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39657   Customer #155690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39658   Customer #155692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39659   Customer #155700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39660   Customer #155701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39661   Customer #155703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39662   Customer #155723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39663   Customer #155726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39664   Customer #155727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39665   Customer #155730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39666   Customer #155735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39667   Customer #155745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39668   Customer #155748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39669   Customer #155750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39670   Customer #155752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39671   Customer #155753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39672   Customer #155757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39673   Customer #155758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39674   Customer #155763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39675   Customer #155769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39676   Customer #155772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39677   Customer #155779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39678   Customer #155780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39679   Customer #155782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39680   Customer #155783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39681   Customer #155785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39682   Customer #155787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39683   Customer #155788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39684   Customer #155789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39685   Customer #155795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39686   Customer #155798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39687   Customer #155801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39688   Customer #155818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39689   Customer #155839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39690   Customer #155843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39691   Customer #155855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39692   Customer #155859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39693   Customer #155860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39694   Customer #155863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39695   Customer #155865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39696   Customer #155876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39697   Customer #155884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39698   Customer #155886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39699   Customer #155895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39700   Customer #155898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39701   Customer #155900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39702   Customer #155910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39703   Customer #155911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39704   Customer #155912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39705   Customer #155913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39706   Customer #155915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39707   Customer #155920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39708   Customer #155923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39709   Customer #155928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39710   Customer #155929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39711   Customer #155933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39712   Customer #155934                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39713   Customer #155935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39714   Customer #155941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39715   Customer #155942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39716   Customer #155943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39717   Customer #155944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39718   Customer #155948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39719   Customer #155950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39720   Customer #155951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39721   Customer #155957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39722   Customer #155961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39723   Customer #155963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39724   Customer #155966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39725   Customer #155990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39726   Customer #155995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39727   Customer #156008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39728   Customer #156013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39729   Customer #156015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39730   Customer #156021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39731   Customer #156028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39732   Customer #156035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39733   Customer #156038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39734   Customer #156039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39735   Customer #156041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39736   Customer #156051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39737   Customer #156059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39738   Customer #156060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39739   Customer #156062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39740   Customer #156063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39741   Customer #156065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39742   Customer #156067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39743   Customer #156069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39744   Customer #156073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39745   Customer #156074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39746   Customer #156076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39747   Customer #156077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39748   Customer #156085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39749   Customer #156087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39750   Customer #156089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39751   Customer #156090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39752   Customer #156091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39753   Customer #156093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39754   Customer #156106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39755   Customer #156107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39756   Customer #156111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39757   Customer #156117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39758   Customer #156118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39759   Customer #156121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39760   Customer #156124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39761   Customer #156127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39762   Customer #156130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39763   Customer #156137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39764   Customer #156141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39765   Customer #156147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39766   Customer #156151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39767   Customer #156152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39768   Customer #156159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39769   Customer #156166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39770   Customer #156167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39771   Customer #156173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39772   Customer #156176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39773   Customer #156180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39774   Customer #156187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39775   Customer #156192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39776   Customer #156193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39777   Customer #156204                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39778   Customer #156205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39779   Customer #156213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39780   Customer #156218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39781   Customer #156222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39782   Customer #156228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39783   Customer #156241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39784   Customer #156249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39785   Customer #156252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39786   Customer #156255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39787   Customer #156257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39788   Customer #156265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39789   Customer #156268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39790   Customer #156269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39791   Customer #156272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39792   Customer #156274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39793   Customer #156277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39794   Customer #156279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39795   Customer #156282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39796   Customer #156283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39797   Customer #156288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39798   Customer #156290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39799   Customer #156293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39800   Customer #156306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39801   Customer #156315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39802   Customer #156320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39803   Customer #156322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39804   Customer #156330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39805   Customer #156339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39806   Customer #156345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39807   Customer #156346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39808   Customer #156347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39809   Customer #156349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39810   Customer #156362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39811   Customer #156371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39812   Customer #156387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39813   Customer #156389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39814   Customer #156390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39815   Customer #156391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39816   Customer #156393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39817   Customer #156395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39818   Customer #156396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39819   Customer #156397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39820   Customer #156399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39821   Customer #156400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39822   Customer #156404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39823   Customer #156406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39824   Customer #156408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39825   Customer #156410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39826   Customer #156435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39827   Customer #156443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39828   Customer #156447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39829   Customer #156456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39830   Customer #156465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39831   Customer #156467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39832   Customer #156470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39833   Customer #156498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39834   Customer #156499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39835   Customer #156502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39836   Customer #156503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39837   Customer #156507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39838   Customer #156508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39839   Customer #156511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39840   Customer #156512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39841   Customer #156516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39842   Customer #156517                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39843   Customer #156523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39844   Customer #156525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39845   Customer #156527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39846   Customer #156533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39847   Customer #156539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39848   Customer #156541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39849   Customer #156543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39850   Customer #156546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39851   Customer #156547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39852   Customer #156548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39853   Customer #156552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39854   Customer #156556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39855   Customer #156557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39856   Customer #156562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39857   Customer #156563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39858   Customer #156565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39859   Customer #156568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39860   Customer #156571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39861   Customer #156576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39862   Customer #156578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39863   Customer #156580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39864   Customer #156583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39865   Customer #156586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39866   Customer #156587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39867   Customer #156588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39868   Customer #156590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39869   Customer #156591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39870   Customer #156592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39871   Customer #156596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39872   Customer #156597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39873   Customer #156605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39874   Customer #156607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39875   Customer #156608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39876   Customer #156610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39877   Customer #156613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39878   Customer #156618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39879   Customer #156619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39880   Customer #156620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39881   Customer #156625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39882   Customer #156636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39883   Customer #156646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39884   Customer #156647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39885   Customer #156649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39886   Customer #156652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39887   Customer #156654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39888   Customer #156659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39889   Customer #156663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39890   Customer #156672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39891   Customer #156673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39892   Customer #156677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39893   Customer #156678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39894   Customer #156679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39895   Customer #156680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39896   Customer #156685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39897   Customer #156687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39898   Customer #156696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39899   Customer #156698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39900   Customer #156703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39901   Customer #156712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39902   Customer #156714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39903   Customer #156715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39904   Customer #156721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39905   Customer #156728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39906   Customer #156731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39907   Customer #156735                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39908   Customer #156738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39909   Customer #156740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39910   Customer #156742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39911   Customer #156750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39912   Customer #156751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39913   Customer #156755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39914   Customer #156757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39915   Customer #156758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39916   Customer #156759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39917   Customer #156768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39918   Customer #156771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39919   Customer #156771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39920   Customer #156772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39921   Customer #156774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39922   Customer #156777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39923   Customer #156778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39924   Customer #156779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39925   Customer #156784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39926   Customer #156785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39927   Customer #156793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39928   Customer #156796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39929   Customer #156803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39930   Customer #156804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39931   Customer #156806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39932   Customer #156810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39933   Customer #156811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39934   Customer #156817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39935   Customer #156820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39936   Customer #156825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39937   Customer #156826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39938   Customer #156828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39939   Customer #156831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39940   Customer #156837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39941   Customer #156846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39942   Customer #156847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39943   Customer #156848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39944   Customer #156852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39945   Customer #156855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39946   Customer #156859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39947   Customer #156863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39948   Customer #156874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39949   Customer #156876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39950   Customer #156877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39951   Customer #156879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39952   Customer #156883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39953   Customer #156884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39954   Customer #156889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39955   Customer #156891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39956   Customer #156892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39957   Customer #156895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39958   Customer #156902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39959   Customer #156909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39960   Customer #156910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39961   Customer #156921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39962   Customer #156923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39963   Customer #156925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39964   Customer #156927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39965   Customer #156936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39966   Customer #156938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39967   Customer #156940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39968   Customer #156942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39969   Customer #156945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39970   Customer #156946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39971   Customer #156949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39972   Customer #156954                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.39973   Customer #156966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39974   Customer #156970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39975   Customer #156971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39976   Customer #156972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39977   Customer #156973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39978   Customer #156980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39979   Customer #156981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39980   Customer #156982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39981   Customer #156983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39982   Customer #156988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39983   Customer #156994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39984   Customer #156997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39985   Customer #157000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39986   Customer #157001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39987   Customer #157002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39988   Customer #157003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39989   Customer #157005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39990   Customer #157013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39991   Customer #157015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39992   Customer #157021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39993   Customer #157023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39994   Customer #157029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39995   Customer #157035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39996   Customer #157040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39997   Customer #157046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39998   Customer #157052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.39999   Customer #157055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40000   Customer #157060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40001   Customer #157061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40002   Customer #157062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40003   Customer #157065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40004   Customer #157071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40005   Customer #157074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40006   Customer #157080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40007   Customer #157083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40008   Customer #157095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40009   Customer #157096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40010   Customer #157098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40011   Customer #157104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40012   Customer #157111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40013   Customer #157116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40014   Customer #157118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40015   Customer #157126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40016   Customer #157134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40017   Customer #157141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40018   Customer #157149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40019   Customer #157150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40020   Customer #157152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40021   Customer #157160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40022   Customer #157163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40023   Customer #157164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40024   Customer #157166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40025   Customer #157177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40026   Customer #157178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40027   Customer #157180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40028   Customer #157202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40029   Customer #157204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40030   Customer #157215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40031   Customer #157218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40032   Customer #157220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40033   Customer #157224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40034   Customer #157233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40035   Customer #157237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40036   Customer #157242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40037   Customer #157243                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40038   Customer #157253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40039   Customer #157261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40040   Customer #157270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40041   Customer #157280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40042   Customer #157286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40043   Customer #157288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40044   Customer #157296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40045   Customer #157298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40046   Customer #157304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40047   Customer #157305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40048   Customer #157312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40049   Customer #157318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40050   Customer #157325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40051   Customer #157327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40052   Customer #157329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40053   Customer #157330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40054   Customer #157331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40055   Customer #157333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40056   Customer #157340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40057   Customer #157341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40058   Customer #157344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40059   Customer #157345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40060   Customer #157348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40061   Customer #157352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40062   Customer #157361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40063   Customer #157366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40064   Customer #157377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40065   Customer #157386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40066   Customer #157388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40067   Customer #157390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40068   Customer #157392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40069   Customer #157394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40070   Customer #157396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40071   Customer #157403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40072   Customer #157404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40073   Customer #157413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40074   Customer #157420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40075   Customer #157421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40076   Customer #157423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40077   Customer #157424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40078   Customer #157425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40079   Customer #157427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40080   Customer #157432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40081   Customer #157445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40082   Customer #157448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40083   Customer #157449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40084   Customer #157454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40085   Customer #157459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40086   Customer #157464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40087   Customer #157465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40088   Customer #157479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40089   Customer #157483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40090   Customer #157487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40091   Customer #157490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40092   Customer #157496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40093   Customer #157498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40094   Customer #157503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40095   Customer #157511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40096   Customer #157515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40097   Customer #157516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40098   Customer #157518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40099   Customer #157520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40100   Customer #157526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40101   Customer #157531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40102   Customer #157533                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40103   Customer #157534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40104   Customer #157538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40105   Customer #157540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40106   Customer #157548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40107   Customer #157552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40108   Customer #157557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40109   Customer #157558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40110   Customer #157567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40111   Customer #157573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40112   Customer #157575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40113   Customer #157576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40114   Customer #157577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40115   Customer #157578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40116   Customer #157580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40117   Customer #157582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40118   Customer #157586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40119   Customer #157590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40120   Customer #157599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40121   Customer #157601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40122   Customer #157605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40123   Customer #157610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40124   Customer #157611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40125   Customer #157613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40126   Customer #157616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40127   Customer #157617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40128   Customer #157618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40129   Customer #157620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40130   Customer #157624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40131   Customer #157634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40132   Customer #157637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40133   Customer #157648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40134   Customer #157651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40135   Customer #157653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40136   Customer #157656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40137   Customer #157659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40138   Customer #157664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40139   Customer #157667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40140   Customer #157670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40141   Customer #157677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40142   Customer #157679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40143   Customer #157680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40144   Customer #157685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40145   Customer #157688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40146   Customer #157689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40147   Customer #157691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40148   Customer #157693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40149   Customer #157694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40150   Customer #157722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40151   Customer #157725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40152   Customer #157738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40153   Customer #157744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40154   Customer #157757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40155   Customer #157758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40156   Customer #157773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40157   Customer #157779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40158   Customer #157792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40159   Customer #157795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40160   Customer #157798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40161   Customer #157806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40162   Customer #157807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40163   Customer #157811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40164   Customer #157812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40165   Customer #157818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40166   Customer #157824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40167   Customer #157831                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40168   Customer #157842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40169   Customer #157848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40170   Customer #157860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40171   Customer #157875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40172   Customer #157898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40173   Customer #157905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40174   Customer #157907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40175   Customer #157919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40176   Customer #157930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40177   Customer #157939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40178   Customer #157941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40179   Customer #157948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40180   Customer #157950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40181   Customer #157958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40182   Customer #157961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40183   Customer #157963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40184   Customer #157964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40185   Customer #157969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40186   Customer #157972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40187   Customer #157977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40188   Customer #157983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40189   Customer #157985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40190   Customer #157988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40191   Customer #157991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40192   Customer #157992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40193   Customer #157996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40194   Customer #157998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40195   Customer #158003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40196   Customer #158005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40197   Customer #158013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40198   Customer #158017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40199   Customer #158025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40200   Customer #158030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40201   Customer #158041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40202   Customer #158044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40203   Customer #158052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40204   Customer #158053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40205   Customer #158055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40206   Customer #158057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40207   Customer #158062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40208   Customer #158066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40209   Customer #158075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40210   Customer #158080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40211   Customer #158081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40212   Customer #158083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40213   Customer #158089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40214   Customer #158096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40215   Customer #158098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40216   Customer #158109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40217   Customer #158114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40218   Customer #158121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40219   Customer #158127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40220   Customer #158128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40221   Customer #158130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40222   Customer #158132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40223   Customer #158134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40224   Customer #158135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40225   Customer #158136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40226   Customer #158139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40227   Customer #158141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40228   Customer #158151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40229   Customer #158153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40230   Customer #158155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40231   Customer #158156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40232   Customer #158161                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40233   Customer #158162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40234   Customer #158164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40235   Customer #158170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40236   Customer #158174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40237   Customer #158179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40238   Customer #158180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40239   Customer #158190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40240   Customer #158197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40241   Customer #158202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40242   Customer #158203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40243   Customer #158209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40244   Customer #158216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40245   Customer #158236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40246   Customer #158236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40247   Customer #158237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40248   Customer #158238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40249   Customer #158240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40250   Customer #158241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40251   Customer #158245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40252   Customer #158247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40253   Customer #158250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40254   Customer #158253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40255   Customer #158258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40256   Customer #158281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40257   Customer #158285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40258   Customer #158306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40259   Customer #158307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40260   Customer #158311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40261   Customer #158320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40262   Customer #158323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40263   Customer #158325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40264   Customer #158330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40265   Customer #158336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40266   Customer #158339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40267   Customer #158341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40268   Customer #158346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40269   Customer #158348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40270   Customer #158351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40271   Customer #158352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40272   Customer #158355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40273   Customer #158361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40274   Customer #158364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40275   Customer #158368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40276   Customer #158372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40277   Customer #158374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40278   Customer #158381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40279   Customer #158390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40280   Customer #158393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40281   Customer #158395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40282   Customer #158404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40283   Customer #158406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40284   Customer #158409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40285   Customer #158411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40286   Customer #158413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40287   Customer #158417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40288   Customer #158419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40289   Customer #158420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40290   Customer #158425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40291   Customer #158427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40292   Customer #158431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40293   Customer #158432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40294   Customer #158447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40295   Customer #158448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40296   Customer #158458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40297   Customer #158459                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40298   Customer #158462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40299   Customer #158472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40300   Customer #158473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40301   Customer #158474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40302   Customer #158485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40303   Customer #158491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40304   Customer #158497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40305   Customer #158514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40306   Customer #158525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40307   Customer #158526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40308   Customer #158530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40309   Customer #158535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40310   Customer #158545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40311   Customer #158549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40312   Customer #158552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40313   Customer #158555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40314   Customer #158561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40315   Customer #158562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40316   Customer #158567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40317   Customer #158582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40318   Customer #158587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40319   Customer #158588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40320   Customer #158597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40321   Customer #158598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40322   Customer #158607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40323   Customer #158609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40324   Customer #158620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40325   Customer #158623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40326   Customer #158629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40327   Customer #158635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40328   Customer #158637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40329   Customer #158647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40330   Customer #158651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40331   Customer #158654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40332   Customer #158655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40333   Customer #158656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40334   Customer #158658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40335   Customer #158662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40336   Customer #158665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40337   Customer #158666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40338   Customer #158679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40339   Customer #158689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40340   Customer #158698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40341   Customer #158699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40342   Customer #158713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40343   Customer #158715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40344   Customer #158721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40345   Customer #158722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40346   Customer #158724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40347   Customer #158726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40348   Customer #158727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40349   Customer #158734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40350   Customer #158740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40351   Customer #158743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40352   Customer #158746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40353   Customer #158749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40354   Customer #158752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40355   Customer #158756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40356   Customer #158758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40357   Customer #158760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40358   Customer #158762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40359   Customer #158764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40360   Customer #158769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40361   Customer #158776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40362   Customer #158783                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40363   Customer #158784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40364   Customer #158785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40365   Customer #158790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40366   Customer #158794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40367   Customer #158799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40368   Customer #158803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40369   Customer #158809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40370   Customer #158810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40371   Customer #158811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40372   Customer #158814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40373   Customer #158816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40374   Customer #158817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40375   Customer #158819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40376   Customer #158820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40377   Customer #158822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40378   Customer #158824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40379   Customer #158830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40380   Customer #158834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40381   Customer #158835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40382   Customer #158837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40383   Customer #158840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40384   Customer #158841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40385   Customer #158843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40386   Customer #158844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40387   Customer #158845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40388   Customer #158851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40389   Customer #158852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40390   Customer #158853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40391   Customer #158854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40392   Customer #158855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40393   Customer #158856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40394   Customer #158858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40395   Customer #158859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40396   Customer #158863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40397   Customer #158865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40398   Customer #158890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40399   Customer #158893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40400   Customer #158895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40401   Customer #158900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40402   Customer #158902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40403   Customer #158903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40404   Customer #158908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40405   Customer #158913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40406   Customer #158915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40407   Customer #158916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40408   Customer #158918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40409   Customer #158919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40410   Customer #158921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40411   Customer #158922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40412   Customer #158925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40413   Customer #158929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40414   Customer #158931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40415   Customer #158932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40416   Customer #158938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40417   Customer #158939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40418   Customer #158948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40419   Customer #158949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40420   Customer #158954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40421   Customer #158956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40422   Customer #158959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40423   Customer #158963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40424   Customer #158968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40425   Customer #158979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40426   Customer #159001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40427   Customer #159003                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40428   Customer #159014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40429   Customer #159017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40430   Customer #159021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40431   Customer #159023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40432   Customer #159029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40433   Customer #159033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40434   Customer #159038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40435   Customer #159042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40436   Customer #159044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40437   Customer #159046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40438   Customer #159048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40439   Customer #159049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40440   Customer #159054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40441   Customer #159055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40442   Customer #159056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40443   Customer #159064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40444   Customer #159088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40445   Customer #159096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40446   Customer #159100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40447   Customer #159104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40448   Customer #159105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40449   Customer #159106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40450   Customer #159114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40451   Customer #159121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40452   Customer #159122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40453   Customer #159123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40454   Customer #159124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40455   Customer #159129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40456   Customer #159131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40457   Customer #159135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40458   Customer #159136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40459   Customer #159137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40460   Customer #159144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40461   Customer #159149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40462   Customer #159150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40463   Customer #159155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40464   Customer #159156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40465   Customer #159158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40466   Customer #159160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40467   Customer #159162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40468   Customer #159164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40469   Customer #159168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40470   Customer #159172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40471   Customer #159173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40472   Customer #159176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40473   Customer #159179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40474   Customer #159182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40475   Customer #159183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40476   Customer #159203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40477   Customer #159210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40478   Customer #159212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40479   Customer #159221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40480   Customer #159223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40481   Customer #159224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40482   Customer #159228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40483   Customer #159232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40484   Customer #159234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40485   Customer #159235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40486   Customer #159236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40487   Customer #159241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40488   Customer #159245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40489   Customer #159258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40490   Customer #159259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40491   Customer #159261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40492   Customer #159262                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40493   Customer #159264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40494   Customer #159265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40495   Customer #159274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40496   Customer #159276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40497   Customer #159278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40498   Customer #159283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40499   Customer #159286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40500   Customer #159287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40501   Customer #159290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40502   Customer #159296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40503   Customer #159297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40504   Customer #159305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40505   Customer #159306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40506   Customer #159318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40507   Customer #159320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40508   Customer #159323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40509   Customer #159331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40510   Customer #159334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40511   Customer #159338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40512   Customer #159346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40513   Customer #159363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40514   Customer #159378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40515   Customer #159384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40516   Customer #159394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40517   Customer #159397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40518   Customer #159411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40519   Customer #159412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40520   Customer #159413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40521   Customer #159414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40522   Customer #159416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40523   Customer #159423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40524   Customer #159426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40525   Customer #159429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40526   Customer #159444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40527   Customer #159445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40528   Customer #159446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40529   Customer #159447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40530   Customer #159452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40531   Customer #159454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40532   Customer #159455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40533   Customer #159456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40534   Customer #159461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40535   Customer #159462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40536   Customer #159468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40537   Customer #159470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40538   Customer #159481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40539   Customer #159489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40540   Customer #159491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40541   Customer #159492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40542   Customer #159495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40543   Customer #159500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40544   Customer #159502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40545   Customer #159505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40546   Customer #159510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40547   Customer #159511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40548   Customer #159518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40549   Customer #159519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40550   Customer #159521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40551   Customer #159522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40552   Customer #159525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40553   Customer #159526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40554   Customer #159529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40555   Customer #159531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40556   Customer #159532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40557   Customer #159545                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40558   Customer #159546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40559   Customer #159548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40560   Customer #159557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40561   Customer #159570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40562   Customer #159576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40563   Customer #159582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40564   Customer #159583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40565   Customer #159586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40566   Customer #159587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40567   Customer #159588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40568   Customer #159607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40569   Customer #159610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40570   Customer #159612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40571   Customer #159613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40572   Customer #159614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40573   Customer #159620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40574   Customer #159626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40575   Customer #159627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40576   Customer #159628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40577   Customer #159632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40578   Customer #159636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40579   Customer #159637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40580   Customer #159640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40581   Customer #159646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40582   Customer #159647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40583   Customer #159648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40584   Customer #159653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40585   Customer #159656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40586   Customer #159661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40587   Customer #159662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40588   Customer #159665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40589   Customer #159667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40590   Customer #159709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40591   Customer #159711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40592   Customer #159725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40593   Customer #159732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40594   Customer #159736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40595   Customer #159739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40596   Customer #159741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40597   Customer #159749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40598   Customer #159750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40599   Customer #159763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40600   Customer #159769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40601   Customer #159772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40602   Customer #159772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40603   Customer #159772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40604   Customer #159772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40605   Customer #159773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40606   Customer #159774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40607   Customer #159779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40608   Customer #159782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40609   Customer #159784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40610   Customer #159785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40611   Customer #159787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40612   Customer #159789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40613   Customer #159791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40614   Customer #159793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40615   Customer #159804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40616   Customer #159805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40617   Customer #159807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40618   Customer #159810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40619   Customer #159816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40620   Customer #159822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40621   Customer #159827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40622   Customer #159828                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40623   Customer #159840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40624   Customer #159850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40625   Customer #159855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40626   Customer #159865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40627   Customer #159871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40628   Customer #159874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40629   Customer #159881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40630   Customer #159892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40631   Customer #159895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40632   Customer #159897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40633   Customer #159898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40634   Customer #159901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40635   Customer #159910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40636   Customer #159910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40637   Customer #159911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40638   Customer #159917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40639   Customer #159922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40640   Customer #159927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40641   Customer #159930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40642   Customer #159931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40643   Customer #159934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40644   Customer #159936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40645   Customer #159945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40646   Customer #159946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40647   Customer #159951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40648   Customer #159957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40649   Customer #159963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40650   Customer #159964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40651   Customer #159974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40652   Customer #159976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40653   Customer #159978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40654   Customer #159983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40655   Customer #159988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40656   Customer #159995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40657   Customer #160007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40658   Customer #160011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40659   Customer #160012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40660   Customer #160016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40661   Customer #160020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40662   Customer #160025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40663   Customer #160027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40664   Customer #160030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40665   Customer #160031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40666   Customer #160037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40667   Customer #160038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40668   Customer #160040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40669   Customer #160051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40670   Customer #160058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40671   Customer #160061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40672   Customer #160065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40673   Customer #160075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40674   Customer #160083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40675   Customer #160087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40676   Customer #160089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40677   Customer #160095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40678   Customer #160100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40679   Customer #160101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40680   Customer #160119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40681   Customer #160124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40682   Customer #160128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40683   Customer #160144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40684   Customer #160145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40685   Customer #160154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40686   Customer #160170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40687   Customer #160172                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40688   Customer #160173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40689   Customer #160174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40690   Customer #160177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40691   Customer #160178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40692   Customer #160179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40693   Customer #160181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40694   Customer #160183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40695   Customer #160184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40696   Customer #160185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40697   Customer #160186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40698   Customer #160191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40699   Customer #160195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40700   Customer #160202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40701   Customer #160207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40702   Customer #160210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40703   Customer #160212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40704   Customer #160215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40705   Customer #160216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40706   Customer #160220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40707   Customer #160223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40708   Customer #160224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40709   Customer #160226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40710   Customer #160229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40711   Customer #160230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40712   Customer #160236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40713   Customer #160248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40714   Customer #160254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40715   Customer #160258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40716   Customer #160260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40717   Customer #160265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40718   Customer #160268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40719   Customer #160276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40720   Customer #160280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40721   Customer #160281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40722   Customer #160282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40723   Customer #160283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40724   Customer #160299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40725   Customer #160302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40726   Customer #160303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40727   Customer #160305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40728   Customer #160306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40729   Customer #160307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40730   Customer #160312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40731   Customer #160319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40732   Customer #160320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40733   Customer #160324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40734   Customer #160325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40735   Customer #160344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40736   Customer #160345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40737   Customer #160349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40738   Customer #160350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40739   Customer #160352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40740   Customer #160356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40741   Customer #160358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40742   Customer #160365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40743   Customer #160372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40744   Customer #160373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40745   Customer #160381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40746   Customer #160385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40747   Customer #160390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40748   Customer #160397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40749   Customer #160399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40750   Customer #160402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40751   Customer #160403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40752   Customer #160409                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40753   Customer #160411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40754   Customer #160418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40755   Customer #160420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40756   Customer #160422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40757   Customer #160425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40758   Customer #160427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40759   Customer #160430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40760   Customer #160432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40761   Customer #160442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40762   Customer #160444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40763   Customer #160450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40764   Customer #160452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40765   Customer #160454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40766   Customer #160455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40767   Customer #160460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40768   Customer #160463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40769   Customer #160473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40770   Customer #160476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40771   Customer #160477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40772   Customer #160479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40773   Customer #160489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40774   Customer #160493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40775   Customer #160494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40776   Customer #160503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40777   Customer #160507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40778   Customer #160510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40779   Customer #160512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40780   Customer #160517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40781   Customer #160533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40782   Customer #160534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40783   Customer #160544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40784   Customer #160550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40785   Customer #160554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40786   Customer #160555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40787   Customer #160575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40788   Customer #160578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40789   Customer #160594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40790   Customer #160598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40791   Customer #160600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40792   Customer #160603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40793   Customer #160604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40794   Customer #160607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40795   Customer #160624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40796   Customer #160636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40797   Customer #160638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40798   Customer #160639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40799   Customer #160646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40800   Customer #160650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40801   Customer #160664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40802   Customer #160670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40803   Customer #160673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40804   Customer #160675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40805   Customer #160689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40806   Customer #160690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40807   Customer #160698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40808   Customer #160709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40809   Customer #160710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40810   Customer #160733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40811   Customer #160734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40812   Customer #160748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40813   Customer #160762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40814   Customer #160763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40815   Customer #160793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40816   Customer #160795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40817   Customer #160802                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40818   Customer #160807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40819   Customer #160809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40820   Customer #160810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40821   Customer #160811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40822   Customer #160817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40823   Customer #160830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40824   Customer #160834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40825   Customer #160837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40826   Customer #160842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40827   Customer #160843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40828   Customer #160846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40829   Customer #160851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40830   Customer #160851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40831   Customer #160864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40832   Customer #160865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40833   Customer #160866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40834   Customer #160873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40835   Customer #160886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40836   Customer #160889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40837   Customer #160890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40838   Customer #160891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40839   Customer #160893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40840   Customer #160900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40841   Customer #160902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40842   Customer #160911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40843   Customer #160912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40844   Customer #160916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40845   Customer #160919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40846   Customer #160923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40847   Customer #160925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40848   Customer #160928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40849   Customer #160928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40850   Customer #160929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40851   Customer #160931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40852   Customer #160933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40853   Customer #160935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40854   Customer #160938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40855   Customer #160940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40856   Customer #160946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40857   Customer #160949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40858   Customer #160959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40859   Customer #160962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40860   Customer #160973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40861   Customer #160982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40862   Customer #160984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40863   Customer #160987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40864   Customer #160995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40865   Customer #160996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40866   Customer #161001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40867   Customer #161007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40868   Customer #161015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40869   Customer #161019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40870   Customer #161020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40871   Customer #161022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40872   Customer #161031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40873   Customer #161032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40874   Customer #161039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40875   Customer #161041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40876   Customer #161042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40877   Customer #161048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40878   Customer #161054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40879   Customer #161058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40880   Customer #161063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40881   Customer #161065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40882   Customer #161071                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40883   Customer #161074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40884   Customer #161076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40885   Customer #161083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40886   Customer #161089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40887   Customer #161090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40888   Customer #161094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40889   Customer #161096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40890   Customer #161101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40891   Customer #161104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40892   Customer #161110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40893   Customer #161111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40894   Customer #161113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40895   Customer #161114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40896   Customer #161117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40897   Customer #161124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40898   Customer #161131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40899   Customer #161132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40900   Customer #161138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40901   Customer #161139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40902   Customer #161143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40903   Customer #161158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40904   Customer #161159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40905   Customer #161160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40906   Customer #161165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40907   Customer #161171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40908   Customer #161172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40909   Customer #161176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40910   Customer #161180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40911   Customer #161183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40912   Customer #161188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40913   Customer #161195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40914   Customer #161196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40915   Customer #161202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40916   Customer #161204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40917   Customer #161205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40918   Customer #161222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40919   Customer #161227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40920   Customer #161234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40921   Customer #161238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40922   Customer #161239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40923   Customer #161243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40924   Customer #161245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40925   Customer #161250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40926   Customer #161252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40927   Customer #161256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40928   Customer #161260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40929   Customer #161276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40930   Customer #161277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40931   Customer #161287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40932   Customer #161307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40933   Customer #161314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40934   Customer #161315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40935   Customer #161318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40936   Customer #161323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40937   Customer #161327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40938   Customer #161329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40939   Customer #161343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40940   Customer #161345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40941   Customer #161346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40942   Customer #161347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40943   Customer #161348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40944   Customer #161359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40945   Customer #161360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40946   Customer #161372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40947   Customer #161380                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.40948   Customer #161381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40949   Customer #161387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40950   Customer #161394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40951   Customer #161395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40952   Customer #161410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40953   Customer #161414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40954   Customer #161419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40955   Customer #161424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40956   Customer #161435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40957   Customer #161438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40958   Customer #161443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40959   Customer #161450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40960   Customer #161454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40961   Customer #161458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40962   Customer #161460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40963   Customer #161462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40964   Customer #161465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40965   Customer #161467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40966   Customer #161469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40967   Customer #161472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40968   Customer #161481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40969   Customer #161482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40970   Customer #161484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40971   Customer #161486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40972   Customer #161487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40973   Customer #161494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40974   Customer #161498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40975   Customer #161502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40976   Customer #161505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40977   Customer #161506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40978   Customer #161509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40979   Customer #161511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40980   Customer #161522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40981   Customer #161526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40982   Customer #161527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40983   Customer #161528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40984   Customer #161531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40985   Customer #161536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40986   Customer #161541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40987   Customer #161544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40988   Customer #161545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40989   Customer #161548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40990   Customer #161549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40991   Customer #161557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40992   Customer #161562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40993   Customer #161569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40994   Customer #161574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40995   Customer #161575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40996   Customer #161577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40997   Customer #161578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40998   Customer #161587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.40999   Customer #161610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41000   Customer #161624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41001   Customer #161636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41002   Customer #161642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41003   Customer #161645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41004   Customer #161671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41005   Customer #161678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41006   Customer #161680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41007   Customer #161681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41008   Customer #161688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41009   Customer #161699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41010   Customer #161721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41011   Customer #161728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41012   Customer #161731                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41013   Customer #161737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41014   Customer #161739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41015   Customer #161749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41016   Customer #161751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41017   Customer #161769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41018   Customer #161770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41019   Customer #161772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41020   Customer #161774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41021   Customer #161775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41022   Customer #161778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41023   Customer #161782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41024   Customer #161785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41025   Customer #161787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41026   Customer #161790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41027   Customer #161795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41028   Customer #161797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41029   Customer #161798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41030   Customer #161801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41031   Customer #161811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41032   Customer #161822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41033   Customer #161823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41034   Customer #161827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41035   Customer #161829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41036   Customer #161830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41037   Customer #161837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41038   Customer #161840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41039   Customer #161845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41040   Customer #161848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41041   Customer #161855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41042   Customer #161857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41043   Customer #161860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41044   Customer #161861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41045   Customer #161864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41046   Customer #161867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41047   Customer #161878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41048   Customer #161880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41049   Customer #161881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41050   Customer #161887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41051   Customer #161891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41052   Customer #161895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41053   Customer #161905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41054   Customer #161907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41055   Customer #161909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41056   Customer #161915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41057   Customer #161920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41058   Customer #161936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41059   Customer #161941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41060   Customer #161942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41061   Customer #161946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41062   Customer #161949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41063   Customer #161963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41064   Customer #161967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41065   Customer #161970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41066   Customer #161976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41067   Customer #161977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41068   Customer #161981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41069   Customer #161986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41070   Customer #161987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41071   Customer #161988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41072   Customer #161994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41073   Customer #162001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41074   Customer #162018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41075   Customer #162030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41076   Customer #162033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41077   Customer #162045                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41078   Customer #162051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41079   Customer #162054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41080   Customer #162059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41081   Customer #162061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41082   Customer #162062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41083   Customer #162071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41084   Customer #162074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41085   Customer #162076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41086   Customer #162088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41087   Customer #162099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41088   Customer #162103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41089   Customer #162104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41090   Customer #162108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41091   Customer #162116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41092   Customer #162120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41093   Customer #162123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41094   Customer #162125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41095   Customer #162129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41096   Customer #162130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41097   Customer #162142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41098   Customer #162146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41099   Customer #162148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41100   Customer #162150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41101   Customer #162150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41102   Customer #162152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41103   Customer #162153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41104   Customer #162183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41105   Customer #162206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41106   Customer #162210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41107   Customer #162219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41108   Customer #162221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41109   Customer #162226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41110   Customer #162234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41111   Customer #162236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41112   Customer #162242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41113   Customer #162245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41114   Customer #162246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41115   Customer #162249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41116   Customer #162250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41117   Customer #162254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41118   Customer #162256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41119   Customer #162258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41120   Customer #162259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41121   Customer #162260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41122   Customer #162279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41123   Customer #162281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41124   Customer #162292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41125   Customer #162294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41126   Customer #162300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41127   Customer #162309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41128   Customer #162318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41129   Customer #162319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41130   Customer #162321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41131   Customer #162322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41132   Customer #162326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41133   Customer #162333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41134   Customer #162338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41135   Customer #162342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41136   Customer #162349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41137   Customer #162362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41138   Customer #162367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41139   Customer #162368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41140   Customer #162369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41141   Customer #162370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41142   Customer #162384                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41143   Customer #162385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41144   Customer #162386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41145   Customer #162398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41146   Customer #162401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41147   Customer #162413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41148   Customer #162417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41149   Customer #162419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41150   Customer #162422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41151   Customer #162423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41152   Customer #162429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41153   Customer #162431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41154   Customer #162434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41155   Customer #162436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41156   Customer #162437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41157   Customer #162438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41158   Customer #162439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41159   Customer #162440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41160   Customer #162442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41161   Customer #162444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41162   Customer #162448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41163   Customer #162457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41164   Customer #162464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41165   Customer #162469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41166   Customer #162473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41167   Customer #162480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41168   Customer #162482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41169   Customer #162483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41170   Customer #162492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41171   Customer #162498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41172   Customer #162501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41173   Customer #162501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41174   Customer #162503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41175   Customer #162509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41176   Customer #162513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41177   Customer #162515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41178   Customer #162534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41179   Customer #162541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41180   Customer #162545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41181   Customer #162545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41182   Customer #162551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41183   Customer #162572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41184   Customer #162573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41185   Customer #162575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41186   Customer #162576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41187   Customer #162577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41188   Customer #162580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41189   Customer #162596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41190   Customer #162600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41191   Customer #162616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41192   Customer #162631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41193   Customer #162632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41194   Customer #162638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41195   Customer #162649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41196   Customer #162653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41197   Customer #162678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41198   Customer #162691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41199   Customer #162692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41200   Customer #162698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41201   Customer #162704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41202   Customer #162705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41203   Customer #162710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41204   Customer #162722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41205   Customer #162746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41206   Customer #162760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41207   Customer #162767                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41208   Customer #162769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41209   Customer #162770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41210   Customer #162778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41211   Customer #162782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41212   Customer #162788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41213   Customer #162790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41214   Customer #162791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41215   Customer #162798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41216   Customer #162799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41217   Customer #162806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41218   Customer #162810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41219   Customer #162812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41220   Customer #162814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41221   Customer #162822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41222   Customer #162824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41223   Customer #162830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41224   Customer #162831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41225   Customer #162832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41226   Customer #162835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41227   Customer #162841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41228   Customer #162847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41229   Customer #162853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41230   Customer #162859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41231   Customer #162871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41232   Customer #162873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41233   Customer #162876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41234   Customer #162877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41235   Customer #162888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41236   Customer #162895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41237   Customer #162913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41238   Customer #162917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41239   Customer #162918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41240   Customer #162920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41241   Customer #162923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41242   Customer #162926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41243   Customer #162928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41244   Customer #162945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41245   Customer #162946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41246   Customer #162955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41247   Customer #162963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41248   Customer #162964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41249   Customer #162966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41250   Customer #162967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41251   Customer #162976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41252   Customer #162985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41253   Customer #162986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41254   Customer #162987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41255   Customer #162988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41256   Customer #163013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41257   Customer #163018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41258   Customer #163020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41259   Customer #163033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41260   Customer #163039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41261   Customer #163043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41262   Customer #163050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41263   Customer #163053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41264   Customer #163057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41265   Customer #163071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41266   Customer #163075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41267   Customer #163076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41268   Customer #163112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41269   Customer #163113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41270   Customer #163118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41271   Customer #163119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41272   Customer #163120                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41273   Customer #163141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41274   Customer #163142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41275   Customer #163144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41276   Customer #163157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41277   Customer #163159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41278   Customer #163174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41279   Customer #163178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41280   Customer #163185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41281   Customer #163208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41282   Customer #163209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41283   Customer #163213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41284   Customer #163230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41285   Customer #163240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41286   Customer #163244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41287   Customer #163247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41288   Customer #163255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41289   Customer #163259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41290   Customer #163265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41291   Customer #163276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41292   Customer #163278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41293   Customer #163282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41294   Customer #163285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41295   Customer #163291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41296   Customer #163293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41297   Customer #163293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41298   Customer #163294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41299   Customer #163295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41300   Customer #163298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41301   Customer #163307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41302   Customer #163318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41303   Customer #163319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41304   Customer #163321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41305   Customer #163324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41306   Customer #163326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41307   Customer #163332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41308   Customer #163337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41309   Customer #163338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41310   Customer #163346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41311   Customer #163350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41312   Customer #163353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41313   Customer #163357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41314   Customer #163362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41315   Customer #163364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41316   Customer #163365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41317   Customer #163368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41318   Customer #163371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41319   Customer #163372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41320   Customer #163378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41321   Customer #163382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41322   Customer #163397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41323   Customer #163400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41324   Customer #163408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41325   Customer #163415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41326   Customer #163427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41327   Customer #163438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41328   Customer #163442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41329   Customer #163443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41330   Customer #163445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41331   Customer #163455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41332   Customer #163458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41333   Customer #163461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41334   Customer #163470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41335   Customer #163474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41336   Customer #163476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41337   Customer #163479                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41338   Customer #163485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41339   Customer #163488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41340   Customer #163489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41341   Customer #163490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41342   Customer #163499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41343   Customer #163502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41344   Customer #163508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41345   Customer #163510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41346   Customer #163513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41347   Customer #163518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41348   Customer #163518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41349   Customer #163521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41350   Customer #163528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41351   Customer #163541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41352   Customer #163543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41353   Customer #163550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41354   Customer #163556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41355   Customer #163557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41356   Customer #163570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41357   Customer #163575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41358   Customer #163581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41359   Customer #163592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41360   Customer #163595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41361   Customer #163598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41362   Customer #163600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41363   Customer #163610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41364   Customer #163612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41365   Customer #163618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41366   Customer #163633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41367   Customer #163649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41368   Customer #163650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41369   Customer #163658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41370   Customer #163660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41371   Customer #163664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41372   Customer #163665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41373   Customer #163693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41374   Customer #163699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41375   Customer #163707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41376   Customer #163709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41377   Customer #163718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41378   Customer #163719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41379   Customer #163722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41380   Customer #163727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41381   Customer #163733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41382   Customer #163737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41383   Customer #163738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41384   Customer #163741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41385   Customer #163753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41386   Customer #163754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41387   Customer #163759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41388   Customer #163774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41389   Customer #163780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41390   Customer #163787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41391   Customer #163789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41392   Customer #163802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41393   Customer #163805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41394   Customer #163810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41395   Customer #163819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41396   Customer #163821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41397   Customer #163822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41398   Customer #163826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41399   Customer #163830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41400   Customer #163847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41401   Customer #163852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41402   Customer #163867                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41403   Customer #163870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41404   Customer #163871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41405   Customer #163878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41406   Customer #163886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41407   Customer #163890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41408   Customer #163892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41409   Customer #163898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41410   Customer #163903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41411   Customer #163906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41412   Customer #163914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41413   Customer #163915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41414   Customer #163921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41415   Customer #163934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41416   Customer #163935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41417   Customer #163937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41418   Customer #163949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41419   Customer #163952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41420   Customer #163953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41421   Customer #163954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41422   Customer #163961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41423   Customer #163962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41424   Customer #163966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41425   Customer #163968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41426   Customer #163969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41427   Customer #163972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41428   Customer #163977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41429   Customer #163981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41430   Customer #163983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41431   Customer #163988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41432   Customer #164008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41433   Customer #164013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41434   Customer #164042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41435   Customer #164047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41436   Customer #164051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41437   Customer #164068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41438   Customer #164072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41439   Customer #164074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41440   Customer #164077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41441   Customer #164090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41442   Customer #164106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41443   Customer #164110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41444   Customer #164118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41445   Customer #164130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41446   Customer #164132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41447   Customer #164140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41448   Customer #164141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41449   Customer #164149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41450   Customer #164153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41451   Customer #164163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41452   Customer #164194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41453   Customer #164203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41454   Customer #164203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41455   Customer #164204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41456   Customer #164214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41457   Customer #164217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41458   Customer #164221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41459   Customer #164223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41460   Customer #164229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41461   Customer #164237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41462   Customer #164238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41463   Customer #164242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41464   Customer #164245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41465   Customer #164248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41466   Customer #164250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41467   Customer #164252                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41468   Customer #164261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41469   Customer #164269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41470   Customer #164271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41471   Customer #164277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41472   Customer #164287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41473   Customer #164288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41474   Customer #164294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41475   Customer #164298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41476   Customer #164301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41477   Customer #164304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41478   Customer #164305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41479   Customer #164306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41480   Customer #164308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41481   Customer #164320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41482   Customer #164328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41483   Customer #164334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41484   Customer #164342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41485   Customer #164343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41486   Customer #164344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41487   Customer #164348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41488   Customer #164359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41489   Customer #164372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41490   Customer #164376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41491   Customer #164378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41492   Customer #164381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41493   Customer #164384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41494   Customer #164385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41495   Customer #164387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41496   Customer #164388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41497   Customer #164391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41498   Customer #164406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41499   Customer #164407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41500   Customer #164409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41501   Customer #164413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41502   Customer #164414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41503   Customer #164416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41504   Customer #164417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41505   Customer #164418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41506   Customer #164429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41507   Customer #164431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41508   Customer #164438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41509   Customer #164440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41510   Customer #164441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41511   Customer #164449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41512   Customer #164481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41513   Customer #164483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41514   Customer #164489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41515   Customer #164491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41516   Customer #164493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41517   Customer #164495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41518   Customer #164505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41519   Customer #164506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41520   Customer #164512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41521   Customer #164516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41522   Customer #164518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41523   Customer #164521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41524   Customer #164528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41525   Customer #164529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41526   Customer #164535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41527   Customer #164538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41528   Customer #164543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41529   Customer #164544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41530   Customer #164545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41531   Customer #164548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41532   Customer #164549                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41533   Customer #164550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41534   Customer #164551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41535   Customer #164557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41536   Customer #164559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41537   Customer #164563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41538   Customer #164565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41539   Customer #164571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41540   Customer #164575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41541   Customer #164576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41542   Customer #164585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41543   Customer #164591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41544   Customer #164593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41545   Customer #164596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41546   Customer #164601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41547   Customer #164603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41548   Customer #164609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41549   Customer #164619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41550   Customer #164636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41551   Customer #164646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41552   Customer #164647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41553   Customer #164648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41554   Customer #164651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41555   Customer #164663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41556   Customer #164665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41557   Customer #164669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41558   Customer #164695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41559   Customer #164702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41560   Customer #164704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41561   Customer #164711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41562   Customer #164720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41563   Customer #164723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41564   Customer #164728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41565   Customer #164731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41566   Customer #164738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41567   Customer #164740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41568   Customer #164748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41569   Customer #164753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41570   Customer #164758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41571   Customer #164761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41572   Customer #164779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41573   Customer #164781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41574   Customer #164783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41575   Customer #164792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41576   Customer #164793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41577   Customer #164794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41578   Customer #164804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41579   Customer #164807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41580   Customer #164810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41581   Customer #164811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41582   Customer #164812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41583   Customer #164818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41584   Customer #164821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41585   Customer #164829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41586   Customer #164830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41587   Customer #164831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41588   Customer #164836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41589   Customer #164840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41590   Customer #164847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41591   Customer #164851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41592   Customer #164868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41593   Customer #164871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41594   Customer #164873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41595   Customer #164875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41596   Customer #164881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41597   Customer #164883                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41598   Customer #164888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41599   Customer #164889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41600   Customer #164903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41601   Customer #164905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41602   Customer #164907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41603   Customer #164909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41604   Customer #164948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41605   Customer #164958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41606   Customer #164961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41607   Customer #164966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41608   Customer #164976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41609   Customer #164977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41610   Customer #164988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41611   Customer #165002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41612   Customer #165003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41613   Customer #165005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41614   Customer #165006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41615   Customer #165007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41616   Customer #165014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41617   Customer #165025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41618   Customer #165029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41619   Customer #165043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41620   Customer #165044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41621   Customer #165046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41622   Customer #165049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41623   Customer #165050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41624   Customer #165056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41625   Customer #165076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41626   Customer #165079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41627   Customer #165084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41628   Customer #165085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41629   Customer #165086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41630   Customer #165087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41631   Customer #165088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41632   Customer #165090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41633   Customer #165094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41634   Customer #165099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41635   Customer #165106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41636   Customer #165113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41637   Customer #165124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41638   Customer #165127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41639   Customer #165138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41640   Customer #165139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41641   Customer #165141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41642   Customer #165145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41643   Customer #165148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41644   Customer #165155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41645   Customer #165160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41646   Customer #165179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41647   Customer #165183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41648   Customer #165185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41649   Customer #165197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41650   Customer #165203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41651   Customer #165210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41652   Customer #165214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41653   Customer #165216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41654   Customer #165222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41655   Customer #165223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41656   Customer #165228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41657   Customer #165234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41658   Customer #165248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41659   Customer #165256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41660   Customer #165259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41661   Customer #165260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41662   Customer #165263                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41663   Customer #165264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41664   Customer #165265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41665   Customer #165269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41666   Customer #165272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41667   Customer #165277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41668   Customer #165278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41669   Customer #165283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41670   Customer #165284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41671   Customer #165294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41672   Customer #165298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41673   Customer #165299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41674   Customer #165302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41675   Customer #165303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41676   Customer #165309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41677   Customer #165310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41678   Customer #165314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41679   Customer #165331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41680   Customer #165333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41681   Customer #165338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41682   Customer #165354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41683   Customer #165355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41684   Customer #165364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41685   Customer #165366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41686   Customer #165371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41687   Customer #165372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41688   Customer #165375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41689   Customer #165378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41690   Customer #165392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41691   Customer #165397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41692   Customer #165404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41693   Customer #165410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41694   Customer #165411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41695   Customer #165413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41696   Customer #165414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41697   Customer #165421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41698   Customer #165427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41699   Customer #165428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41700   Customer #165440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41701   Customer #165447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41702   Customer #165469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41703   Customer #165473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41704   Customer #165491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41705   Customer #165495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41706   Customer #165497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41707   Customer #165498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41708   Customer #165499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41709   Customer #165501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41710   Customer #165501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41711   Customer #165502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41712   Customer #165509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41713   Customer #165510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41714   Customer #165511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41715   Customer #165513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41716   Customer #165522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41717   Customer #165523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41718   Customer #165541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41719   Customer #165543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41720   Customer #165545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41721   Customer #165551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41722   Customer #165559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41723   Customer #165563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41724   Customer #165568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41725   Customer #165569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41726   Customer #165574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41727   Customer #165576                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41728   Customer #165580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41729   Customer #165589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41730   Customer #165591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41731   Customer #165603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41732   Customer #165623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41733   Customer #165626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41734   Customer #165640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41735   Customer #165645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41736   Customer #165661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41737   Customer #165689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41738   Customer #165690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41739   Customer #165691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41740   Customer #165692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41741   Customer #165704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41742   Customer #165707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41743   Customer #165716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41744   Customer #165727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41745   Customer #165732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41746   Customer #165735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41747   Customer #165744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41748   Customer #165745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41749   Customer #165754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41750   Customer #165756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41751   Customer #165763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41752   Customer #165772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41753   Customer #165780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41754   Customer #165781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41755   Customer #165786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41756   Customer #165791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41757   Customer #165796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41758   Customer #165798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41759   Customer #165799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41760   Customer #165801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41761   Customer #165810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41762   Customer #165829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41763   Customer #165831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41764   Customer #165832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41765   Customer #165837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41766   Customer #165838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41767   Customer #165839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41768   Customer #165840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41769   Customer #165851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41770   Customer #165852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41771   Customer #165855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41772   Customer #165857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41773   Customer #165867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41774   Customer #165871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41775   Customer #165877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41776   Customer #165880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41777   Customer #165882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41778   Customer #165894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41779   Customer #165894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41780   Customer #165896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41781   Customer #165898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41782   Customer #165899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41783   Customer #165900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41784   Customer #165903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41785   Customer #165905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41786   Customer #165908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41787   Customer #165929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41788   Customer #165931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41789   Customer #165933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41790   Customer #165935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41791   Customer #165941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41792   Customer #165942                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41793   Customer #165944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41794   Customer #165945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41795   Customer #165946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41796   Customer #165947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41797   Customer #165951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41798   Customer #165958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41799   Customer #165959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41800   Customer #165964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41801   Customer #165976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41802   Customer #165978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41803   Customer #165981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41804   Customer #165986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41805   Customer #166008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41806   Customer #166010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41807   Customer #166011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41808   Customer #166018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41809   Customer #166021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41810   Customer #166027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41811   Customer #166030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41812   Customer #166031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41813   Customer #166039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41814   Customer #166045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41815   Customer #166046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41816   Customer #166049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41817   Customer #166053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41818   Customer #166054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41819   Customer #166061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41820   Customer #166063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41821   Customer #166066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41822   Customer #166075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41823   Customer #166076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41824   Customer #166083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41825   Customer #166084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41826   Customer #166089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41827   Customer #166092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41828   Customer #166099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41829   Customer #166100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41830   Customer #166104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41831   Customer #166106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41832   Customer #166109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41833   Customer #166111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41834   Customer #166115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41835   Customer #166117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41836   Customer #166127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41837   Customer #166138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41838   Customer #166139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41839   Customer #166144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41840   Customer #166148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41841   Customer #166151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41842   Customer #166157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41843   Customer #166158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41844   Customer #166161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41845   Customer #166162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41846   Customer #166163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41847   Customer #166166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41848   Customer #166171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41849   Customer #166173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41850   Customer #166180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41851   Customer #166183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41852   Customer #166184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41853   Customer #166189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41854   Customer #166191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41855   Customer #166192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41856   Customer #166205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41857   Customer #166206                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41858   Customer #166209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41859   Customer #166210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41860   Customer #166212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41861   Customer #166218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41862   Customer #166219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41863   Customer #166224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41864   Customer #166231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41865   Customer #166237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41866   Customer #166264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41867   Customer #166268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41868   Customer #166270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41869   Customer #166275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41870   Customer #166276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41871   Customer #166277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41872   Customer #166278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41873   Customer #166283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41874   Customer #166288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41875   Customer #166299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41876   Customer #166301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41877   Customer #166304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41878   Customer #166305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41879   Customer #166310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41880   Customer #166312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41881   Customer #166322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41882   Customer #166325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41883   Customer #166328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41884   Customer #166335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41885   Customer #166337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41886   Customer #166341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41887   Customer #166342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41888   Customer #166344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41889   Customer #166353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41890   Customer #166365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41891   Customer #166366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41892   Customer #166368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41893   Customer #166369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41894   Customer #166371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41895   Customer #166372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41896   Customer #166373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41897   Customer #166374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41898   Customer #166376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41899   Customer #166377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41900   Customer #166384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41901   Customer #166390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41902   Customer #166392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41903   Customer #166397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41904   Customer #166408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41905   Customer #166412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41906   Customer #166413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41907   Customer #166415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41908   Customer #166420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41909   Customer #166428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41910   Customer #166434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41911   Customer #166436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41912   Customer #166438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41913   Customer #166441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41914   Customer #166457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41915   Customer #166462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41916   Customer #166464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41917   Customer #166465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41918   Customer #166469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41919   Customer #166471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41920   Customer #166475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41921   Customer #166479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41922   Customer #166484                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41923   Customer #166490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41924   Customer #166491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41925   Customer #166492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41926   Customer #166499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41927   Customer #166501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41928   Customer #166509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41929   Customer #166513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41930   Customer #166518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41931   Customer #166533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41932   Customer #166546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41933   Customer #166554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41934   Customer #166560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41935   Customer #166561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41936   Customer #166564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41937   Customer #166568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41938   Customer #166569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41939   Customer #166572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41940   Customer #166594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41941   Customer #166596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41942   Customer #166598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41943   Customer #166617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41944   Customer #166618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41945   Customer #166619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41946   Customer #166620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41947   Customer #166621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41948   Customer #166631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41949   Customer #166637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41950   Customer #166643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41951   Customer #166648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41952   Customer #166649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41953   Customer #166652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41954   Customer #166658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41955   Customer #166662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41956   Customer #166669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41957   Customer #166670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41958   Customer #166671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41959   Customer #166676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41960   Customer #166683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41961   Customer #166685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41962   Customer #166686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41963   Customer #166687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41964   Customer #166688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41965   Customer #166689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41966   Customer #166702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41967   Customer #166707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41968   Customer #166708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41969   Customer #166714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41970   Customer #166719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41971   Customer #166720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41972   Customer #166721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41973   Customer #166725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41974   Customer #166728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41975   Customer #166735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41976   Customer #166739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41977   Customer #166743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41978   Customer #166744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41979   Customer #166755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41980   Customer #166759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41981   Customer #166768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41982   Customer #166769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41983   Customer #166778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41984   Customer #166783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41985   Customer #166786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41986   Customer #166787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41987   Customer #166788                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.41988   Customer #166789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41989   Customer #166791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41990   Customer #166794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41991   Customer #166800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41992   Customer #166805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41993   Customer #166811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41994   Customer #166812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41995   Customer #166815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41996   Customer #166819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41997   Customer #166820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41998   Customer #166823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.41999   Customer #166827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42000   Customer #166833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42001   Customer #166841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42002   Customer #166842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42003   Customer #166844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42004   Customer #166845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42005   Customer #166846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42006   Customer #166847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42007   Customer #166848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42008   Customer #166851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42009   Customer #166852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42010   Customer #166855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42011   Customer #166857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42012   Customer #166858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42013   Customer #166862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42014   Customer #166869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42015   Customer #166873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42016   Customer #166877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42017   Customer #166888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42018   Customer #166893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42019   Customer #166894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42020   Customer #166900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42021   Customer #166905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42022   Customer #166906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42023   Customer #166917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42024   Customer #166922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42025   Customer #166927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42026   Customer #166929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42027   Customer #166932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42028   Customer #166935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42029   Customer #166947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42030   Customer #166950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42031   Customer #166951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42032   Customer #166952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42033   Customer #166953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42034   Customer #166957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42035   Customer #166959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42036   Customer #166961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42037   Customer #166971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42038   Customer #166973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42039   Customer #166978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42040   Customer #166981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42041   Customer #166982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42042   Customer #166983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42043   Customer #166990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42044   Customer #166999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42045   Customer #167000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42046   Customer #167005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42047   Customer #167009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42048   Customer #167019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42049   Customer #167020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42050   Customer #167024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42051   Customer #167031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42052   Customer #167032                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42053   Customer #167033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42054   Customer #167040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42055   Customer #167043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42056   Customer #167046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42057   Customer #167049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42058   Customer #167054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42059   Customer #167056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42060   Customer #167061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42061   Customer #167076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42062   Customer #167078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42063   Customer #167082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42064   Customer #167086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42065   Customer #167104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42066   Customer #167107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42067   Customer #167110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42068   Customer #167112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42069   Customer #167126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42070   Customer #167127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42071   Customer #167129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42072   Customer #167130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42073   Customer #167133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42074   Customer #167135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42075   Customer #167138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42076   Customer #167141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42077   Customer #167145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42078   Customer #167158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42079   Customer #167161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42080   Customer #167165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42081   Customer #167168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42082   Customer #167175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42083   Customer #167180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42084   Customer #167183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42085   Customer #167184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42086   Customer #167187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42087   Customer #167200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42088   Customer #167202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42089   Customer #167203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42090   Customer #167208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42091   Customer #167209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42092   Customer #167211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42093   Customer #167213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42094   Customer #167214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42095   Customer #167227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42096   Customer #167228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42097   Customer #167233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42098   Customer #167236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42099   Customer #167237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42100   Customer #167249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42101   Customer #167258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42102   Customer #167264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42103   Customer #167265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42104   Customer #167266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42105   Customer #167267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42106   Customer #167271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42107   Customer #167274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42108   Customer #167284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42109   Customer #167286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42110   Customer #167312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42111   Customer #167314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42112   Customer #167322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42113   Customer #167327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42114   Customer #167327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42115   Customer #167336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42116   Customer #167342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42117   Customer #167346                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42118   Customer #167348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42119   Customer #167349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42120   Customer #167356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42121   Customer #167363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42122   Customer #167366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42123   Customer #167368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42124   Customer #167370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42125   Customer #167373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42126   Customer #167378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42127   Customer #167381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42128   Customer #167382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42129   Customer #167383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42130   Customer #167394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42131   Customer #167397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42132   Customer #167398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42133   Customer #167400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42134   Customer #167411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42135   Customer #167421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42136   Customer #167448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42137   Customer #167456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42138   Customer #167466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42139   Customer #167470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42140   Customer #167472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42141   Customer #167479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42142   Customer #167481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42143   Customer #167507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42144   Customer #167513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42145   Customer #167518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42146   Customer #167520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42147   Customer #167523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42148   Customer #167524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42149   Customer #167524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42150   Customer #167527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42151   Customer #167532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42152   Customer #167534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42153   Customer #167539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42154   Customer #167541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42155   Customer #167542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42156   Customer #167552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42157   Customer #167554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42158   Customer #167555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42159   Customer #167556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42160   Customer #167562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42161   Customer #167570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42162   Customer #167572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42163   Customer #167574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42164   Customer #167575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42165   Customer #167578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42166   Customer #167579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42167   Customer #167580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42168   Customer #167584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42169   Customer #167591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42170   Customer #167592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42171   Customer #167593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42172   Customer #167603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42173   Customer #167613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42174   Customer #167621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42175   Customer #167643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42176   Customer #167644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42177   Customer #167658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42178   Customer #167663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42179   Customer #167666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42180   Customer #167669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42181   Customer #167671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42182   Customer #167672                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42183   Customer #167673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42184   Customer #167674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42185   Customer #167675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42186   Customer #167677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42187   Customer #167681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42188   Customer #167686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42189   Customer #167688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42190   Customer #167694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42191   Customer #167695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42192   Customer #167697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42193   Customer #167700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42194   Customer #167701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42195   Customer #167706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42196   Customer #167707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42197   Customer #167716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42198   Customer #167720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42199   Customer #167737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42200   Customer #167738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42201   Customer #167742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42202   Customer #167743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42203   Customer #167744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42204   Customer #167745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42205   Customer #167747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42206   Customer #167754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42207   Customer #167755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42208   Customer #167759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42209   Customer #167761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42210   Customer #167761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42211   Customer #167762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42212   Customer #167769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42213   Customer #167778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42214   Customer #167779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42215   Customer #167781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42216   Customer #167782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42217   Customer #167784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42218   Customer #167785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42219   Customer #167786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42220   Customer #167798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42221   Customer #167810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42222   Customer #167811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42223   Customer #167816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42224   Customer #167817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42225   Customer #167820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42226   Customer #167825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42227   Customer #167838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42228   Customer #167844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42229   Customer #167846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42230   Customer #167860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42231   Customer #167863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42232   Customer #167864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42233   Customer #167882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42234   Customer #167899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42235   Customer #167903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42236   Customer #167916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42237   Customer #167917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42238   Customer #167928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42239   Customer #167929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42240   Customer #167930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42241   Customer #167942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42242   Customer #167949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42243   Customer #167951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42244   Customer #167963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42245   Customer #167973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42246   Customer #167977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42247   Customer #167978                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42248   Customer #167981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42249   Customer #167990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42250   Customer #167992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42251   Customer #167994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42252   Customer #167995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42253   Customer #167997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42254   Customer #168001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42255   Customer #168008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42256   Customer #168009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42257   Customer #168016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42258   Customer #168019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42259   Customer #168024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42260   Customer #168025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42261   Customer #168029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42262   Customer #168037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42263   Customer #168040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42264   Customer #168044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42265   Customer #168054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42266   Customer #168055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42267   Customer #168062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42268   Customer #168079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42269   Customer #168081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42270   Customer #168083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42271   Customer #168085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42272   Customer #168094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42273   Customer #168098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42274   Customer #168106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42275   Customer #168111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42276   Customer #168114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42277   Customer #168115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42278   Customer #168117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42279   Customer #168125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42280   Customer #168126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42281   Customer #168134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42282   Customer #168137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42283   Customer #168141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42284   Customer #168144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42285   Customer #168149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42286   Customer #168166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42287   Customer #168170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42288   Customer #168187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42289   Customer #168189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42290   Customer #168192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42291   Customer #168193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42292   Customer #168202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42293   Customer #168205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42294   Customer #168208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42295   Customer #168211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42296   Customer #168220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42297   Customer #168233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42298   Customer #168239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42299   Customer #168261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42300   Customer #168261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42301   Customer #168261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42302   Customer #168266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42303   Customer #168268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42304   Customer #168273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42305   Customer #168284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42306   Customer #168285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42307   Customer #168288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42308   Customer #168293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42309   Customer #168296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42310   Customer #168300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42311   Customer #168300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42312   Customer #168313                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42313   Customer #168316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42314   Customer #168317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42315   Customer #168322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42316   Customer #168326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42317   Customer #168346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42318   Customer #168351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42319   Customer #168356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42320   Customer #168360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42321   Customer #168362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42322   Customer #168363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42323   Customer #168366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42324   Customer #168378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42325   Customer #168384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42326   Customer #168386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42327   Customer #168396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42328   Customer #168408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42329   Customer #168410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42330   Customer #168419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42331   Customer #168436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42332   Customer #168442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42333   Customer #168444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42334   Customer #168455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42335   Customer #168457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42336   Customer #168474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42337   Customer #168476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42338   Customer #168479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42339   Customer #168480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42340   Customer #168482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42341   Customer #168484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42342   Customer #168488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42343   Customer #168491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42344   Customer #168492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42345   Customer #168496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42346   Customer #168499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42347   Customer #168509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42348   Customer #168531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42349   Customer #168533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42350   Customer #168541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42351   Customer #168544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42352   Customer #168545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42353   Customer #168546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42354   Customer #168549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42355   Customer #168554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42356   Customer #168565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42357   Customer #168577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42358   Customer #168580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42359   Customer #168601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42360   Customer #168603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42361   Customer #168608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42362   Customer #168609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42363   Customer #168619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42364   Customer #168621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42365   Customer #168628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42366   Customer #168629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42367   Customer #168633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42368   Customer #168638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42369   Customer #168639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42370   Customer #168640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42371   Customer #168643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42372   Customer #168649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42373   Customer #168655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42374   Customer #168658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42375   Customer #168663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42376   Customer #168700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42377   Customer #168702                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42378   Customer #168709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42379   Customer #168718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42380   Customer #168723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42381   Customer #168726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42382   Customer #168733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42383   Customer #168734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42384   Customer #168741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42385   Customer #168742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42386   Customer #168743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42387   Customer #168744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42388   Customer #168749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42389   Customer #168750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42390   Customer #168754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42391   Customer #168765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42392   Customer #168769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42393   Customer #168770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42394   Customer #168775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42395   Customer #168778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42396   Customer #168780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42397   Customer #168781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42398   Customer #168782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42399   Customer #168783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42400   Customer #168798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42401   Customer #168801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42402   Customer #168802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42403   Customer #168805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42404   Customer #168806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42405   Customer #168816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42406   Customer #168830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42407   Customer #168834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42408   Customer #168836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42409   Customer #168837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42410   Customer #168846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42411   Customer #168848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42412   Customer #168849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42413   Customer #168851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42414   Customer #168857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42415   Customer #168863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42416   Customer #168869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42417   Customer #168873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42418   Customer #168887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42419   Customer #168890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42420   Customer #168894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42421   Customer #168895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42422   Customer #168897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42423   Customer #168898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42424   Customer #168901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42425   Customer #168907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42426   Customer #168912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42427   Customer #168915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42428   Customer #168916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42429   Customer #168917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42430   Customer #168919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42431   Customer #168920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42432   Customer #168923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42433   Customer #168923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42434   Customer #168925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42435   Customer #168928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42436   Customer #168939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42437   Customer #168945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42438   Customer #168946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42439   Customer #168948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42440   Customer #168949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42441   Customer #168952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42442   Customer #168956                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42443   Customer #168959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42444   Customer #168970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42445   Customer #168972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42446   Customer #168981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42447   Customer #168982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42448   Customer #168983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42449   Customer #168988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42450   Customer #169000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42451   Customer #169005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42452   Customer #169007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42453   Customer #169013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42454   Customer #169015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42455   Customer #169017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42456   Customer #169024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42457   Customer #169038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42458   Customer #169041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42459   Customer #169045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42460   Customer #169061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42461   Customer #169063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42462   Customer #169064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42463   Customer #169067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42464   Customer #169069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42465   Customer #169070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42466   Customer #169077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42467   Customer #169079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42468   Customer #169081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42469   Customer #169084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42470   Customer #169085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42471   Customer #169086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42472   Customer #169090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42473   Customer #169091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42474   Customer #169092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42475   Customer #169093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42476   Customer #169093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42477   Customer #169093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42478   Customer #169100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42479   Customer #169101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42480   Customer #169103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42481   Customer #169114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42482   Customer #169116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42483   Customer #169131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42484   Customer #169137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42485   Customer #169139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42486   Customer #169149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42487   Customer #169152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42488   Customer #169159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42489   Customer #169163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42490   Customer #169167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42491   Customer #169185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42492   Customer #169193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42493   Customer #169197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42494   Customer #169199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42495   Customer #169206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42496   Customer #169207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42497   Customer #169210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42498   Customer #169212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42499   Customer #169216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42500   Customer #169217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42501   Customer #169229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42502   Customer #169231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42503   Customer #169233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42504   Customer #169235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42505   Customer #169240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42506   Customer #169243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42507   Customer #169247                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42508   Customer #169249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42509   Customer #169261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42510   Customer #169265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42511   Customer #169268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42512   Customer #169274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42513   Customer #169278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42514   Customer #169283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42515   Customer #169288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42516   Customer #169292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42517   Customer #169295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42518   Customer #169299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42519   Customer #169306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42520   Customer #169313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42521   Customer #169313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42522   Customer #169314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42523   Customer #169325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42524   Customer #169332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42525   Customer #169334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42526   Customer #169335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42527   Customer #169336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42528   Customer #169337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42529   Customer #169339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42530   Customer #169341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42531   Customer #169345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42532   Customer #169348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42533   Customer #169351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42534   Customer #169352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42535   Customer #169359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42536   Customer #169363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42537   Customer #169367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42538   Customer #169373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42539   Customer #169374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42540   Customer #169375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42541   Customer #169377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42542   Customer #169379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42543   Customer #169384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42544   Customer #169387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42545   Customer #169388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42546   Customer #169395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42547   Customer #169396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42548   Customer #169397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42549   Customer #169399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42550   Customer #169404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42551   Customer #169405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42552   Customer #169413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42553   Customer #169418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42554   Customer #169419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42555   Customer #169425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42556   Customer #169427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42557   Customer #169430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42558   Customer #169435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42559   Customer #169448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42560   Customer #169450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42561   Customer #169451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42562   Customer #169462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42563   Customer #169467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42564   Customer #169478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42565   Customer #169480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42566   Customer #169482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42567   Customer #169491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42568   Customer #169516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42569   Customer #169522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42570   Customer #169523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42571   Customer #169524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42572   Customer #169542                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42573   Customer #169546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42574   Customer #169548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42575   Customer #169550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42576   Customer #169565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42577   Customer #169566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42578   Customer #169568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42579   Customer #169569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42580   Customer #169570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42581   Customer #169576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42582   Customer #169580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42583   Customer #169582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42584   Customer #169593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42585   Customer #169602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42586   Customer #169604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42587   Customer #169605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42588   Customer #169606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42589   Customer #169609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42590   Customer #169610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42591   Customer #169617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42592   Customer #169618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42593   Customer #169620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42594   Customer #169631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42595   Customer #169634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42596   Customer #169638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42597   Customer #169643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42598   Customer #169644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42599   Customer #169656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42600   Customer #169658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42601   Customer #169660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42602   Customer #169662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42603   Customer #169664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42604   Customer #169667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42605   Customer #169669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42606   Customer #169670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42607   Customer #169673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42608   Customer #169680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42609   Customer #169683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42610   Customer #169688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42611   Customer #169690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42612   Customer #169691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42613   Customer #169692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42614   Customer #169693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42615   Customer #169700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42616   Customer #169708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42617   Customer #169709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42618   Customer #169713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42619   Customer #169716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42620   Customer #169724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42621   Customer #169731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42622   Customer #169739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42623   Customer #169744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42624   Customer #169751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42625   Customer #169758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42626   Customer #169762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42627   Customer #169767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42628   Customer #169768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42629   Customer #169770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42630   Customer #169772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42631   Customer #169775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42632   Customer #169777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42633   Customer #169778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42634   Customer #169784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42635   Customer #169785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42636   Customer #169790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42637   Customer #169791                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42638   Customer #169792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42639   Customer #169793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42640   Customer #169798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42641   Customer #169809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42642   Customer #169817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42643   Customer #169821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42644   Customer #169828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42645   Customer #169832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42646   Customer #169835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42647   Customer #169836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42648   Customer #169842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42649   Customer #169851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42650   Customer #169863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42651   Customer #169864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42652   Customer #169874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42653   Customer #169883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42654   Customer #169889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42655   Customer #169893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42656   Customer #169905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42657   Customer #169911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42658   Customer #169912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42659   Customer #169915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42660   Customer #169935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42661   Customer #169943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42662   Customer #169947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42663   Customer #169953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42664   Customer #169955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42665   Customer #169959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42666   Customer #169960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42667   Customer #169964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42668   Customer #169983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42669   Customer #169993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42670   Customer #170000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42671   Customer #170004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42672   Customer #170011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42673   Customer #170014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42674   Customer #170018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42675   Customer #170019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42676   Customer #170021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42677   Customer #170023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42678   Customer #170025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42679   Customer #170031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42680   Customer #170032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42681   Customer #170034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42682   Customer #170034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42683   Customer #170040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42684   Customer #170042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42685   Customer #170051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42686   Customer #170054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42687   Customer #170061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42688   Customer #170063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42689   Customer #170064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42690   Customer #170065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42691   Customer #170066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42692   Customer #170074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42693   Customer #170078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42694   Customer #170081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42695   Customer #170111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42696   Customer #170122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42697   Customer #170123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42698   Customer #170127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42699   Customer #170128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42700   Customer #170129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42701   Customer #170131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42702   Customer #170132                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42703   Customer #170143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42704   Customer #170144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42705   Customer #170145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42706   Customer #170146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42707   Customer #170147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42708   Customer #170149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42709   Customer #170151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42710   Customer #170155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42711   Customer #170160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42712   Customer #170162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42713   Customer #170179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42714   Customer #170182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42715   Customer #170210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42716   Customer #170211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42717   Customer #170215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42718   Customer #170217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42719   Customer #170219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42720   Customer #170220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42721   Customer #170231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42722   Customer #170232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42723   Customer #170234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42724   Customer #170236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42725   Customer #170237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42726   Customer #170238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42727   Customer #170244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42728   Customer #170246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42729   Customer #170247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42730   Customer #170250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42731   Customer #170254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42732   Customer #170256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42733   Customer #170257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42734   Customer #170263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42735   Customer #170265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42736   Customer #170266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42737   Customer #170268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42738   Customer #170272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42739   Customer #170281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42740   Customer #170289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42741   Customer #170291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42742   Customer #170300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42743   Customer #170302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42744   Customer #170314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42745   Customer #170317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42746   Customer #170320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42747   Customer #170335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42748   Customer #170340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42749   Customer #170348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42750   Customer #170349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42751   Customer #170350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42752   Customer #170357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42753   Customer #170359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42754   Customer #170360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42755   Customer #170361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42756   Customer #170362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42757   Customer #170368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42758   Customer #170369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42759   Customer #170374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42760   Customer #170378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42761   Customer #170379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42762   Customer #170380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42763   Customer #170385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42764   Customer #170394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42765   Customer #170396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42766   Customer #170397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42767   Customer #170399                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42768   Customer #170401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42769   Customer #170408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42770   Customer #170411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42771   Customer #170417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42772   Customer #170418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42773   Customer #170422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42774   Customer #170425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42775   Customer #170447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42776   Customer #170451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42777   Customer #170452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42778   Customer #170458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42779   Customer #170464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42780   Customer #170468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42781   Customer #170470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42782   Customer #170472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42783   Customer #170491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42784   Customer #170496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42785   Customer #170499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42786   Customer #170523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42787   Customer #170524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42788   Customer #170534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42789   Customer #170535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42790   Customer #170544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42791   Customer #170545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42792   Customer #170548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42793   Customer #170553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42794   Customer #170555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42795   Customer #170557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42796   Customer #170558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42797   Customer #170559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42798   Customer #170559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42799   Customer #170569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42800   Customer #170580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42801   Customer #170591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42802   Customer #170596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42803   Customer #170600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42804   Customer #170608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42805   Customer #170609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42806   Customer #170622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42807   Customer #170623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42808   Customer #170629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42809   Customer #170630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42810   Customer #170633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42811   Customer #170637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42812   Customer #170648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42813   Customer #170653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42814   Customer #170658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42815   Customer #170659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42816   Customer #170660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42817   Customer #170672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42818   Customer #170680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42819   Customer #170696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42820   Customer #170700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42821   Customer #170707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42822   Customer #170710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42823   Customer #170717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42824   Customer #170718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42825   Customer #170719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42826   Customer #170725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42827   Customer #170730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42828   Customer #170733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42829   Customer #170734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42830   Customer #170744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42831   Customer #170747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42832   Customer #170750                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42833   Customer #170754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42834   Customer #170756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42835   Customer #170759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42836   Customer #170767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42837   Customer #170769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42838   Customer #170771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42839   Customer #170776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42840   Customer #170780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42841   Customer #170785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42842   Customer #170786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42843   Customer #170795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42844   Customer #170800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42845   Customer #170803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42846   Customer #170804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42847   Customer #170805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42848   Customer #170809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42849   Customer #170812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42850   Customer #170815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42851   Customer #170821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42852   Customer #170824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42853   Customer #170824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42854   Customer #170825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42855   Customer #170828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42856   Customer #170832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42857   Customer #170834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42858   Customer #170847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42859   Customer #170851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42860   Customer #170855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42861   Customer #170867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42862   Customer #170869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42863   Customer #170872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42864   Customer #170876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42865   Customer #170877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42866   Customer #170878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42867   Customer #170880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42868   Customer #170881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42869   Customer #170887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42870   Customer #170896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42871   Customer #170898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42872   Customer #170904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42873   Customer #170913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42874   Customer #170936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42875   Customer #170939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42876   Customer #170946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42877   Customer #170948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42878   Customer #170950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42879   Customer #170955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42880   Customer #170956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42881   Customer #170961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42882   Customer #170969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42883   Customer #170970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42884   Customer #170976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42885   Customer #170978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42886   Customer #170983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42887   Customer #170985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42888   Customer #170986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42889   Customer #170989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42890   Customer #170990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42891   Customer #170999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42892   Customer #171006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42893   Customer #171007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42894   Customer #171009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42895   Customer #171028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42896   Customer #171029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42897   Customer #171030                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42898   Customer #171033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42899   Customer #171043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42900   Customer #171047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42901   Customer #171055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42902   Customer #171056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42903   Customer #171057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42904   Customer #171059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42905   Customer #171062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42906   Customer #171065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42907   Customer #171074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42908   Customer #171079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42909   Customer #171080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42910   Customer #171091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42911   Customer #171094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42912   Customer #171095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42913   Customer #171102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42914   Customer #171103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42915   Customer #171107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42916   Customer #171111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42917   Customer #171114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42918   Customer #171117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42919   Customer #171119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42920   Customer #171132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42921   Customer #171143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42922   Customer #171165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42923   Customer #171170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42924   Customer #171173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42925   Customer #171175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42926   Customer #171179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42927   Customer #171183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42928   Customer #171184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42929   Customer #171191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42930   Customer #171200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42931   Customer #171204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42932   Customer #171205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42933   Customer #171211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42934   Customer #171212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42935   Customer #171215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42936   Customer #171218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42937   Customer #171230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42938   Customer #171234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42939   Customer #171238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42940   Customer #171245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42941   Customer #171248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42942   Customer #171254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42943   Customer #171255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42944   Customer #171257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42945   Customer #171260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42946   Customer #171264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42947   Customer #171269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42948   Customer #171270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42949   Customer #171274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42950   Customer #171277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42951   Customer #171292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42952   Customer #171295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42953   Customer #171304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42954   Customer #171316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42955   Customer #171317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42956   Customer #171342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42957   Customer #171353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42958   Customer #171359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42959   Customer #171360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42960   Customer #171370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42961   Customer #171374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42962   Customer #171376                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.42963   Customer #171379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42964   Customer #171380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42965   Customer #171388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42966   Customer #171390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42967   Customer #171391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42968   Customer #171397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42969   Customer #171408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42970   Customer #171410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42971   Customer #171423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42972   Customer #171428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42973   Customer #171429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42974   Customer #171439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42975   Customer #171441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42976   Customer #171443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42977   Customer #171446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42978   Customer #171448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42979   Customer #171459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42980   Customer #171460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42981   Customer #171466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42982   Customer #171477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42983   Customer #171478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42984   Customer #171486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42985   Customer #171505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42986   Customer #171506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42987   Customer #171510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42988   Customer #171514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42989   Customer #171536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42990   Customer #171538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42991   Customer #171555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42992   Customer #171565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42993   Customer #171566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42994   Customer #171572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42995   Customer #171577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42996   Customer #171581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42997   Customer #171591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42998   Customer #171595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.42999   Customer #171597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43000   Customer #171598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43001   Customer #171604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43002   Customer #171607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43003   Customer #171608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43004   Customer #171609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43005   Customer #171610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43006   Customer #171616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43007   Customer #171620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43008   Customer #171623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43009   Customer #171625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43010   Customer #171633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43011   Customer #171639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43012   Customer #171643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43013   Customer #171650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43014   Customer #171677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43015   Customer #171678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43016   Customer #171682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43017   Customer #171685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43018   Customer #171690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43019   Customer #171695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43020   Customer #171696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43021   Customer #171715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43022   Customer #171718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43023   Customer #171735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43024   Customer #171738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43025   Customer #171739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43026   Customer #171742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43027   Customer #171753                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43028   Customer #171764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43029   Customer #171774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43030   Customer #171775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43031   Customer #171780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43032   Customer #171791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43033   Customer #171793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43034   Customer #171797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43035   Customer #171798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43036   Customer #171799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43037   Customer #171815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43038   Customer #171817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43039   Customer #171824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43040   Customer #171827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43041   Customer #171829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43042   Customer #171831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43043   Customer #171834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43044   Customer #171852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43045   Customer #171854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43046   Customer #171858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43047   Customer #171861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43048   Customer #171862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43049   Customer #171864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43050   Customer #171883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43051   Customer #171886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43052   Customer #171887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43053   Customer #171895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43054   Customer #171900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43055   Customer #171902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43056   Customer #171910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43057   Customer #171912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43058   Customer #171913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43059   Customer #171919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43060   Customer #171925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43061   Customer #171928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43062   Customer #171929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43063   Customer #171930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43064   Customer #171936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43065   Customer #171940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43066   Customer #171942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43067   Customer #171945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43068   Customer #171949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43069   Customer #171951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43070   Customer #171954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43071   Customer #171963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43072   Customer #171964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43073   Customer #171970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43074   Customer #171977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43075   Customer #171980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43076   Customer #171986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43077   Customer #171993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43078   Customer #172000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43079   Customer #172009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43080   Customer #172019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43081   Customer #172020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43082   Customer #172048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43083   Customer #172051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43084   Customer #172055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43085   Customer #172059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43086   Customer #172060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43087   Customer #172061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43088   Customer #172062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43089   Customer #172063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43090   Customer #172076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43091   Customer #172077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43092   Customer #172078                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43093   Customer #172087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43094   Customer #172088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43095   Customer #172091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43096   Customer #172099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43097   Customer #172101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43098   Customer #172104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43099   Customer #172105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43100   Customer #172106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43101   Customer #172108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43102   Customer #172118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43103   Customer #172122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43104   Customer #172127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43105   Customer #172131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43106   Customer #172137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43107   Customer #172212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43108   Customer #172214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43109   Customer #172219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43110   Customer #172225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43111   Customer #172226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43112   Customer #172240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43113   Customer #172248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43114   Customer #172253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43115   Customer #172259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43116   Customer #172262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43117   Customer #172266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43118   Customer #172267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43119   Customer #172279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43120   Customer #172285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43121   Customer #172287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43122   Customer #172290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43123   Customer #172291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43124   Customer #172300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43125   Customer #172308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43126   Customer #172310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43127   Customer #172312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43128   Customer #172314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43129   Customer #172315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43130   Customer #172324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43131   Customer #172325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43132   Customer #172329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43133   Customer #172330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43134   Customer #172331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43135   Customer #172332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43136   Customer #172341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43137   Customer #172343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43138   Customer #172345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43139   Customer #172348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43140   Customer #172354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43141   Customer #172356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43142   Customer #172358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43143   Customer #172372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43144   Customer #172383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43145   Customer #172384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43146   Customer #172388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43147   Customer #172402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43148   Customer #172405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43149   Customer #172413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43150   Customer #172414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43151   Customer #172416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43152   Customer #172417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43153   Customer #172418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43154   Customer #172419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43155   Customer #172426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43156   Customer #172439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43157   Customer #172442                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43158   Customer #172448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43159   Customer #172450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43160   Customer #172462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43161   Customer #172466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43162   Customer #172470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43163   Customer #172474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43164   Customer #172475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43165   Customer #172477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43166   Customer #172484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43167   Customer #172488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43168   Customer #172498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43169   Customer #172501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43170   Customer #172502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43171   Customer #172506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43172   Customer #172513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43173   Customer #172519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43174   Customer #172521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43175   Customer #172523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43176   Customer #172524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43177   Customer #172548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43178   Customer #172549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43179   Customer #172553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43180   Customer #172554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43181   Customer #172618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43182   Customer #172619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43183   Customer #172624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43184   Customer #172625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43185   Customer #172628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43186   Customer #172630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43187   Customer #172640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43188   Customer #172641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43189   Customer #172644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43190   Customer #172651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43191   Customer #172666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43192   Customer #172674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43193   Customer #172693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43194   Customer #172698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43195   Customer #172722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43196   Customer #172726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43197   Customer #172731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43198   Customer #172736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43199   Customer #172739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43200   Customer #172744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43201   Customer #172746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43202   Customer #172749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43203   Customer #172752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43204   Customer #172753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43205   Customer #172761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43206   Customer #172764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43207   Customer #172766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43208   Customer #172769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43209   Customer #172771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43210   Customer #172775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43211   Customer #172776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43212   Customer #172778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43213   Customer #172780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43214   Customer #172782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43215   Customer #172785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43216   Customer #172786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43217   Customer #172797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43218   Customer #172800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43219   Customer #172801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43220   Customer #172802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43221   Customer #172807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43222   Customer #172811                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43223   Customer #172812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43224   Customer #172816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43225   Customer #172818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43226   Customer #172821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43227   Customer #172825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43228   Customer #172839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43229   Customer #172841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43230   Customer #172845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43231   Customer #172846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43232   Customer #172870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43233   Customer #172871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43234   Customer #172903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43235   Customer #172905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43236   Customer #172908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43237   Customer #172919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43238   Customer #172920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43239   Customer #172921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43240   Customer #172924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43241   Customer #172927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43242   Customer #172929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43243   Customer #172931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43244   Customer #172957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43245   Customer #172958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43246   Customer #172959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43247   Customer #172965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43248   Customer #172968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43249   Customer #172977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43250   Customer #173006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43251   Customer #173008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43252   Customer #173010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43253   Customer #173016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43254   Customer #173017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43255   Customer #173020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43256   Customer #173024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43257   Customer #173038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43258   Customer #173051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43259   Customer #173052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43260   Customer #173059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43261   Customer #173063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43262   Customer #173070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43263   Customer #173073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43264   Customer #173077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43265   Customer #173112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43266   Customer #173113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43267   Customer #173114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43268   Customer #173118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43269   Customer #173123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43270   Customer #173124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43271   Customer #173127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43272   Customer #173128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43273   Customer #173130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43274   Customer #173131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43275   Customer #173133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43276   Customer #173135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43277   Customer #173136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43278   Customer #173137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43279   Customer #173140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43280   Customer #173143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43281   Customer #173149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43282   Customer #173151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43283   Customer #173156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43284   Customer #173157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43285   Customer #173158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43286   Customer #173162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43287   Customer #173164                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43288   Customer #173167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43289   Customer #173168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43290   Customer #173171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43291   Customer #173186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43292   Customer #173187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43293   Customer #173191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43294   Customer #173196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43295   Customer #173197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43296   Customer #173208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43297   Customer #173210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43298   Customer #173218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43299   Customer #173226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43300   Customer #173231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43301   Customer #173243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43302   Customer #173244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43303   Customer #173247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43304   Customer #173250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43305   Customer #173262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43306   Customer #173272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43307   Customer #173274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43308   Customer #173277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43309   Customer #173278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43310   Customer #173281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43311   Customer #173282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43312   Customer #173290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43313   Customer #173291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43314   Customer #173296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43315   Customer #173310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43316   Customer #173315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43317   Customer #173316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43318   Customer #173321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43319   Customer #173326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43320   Customer #173329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43321   Customer #173331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43322   Customer #173332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43323   Customer #173335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43324   Customer #173336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43325   Customer #173339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43326   Customer #173341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43327   Customer #173344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43328   Customer #173360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43329   Customer #173361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43330   Customer #173365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43331   Customer #173367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43332   Customer #173371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43333   Customer #173373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43334   Customer #173374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43335   Customer #173381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43336   Customer #173382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43337   Customer #173386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43338   Customer #173387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43339   Customer #173398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43340   Customer #173403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43341   Customer #173408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43342   Customer #173413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43343   Customer #173417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43344   Customer #173418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43345   Customer #173420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43346   Customer #173421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43347   Customer #173422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43348   Customer #173430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43349   Customer #173432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43350   Customer #173481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43351   Customer #173487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43352   Customer #173494                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43353   Customer #173501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43354   Customer #173502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43355   Customer #173504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43356   Customer #173505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43357   Customer #173508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43358   Customer #173512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43359   Customer #173514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43360   Customer #173517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43361   Customer #173520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43362   Customer #173523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43363   Customer #173526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43364   Customer #173530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43365   Customer #173531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43366   Customer #173534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43367   Customer #173538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43368   Customer #173542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43369   Customer #173544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43370   Customer #173546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43371   Customer #173548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43372   Customer #173550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43373   Customer #173554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43374   Customer #173555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43375   Customer #173558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43376   Customer #173562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43377   Customer #173564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43378   Customer #173565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43379   Customer #173566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43380   Customer #173569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43381   Customer #173571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43382   Customer #173572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43383   Customer #173575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43384   Customer #173577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43385   Customer #173578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43386   Customer #173586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43387   Customer #173591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43388   Customer #173607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43389   Customer #173610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43390   Customer #173614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43391   Customer #173616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43392   Customer #173617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43393   Customer #173619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43394   Customer #173621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43395   Customer #173624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43396   Customer #173629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43397   Customer #173635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43398   Customer #173637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43399   Customer #173638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43400   Customer #173642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43401   Customer #173658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43402   Customer #173665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43403   Customer #173671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43404   Customer #173673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43405   Customer #173676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43406   Customer #173681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43407   Customer #173685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43408   Customer #173688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43409   Customer #173691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43410   Customer #173692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43411   Customer #173698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43412   Customer #173699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43413   Customer #173702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43414   Customer #173715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43415   Customer #173720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43416   Customer #173722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43417   Customer #173723                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43418   Customer #173724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43419   Customer #173725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43420   Customer #173726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43421   Customer #173730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43422   Customer #173735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43423   Customer #173736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43424   Customer #173737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43425   Customer #173742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43426   Customer #173745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43427   Customer #173746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43428   Customer #173758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43429   Customer #173769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43430   Customer #173774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43431   Customer #173778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43432   Customer #173779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43433   Customer #173784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43434   Customer #173794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43435   Customer #173807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43436   Customer #173809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43437   Customer #173812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43438   Customer #173813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43439   Customer #173815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43440   Customer #173819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43441   Customer #173826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43442   Customer #173832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43443   Customer #173836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43444   Customer #173839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43445   Customer #173841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43446   Customer #173842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43447   Customer #173845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43448   Customer #173846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43449   Customer #173851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43450   Customer #173853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43451   Customer #173855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43452   Customer #173860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43453   Customer #173861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43454   Customer #173880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43455   Customer #173883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43456   Customer #173887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43457   Customer #173889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43458   Customer #173899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43459   Customer #173903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43460   Customer #173905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43461   Customer #173911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43462   Customer #173912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43463   Customer #173914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43464   Customer #173918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43465   Customer #173920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43466   Customer #173928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43467   Customer #173930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43468   Customer #173937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43469   Customer #173941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43470   Customer #173956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43471   Customer #173960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43472   Customer #173966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43473   Customer #173968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43474   Customer #173981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43475   Customer #173983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43476   Customer #173985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43477   Customer #173994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43478   Customer #173996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43479   Customer #173999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43480   Customer #174000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43481   Customer #174007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43482   Customer #174008                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43483   Customer #174010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43484   Customer #174011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43485   Customer #174023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43486   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43487   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43488   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43489   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43490   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43491   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43492   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43493   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43494   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43495   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43496   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43497   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43498   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43499   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43500   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43501   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43502   Customer #174025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43503   Customer #174027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43504   Customer #174030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43505   Customer #174036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43506   Customer #174037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43507   Customer #174045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43508   Customer #174047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43509   Customer #174054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43510   Customer #174055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43511   Customer #174062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43512   Customer #174064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43513   Customer #174070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43514   Customer #174070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43515   Customer #174073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43516   Customer #174078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43517   Customer #174079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43518   Customer #174080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43519   Customer #174081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43520   Customer #174088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43521   Customer #174091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43522   Customer #174099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43523   Customer #174101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43524   Customer #174104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43525   Customer #174115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43526   Customer #174123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43527   Customer #174124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43528   Customer #174128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43529   Customer #174130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43530   Customer #174138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43531   Customer #174139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43532   Customer #174140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43533   Customer #174151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43534   Customer #174153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43535   Customer #174156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43536   Customer #174163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43537   Customer #174172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43538   Customer #174176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43539   Customer #174177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43540   Customer #174178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43541   Customer #174182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43542   Customer #174183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43543   Customer #174189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43544   Customer #174191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43545   Customer #174195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43546   Customer #174199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43547   Customer #174203                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43548   Customer #174203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43549   Customer #174205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43550   Customer #174210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43551   Customer #174223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43552   Customer #174224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43553   Customer #174230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43554   Customer #174232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43555   Customer #174234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43556   Customer #174239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43557   Customer #174252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43558   Customer #174259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43559   Customer #174260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43560   Customer #174262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43561   Customer #174264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43562   Customer #174277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43563   Customer #174284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43564   Customer #174289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43565   Customer #174291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43566   Customer #174292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43567   Customer #174295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43568   Customer #174298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43569   Customer #174304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43570   Customer #174305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43571   Customer #174307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43572   Customer #174308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43573   Customer #174311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43574   Customer #174314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43575   Customer #174323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43576   Customer #174325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43577   Customer #174327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43578   Customer #174339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43579   Customer #174341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43580   Customer #174342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43581   Customer #174346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43582   Customer #174347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43583   Customer #174348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43584   Customer #174358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43585   Customer #174362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43586   Customer #174363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43587   Customer #174364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43588   Customer #174370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43589   Customer #174371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43590   Customer #174376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43591   Customer #174383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43592   Customer #174438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43593   Customer #174449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43594   Customer #174455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43595   Customer #174467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43596   Customer #174467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43597   Customer #174494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43598   Customer #174495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43599   Customer #174496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43600   Customer #174497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43601   Customer #174498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43602   Customer #174501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43603   Customer #174508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43604   Customer #174515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43605   Customer #174517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43606   Customer #174519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43607   Customer #174522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43608   Customer #174529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43609   Customer #174533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43610   Customer #174534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43611   Customer #174544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43612   Customer #174545                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43613   Customer #174546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43614   Customer #174548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43615   Customer #174553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43616   Customer #174558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43617   Customer #174564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43618   Customer #174565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43619   Customer #174566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43620   Customer #174567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43621   Customer #174568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43622   Customer #174574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43623   Customer #174586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43624   Customer #174594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43625   Customer #174595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43626   Customer #174608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43627   Customer #174615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43628   Customer #174617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43629   Customer #174619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43630   Customer #174625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43631   Customer #174641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43632   Customer #174642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43633   Customer #174647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43634   Customer #174651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43635   Customer #174654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43636   Customer #174655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43637   Customer #174665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43638   Customer #174669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43639   Customer #174671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43640   Customer #174681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43641   Customer #174685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43642   Customer #174690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43643   Customer #174692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43644   Customer #174694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43645   Customer #174698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43646   Customer #174700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43647   Customer #174701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43648   Customer #174704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43649   Customer #174710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43650   Customer #174715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43651   Customer #174718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43652   Customer #174722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43653   Customer #174727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43654   Customer #174732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43655   Customer #174736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43656   Customer #174739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43657   Customer #174740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43658   Customer #174742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43659   Customer #174743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43660   Customer #174756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43661   Customer #174757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43662   Customer #174760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43663   Customer #174767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43664   Customer #174768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43665   Customer #174769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43666   Customer #174775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43667   Customer #174779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43668   Customer #174782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43669   Customer #174785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43670   Customer #174792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43671   Customer #174793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43672   Customer #174803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43673   Customer #174807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43674   Customer #174809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43675   Customer #174811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43676   Customer #174813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43677   Customer #174829                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43678   Customer #174831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43679   Customer #174834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43680   Customer #174836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43681   Customer #174837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43682   Customer #174838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43683   Customer #174840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43684   Customer #174842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43685   Customer #174843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43686   Customer #174847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43687   Customer #174851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43688   Customer #174853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43689   Customer #174854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43690   Customer #174855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43691   Customer #174856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43692   Customer #174880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43693   Customer #174885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43694   Customer #174890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43695   Customer #174892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43696   Customer #174898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43697   Customer #174902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43698   Customer #174905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43699   Customer #174907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43700   Customer #174927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43701   Customer #174928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43702   Customer #174930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43703   Customer #174936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43704   Customer #174938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43705   Customer #174942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43706   Customer #174944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43707   Customer #174946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43708   Customer #174949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43709   Customer #174952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43710   Customer #174953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43711   Customer #174954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43712   Customer #174962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43713   Customer #174968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43714   Customer #174982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43715   Customer #174988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43716   Customer #174994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43717   Customer #175005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43718   Customer #175012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43719   Customer #175013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43720   Customer #175018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43721   Customer #175022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43722   Customer #175047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43723   Customer #175053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43724   Customer #175055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43725   Customer #175058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43726   Customer #175059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43727   Customer #175067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43728   Customer #175068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43729   Customer #175071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43730   Customer #175075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43731   Customer #175082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43732   Customer #175083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43733   Customer #175094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43734   Customer #175112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43735   Customer #175114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43736   Customer #175131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43737   Customer #175134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43738   Customer #175135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43739   Customer #175142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43740   Customer #175146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43741   Customer #175150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43742   Customer #175151                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43743   Customer #175152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43744   Customer #175153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43745   Customer #175156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43746   Customer #175166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43747   Customer #175167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43748   Customer #175168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43749   Customer #175169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43750   Customer #175172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43751   Customer #175178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43752   Customer #175180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43753   Customer #175184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43754   Customer #175187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43755   Customer #175188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43756   Customer #175190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43757   Customer #175200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43758   Customer #175202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43759   Customer #175207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43760   Customer #175208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43761   Customer #175209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43762   Customer #175225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43763   Customer #175226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43764   Customer #175229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43765   Customer #175238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43766   Customer #175247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43767   Customer #175250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43768   Customer #175262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43769   Customer #175265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43770   Customer #175267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43771   Customer #175269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43772   Customer #175272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43773   Customer #175278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43774   Customer #175282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43775   Customer #175288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43776   Customer #175293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43777   Customer #175296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43778   Customer #175302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43779   Customer #175303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43780   Customer #175318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43781   Customer #175319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43782   Customer #175325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43783   Customer #175327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43784   Customer #175328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43785   Customer #175331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43786   Customer #175337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43787   Customer #175339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43788   Customer #175342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43789   Customer #175346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43790   Customer #175351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43791   Customer #175351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43792   Customer #175352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43793   Customer #175353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43794   Customer #175356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43795   Customer #175361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43796   Customer #175373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43797   Customer #175374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43798   Customer #175376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43799   Customer #175382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43800   Customer #175388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43801   Customer #175389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43802   Customer #175396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43803   Customer #175413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43804   Customer #175419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43805   Customer #175425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43806   Customer #175431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43807   Customer #175433                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43808   Customer #175440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43809   Customer #175445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43810   Customer #175458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43811   Customer #175460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43812   Customer #175463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43813   Customer #175464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43814   Customer #175467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43815   Customer #175473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43816   Customer #175476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43817   Customer #175482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43818   Customer #175484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43819   Customer #175487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43820   Customer #175487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43821   Customer #175487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43822   Customer #175489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43823   Customer #175491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43824   Customer #175502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43825   Customer #175503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43826   Customer #175505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43827   Customer #175507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43828   Customer #175508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43829   Customer #175509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43830   Customer #175511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43831   Customer #175513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43832   Customer #175515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43833   Customer #175517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43834   Customer #175518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43835   Customer #175521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43836   Customer #175523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43837   Customer #175524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43838   Customer #175525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43839   Customer #175532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43840   Customer #175536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43841   Customer #175544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43842   Customer #175549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43843   Customer #175551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43844   Customer #175556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43845   Customer #175561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43846   Customer #175581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43847   Customer #175590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43848   Customer #175593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43849   Customer #175616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43850   Customer #175617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43851   Customer #175623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43852   Customer #175629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43853   Customer #175630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43854   Customer #175643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43855   Customer #175646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43856   Customer #175648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43857   Customer #175650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43858   Customer #175652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43859   Customer #175665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43860   Customer #175666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43861   Customer #175669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43862   Customer #175674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43863   Customer #175675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43864   Customer #175677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43865   Customer #175696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43866   Customer #175698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43867   Customer #175707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43868   Customer #175708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43869   Customer #175713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43870   Customer #175714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43871   Customer #175716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43872   Customer #175729                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43873   Customer #175751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43874   Customer #175756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43875   Customer #175757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43876   Customer #175759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43877   Customer #175760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43878   Customer #175762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43879   Customer #175764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43880   Customer #175778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43881   Customer #175781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43882   Customer #175785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43883   Customer #175786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43884   Customer #175790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43885   Customer #175793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43886   Customer #175795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43887   Customer #175797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43888   Customer #175799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43889   Customer #175801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43890   Customer #175811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43891   Customer #175813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43892   Customer #175816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43893   Customer #175817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43894   Customer #175822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43895   Customer #175824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43896   Customer #175825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43897   Customer #175826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43898   Customer #175836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43899   Customer #175838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43900   Customer #175842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43901   Customer #175855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43902   Customer #175861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43903   Customer #175862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43904   Customer #175863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43905   Customer #175869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43906   Customer #175887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43907   Customer #175890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43908   Customer #175903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43909   Customer #175907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43910   Customer #175908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43911   Customer #175910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43912   Customer #175912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43913   Customer #175916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43914   Customer #175917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43915   Customer #175918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43916   Customer #175919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43917   Customer #175925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43918   Customer #175946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43919   Customer #175949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43920   Customer #175973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43921   Customer #175975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43922   Customer #175980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43923   Customer #175981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43924   Customer #175994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43925   Customer #175999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43926   Customer #176006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43927   Customer #176013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43928   Customer #176020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43929   Customer #176025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43930   Customer #176027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43931   Customer #176028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43932   Customer #176032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43933   Customer #176035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43934   Customer #176041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43935   Customer #176044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43936   Customer #176046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43937   Customer #176059                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.43938   Customer #176060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43939   Customer #176064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43940   Customer #176068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43941   Customer #176074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43942   Customer #176087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43943   Customer #176092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43944   Customer #176096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43945   Customer #176106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43946   Customer #176109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43947   Customer #176111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43948   Customer #176118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43949   Customer #176122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43950   Customer #176127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43951   Customer #176127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43952   Customer #176131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43953   Customer #176132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43954   Customer #176137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43955   Customer #176140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43956   Customer #176145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43957   Customer #176146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43958   Customer #176147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43959   Customer #176149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43960   Customer #176150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43961   Customer #176152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43962   Customer #176153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43963   Customer #176158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43964   Customer #176159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43965   Customer #176160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43966   Customer #176164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43967   Customer #176166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43968   Customer #176170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43969   Customer #176175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43970   Customer #176178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43971   Customer #176181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43972   Customer #176193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43973   Customer #176199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43974   Customer #176206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43975   Customer #176209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43976   Customer #176216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43977   Customer #176217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43978   Customer #176221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43979   Customer #176223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43980   Customer #176227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43981   Customer #176234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43982   Customer #176241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43983   Customer #176243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43984   Customer #176245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43985   Customer #176251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43986   Customer #176254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43987   Customer #176255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43988   Customer #176256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43989   Customer #176257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43990   Customer #176258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43991   Customer #176259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43992   Customer #176270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43993   Customer #176272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43994   Customer #176277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43995   Customer #176282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43996   Customer #176284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43997   Customer #176287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43998   Customer #176290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.43999   Customer #176291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44000   Customer #176293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44001   Customer #176300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44002   Customer #176303                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44003   Customer #176305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44004   Customer #176306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44005   Customer #176307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44006   Customer #176313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44007   Customer #176316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44008   Customer #176317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44009   Customer #176320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44010   Customer #176322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44011   Customer #176323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44012   Customer #176328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44013   Customer #176334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44014   Customer #176339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44015   Customer #176340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44016   Customer #176344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44017   Customer #176345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44018   Customer #176347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44019   Customer #176348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44020   Customer #176350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44021   Customer #176351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44022   Customer #176356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44023   Customer #176359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44024   Customer #176360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44025   Customer #176365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44026   Customer #176367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44027   Customer #176372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44028   Customer #176392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44029   Customer #176394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44030   Customer #176395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44031   Customer #176401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44032   Customer #176403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44033   Customer #176413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44034   Customer #176415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44035   Customer #176422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44036   Customer #176435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44037   Customer #176439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44038   Customer #176447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44039   Customer #176449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44040   Customer #176455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44041   Customer #176456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44042   Customer #176461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44043   Customer #176462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44044   Customer #176465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44045   Customer #176468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44046   Customer #176469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44047   Customer #176477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44048   Customer #176485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44049   Customer #176491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44050   Customer #176492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44051   Customer #176494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44052   Customer #176496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44053   Customer #176499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44054   Customer #176500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44055   Customer #176506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44056   Customer #176528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44057   Customer #176530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44058   Customer #176535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44059   Customer #176537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44060   Customer #176544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44061   Customer #176559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44062   Customer #176562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44063   Customer #176565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44064   Customer #176566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44065   Customer #176571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44066   Customer #176575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44067   Customer #176579                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44068   Customer #176591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44069   Customer #176603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44070   Customer #176604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44071   Customer #176608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44072   Customer #176617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44073   Customer #176619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44074   Customer #176625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44075   Customer #176625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44076   Customer #176631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44077   Customer #176632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44078   Customer #176641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44079   Customer #176649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44080   Customer #176651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44081   Customer #176663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44082   Customer #176667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44083   Customer #176679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44084   Customer #176684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44085   Customer #176689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44086   Customer #176692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44087   Customer #176693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44088   Customer #176694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44089   Customer #176699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44090   Customer #176700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44091   Customer #176701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44092   Customer #176702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44093   Customer #176709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44094   Customer #176713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44095   Customer #176714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44096   Customer #176716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44097   Customer #176720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44098   Customer #176721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44099   Customer #176728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44100   Customer #176739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44101   Customer #176740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44102   Customer #176754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44103   Customer #176756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44104   Customer #176768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44105   Customer #176774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44106   Customer #176779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44107   Customer #176780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44108   Customer #176781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44109   Customer #176783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44110   Customer #176788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44111   Customer #176790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44112   Customer #176791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44113   Customer #176792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44114   Customer #176800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44115   Customer #176801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44116   Customer #176803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44117   Customer #176830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44118   Customer #176835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44119   Customer #176839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44120   Customer #176846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44121   Customer #176849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44122   Customer #176850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44123   Customer #176851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44124   Customer #176859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44125   Customer #176863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44126   Customer #176868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44127   Customer #176868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44128   Customer #176868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44129   Customer #176869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44130   Customer #176871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44131   Customer #176872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44132   Customer #176874                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44133   Customer #176875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44134   Customer #176878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44135   Customer #176886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44136   Customer #176895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44137   Customer #176896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44138   Customer #176898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44139   Customer #176903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44140   Customer #176906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44141   Customer #176916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44142   Customer #176919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44143   Customer #176920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44144   Customer #176921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44145   Customer #176924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44146   Customer #176925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44147   Customer #176930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44148   Customer #176934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44149   Customer #176936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44150   Customer #176937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44151   Customer #176938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44152   Customer #176939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44153   Customer #176945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44154   Customer #176954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44155   Customer #176957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44156   Customer #176958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44157   Customer #176959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44158   Customer #176968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44159   Customer #176970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44160   Customer #176979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44161   Customer #176983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44162   Customer #176985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44163   Customer #176986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44164   Customer #176987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44165   Customer #176993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44166   Customer #176999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44167   Customer #177008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44168   Customer #177009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44169   Customer #177011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44170   Customer #177016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44171   Customer #177017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44172   Customer #177024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44173   Customer #177026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44174   Customer #177028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44175   Customer #177036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44176   Customer #177037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44177   Customer #177043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44178   Customer #177046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44179   Customer #177047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44180   Customer #177054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44181   Customer #177056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44182   Customer #177057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44183   Customer #177058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44184   Customer #177064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44185   Customer #177065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44186   Customer #177072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44187   Customer #177073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44188   Customer #177078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44189   Customer #177086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44190   Customer #177092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44191   Customer #177094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44192   Customer #177096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44193   Customer #177098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44194   Customer #177103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44195   Customer #177106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44196   Customer #177109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44197   Customer #177111                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44198   Customer #177116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44199   Customer #177117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44200   Customer #177121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44201   Customer #177124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44202   Customer #177125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44203   Customer #177126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44204   Customer #177127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44205   Customer #177128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44206   Customer #177134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44207   Customer #177136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44208   Customer #177138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44209   Customer #177143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44210   Customer #177146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44211   Customer #177147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44212   Customer #177151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44213   Customer #177153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44214   Customer #177154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44215   Customer #177160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44216   Customer #177161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44217   Customer #177172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44218   Customer #177174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44219   Customer #177176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44220   Customer #177183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44221   Customer #177184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44222   Customer #177186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44223   Customer #177188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44224   Customer #177202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44225   Customer #177207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44226   Customer #177209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44227   Customer #177212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44228   Customer #177217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44229   Customer #177218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44230   Customer #177219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44231   Customer #177223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44232   Customer #177227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44233   Customer #177231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44234   Customer #177232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44235   Customer #177236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44236   Customer #177244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44237   Customer #177247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44238   Customer #177248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44239   Customer #177253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44240   Customer #177254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44241   Customer #177256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44242   Customer #177258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44243   Customer #177273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44244   Customer #177279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44245   Customer #177282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44246   Customer #177283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44247   Customer #177294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44248   Customer #177296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44249   Customer #177300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44250   Customer #177306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44251   Customer #177307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44252   Customer #177321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44253   Customer #177328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44254   Customer #177355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44255   Customer #177365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44256   Customer #177368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44257   Customer #177369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44258   Customer #177371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44259   Customer #177373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44260   Customer #177374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44261   Customer #177381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44262   Customer #177383                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44263   Customer #177385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44264   Customer #177389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44265   Customer #177399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44266   Customer #177400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44267   Customer #177402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44268   Customer #177410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44269   Customer #177417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44270   Customer #177418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44271   Customer #177427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44272   Customer #177436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44273   Customer #177441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44274   Customer #177442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44275   Customer #177443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44276   Customer #177445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44277   Customer #177447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44278   Customer #177451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44279   Customer #177462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44280   Customer #177465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44281   Customer #177474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44282   Customer #177480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44283   Customer #177481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44284   Customer #177483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44285   Customer #177484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44286   Customer #177488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44287   Customer #177498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44288   Customer #177502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44289   Customer #177506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44290   Customer #177509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44291   Customer #177523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44292   Customer #177525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44293   Customer #177530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44294   Customer #177533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44295   Customer #177536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44296   Customer #177537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44297   Customer #177548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44298   Customer #177563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44299   Customer #177565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44300   Customer #177566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44301   Customer #177575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44302   Customer #177576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44303   Customer #177579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44304   Customer #177590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44305   Customer #177592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44306   Customer #177594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44307   Customer #177601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44308   Customer #177610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44309   Customer #177621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44310   Customer #177630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44311   Customer #177659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44312   Customer #177662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44313   Customer #177675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44314   Customer #177679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44315   Customer #177681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44316   Customer #177683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44317   Customer #177685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44318   Customer #177700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44319   Customer #177705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44320   Customer #177712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44321   Customer #177713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44322   Customer #177714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44323   Customer #177715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44324   Customer #177717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44325   Customer #177719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44326   Customer #177726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44327   Customer #177728                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44328   Customer #177735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44329   Customer #177737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44330   Customer #177744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44331   Customer #177747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44332   Customer #177752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44333   Customer #177760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44334   Customer #177762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44335   Customer #177766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44336   Customer #177767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44337   Customer #177776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44338   Customer #177779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44339   Customer #177780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44340   Customer #177781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44341   Customer #177783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44342   Customer #177790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44343   Customer #177796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44344   Customer #177798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44345   Customer #177799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44346   Customer #177812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44347   Customer #177819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44348   Customer #177828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44349   Customer #177835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44350   Customer #177843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44351   Customer #177863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44352   Customer #177869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44353   Customer #177870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44354   Customer #177872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44355   Customer #177873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44356   Customer #177874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44357   Customer #177882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44358   Customer #177896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44359   Customer #177899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44360   Customer #177906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44361   Customer #177914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44362   Customer #177923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44363   Customer #177930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44364   Customer #177931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44365   Customer #177941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44366   Customer #177943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44367   Customer #177946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44368   Customer #177947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44369   Customer #177949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44370   Customer #177950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44371   Customer #177956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44372   Customer #177959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44373   Customer #177963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44374   Customer #177964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44375   Customer #177965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44376   Customer #177969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44377   Customer #177974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44378   Customer #177975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44379   Customer #177991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44380   Customer #177993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44381   Customer #177995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44382   Customer #177997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44383   Customer #177998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44384   Customer #178003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44385   Customer #178004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44386   Customer #178005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44387   Customer #178007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44388   Customer #178008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44389   Customer #178014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44390   Customer #178030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44391   Customer #178037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44392   Customer #178039                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44393   Customer #178041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44394   Customer #178045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44395   Customer #178046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44396   Customer #178052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44397   Customer #178053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44398   Customer #178055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44399   Customer #178064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44400   Customer #178071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44401   Customer #178087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44402   Customer #178093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44403   Customer #178097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44404   Customer #178107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44405   Customer #178114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44406   Customer #178116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44407   Customer #178118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44408   Customer #178124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44409   Customer #178130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44410   Customer #178135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44411   Customer #178136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44412   Customer #178138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44413   Customer #178139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44414   Customer #178141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44415   Customer #178144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44416   Customer #178146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44417   Customer #178152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44418   Customer #178153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44419   Customer #178156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44420   Customer #178171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44421   Customer #178175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44422   Customer #178178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44423   Customer #178183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44424   Customer #178184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44425   Customer #178186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44426   Customer #178188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44427   Customer #178209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44428   Customer #178212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44429   Customer #178239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44430   Customer #178240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44431   Customer #178243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44432   Customer #178244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44433   Customer #178252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44434   Customer #178269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44435   Customer #178274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44436   Customer #178275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44437   Customer #178276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44438   Customer #178285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44439   Customer #178293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44440   Customer #178300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44441   Customer #178302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44442   Customer #178310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44443   Customer #178311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44444   Customer #178320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44445   Customer #178321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44446   Customer #178337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44447   Customer #178338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44448   Customer #178342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44449   Customer #178343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44450   Customer #178344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44451   Customer #178373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44452   Customer #178378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44453   Customer #178384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44454   Customer #178387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44455   Customer #178398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44456   Customer #178400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44457   Customer #178405                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44458   Customer #178406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44459   Customer #178408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44460   Customer #178413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44461   Customer #178416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44462   Customer #178418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44463   Customer #178419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44464   Customer #178420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44465   Customer #178439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44466   Customer #178447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44467   Customer #178452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44468   Customer #178458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44469   Customer #178460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44470   Customer #178462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44471   Customer #178464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44472   Customer #178467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44473   Customer #178471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44474   Customer #178473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44475   Customer #178476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44476   Customer #178477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44477   Customer #178485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44478   Customer #178486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44479   Customer #178489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44480   Customer #178491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44481   Customer #178495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44482   Customer #178501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44483   Customer #178502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44484   Customer #178504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44485   Customer #178517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44486   Customer #178519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44487   Customer #178520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44488   Customer #178532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44489   Customer #178533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44490   Customer #178534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44491   Customer #178535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44492   Customer #178537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44493   Customer #178542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44494   Customer #178547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44495   Customer #178550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44496   Customer #178552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44497   Customer #178562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44498   Customer #178565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44499   Customer #178567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44500   Customer #178569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44501   Customer #178571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44502   Customer #178588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44503   Customer #178591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44504   Customer #178592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44505   Customer #178593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44506   Customer #178602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44507   Customer #178603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44508   Customer #178617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44509   Customer #178619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44510   Customer #178622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44511   Customer #178623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44512   Customer #178627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44513   Customer #178629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44514   Customer #178630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44515   Customer #178631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44516   Customer #178638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44517   Customer #178640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44518   Customer #178648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44519   Customer #178650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44520   Customer #178652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44521   Customer #178654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44522   Customer #178663                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44523   Customer #178668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44524   Customer #178693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44525   Customer #178697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44526   Customer #178698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44527   Customer #178706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44528   Customer #178707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44529   Customer #178708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44530   Customer #178710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44531   Customer #178711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44532   Customer #178714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44533   Customer #178716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44534   Customer #178720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44535   Customer #178728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44536   Customer #178732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44537   Customer #178735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44538   Customer #178740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44539   Customer #178742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44540   Customer #178746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44541   Customer #178747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44542   Customer #178752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44543   Customer #178753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44544   Customer #178765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44545   Customer #178797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44546   Customer #178800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44547   Customer #178802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44548   Customer #178803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44549   Customer #178805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44550   Customer #178807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44551   Customer #178808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44552   Customer #178824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44553   Customer #178829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44554   Customer #178834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44555   Customer #178836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44556   Customer #178847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44557   Customer #178848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44558   Customer #178849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44559   Customer #178851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44560   Customer #178851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44561   Customer #178869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44562   Customer #178872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44563   Customer #178874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44564   Customer #178875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44565   Customer #178879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44566   Customer #178880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44567   Customer #178882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44568   Customer #178886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44569   Customer #178889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44570   Customer #178891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44571   Customer #178892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44572   Customer #178894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44573   Customer #178895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44574   Customer #178897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44575   Customer #178898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44576   Customer #178902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44577   Customer #178903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44578   Customer #178910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44579   Customer #178911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44580   Customer #178913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44581   Customer #178921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44582   Customer #178924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44583   Customer #178925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44584   Customer #178926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44585   Customer #178929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44586   Customer #178931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44587   Customer #178938                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44588   Customer #178939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44589   Customer #178944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44590   Customer #178946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44591   Customer #178954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44592   Customer #178955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44593   Customer #178959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44594   Customer #178961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44595   Customer #178962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44596   Customer #178964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44597   Customer #178965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44598   Customer #178979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44599   Customer #178980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44600   Customer #178983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44601   Customer #178985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44602   Customer #178988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44603   Customer #178989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44604   Customer #178994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44605   Customer #179000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44606   Customer #179002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44607   Customer #179007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44608   Customer #179009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44609   Customer #179014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44610   Customer #179026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44611   Customer #179027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44612   Customer #179029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44613   Customer #179034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44614   Customer #179037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44615   Customer #179038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44616   Customer #179042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44617   Customer #179044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44618   Customer #179052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44619   Customer #179063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44620   Customer #179075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44621   Customer #179076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44622   Customer #179100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44623   Customer #179102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44624   Customer #179104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44625   Customer #179109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44626   Customer #179114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44627   Customer #179115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44628   Customer #179117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44629   Customer #179119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44630   Customer #179129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44631   Customer #179135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44632   Customer #179136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44633   Customer #179137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44634   Customer #179153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44635   Customer #179156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44636   Customer #179158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44637   Customer #179174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44638   Customer #179179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44639   Customer #179183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44640   Customer #179216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44641   Customer #179224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44642   Customer #179225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44643   Customer #179239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44644   Customer #179241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44645   Customer #179242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44646   Customer #179243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44647   Customer #179246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44648   Customer #179247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44649   Customer #179250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44650   Customer #179254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44651   Customer #179259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44652   Customer #179264                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44653   Customer #179264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44654   Customer #179278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44655   Customer #179279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44656   Customer #179293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44657   Customer #179295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44658   Customer #179296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44659   Customer #179297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44660   Customer #179304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44661   Customer #179305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44662   Customer #179322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44663   Customer #179329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44664   Customer #179335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44665   Customer #179336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44666   Customer #179337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44667   Customer #179343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44668   Customer #179349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44669   Customer #179351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44670   Customer #179353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44671   Customer #179354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44672   Customer #179358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44673   Customer #179364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44674   Customer #179366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44675   Customer #179368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44676   Customer #179370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44677   Customer #179372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44678   Customer #179378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44679   Customer #179382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44680   Customer #179389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44681   Customer #179395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44682   Customer #179397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44683   Customer #179399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44684   Customer #179404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44685   Customer #179413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44686   Customer #179415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44687   Customer #179415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44688   Customer #179424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44689   Customer #179427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44690   Customer #179428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44691   Customer #179430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44692   Customer #179438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44693   Customer #179442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44694   Customer #179443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44695   Customer #179457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44696   Customer #179459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44697   Customer #179459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44698   Customer #179460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44699   Customer #179462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44700   Customer #179463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44701   Customer #179464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44702   Customer #179468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44703   Customer #179486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44704   Customer #179491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44705   Customer #179497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44706   Customer #179498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44707   Customer #179508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44708   Customer #179511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44709   Customer #179513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44710   Customer #179514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44711   Customer #179525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44712   Customer #179544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44713   Customer #179546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44714   Customer #179547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44715   Customer #179551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44716   Customer #179552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44717   Customer #179553                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44718   Customer #179555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44719   Customer #179563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44720   Customer #179575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44721   Customer #179576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44722   Customer #179580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44723   Customer #179594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44724   Customer #179609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44725   Customer #179610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44726   Customer #179614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44727   Customer #179616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44728   Customer #179636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44729   Customer #179638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44730   Customer #179641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44731   Customer #179642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44732   Customer #179648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44733   Customer #179650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44734   Customer #179661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44735   Customer #179662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44736   Customer #179667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44737   Customer #179676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44738   Customer #179677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44739   Customer #179679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44740   Customer #179680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44741   Customer #179681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44742   Customer #179682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44743   Customer #179687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44744   Customer #179688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44745   Customer #179691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44746   Customer #179692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44747   Customer #179693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44748   Customer #179694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44749   Customer #179695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44750   Customer #179696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44751   Customer #179699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44752   Customer #179701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44753   Customer #179703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44754   Customer #179708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44755   Customer #179711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44756   Customer #179718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44757   Customer #179719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44758   Customer #179720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44759   Customer #179721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44760   Customer #179729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44761   Customer #179736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44762   Customer #179740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44763   Customer #179748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44764   Customer #179751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44765   Customer #179752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44766   Customer #179756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44767   Customer #179785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44768   Customer #179800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44769   Customer #179801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44770   Customer #179802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44771   Customer #179803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44772   Customer #179808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44773   Customer #179813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44774   Customer #179814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44775   Customer #179829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44776   Customer #179832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44777   Customer #179834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44778   Customer #179836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44779   Customer #179838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44780   Customer #179839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44781   Customer #179851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44782   Customer #179853                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44783   Customer #179855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44784   Customer #179862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44785   Customer #179863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44786   Customer #179867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44787   Customer #179870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44788   Customer #179873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44789   Customer #179874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44790   Customer #179875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44791   Customer #179877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44792   Customer #179878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44793   Customer #179879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44794   Customer #179883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44795   Customer #179885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44796   Customer #179886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44797   Customer #179888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44798   Customer #179890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44799   Customer #179892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44800   Customer #179895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44801   Customer #179896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44802   Customer #179899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44803   Customer #179906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44804   Customer #179907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44805   Customer #179908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44806   Customer #179911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44807   Customer #179912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44808   Customer #179913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44809   Customer #179918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44810   Customer #179921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44811   Customer #179927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44812   Customer #179928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44813   Customer #179929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44814   Customer #179940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44815   Customer #179941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44816   Customer #179943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44817   Customer #179947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44818   Customer #179948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44819   Customer #179950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44820   Customer #179952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44821   Customer #179953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44822   Customer #179957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44823   Customer #179965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44824   Customer #179969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44825   Customer #179974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44826   Customer #179981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44827   Customer #179984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44828   Customer #179986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44829   Customer #179987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44830   Customer #179990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44831   Customer #179993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44832   Customer #179994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44833   Customer #180002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44834   Customer #180003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44835   Customer #180006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44836   Customer #180010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44837   Customer #180011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44838   Customer #180021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44839   Customer #180022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44840   Customer #180026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44841   Customer #180029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44842   Customer #180031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44843   Customer #180032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44844   Customer #180034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44845   Customer #180035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44846   Customer #180042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44847   Customer #180048                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44848   Customer #180051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44849   Customer #180060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44850   Customer #180062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44851   Customer #180071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44852   Customer #180072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44853   Customer #180087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44854   Customer #180088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44855   Customer #180090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44856   Customer #180093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44857   Customer #180094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44858   Customer #180097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44859   Customer #180097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44860   Customer #180099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44861   Customer #180100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44862   Customer #180102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44863   Customer #180110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44864   Customer #180111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44865   Customer #180112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44866   Customer #180113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44867   Customer #180114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44868   Customer #180117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44869   Customer #180118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44870   Customer #180126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44871   Customer #180127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44872   Customer #180132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44873   Customer #180133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44874   Customer #180134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44875   Customer #180138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44876   Customer #180139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44877   Customer #180142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44878   Customer #180149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44879   Customer #180153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44880   Customer #180155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44881   Customer #180162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44882   Customer #180172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44883   Customer #180177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44884   Customer #180178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44885   Customer #180180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44886   Customer #180200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44887   Customer #180201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44888   Customer #180205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44889   Customer #180213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44890   Customer #180217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44891   Customer #180218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44892   Customer #180219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44893   Customer #180220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44894   Customer #180228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44895   Customer #180237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44896   Customer #180245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44897   Customer #180246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44898   Customer #180250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44899   Customer #180253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44900   Customer #180255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44901   Customer #180256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44902   Customer #180266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44903   Customer #180273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44904   Customer #180274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44905   Customer #180303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44906   Customer #180305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44907   Customer #180311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44908   Customer #180314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44909   Customer #180315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44910   Customer #180317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44911   Customer #180319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44912   Customer #180320                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44913   Customer #180325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44914   Customer #180327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44915   Customer #180328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44916   Customer #180329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44917   Customer #180347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44918   Customer #180353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44919   Customer #180354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44920   Customer #180362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44921   Customer #180367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44922   Customer #180369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44923   Customer #180371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44924   Customer #180378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44925   Customer #180379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44926   Customer #180397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44927   Customer #180412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44928   Customer #180416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44929   Customer #180417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44930   Customer #180419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44931   Customer #180422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44932   Customer #180425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44933   Customer #180428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44934   Customer #180432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44935   Customer #180435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44936   Customer #180438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44937   Customer #180439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44938   Customer #180440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44939   Customer #180451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44940   Customer #180452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44941   Customer #180454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44942   Customer #180456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44943   Customer #180459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44944   Customer #180463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44945   Customer #180464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44946   Customer #180464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44947   Customer #180487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44948   Customer #180488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44949   Customer #180492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44950   Customer #180497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44951   Customer #180509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44952   Customer #180510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44953   Customer #180518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44954   Customer #180521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44955   Customer #180522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44956   Customer #180523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44957   Customer #180524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44958   Customer #180524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44959   Customer #180526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44960   Customer #180532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44961   Customer #180536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44962   Customer #180538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44963   Customer #180540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44964   Customer #180542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44965   Customer #180544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44966   Customer #180545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44967   Customer #180547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44968   Customer #180551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44969   Customer #180552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44970   Customer #180555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44971   Customer #180557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44972   Customer #180570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44973   Customer #180571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44974   Customer #180572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44975   Customer #180603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44976   Customer #180606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44977   Customer #180609                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.44978   Customer #180615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44979   Customer #180631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44980   Customer #180640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44981   Customer #180644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44982   Customer #180645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44983   Customer #180654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44984   Customer #180657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44985   Customer #180664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44986   Customer #180665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44987   Customer #180666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44988   Customer #180672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44989   Customer #180678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44990   Customer #180683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44991   Customer #180686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44992   Customer #180689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44993   Customer #180695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44994   Customer #180696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44995   Customer #180700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44996   Customer #180703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44997   Customer #180704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44998   Customer #180705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.44999   Customer #180707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45000   Customer #180710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45001   Customer #180713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45002   Customer #180714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45003   Customer #180718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45004   Customer #180720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45005   Customer #180721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45006   Customer #180722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45007   Customer #180723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45008   Customer #180726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45009   Customer #180727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45010   Customer #180739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45011   Customer #180741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45012   Customer #180743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45013   Customer #180745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45014   Customer #180746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45015   Customer #180750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45016   Customer #180760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45017   Customer #180761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45018   Customer #180770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45019   Customer #180772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45020   Customer #180773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45021   Customer #180774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45022   Customer #180784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45023   Customer #180785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45024   Customer #180788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45025   Customer #180793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45026   Customer #180795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45027   Customer #180797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45028   Customer #180800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45029   Customer #180802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45030   Customer #180806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45031   Customer #180807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45032   Customer #180809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45033   Customer #180811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45034   Customer #180812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45035   Customer #180814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45036   Customer #180815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45037   Customer #180820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45038   Customer #180828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45039   Customer #180829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45040   Customer #180830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45041   Customer #180831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45042   Customer #180852                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45043   Customer #180856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45044   Customer #180863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45045   Customer #180865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45046   Customer #180867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45047   Customer #180873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45048   Customer #180874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45049   Customer #180875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45050   Customer #180877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45051   Customer #180879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45052   Customer #180881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45053   Customer #180886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45054   Customer #180891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45055   Customer #180893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45056   Customer #180894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45057   Customer #180902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45058   Customer #180904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45059   Customer #180905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45060   Customer #180909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45061   Customer #180911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45062   Customer #180912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45063   Customer #180924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45064   Customer #180928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45065   Customer #180929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45066   Customer #180931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45067   Customer #180932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45068   Customer #180934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45069   Customer #180935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45070   Customer #180944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45071   Customer #180946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45072   Customer #180957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45073   Customer #180958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45074   Customer #180963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45075   Customer #180966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45076   Customer #180967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45077   Customer #180971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45078   Customer #180978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45079   Customer #180983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45080   Customer #180988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45081   Customer #181000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45082   Customer #181001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45083   Customer #181003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45084   Customer #181008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45085   Customer #181011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45086   Customer #181013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45087   Customer #181019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45088   Customer #181023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45089   Customer #181027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45090   Customer #181031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45091   Customer #181034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45092   Customer #181054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45093   Customer #181056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45094   Customer #181058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45095   Customer #181068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45096   Customer #181089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45097   Customer #181092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45098   Customer #181093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45099   Customer #181094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45100   Customer #181110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45101   Customer #181113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45102   Customer #181133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45103   Customer #181135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45104   Customer #181137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45105   Customer #181143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45106   Customer #181160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45107   Customer #181164                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45108   Customer #181168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45109   Customer #181173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45110   Customer #181174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45111   Customer #181183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45112   Customer #181188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45113   Customer #181189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45114   Customer #181193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45115   Customer #181197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45116   Customer #181202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45117   Customer #181205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45118   Customer #181208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45119   Customer #181210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45120   Customer #181217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45121   Customer #181220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45122   Customer #181232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45123   Customer #181235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45124   Customer #181236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45125   Customer #181243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45126   Customer #181247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45127   Customer #181249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45128   Customer #181252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45129   Customer #181253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45130   Customer #181262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45131   Customer #181266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45132   Customer #181267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45133   Customer #181270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45134   Customer #181271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45135   Customer #181272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45136   Customer #181273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45137   Customer #181281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45138   Customer #181284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45139   Customer #181288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45140   Customer #181289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45141   Customer #181294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45142   Customer #181296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45143   Customer #181319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45144   Customer #181322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45145   Customer #181330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45146   Customer #181340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45147   Customer #181342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45148   Customer #181347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45149   Customer #181349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45150   Customer #181352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45151   Customer #181355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45152   Customer #181359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45153   Customer #181362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45154   Customer #181364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45155   Customer #181365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45156   Customer #181366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45157   Customer #181369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45158   Customer #181372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45159   Customer #181385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45160   Customer #181392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45161   Customer #181405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45162   Customer #181409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45163   Customer #181413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45164   Customer #181419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45165   Customer #181421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45166   Customer #181443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45167   Customer #181443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45168   Customer #181448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45169   Customer #181453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45170   Customer #181456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45171   Customer #181461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45172   Customer #181466                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45173   Customer #181470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45174   Customer #181471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45175   Customer #181472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45176   Customer #181483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45177   Customer #181484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45178   Customer #181490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45179   Customer #181497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45180   Customer #181503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45181   Customer #181504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45182   Customer #181506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45183   Customer #181509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45184   Customer #181510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45185   Customer #181515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45186   Customer #181521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45187   Customer #181522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45188   Customer #181527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45189   Customer #181528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45190   Customer #181531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45191   Customer #181532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45192   Customer #181536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45193   Customer #181540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45194   Customer #181547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45195   Customer #181553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45196   Customer #181555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45197   Customer #181557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45198   Customer #181559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45199   Customer #181562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45200   Customer #181563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45201   Customer #181576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45202   Customer #181577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45203   Customer #181585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45204   Customer #181586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45205   Customer #181587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45206   Customer #181606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45207   Customer #181612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45208   Customer #181619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45209   Customer #181627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45210   Customer #181628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45211   Customer #181631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45212   Customer #181637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45213   Customer #181638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45214   Customer #181656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45215   Customer #181659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45216   Customer #181661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45217   Customer #181662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45218   Customer #181666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45219   Customer #181669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45220   Customer #181671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45221   Customer #181672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45222   Customer #181677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45223   Customer #181678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45224   Customer #181683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45225   Customer #181686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45226   Customer #181687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45227   Customer #181691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45228   Customer #181693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45229   Customer #181695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45230   Customer #181696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45231   Customer #181703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45232   Customer #181705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45233   Customer #181706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45234   Customer #181715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45235   Customer #181718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45236   Customer #181719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45237   Customer #181726                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45238   Customer #181730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45239   Customer #181736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45240   Customer #181738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45241   Customer #181743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45242   Customer #181750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45243   Customer #181751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45244   Customer #181754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45245   Customer #181760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45246   Customer #181770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45247   Customer #181771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45248   Customer #181772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45249   Customer #181775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45250   Customer #181777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45251   Customer #181784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45252   Customer #181786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45253   Customer #181787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45254   Customer #181789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45255   Customer #181792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45256   Customer #181794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45257   Customer #181798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45258   Customer #181799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45259   Customer #181805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45260   Customer #181807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45261   Customer #181810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45262   Customer #181817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45263   Customer #181819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45264   Customer #181824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45265   Customer #181828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45266   Customer #181847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45267   Customer #181849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45268   Customer #181857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45269   Customer #181858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45270   Customer #181863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45271   Customer #181870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45272   Customer #181883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45273   Customer #181887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45274   Customer #181888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45275   Customer #181890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45276   Customer #181893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45277   Customer #181898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45278   Customer #181920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45279   Customer #181926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45280   Customer #181937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45281   Customer #181944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45282   Customer #181946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45283   Customer #181949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45284   Customer #181956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45285   Customer #181961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45286   Customer #181962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45287   Customer #181967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45288   Customer #181968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45289   Customer #181983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45290   Customer #181984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45291   Customer #181989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45292   Customer #181993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45293   Customer #182000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45294   Customer #182001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45295   Customer #182006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45296   Customer #182021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45297   Customer #182022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45298   Customer #182028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45299   Customer #182029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45300   Customer #182045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45301   Customer #182054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45302   Customer #182062                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45303   Customer #182067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45304   Customer #182068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45305   Customer #182069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45306   Customer #182070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45307   Customer #182071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45308   Customer #182080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45309   Customer #182082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45310   Customer #182083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45311   Customer #182084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45312   Customer #182086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45313   Customer #182087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45314   Customer #182088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45315   Customer #182091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45316   Customer #182092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45317   Customer #182095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45318   Customer #182096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45319   Customer #182115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45320   Customer #182126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45321   Customer #182127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45322   Customer #182128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45323   Customer #182131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45324   Customer #182137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45325   Customer #182140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45326   Customer #182144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45327   Customer #182159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45328   Customer #182172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45329   Customer #182174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45330   Customer #182176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45331   Customer #182180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45332   Customer #182184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45333   Customer #182185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45334   Customer #182186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45335   Customer #182188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45336   Customer #182192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45337   Customer #182197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45338   Customer #182199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45339   Customer #182201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45340   Customer #182202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45341   Customer #182206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45342   Customer #182212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45343   Customer #182213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45344   Customer #182214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45345   Customer #182232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45346   Customer #182233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45347   Customer #182234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45348   Customer #182239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45349   Customer #182244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45350   Customer #182248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45351   Customer #182256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45352   Customer #182259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45353   Customer #182260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45354   Customer #182265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45355   Customer #182267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45356   Customer #182270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45357   Customer #182288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45358   Customer #182295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45359   Customer #182301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45360   Customer #182307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45361   Customer #182309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45362   Customer #182315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45363   Customer #182317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45364   Customer #182324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45365   Customer #182325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45366   Customer #182328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45367   Customer #182333                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45368   Customer #182337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45369   Customer #182342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45370   Customer #182348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45371   Customer #182354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45372   Customer #182364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45373   Customer #182367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45374   Customer #182373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45375   Customer #182374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45376   Customer #182384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45377   Customer #182385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45378   Customer #182396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45379   Customer #182398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45380   Customer #182403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45381   Customer #182408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45382   Customer #182420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45383   Customer #182422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45384   Customer #182423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45385   Customer #182425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45386   Customer #182427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45387   Customer #182431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45388   Customer #182436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45389   Customer #182438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45390   Customer #182445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45391   Customer #182464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45392   Customer #182465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45393   Customer #182475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45394   Customer #182477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45395   Customer #182482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45396   Customer #182490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45397   Customer #182492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45398   Customer #182499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45399   Customer #182500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45400   Customer #182503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45401   Customer #182525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45402   Customer #182527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45403   Customer #182529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45404   Customer #182531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45405   Customer #182538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45406   Customer #182545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45407   Customer #182548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45408   Customer #182549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45409   Customer #182559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45410   Customer #182561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45411   Customer #182562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45412   Customer #182564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45413   Customer #182577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45414   Customer #182579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45415   Customer #182590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45416   Customer #182594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45417   Customer #182596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45418   Customer #182608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45419   Customer #182610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45420   Customer #182614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45421   Customer #182636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45422   Customer #182638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45423   Customer #182639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45424   Customer #182642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45425   Customer #182655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45426   Customer #182664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45427   Customer #182666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45428   Customer #182667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45429   Customer #182670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45430   Customer #182671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45431   Customer #182679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45432   Customer #182683                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45433   Customer #182684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45434   Customer #182686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45435   Customer #182687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45436   Customer #182688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45437   Customer #182696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45438   Customer #182697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45439   Customer #182698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45440   Customer #182699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45441   Customer #182703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45442   Customer #182706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45443   Customer #182716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45444   Customer #182729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45445   Customer #182732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45446   Customer #182736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45447   Customer #182745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45448   Customer #182753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45449   Customer #182755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45450   Customer #182758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45451   Customer #182761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45452   Customer #182772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45453   Customer #182775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45454   Customer #182782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45455   Customer #182787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45456   Customer #182793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45457   Customer #182798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45458   Customer #182807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45459   Customer #182808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45460   Customer #182809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45461   Customer #182810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45462   Customer #182814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45463   Customer #182818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45464   Customer #182819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45465   Customer #182819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45466   Customer #182828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45467   Customer #182831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45468   Customer #182832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45469   Customer #182833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45470   Customer #182836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45471   Customer #182840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45472   Customer #182843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45473   Customer #182844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45474   Customer #182845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45475   Customer #182848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45476   Customer #182855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45477   Customer #182866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45478   Customer #182867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45479   Customer #182868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45480   Customer #182871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45481   Customer #182875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45482   Customer #182880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45483   Customer #182882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45484   Customer #182883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45485   Customer #182885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45486   Customer #182901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45487   Customer #182905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45488   Customer #182908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45489   Customer #182909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45490   Customer #182917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45491   Customer #182919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45492   Customer #182920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45493   Customer #182923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45494   Customer #182926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45495   Customer #182935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45496   Customer #182939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45497   Customer #182948                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45498   Customer #182952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45499   Customer #182953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45500   Customer #182956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45501   Customer #182959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45502   Customer #182980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45503   Customer #182985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45504   Customer #182989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45505   Customer #182995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45506   Customer #182996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45507   Customer #183013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45508   Customer #183017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45509   Customer #183018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45510   Customer #183021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45511   Customer #183022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45512   Customer #183027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45513   Customer #183029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45514   Customer #183032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45515   Customer #183033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45516   Customer #183034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45517   Customer #183042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45518   Customer #183058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45519   Customer #183058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45520   Customer #183059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45521   Customer #183068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45522   Customer #183072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45523   Customer #183073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45524   Customer #183074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45525   Customer #183077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45526   Customer #183078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45527   Customer #183079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45528   Customer #183080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45529   Customer #183087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45530   Customer #183092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45531   Customer #183098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45532   Customer #183105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45533   Customer #183117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45534   Customer #183121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45535   Customer #183122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45536   Customer #183123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45537   Customer #183124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45538   Customer #183135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45539   Customer #183138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45540   Customer #183139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45541   Customer #183140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45542   Customer #183146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45543   Customer #183147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45544   Customer #183162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45545   Customer #183165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45546   Customer #183170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45547   Customer #183176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45548   Customer #183180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45549   Customer #183181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45550   Customer #183182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45551   Customer #183183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45552   Customer #183185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45553   Customer #183186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45554   Customer #183189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45555   Customer #183190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45556   Customer #183191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45557   Customer #183197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45558   Customer #183203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45559   Customer #183221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45560   Customer #183226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45561   Customer #183230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45562   Customer #183231                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45563   Customer #183237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45564   Customer #183243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45565   Customer #183244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45566   Customer #183253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45567   Customer #183254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45568   Customer #183257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45569   Customer #183258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45570   Customer #183266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45571   Customer #183269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45572   Customer #183275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45573   Customer #183277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45574   Customer #183280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45575   Customer #183292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45576   Customer #183312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45577   Customer #183313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45578   Customer #183324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45579   Customer #183333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45580   Customer #183336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45581   Customer #183344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45582   Customer #183347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45583   Customer #183350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45584   Customer #183351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45585   Customer #183356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45586   Customer #183357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45587   Customer #183358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45588   Customer #183360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45589   Customer #183366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45590   Customer #183369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45591   Customer #183370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45592   Customer #183377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45593   Customer #183378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45594   Customer #183379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45595   Customer #183383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45596   Customer #183386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45597   Customer #183387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45598   Customer #183388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45599   Customer #183389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45600   Customer #183390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45601   Customer #183397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45602   Customer #183406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45603   Customer #183407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45604   Customer #183413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45605   Customer #183422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45606   Customer #183423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45607   Customer #183424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45608   Customer #183428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45609   Customer #183430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45610   Customer #183433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45611   Customer #183437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45612   Customer #183447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45613   Customer #183448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45614   Customer #183449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45615   Customer #183451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45616   Customer #183456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45617   Customer #183459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45618   Customer #183461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45619   Customer #183471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45620   Customer #183472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45621   Customer #183477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45622   Customer #183478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45623   Customer #183481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45624   Customer #183483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45625   Customer #183484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45626   Customer #183485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45627   Customer #183488                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45628   Customer #183488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45629   Customer #183492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45630   Customer #183497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45631   Customer #183501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45632   Customer #183504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45633   Customer #183505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45634   Customer #183512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45635   Customer #183523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45636   Customer #183529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45637   Customer #183530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45638   Customer #183533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45639   Customer #183536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45640   Customer #183538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45641   Customer #183540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45642   Customer #183542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45643   Customer #183548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45644   Customer #183558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45645   Customer #183562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45646   Customer #183565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45647   Customer #183567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45648   Customer #183571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45649   Customer #183572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45650   Customer #183586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45651   Customer #183587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45652   Customer #183592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45653   Customer #183595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45654   Customer #183602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45655   Customer #183614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45656   Customer #183616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45657   Customer #183617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45658   Customer #183620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45659   Customer #183621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45660   Customer #183622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45661   Customer #183623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45662   Customer #183624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45663   Customer #183625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45664   Customer #183626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45665   Customer #183628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45666   Customer #183629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45667   Customer #183635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45668   Customer #183637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45669   Customer #183640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45670   Customer #183641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45671   Customer #183644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45672   Customer #183647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45673   Customer #183648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45674   Customer #183648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45675   Customer #183649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45676   Customer #183650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45677   Customer #183652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45678   Customer #183658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45679   Customer #183660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45680   Customer #183667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45681   Customer #183669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45682   Customer #183673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45683   Customer #183676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45684   Customer #183677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45685   Customer #183688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45686   Customer #183692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45687   Customer #183695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45688   Customer #183696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45689   Customer #183698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45690   Customer #183699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45691   Customer #183699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45692   Customer #183700                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45693   Customer #183701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45694   Customer #183702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45695   Customer #183705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45696   Customer #183709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45697   Customer #183710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45698   Customer #183711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45699   Customer #183715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45700   Customer #183723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45701   Customer #183733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45702   Customer #183737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45703   Customer #183747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45704   Customer #183781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45705   Customer #183785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45706   Customer #183788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45707   Customer #183790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45708   Customer #183792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45709   Customer #183794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45710   Customer #183798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45711   Customer #183799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45712   Customer #183801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45713   Customer #183805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45714   Customer #183812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45715   Customer #183814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45716   Customer #183816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45717   Customer #183817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45718   Customer #183820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45719   Customer #183823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45720   Customer #183824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45721   Customer #183825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45722   Customer #183826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45723   Customer #183832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45724   Customer #183838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45725   Customer #183840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45726   Customer #183842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45727   Customer #183845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45728   Customer #183848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45729   Customer #183849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45730   Customer #183851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45731   Customer #183876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45732   Customer #183889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45733   Customer #183938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45734   Customer #183940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45735   Customer #183941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45736   Customer #183942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45737   Customer #183945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45738   Customer #183950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45739   Customer #183951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45740   Customer #183958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45741   Customer #183962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45742   Customer #183963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45743   Customer #183966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45744   Customer #183968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45745   Customer #183969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45746   Customer #183971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45747   Customer #183973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45748   Customer #183981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45749   Customer #183985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45750   Customer #183991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45751   Customer #183996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45752   Customer #184007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45753   Customer #184017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45754   Customer #184026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45755   Customer #184028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45756   Customer #184041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45757   Customer #184048                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45758   Customer #184054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45759   Customer #184057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45760   Customer #184059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45761   Customer #184065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45762   Customer #184068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45763   Customer #184069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45764   Customer #184070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45765   Customer #184075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45766   Customer #184077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45767   Customer #184078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45768   Customer #184087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45769   Customer #184092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45770   Customer #184095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45771   Customer #184105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45772   Customer #184109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45773   Customer #184110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45774   Customer #184113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45775   Customer #184115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45776   Customer #184117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45777   Customer #184118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45778   Customer #184119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45779   Customer #184132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45780   Customer #184133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45781   Customer #184137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45782   Customer #184138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45783   Customer #184139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45784   Customer #184140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45785   Customer #184141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45786   Customer #184150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45787   Customer #184154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45788   Customer #184155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45789   Customer #184158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45790   Customer #184159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45791   Customer #184161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45792   Customer #184164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45793   Customer #184166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45794   Customer #184170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45795   Customer #184172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45796   Customer #184177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45797   Customer #184179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45798   Customer #184182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45799   Customer #184186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45800   Customer #184187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45801   Customer #184188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45802   Customer #184189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45803   Customer #184194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45804   Customer #184195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45805   Customer #184197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45806   Customer #184198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45807   Customer #184199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45808   Customer #184205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45809   Customer #184206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45810   Customer #184207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45811   Customer #184208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45812   Customer #184222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45813   Customer #184225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45814   Customer #184231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45815   Customer #184232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45816   Customer #184234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45817   Customer #184240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45818   Customer #184241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45819   Customer #184242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45820   Customer #184246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45821   Customer #184254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45822   Customer #184259                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45823   Customer #184278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45824   Customer #184279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45825   Customer #184286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45826   Customer #184292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45827   Customer #184293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45828   Customer #184295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45829   Customer #184298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45830   Customer #184311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45831   Customer #184313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45832   Customer #184321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45833   Customer #184322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45834   Customer #184331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45835   Customer #184332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45836   Customer #184337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45837   Customer #184340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45838   Customer #184346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45839   Customer #184348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45840   Customer #184353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45841   Customer #184359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45842   Customer #184362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45843   Customer #184364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45844   Customer #184373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45845   Customer #184375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45846   Customer #184376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45847   Customer #184400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45848   Customer #184408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45849   Customer #184411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45850   Customer #184412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45851   Customer #184416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45852   Customer #184423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45853   Customer #184424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45854   Customer #184446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45855   Customer #184455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45856   Customer #184460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45857   Customer #184462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45858   Customer #184466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45859   Customer #184471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45860   Customer #184476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45861   Customer #184477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45862   Customer #184478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45863   Customer #184480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45864   Customer #184483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45865   Customer #184486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45866   Customer #184487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45867   Customer #184489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45868   Customer #184490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45869   Customer #184496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45870   Customer #184498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45871   Customer #184500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45872   Customer #184509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45873   Customer #184529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45874   Customer #184535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45875   Customer #184541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45876   Customer #184548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45877   Customer #184549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45878   Customer #184553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45879   Customer #184563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45880   Customer #184570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45881   Customer #184571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45882   Customer #184574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45883   Customer #184575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45884   Customer #184577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45885   Customer #184580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45886   Customer #184582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45887   Customer #184586                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45888   Customer #184590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45889   Customer #184591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45890   Customer #184592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45891   Customer #184602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45892   Customer #184603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45893   Customer #184610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45894   Customer #184613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45895   Customer #184614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45896   Customer #184619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45897   Customer #184627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45898   Customer #184629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45899   Customer #184636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45900   Customer #184638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45901   Customer #184640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45902   Customer #184647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45903   Customer #184654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45904   Customer #184656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45905   Customer #184657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45906   Customer #184658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45907   Customer #184660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45908   Customer #184661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45909   Customer #184664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45910   Customer #184666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45911   Customer #184667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45912   Customer #184668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45913   Customer #184671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45914   Customer #184673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45915   Customer #184674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45916   Customer #184675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45917   Customer #184676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45918   Customer #184682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45919   Customer #184683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45920   Customer #184685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45921   Customer #184686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45922   Customer #184690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45923   Customer #184692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45924   Customer #184718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45925   Customer #184719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45926   Customer #184720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45927   Customer #184721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45928   Customer #184733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45929   Customer #184734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45930   Customer #184742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45931   Customer #184750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45932   Customer #184752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45933   Customer #184759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45934   Customer #184760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45935   Customer #184765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45936   Customer #184771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45937   Customer #184776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45938   Customer #184777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45939   Customer #184780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45940   Customer #184783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45941   Customer #184784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45942   Customer #184789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45943   Customer #184790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45944   Customer #184791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45945   Customer #184797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45946   Customer #184809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45947   Customer #184811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45948   Customer #184812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45949   Customer #184813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45950   Customer #184814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45951   Customer #184817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45952   Customer #184818                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.45953   Customer #184821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45954   Customer #184825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45955   Customer #184835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45956   Customer #184841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45957   Customer #184847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45958   Customer #184855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45959   Customer #184856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45960   Customer #184858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45961   Customer #184862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45962   Customer #184863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45963   Customer #184864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45964   Customer #184865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45965   Customer #184871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45966   Customer #184872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45967   Customer #184875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45968   Customer #184876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45969   Customer #184882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45970   Customer #184912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45971   Customer #184923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45972   Customer #184924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45973   Customer #184929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45974   Customer #184932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45975   Customer #184945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45976   Customer #184947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45977   Customer #184955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45978   Customer #184956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45979   Customer #184960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45980   Customer #184963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45981   Customer #184977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45982   Customer #185006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45983   Customer #185007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45984   Customer #185010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45985   Customer #185016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45986   Customer #185018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45987   Customer #185021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45988   Customer #185029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45989   Customer #185030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45990   Customer #185035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45991   Customer #185036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45992   Customer #185040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45993   Customer #185042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45994   Customer #185044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45995   Customer #185045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45996   Customer #185047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45997   Customer #185049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45998   Customer #185052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.45999   Customer #185054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46000   Customer #185056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46001   Customer #185063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46002   Customer #185068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46003   Customer #185077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46004   Customer #185081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46005   Customer #185084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46006   Customer #185093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46007   Customer #185094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46008   Customer #185097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46009   Customer #185105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46010   Customer #185108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46011   Customer #185109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46012   Customer #185112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46013   Customer #185114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46014   Customer #185133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46015   Customer #185134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46016   Customer #185135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46017   Customer #185147                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46018   Customer #185157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46019   Customer #185160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46020   Customer #185163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46021   Customer #185174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46022   Customer #185187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46023   Customer #185188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46024   Customer #185190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46025   Customer #185203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46026   Customer #185207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46027   Customer #185210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46028   Customer #185211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46029   Customer #185219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46030   Customer #185224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46031   Customer #185226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46032   Customer #185238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46033   Customer #185254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46034   Customer #185259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46035   Customer #185273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46036   Customer #185274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46037   Customer #185275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46038   Customer #185278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46039   Customer #185280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46040   Customer #185290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46041   Customer #185292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46042   Customer #185293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46043   Customer #185295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46044   Customer #185298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46045   Customer #185300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46046   Customer #185301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46047   Customer #185301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46048   Customer #185302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46049   Customer #185305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46050   Customer #185321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46051   Customer #185322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46052   Customer #185324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46053   Customer #185327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46054   Customer #185328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46055   Customer #185336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46056   Customer #185338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46057   Customer #185342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46058   Customer #185343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46059   Customer #185353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46060   Customer #185357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46061   Customer #185358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46062   Customer #185360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46063   Customer #185362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46064   Customer #185370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46065   Customer #185371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46066   Customer #185385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46067   Customer #185385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46068   Customer #185385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46069   Customer #185399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46070   Customer #185408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46071   Customer #185426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46072   Customer #185429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46073   Customer #185440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46074   Customer #185440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46075   Customer #185442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46076   Customer #185450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46077   Customer #185456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46078   Customer #185457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46079   Customer #185460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46080   Customer #185461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46081   Customer #185489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46082   Customer #185503                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46083   Customer #185503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46084   Customer #185514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46085   Customer #185526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46086   Customer #185529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46087   Customer #185530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46088   Customer #185531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46089   Customer #185538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46090   Customer #185543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46091   Customer #185552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46092   Customer #185553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46093   Customer #185554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46094   Customer #185557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46095   Customer #185562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46096   Customer #185565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46097   Customer #185579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46098   Customer #185594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46099   Customer #185595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46100   Customer #185603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46101   Customer #185605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46102   Customer #185614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46103   Customer #185630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46104   Customer #185633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46105   Customer #185634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46106   Customer #185638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46107   Customer #185641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46108   Customer #185642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46109   Customer #185644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46110   Customer #185645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46111   Customer #185654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46112   Customer #185655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46113   Customer #185658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46114   Customer #185660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46115   Customer #185666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46116   Customer #185667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46117   Customer #185668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46118   Customer #185676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46119   Customer #185718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46120   Customer #185721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46121   Customer #185734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46122   Customer #185736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46123   Customer #185742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46124   Customer #185747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46125   Customer #185748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46126   Customer #185749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46127   Customer #185751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46128   Customer #185753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46129   Customer #185757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46130   Customer #185759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46131   Customer #185772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46132   Customer #185781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46133   Customer #185809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46134   Customer #185810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46135   Customer #185812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46136   Customer #185813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46137   Customer #185814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46138   Customer #185815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46139   Customer #185817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46140   Customer #185826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46141   Customer #185833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46142   Customer #185842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46143   Customer #185844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46144   Customer #185845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46145   Customer #185847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46146   Customer #185852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46147   Customer #185853                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46148   Customer #185854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46149   Customer #185864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46150   Customer #185872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46151   Customer #185873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46152   Customer #185875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46153   Customer #185880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46154   Customer #185883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46155   Customer #185885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46156   Customer #185886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46157   Customer #185887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46158   Customer #185892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46159   Customer #185896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46160   Customer #185903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46161   Customer #185909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46162   Customer #185921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46163   Customer #185931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46164   Customer #185932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46165   Customer #185934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46166   Customer #185938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46167   Customer #185939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46168   Customer #185941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46169   Customer #185944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46170   Customer #185953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46171   Customer #185958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46172   Customer #185960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46173   Customer #185961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46174   Customer #185965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46175   Customer #185969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46176   Customer #185973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46177   Customer #185977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46178   Customer #185979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46179   Customer #185982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46180   Customer #185988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46181   Customer #185989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46182   Customer #185997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46183   Customer #185999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46184   Customer #186006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46185   Customer #186014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46186   Customer #186015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46187   Customer #186027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46188   Customer #186030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46189   Customer #186032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46190   Customer #186035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46191   Customer #186043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46192   Customer #186044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46193   Customer #186046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46194   Customer #186054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46195   Customer #186060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46196   Customer #186061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46197   Customer #186063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46198   Customer #186070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46199   Customer #186085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46200   Customer #186098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46201   Customer #186106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46202   Customer #186108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46203   Customer #186125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46204   Customer #186132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46205   Customer #186134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46206   Customer #186135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46207   Customer #186143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46208   Customer #186147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46209   Customer #186151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46210   Customer #186153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46211   Customer #186157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46212   Customer #186163                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46213   Customer #186165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46214   Customer #186167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46215   Customer #186168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46216   Customer #186176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46217   Customer #186177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46218   Customer #186184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46219   Customer #186187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46220   Customer #186188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46221   Customer #186193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46222   Customer #186204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46223   Customer #186206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46224   Customer #186212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46225   Customer #186214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46226   Customer #186219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46227   Customer #186220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46228   Customer #186227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46229   Customer #186232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46230   Customer #186236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46231   Customer #186238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46232   Customer #186239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46233   Customer #186240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46234   Customer #186255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46235   Customer #186267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46236   Customer #186275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46237   Customer #186276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46238   Customer #186283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46239   Customer #186288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46240   Customer #186290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46241   Customer #186293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46242   Customer #186294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46243   Customer #186296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46244   Customer #186300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46245   Customer #186306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46246   Customer #186315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46247   Customer #186318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46248   Customer #186320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46249   Customer #186323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46250   Customer #186324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46251   Customer #186327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46252   Customer #186331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46253   Customer #186333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46254   Customer #186335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46255   Customer #186336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46256   Customer #186342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46257   Customer #186346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46258   Customer #186347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46259   Customer #186354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46260   Customer #186360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46261   Customer #186361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46262   Customer #186362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46263   Customer #186369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46264   Customer #186375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46265   Customer #186384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46266   Customer #186386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46267   Customer #186391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46268   Customer #186392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46269   Customer #186394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46270   Customer #186399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46271   Customer #186401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46272   Customer #186413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46273   Customer #186415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46274   Customer #186421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46275   Customer #186421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46276   Customer #186426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46277   Customer #186433                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46278   Customer #186436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46279   Customer #186437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46280   Customer #186438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46281   Customer #186444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46282   Customer #186445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46283   Customer #186474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46284   Customer #186478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46285   Customer #186480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46286   Customer #186481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46287   Customer #186483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46288   Customer #186485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46289   Customer #186489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46290   Customer #186492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46291   Customer #186493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46292   Customer #186495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46293   Customer #186504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46294   Customer #186507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46295   Customer #186509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46296   Customer #186513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46297   Customer #186522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46298   Customer #186569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46299   Customer #186571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46300   Customer #186579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46301   Customer #186580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46302   Customer #186584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46303   Customer #186592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46304   Customer #186600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46305   Customer #186606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46306   Customer #186607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46307   Customer #186608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46308   Customer #186610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46309   Customer #186623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46310   Customer #186624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46311   Customer #186628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46312   Customer #186638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46313   Customer #186651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46314   Customer #186654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46315   Customer #186671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46316   Customer #186672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46317   Customer #186685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46318   Customer #186686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46319   Customer #186688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46320   Customer #186720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46321   Customer #186722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46322   Customer #186723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46323   Customer #186729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46324   Customer #186730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46325   Customer #186742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46326   Customer #186746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46327   Customer #186748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46328   Customer #186749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46329   Customer #186750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46330   Customer #186754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46331   Customer #186766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46332   Customer #186773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46333   Customer #186774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46334   Customer #186783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46335   Customer #186784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46336   Customer #186786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46337   Customer #186787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46338   Customer #186790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46339   Customer #186890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46340   Customer #186900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46341   Customer #186905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46342   Customer #186914                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46343   Customer #186915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46344   Customer #186920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46345   Customer #186921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46346   Customer #186945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46347   Customer #186947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46348   Customer #186958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46349   Customer #186963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46350   Customer #186966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46351   Customer #186969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46352   Customer #186972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46353   Customer #186974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46354   Customer #186984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46355   Customer #187003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46356   Customer #187017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46357   Customer #187029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46358   Customer #187032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46359   Customer #187036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46360   Customer #187039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46361   Customer #187044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46362   Customer #187057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46363   Customer #187073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46364   Customer #187079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46365   Customer #187081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46366   Customer #187093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46367   Customer #187097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46368   Customer #187104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46369   Customer #187106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46370   Customer #187111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46371   Customer #187113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46372   Customer #187117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46373   Customer #187120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46374   Customer #187121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46375   Customer #187126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46376   Customer #187127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46377   Customer #187129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46378   Customer #187137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46379   Customer #187142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46380   Customer #187144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46381   Customer #187145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46382   Customer #187147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46383   Customer #187150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46384   Customer #187151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46385   Customer #187153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46386   Customer #187156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46387   Customer #187158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46388   Customer #187162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46389   Customer #187163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46390   Customer #187166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46391   Customer #187171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46392   Customer #187178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46393   Customer #187184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46394   Customer #187198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46395   Customer #187202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46396   Customer #187204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46397   Customer #187205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46398   Customer #187208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46399   Customer #187210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46400   Customer #187222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46401   Customer #187225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46402   Customer #187239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46403   Customer #187240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46404   Customer #187241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46405   Customer #187245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46406   Customer #187247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46407   Customer #187249                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46408   Customer #187250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46409   Customer #187252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46410   Customer #187258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46411   Customer #187259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46412   Customer #187261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46413   Customer #187267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46414   Customer #187269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46415   Customer #187275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46416   Customer #187276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46417   Customer #187279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46418   Customer #187281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46419   Customer #187290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46420   Customer #187307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46421   Customer #187308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46422   Customer #187320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46423   Customer #187324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46424   Customer #187326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46425   Customer #187329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46426   Customer #187336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46427   Customer #187351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46428   Customer #187360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46429   Customer #187364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46430   Customer #187366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46431   Customer #187371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46432   Customer #187373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46433   Customer #187375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46434   Customer #187382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46435   Customer #187399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46436   Customer #187400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46437   Customer #187403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46438   Customer #187437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46439   Customer #187447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46440   Customer #187451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46441   Customer #187456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46442   Customer #187458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46443   Customer #187464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46444   Customer #187466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46445   Customer #187470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46446   Customer #187472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46447   Customer #187475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46448   Customer #187476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46449   Customer #187486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46450   Customer #187487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46451   Customer #187489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46452   Customer #187494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46453   Customer #187496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46454   Customer #187499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46455   Customer #187500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46456   Customer #187504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46457   Customer #187506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46458   Customer #187526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46459   Customer #187528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46460   Customer #187535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46461   Customer #187537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46462   Customer #187539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46463   Customer #187542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46464   Customer #187546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46465   Customer #187549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46466   Customer #187553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46467   Customer #187556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46468   Customer #187561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46469   Customer #187564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46470   Customer #187567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46471   Customer #187569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46472   Customer #187589                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46473   Customer #187590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46474   Customer #187605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46475   Customer #187614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46476   Customer #187619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46477   Customer #187624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46478   Customer #187626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46479   Customer #187638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46480   Customer #187641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46481   Customer #187649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46482   Customer #187651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46483   Customer #187654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46484   Customer #187656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46485   Customer #187661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46486   Customer #187662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46487   Customer #187662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46488   Customer #187667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46489   Customer #187669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46490   Customer #187680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46491   Customer #187687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46492   Customer #187691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46493   Customer #187696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46494   Customer #187705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46495   Customer #187706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46496   Customer #187709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46497   Customer #187710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46498   Customer #187714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46499   Customer #187716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46500   Customer #187717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46501   Customer #187719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46502   Customer #187726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46503   Customer #187727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46504   Customer #187730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46505   Customer #187735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46506   Customer #187736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46507   Customer #187737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46508   Customer #187738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46509   Customer #187743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46510   Customer #187745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46511   Customer #187747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46512   Customer #187748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46513   Customer #187760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46514   Customer #187774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46515   Customer #187783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46516   Customer #187788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46517   Customer #187800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46518   Customer #187810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46519   Customer #187812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46520   Customer #187815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46521   Customer #187823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46522   Customer #187829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46523   Customer #187834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46524   Customer #187835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46525   Customer #187839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46526   Customer #187849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46527   Customer #187856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46528   Customer #187865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46529   Customer #187870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46530   Customer #187871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46531   Customer #188021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46532   Customer #188022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46533   Customer #188030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46534   Customer #188032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46535   Customer #188033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46536   Customer #188034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46537   Customer #188046                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46538   Customer #188047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46539   Customer #188049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46540   Customer #188052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46541   Customer #188057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46542   Customer #188061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46543   Customer #188067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46544   Customer #188071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46545   Customer #188087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46546   Customer #188088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46547   Customer #188090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46548   Customer #188096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46549   Customer #188107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46550   Customer #188116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46551   Customer #188119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46552   Customer #188141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46553   Customer #188146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46554   Customer #188147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46555   Customer #188153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46556   Customer #188154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46557   Customer #188158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46558   Customer #188159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46559   Customer #188161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46560   Customer #188175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46561   Customer #188187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46562   Customer #188192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46563   Customer #188206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46564   Customer #188207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46565   Customer #188209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46566   Customer #188210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46567   Customer #188222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46568   Customer #188228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46569   Customer #188229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46570   Customer #188231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46571   Customer #188232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46572   Customer #188240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46573   Customer #188241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46574   Customer #188243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46575   Customer #188244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46576   Customer #188249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46577   Customer #188250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46578   Customer #188272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46579   Customer #188298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46580   Customer #188300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46581   Customer #188307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46582   Customer #188313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46583   Customer #188314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46584   Customer #188329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46585   Customer #188332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46586   Customer #188333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46587   Customer #188340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46588   Customer #188342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46589   Customer #188343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46590   Customer #188357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46591   Customer #188358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46592   Customer #188362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46593   Customer #188363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46594   Customer #188371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46595   Customer #188375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46596   Customer #188380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46597   Customer #188388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46598   Customer #188396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46599   Customer #188397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46600   Customer #188400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46601   Customer #188404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46602   Customer #188406                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46603   Customer #188413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46604   Customer #188414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46605   Customer #188415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46606   Customer #188417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46607   Customer #188418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46608   Customer #188421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46609   Customer #188427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46610   Customer #188431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46611   Customer #188433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46612   Customer #188437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46613   Customer #188446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46614   Customer #188448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46615   Customer #188449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46616   Customer #188455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46617   Customer #188458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46618   Customer #188460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46619   Customer #188468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46620   Customer #188471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46621   Customer #188483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46622   Customer #188500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46623   Customer #188509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46624   Customer #188510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46625   Customer #188519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46626   Customer #188525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46627   Customer #188527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46628   Customer #188531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46629   Customer #188533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46630   Customer #188548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46631   Customer #188551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46632   Customer #188553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46633   Customer #188557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46634   Customer #188558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46635   Customer #188565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46636   Customer #188566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46637   Customer #188569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46638   Customer #188573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46639   Customer #188584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46640   Customer #188587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46641   Customer #188591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46642   Customer #188602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46643   Customer #188605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46644   Customer #188608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46645   Customer #188610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46646   Customer #188616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46647   Customer #188620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46648   Customer #188622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46649   Customer #188623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46650   Customer #188624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46651   Customer #188631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46652   Customer #188632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46653   Customer #188635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46654   Customer #188636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46655   Customer #188638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46656   Customer #188658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46657   Customer #188680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46658   Customer #188683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46659   Customer #188691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46660   Customer #188692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46661   Customer #188693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46662   Customer #188698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46663   Customer #188701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46664   Customer #188702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46665   Customer #188705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46666   Customer #188707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46667   Customer #188714                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46668   Customer #188718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46669   Customer #188728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46670   Customer #188730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46671   Customer #188737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46672   Customer #188747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46673   Customer #188751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46674   Customer #188753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46675   Customer #188766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46676   Customer #188775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46677   Customer #188778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46678   Customer #188779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46679   Customer #188786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46680   Customer #188802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46681   Customer #188803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46682   Customer #188804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46683   Customer #188806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46684   Customer #188814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46685   Customer #188828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46686   Customer #188829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46687   Customer #188830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46688   Customer #188833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46689   Customer #188834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46690   Customer #188839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46691   Customer #188840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46692   Customer #188842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46693   Customer #188843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46694   Customer #188848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46695   Customer #188853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46696   Customer #188856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46697   Customer #188860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46698   Customer #188872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46699   Customer #188873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46700   Customer #188874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46701   Customer #188875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46702   Customer #188877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46703   Customer #188881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46704   Customer #188886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46705   Customer #188892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46706   Customer #188900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46707   Customer #188906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46708   Customer #188907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46709   Customer #188908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46710   Customer #188920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46711   Customer #188924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46712   Customer #188931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46713   Customer #188934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46714   Customer #188936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46715   Customer #188939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46716   Customer #188940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46717   Customer #188949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46718   Customer #189054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46719   Customer #189056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46720   Customer #189058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46721   Customer #189059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46722   Customer #189068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46723   Customer #189069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46724   Customer #189070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46725   Customer #189071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46726   Customer #189072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46727   Customer #189074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46728   Customer #189076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46729   Customer #189081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46730   Customer #189082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46731   Customer #189091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46732   Customer #189101                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46733   Customer #189102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46734   Customer #189107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46735   Customer #189108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46736   Customer #189116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46737   Customer #189120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46738   Customer #189123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46739   Customer #189128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46740   Customer #189135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46741   Customer #189155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46742   Customer #189161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46743   Customer #189162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46744   Customer #189163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46745   Customer #189168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46746   Customer #189171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46747   Customer #189174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46748   Customer #189179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46749   Customer #189183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46750   Customer #189189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46751   Customer #189193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46752   Customer #189194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46753   Customer #189196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46754   Customer #189197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46755   Customer #189207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46756   Customer #189218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46757   Customer #189220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46758   Customer #189225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46759   Customer #189236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46760   Customer #189237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46761   Customer #189246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46762   Customer #189248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46763   Customer #189257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46764   Customer #189258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46765   Customer #189263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46766   Customer #189264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46767   Customer #189265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46768   Customer #189267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46769   Customer #189279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46770   Customer #189290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46771   Customer #189291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46772   Customer #189292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46773   Customer #189293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46774   Customer #189294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46775   Customer #189295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46776   Customer #189303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46777   Customer #189334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46778   Customer #189338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46779   Customer #189350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46780   Customer #189357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46781   Customer #189358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46782   Customer #189368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46783   Customer #189375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46784   Customer #189405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46785   Customer #189409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46786   Customer #189410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46787   Customer #189411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46788   Customer #189421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46789   Customer #189433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46790   Customer #189434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46791   Customer #189439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46792   Customer #189449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46793   Customer #189450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46794   Customer #189460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46795   Customer #189464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46796   Customer #189468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46797   Customer #189470                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46798   Customer #189472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46799   Customer #189473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46800   Customer #189473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46801   Customer #189477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46802   Customer #189478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46803   Customer #189479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46804   Customer #189480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46805   Customer #189481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46806   Customer #189486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46807   Customer #189487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46808   Customer #189488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46809   Customer #189490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46810   Customer #189508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46811   Customer #189514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46812   Customer #189515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46813   Customer #189518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46814   Customer #189525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46815   Customer #189534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46816   Customer #189540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46817   Customer #189541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46818   Customer #189546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46819   Customer #189550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46820   Customer #189551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46821   Customer #189554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46822   Customer #189555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46823   Customer #189556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46824   Customer #189558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46825   Customer #189565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46826   Customer #189580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46827   Customer #189582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46828   Customer #189588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46829   Customer #189590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46830   Customer #189597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46831   Customer #189598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46832   Customer #189610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46833   Customer #189615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46834   Customer #189622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46835   Customer #189631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46836   Customer #189635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46837   Customer #189638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46838   Customer #189645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46839   Customer #189653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46840   Customer #189654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46841   Customer #189655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46842   Customer #189658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46843   Customer #189660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46844   Customer #189661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46845   Customer #189665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46846   Customer #189666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46847   Customer #189671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46848   Customer #189672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46849   Customer #189674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46850   Customer #189680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46851   Customer #189681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46852   Customer #189685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46853   Customer #189687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46854   Customer #189688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46855   Customer #189689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46856   Customer #189689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46857   Customer #189695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46858   Customer #189698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46859   Customer #189699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46860   Customer #189703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46861   Customer #189707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46862   Customer #189709                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46863   Customer #189710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46864   Customer #189712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46865   Customer #189714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46866   Customer #189716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46867   Customer #189727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46868   Customer #189728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46869   Customer #189729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46870   Customer #189730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46871   Customer #189736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46872   Customer #189743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46873   Customer #189744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46874   Customer #189747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46875   Customer #189749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46876   Customer #189773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46877   Customer #189775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46878   Customer #189779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46879   Customer #189781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46880   Customer #189786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46881   Customer #189790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46882   Customer #189803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46883   Customer #189812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46884   Customer #189822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46885   Customer #189826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46886   Customer #189833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46887   Customer #189834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46888   Customer #189848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46889   Customer #189856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46890   Customer #189858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46891   Customer #189860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46892   Customer #189865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46893   Customer #189867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46894   Customer #189868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46895   Customer #189873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46896   Customer #189892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46897   Customer #189897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46898   Customer #189915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46899   Customer #189916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46900   Customer #189919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46901   Customer #189923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46902   Customer #189925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46903   Customer #189928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46904   Customer #189929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46905   Customer #189930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46906   Customer #189932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46907   Customer #189935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46908   Customer #189940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46909   Customer #189943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46910   Customer #189945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46911   Customer #189948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46912   Customer #189962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46913   Customer #189964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46914   Customer #189968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46915   Customer #189971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46916   Customer #189978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46917   Customer #189981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46918   Customer #189987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46919   Customer #190000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46920   Customer #190009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46921   Customer #190015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46922   Customer #190019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46923   Customer #190020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46924   Customer #190026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46925   Customer #190031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46926   Customer #190036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46927   Customer #190038                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46928   Customer #190039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46929   Customer #190041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46930   Customer #190043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46931   Customer #190044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46932   Customer #190049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46933   Customer #190053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46934   Customer #190056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46935   Customer #190057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46936   Customer #190062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46937   Customer #190064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46938   Customer #190070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46939   Customer #190074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46940   Customer #190081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46941   Customer #190087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46942   Customer #190089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46943   Customer #190095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46944   Customer #190097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46945   Customer #190099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46946   Customer #190104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46947   Customer #190115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46948   Customer #190121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46949   Customer #190123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46950   Customer #190133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46951   Customer #190139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46952   Customer #190142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46953   Customer #190143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46954   Customer #190148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46955   Customer #190153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46956   Customer #190157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46957   Customer #190159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46958   Customer #190160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46959   Customer #190163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46960   Customer #190164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46961   Customer #190184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46962   Customer #190207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46963   Customer #190217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46964   Customer #190219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46965   Customer #190225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46966   Customer #190226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46967   Customer #190230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46968   Customer #190230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46969   Customer #190232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46970   Customer #190234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46971   Customer #190235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46972   Customer #190236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46973   Customer #190237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46974   Customer #190241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46975   Customer #190242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46976   Customer #190243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46977   Customer #190248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46978   Customer #190250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46979   Customer #190251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46980   Customer #190252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46981   Customer #190256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46982   Customer #190266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46983   Customer #190274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46984   Customer #190275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46985   Customer #190277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46986   Customer #190278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46987   Customer #190284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46988   Customer #190285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46989   Customer #190289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46990   Customer #190294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46991   Customer #190295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46992   Customer #190307                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.46993   Customer #190308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46994   Customer #190313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46995   Customer #190324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46996   Customer #190325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46997   Customer #190327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46998   Customer #190346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.46999   Customer #190356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47000   Customer #190370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47001   Customer #190371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47002   Customer #190382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47003   Customer #190383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47004   Customer #190384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47005   Customer #190391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47006   Customer #190392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47007   Customer #190395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47008   Customer #190415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47009   Customer #190420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47010   Customer #190434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47011   Customer #190439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47012   Customer #190442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47013   Customer #190454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47014   Customer #190457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47015   Customer #190468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47016   Customer #190488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47017   Customer #190491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47018   Customer #190492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47019   Customer #190494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47020   Customer #190501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47021   Customer #190505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47022   Customer #190508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47023   Customer #190512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47024   Customer #190518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47025   Customer #190524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47026   Customer #190525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47027   Customer #190527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47028   Customer #190529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47029   Customer #190534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47030   Customer #190538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47031   Customer #190553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47032   Customer #190558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47033   Customer #190559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47034   Customer #190568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47035   Customer #190572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47036   Customer #190574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47037   Customer #190580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47038   Customer #190586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47039   Customer #190595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47040   Customer #190596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47041   Customer #190603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47042   Customer #190609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47043   Customer #190610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47044   Customer #190612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47045   Customer #190616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47046   Customer #190618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47047   Customer #190633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47048   Customer #190635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47049   Customer #190638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47050   Customer #190642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47051   Customer #190648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47052   Customer #190654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47053   Customer #190659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47054   Customer #190667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47055   Customer #190675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47056   Customer #190676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47057   Customer #190678                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47058   Customer #190680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47059   Customer #190682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47060   Customer #190686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47061   Customer #190690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47062   Customer #190694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47063   Customer #190698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47064   Customer #190703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47065   Customer #190706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47066   Customer #190710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47067   Customer #190713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47068   Customer #190716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47069   Customer #190718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47070   Customer #190736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47071   Customer #190741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47072   Customer #190742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47073   Customer #190745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47074   Customer #190759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47075   Customer #190761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47076   Customer #190763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47077   Customer #190764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47078   Customer #190766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47079   Customer #190769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47080   Customer #190771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47081   Customer #190773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47082   Customer #190774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47083   Customer #190780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47084   Customer #190785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47085   Customer #190786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47086   Customer #190790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47087   Customer #190792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47088   Customer #190794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47089   Customer #190798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47090   Customer #190806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47091   Customer #190807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47092   Customer #190808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47093   Customer #190809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47094   Customer #190814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47095   Customer #190815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47096   Customer #190822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47097   Customer #190828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47098   Customer #190849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47099   Customer #190852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47100   Customer #190855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47101   Customer #190860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47102   Customer #190878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47103   Customer #190879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47104   Customer #190880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47105   Customer #190890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47106   Customer #190895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47107   Customer #190896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47108   Customer #190901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47109   Customer #190902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47110   Customer #190903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47111   Customer #190913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47112   Customer #190920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47113   Customer #190925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47114   Customer #190929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47115   Customer #190931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47116   Customer #190939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47117   Customer #190940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47118   Customer #190945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47119   Customer #190947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47120   Customer #190948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47121   Customer #190950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47122   Customer #190954                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47123   Customer #190957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47124   Customer #190965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47125   Customer #190973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47126   Customer #190974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47127   Customer #190996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47128   Customer #191012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47129   Customer #191013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47130   Customer #191014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47131   Customer #191015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47132   Customer #191019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47133   Customer #191034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47134   Customer #191035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47135   Customer #191037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47136   Customer #191039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47137   Customer #191044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47138   Customer #191046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47139   Customer #191049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47140   Customer #191054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47141   Customer #191060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47142   Customer #191062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47143   Customer #191070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47144   Customer #191086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47145   Customer #191092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47146   Customer #191098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47147   Customer #191101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47148   Customer #191102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47149   Customer #191104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47150   Customer #191106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47151   Customer #191107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47152   Customer #191112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47153   Customer #191120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47154   Customer #191128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47155   Customer #191129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47156   Customer #191138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47157   Customer #191145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47158   Customer #191150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47159   Customer #191153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47160   Customer #191154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47161   Customer #191155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47162   Customer #191158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47163   Customer #191159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47164   Customer #191175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47165   Customer #191177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47166   Customer #191180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47167   Customer #191200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47168   Customer #191210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47169   Customer #191221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47170   Customer #191222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47171   Customer #191230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47172   Customer #191233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47173   Customer #191236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47174   Customer #191237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47175   Customer #191242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47176   Customer #191245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47177   Customer #191246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47178   Customer #191249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47179   Customer #191251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47180   Customer #191252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47181   Customer #191253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47182   Customer #191254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47183   Customer #191260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47184   Customer #191262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47185   Customer #191263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47186   Customer #191268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47187   Customer #191270                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47188   Customer #191270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47189   Customer #191277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47190   Customer #191278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47191   Customer #191291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47192   Customer #191295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47193   Customer #191296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47194   Customer #191297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47195   Customer #191310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47196   Customer #191317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47197   Customer #191318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47198   Customer #191324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47199   Customer #191328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47200   Customer #191333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47201   Customer #191334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47202   Customer #191348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47203   Customer #191351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47204   Customer #191361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47205   Customer #191366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47206   Customer #191379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47207   Customer #191384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47208   Customer #191390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47209   Customer #191399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47210   Customer #191401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47211   Customer #191403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47212   Customer #191406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47213   Customer #191411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47214   Customer #191412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47215   Customer #191416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47216   Customer #191416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47217   Customer #191417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47218   Customer #191419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47219   Customer #191436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47220   Customer #191442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47221   Customer #191448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47222   Customer #191450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47223   Customer #191453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47224   Customer #191465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47225   Customer #191466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47226   Customer #191468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47227   Customer #191471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47228   Customer #191472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47229   Customer #191485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47230   Customer #191488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47231   Customer #191489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47232   Customer #191491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47233   Customer #191493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47234   Customer #191498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47235   Customer #191499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47236   Customer #191501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47237   Customer #191512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47238   Customer #191516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47239   Customer #191520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47240   Customer #191524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47241   Customer #191529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47242   Customer #191535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47243   Customer #191536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47244   Customer #191537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47245   Customer #191538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47246   Customer #191539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47247   Customer #191546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47248   Customer #191547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47249   Customer #191551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47250   Customer #191554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47251   Customer #191554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47252   Customer #191555                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47253   Customer #191557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47254   Customer #191558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47255   Customer #191563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47256   Customer #191565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47257   Customer #191571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47258   Customer #191582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47259   Customer #191583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47260   Customer #191589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47261   Customer #191597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47262   Customer #191598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47263   Customer #191599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47264   Customer #191600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47265   Customer #191601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47266   Customer #191604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47267   Customer #191630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47268   Customer #191634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47269   Customer #191635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47270   Customer #191643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47271   Customer #191645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47272   Customer #191646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47273   Customer #191647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47274   Customer #191648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47275   Customer #191652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47276   Customer #191658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47277   Customer #191661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47278   Customer #191662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47279   Customer #191663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47280   Customer #191673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47281   Customer #191689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47282   Customer #191690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47283   Customer #191693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47284   Customer #191704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47285   Customer #191705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47286   Customer #191706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47287   Customer #191707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47288   Customer #191708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47289   Customer #191725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47290   Customer #191731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47291   Customer #191750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47292   Customer #191751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47293   Customer #191758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47294   Customer #191761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47295   Customer #191763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47296   Customer #191765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47297   Customer #191766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47298   Customer #191770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47299   Customer #191776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47300   Customer #191777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47301   Customer #191778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47302   Customer #191779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47303   Customer #191780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47304   Customer #191782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47305   Customer #191784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47306   Customer #191785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47307   Customer #191803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47308   Customer #191805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47309   Customer #191810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47310   Customer #191815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47311   Customer #191816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47312   Customer #191816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47313   Customer #191819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47314   Customer #191833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47315   Customer #191835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47316   Customer #191836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47317   Customer #191846                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47318   Customer #191858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47319   Customer #191861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47320   Customer #191862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47321   Customer #191868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47322   Customer #191874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47323   Customer #191875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47324   Customer #191880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47325   Customer #191893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47326   Customer #191899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47327   Customer #191905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47328   Customer #191906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47329   Customer #191908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47330   Customer #191909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47331   Customer #191910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47332   Customer #191912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47333   Customer #191913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47334   Customer #191916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47335   Customer #191917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47336   Customer #191921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47337   Customer #191923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47338   Customer #191924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47339   Customer #191925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47340   Customer #191926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47341   Customer #191929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47342   Customer #191930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47343   Customer #191934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47344   Customer #191936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47345   Customer #191944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47346   Customer #191948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47347   Customer #191953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47348   Customer #191954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47349   Customer #191955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47350   Customer #191956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47351   Customer #191958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47352   Customer #191964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47353   Customer #191965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47354   Customer #191968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47355   Customer #191971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47356   Customer #191977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47357   Customer #191983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47358   Customer #191984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47359   Customer #191985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47360   Customer #191989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47361   Customer #191993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47362   Customer #191994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47363   Customer #191997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47364   Customer #191999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47365   Customer #192000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47366   Customer #192001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47367   Customer #192037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47368   Customer #192039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47369   Customer #192041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47370   Customer #192042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47371   Customer #192043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47372   Customer #192044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47373   Customer #192044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47374   Customer #192056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47375   Customer #192063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47376   Customer #192064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47377   Customer #192065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47378   Customer #192067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47379   Customer #192072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47380   Customer #192090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47381   Customer #192091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47382   Customer #192094                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47383   Customer #192095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47384   Customer #192098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47385   Customer #192103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47386   Customer #192114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47387   Customer #192116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47388   Customer #192120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47389   Customer #192122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47390   Customer #192123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47391   Customer #192124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47392   Customer #192125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47393   Customer #192130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47394   Customer #192135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47395   Customer #192136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47396   Customer #192138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47397   Customer #192141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47398   Customer #192142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47399   Customer #192148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47400   Customer #192148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47401   Customer #192149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47402   Customer #192153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47403   Customer #192158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47404   Customer #192159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47405   Customer #192167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47406   Customer #192169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47407   Customer #192183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47408   Customer #192189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47409   Customer #192190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47410   Customer #192195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47411   Customer #192197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47412   Customer #192198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47413   Customer #192202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47414   Customer #192205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47415   Customer #192208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47416   Customer #192215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47417   Customer #192221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47418   Customer #192224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47419   Customer #192227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47420   Customer #192230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47421   Customer #192234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47422   Customer #192235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47423   Customer #192236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47424   Customer #192237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47425   Customer #192242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47426   Customer #192245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47427   Customer #192246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47428   Customer #192251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47429   Customer #192255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47430   Customer #192258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47431   Customer #192259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47432   Customer #192260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47433   Customer #192265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47434   Customer #192273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47435   Customer #192275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47436   Customer #192277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47437   Customer #192280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47438   Customer #192281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47439   Customer #192295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47440   Customer #192297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47441   Customer #192299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47442   Customer #192304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47443   Customer #192309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47444   Customer #192310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47445   Customer #192322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47446   Customer #192323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47447   Customer #192326                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47448   Customer #192327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47449   Customer #192328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47450   Customer #192328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47451   Customer #192329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47452   Customer #192330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47453   Customer #192343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47454   Customer #192347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47455   Customer #192348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47456   Customer #192351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47457   Customer #192354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47458   Customer #192356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47459   Customer #192357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47460   Customer #192358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47461   Customer #192359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47462   Customer #192360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47463   Customer #192361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47464   Customer #192362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47465   Customer #192364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47466   Customer #192369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47467   Customer #192370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47468   Customer #192377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47469   Customer #192378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47470   Customer #192380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47471   Customer #192382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47472   Customer #192383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47473   Customer #192384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47474   Customer #192397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47475   Customer #192398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47476   Customer #192406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47477   Customer #192414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47478   Customer #192415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47479   Customer #192419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47480   Customer #192420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47481   Customer #192422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47482   Customer #192423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47483   Customer #192425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47484   Customer #192430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47485   Customer #192432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47486   Customer #192436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47487   Customer #192437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47488   Customer #192443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47489   Customer #192448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47490   Customer #192449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47491   Customer #192451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47492   Customer #192468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47493   Customer #192474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47494   Customer #192475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47495   Customer #192478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47496   Customer #192482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47497   Customer #192483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47498   Customer #192489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47499   Customer #192494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47500   Customer #192502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47501   Customer #192504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47502   Customer #192506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47503   Customer #192509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47504   Customer #192512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47505   Customer #192532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47506   Customer #192534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47507   Customer #192546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47508   Customer #192548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47509   Customer #192549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47510   Customer #192560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47511   Customer #192565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47512   Customer #192566                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47513   Customer #192567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47514   Customer #192568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47515   Customer #192570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47516   Customer #192576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47517   Customer #192582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47518   Customer #192585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47519   Customer #192590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47520   Customer #192596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47521   Customer #192599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47522   Customer #192601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47523   Customer #192605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47524   Customer #192608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47525   Customer #192609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47526   Customer #192612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47527   Customer #192614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47528   Customer #192618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47529   Customer #192619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47530   Customer #192620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47531   Customer #192622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47532   Customer #192625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47533   Customer #192628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47534   Customer #192630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47535   Customer #192631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47536   Customer #192634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47537   Customer #192635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47538   Customer #192638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47539   Customer #192639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47540   Customer #192639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47541   Customer #192641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47542   Customer #192642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47543   Customer #192653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47544   Customer #192655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47545   Customer #192661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47546   Customer #192668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47547   Customer #192669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47548   Customer #192671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47549   Customer #192673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47550   Customer #192676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47551   Customer #192677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47552   Customer #192678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47553   Customer #192681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47554   Customer #192685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47555   Customer #192692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47556   Customer #192743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47557   Customer #192745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47558   Customer #192747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47559   Customer #192749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47560   Customer #192760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47561   Customer #192765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47562   Customer #192766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47563   Customer #192774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47564   Customer #192778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47565   Customer #192779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47566   Customer #192781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47567   Customer #192782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47568   Customer #192783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47569   Customer #192784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47570   Customer #192797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47571   Customer #192801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47572   Customer #192813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47573   Customer #192814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47574   Customer #192818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47575   Customer #192832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47576   Customer #192834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47577   Customer #192835                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47578   Customer #192836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47579   Customer #192837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47580   Customer #192838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47581   Customer #192839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47582   Customer #192841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47583   Customer #192845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47584   Customer #192847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47585   Customer #192848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47586   Customer #192851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47587   Customer #192852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47588   Customer #192853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47589   Customer #192854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47590   Customer #192855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47591   Customer #192861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47592   Customer #192862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47593   Customer #192865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47594   Customer #192866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47595   Customer #192869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47596   Customer #192871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47597   Customer #192874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47598   Customer #192876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47599   Customer #192877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47600   Customer #192878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47601   Customer #192879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47602   Customer #192880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47603   Customer #192882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47604   Customer #192883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47605   Customer #192886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47606   Customer #192888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47607   Customer #192895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47608   Customer #192898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47609   Customer #192907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47610   Customer #192910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47611   Customer #192913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47612   Customer #192915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47613   Customer #192921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47614   Customer #192923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47615   Customer #192926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47616   Customer #192928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47617   Customer #192931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47618   Customer #192932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47619   Customer #192933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47620   Customer #192934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47621   Customer #192935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47622   Customer #192938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47623   Customer #192941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47624   Customer #192943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47625   Customer #192944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47626   Customer #192947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47627   Customer #192956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47628   Customer #192958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47629   Customer #192959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47630   Customer #192962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47631   Customer #192964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47632   Customer #192965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47633   Customer #192970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47634   Customer #192974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47635   Customer #192975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47636   Customer #192976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47637   Customer #192978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47638   Customer #192981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47639   Customer #192984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47640   Customer #192988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47641   Customer #192993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47642   Customer #193003                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47643   Customer #193004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47644   Customer #193011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47645   Customer #193015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47646   Customer #193021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47647   Customer #193036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47648   Customer #193038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47649   Customer #193042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47650   Customer #193045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47651   Customer #193051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47652   Customer #193052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47653   Customer #193054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47654   Customer #193058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47655   Customer #193061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47656   Customer #193066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47657   Customer #193069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47658   Customer #193073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47659   Customer #193087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47660   Customer #193088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47661   Customer #193093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47662   Customer #193094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47663   Customer #193095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47664   Customer #193096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47665   Customer #193097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47666   Customer #193106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47667   Customer #193107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47668   Customer #193110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47669   Customer #193111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47670   Customer #193112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47671   Customer #193113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47672   Customer #193114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47673   Customer #193119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47674   Customer #193121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47675   Customer #193122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47676   Customer #193124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47677   Customer #193125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47678   Customer #193127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47679   Customer #193128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47680   Customer #193131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47681   Customer #193142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47682   Customer #193143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47683   Customer #193159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47684   Customer #193166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47685   Customer #193170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47686   Customer #193171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47687   Customer #193172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47688   Customer #193173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47689   Customer #193176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47690   Customer #193177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47691   Customer #193180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47692   Customer #193182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47693   Customer #193183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47694   Customer #193186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47695   Customer #193189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47696   Customer #193190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47697   Customer #193191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47698   Customer #193191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47699   Customer #193192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47700   Customer #193194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47701   Customer #193195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47702   Customer #193208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47703   Customer #193214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47704   Customer #193233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47705   Customer #193235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47706   Customer #193243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47707   Customer #193247                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47708   Customer #193248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47709   Customer #193253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47710   Customer #193254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47711   Customer #193255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47712   Customer #193256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47713   Customer #193257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47714   Customer #193266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47715   Customer #193268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47716   Customer #193269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47717   Customer #193273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47718   Customer #193275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47719   Customer #193276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47720   Customer #193277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47721   Customer #193278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47722   Customer #193280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47723   Customer #193292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47724   Customer #193294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47725   Customer #193296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47726   Customer #193297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47727   Customer #193298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47728   Customer #193299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47729   Customer #193303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47730   Customer #193304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47731   Customer #193306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47732   Customer #193310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47733   Customer #193317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47734   Customer #193332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47735   Customer #193332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47736   Customer #193336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47737   Customer #193342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47738   Customer #193343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47739   Customer #193358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47740   Customer #193359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47741   Customer #193361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47742   Customer #193367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47743   Customer #193382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47744   Customer #193389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47745   Customer #193391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47746   Customer #193392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47747   Customer #193394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47748   Customer #193395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47749   Customer #193396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47750   Customer #193398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47751   Customer #193399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47752   Customer #193406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47753   Customer #193408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47754   Customer #193410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47755   Customer #193419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47756   Customer #193440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47757   Customer #193443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47758   Customer #193444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47759   Customer #193446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47760   Customer #193450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47761   Customer #193456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47762   Customer #193460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47763   Customer #193466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47764   Customer #193469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47765   Customer #193484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47766   Customer #193489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47767   Customer #193491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47768   Customer #193501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47769   Customer #193502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47770   Customer #193503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47771   Customer #193503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47772   Customer #193506                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47773   Customer #193507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47774   Customer #193511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47775   Customer #193513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47776   Customer #193518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47777   Customer #193527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47778   Customer #193529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47779   Customer #193537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47780   Customer #193541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47781   Customer #193542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47782   Customer #193555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47783   Customer #193557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47784   Customer #193557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47785   Customer #193558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47786   Customer #193573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47787   Customer #193580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47788   Customer #193582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47789   Customer #193584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47790   Customer #193588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47791   Customer #193599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47792   Customer #193601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47793   Customer #193611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47794   Customer #193612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47795   Customer #193614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47796   Customer #193619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47797   Customer #193622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47798   Customer #193624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47799   Customer #193631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47800   Customer #193641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47801   Customer #193644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47802   Customer #193645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47803   Customer #193677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47804   Customer #193679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47805   Customer #193694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47806   Customer #193703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47807   Customer #193708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47808   Customer #193717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47809   Customer #193722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47810   Customer #193723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47811   Customer #193724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47812   Customer #193731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47813   Customer #193736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47814   Customer #193737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47815   Customer #193759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47816   Customer #193771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47817   Customer #193775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47818   Customer #193778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47819   Customer #193779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47820   Customer #193780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47821   Customer #193785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47822   Customer #193791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47823   Customer #193795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47824   Customer #193804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47825   Customer #193807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47826   Customer #193819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47827   Customer #193827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47828   Customer #193828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47829   Customer #193835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47830   Customer #193837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47831   Customer #193839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47832   Customer #193840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47833   Customer #193853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47834   Customer #193854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47835   Customer #193856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47836   Customer #193857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47837   Customer #193859                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47838   Customer #193861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47839   Customer #193874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47840   Customer #193875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47841   Customer #193876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47842   Customer #193900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47843   Customer #193904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47844   Customer #193917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47845   Customer #193921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47846   Customer #193922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47847   Customer #193924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47848   Customer #193929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47849   Customer #193940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47850   Customer #193942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47851   Customer #193948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47852   Customer #193952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47853   Customer #193954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47854   Customer #193958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47855   Customer #193965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47856   Customer #193968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47857   Customer #193975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47858   Customer #193981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47859   Customer #193988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47860   Customer #194006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47861   Customer #194008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47862   Customer #194012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47863   Customer #194013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47864   Customer #194016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47865   Customer #194023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47866   Customer #194039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47867   Customer #194052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47868   Customer #194053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47869   Customer #194054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47870   Customer #194057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47871   Customer #194067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47872   Customer #194075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47873   Customer #194077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47874   Customer #194083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47875   Customer #194091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47876   Customer #194093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47877   Customer #194109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47878   Customer #194111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47879   Customer #194112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47880   Customer #194121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47881   Customer #194122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47882   Customer #194126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47883   Customer #194127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47884   Customer #194129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47885   Customer #194131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47886   Customer #194136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47887   Customer #194137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47888   Customer #194142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47889   Customer #194145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47890   Customer #194147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47891   Customer #194152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47892   Customer #194156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47893   Customer #194162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47894   Customer #194163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47895   Customer #194165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47896   Customer #194167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47897   Customer #194171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47898   Customer #194173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47899   Customer #194174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47900   Customer #194176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47901   Customer #194193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47902   Customer #194204                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47903   Customer #194205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47904   Customer #194214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47905   Customer #194220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47906   Customer #194221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47907   Customer #194227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47908   Customer #194229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47909   Customer #194239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47910   Customer #194240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47911   Customer #194242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47912   Customer #194257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47913   Customer #194261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47914   Customer #194290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47915   Customer #194294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47916   Customer #194303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47917   Customer #194308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47918   Customer #194315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47919   Customer #194317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47920   Customer #194323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47921   Customer #194325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47922   Customer #194330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47923   Customer #194335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47924   Customer #194350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47925   Customer #194380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47926   Customer #194382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47927   Customer #194386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47928   Customer #194388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47929   Customer #194393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47930   Customer #194402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47931   Customer #194403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47932   Customer #194405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47933   Customer #194406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47934   Customer #194407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47935   Customer #194412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47936   Customer #194413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47937   Customer #194415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47938   Customer #194417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47939   Customer #194419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47940   Customer #194427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47941   Customer #194428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47942   Customer #194440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47943   Customer #194442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47944   Customer #194456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47945   Customer #194461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47946   Customer #194463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47947   Customer #194470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47948   Customer #194477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47949   Customer #194481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47950   Customer #194482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47951   Customer #194487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47952   Customer #194498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47953   Customer #194499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47954   Customer #194501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47955   Customer #194502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47956   Customer #194504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47957   Customer #194514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47958   Customer #194518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47959   Customer #194528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47960   Customer #194543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47961   Customer #194551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47962   Customer #194560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47963   Customer #194565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47964   Customer #194569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47965   Customer #194572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47966   Customer #194612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47967   Customer #194614                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.47968   Customer #194615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47969   Customer #194620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47970   Customer #194629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47971   Customer #194632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47972   Customer #194636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47973   Customer #194638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47974   Customer #194642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47975   Customer #194643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47976   Customer #194644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47977   Customer #194651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47978   Customer #194652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47979   Customer #194653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47980   Customer #194655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47981   Customer #194657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47982   Customer #194658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47983   Customer #194667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47984   Customer #194673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47985   Customer #194674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47986   Customer #194675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47987   Customer #194675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47988   Customer #194676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47989   Customer #194677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47990   Customer #194689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47991   Customer #194701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47992   Customer #194710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47993   Customer #194719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47994   Customer #194720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47995   Customer #194725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47996   Customer #194726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47997   Customer #194729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47998   Customer #194731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.47999   Customer #194734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48000   Customer #194735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48001   Customer #194739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48002   Customer #194740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48003   Customer #194744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48004   Customer #194747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48005   Customer #194750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48006   Customer #194751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48007   Customer #194753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48008   Customer #194767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48009   Customer #194768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48010   Customer #194778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48011   Customer #194781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48012   Customer #194782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48013   Customer #194797                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48014   Customer #194801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48015   Customer #194806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48016   Customer #194808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48017   Customer #194811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48018   Customer #194819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48019   Customer #194820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48020   Customer #194821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48021   Customer #194835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48022   Customer #194838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48023   Customer #194849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48024   Customer #194851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48025   Customer #194854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48026   Customer #194861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48027   Customer #194862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48028   Customer #194865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48029   Customer #194869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48030   Customer #194873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48031   Customer #194886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48032   Customer #194888                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48033   Customer #194889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48034   Customer #194894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48035   Customer #194897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48036   Customer #194908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48037   Customer #194913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48038   Customer #194930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48039   Customer #194937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48040   Customer #194944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48041   Customer #194958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48042   Customer #194975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48043   Customer #194980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48044   Customer #194989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48045   Customer #194992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48046   Customer #194995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48047   Customer #195003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48048   Customer #195007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48049   Customer #195011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48050   Customer #195012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48051   Customer #195037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48052   Customer #195051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48053   Customer #195057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48054   Customer #195062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48055   Customer #195063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48056   Customer #195070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48057   Customer #195077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48058   Customer #195083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48059   Customer #195084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48060   Customer #195089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48061   Customer #195091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48062   Customer #195093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48063   Customer #195094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48064   Customer #195096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48065   Customer #195097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48066   Customer #195104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48067   Customer #195109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48068   Customer #195116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48069   Customer #195118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48070   Customer #195120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48071   Customer #195125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48072   Customer #195128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48073   Customer #195130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48074   Customer #195131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48075   Customer #195139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48076   Customer #195145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48077   Customer #195151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48078   Customer #195158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48079   Customer #195159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48080   Customer #195166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48081   Customer #195168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48082   Customer #195176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48083   Customer #195183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48084   Customer #195185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48085   Customer #195187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48086   Customer #195205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48087   Customer #195207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48088   Customer #195211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48089   Customer #195212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48090   Customer #195217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48091   Customer #195218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48092   Customer #195221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48093   Customer #195231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48094   Customer #195233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48095   Customer #195234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48096   Customer #195238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48097   Customer #195240                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48098   Customer #195243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48099   Customer #195264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48100   Customer #195270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48101   Customer #195272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48102   Customer #195276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48103   Customer #195283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48104   Customer #195300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48105   Customer #195301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48106   Customer #195305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48107   Customer #195313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48108   Customer #195318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48109   Customer #195330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48110   Customer #195335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48111   Customer #195338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48112   Customer #195339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48113   Customer #195341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48114   Customer #195343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48115   Customer #195343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48116   Customer #195346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48117   Customer #195349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48118   Customer #195355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48119   Customer #195358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48120   Customer #195359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48121   Customer #195361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48122   Customer #195368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48123   Customer #195374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48124   Customer #195377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48125   Customer #195380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48126   Customer #195392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48127   Customer #195397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48128   Customer #195407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48129   Customer #195408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48130   Customer #195412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48131   Customer #195417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48132   Customer #195418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48133   Customer #195428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48134   Customer #195437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48135   Customer #195441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48136   Customer #195441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48137   Customer #195442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48138   Customer #195444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48139   Customer #195446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48140   Customer #195450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48141   Customer #195453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48142   Customer #195455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48143   Customer #195456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48144   Customer #195471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48145   Customer #195478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48146   Customer #195482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48147   Customer #195483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48148   Customer #195484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48149   Customer #195500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48150   Customer #195515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48151   Customer #195529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48152   Customer #195547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48153   Customer #195551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48154   Customer #195554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48155   Customer #195555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48156   Customer #195558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48157   Customer #195562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48158   Customer #195563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48159   Customer #195565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48160   Customer #195566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48161   Customer #195571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48162   Customer #195572                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48163   Customer #195576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48164   Customer #195579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48165   Customer #195582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48166   Customer #195583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48167   Customer #195589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48168   Customer #195591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48169   Customer #195597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48170   Customer #195600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48171   Customer #195605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48172   Customer #195606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48173   Customer #195608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48174   Customer #195609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48175   Customer #195644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48176   Customer #195647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48177   Customer #195648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48178   Customer #195663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48179   Customer #195669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48180   Customer #195673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48181   Customer #195675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48182   Customer #195681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48183   Customer #195696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48184   Customer #195700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48185   Customer #195701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48186   Customer #195702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48187   Customer #195705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48188   Customer #195715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48189   Customer #195721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48190   Customer #195722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48191   Customer #195727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48192   Customer #195733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48193   Customer #195754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48194   Customer #195761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48195   Customer #195767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48196   Customer #195772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48197   Customer #195783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48198   Customer #195785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48199   Customer #195787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48200   Customer #195791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48201   Customer #195801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48202   Customer #195803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48203   Customer #195821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48204   Customer #195827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48205   Customer #195831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48206   Customer #195844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48207   Customer #195847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48208   Customer #195848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48209   Customer #195850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48210   Customer #195851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48211   Customer #195852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48212   Customer #195855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48213   Customer #195863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48214   Customer #195869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48215   Customer #195871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48216   Customer #195873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48217   Customer #195874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48218   Customer #195876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48219   Customer #195877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48220   Customer #195909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48221   Customer #195915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48222   Customer #195919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48223   Customer #195921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48224   Customer #195925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48225   Customer #195929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48226   Customer #195930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48227   Customer #195941                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48228   Customer #195942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48229   Customer #195947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48230   Customer #195958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48231   Customer #195964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48232   Customer #195971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48233   Customer #195975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48234   Customer #195984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48235   Customer #195986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48236   Customer #195991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48237   Customer #195992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48238   Customer #196010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48239   Customer #196011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48240   Customer #196016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48241   Customer #196020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48242   Customer #196021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48243   Customer #196028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48244   Customer #196031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48245   Customer #196034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48246   Customer #196035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48247   Customer #196061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48248   Customer #196068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48249   Customer #196069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48250   Customer #196071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48251   Customer #196085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48252   Customer #196092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48253   Customer #196104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48254   Customer #196109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48255   Customer #196133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48256   Customer #196147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48257   Customer #196156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48258   Customer #196171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48259   Customer #196190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48260   Customer #196196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48261   Customer #196197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48262   Customer #196198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48263   Customer #196262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48264   Customer #196270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48265   Customer #196271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48266   Customer #196282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48267   Customer #196284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48268   Customer #196299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48269   Customer #196302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48270   Customer #196302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48271   Customer #196303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48272   Customer #196306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48273   Customer #196308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48274   Customer #196333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48275   Customer #196350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48276   Customer #196359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48277   Customer #196363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48278   Customer #196370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48279   Customer #196380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48280   Customer #196386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48281   Customer #196395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48282   Customer #196400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48283   Customer #196401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48284   Customer #196412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48285   Customer #196419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48286   Customer #196430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48287   Customer #196438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48288   Customer #196442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48289   Customer #196444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48290   Customer #196445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48291   Customer #196447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48292   Customer #196453                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48293   Customer #196454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48294   Customer #196460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48295   Customer #196469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48296   Customer #196472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48297   Customer #196474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48298   Customer #196477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48299   Customer #196477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48300   Customer #196479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48301   Customer #196480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48302   Customer #196495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48303   Customer #196498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48304   Customer #196499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48305   Customer #196504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48306   Customer #196505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48307   Customer #196516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48308   Customer #196525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48309   Customer #196542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48310   Customer #196544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48311   Customer #196560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48312   Customer #196562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48313   Customer #196584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48314   Customer #196588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48315   Customer #196592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48316   Customer #196598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48317   Customer #196618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48318   Customer #196621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48319   Customer #196622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48320   Customer #196623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48321   Customer #196645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48322   Customer #196665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48323   Customer #196666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48324   Customer #196667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48325   Customer #196670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48326   Customer #196673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48327   Customer #196676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48328   Customer #196682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48329   Customer #196683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48330   Customer #196687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48331   Customer #196693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48332   Customer #196694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48333   Customer #196696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48334   Customer #196697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48335   Customer #196704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48336   Customer #196706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48337   Customer #196707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48338   Customer #196707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48339   Customer #196707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48340   Customer #196708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48341   Customer #196709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48342   Customer #196712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48343   Customer #196714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48344   Customer #196715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48345   Customer #196721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48346   Customer #196724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48347   Customer #196725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48348   Customer #196727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48349   Customer #196744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48350   Customer #196750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48351   Customer #196753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48352   Customer #196756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48353   Customer #196759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48354   Customer #196782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48355   Customer #196786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48356   Customer #196788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48357   Customer #196790                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48358   Customer #196791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48359   Customer #196802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48360   Customer #196804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48361   Customer #196806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48362   Customer #196807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48363   Customer #196822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48364   Customer #196828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48365   Customer #196829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48366   Customer #196830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48367   Customer #196836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48368   Customer #196838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48369   Customer #196839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48370   Customer #196841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48371   Customer #196853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48372   Customer #196855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48373   Customer #196856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48374   Customer #196857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48375   Customer #196858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48376   Customer #196866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48377   Customer #196879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48378   Customer #196881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48379   Customer #196882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48380   Customer #196888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48381   Customer #196898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48382   Customer #196917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48383   Customer #196929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48384   Customer #196935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48385   Customer #196956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48386   Customer #196962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48387   Customer #196965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48388   Customer #196967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48389   Customer #196968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48390   Customer #196969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48391   Customer #196980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48392   Customer #196984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48393   Customer #196986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48394   Customer #196990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48395   Customer #196991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48396   Customer #196994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48397   Customer #196999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48398   Customer #197006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48399   Customer #197014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48400   Customer #197018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48401   Customer #197027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48402   Customer #197037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48403   Customer #197038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48404   Customer #197040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48405   Customer #197043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48406   Customer #197044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48407   Customer #197069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48408   Customer #197072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48409   Customer #197076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48410   Customer #197085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48411   Customer #197087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48412   Customer #197088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48413   Customer #197089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48414   Customer #197094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48415   Customer #197095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48416   Customer #197104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48417   Customer #197105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48418   Customer #197106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48419   Customer #197110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48420   Customer #197114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48421   Customer #197118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48422   Customer #197122                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48423   Customer #197123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48424   Customer #197124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48425   Customer #197128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48426   Customer #197130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48427   Customer #197131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48428   Customer #197136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48429   Customer #197137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48430   Customer #197138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48431   Customer #197145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48432   Customer #197150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48433   Customer #197164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48434   Customer #197166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48435   Customer #197171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48436   Customer #197175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48437   Customer #197176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48438   Customer #197185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48439   Customer #197186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48440   Customer #197193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48441   Customer #197210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48442   Customer #197215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48443   Customer #197217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48444   Customer #197218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48445   Customer #197222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48446   Customer #197228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48447   Customer #197232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48448   Customer #197234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48449   Customer #197243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48450   Customer #197256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48451   Customer #197258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48452   Customer #197266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48453   Customer #197273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48454   Customer #197283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48455   Customer #197295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48456   Customer #197304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48457   Customer #197311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48458   Customer #197318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48459   Customer #197319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48460   Customer #197343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48461   Customer #197350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48462   Customer #197351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48463   Customer #197352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48464   Customer #197363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48465   Customer #197364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48466   Customer #197367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48467   Customer #197368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48468   Customer #197369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48469   Customer #197371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48470   Customer #197373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48471   Customer #197375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48472   Customer #197377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48473   Customer #197378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48474   Customer #197380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48475   Customer #197381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48476   Customer #197384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48477   Customer #197388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48478   Customer #197389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48479   Customer #197396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48480   Customer #197397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48481   Customer #197399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48482   Customer #197421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48483   Customer #197426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48484   Customer #197428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48485   Customer #197432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48486   Customer #197434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48487   Customer #197438                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48488   Customer #197445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48489   Customer #197447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48490   Customer #197454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48491   Customer #197456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48492   Customer #197462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48493   Customer #197465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48494   Customer #197466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48495   Customer #197470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48496   Customer #197487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48497   Customer #197493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48498   Customer #197496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48499   Customer #197497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48500   Customer #197498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48501   Customer #197499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48502   Customer #197501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48503   Customer #197503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48504   Customer #197507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48505   Customer #197511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48506   Customer #197513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48507   Customer #197515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48508   Customer #197531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48509   Customer #197573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48510   Customer #197582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48511   Customer #197586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48512   Customer #197587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48513   Customer #197588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48514   Customer #197592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48515   Customer #197593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48516   Customer #197601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48517   Customer #197604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48518   Customer #197605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48519   Customer #197608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48520   Customer #197612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48521   Customer #197613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48522   Customer #197617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48523   Customer #197619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48524   Customer #197630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48525   Customer #197642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48526   Customer #197644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48527   Customer #197649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48528   Customer #197661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48529   Customer #197669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48530   Customer #197671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48531   Customer #197673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48532   Customer #197674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48533   Customer #197675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48534   Customer #197676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48535   Customer #197676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48536   Customer #197679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48537   Customer #197680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48538   Customer #197689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48539   Customer #197691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48540   Customer #197692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48541   Customer #197693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48542   Customer #197697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48543   Customer #197700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48544   Customer #197701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48545   Customer #197704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48546   Customer #197707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48547   Customer #197708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48548   Customer #197710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48549   Customer #197713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48550   Customer #197715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48551   Customer #197718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48552   Customer #197720                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48553   Customer #197723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48554   Customer #197726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48555   Customer #197727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48556   Customer #197728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48557   Customer #197730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48558   Customer #197735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48559   Customer #197737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48560   Customer #197743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48561   Customer #197748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48562   Customer #197753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48563   Customer #197755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48564   Customer #197755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48565   Customer #197778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48566   Customer #197779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48567   Customer #197780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48568   Customer #197784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48569   Customer #197785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48570   Customer #197793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48571   Customer #197794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48572   Customer #197796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48573   Customer #197800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48574   Customer #197801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48575   Customer #197803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48576   Customer #197805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48577   Customer #197806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48578   Customer #197807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48579   Customer #197809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48580   Customer #197813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48581   Customer #197815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48582   Customer #197817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48583   Customer #197818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48584   Customer #197824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48585   Customer #197830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48586   Customer #197833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48587   Customer #197834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48588   Customer #197836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48589   Customer #197843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48590   Customer #197852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48591   Customer #197853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48592   Customer #197867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48593   Customer #197867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48594   Customer #197867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48595   Customer #197874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48596   Customer #197891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48597   Customer #197895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48598   Customer #197907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48599   Customer #197911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48600   Customer #197920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48601   Customer #197946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48602   Customer #197952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48603   Customer #197957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48604   Customer #197961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48605   Customer #197962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48606   Customer #197963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48607   Customer #197964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48608   Customer #197965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48609   Customer #197980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48610   Customer #197981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48611   Customer #197985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48612   Customer #198004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48613   Customer #198018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48614   Customer #198026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48615   Customer #198027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48616   Customer #198031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48617   Customer #198039                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48618   Customer #198040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48619   Customer #198041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48620   Customer #198048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48621   Customer #198049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48622   Customer #198050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48623   Customer #198055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48624   Customer #198058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48625   Customer #198059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48626   Customer #198060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48627   Customer #198062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48628   Customer #198073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48629   Customer #198074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48630   Customer #198079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48631   Customer #198080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48632   Customer #198082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48633   Customer #198088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48634   Customer #198099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48635   Customer #198100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48636   Customer #198113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48637   Customer #198120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48638   Customer #198126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48639   Customer #198127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48640   Customer #198134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48641   Customer #198146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48642   Customer #198158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48643   Customer #198161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48644   Customer #198162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48645   Customer #198169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48646   Customer #198172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48647   Customer #198175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48648   Customer #198178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48649   Customer #198184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48650   Customer #198185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48651   Customer #198187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48652   Customer #198191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48653   Customer #198195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48654   Customer #198196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48655   Customer #198197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48656   Customer #198198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48657   Customer #198209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48658   Customer #198210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48659   Customer #198211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48660   Customer #198212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48661   Customer #198213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48662   Customer #198221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48663   Customer #198230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48664   Customer #198234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48665   Customer #198249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48666   Customer #198251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48667   Customer #198253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48668   Customer #198257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48669   Customer #198258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48670   Customer #198259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48671   Customer #198260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48672   Customer #198266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48673   Customer #198267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48674   Customer #198270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48675   Customer #198271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48676   Customer #198272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48677   Customer #198275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48678   Customer #198276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48679   Customer #198277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48680   Customer #198281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48681   Customer #198283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48682   Customer #198284                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48683   Customer #198288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48684   Customer #198290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48685   Customer #198291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48686   Customer #198293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48687   Customer #198294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48688   Customer #198295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48689   Customer #198308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48690   Customer #198309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48691   Customer #198312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48692   Customer #198313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48693   Customer #198315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48694   Customer #198318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48695   Customer #198320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48696   Customer #198321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48697   Customer #198323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48698   Customer #198324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48699   Customer #198338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48700   Customer #198348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48701   Customer #198360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48702   Customer #198370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48703   Customer #198375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48704   Customer #198379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48705   Customer #198381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48706   Customer #198382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48707   Customer #198384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48708   Customer #198392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48709   Customer #198394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48710   Customer #198396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48711   Customer #198397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48712   Customer #198399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48713   Customer #198403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48714   Customer #198404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48715   Customer #198405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48716   Customer #198406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48717   Customer #198408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48718   Customer #198409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48719   Customer #198413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48720   Customer #198418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48721   Customer #198421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48722   Customer #198429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48723   Customer #198433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48724   Customer #198445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48725   Customer #198447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48726   Customer #198448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48727   Customer #198452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48728   Customer #198461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48729   Customer #198462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48730   Customer #198471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48731   Customer #198472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48732   Customer #198475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48733   Customer #198478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48734   Customer #198481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48735   Customer #198516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48736   Customer #198524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48737   Customer #198529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48738   Customer #198530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48739   Customer #198535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48740   Customer #198539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48741   Customer #198545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48742   Customer #198546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48743   Customer #198550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48744   Customer #198552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48745   Customer #198553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48746   Customer #198554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48747   Customer #198561                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48748   Customer #198565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48749   Customer #198569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48750   Customer #198570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48751   Customer #198572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48752   Customer #198575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48753   Customer #198579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48754   Customer #198583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48755   Customer #198585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48756   Customer #198588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48757   Customer #198593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48758   Customer #198602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48759   Customer #198605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48760   Customer #198606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48761   Customer #198608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48762   Customer #198614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48763   Customer #198615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48764   Customer #198618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48765   Customer #198620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48766   Customer #198627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48767   Customer #198629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48768   Customer #198634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48769   Customer #198638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48770   Customer #198639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48771   Customer #198652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48772   Customer #198654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48773   Customer #198656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48774   Customer #198657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48775   Customer #198659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48776   Customer #198661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48777   Customer #198668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48778   Customer #198680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48779   Customer #198681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48780   Customer #198694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48781   Customer #198695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48782   Customer #198697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48783   Customer #198708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48784   Customer #198711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48785   Customer #198715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48786   Customer #198723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48787   Customer #198728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48788   Customer #198729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48789   Customer #198737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48790   Customer #198753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48791   Customer #198761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48792   Customer #198776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48793   Customer #198780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48794   Customer #198781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48795   Customer #198789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48796   Customer #198790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48797   Customer #198799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48798   Customer #198801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48799   Customer #198808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48800   Customer #198816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48801   Customer #198818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48802   Customer #198819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48803   Customer #198821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48804   Customer #198822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48805   Customer #198824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48806   Customer #198826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48807   Customer #198845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48808   Customer #198846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48809   Customer #198848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48810   Customer #198879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48811   Customer #198882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48812   Customer #198883                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48813   Customer #198886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48814   Customer #198887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48815   Customer #198891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48816   Customer #198892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48817   Customer #198898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48818   Customer #198899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48819   Customer #198900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48820   Customer #198901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48821   Customer #198902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48822   Customer #198908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48823   Customer #198909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48824   Customer #198911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48825   Customer #198913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48826   Customer #198917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48827   Customer #198923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48828   Customer #198923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48829   Customer #198928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48830   Customer #198939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48831   Customer #198944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48832   Customer #198946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48833   Customer #198951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48834   Customer #198953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48835   Customer #198973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48836   Customer #198974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48837   Customer #198984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48838   Customer #198985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48839   Customer #198991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48840   Customer #198992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48841   Customer #198993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48842   Customer #198994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48843   Customer #198996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48844   Customer #198998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48845   Customer #199006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48846   Customer #199026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48847   Customer #199027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48848   Customer #199030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48849   Customer #199033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48850   Customer #199034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48851   Customer #199037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48852   Customer #199038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48853   Customer #199048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48854   Customer #199049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48855   Customer #199054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48856   Customer #199055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48857   Customer #199056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48858   Customer #199061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48859   Customer #199063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48860   Customer #199064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48861   Customer #199072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48862   Customer #199075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48863   Customer #199076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48864   Customer #199091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48865   Customer #199096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48866   Customer #199099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48867   Customer #199113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48868   Customer #199115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48869   Customer #199125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48870   Customer #199126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48871   Customer #199131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48872   Customer #199135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48873   Customer #199147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48874   Customer #199169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48875   Customer #199171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48876   Customer #199174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48877   Customer #199186                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48878   Customer #199199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48879   Customer #199204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48880   Customer #199206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48881   Customer #199214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48882   Customer #199216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48883   Customer #199256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48884   Customer #199257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48885   Customer #199270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48886   Customer #199273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48887   Customer #199280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48888   Customer #199285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48889   Customer #199290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48890   Customer #199298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48891   Customer #199300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48892   Customer #199302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48893   Customer #199303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48894   Customer #199304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48895   Customer #199305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48896   Customer #199312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48897   Customer #199316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48898   Customer #199327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48899   Customer #199328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48900   Customer #199339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48901   Customer #199341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48902   Customer #199346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48903   Customer #199361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48904   Customer #199370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48905   Customer #199382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48906   Customer #199384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48907   Customer #199386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48908   Customer #199387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48909   Customer #199388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48910   Customer #199389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48911   Customer #199392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48912   Customer #199393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48913   Customer #199398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48914   Customer #199402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48915   Customer #199418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48916   Customer #199424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48917   Customer #199425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48918   Customer #199429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48919   Customer #199430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48920   Customer #199432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48921   Customer #199433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48922   Customer #199439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48923   Customer #199440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48924   Customer #199443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48925   Customer #199451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48926   Customer #199455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48927   Customer #199456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48928   Customer #199460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48929   Customer #199474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48930   Customer #199477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48931   Customer #199482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48932   Customer #199490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48933   Customer #199493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48934   Customer #199505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48935   Customer #199506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48936   Customer #199507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48937   Customer #199509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48938   Customer #199511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48939   Customer #199516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48940   Customer #199521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48941   Customer #199522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48942   Customer #199550                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.48943   Customer #199552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48944   Customer #199558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48945   Customer #199560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48946   Customer #199566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48947   Customer #199567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48948   Customer #199571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48949   Customer #199574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48950   Customer #199581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48951   Customer #199588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48952   Customer #199591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48953   Customer #199592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48954   Customer #199593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48955   Customer #199598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48956   Customer #199614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48957   Customer #199636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48958   Customer #199639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48959   Customer #199644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48960   Customer #199647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48961   Customer #199649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48962   Customer #199658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48963   Customer #199660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48964   Customer #199662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48965   Customer #199663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48966   Customer #199666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48967   Customer #199667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48968   Customer #199671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48969   Customer #199672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48970   Customer #199673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48971   Customer #199677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48972   Customer #199678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48973   Customer #199686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48974   Customer #199687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48975   Customer #199688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48976   Customer #199695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48977   Customer #199697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48978   Customer #199698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48979   Customer #199699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48980   Customer #199702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48981   Customer #199703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48982   Customer #199721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48983   Customer #199722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48984   Customer #199726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48985   Customer #199728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48986   Customer #199734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48987   Customer #199744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48988   Customer #199748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48989   Customer #199749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48990   Customer #199751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48991   Customer #199752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48992   Customer #199753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48993   Customer #199758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48994   Customer #199759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48995   Customer #199760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48996   Customer #199762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48997   Customer #199763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48998   Customer #199768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.48999   Customer #199774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49000   Customer #199777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49001   Customer #199783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49002   Customer #199784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49003   Customer #199787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49004   Customer #199788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49005   Customer #199790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49006   Customer #199791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49007   Customer #199793                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49008   Customer #199798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49009   Customer #199799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49010   Customer #199805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49011   Customer #199817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49012   Customer #199829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49013   Customer #199834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49014   Customer #199836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49015   Customer #199837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49016   Customer #199839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49017   Customer #199844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49018   Customer #199847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49019   Customer #199852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49020   Customer #199853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49021   Customer #199864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49022   Customer #199873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49023   Customer #199874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49024   Customer #199875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49025   Customer #199876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49026   Customer #199881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49027   Customer #199882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49028   Customer #199884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49029   Customer #199885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49030   Customer #199889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49031   Customer #199891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49032   Customer #199896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49033   Customer #199899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49034   Customer #199902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49035   Customer #199906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49036   Customer #199908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49037   Customer #199912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49038   Customer #199915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49039   Customer #199917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49040   Customer #199919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49041   Customer #199924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49042   Customer #199925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49043   Customer #199930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49044   Customer #199934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49045   Customer #199937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49046   Customer #199939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49047   Customer #199940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49048   Customer #199941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49049   Customer #199942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49050   Customer #199942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49051   Customer #199946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49052   Customer #199948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49053   Customer #199954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49054   Customer #199956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49055   Customer #199959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49056   Customer #199960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49057   Customer #199962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49058   Customer #199963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49059   Customer #199964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49060   Customer #199977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49061   Customer #199987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49062   Customer #199990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49063   Customer #199993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49064   Customer #199999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49065   Customer #200002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49066   Customer #200004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49067   Customer #200016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49068   Customer #200020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49069   Customer #200023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49070   Customer #200025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49071   Customer #200030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49072   Customer #200034                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49073   Customer #200037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49074   Customer #200043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49075   Customer #200045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49076   Customer #200046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49077   Customer #200050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49078   Customer #200062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49079   Customer #200064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49080   Customer #200067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49081   Customer #200078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49082   Customer #200080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49083   Customer #200092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49084   Customer #200094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49085   Customer #200096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49086   Customer #200097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49087   Customer #200100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49088   Customer #200105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49089   Customer #200107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49090   Customer #200108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49091   Customer #200109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49092   Customer #200110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49093   Customer #200113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49094   Customer #200116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49095   Customer #200119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49096   Customer #200121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49097   Customer #200125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49098   Customer #200127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49099   Customer #200128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49100   Customer #200131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49101   Customer #200132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49102   Customer #200155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49103   Customer #200162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49104   Customer #200163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49105   Customer #200168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49106   Customer #200172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49107   Customer #200173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49108   Customer #200178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49109   Customer #200179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49110   Customer #200180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49111   Customer #200182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49112   Customer #200183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49113   Customer #200186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49114   Customer #200194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49115   Customer #200195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49116   Customer #200204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49117   Customer #200208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49118   Customer #200214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49119   Customer #200215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49120   Customer #200216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49121   Customer #200228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49122   Customer #200234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49123   Customer #200238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49124   Customer #200239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49125   Customer #200241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49126   Customer #200261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49127   Customer #200265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49128   Customer #200271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49129   Customer #200276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49130   Customer #200282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49131   Customer #200283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49132   Customer #200284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49133   Customer #200289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49134   Customer #200290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49135   Customer #200297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49136   Customer #200298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49137   Customer #200301                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49138   Customer #200309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49139   Customer #200311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49140   Customer #200317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49141   Customer #200325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49142   Customer #200331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49143   Customer #200332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49144   Customer #200334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49145   Customer #200337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49146   Customer #200338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49147   Customer #200340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49148   Customer #200351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49149   Customer #200353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49150   Customer #200354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49151   Customer #200356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49152   Customer #200364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49153   Customer #200369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49154   Customer #200383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49155   Customer #200387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49156   Customer #200389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49157   Customer #200398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49158   Customer #200409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49159   Customer #200415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49160   Customer #200436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49161   Customer #200437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49162   Customer #200442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49163   Customer #200446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49164   Customer #200448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49165   Customer #200452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49166   Customer #200453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49167   Customer #200455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49168   Customer #200456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49169   Customer #200460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49170   Customer #200463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49171   Customer #200464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49172   Customer #200465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49173   Customer #200468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49174   Customer #200473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49175   Customer #200477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49176   Customer #200478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49177   Customer #200480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49178   Customer #200481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49179   Customer #200481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49180   Customer #200494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49181   Customer #200495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49182   Customer #200496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49183   Customer #200499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49184   Customer #200523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49185   Customer #200524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49186   Customer #200525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49187   Customer #200526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49188   Customer #200528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49189   Customer #200531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49190   Customer #200532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49191   Customer #200535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49192   Customer #200538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49193   Customer #200545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49194   Customer #200546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49195   Customer #200548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49196   Customer #200549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49197   Customer #200563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49198   Customer #200564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49199   Customer #200575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49200   Customer #200576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49201   Customer #200577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49202   Customer #200582                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49203   Customer #200585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49204   Customer #200587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49205   Customer #200588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49206   Customer #200590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49207   Customer #200593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49208   Customer #200595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49209   Customer #200597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49210   Customer #200598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49211   Customer #200604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49212   Customer #200606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49213   Customer #200607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49214   Customer #200615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49215   Customer #200617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49216   Customer #200618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49217   Customer #200619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49218   Customer #200620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49219   Customer #200625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49220   Customer #200626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49221   Customer #200630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49222   Customer #200632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49223   Customer #200633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49224   Customer #200636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49225   Customer #200637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49226   Customer #200640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49227   Customer #200642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49228   Customer #200643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49229   Customer #200645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49230   Customer #200646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49231   Customer #200647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49232   Customer #200653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49233   Customer #200658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49234   Customer #200659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49235   Customer #200663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49236   Customer #200686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49237   Customer #200688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49238   Customer #200690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49239   Customer #200693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49240   Customer #200694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49241   Customer #200696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49242   Customer #200697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49243   Customer #200713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49244   Customer #200716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49245   Customer #200726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49246   Customer #200728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49247   Customer #200729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49248   Customer #200730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49249   Customer #200735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49250   Customer #200736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49251   Customer #200737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49252   Customer #200742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49253   Customer #200748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49254   Customer #200758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49255   Customer #200762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49256   Customer #200766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49257   Customer #200774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49258   Customer #200778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49259   Customer #200790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49260   Customer #200792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49261   Customer #200796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49262   Customer #200801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49263   Customer #200807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49264   Customer #200819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49265   Customer #200829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49266   Customer #200839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49267   Customer #200840                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49268   Customer #200842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49269   Customer #200851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49270   Customer #200852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49271   Customer #200857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49272   Customer #200863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49273   Customer #200867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49274   Customer #200869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49275   Customer #200872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49276   Customer #200875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49277   Customer #200877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49278   Customer #200878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49279   Customer #200881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49280   Customer #200882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49281   Customer #200890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49282   Customer #200906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49283   Customer #200907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49284   Customer #200908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49285   Customer #200911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49286   Customer #200913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49287   Customer #200916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49288   Customer #200927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49289   Customer #200931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49290   Customer #200932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49291   Customer #200935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49292   Customer #200936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49293   Customer #200937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49294   Customer #200938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49295   Customer #200941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49296   Customer #200949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49297   Customer #200950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49298   Customer #200951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49299   Customer #200952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49300   Customer #200952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49301   Customer #200954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49302   Customer #200958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49303   Customer #200961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49304   Customer #200962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49305   Customer #200964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49306   Customer #200970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49307   Customer #200975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49308   Customer #200991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49309   Customer #200995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49310   Customer #200998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49311   Customer #200999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49312   Customer #201009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49313   Customer #201010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49314   Customer #201015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49315   Customer #201017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49316   Customer #201028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49317   Customer #201030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49318   Customer #201035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49319   Customer #201039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49320   Customer #201043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49321   Customer #201043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49322   Customer #201045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49323   Customer #201054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49324   Customer #201062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49325   Customer #201064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49326   Customer #201071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49327   Customer #201072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49328   Customer #201073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49329   Customer #201076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49330   Customer #201082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49331   Customer #201083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49332   Customer #201085                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49333   Customer #201088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49334   Customer #201093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49335   Customer #201094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49336   Customer #201095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49337   Customer #201104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49338   Customer #201115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49339   Customer #201116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49340   Customer #201127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49341   Customer #201129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49342   Customer #201133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49343   Customer #201139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49344   Customer #201147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49345   Customer #201148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49346   Customer #201153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49347   Customer #201154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49348   Customer #201157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49349   Customer #201158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49350   Customer #201160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49351   Customer #201167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49352   Customer #201174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49353   Customer #201179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49354   Customer #201182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49355   Customer #201183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49356   Customer #201185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49357   Customer #201186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49358   Customer #201192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49359   Customer #201195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49360   Customer #201197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49361   Customer #201199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49362   Customer #201201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49363   Customer #201204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49364   Customer #201209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49365   Customer #201211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49366   Customer #201225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49367   Customer #201235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49368   Customer #201237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49369   Customer #201238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49370   Customer #201240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49371   Customer #201246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49372   Customer #201260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49373   Customer #201262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49374   Customer #201272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49375   Customer #201273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49376   Customer #201284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49377   Customer #201286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49378   Customer #201288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49379   Customer #201293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49380   Customer #201303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49381   Customer #201307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49382   Customer #201311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49383   Customer #201314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49384   Customer #201315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49385   Customer #201316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49386   Customer #201319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49387   Customer #201324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49388   Customer #201326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49389   Customer #201327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49390   Customer #201328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49391   Customer #201335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49392   Customer #201343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49393   Customer #201345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49394   Customer #201356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49395   Customer #201360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49396   Customer #201374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49397   Customer #201375                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49398   Customer #201378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49399   Customer #201379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49400   Customer #201380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49401   Customer #201382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49402   Customer #201386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49403   Customer #201387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49404   Customer #201388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49405   Customer #201407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49406   Customer #201411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49407   Customer #201413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49408   Customer #201414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49409   Customer #201418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49410   Customer #201427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49411   Customer #201438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49412   Customer #201438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49413   Customer #201455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49414   Customer #201461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49415   Customer #201464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49416   Customer #201466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49417   Customer #201467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49418   Customer #201468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49419   Customer #201469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49420   Customer #201479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49421   Customer #201483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49422   Customer #201488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49423   Customer #201490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49424   Customer #201491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49425   Customer #201494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49426   Customer #201495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49427   Customer #201496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49428   Customer #201497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49429   Customer #201498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49430   Customer #201507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49431   Customer #201508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49432   Customer #201509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49433   Customer #201510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49434   Customer #201512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49435   Customer #201529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49436   Customer #201529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49437   Customer #201532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49438   Customer #201539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49439   Customer #201541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49440   Customer #201543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49441   Customer #201545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49442   Customer #201546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49443   Customer #201547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49444   Customer #201551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49445   Customer #201555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49446   Customer #201560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49447   Customer #201561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49448   Customer #201565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49449   Customer #201567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49450   Customer #201571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49451   Customer #201572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49452   Customer #201583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49453   Customer #201584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49454   Customer #201586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49455   Customer #201587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49456   Customer #201589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49457   Customer #201590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49458   Customer #201592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49459   Customer #201601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49460   Customer #201607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49461   Customer #201608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49462   Customer #201609                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49463   Customer #201611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49464   Customer #201611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49465   Customer #201612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49466   Customer #201613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49467   Customer #201618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49468   Customer #201626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49469   Customer #201631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49470   Customer #201633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49471   Customer #201637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49472   Customer #201639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49473   Customer #201657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49474   Customer #201668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49475   Customer #201670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49476   Customer #201678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49477   Customer #201679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49478   Customer #201686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49479   Customer #201687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49480   Customer #201696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49481   Customer #201698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49482   Customer #201705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49483   Customer #201707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49484   Customer #201710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49485   Customer #201712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49486   Customer #201714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49487   Customer #201718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49488   Customer #201722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49489   Customer #201725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49490   Customer #201726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49491   Customer #201728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49492   Customer #201730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49493   Customer #201731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49494   Customer #201734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49495   Customer #201736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49496   Customer #201738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49497   Customer #201741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49498   Customer #201743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49499   Customer #201745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49500   Customer #201746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49501   Customer #201747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49502   Customer #201749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49503   Customer #201753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49504   Customer #201755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49505   Customer #201764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49506   Customer #201767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49507   Customer #201770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49508   Customer #201771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49509   Customer #201775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49510   Customer #201779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49511   Customer #201780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49512   Customer #201783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49513   Customer #201784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49514   Customer #201795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49515   Customer #201799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49516   Customer #201802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49517   Customer #201803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49518   Customer #201804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49519   Customer #201806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49520   Customer #201808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49521   Customer #201813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49522   Customer #201816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49523   Customer #201819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49524   Customer #201820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49525   Customer #201824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49526   Customer #201825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49527   Customer #201827                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49528   Customer #201832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49529   Customer #201837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49530   Customer #201844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49531   Customer #201844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49532   Customer #201845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49533   Customer #201846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49534   Customer #201851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49535   Customer #201861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49536   Customer #201862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49537   Customer #201863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49538   Customer #201864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49539   Customer #201868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49540   Customer #201869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49541   Customer #201872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49542   Customer #201881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49543   Customer #201882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49544   Customer #201883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49545   Customer #201884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49546   Customer #201892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49547   Customer #201898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49548   Customer #201899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49549   Customer #201900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49550   Customer #201902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49551   Customer #201906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49552   Customer #201910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49553   Customer #201911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49554   Customer #201914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49555   Customer #201918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49556   Customer #201923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49557   Customer #201931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49558   Customer #201933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49559   Customer #201934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49560   Customer #201939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49561   Customer #201942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49562   Customer #201944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49563   Customer #201945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49564   Customer #201953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49565   Customer #201957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49566   Customer #201961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49567   Customer #201962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49568   Customer #201964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49569   Customer #201965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49570   Customer #201966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49571   Customer #201968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49572   Customer #201979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49573   Customer #201981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49574   Customer #201984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49575   Customer #201988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49576   Customer #201994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49577   Customer #201999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49578   Customer #202007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49579   Customer #202012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49580   Customer #202015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49581   Customer #202021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49582   Customer #202029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49583   Customer #202036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49584   Customer #202037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49585   Customer #202038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49586   Customer #202039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49587   Customer #202043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49588   Customer #202063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49589   Customer #202065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49590   Customer #202066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49591   Customer #202067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49592   Customer #202069                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49593   Customer #202070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49594   Customer #202071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49595   Customer #202075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49596   Customer #202078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49597   Customer #202082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49598   Customer #202085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49599   Customer #202086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49600   Customer #202096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49601   Customer #202099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49602   Customer #202100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49603   Customer #202102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49604   Customer #202103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49605   Customer #202110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49606   Customer #202130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49607   Customer #202131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49608   Customer #202134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49609   Customer #202146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49610   Customer #202151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49611   Customer #202171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49612   Customer #202174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49613   Customer #202187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49614   Customer #202189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49615   Customer #202191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49616   Customer #202192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49617   Customer #202197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49618   Customer #202204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49619   Customer #202204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49620   Customer #202210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49621   Customer #202213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49622   Customer #202216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49623   Customer #202221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49624   Customer #202223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49625   Customer #202235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49626   Customer #202251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49627   Customer #202258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49628   Customer #202264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49629   Customer #202267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49630   Customer #202269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49631   Customer #202271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49632   Customer #202273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49633   Customer #202282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49634   Customer #202285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49635   Customer #202294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49636   Customer #202303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49637   Customer #202323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49638   Customer #202327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49639   Customer #202328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49640   Customer #202337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49641   Customer #202339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49642   Customer #202341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49643   Customer #202342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49644   Customer #202346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49645   Customer #202350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49646   Customer #202352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49647   Customer #202354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49648   Customer #202357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49649   Customer #202358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49650   Customer #202361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49651   Customer #202364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49652   Customer #202365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49653   Customer #202368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49654   Customer #202373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49655   Customer #202376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49656   Customer #202382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49657   Customer #202383                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49658   Customer #202387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49659   Customer #202395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49660   Customer #202396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49661   Customer #202398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49662   Customer #202402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49663   Customer #202404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49664   Customer #202408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49665   Customer #202412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49666   Customer #202413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49667   Customer #202415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49668   Customer #202417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49669   Customer #202420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49670   Customer #202421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49671   Customer #202422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49672   Customer #202436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49673   Customer #202442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49674   Customer #202449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49675   Customer #202450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49676   Customer #202455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49677   Customer #202456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49678   Customer #202461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49679   Customer #202462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49680   Customer #202465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49681   Customer #202467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49682   Customer #202470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49683   Customer #202471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49684   Customer #202474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49685   Customer #202478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49686   Customer #202488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49687   Customer #202498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49688   Customer #202501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49689   Customer #202502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49690   Customer #202503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49691   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49692   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49693   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49694   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49695   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49696   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49697   Customer #202504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49698   Customer #202512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49699   Customer #202513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49700   Customer #202515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49701   Customer #202516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49702   Customer #202518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49703   Customer #202519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49704   Customer #202521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49705   Customer #202522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49706   Customer #202525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49707   Customer #202527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49708   Customer #202531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49709   Customer #202533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49710   Customer #202538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49711   Customer #202540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49712   Customer #202542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49713   Customer #202547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49714   Customer #202549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49715   Customer #202552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49716   Customer #202556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49717   Customer #202571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49718   Customer #202572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49719   Customer #202576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49720   Customer #202578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49721   Customer #202579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49722   Customer #202583                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49723   Customer #202600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49724   Customer #202614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49725   Customer #202618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49726   Customer #202619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49727   Customer #202622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49728   Customer #202631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49729   Customer #202634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49730   Customer #202646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49731   Customer #202647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49732   Customer #202651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49733   Customer #202652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49734   Customer #202658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49735   Customer #202660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49736   Customer #202660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49737   Customer #202664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49738   Customer #202666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49739   Customer #202667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49740   Customer #202669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49741   Customer #202671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49742   Customer #202672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49743   Customer #202674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49744   Customer #202675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49745   Customer #202676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49746   Customer #202679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49747   Customer #202690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49748   Customer #202695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49749   Customer #202698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49750   Customer #202699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49751   Customer #202701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49752   Customer #202704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49753   Customer #202706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49754   Customer #202709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49755   Customer #202725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49756   Customer #202732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49757   Customer #202750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49758   Customer #202760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49759   Customer #202766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49760   Customer #202767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49761   Customer #202775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49762   Customer #202776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49763   Customer #202778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49764   Customer #202784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49765   Customer #202785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49766   Customer #202793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49767   Customer #202796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49768   Customer #202812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49769   Customer #202813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49770   Customer #202814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49771   Customer #202815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49772   Customer #202817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49773   Customer #202821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49774   Customer #202824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49775   Customer #202826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49776   Customer #202830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49777   Customer #202831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49778   Customer #202832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49779   Customer #202843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49780   Customer #202847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49781   Customer #202849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49782   Customer #202853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49783   Customer #202854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49784   Customer #202860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49785   Customer #202883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49786   Customer #202884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49787   Customer #202894                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49788   Customer #202899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49789   Customer #202901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49790   Customer #202908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49791   Customer #202910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49792   Customer #202912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49793   Customer #202914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49794   Customer #202923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49795   Customer #202924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49796   Customer #202925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49797   Customer #202926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49798   Customer #202931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49799   Customer #202932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49800   Customer #202945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49801   Customer #202949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49802   Customer #202957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49803   Customer #202978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49804   Customer #202981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49805   Customer #202987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49806   Customer #203007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49807   Customer #203014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49808   Customer #203026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49809   Customer #203045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49810   Customer #203070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49811   Customer #203087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49812   Customer #203120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49813   Customer #203124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49814   Customer #203125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49815   Customer #203126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49816   Customer #203157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49817   Customer #203170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49818   Customer #203181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49819   Customer #203195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49820   Customer #203199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49821   Customer #203200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49822   Customer #203202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49823   Customer #203204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49824   Customer #203207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49825   Customer #203208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49826   Customer #203211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49827   Customer #203213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49828   Customer #203214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49829   Customer #203254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49830   Customer #203265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49831   Customer #203280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49832   Customer #203284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49833   Customer #203288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49834   Customer #203291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49835   Customer #203293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49836   Customer #203297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49837   Customer #203299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49838   Customer #203308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49839   Customer #203312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49840   Customer #203316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49841   Customer #203326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49842   Customer #203328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49843   Customer #203333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49844   Customer #203343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49845   Customer #203345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49846   Customer #203351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49847   Customer #203362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49848   Customer #203380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49849   Customer #203381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49850   Customer #203387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49851   Customer #203392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49852   Customer #203396                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49853   Customer #203401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49854   Customer #203409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49855   Customer #203410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49856   Customer #203414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49857   Customer #203420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49858   Customer #203424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49859   Customer #203431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49860   Customer #203464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49861   Customer #203465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49862   Customer #203475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49863   Customer #203477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49864   Customer #203481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49865   Customer #203483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49866   Customer #203488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49867   Customer #203489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49868   Customer #203491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49869   Customer #203500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49870   Customer #203502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49871   Customer #203521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49872   Customer #203522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49873   Customer #203524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49874   Customer #203525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49875   Customer #203528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49876   Customer #203530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49877   Customer #203535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49878   Customer #203555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49879   Customer #203565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49880   Customer #203566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49881   Customer #203568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49882   Customer #203571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49883   Customer #203577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49884   Customer #203582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49885   Customer #203617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49886   Customer #203632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49887   Customer #203643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49888   Customer #203648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49889   Customer #203649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49890   Customer #203650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49891   Customer #203653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49892   Customer #203654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49893   Customer #203658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49894   Customer #203659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49895   Customer #203660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49896   Customer #203662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49897   Customer #203669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49898   Customer #203686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49899   Customer #203693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49900   Customer #203711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49901   Customer #203714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49902   Customer #203722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49903   Customer #203723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49904   Customer #203731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49905   Customer #203738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49906   Customer #203739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49907   Customer #203743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49908   Customer #203751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49909   Customer #203752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49910   Customer #203754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49911   Customer #203755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49912   Customer #203766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49913   Customer #203770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49914   Customer #203776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49915   Customer #203778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49916   Customer #203781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49917   Customer #203782                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49918   Customer #203824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49919   Customer #203830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49920   Customer #203841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49921   Customer #203867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49922   Customer #203879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49923   Customer #203882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49924   Customer #203901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49925   Customer #203902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49926   Customer #203903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49927   Customer #203908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49928   Customer #203914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49929   Customer #203932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49930   Customer #203937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49931   Customer #203943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49932   Customer #203944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49933   Customer #203955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49934   Customer #203960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49935   Customer #203962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49936   Customer #203964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49937   Customer #203969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49938   Customer #203978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49939   Customer #203982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49940   Customer #203986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49941   Customer #203987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49942   Customer #203988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49943   Customer #203989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49944   Customer #203996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49945   Customer #204000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49946   Customer #204014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49947   Customer #204026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49948   Customer #204031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49949   Customer #204032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49950   Customer #204034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49951   Customer #204037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49952   Customer #204049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49953   Customer #204053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49954   Customer #204059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49955   Customer #204062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49956   Customer #204083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49957   Customer #204093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49958   Customer #204096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49959   Customer #204099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49960   Customer #204106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49961   Customer #204113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49962   Customer #204114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49963   Customer #204115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49964   Customer #204119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49965   Customer #204123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49966   Customer #204126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49967   Customer #204135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49968   Customer #204139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49969   Customer #204143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49970   Customer #204147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49971   Customer #204149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49972   Customer #204157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49973   Customer #204160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49974   Customer #204167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49975   Customer #204178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49976   Customer #204179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49977   Customer #204180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49978   Customer #204186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49979   Customer #204193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49980   Customer #204205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49981   Customer #204216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49982   Customer #204217                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.49983   Customer #204219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49984   Customer #204223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49985   Customer #204228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49986   Customer #204248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49987   Customer #204273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49988   Customer #204279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49989   Customer #204282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49990   Customer #204284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49991   Customer #204308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49992   Customer #204324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49993   Customer #204327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49994   Customer #204354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49995   Customer #204372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49996   Customer #204375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49997   Customer #204378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49998   Customer #204384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.49999   Customer #204387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50000   Customer #204390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50001   Customer #204403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50002   Customer #204405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50003   Customer #204410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50004   Customer #204412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50005   Customer #204415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50006   Customer #204416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50007   Customer #204418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50008   Customer #204419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50009   Customer #204420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50010   Customer #204423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50011   Customer #204432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50012   Customer #204463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50013   Customer #204467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50014   Customer #204468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50015   Customer #204469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50016   Customer #204469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50017   Customer #204470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50018   Customer #204494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50019   Customer #204498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50020   Customer #204505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50021   Customer #204509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50022   Customer #204522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50023   Customer #204530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50024   Customer #204531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50025   Customer #204532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50026   Customer #204543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50027   Customer #204547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50028   Customer #204550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50029   Customer #204555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50030   Customer #204557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50031   Customer #204568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50032   Customer #204574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50033   Customer #204575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50034   Customer #204583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50035   Customer #204595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50036   Customer #204602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50037   Customer #204603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50038   Customer #204604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50039   Customer #204606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50040   Customer #204607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50041   Customer #204609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50042   Customer #204612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50043   Customer #204613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50044   Customer #204616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50045   Customer #204625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50046   Customer #204630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50047   Customer #204635                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50048   Customer #204658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50049   Customer #204661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50050   Customer #204663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50051   Customer #204672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50052   Customer #204673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50053   Customer #204675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50054   Customer #204684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50055   Customer #204706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50056   Customer #204717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50057   Customer #204721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50058   Customer #204725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50059   Customer #204727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50060   Customer #204728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50061   Customer #204738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50062   Customer #204741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50063   Customer #204747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50064   Customer #204754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50065   Customer #204760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50066   Customer #204769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50067   Customer #204770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50068   Customer #204772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50069   Customer #204774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50070   Customer #204775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50071   Customer #204792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50072   Customer #204800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50073   Customer #204810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50074   Customer #204821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50075   Customer #204836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50076   Customer #204846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50077   Customer #204847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50078   Customer #204852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50079   Customer #204872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50080   Customer #204881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50081   Customer #204886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50082   Customer #204898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50083   Customer #204900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50084   Customer #204914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50085   Customer #204916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50086   Customer #204917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50087   Customer #204919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50088   Customer #204920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50089   Customer #204921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50090   Customer #204925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50091   Customer #204946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50092   Customer #204947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50093   Customer #204951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50094   Customer #204955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50095   Customer #204956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50096   Customer #204958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50097   Customer #204959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50098   Customer #204960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50099   Customer #204966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50100   Customer #204967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50101   Customer #204970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50102   Customer #204974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50103   Customer #204977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50104   Customer #204990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50105   Customer #204992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50106   Customer #204993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50107   Customer #204999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50108   Customer #205009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50109   Customer #205010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50110   Customer #205011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50111   Customer #205012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50112   Customer #205018                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50113   Customer #205031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50114   Customer #205047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50115   Customer #205080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50116   Customer #205086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50117   Customer #205105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50118   Customer #205106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50119   Customer #205118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50120   Customer #205119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50121   Customer #205122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50122   Customer #205134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50123   Customer #205139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50124   Customer #205152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50125   Customer #205165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50126   Customer #205169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50127   Customer #205172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50128   Customer #205174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50129   Customer #205183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50130   Customer #205190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50131   Customer #205193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50132   Customer #205196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50133   Customer #205207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50134   Customer #205211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50135   Customer #205214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50136   Customer #205217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50137   Customer #205230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50138   Customer #205247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50139   Customer #205254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50140   Customer #205260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50141   Customer #205264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50142   Customer #205267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50143   Customer #205270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50144   Customer #205272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50145   Customer #205274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50146   Customer #205302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50147   Customer #205342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50148   Customer #205351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50149   Customer #205389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50150   Customer #205390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50151   Customer #205391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50152   Customer #205396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50153   Customer #205398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50154   Customer #205402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50155   Customer #205409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50156   Customer #205415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50157   Customer #205419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50158   Customer #205423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50159   Customer #205425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50160   Customer #205431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50161   Customer #205432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50162   Customer #205433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50163   Customer #205442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50164   Customer #205448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50165   Customer #205457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50166   Customer #205460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50167   Customer #205465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50168   Customer #205467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50169   Customer #205470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50170   Customer #205474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50171   Customer #205478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50172   Customer #205501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50173   Customer #205504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50174   Customer #205504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50175   Customer #205541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50176   Customer #205542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50177   Customer #205544                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50178   Customer #205547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50179   Customer #205559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50180   Customer #205563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50181   Customer #205567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50182   Customer #205569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50183   Customer #205571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50184   Customer #205596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50185   Customer #205611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50186   Customer #205615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50187   Customer #205616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50188   Customer #205619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50189   Customer #205628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50190   Customer #205630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50191   Customer #205638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50192   Customer #205642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50193   Customer #205644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50194   Customer #205650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50195   Customer #205650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50196   Customer #205651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50197   Customer #205652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50198   Customer #205658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50199   Customer #205659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50200   Customer #205666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50201   Customer #205667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50202   Customer #205669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50203   Customer #205676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50204   Customer #205681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50205   Customer #205683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50206   Customer #205684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50207   Customer #205685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50208   Customer #205689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50209   Customer #205700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50210   Customer #205701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50211   Customer #205702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50212   Customer #205712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50213   Customer #205721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50214   Customer #205724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50215   Customer #205725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50216   Customer #205726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50217   Customer #205727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50218   Customer #205730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50219   Customer #205734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50220   Customer #205735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50221   Customer #205746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50222   Customer #205749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50223   Customer #205751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50224   Customer #205759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50225   Customer #205762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50226   Customer #205767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50227   Customer #205768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50228   Customer #205770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50229   Customer #205785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50230   Customer #205785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50231   Customer #205807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50232   Customer #205819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50233   Customer #205822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50234   Customer #205828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50235   Customer #205844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50236   Customer #205871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50237   Customer #205879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50238   Customer #205883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50239   Customer #205885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50240   Customer #205885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50241   Customer #205888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50242   Customer #205901                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50243   Customer #205905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50244   Customer #205906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50245   Customer #205908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50246   Customer #205916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50247   Customer #205921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50248   Customer #205939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50249   Customer #205945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50250   Customer #205947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50251   Customer #205948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50252   Customer #205954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50253   Customer #205956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50254   Customer #205959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50255   Customer #205962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50256   Customer #205982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50257   Customer #205984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50258   Customer #205996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50259   Customer #206010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50260   Customer #206017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50261   Customer #206021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50262   Customer #206027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50263   Customer #206035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50264   Customer #206043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50265   Customer #206058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50266   Customer #206062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50267   Customer #206073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50268   Customer #206074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50269   Customer #206075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50270   Customer #206077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50271   Customer #206083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50272   Customer #206084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50273   Customer #206089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50274   Customer #206092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50275   Customer #206093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50276   Customer #206094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50277   Customer #206099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50278   Customer #206100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50279   Customer #206103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50280   Customer #206104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50281   Customer #206114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50282   Customer #206115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50283   Customer #206117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50284   Customer #206124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50285   Customer #206141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50286   Customer #206142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50287   Customer #206151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50288   Customer #206152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50289   Customer #206154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50290   Customer #206156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50291   Customer #206157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50292   Customer #206184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50293   Customer #206186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50294   Customer #206193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50295   Customer #206198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50296   Customer #206202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50297   Customer #206211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50298   Customer #206213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50299   Customer #206214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50300   Customer #206217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50301   Customer #206226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50302   Customer #206234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50303   Customer #206243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50304   Customer #206251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50305   Customer #206254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50306   Customer #206268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50307   Customer #206269                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50308   Customer #206274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50309   Customer #206278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50310   Customer #206281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50311   Customer #206282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50312   Customer #206311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50313   Customer #206312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50314   Customer #206314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50315   Customer #206315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50316   Customer #206322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50317   Customer #206330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50318   Customer #206332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50319   Customer #206340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50320   Customer #206345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50321   Customer #206346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50322   Customer #206349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50323   Customer #206354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50324   Customer #206364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50325   Customer #206369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50326   Customer #206373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50327   Customer #206375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50328   Customer #206376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50329   Customer #206383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50330   Customer #206401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50331   Customer #206403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50332   Customer #206410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50333   Customer #206411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50334   Customer #206412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50335   Customer #206416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50336   Customer #206417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50337   Customer #206419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50338   Customer #206429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50339   Customer #206433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50340   Customer #206434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50341   Customer #206438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50342   Customer #206445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50343   Customer #206448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50344   Customer #206449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50345   Customer #206451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50346   Customer #206452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50347   Customer #206457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50348   Customer #206458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50349   Customer #206459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50350   Customer #206460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50351   Customer #206463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50352   Customer #206464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50353   Customer #206467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50354   Customer #206468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50355   Customer #206470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50356   Customer #206473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50357   Customer #206477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50358   Customer #206515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50359   Customer #206523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50360   Customer #206531                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50361   Customer #206547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50362   Customer #206548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50363   Customer #206556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50364   Customer #206564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50365   Customer #206565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50366   Customer #206566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50367   Customer #206577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50368   Customer #206583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50369   Customer #206584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50370   Customer #206587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50371   Customer #206588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50372   Customer #206589                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50373   Customer #206590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50374   Customer #206593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50375   Customer #206594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50376   Customer #206595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50377   Customer #206596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50378   Customer #206600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50379   Customer #206602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50380   Customer #206603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50381   Customer #206604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50382   Customer #206605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50383   Customer #206610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50384   Customer #206619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50385   Customer #206620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50386   Customer #206623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50387   Customer #206626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50388   Customer #206628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50389   Customer #206629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50390   Customer #206635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50391   Customer #206642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50392   Customer #206643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50393   Customer #206653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50394   Customer #206658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50395   Customer #206659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50396   Customer #206666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50397   Customer #206670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50398   Customer #206674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50399   Customer #206676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50400   Customer #206690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50401   Customer #206691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50402   Customer #206696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50403   Customer #206696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50404   Customer #206697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50405   Customer #206698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50406   Customer #206721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50407   Customer #206728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50408   Customer #206732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50409   Customer #206735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50410   Customer #206736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50411   Customer #206739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50412   Customer #206740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50413   Customer #206752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50414   Customer #206753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50415   Customer #206755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50416   Customer #206758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50417   Customer #206759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50418   Customer #206781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50419   Customer #206785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50420   Customer #206790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50421   Customer #206792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50422   Customer #206796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50423   Customer #206799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50424   Customer #206801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50425   Customer #206803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50426   Customer #206813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50427   Customer #206816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50428   Customer #206825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50429   Customer #206831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50430   Customer #206833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50431   Customer #206837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50432   Customer #206844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50433   Customer #206849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50434   Customer #206857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50435   Customer #206858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50436   Customer #206864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50437   Customer #206865                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50438   Customer #206872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50439   Customer #206883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50440   Customer #206890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50441   Customer #206891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50442   Customer #206897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50443   Customer #206900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50444   Customer #206913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50445   Customer #206920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50446   Customer #206924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50447   Customer #206926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50448   Customer #206927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50449   Customer #206933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50450   Customer #206934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50451   Customer #206939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50452   Customer #206949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50453   Customer #206950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50454   Customer #206952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50455   Customer #206959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50456   Customer #206961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50457   Customer #206964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50458   Customer #206988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50459   Customer #206992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50460   Customer #206995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50461   Customer #206996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50462   Customer #207002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50463   Customer #207004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50464   Customer #207008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50465   Customer #207014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50466   Customer #207018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50467   Customer #207020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50468   Customer #207022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50469   Customer #207030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50470   Customer #207032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50471   Customer #207037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50472   Customer #207043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50473   Customer #207046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50474   Customer #207050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50475   Customer #207052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50476   Customer #207056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50477   Customer #207063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50478   Customer #207066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50479   Customer #207069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50480   Customer #207071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50481   Customer #207076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50482   Customer #207093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50483   Customer #207100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50484   Customer #207109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50485   Customer #207133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50486   Customer #207134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50487   Customer #207143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50488   Customer #207148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50489   Customer #207149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50490   Customer #207156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50491   Customer #207161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50492   Customer #207184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50493   Customer #207187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50494   Customer #207192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50495   Customer #207207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50496   Customer #207212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50497   Customer #207214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50498   Customer #207216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50499   Customer #207218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50500   Customer #207221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50501   Customer #207224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50502   Customer #207242                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50503   Customer #207247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50504   Customer #207248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50505   Customer #207249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50506   Customer #207263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50507   Customer #207270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50508   Customer #207271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50509   Customer #207278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50510   Customer #207279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50511   Customer #207280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50512   Customer #207282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50513   Customer #207287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50514   Customer #207288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50515   Customer #207289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50516   Customer #207292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50517   Customer #207293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50518   Customer #207329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50519   Customer #207330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50520   Customer #207335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50521   Customer #207339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50522   Customer #207342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50523   Customer #207343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50524   Customer #207359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50525   Customer #207373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50526   Customer #207375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50527   Customer #207395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50528   Customer #207403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50529   Customer #207412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50530   Customer #207415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50531   Customer #207418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50532   Customer #207418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50533   Customer #207419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50534   Customer #207429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50535   Customer #207430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50536   Customer #207433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50537   Customer #207440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50538   Customer #207442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50539   Customer #207445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50540   Customer #207451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50541   Customer #207453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50542   Customer #207457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50543   Customer #207469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50544   Customer #207475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50545   Customer #207480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50546   Customer #207485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50547   Customer #207486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50548   Customer #207488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50549   Customer #207492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50550   Customer #207501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50551   Customer #207506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50552   Customer #207507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50553   Customer #207512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50554   Customer #207520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50555   Customer #207521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50556   Customer #207550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50557   Customer #207571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50558   Customer #207572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50559   Customer #207584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50560   Customer #207592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50561   Customer #207635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50562   Customer #207645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50563   Customer #207650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50564   Customer #207653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50565   Customer #207657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50566   Customer #207660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50567   Customer #207662                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50568   Customer #207666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50569   Customer #207668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50570   Customer #207670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50571   Customer #207672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50572   Customer #207680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50573   Customer #207692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50574   Customer #207698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50575   Customer #207711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50576   Customer #207712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50577   Customer #207714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50578   Customer #207715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50579   Customer #207725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50580   Customer #207726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50581   Customer #207732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50582   Customer #207741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50583   Customer #207742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50584   Customer #207745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50585   Customer #207746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50586   Customer #207753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50587   Customer #207755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50588   Customer #207765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50589   Customer #207792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50590   Customer #207794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50591   Customer #207806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50592   Customer #207824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50593   Customer #207825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50594   Customer #207830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50595   Customer #207831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50596   Customer #207832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50597   Customer #207834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50598   Customer #207840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50599   Customer #207849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50600   Customer #207878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50601   Customer #207883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50602   Customer #207889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50603   Customer #207892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50604   Customer #207893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50605   Customer #207895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50606   Customer #207910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50607   Customer #207911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50608   Customer #207914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50609   Customer #207915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50610   Customer #207922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50611   Customer #207923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50612   Customer #207930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50613   Customer #207931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50614   Customer #207932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50615   Customer #207934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50616   Customer #207935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50617   Customer #207943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50618   Customer #207947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50619   Customer #207953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50620   Customer #207957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50621   Customer #207958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50622   Customer #207962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50623   Customer #207973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50624   Customer #207987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50625   Customer #207990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50626   Customer #207991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50627   Customer #207994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50628   Customer #207997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50629   Customer #207998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50630   Customer #208001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50631   Customer #208006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50632   Customer #208014                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50633   Customer #208018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50634   Customer #208020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50635   Customer #208026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50636   Customer #208028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50637   Customer #208028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50638   Customer #208031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50639   Customer #208037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50640   Customer #208038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50641   Customer #208044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50642   Customer #208058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50643   Customer #208064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50644   Customer #208067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50645   Customer #208069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50646   Customer #208072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50647   Customer #208079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50648   Customer #208094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50649   Customer #208098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50650   Customer #208103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50651   Customer #208105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50652   Customer #208131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50653   Customer #208134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50654   Customer #208136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50655   Customer #208144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50656   Customer #208151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50657   Customer #208154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50658   Customer #208164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50659   Customer #208167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50660   Customer #208180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50661   Customer #208192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50662   Customer #208194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50663   Customer #208199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50664   Customer #208201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50665   Customer #208204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50666   Customer #208213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50667   Customer #208214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50668   Customer #208243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50669   Customer #208256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50670   Customer #208257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50671   Customer #208267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50672   Customer #208269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50673   Customer #208276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50674   Customer #208327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50675   Customer #208328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50676   Customer #208333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50677   Customer #208342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50678   Customer #208343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50679   Customer #208348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50680   Customer #208352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50681   Customer #208359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50682   Customer #208361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50683   Customer #208362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50684   Customer #208371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50685   Customer #208380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50686   Customer #208386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50687   Customer #208394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50688   Customer #208402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50689   Customer #208408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50690   Customer #208418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50691   Customer #208420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50692   Customer #208423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50693   Customer #208427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50694   Customer #208429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50695   Customer #208434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50696   Customer #208435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50697   Customer #208436                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50698   Customer #208452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50699   Customer #208455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50700   Customer #208457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50701   Customer #208458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50702   Customer #208471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50703   Customer #208472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50704   Customer #208473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50705   Customer #208474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50706   Customer #208480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50707   Customer #208486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50708   Customer #208489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50709   Customer #208497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50710   Customer #208498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50711   Customer #208511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50712   Customer #208517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50713   Customer #208518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50714   Customer #208524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50715   Customer #208539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50716   Customer #208548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50717   Customer #208553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50718   Customer #208556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50719   Customer #208559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50720   Customer #208562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50721   Customer #208565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50722   Customer #208567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50723   Customer #208573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50724   Customer #208577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50725   Customer #208578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50726   Customer #208590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50727   Customer #208592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50728   Customer #208594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50729   Customer #208607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50730   Customer #208609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50731   Customer #208619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50732   Customer #208623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50733   Customer #208629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50734   Customer #208654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50735   Customer #208676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50736   Customer #208700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50737   Customer #208705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50738   Customer #208708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50739   Customer #208709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50740   Customer #208711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50741   Customer #208726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50742   Customer #208727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50743   Customer #208734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50744   Customer #208739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50745   Customer #208741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50746   Customer #208768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50747   Customer #208778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50748   Customer #208784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50749   Customer #208788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50750   Customer #208791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50751   Customer #208792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50752   Customer #208801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50753   Customer #208803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50754   Customer #208817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50755   Customer #208822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50756   Customer #208839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50757   Customer #208840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50758   Customer #208846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50759   Customer #208849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50760   Customer #208859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50761   Customer #208867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50762   Customer #208874                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50763   Customer #208882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50764   Customer #208889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50765   Customer #208891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50766   Customer #208892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50767   Customer #208893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50768   Customer #208905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50769   Customer #208914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50770   Customer #208929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50771   Customer #208935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50772   Customer #208945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50773   Customer #208950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50774   Customer #208957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50775   Customer #208959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50776   Customer #208966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50777   Customer #208973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50778   Customer #208981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50779   Customer #208985                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50780   Customer #209008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50781   Customer #209013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50782   Customer #209036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50783   Customer #209039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50784   Customer #209041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50785   Customer #209046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50786   Customer #209048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50787   Customer #209059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50788   Customer #209060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50789   Customer #209061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50790   Customer #209066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50791   Customer #209067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50792   Customer #209068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50793   Customer #209069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50794   Customer #209070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50795   Customer #209073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50796   Customer #209074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50797   Customer #209078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50798   Customer #209092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50799   Customer #209093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50800   Customer #209094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50801   Customer #209096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50802   Customer #209097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50803   Customer #209101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50804   Customer #209103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50805   Customer #209105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50806   Customer #209107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50807   Customer #209118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50808   Customer #209119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50809   Customer #209120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50810   Customer #209121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50811   Customer #209124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50812   Customer #209130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50813   Customer #209131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50814   Customer #209132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50815   Customer #209133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50816   Customer #209149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50817   Customer #209151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50818   Customer #209153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50819   Customer #209160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50820   Customer #209163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50821   Customer #209170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50822   Customer #209192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50823   Customer #209194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50824   Customer #209205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50825   Customer #209213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50826   Customer #209215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50827   Customer #209219                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50828   Customer #209220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50829   Customer #209222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50830   Customer #209235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50831   Customer #209237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50832   Customer #209243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50833   Customer #209250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50834   Customer #209251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50835   Customer #209260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50836   Customer #209268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50837   Customer #209270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50838   Customer #209271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50839   Customer #209288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50840   Customer #209299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50841   Customer #209300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50842   Customer #209302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50843   Customer #209304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50844   Customer #209308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50845   Customer #209316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50846   Customer #209317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50847   Customer #209320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50848   Customer #209323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50849   Customer #209331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50850   Customer #209339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50851   Customer #209340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50852   Customer #209348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50853   Customer #209350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50854   Customer #209356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50855   Customer #209364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50856   Customer #209939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50857   Customer #209940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50858   Customer #209950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50859   Customer #209951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50860   Customer #209957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50861   Customer #209962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50862   Customer #209963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50863   Customer #209969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50864   Customer #209973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50865   Customer #209981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50866   Customer #209987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50867   Customer #209989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50868   Customer #209999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50869   Customer #210000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50870   Customer #210013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50871   Customer #210014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50872   Customer #210015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50873   Customer #210016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50874   Customer #210017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50875   Customer #210024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50876   Customer #210029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50877   Customer #210030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50878   Customer #210031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50879   Customer #210032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50880   Customer #210036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50881   Customer #210038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50882   Customer #210040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50883   Customer #210042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50884   Customer #210359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50885   Customer #210362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50886   Customer #210391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50887   Customer #210402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50888   Customer #210403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50889   Customer #210405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50890   Customer #210407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50891   Customer #210408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50892   Customer #210412                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50893   Customer #210413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50894   Customer #210419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50895   Customer #210420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50896   Customer #210422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50897   Customer #210423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50898   Customer #210424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50899   Customer #210425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50900   Customer #210430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50901   Customer #210431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50902   Customer #210434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50903   Customer #210435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50904   Customer #210452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50905   Customer #210464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50906   Customer #210472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50907   Customer #210477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50908   Customer #210478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50909   Customer #210517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50910   Customer #210528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50911   Customer #210533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50912   Customer #210543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50913   Customer #210548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50914   Customer #210572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50915   Customer #210575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50916   Customer #210580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50917   Customer #210603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50918   Customer #210611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50919   Customer #210614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50920   Customer #210619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50921   Customer #210625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50922   Customer #210627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50923   Customer #210643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50924   Customer #210644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50925   Customer #210650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50926   Customer #210656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50927   Customer #210658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50928   Customer #210663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50929   Customer #210671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50930   Customer #210676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50931   Customer #210677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50932   Customer #210678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50933   Customer #210696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50934   Customer #210701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50935   Customer #210702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50936   Customer #210703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50937   Customer #210717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50938   Customer #210717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50939   Customer #210720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50940   Customer #210721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50941   Customer #210722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50942   Customer #210723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50943   Customer #210727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50944   Customer #210730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50945   Customer #210732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50946   Customer #210737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50947   Customer #210738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50948   Customer #210744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50949   Customer #210745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50950   Customer #210748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50951   Customer #210752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50952   Customer #210753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50953   Customer #210754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50954   Customer #210759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50955   Customer #210771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50956   Customer #210771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50957   Customer #210784                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.50958   Customer #210810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50959   Customer #210833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50960   Customer #210855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50961   Customer #210856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50962   Customer #210857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50963   Customer #210859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50964   Customer #210861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50965   Customer #210867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50966   Customer #210870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50967   Customer #210876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50968   Customer #210881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50969   Customer #210882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50970   Customer #210890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50971   Customer #210893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50972   Customer #210894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50973   Customer #210899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50974   Customer #210901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50975   Customer #210911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50976   Customer #210924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50977   Customer #210926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50978   Customer #210960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50979   Customer #210961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50980   Customer #210965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50981   Customer #210968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50982   Customer #210972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50983   Customer #210973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50984   Customer #210983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50985   Customer #210984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50986   Customer #210986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50987   Customer #210994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50988   Customer #210996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50989   Customer #211006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50990   Customer #211008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50991   Customer #211009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50992   Customer #211019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50993   Customer #211023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50994   Customer #211032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50995   Customer #211036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50996   Customer #211039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50997   Customer #211040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50998   Customer #211043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.50999   Customer #211047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51000   Customer #211053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51001   Customer #211057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51002   Customer #211061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51003   Customer #211064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51004   Customer #211065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51005   Customer #211074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51006   Customer #211077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51007   Customer #211082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51008   Customer #211083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51009   Customer #211084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51010   Customer #211091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51011   Customer #211108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51012   Customer #211114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51013   Customer #211125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51014   Customer #211148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51015   Customer #211151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51016   Customer #211165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51017   Customer #211166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51018   Customer #211167                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51019   Customer #211168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51020   Customer #211178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51021   Customer #211179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51022   Customer #211203                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51023   Customer #211209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51024   Customer #211211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51025   Customer #211214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51026   Customer #211218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51027   Customer #211222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51028   Customer #211224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51029   Customer #211225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51030   Customer #211226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51031   Customer #211230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51032   Customer #211242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51033   Customer #211245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51034   Customer #211249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51035   Customer #211267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51036   Customer #211270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51037   Customer #211271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51038   Customer #211275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51039   Customer #211276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51040   Customer #211278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51041   Customer #211288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51042   Customer #211290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51043   Customer #211301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51044   Customer #211303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51045   Customer #211309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51046   Customer #211312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51047   Customer #211317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51048   Customer #211318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51049   Customer #211324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51050   Customer #211338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51051   Customer #211340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51052   Customer #211342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51053   Customer #211342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51054   Customer #211354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51055   Customer #211374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51056   Customer #211381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51057   Customer #211382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51058   Customer #211383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51059   Customer #211385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51060   Customer #211391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51061   Customer #211393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51062   Customer #211400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51063   Customer #211409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51064   Customer #211412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51065   Customer #211413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51066   Customer #211415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51067   Customer #211416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51068   Customer #211430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51069   Customer #211433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51070   Customer #211434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51071   Customer #211455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51072   Customer #211459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51073   Customer #211463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51074   Customer #211466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51075   Customer #211484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51076   Customer #211490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51077   Customer #211494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51078   Customer #211498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51079   Customer #211515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51080   Customer #211518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51081   Customer #211519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51082   Customer #211524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51083   Customer #211545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51084   Customer #211557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51085   Customer #211561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51086   Customer #211562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51087   Customer #211570                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51088   Customer #211571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51089   Customer #211574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51090   Customer #211586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51091   Customer #211588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51092   Customer #211592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51093   Customer #211594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51094   Customer #211595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51095   Customer #211596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51096   Customer #211597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51097   Customer #211599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51098   Customer #211602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51099   Customer #211603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51100   Customer #211604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51101   Customer #211606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51102   Customer #211607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51103   Customer #211623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51104   Customer #211624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51105   Customer #211625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51106   Customer #211629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51107   Customer #211635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51108   Customer #211636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51109   Customer #211637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51110   Customer #211639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51111   Customer #211641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51112   Customer #211646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51113   Customer #211663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51114   Customer #211666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51115   Customer #211673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51116   Customer #211678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51117   Customer #211679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51118   Customer #211683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51119   Customer #211703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51120   Customer #211709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51121   Customer #211712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51122   Customer #211716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51123   Customer #211737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51124   Customer #211745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51125   Customer #211781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51126   Customer #211796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51127   Customer #211816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51128   Customer #211818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51129   Customer #211828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51130   Customer #211829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51131   Customer #211830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51132   Customer #211831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51133   Customer #211835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51134   Customer #211846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51135   Customer #211853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51136   Customer #211854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51137   Customer #211859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51138   Customer #211867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51139   Customer #211869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51140   Customer #211870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51141   Customer #211873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51142   Customer #211874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51143   Customer #211875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51144   Customer #211876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51145   Customer #211877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51146   Customer #211882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51147   Customer #211883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51148   Customer #211897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51149   Customer #211907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51150   Customer #211909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51151   Customer #211914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51152   Customer #211921                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51153   Customer #211924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51154   Customer #211925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51155   Customer #211933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51156   Customer #211933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51157   Customer #211934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51158   Customer #211937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51159   Customer #211940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51160   Customer #211962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51161   Customer #211965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51162   Customer #211972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51163   Customer #211973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51164   Customer #211978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51165   Customer #211982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51166   Customer #211983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51167   Customer #212009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51168   Customer #212013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51169   Customer #212015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51170   Customer #212019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51171   Customer #212022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51172   Customer #212027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51173   Customer #212028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51174   Customer #212029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51175   Customer #212030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51176   Customer #212034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51177   Customer #212037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51178   Customer #212056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51179   Customer #212058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51180   Customer #212059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51181   Customer #212060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51182   Customer #212064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51183   Customer #212065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51184   Customer #212071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51185   Customer #212075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51186   Customer #212076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51187   Customer #212079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51188   Customer #212080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51189   Customer #212084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51190   Customer #212090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51191   Customer #212104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51192   Customer #212109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51193   Customer #212134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51194   Customer #212138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51195   Customer #212147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51196   Customer #212150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51197   Customer #212160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51198   Customer #212163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51199   Customer #212176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51200   Customer #212188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51201   Customer #212190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51202   Customer #212191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51203   Customer #212200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51204   Customer #212205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51205   Customer #212214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51206   Customer #212217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51207   Customer #212233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51208   Customer #212247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51209   Customer #212250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51210   Customer #212250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51211   Customer #212250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51212   Customer #212254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51213   Customer #212295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51214   Customer #212302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51215   Customer #212312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51216   Customer #212320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51217   Customer #212322                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51218   Customer #212323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51219   Customer #212324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51220   Customer #212328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51221   Customer #212333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51222   Customer #212340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51223   Customer #212352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51224   Customer #212371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51225   Customer #212405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51226   Customer #212410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51227   Customer #212412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51228   Customer #212413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51229   Customer #212421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51230   Customer #212434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51231   Customer #212435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51232   Customer #212451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51233   Customer #212452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51234   Customer #212453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51235   Customer #212456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51236   Customer #212457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51237   Customer #212464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51238   Customer #212465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51239   Customer #212468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51240   Customer #212481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51241   Customer #212488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51242   Customer #212533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51243   Customer #212534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51244   Customer #212538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51245   Customer #212542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51246   Customer #212543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51247   Customer #212544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51248   Customer #212554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51249   Customer #212558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51250   Customer #212588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51251   Customer #212619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51252   Customer #212620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51253   Customer #212630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51254   Customer #212638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51255   Customer #212645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51256   Customer #212648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51257   Customer #212653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51258   Customer #212687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51259   Customer #212688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51260   Customer #212693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51261   Customer #212710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51262   Customer #212711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51263   Customer #212713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51264   Customer #212716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51265   Customer #212717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51266   Customer #212731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51267   Customer #212734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51268   Customer #212739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51269   Customer #212741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51270   Customer #212756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51271   Customer #212757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51272   Customer #212760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51273   Customer #212763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51274   Customer #212765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51275   Customer #212773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51276   Customer #212775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51277   Customer #212777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51278   Customer #212799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51279   Customer #212822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51280   Customer #212829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51281   Customer #212841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51282   Customer #212852                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51283   Customer #212888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51284   Customer #212891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51285   Customer #212892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51286   Customer #212897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51287   Customer #212904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51288   Customer #212905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51289   Customer #212907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51290   Customer #212913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51291   Customer #212917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51292   Customer #212922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51293   Customer #212926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51294   Customer #212929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51295   Customer #212934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51296   Customer #212937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51297   Customer #212939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51298   Customer #212941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51299   Customer #212952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51300   Customer #212954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51301   Customer #212956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51302   Customer #212962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51303   Customer #212964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51304   Customer #212966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51305   Customer #212970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51306   Customer #212972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51307   Customer #212974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51308   Customer #212998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51309   Customer #213000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51310   Customer #213015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51311   Customer #213017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51312   Customer #213024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51313   Customer #213027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51314   Customer #213030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51315   Customer #213038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51316   Customer #213039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51317   Customer #213043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51318   Customer #213044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51319   Customer #213055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51320   Customer #213057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51321   Customer #213057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51322   Customer #213061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51323   Customer #213064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51324   Customer #213076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51325   Customer #213079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51326   Customer #213081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51327   Customer #213094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51328   Customer #213099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51329   Customer #213102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51330   Customer #213103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51331   Customer #213111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51332   Customer #213112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51333   Customer #213113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51334   Customer #213116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51335   Customer #213117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51336   Customer #213124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51337   Customer #213126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51338   Customer #213127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51339   Customer #213128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51340   Customer #213133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51341   Customer #213134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51342   Customer #213136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51343   Customer #213143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51344   Customer #213157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51345   Customer #213160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51346   Customer #213163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51347   Customer #213168                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51348   Customer #213171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51349   Customer #213176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51350   Customer #213181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51351   Customer #213186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51352   Customer #213208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51353   Customer #213215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51354   Customer #213216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51355   Customer #213220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51356   Customer #213221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51357   Customer #213232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51358   Customer #213233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51359   Customer #213240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51360   Customer #213241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51361   Customer #213243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51362   Customer #213248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51363   Customer #213250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51364   Customer #213253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51365   Customer #213256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51366   Customer #213258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51367   Customer #213262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51368   Customer #213268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51369   Customer #213271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51370   Customer #213286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51371   Customer #213290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51372   Customer #213303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51373   Customer #213323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51374   Customer #213326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51375   Customer #213329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51376   Customer #213343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51377   Customer #213353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51378   Customer #213354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51379   Customer #213355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51380   Customer #213364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51381   Customer #213386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51382   Customer #213387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51383   Customer #213389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51384   Customer #213391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51385   Customer #213394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51386   Customer #213395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51387   Customer #213401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51388   Customer #213402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51389   Customer #213404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51390   Customer #213408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51391   Customer #213413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51392   Customer #213414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51393   Customer #213415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51394   Customer #213420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51395   Customer #213421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51396   Customer #213438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51397   Customer #213448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51398   Customer #213452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51399   Customer #213453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51400   Customer #213462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51401   Customer #213463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51402   Customer #213468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51403   Customer #213469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51404   Customer #213471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51405   Customer #213484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51406   Customer #213487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51407   Customer #213495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51408   Customer #213496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51409   Customer #213500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51410   Customer #213501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51411   Customer #213503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51412   Customer #213504                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51413   Customer #213508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51414   Customer #213512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51415   Customer #213516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51416   Customer #213517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51417   Customer #213525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51418   Customer #213528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51419   Customer #213539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51420   Customer #213540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51421   Customer #213542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51422   Customer #213545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51423   Customer #213546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51424   Customer #213551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51425   Customer #213573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51426   Customer #213583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51427   Customer #213596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51428   Customer #213607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51429   Customer #213608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51430   Customer #213615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51431   Customer #213618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51432   Customer #213629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51433   Customer #213631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51434   Customer #213635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51435   Customer #213639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51436   Customer #213647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51437   Customer #213657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51438   Customer #213664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51439   Customer #213666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51440   Customer #213668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51441   Customer #213672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51442   Customer #213675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51443   Customer #213676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51444   Customer #213678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51445   Customer #213680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51446   Customer #213684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51447   Customer #213685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51448   Customer #213687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51449   Customer #213693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51450   Customer #213694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51451   Customer #213695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51452   Customer #213697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51453   Customer #213701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51454   Customer #213704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51455   Customer #213706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51456   Customer #213709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51457   Customer #213710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51458   Customer #213712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51459   Customer #213719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51460   Customer #213721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51461   Customer #213735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51462   Customer #213745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51463   Customer #213749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51464   Customer #213761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51465   Customer #213779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51466   Customer #213784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51467   Customer #213792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51468   Customer #213794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51469   Customer #213803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51470   Customer #213805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51471   Customer #213806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51472   Customer #213808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51473   Customer #213810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51474   Customer #213811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51475   Customer #213814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51476   Customer #213817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51477   Customer #213822                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51478   Customer #213823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51479   Customer #213825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51480   Customer #213832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51481   Customer #213846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51482   Customer #213849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51483   Customer #213850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51484   Customer #213855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51485   Customer #213859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51486   Customer #213866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51487   Customer #213879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51488   Customer #213881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51489   Customer #213884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51490   Customer #213885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51491   Customer #213886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51492   Customer #213889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51493   Customer #213902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51494   Customer #213903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51495   Customer #213907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51496   Customer #213911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51497   Customer #213918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51498   Customer #213944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51499   Customer #213945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51500   Customer #213946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51501   Customer #213949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51502   Customer #213951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51503   Customer #213952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51504   Customer #213953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51505   Customer #213955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51506   Customer #213956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51507   Customer #213961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51508   Customer #213964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51509   Customer #213965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51510   Customer #213972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51511   Customer #213973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51512   Customer #213983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51513   Customer #213988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51514   Customer #213993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51515   Customer #213996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51516   Customer #213997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51517   Customer #214003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51518   Customer #214009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51519   Customer #214010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51520   Customer #214017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51521   Customer #214019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51522   Customer #214020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51523   Customer #214026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51524   Customer #214028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51525   Customer #214030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51526   Customer #214033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51527   Customer #214036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51528   Customer #214041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51529   Customer #214046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51530   Customer #214061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51531   Customer #214062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51532   Customer #214063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51533   Customer #214069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51534   Customer #214078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51535   Customer #214080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51536   Customer #214082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51537   Customer #214083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51538   Customer #214084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51539   Customer #214094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51540   Customer #214103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51541   Customer #214115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51542   Customer #214132                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51543   Customer #214134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51544   Customer #214136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51545   Customer #214141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51546   Customer #214142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51547   Customer #214143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51548   Customer #214147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51549   Customer #214151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51550   Customer #214156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51551   Customer #214165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51552   Customer #214185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51553   Customer #214200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51554   Customer #214207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51555   Customer #214211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51556   Customer #214220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51557   Customer #214222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51558   Customer #214225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51559   Customer #214226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51560   Customer #214227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51561   Customer #214246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51562   Customer #214257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51563   Customer #214267                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51564   Customer #214269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51565   Customer #214270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51566   Customer #214275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51567   Customer #214277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51568   Customer #214278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51569   Customer #214288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51570   Customer #214289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51571   Customer #214294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51572   Customer #214294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51573   Customer #214294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51574   Customer #214299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51575   Customer #214302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51576   Customer #214316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51577   Customer #214317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51578   Customer #214328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51579   Customer #214335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51580   Customer #214337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51581   Customer #214339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51582   Customer #214343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51583   Customer #214349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51584   Customer #214356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51585   Customer #214378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51586   Customer #214380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51587   Customer #214381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51588   Customer #214382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51589   Customer #214383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51590   Customer #214385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51591   Customer #214388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51592   Customer #214395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51593   Customer #214407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51594   Customer #214417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51595   Customer #214418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51596   Customer #214429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51597   Customer #214440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51598   Customer #214457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51599   Customer #214458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51600   Customer #214462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51601   Customer #214465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51602   Customer #214469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51603   Customer #214470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51604   Customer #214471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51605   Customer #214481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51606   Customer #214484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51607   Customer #214486                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51608   Customer #214490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51609   Customer #214493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51610   Customer #214494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51611   Customer #214497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51612   Customer #214501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51613   Customer #214503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51614   Customer #214507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51615   Customer #214509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51616   Customer #214516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51617   Customer #214521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51618   Customer #214522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51619   Customer #214537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51620   Customer #214541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51621   Customer #214542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51622   Customer #214555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51623   Customer #214556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51624   Customer #214570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51625   Customer #214579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51626   Customer #214582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51627   Customer #214583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51628   Customer #214585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51629   Customer #214585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51630   Customer #214592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51631   Customer #214593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51632   Customer #214600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51633   Customer #214605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51634   Customer #214610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51635   Customer #214616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51636   Customer #214620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51637   Customer #214622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51638   Customer #214628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51639   Customer #214635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51640   Customer #214639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51641   Customer #214666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51642   Customer #214670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51643   Customer #214674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51644   Customer #214679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51645   Customer #214680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51646   Customer #214691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51647   Customer #214697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51648   Customer #214699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51649   Customer #214711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51650   Customer #214715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51651   Customer #214716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51652   Customer #214717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51653   Customer #214718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51654   Customer #214719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51655   Customer #214720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51656   Customer #214723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51657   Customer #214724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51658   Customer #214725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51659   Customer #214728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51660   Customer #214729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51661   Customer #214730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51662   Customer #214731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51663   Customer #214735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51664   Customer #214751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51665   Customer #214760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51666   Customer #214764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51667   Customer #214769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51668   Customer #214770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51669   Customer #214775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51670   Customer #214775                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51671   Customer #214776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51672   Customer #214779                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51673   Customer #214783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51674   Customer #214784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51675   Customer #214786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51676   Customer #214796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51677   Customer #214802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51678   Customer #214803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51679   Customer #214812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51680   Customer #214814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51681   Customer #214816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51682   Customer #214836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51683   Customer #214851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51684   Customer #214872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51685   Customer #214880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51686   Customer #214886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51687   Customer #214894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51688   Customer #214900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51689   Customer #214905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51690   Customer #214910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51691   Customer #214918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51692   Customer #214918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51693   Customer #214921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51694   Customer #214924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51695   Customer #214926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51696   Customer #214933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51697   Customer #214934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51698   Customer #214936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51699   Customer #214938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51700   Customer #214939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51701   Customer #214942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51702   Customer #214945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51703   Customer #214946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51704   Customer #214947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51705   Customer #214953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51706   Customer #214954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51707   Customer #214957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51708   Customer #214966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51709   Customer #214972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51710   Customer #214976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51711   Customer #214996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51712   Customer #214998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51713   Customer #214999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51714   Customer #215000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51715   Customer #215001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51716   Customer #215008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51717   Customer #215029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51718   Customer #215032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51719   Customer #215034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51720   Customer #215046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51721   Customer #215047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51722   Customer #215048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51723   Customer #215064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51724   Customer #215065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51725   Customer #215075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51726   Customer #215076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51727   Customer #215092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51728   Customer #215099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51729   Customer #215100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51730   Customer #215106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51731   Customer #215119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51732   Customer #215120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51733   Customer #215121                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51734   Customer #215122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51735   Customer #215127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51736   Customer #215146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51737   Customer #215149                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51738   Customer #215154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51739   Customer #215157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51740   Customer #215160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51741   Customer #215170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51742   Customer #215172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51743   Customer #215191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51744   Customer #215198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51745   Customer #215199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51746   Customer #215201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51747   Customer #215203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51748   Customer #215212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51749   Customer #215225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51750   Customer #215229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51751   Customer #215243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51752   Customer #215246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51753   Customer #215251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51754   Customer #215253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51755   Customer #215257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51756   Customer #215258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51757   Customer #215264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51758   Customer #215266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51759   Customer #215290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51760   Customer #215294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51761   Customer #215300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51762   Customer #215309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51763   Customer #215312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51764   Customer #215340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51765   Customer #215348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51766   Customer #215357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51767   Customer #215359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51768   Customer #215361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51769   Customer #215362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51770   Customer #215370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51771   Customer #215371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51772   Customer #215381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51773   Customer #215382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51774   Customer #215383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51775   Customer #215385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51776   Customer #215391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51777   Customer #215392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51778   Customer #215393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51779   Customer #215396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51780   Customer #215401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51781   Customer #215402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51782   Customer #215416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51783   Customer #215418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51784   Customer #215424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51785   Customer #215433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51786   Customer #215434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51787   Customer #215437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51788   Customer #215439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51789   Customer #215441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51790   Customer #215447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51791   Customer #215448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51792   Customer #215451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51793   Customer #215456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51794   Customer #215466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51795   Customer #215496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51796   Customer #215502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51797   Customer #215504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51798   Customer #215505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51799   Customer #215506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51800   Customer #215510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51801   Customer #215529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51802   Customer #215531                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51803   Customer #215532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51804   Customer #215535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51805   Customer #215537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51806   Customer #215542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51807   Customer #215551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51808   Customer #215560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51809   Customer #215561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51810   Customer #215563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51811   Customer #215570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51812   Customer #215580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51813   Customer #215585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51814   Customer #215594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51815   Customer #215597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51816   Customer #215600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51817   Customer #215604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51818   Customer #215613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51819   Customer #215614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51820   Customer #215618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51821   Customer #215625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51822   Customer #215628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51823   Customer #215630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51824   Customer #215643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51825   Customer #215646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51826   Customer #215652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51827   Customer #215661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51828   Customer #215662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51829   Customer #215663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51830   Customer #215664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51831   Customer #215666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51832   Customer #215667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51833   Customer #215668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51834   Customer #215675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51835   Customer #215683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51836   Customer #215688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51837   Customer #215693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51838   Customer #215711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51839   Customer #215735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51840   Customer #215738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51841   Customer #215751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51842   Customer #215754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51843   Customer #215755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51844   Customer #215756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51845   Customer #215760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51846   Customer #215772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51847   Customer #215776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51848   Customer #215780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51849   Customer #215786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51850   Customer #215787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51851   Customer #215789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51852   Customer #215792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51853   Customer #215793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51854   Customer #215796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51855   Customer #215803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51856   Customer #215804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51857   Customer #215805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51858   Customer #215808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51859   Customer #215834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51860   Customer #215844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51861   Customer #215849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51862   Customer #215853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51863   Customer #215859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51864   Customer #215860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51865   Customer #215862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51866   Customer #215864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51867   Customer #215869                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51868   Customer #215871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51869   Customer #215872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51870   Customer #215873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51871   Customer #215874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51872   Customer #215877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51873   Customer #215878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51874   Customer #215879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51875   Customer #215909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51876   Customer #215911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51877   Customer #215936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51878   Customer #215939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51879   Customer #215947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51880   Customer #215948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51881   Customer #215961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51882   Customer #215965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51883   Customer #215975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51884   Customer #215976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51885   Customer #215976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51886   Customer #215978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51887   Customer #215980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51888   Customer #216000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51889   Customer #216004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51890   Customer #216006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51891   Customer #216017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51892   Customer #216019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51893   Customer #216023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51894   Customer #216033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51895   Customer #216041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51896   Customer #216043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51897   Customer #216059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51898   Customer #216063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51899   Customer #216066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51900   Customer #216067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51901   Customer #216071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51902   Customer #216074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51903   Customer #216080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51904   Customer #216082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51905   Customer #216083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51906   Customer #216086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51907   Customer #216091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51908   Customer #216099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51909   Customer #216102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51910   Customer #216105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51911   Customer #216106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51912   Customer #216109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51913   Customer #216110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51914   Customer #216114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51915   Customer #216116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51916   Customer #216120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51917   Customer #216126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51918   Customer #216128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51919   Customer #216139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51920   Customer #216142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51921   Customer #216143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51922   Customer #216145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51923   Customer #216155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51924   Customer #216157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51925   Customer #216158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51926   Customer #216160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51927   Customer #216164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51928   Customer #216165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51929   Customer #216171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51930   Customer #216187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51931   Customer #216192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51932   Customer #216196                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51933   Customer #216198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51934   Customer #216206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51935   Customer #216207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51936   Customer #216210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51937   Customer #216221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51938   Customer #216238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51939   Customer #216239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51940   Customer #216242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51941   Customer #216250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51942   Customer #216280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51943   Customer #216294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51944   Customer #216297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51945   Customer #216308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51946   Customer #216353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51947   Customer #216365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51948   Customer #216367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51949   Customer #216375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51950   Customer #216378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51951   Customer #216380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51952   Customer #216384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51953   Customer #216386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51954   Customer #216387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51955   Customer #216392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51956   Customer #216395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51957   Customer #216402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51958   Customer #216406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51959   Customer #216408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51960   Customer #216420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51961   Customer #216423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51962   Customer #216424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51963   Customer #216430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51964   Customer #216457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51965   Customer #216467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51966   Customer #216469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51967   Customer #216486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51968   Customer #216501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51969   Customer #216502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51970   Customer #216514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51971   Customer #216516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51972   Customer #216520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51973   Customer #216530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51974   Customer #216546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51975   Customer #216547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51976   Customer #216572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51977   Customer #216573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51978   Customer #216587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51979   Customer #216600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51980   Customer #216607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51981   Customer #216616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51982   Customer #216647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51983   Customer #216650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51984   Customer #216655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51985   Customer #216669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51986   Customer #216684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51987   Customer #216685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51988   Customer #216700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51989   Customer #216740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51990   Customer #216750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51991   Customer #216756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51992   Customer #216760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51993   Customer #216784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51994   Customer #216790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51995   Customer #216793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51996   Customer #216794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51997   Customer #216801                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.51998   Customer #216816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.51999   Customer #216820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52000   Customer #216844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52001   Customer #216861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52002   Customer #216868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52003   Customer #216870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52004   Customer #216871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52005   Customer #216878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52006   Customer #216883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52007   Customer #216888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52008   Customer #216912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52009   Customer #216930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52010   Customer #216942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52011   Customer #216956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52012   Customer #216960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52013   Customer #216969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52014   Customer #216972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52015   Customer #216973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52016   Customer #216984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52017   Customer #216993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52018   Customer #216994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52019   Customer #216997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52020   Customer #217000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52021   Customer #217002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52022   Customer #217003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52023   Customer #217004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52024   Customer #217010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52025   Customer #217014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52026   Customer #217017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52027   Customer #217018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52028   Customer #217024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52029   Customer #217025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52030   Customer #217029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52031   Customer #217037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52032   Customer #217039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52033   Customer #217040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52034   Customer #217041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52035   Customer #217044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52036   Customer #217046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52037   Customer #217048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52038   Customer #217049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52039   Customer #217060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52040   Customer #217066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52041   Customer #217080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52042   Customer #217084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52043   Customer #217085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52044   Customer #217087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52045   Customer #217088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52046   Customer #217098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52047   Customer #217099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52048   Customer #217102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52049   Customer #217105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52050   Customer #217106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52051   Customer #217107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52052   Customer #217109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52053   Customer #217122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52054   Customer #217123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52055   Customer #217132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52056   Customer #217138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52057   Customer #217143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52058   Customer #217158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52059   Customer #217170                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52060   Customer #217171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52061   Customer #217173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52062   Customer #217179                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52063   Customer #217180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52064   Customer #217182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52065   Customer #217191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52066   Customer #217220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52067   Customer #217226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52068   Customer #217232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52069   Customer #217234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52070   Customer #217240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52071   Customer #217248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52072   Customer #217249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52073   Customer #217253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52074   Customer #217255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52075   Customer #217256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52076   Customer #217258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52077   Customer #217260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52078   Customer #217260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52079   Customer #217266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52080   Customer #217269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52081   Customer #217272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52082   Customer #217274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52083   Customer #217276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52084   Customer #217278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52085   Customer #217287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52086   Customer #217291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52087   Customer #217329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52088   Customer #217339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52089   Customer #217352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52090   Customer #217353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52091   Customer #217354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52092   Customer #217355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52093   Customer #217362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52094   Customer #217383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52095   Customer #217386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52096   Customer #217387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52097   Customer #217391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52098   Customer #217392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52099   Customer #217393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52100   Customer #217393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52101   Customer #217401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52102   Customer #217411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52103   Customer #217417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52104   Customer #217419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52105   Customer #217424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52106   Customer #217429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52107   Customer #217433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52108   Customer #217437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52109   Customer #217442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52110   Customer #217445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52111   Customer #217453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52112   Customer #217469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52113   Customer #217486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52114   Customer #217490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52115   Customer #217505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52116   Customer #217517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52117   Customer #217518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52118   Customer #217525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52119   Customer #217526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52120   Customer #217529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52121   Customer #217530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52122   Customer #217543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52123   Customer #217544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52124   Customer #217547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52125   Customer #217551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52126   Customer #217552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52127   Customer #217558                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52128   Customer #217560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52129   Customer #217561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52130   Customer #217562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52131   Customer #217566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52132   Customer #217574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52133   Customer #217575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52134   Customer #217577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52135   Customer #217578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52136   Customer #217586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52137   Customer #217591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52138   Customer #217596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52139   Customer #217604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52140   Customer #217608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52141   Customer #217609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52142   Customer #217611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52143   Customer #217622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52144   Customer #217630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52145   Customer #217633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52146   Customer #217638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52147   Customer #217647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52148   Customer #217689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52149   Customer #217696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52150   Customer #217697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52151   Customer #217700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52152   Customer #217705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52153   Customer #217719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52154   Customer #217726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52155   Customer #217731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52156   Customer #217735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52157   Customer #217736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52158   Customer #217740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52159   Customer #217744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52160   Customer #217745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52161   Customer #217747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52162   Customer #217750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52163   Customer #217760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52164   Customer #217763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52165   Customer #217781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52166   Customer #217783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52167   Customer #217792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52168   Customer #217799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52169   Customer #217801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52170   Customer #217803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52171   Customer #217804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52172   Customer #217805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52173   Customer #217819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52174   Customer #217821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52175   Customer #217822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52176   Customer #217824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52177   Customer #217827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52178   Customer #217828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52179   Customer #217833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52180   Customer #217837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52181   Customer #217840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52182   Customer #217852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52183   Customer #217876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52184   Customer #217895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52185   Customer #217903                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52186   Customer #217908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52187   Customer #217909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52188   Customer #217912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52189   Customer #217917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52190   Customer #217928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52191   Customer #217930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52192   Customer #217941                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52193   Customer #217946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52194   Customer #217955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52195   Customer #217967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52196   Customer #217972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52197   Customer #217977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52198   Customer #217989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52199   Customer #217995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52200   Customer #217996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52201   Customer #218004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52202   Customer #218005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52203   Customer #218011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52204   Customer #218012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52205   Customer #218020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52206   Customer #218022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52207   Customer #218026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52208   Customer #218041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52209   Customer #218050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52210   Customer #218052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52211   Customer #218060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52212   Customer #218061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52213   Customer #218062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52214   Customer #218066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52215   Customer #218084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52216   Customer #218086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52217   Customer #218087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52218   Customer #218088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52219   Customer #218104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52220   Customer #218105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52221   Customer #218106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52222   Customer #218108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52223   Customer #218109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52224   Customer #218115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52225   Customer #218120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52226   Customer #218123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52227   Customer #218124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52228   Customer #218133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52229   Customer #218135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52230   Customer #218139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52231   Customer #218140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52232   Customer #218147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52233   Customer #218157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52234   Customer #218158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52235   Customer #218159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52236   Customer #218159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52237   Customer #218164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52238   Customer #218168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52239   Customer #218169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52240   Customer #218174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52241   Customer #218175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52242   Customer #218185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52243   Customer #218186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52244   Customer #218200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52245   Customer #218201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52246   Customer #218206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52247   Customer #218230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52248   Customer #218256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52249   Customer #218275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52250   Customer #218276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52251   Customer #218279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52252   Customer #218280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52253   Customer #218282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52254   Customer #218291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52255   Customer #218292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52256   Customer #218294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52257   Customer #218296                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52258   Customer #218297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52259   Customer #218299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52260   Customer #218300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52261   Customer #218302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52262   Customer #218322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52263   Customer #218323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52264   Customer #218331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52265   Customer #218351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52266   Customer #218355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52267   Customer #218361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52268   Customer #218365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52269   Customer #218377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52270   Customer #218378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52271   Customer #218393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52272   Customer #218404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52273   Customer #218405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52274   Customer #218407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52275   Customer #218410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52276   Customer #218426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52277   Customer #218435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52278   Customer #218454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52279   Customer #218459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52280   Customer #218469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52281   Customer #218471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52282   Customer #218476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52283   Customer #218494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52284   Customer #218502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52285   Customer #218504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52286   Customer #218509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52287   Customer #218512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52288   Customer #218513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52289   Customer #218515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52290   Customer #218528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52291   Customer #218535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52292   Customer #218539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52293   Customer #218543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52294   Customer #218550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52295   Customer #218566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52296   Customer #218575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52297   Customer #218577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52298   Customer #218579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52299   Customer #218601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52300   Customer #218608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52301   Customer #218623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52302   Customer #218642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52303   Customer #218643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52304   Customer #218648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52305   Customer #218657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52306   Customer #218661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52307   Customer #218662                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52308   Customer #218664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52309   Customer #218670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52310   Customer #218675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52311   Customer #218678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52312   Customer #218689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52313   Customer #218697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52314   Customer #218701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52315   Customer #218706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52316   Customer #218715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52317   Customer #218716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52318   Customer #218720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52319   Customer #218728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52320   Customer #218729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52321   Customer #218732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52322   Customer #218739                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52323   Customer #218743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52324   Customer #218744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52325   Customer #218749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52326   Customer #218751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52327   Customer #218753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52328   Customer #218755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52329   Customer #218757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52330   Customer #218766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52331   Customer #218773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52332   Customer #218774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52333   Customer #218779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52334   Customer #218781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52335   Customer #218782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52336   Customer #218802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52337   Customer #218818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52338   Customer #218844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52339   Customer #218851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52340   Customer #218861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52341   Customer #218869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52342   Customer #218872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52343   Customer #218881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52344   Customer #218883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52345   Customer #218886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52346   Customer #218904                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52347   Customer #218905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52348   Customer #218906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52349   Customer #218915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52350   Customer #218925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52351   Customer #218926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52352   Customer #218932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52353   Customer #218935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52354   Customer #218939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52355   Customer #218940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52356   Customer #218957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52357   Customer #218963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52358   Customer #218966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52359   Customer #218974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52360   Customer #218980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52361   Customer #218981                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52362   Customer #218993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52363   Customer #219000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52364   Customer #219006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52365   Customer #219008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52366   Customer #219011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52367   Customer #219012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52368   Customer #219014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52369   Customer #219017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52370   Customer #219038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52371   Customer #219059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52372   Customer #219062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52373   Customer #219063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52374   Customer #219065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52375   Customer #219069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52376   Customer #219071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52377   Customer #219079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52378   Customer #219085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52379   Customer #219086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52380   Customer #219087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52381   Customer #219089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52382   Customer #219091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52383   Customer #219092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52384   Customer #219096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52385   Customer #219100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52386   Customer #219108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52387   Customer #219113                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52388   Customer #219118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52389   Customer #219143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52390   Customer #219146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52391   Customer #219149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52392   Customer #219152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52393   Customer #219158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52394   Customer #219159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52395   Customer #219171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52396   Customer #219177                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52397   Customer #219178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52398   Customer #219188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52399   Customer #219188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52400   Customer #219188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52401   Customer #219201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52402   Customer #219204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52403   Customer #219214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52404   Customer #219217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52405   Customer #219218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52406   Customer #219225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52407   Customer #219226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52408   Customer #219237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52409   Customer #219238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52410   Customer #219240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52411   Customer #219247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52412   Customer #219263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52413   Customer #219266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52414   Customer #219269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52415   Customer #219278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52416   Customer #219281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52417   Customer #219289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52418   Customer #219295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52419   Customer #219296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52420   Customer #219297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52421   Customer #219298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52422   Customer #219303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52423   Customer #219304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52424   Customer #219309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52425   Customer #219315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52426   Customer #219323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52427   Customer #219324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52428   Customer #219328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52429   Customer #219330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52430   Customer #219341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52431   Customer #219350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52432   Customer #219374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52433   Customer #219376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52434   Customer #219378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52435   Customer #219380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52436   Customer #219385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52437   Customer #219390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52438   Customer #219391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52439   Customer #219392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52440   Customer #219399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52441   Customer #219403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52442   Customer #219404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52443   Customer #219405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52444   Customer #219413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52445   Customer #219415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52446   Customer #219418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52447   Customer #219439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52448   Customer #219460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52449   Customer #219463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52450   Customer #219471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52451   Customer #219479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52452   Customer #219504                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52453   Customer #219505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52454   Customer #219512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52455   Customer #219513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52456   Customer #219515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52457   Customer #219516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52458   Customer #219518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52459   Customer #219526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52460   Customer #219533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52461   Customer #219535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52462   Customer #219541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52463   Customer #219543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52464   Customer #219552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52465   Customer #219561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52466   Customer #219562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52467   Customer #219574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52468   Customer #219576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52469   Customer #219577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52470   Customer #219578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52471   Customer #219593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52472   Customer #219594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52473   Customer #219595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52474   Customer #219598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52475   Customer #219603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52476   Customer #219605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52477   Customer #219608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52478   Customer #219616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52479   Customer #219620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52480   Customer #219624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52481   Customer #219632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52482   Customer #219633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52483   Customer #219634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52484   Customer #219641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52485   Customer #219644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52486   Customer #219647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52487   Customer #219649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52488   Customer #219650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52489   Customer #219659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52490   Customer #219669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52491   Customer #219671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52492   Customer #219672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52493   Customer #219678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52494   Customer #219683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52495   Customer #219684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52496   Customer #219688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52497   Customer #219693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52498   Customer #219696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52499   Customer #219697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52500   Customer #219698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52501   Customer #219709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52502   Customer #219710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52503   Customer #219712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52504   Customer #219736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52505   Customer #219739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52506   Customer #219747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52507   Customer #219751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52508   Customer #219753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52509   Customer #219755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52510   Customer #219755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52511   Customer #219755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52512   Customer #219758                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52513   Customer #219761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52514   Customer #219776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52515   Customer #219779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52516   Customer #219780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52517   Customer #219787                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52518   Customer #219788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52519   Customer #219789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52520   Customer #219791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52521   Customer #219800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52522   Customer #219803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52523   Customer #219805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52524   Customer #219806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52525   Customer #219808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52526   Customer #219819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52527   Customer #219820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52528   Customer #219821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52529   Customer #219823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52530   Customer #219829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52531   Customer #219830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52532   Customer #219835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52533   Customer #219839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52534   Customer #219845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52535   Customer #219852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52536   Customer #219853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52537   Customer #219856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52538   Customer #219857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52539   Customer #219859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52540   Customer #219860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52541   Customer #219861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52542   Customer #219863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52543   Customer #219867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52544   Customer #219868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52545   Customer #219869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52546   Customer #219870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52547   Customer #219872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52548   Customer #219875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52549   Customer #219879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52550   Customer #219882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52551   Customer #219885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52552   Customer #219888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52553   Customer #219890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52554   Customer #219891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52555   Customer #219906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52556   Customer #219909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52557   Customer #219913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52558   Customer #219917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52559   Customer #219919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52560   Customer #219926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52561   Customer #219927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52562   Customer #219931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52563   Customer #219932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52564   Customer #219933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52565   Customer #219935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52566   Customer #219945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52567   Customer #219951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52568   Customer #219952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52569   Customer #219954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52570   Customer #219955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52571   Customer #219956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52572   Customer #219958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52573   Customer #219968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52574   Customer #219969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52575   Customer #219976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52576   Customer #219977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52577   Customer #219978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52578   Customer #219979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52579   Customer #219983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52580   Customer #219986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52581   Customer #219988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52582   Customer #219991                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52583   Customer #219994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52584   Customer #219996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52585   Customer #219998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52586   Customer #220008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52587   Customer #220032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52588   Customer #220034                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52589   Customer #220035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52590   Customer #220038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52591   Customer #220042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52592   Customer #220047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52593   Customer #220049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52594   Customer #220052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52595   Customer #220057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52596   Customer #220065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52597   Customer #220068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52598   Customer #220074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52599   Customer #220077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52600   Customer #220078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52601   Customer #220082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52602   Customer #220087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52603   Customer #220088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52604   Customer #220089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52605   Customer #220091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52606   Customer #220094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52607   Customer #220098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52608   Customer #220102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52609   Customer #220104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52610   Customer #220105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52611   Customer #220106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52612   Customer #220115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52613   Customer #220120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52614   Customer #220128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52615   Customer #220129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52616   Customer #220131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52617   Customer #220136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52618   Customer #220137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52619   Customer #220139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52620   Customer #220140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52621   Customer #220147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52622   Customer #220155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52623   Customer #220159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52624   Customer #220163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52625   Customer #220164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52626   Customer #220166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52627   Customer #220178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52628   Customer #220188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52629   Customer #220195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52630   Customer #220197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52631   Customer #220203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52632   Customer #220206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52633   Customer #220209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52634   Customer #220218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52635   Customer #220235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52636   Customer #220241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52637   Customer #220242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52638   Customer #220252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52639   Customer #220268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52640   Customer #220271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52641   Customer #220281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52642   Customer #220286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52643   Customer #220295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52644   Customer #220296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52645   Customer #220297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52646   Customer #220298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52647   Customer #220302                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52648   Customer #220305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52649   Customer #220308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52650   Customer #220310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52651   Customer #220311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52652   Customer #220316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52653   Customer #220322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52654   Customer #220324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52655   Customer #220336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52656   Customer #220340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52657   Customer #220345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52658   Customer #220351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52659   Customer #220355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52660   Customer #220362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52661   Customer #220368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52662   Customer #220374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52663   Customer #220378                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52664   Customer #220379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52665   Customer #220382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52666   Customer #220383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52667   Customer #220389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52668   Customer #220397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52669   Customer #220401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52670   Customer #220402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52671   Customer #220403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52672   Customer #220407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52673   Customer #220413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52674   Customer #220414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52675   Customer #220417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52676   Customer #220421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52677   Customer #220422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52678   Customer #220424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52679   Customer #220426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52680   Customer #220432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52681   Customer #220433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52682   Customer #220441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52683   Customer #220443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52684   Customer #220446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52685   Customer #220447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52686   Customer #220450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52687   Customer #220451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52688   Customer #220452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52689   Customer #220453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52690   Customer #220454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52691   Customer #220455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52692   Customer #220464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52693   Customer #220465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52694   Customer #220468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52695   Customer #220476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52696   Customer #220477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52697   Customer #220479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52698   Customer #220481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52699   Customer #220482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52700   Customer #220484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52701   Customer #220485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52702   Customer #220486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52703   Customer #220487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52704   Customer #220490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52705   Customer #220492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52706   Customer #220494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52707   Customer #220499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52708   Customer #220503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52709   Customer #220504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52710   Customer #220509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52711   Customer #220514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52712   Customer #220541                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52713   Customer #220542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52714   Customer #220543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52715   Customer #220550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52716   Customer #220554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52717   Customer #220558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52718   Customer #220559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52719   Customer #220568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52720   Customer #220569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52721   Customer #220571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52722   Customer #220572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52723   Customer #220575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52724   Customer #220576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52725   Customer #220577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52726   Customer #220582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52727   Customer #220583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52728   Customer #220584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52729   Customer #220586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52730   Customer #220595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52731   Customer #220596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52732   Customer #220606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52733   Customer #220607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52734   Customer #220608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52735   Customer #220609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52736   Customer #220618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52737   Customer #220622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52738   Customer #220623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52739   Customer #220626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52740   Customer #220627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52741   Customer #220629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52742   Customer #220634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52743   Customer #220640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52744   Customer #220644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52745   Customer #220645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52746   Customer #220649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52747   Customer #220671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52748   Customer #220690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52749   Customer #220695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52750   Customer #220702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52751   Customer #220703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52752   Customer #220705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52753   Customer #220709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52754   Customer #220711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52755   Customer #220712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52756   Customer #220715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52757   Customer #220717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52758   Customer #220731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52759   Customer #220732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52760   Customer #220737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52761   Customer #220741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52762   Customer #220745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52763   Customer #220747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52764   Customer #220751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52765   Customer #220752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52766   Customer #220754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52767   Customer #220755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52768   Customer #220759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52769   Customer #220769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52770   Customer #220771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52771   Customer #220772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52772   Customer #220784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52773   Customer #220787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52774   Customer #220796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52775   Customer #220799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52776   Customer #220802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52777   Customer #220803                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52778   Customer #220804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52779   Customer #220807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52780   Customer #220809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52781   Customer #220811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52782   Customer #220813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52783   Customer #220824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52784   Customer #220836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52785   Customer #220837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52786   Customer #220839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52787   Customer #220841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52788   Customer #220844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52789   Customer #220853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52790   Customer #220859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52791   Customer #220860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52792   Customer #220868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52793   Customer #220869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52794   Customer #220870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52795   Customer #220871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52796   Customer #220874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52797   Customer #220876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52798   Customer #220881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52799   Customer #220882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52800   Customer #220883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52801   Customer #220887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52802   Customer #220888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52803   Customer #220890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52804   Customer #220891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52805   Customer #220893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52806   Customer #220899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52807   Customer #220909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52808   Customer #220917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52809   Customer #220921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52810   Customer #220922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52811   Customer #220923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52812   Customer #220924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52813   Customer #220927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52814   Customer #220928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52815   Customer #220929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52816   Customer #220943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52817   Customer #220944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52818   Customer #220945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52819   Customer #220954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52820   Customer #220957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52821   Customer #220959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52822   Customer #220964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52823   Customer #220976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52824   Customer #220977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52825   Customer #220979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52826   Customer #220984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52827   Customer #220989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52828   Customer #220990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52829   Customer #220993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52830   Customer #220994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52831   Customer #220996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52832   Customer #220998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52833   Customer #220999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52834   Customer #221000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52835   Customer #221001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52836   Customer #221008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52837   Customer #221013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52838   Customer #221019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52839   Customer #221020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52840   Customer #221022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52841   Customer #221029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52842   Customer #221031                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52843   Customer #221036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52844   Customer #221040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52845   Customer #221041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52846   Customer #221046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52847   Customer #221047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52848   Customer #221048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52849   Customer #221050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52850   Customer #221051                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52851   Customer #221056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52852   Customer #221067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52853   Customer #221071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52854   Customer #221072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52855   Customer #221075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52856   Customer #221079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52857   Customer #221080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52858   Customer #221085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52859   Customer #221087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52860   Customer #221091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52861   Customer #221092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52862   Customer #221094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52863   Customer #221096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52864   Customer #221097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52865   Customer #221098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52866   Customer #221100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52867   Customer #221102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52868   Customer #221102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52869   Customer #221103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52870   Customer #221108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52871   Customer #221110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52872   Customer #221112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52873   Customer #221123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52874   Customer #221126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52875   Customer #221132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52876   Customer #221140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52877   Customer #221141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52878   Customer #221142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52879   Customer #221144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52880   Customer #221147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52881   Customer #221153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52882   Customer #221158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52883   Customer #221159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52884   Customer #221175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52885   Customer #221180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52886   Customer #221183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52887   Customer #221184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52888   Customer #221185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52889   Customer #221186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52890   Customer #221191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52891   Customer #221192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52892   Customer #221194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52893   Customer #221196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52894   Customer #221197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52895   Customer #221199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52896   Customer #221200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52897   Customer #221218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52898   Customer #221231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52899   Customer #221239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52900   Customer #221240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52901   Customer #221242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52902   Customer #221248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52903   Customer #221249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52904   Customer #221251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52905   Customer #221261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52906   Customer #221262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52907   Customer #221265                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52908   Customer #221266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52909   Customer #221268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52910   Customer #221270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52911   Customer #221274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52912   Customer #221275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52913   Customer #221277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52914   Customer #221278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52915   Customer #221287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52916   Customer #221288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52917   Customer #221292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52918   Customer #221305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52919   Customer #221309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52920   Customer #221311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52921   Customer #221312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52922   Customer #221315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52923   Customer #221316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52924   Customer #221317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52925   Customer #221321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52926   Customer #221331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52927   Customer #221335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52928   Customer #221336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52929   Customer #221344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52930   Customer #221346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52931   Customer #221352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52932   Customer #221354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52933   Customer #221360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52934   Customer #221362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52935   Customer #221365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52936   Customer #221367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52937   Customer #221368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52938   Customer #221373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52939   Customer #221374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52940   Customer #221384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52941   Customer #221386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52942   Customer #221388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52943   Customer #221389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52944   Customer #221390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52945   Customer #221392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52946   Customer #221398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52947   Customer #221405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52948   Customer #221410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52949   Customer #221411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52950   Customer #221414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52951   Customer #221416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52952   Customer #221419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52953   Customer #221420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52954   Customer #221421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52955   Customer #221428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52956   Customer #221429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52957   Customer #221430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52958   Customer #221452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52959   Customer #221465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52960   Customer #221469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52961   Customer #221477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52962   Customer #221478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52963   Customer #221479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52964   Customer #221480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52965   Customer #221494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52966   Customer #221499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52967   Customer #221500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52968   Customer #221502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52969   Customer #221509                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52970   Customer #221512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52971   Customer #221513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52972   Customer #221514                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.52973   Customer #221516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52974   Customer #221518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52975   Customer #221520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52976   Customer #221523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52977   Customer #221532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52978   Customer #221537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52979   Customer #221540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52980   Customer #221541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52981   Customer #221543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52982   Customer #221545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52983   Customer #221549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52984   Customer #221552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52985   Customer #221553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52986   Customer #221555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52987   Customer #221558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52988   Customer #221560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52989   Customer #221561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52990   Customer #221565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52991   Customer #221566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52992   Customer #221567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52993   Customer #221570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52994   Customer #221570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52995   Customer #221573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52996   Customer #221576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52997   Customer #221582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52998   Customer #221583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.52999   Customer #221590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53000   Customer #221591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53001   Customer #221592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53002   Customer #221594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53003   Customer #221599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53004   Customer #221607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53005   Customer #221608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53006   Customer #221610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53007   Customer #221611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53008   Customer #221615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53009   Customer #221619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53010   Customer #221623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53011   Customer #221624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53012   Customer #221628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53013   Customer #221630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53014   Customer #221632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53015   Customer #221633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53016   Customer #221636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53017   Customer #221640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53018   Customer #221643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53019   Customer #221644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53020   Customer #221647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53021   Customer #221648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53022   Customer #221653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53023   Customer #221657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53024   Customer #221658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53025   Customer #221660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53026   Customer #221664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53027   Customer #221665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53028   Customer #221666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53029   Customer #221672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53030   Customer #221673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53031   Customer #221675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53032   Customer #221678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53033   Customer #221679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53034   Customer #221682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53035   Customer #221683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53036   Customer #221684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53037   Customer #221685                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53038   Customer #221686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53039   Customer #221689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53040   Customer #221691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53041   Customer #221694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53042   Customer #221699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53043   Customer #221700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53044   Customer #221703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53045   Customer #221704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53046   Customer #221705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53047   Customer #221707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53048   Customer #221714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53049   Customer #221716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53050   Customer #221725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53051   Customer #221729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53052   Customer #221732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53053   Customer #221735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53054   Customer #221736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53055   Customer #221739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53056   Customer #221740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53057   Customer #221745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53058   Customer #221746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53059   Customer #221750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53060   Customer #221751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53061   Customer #221760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53062   Customer #221763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53063   Customer #221765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53064   Customer #221772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53065   Customer #221778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53066   Customer #221781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53067   Customer #221787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53068   Customer #221800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53069   Customer #221805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53070   Customer #221807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53071   Customer #221810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53072   Customer #221811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53073   Customer #221817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53074   Customer #221823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53075   Customer #221830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53076   Customer #221837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53077   Customer #221839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53078   Customer #221840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53079   Customer #221844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53080   Customer #221846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53081   Customer #221847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53082   Customer #221848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53083   Customer #221849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53084   Customer #221851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53085   Customer #221853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53086   Customer #221854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53087   Customer #221857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53088   Customer #221859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53089   Customer #221860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53090   Customer #221861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53091   Customer #221862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53092   Customer #221863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53093   Customer #221866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53094   Customer #221874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53095   Customer #221878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53096   Customer #221882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53097   Customer #221900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53098   Customer #221901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53099   Customer #221914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53100   Customer #221916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53101   Customer #221924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53102   Customer #221932                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53103   Customer #221937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53104   Customer #221938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53105   Customer #221947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53106   Customer #221958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53107   Customer #221963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53108   Customer #221972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53109   Customer #221976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53110   Customer #221977                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53111   Customer #221980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53112   Customer #221986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53113   Customer #221987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53114   Customer #221989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53115   Customer #221992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53116   Customer #222002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53117   Customer #222005                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53118   Customer #222006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53119   Customer #222011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53120   Customer #222013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53121   Customer #222014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53122   Customer #222017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53123   Customer #222018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53124   Customer #222019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53125   Customer #222024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53126   Customer #222026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53127   Customer #222032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53128   Customer #222038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53129   Customer #222043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53130   Customer #222047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53131   Customer #222052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53132   Customer #222057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53133   Customer #222057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53134   Customer #222059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53135   Customer #222062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53136   Customer #222067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53137   Customer #222072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53138   Customer #222084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53139   Customer #222087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53140   Customer #222093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53141   Customer #222098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53142   Customer #222102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53143   Customer #222105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53144   Customer #222107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53145   Customer #222108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53146   Customer #222112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53147   Customer #222118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53148   Customer #222119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53149   Customer #222127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53150   Customer #222129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53151   Customer #222131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53152   Customer #222132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53153   Customer #222142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53154   Customer #222144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53155   Customer #222146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53156   Customer #222148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53157   Customer #222149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53158   Customer #222158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53159   Customer #222164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53160   Customer #222165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53161   Customer #222172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53162   Customer #222176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53163   Customer #222185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53164   Customer #222188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53165   Customer #222190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53166   Customer #222191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53167   Customer #222200                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53168   Customer #222206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53169   Customer #222218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53170   Customer #222224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53171   Customer #222225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53172   Customer #222230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53173   Customer #222236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53174   Customer #222242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53175   Customer #222244                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53176   Customer #222246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53177   Customer #222249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53178   Customer #222258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53179   Customer #222259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53180   Customer #222260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53181   Customer #222263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53182   Customer #222265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53183   Customer #222266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53184   Customer #222268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53185   Customer #222269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53186   Customer #222270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53187   Customer #222271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53188   Customer #222281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53189   Customer #222283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53190   Customer #222287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53191   Customer #222289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53192   Customer #222290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53193   Customer #222291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53194   Customer #222296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53195   Customer #222299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53196   Customer #222301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53197   Customer #222302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53198   Customer #222305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53199   Customer #222306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53200   Customer #222307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53201   Customer #222310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53202   Customer #222311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53203   Customer #222313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53204   Customer #222314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53205   Customer #222315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53206   Customer #222317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53207   Customer #222319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53208   Customer #222321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53209   Customer #222329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53210   Customer #222335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53211   Customer #222339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53212   Customer #222342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53213   Customer #222350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53214   Customer #222351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53215   Customer #222355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53216   Customer #222361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53217   Customer #222362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53218   Customer #222364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53219   Customer #222368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53220   Customer #222369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53221   Customer #222376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53222   Customer #222386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53223   Customer #222389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53224   Customer #222398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53225   Customer #222399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53226   Customer #222402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53227   Customer #222407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53228   Customer #222409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53229   Customer #222412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53230   Customer #222417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53231   Customer #222423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53232   Customer #222426                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53233   Customer #222427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53234   Customer #222428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53235   Customer #222429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53236   Customer #222442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53237   Customer #222446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53238   Customer #222448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53239   Customer #222453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53240   Customer #222454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53241   Customer #222466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53242   Customer #222467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53243   Customer #222468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53244   Customer #222472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53245   Customer #222474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53246   Customer #222477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53247   Customer #222478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53248   Customer #222479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53249   Customer #222485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53250   Customer #222487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53251   Customer #222488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53252   Customer #222489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53253   Customer #222490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53254   Customer #222493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53255   Customer #222496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53256   Customer #222496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53257   Customer #222500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53258   Customer #222501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53259   Customer #222529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53260   Customer #222534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53261   Customer #222535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53262   Customer #222536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53263   Customer #222537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53264   Customer #222538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53265   Customer #222539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53266   Customer #222540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53267   Customer #222541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53268   Customer #222542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53269   Customer #222544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53270   Customer #222546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53271   Customer #222553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53272   Customer #222562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53273   Customer #222564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53274   Customer #222568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53275   Customer #222569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53276   Customer #222570                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53277   Customer #222572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53278   Customer #222574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53279   Customer #222580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53280   Customer #222581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53281   Customer #222585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53282   Customer #222589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53283   Customer #222592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53284   Customer #222593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53285   Customer #222606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53286   Customer #222616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53287   Customer #222619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53288   Customer #222628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53289   Customer #222630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53290   Customer #222632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53291   Customer #222634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53292   Customer #222635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53293   Customer #222639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53294   Customer #222640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53295   Customer #222646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53296   Customer #222648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53297   Customer #222649                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53298   Customer #222653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53299   Customer #222654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53300   Customer #222655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53301   Customer #222657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53302   Customer #222658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53303   Customer #222660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53304   Customer #222668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53305   Customer #222669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53306   Customer #222671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53307   Customer #222675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53308   Customer #222676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53309   Customer #222682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53310   Customer #222684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53311   Customer #222686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53312   Customer #222690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53313   Customer #222692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53314   Customer #222696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53315   Customer #222697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53316   Customer #222702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53317   Customer #222705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53318   Customer #222712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53319   Customer #222719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53320   Customer #222720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53321   Customer #222722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53322   Customer #222725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53323   Customer #222726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53324   Customer #222729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53325   Customer #222731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53326   Customer #222732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53327   Customer #222743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53328   Customer #222750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53329   Customer #222751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53330   Customer #222755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53331   Customer #222756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53332   Customer #222766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53333   Customer #222767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53334   Customer #222768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53335   Customer #222772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53336   Customer #222778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53337   Customer #222780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53338   Customer #222781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53339   Customer #222782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53340   Customer #222786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53341   Customer #222788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53342   Customer #222789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53343   Customer #222792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53344   Customer #222800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53345   Customer #222801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53346   Customer #222812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53347   Customer #222814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53348   Customer #222816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53349   Customer #222818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53350   Customer #222819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53351   Customer #222821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53352   Customer #222822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53353   Customer #222827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53354   Customer #222830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53355   Customer #222831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53356   Customer #222833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53357   Customer #222835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53358   Customer #222839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53359   Customer #222840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53360   Customer #222841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53361   Customer #222844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53362   Customer #222857                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53363   Customer #222901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53364   Customer #222905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53365   Customer #222909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53366   Customer #222961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53367   Customer #223006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53368   Customer #223009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53369   Customer #223022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53370   Customer #223027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53371   Customer #223029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53372   Customer #223039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53373   Customer #223075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53374   Customer #223111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53375   Customer #223115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53376   Customer #223123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53377   Customer #223125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53378   Customer #223127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53379   Customer #223134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53380   Customer #223148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53381   Customer #223151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53382   Customer #223152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53383   Customer #223160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53384   Customer #223165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53385   Customer #223172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53386   Customer #223174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53387   Customer #223178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53388   Customer #223180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53389   Customer #223182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53390   Customer #223184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53391   Customer #223187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53392   Customer #223193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53393   Customer #223194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53394   Customer #223198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53395   Customer #223201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53396   Customer #223203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53397   Customer #223204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53398   Customer #223211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53399   Customer #223214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53400   Customer #223217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53401   Customer #223218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53402   Customer #223219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53403   Customer #223224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53404   Customer #223228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53405   Customer #223238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53406   Customer #223239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53407   Customer #223242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53408   Customer #223243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53409   Customer #223247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53410   Customer #223258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53411   Customer #223259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53412   Customer #223277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53413   Customer #223280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53414   Customer #223281                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53415   Customer #223282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53416   Customer #223285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53417   Customer #223292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53418   Customer #223297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53419   Customer #223301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53420   Customer #223302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53421   Customer #223304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53422   Customer #223305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53423   Customer #223306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53424   Customer #223313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53425   Customer #223317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53426   Customer #223319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53427   Customer #223320                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53428   Customer #223326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53429   Customer #223327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53430   Customer #223328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53431   Customer #223329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53432   Customer #223331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53433   Customer #223333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53434   Customer #223337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53435   Customer #223339                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53436   Customer #223340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53437   Customer #223346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53438   Customer #223347                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53439   Customer #223350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53440   Customer #223351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53441   Customer #223355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53442   Customer #223357                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53443   Customer #223358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53444   Customer #223360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53445   Customer #223363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53446   Customer #223364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53447   Customer #223386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53448   Customer #223388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53449   Customer #223397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53450   Customer #223398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53451   Customer #223399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53452   Customer #223427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53453   Customer #223433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53454   Customer #223462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53455   Customer #223470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53456   Customer #223471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53457   Customer #223478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53458   Customer #223496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53459   Customer #223502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53460   Customer #223507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53461   Customer #223528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53462   Customer #223532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53463   Customer #223537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53464   Customer #223546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53465   Customer #223547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53466   Customer #223554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53467   Customer #223555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53468   Customer #223557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53469   Customer #223561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53470   Customer #223562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53471   Customer #223563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53472   Customer #223564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53473   Customer #223567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53474   Customer #223581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53475   Customer #223587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53476   Customer #223590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53477   Customer #223592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53478   Customer #223597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53479   Customer #223610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53480   Customer #223615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53481   Customer #223618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53482   Customer #223623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53483   Customer #223625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53484   Customer #223628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53485   Customer #223630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53486   Customer #223639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53487   Customer #223641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53488   Customer #223642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53489   Customer #223643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53490   Customer #223647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53491   Customer #223650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53492   Customer #223655                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53493   Customer #223656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53494   Customer #223663                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53495   Customer #223670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53496   Customer #223671                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53497   Customer #223673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53498   Customer #223676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53499   Customer #223677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53500   Customer #223682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53501   Customer #223688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53502   Customer #223689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53503   Customer #223696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53504   Customer #223697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53505   Customer #223701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53506   Customer #223702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53507   Customer #223703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53508   Customer #223707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53509   Customer #223708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53510   Customer #223709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53511   Customer #223712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53512   Customer #223717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53513   Customer #223720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53514   Customer #223724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53515   Customer #223727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53516   Customer #223731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53517   Customer #223733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53518   Customer #223734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53519   Customer #223739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53520   Customer #223748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53521   Customer #223749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53522   Customer #223750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53523   Customer #223763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53524   Customer #223764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53525   Customer #223765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53526   Customer #223766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53527   Customer #223767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53528   Customer #223782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53529   Customer #223784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53530   Customer #223792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53531   Customer #223793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53532   Customer #223803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53533   Customer #223804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53534   Customer #223816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53535   Customer #223818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53536   Customer #223831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53537   Customer #223844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53538   Customer #223847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53539   Customer #223853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53540   Customer #223858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53541   Customer #223867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53542   Customer #223872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53543   Customer #223882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53544   Customer #223884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53545   Customer #223888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53546   Customer #223889                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53547   Customer #223891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53548   Customer #223893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53549   Customer #223895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53550   Customer #223908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53551   Customer #223911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53552   Customer #223912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53553   Customer #223913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53554   Customer #223916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53555   Customer #223918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53556   Customer #223922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53557   Customer #223927                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53558   Customer #223930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53559   Customer #223935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53560   Customer #223940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53561   Customer #223944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53562   Customer #223957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53563   Customer #223959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53564   Customer #223970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53565   Customer #223975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53566   Customer #223976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53567   Customer #223978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53568   Customer #223984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53569   Customer #223987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53570   Customer #223988                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53571   Customer #223991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53572   Customer #223994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53573   Customer #224000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53574   Customer #224002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53575   Customer #224017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53576   Customer #224029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53577   Customer #224030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53578   Customer #224033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53579   Customer #224035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53580   Customer #224040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53581   Customer #224042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53582   Customer #224047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53583   Customer #224054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53584   Customer #224058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53585   Customer #224060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53586   Customer #224062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53587   Customer #224063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53588   Customer #224064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53589   Customer #224068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53590   Customer #224070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53591   Customer #224072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53592   Customer #224073                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53593   Customer #224074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53594   Customer #224076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53595   Customer #224090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53596   Customer #224095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53597   Customer #224097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53598   Customer #224098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53599   Customer #224114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53600   Customer #224115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53601   Customer #224118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53602   Customer #224131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53603   Customer #224141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53604   Customer #224143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53605   Customer #224144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53606   Customer #224165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53607   Customer #224175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53608   Customer #224185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53609   Customer #224186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53610   Customer #224194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53611   Customer #224197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53612   Customer #224201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53613   Customer #224207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53614   Customer #224208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53615   Customer #224212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53616   Customer #224215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53617   Customer #224218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53618   Customer #224223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53619   Customer #224224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53620   Customer #224226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53621   Customer #224227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53622   Customer #224228                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53623   Customer #224230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53624   Customer #224231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53625   Customer #224234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53626   Customer #224251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53627   Customer #224254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53628   Customer #224278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53629   Customer #224279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53630   Customer #224280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53631   Customer #224300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53632   Customer #224304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53633   Customer #224308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53634   Customer #224309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53635   Customer #224317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53636   Customer #224329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53637   Customer #224331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53638   Customer #224342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53639   Customer #224344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53640   Customer #224355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53641   Customer #224360                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53642   Customer #224362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53643   Customer #224363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53644   Customer #224366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53645   Customer #224370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53646   Customer #224372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53647   Customer #224379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53648   Customer #224381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53649   Customer #224382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53650   Customer #224383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53651   Customer #224395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53652   Customer #224396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53653   Customer #224397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53654   Customer #224398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53655   Customer #224399                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53656   Customer #224400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53657   Customer #224406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53658   Customer #224411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53659   Customer #224414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53660   Customer #224422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53661   Customer #224423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53662   Customer #224424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53663   Customer #224426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53664   Customer #224427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53665   Customer #224430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53666   Customer #224431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53667   Customer #224433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53668   Customer #224436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53669   Customer #224439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53670   Customer #224442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53671   Customer #224446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53672   Customer #224455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53673   Customer #224465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53674   Customer #224468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53675   Customer #224471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53676   Customer #224473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53677   Customer #224477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53678   Customer #224479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53679   Customer #224480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53680   Customer #224503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53681   Customer #224505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53682   Customer #224506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53683   Customer #224515                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53684   Customer #224517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53685   Customer #224521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53686   Customer #224524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53687   Customer #224527                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53688   Customer #224537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53689   Customer #224538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53690   Customer #224540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53691   Customer #224543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53692   Customer #224545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53693   Customer #224547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53694   Customer #224550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53695   Customer #224552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53696   Customer #224555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53697   Customer #224558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53698   Customer #224559                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53699   Customer #224562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53700   Customer #224571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53701   Customer #224572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53702   Customer #224575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53703   Customer #224579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53704   Customer #224581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53705   Customer #224586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53706   Customer #224590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53707   Customer #224593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53708   Customer #224595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53709   Customer #224598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53710   Customer #224604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53711   Customer #224607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53712   Customer #224609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53713   Customer #224619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53714   Customer #224626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53715   Customer #224629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53716   Customer #224634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53717   Customer #224660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53718   Customer #224670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53719   Customer #224676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53720   Customer #224678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53721   Customer #224679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53722   Customer #224696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53723   Customer #224710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53724   Customer #224711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53725   Customer #224712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53726   Customer #224717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53727   Customer #224721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53728   Customer #224722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53729   Customer #224724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53730   Customer #224728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53731   Customer #224730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53732   Customer #224731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53733   Customer #224739                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53734   Customer #224741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53735   Customer #224743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53736   Customer #224745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53737   Customer #224745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53738   Customer #224746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53739   Customer #224748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53740   Customer #224752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53741   Customer #224756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53742   Customer #224761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53743   Customer #224762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53744   Customer #224764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53745   Customer #224767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53746   Customer #224772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53747   Customer #224773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53748   Customer #224774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53749   Customer #224774                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53750   Customer #224785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53751   Customer #224787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53752   Customer #224788                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53753   Customer #224793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53754   Customer #224813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53755   Customer #224815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53756   Customer #224818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53757   Customer #224819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53758   Customer #224823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53759   Customer #224824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53760   Customer #224825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53761   Customer #224831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53762   Customer #224833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53763   Customer #224843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53764   Customer #224844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53765   Customer #224845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53766   Customer #224852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53767   Customer #224858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53768   Customer #224860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53769   Customer #224863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53770   Customer #224866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53771   Customer #224867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53772   Customer #224869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53773   Customer #224875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53774   Customer #224877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53775   Customer #224878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53776   Customer #224880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53777   Customer #224883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53778   Customer #224885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53779   Customer #224886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53780   Customer #224887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53781   Customer #224888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53782   Customer #224897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53783   Customer #224899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53784   Customer #224900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53785   Customer #224901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53786   Customer #224906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53787   Customer #224908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53788   Customer #224912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53789   Customer #224918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53790   Customer #224919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53791   Customer #224921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53792   Customer #224922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53793   Customer #224925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53794   Customer #224927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53795   Customer #224928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53796   Customer #224930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53797   Customer #224931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53798   Customer #224936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53799   Customer #224943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53800   Customer #224944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53801   Customer #224945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53802   Customer #224948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53803   Customer #224949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53804   Customer #224966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53805   Customer #224974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53806   Customer #224976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53807   Customer #224983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53808   Customer #224984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53809   Customer #224986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53810   Customer #224994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53811   Customer #224995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53812   Customer #224996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53813   Customer #225008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53814   Customer #225020                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53815   Customer #225021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53816   Customer #225029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53817   Customer #225038                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53818   Customer #225040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53819   Customer #225043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53820   Customer #225046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53821   Customer #225047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53822   Customer #225048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53823   Customer #225055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53824   Customer #225059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53825   Customer #225060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53826   Customer #225061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53827   Customer #225063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53828   Customer #225065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53829   Customer #225066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53830   Customer #225067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53831   Customer #225069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53832   Customer #225070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53833   Customer #225072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53834   Customer #225079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53835   Customer #225084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53836   Customer #225088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53837   Customer #225091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53838   Customer #225093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53839   Customer #225096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53840   Customer #225099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53841   Customer #225102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53842   Customer #225105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53843   Customer #225107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53844   Customer #225108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53845   Customer #225115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53846   Customer #225119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53847   Customer #225128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53848   Customer #225129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53849   Customer #225130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53850   Customer #225133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53851   Customer #225139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53852   Customer #225156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53853   Customer #225157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53854   Customer #225158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53855   Customer #225165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53856   Customer #225171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53857   Customer #225179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53858   Customer #225183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53859   Customer #225184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53860   Customer #225189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53861   Customer #225191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53862   Customer #225192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53863   Customer #225195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53864   Customer #225198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53865   Customer #225201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53866   Customer #225203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53867   Customer #225206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53868   Customer #225207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53869   Customer #225209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53870   Customer #225217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53871   Customer #225221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53872   Customer #225222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53873   Customer #225223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53874   Customer #225238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53875   Customer #225241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53876   Customer #225242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53877   Customer #225253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53878   Customer #225257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53879   Customer #225265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53880   Customer #225276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53881   Customer #225284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53882   Customer #225286                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53883   Customer #225293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53884   Customer #225303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53885   Customer #225304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53886   Customer #225306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53887   Customer #225307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53888   Customer #225308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53889   Customer #225309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53890   Customer #225310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53891   Customer #225317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53892   Customer #225322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53893   Customer #225323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53894   Customer #225329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53895   Customer #225330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53896   Customer #225332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53897   Customer #225333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53898   Customer #225337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53899   Customer #225338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53900   Customer #225342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53901   Customer #225345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53902   Customer #225349                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53903   Customer #225365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53904   Customer #225407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53905   Customer #225409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53906   Customer #225412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53907   Customer #225419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53908   Customer #225441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53909   Customer #225446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53910   Customer #225448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53911   Customer #225450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53912   Customer #225460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53913   Customer #225461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53914   Customer #225483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53915   Customer #225485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53916   Customer #225508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53917   Customer #225510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53918   Customer #225513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53919   Customer #225514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53920   Customer #225518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53921   Customer #225522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53922   Customer #225533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53923   Customer #225536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53924   Customer #225540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53925   Customer #225543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53926   Customer #225544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53927   Customer #225552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53928   Customer #225554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53929   Customer #225555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53930   Customer #225556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53931   Customer #225560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53932   Customer #225565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53933   Customer #225566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53934   Customer #225567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53935   Customer #225571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53936   Customer #225575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53937   Customer #225579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53938   Customer #225581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53939   Customer #225584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53940   Customer #225589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53941   Customer #225594                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53942   Customer #225597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53943   Customer #225601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53944   Customer #225602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53945   Customer #225607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53946   Customer #225608                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53947   Customer #225609                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.53948   Customer #225610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53949   Customer #225614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53950   Customer #225620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53951   Customer #225635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53952   Customer #225636                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53953   Customer #225640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53954   Customer #225643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53955   Customer #225645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53956   Customer #225651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53957   Customer #225652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53958   Customer #225653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53959   Customer #225655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53960   Customer #225659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53961   Customer #225660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53962   Customer #225669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53963   Customer #225670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53964   Customer #225672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53965   Customer #225673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53966   Customer #225675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53967   Customer #225695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53968   Customer #225699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53969   Customer #225702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53970   Customer #225703                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53971   Customer #225704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53972   Customer #225705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53973   Customer #225707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53974   Customer #225708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53975   Customer #225709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53976   Customer #225710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53977   Customer #225713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53978   Customer #225714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53979   Customer #225715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53980   Customer #225721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53981   Customer #225722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53982   Customer #225723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53983   Customer #225726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53984   Customer #225728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53985   Customer #225733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53986   Customer #225742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53987   Customer #225745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53988   Customer #225750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53989   Customer #225766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53990   Customer #225767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53991   Customer #225768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53992   Customer #225776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53993   Customer #225778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53994   Customer #225779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53995   Customer #225785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53996   Customer #225791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53997   Customer #225792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53998   Customer #225801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.53999   Customer #225801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54000   Customer #225801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54001   Customer #225802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54002   Customer #225803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54003   Customer #225806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54004   Customer #225807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54005   Customer #225813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54006   Customer #225815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54007   Customer #225824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54008   Customer #225829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54009   Customer #225830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54010   Customer #225831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54011   Customer #225836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54012   Customer #225837                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54013   Customer #225839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54014   Customer #225840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54015   Customer #225843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54016   Customer #225844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54017   Customer #225846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54018   Customer #225850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54019   Customer #225852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54020   Customer #225854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54021   Customer #225865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54022   Customer #225866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54023   Customer #225868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54024   Customer #225876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54025   Customer #225887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54026   Customer #225913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54027   Customer #225916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54028   Customer #225927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54029   Customer #225928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54030   Customer #225930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54031   Customer #225935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54032   Customer #225951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54033   Customer #225965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54034   Customer #225966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54035   Customer #225975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54036   Customer #225978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54037   Customer #225980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54038   Customer #225987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54039   Customer #225991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54040   Customer #225992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54041   Customer #225997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54042   Customer #226000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54043   Customer #226007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54044   Customer #226009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54045   Customer #226011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54046   Customer #226015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54047   Customer #226018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54048   Customer #226021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54049   Customer #226040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54050   Customer #226040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54051   Customer #226044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54052   Customer #226046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54053   Customer #226048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54054   Customer #226056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54055   Customer #226061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54056   Customer #226062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54057   Customer #226071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54058   Customer #226075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54059   Customer #226081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54060   Customer #226086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54061   Customer #226087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54062   Customer #226094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54063   Customer #226107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54064   Customer #226113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54065   Customer #226115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54066   Customer #226117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54067   Customer #226119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54068   Customer #226120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54069   Customer #226122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54070   Customer #226125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54071   Customer #226128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54072   Customer #226142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54073   Customer #226144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54074   Customer #226147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54075   Customer #226149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54076   Customer #226153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54077   Customer #226156                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54078   Customer #226169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54079   Customer #226179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54080   Customer #226184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54081   Customer #226185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54082   Customer #226191                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54083   Customer #226198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54084   Customer #226204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54085   Customer #226207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54086   Customer #226208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54087   Customer #226209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54088   Customer #226212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54089   Customer #226219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54090   Customer #226230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54091   Customer #226232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54092   Customer #226235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54093   Customer #226236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54094   Customer #226240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54095   Customer #226243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54096   Customer #226247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54097   Customer #226252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54098   Customer #226254                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54099   Customer #226258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54100   Customer #226260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54101   Customer #226264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54102   Customer #226265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54103   Customer #226271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54104   Customer #226272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54105   Customer #226273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54106   Customer #226278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54107   Customer #226279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54108   Customer #226280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54109   Customer #226282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54110   Customer #226290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54111   Customer #226291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54112   Customer #226292                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54113   Customer #226295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54114   Customer #226296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54115   Customer #226297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54116   Customer #226298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54117   Customer #226304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54118   Customer #226306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54119   Customer #226307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54120   Customer #226316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54121   Customer #226318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54122   Customer #226322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54123   Customer #226326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54124   Customer #226328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54125   Customer #226329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54126   Customer #226331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54127   Customer #226334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54128   Customer #226342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54129   Customer #226343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54130   Customer #226346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54131   Customer #226348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54132   Customer #226353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54133   Customer #226354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54134   Customer #226359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54135   Customer #226362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54136   Customer #226363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54137   Customer #226363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54138   Customer #226376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54139   Customer #226379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54140   Customer #226380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54141   Customer #226391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54142   Customer #226392                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54143   Customer #226393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54144   Customer #226410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54145   Customer #226413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54146   Customer #226418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54147   Customer #226420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54148   Customer #226422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54149   Customer #226423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54150   Customer #226430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54151   Customer #226446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54152   Customer #226451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54153   Customer #226452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54154   Customer #226467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54155   Customer #226468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54156   Customer #226472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54157   Customer #226473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54158   Customer #226478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54159   Customer #226482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54160   Customer #226483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54161   Customer #226485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54162   Customer #226496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54163   Customer #226499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54164   Customer #226502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54165   Customer #226512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54166   Customer #226513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54167   Customer #226516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54168   Customer #226517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54169   Customer #226538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54170   Customer #226562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54171   Customer #226563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54172   Customer #226566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54173   Customer #226568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54174   Customer #226573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54175   Customer #226574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54176   Customer #226575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54177   Customer #226577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54178   Customer #226582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54179   Customer #226583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54180   Customer #226585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54181   Customer #226588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54182   Customer #226592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54183   Customer #226593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54184   Customer #226595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54185   Customer #226596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54186   Customer #226597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54187   Customer #226601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54188   Customer #226603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54189   Customer #226605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54190   Customer #226607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54191   Customer #226613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54192   Customer #226615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54193   Customer #226616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54194   Customer #226618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54195   Customer #226621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54196   Customer #226622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54197   Customer #226624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54198   Customer #226628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54199   Customer #226629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54200   Customer #226633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54201   Customer #226634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54202   Customer #226639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54203   Customer #226642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54204   Customer #226644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54205   Customer #226645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54206   Customer #226647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54207   Customer #226651                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54208   Customer #226653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54209   Customer #226654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54210   Customer #226658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54211   Customer #226659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54212   Customer #226664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54213   Customer #226670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54214   Customer #226677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54215   Customer #226678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54216   Customer #226679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54217   Customer #226683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54218   Customer #226686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54219   Customer #226706                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54220   Customer #226709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54221   Customer #226711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54222   Customer #226717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54223   Customer #226718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54224   Customer #226722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54225   Customer #226724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54226   Customer #226725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54227   Customer #226726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54228   Customer #226731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54229   Customer #226736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54230   Customer #226740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54231   Customer #226747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54232   Customer #226753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54233   Customer #226761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54234   Customer #226762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54235   Customer #226763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54236   Customer #226770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54237   Customer #226772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54238   Customer #226777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54239   Customer #226784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54240   Customer #226791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54241   Customer #226794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54242   Customer #226796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54243   Customer #226798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54244   Customer #226799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54245   Customer #226800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54246   Customer #226805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54247   Customer #226809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54248   Customer #226826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54249   Customer #226827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54250   Customer #226833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54251   Customer #226835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54252   Customer #226837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54253   Customer #226840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54254   Customer #226841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54255   Customer #226844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54256   Customer #226856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54257   Customer #226865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54258   Customer #226874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54259   Customer #226878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54260   Customer #226881                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54261   Customer #226883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54262   Customer #226884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54263   Customer #226897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54264   Customer #226900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54265   Customer #226901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54266   Customer #226905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54267   Customer #226906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54268   Customer #226907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54269   Customer #226909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54270   Customer #226910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54271   Customer #226914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54272   Customer #226923                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54273   Customer #226930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54274   Customer #226935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54275   Customer #226937                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54276   Customer #226939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54277   Customer #226943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54278   Customer #226951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54279   Customer #226952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54280   Customer #226958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54281   Customer #226969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54282   Customer #226978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54283   Customer #226984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54284   Customer #227007                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54285   Customer #227008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54286   Customer #227011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54287   Customer #227017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54288   Customer #227018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54289   Customer #227026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54290   Customer #227030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54291   Customer #227032                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54292   Customer #227042                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54293   Customer #227046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54294   Customer #227047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54295   Customer #227048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54296   Customer #227052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54297   Customer #227055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54298   Customer #227075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54299   Customer #227078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54300   Customer #227090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54301   Customer #227091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54302   Customer #227094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54303   Customer #227094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54304   Customer #227104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54305   Customer #227105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54306   Customer #227106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54307   Customer #227107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54308   Customer #227109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54309   Customer #227119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54310   Customer #227122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54311   Customer #227123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54312   Customer #227125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54313   Customer #227128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54314   Customer #227134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54315   Customer #227137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54316   Customer #227138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54317   Customer #227139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54318   Customer #227143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54319   Customer #227148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54320   Customer #227149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54321   Customer #227152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54322   Customer #227155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54323   Customer #227156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54324   Customer #227157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54325   Customer #227160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54326   Customer #227163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54327   Customer #227169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54328   Customer #227171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54329   Customer #227172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54330   Customer #227173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54331   Customer #227184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54332   Customer #227190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54333   Customer #227198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54334   Customer #227209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54335   Customer #227210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54336   Customer #227213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54337   Customer #227213                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54338   Customer #227214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54339   Customer #227215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54340   Customer #227216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54341   Customer #227220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54342   Customer #227221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54343   Customer #227226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54344   Customer #227228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54345   Customer #227229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54346   Customer #227230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54347   Customer #227232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54348   Customer #227233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54349   Customer #227235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54350   Customer #227237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54351   Customer #227239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54352   Customer #227240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54353   Customer #227243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54354   Customer #227250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54355   Customer #227251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54356   Customer #227252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54357   Customer #227253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54358   Customer #227255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54359   Customer #227256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54360   Customer #227259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54361   Customer #227270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54362   Customer #227277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54363   Customer #227278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54364   Customer #227280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54365   Customer #227284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54366   Customer #227287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54367   Customer #227288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54368   Customer #227293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54369   Customer #227301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54370   Customer #227304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54371   Customer #227307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54372   Customer #227311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54373   Customer #227313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54374   Customer #227315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54375   Customer #227317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54376   Customer #227318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54377   Customer #227321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54378   Customer #227322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54379   Customer #227323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54380   Customer #227337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54381   Customer #227338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54382   Customer #227340                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54383   Customer #227341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54384   Customer #227342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54385   Customer #227346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54386   Customer #227348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54387   Customer #227350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54388   Customer #227351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54389   Customer #227353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54390   Customer #227362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54391   Customer #227370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54392   Customer #227372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54393   Customer #227375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54394   Customer #227377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54395   Customer #227386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54396   Customer #227403                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54397   Customer #227404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54398   Customer #227415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54399   Customer #227420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54400   Customer #227422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54401   Customer #227424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54402   Customer #227426                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54403   Customer #227427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54404   Customer #227433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54405   Customer #227434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54406   Customer #227436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54407   Customer #227437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54408   Customer #227438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54409   Customer #227442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54410   Customer #227443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54411   Customer #227445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54412   Customer #227447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54413   Customer #227451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54414   Customer #227453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54415   Customer #227457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54416   Customer #227458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54417   Customer #227464                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54418   Customer #227466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54419   Customer #227471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54420   Customer #227472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54421   Customer #227476                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54422   Customer #227486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54423   Customer #227487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54424   Customer #227491                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54425   Customer #227492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54426   Customer #227497                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54427   Customer #227501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54428   Customer #227503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54429   Customer #227507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54430   Customer #227508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54431   Customer #227516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54432   Customer #227520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54433   Customer #227521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54434   Customer #227522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54435   Customer #227525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54436   Customer #227529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54437   Customer #227532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54438   Customer #227533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54439   Customer #227534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54440   Customer #227551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54441   Customer #227553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54442   Customer #227554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54443   Customer #227556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54444   Customer #227560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54445   Customer #227562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54446   Customer #227590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54447   Customer #227592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54448   Customer #227593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54449   Customer #227599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54450   Customer #227600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54451   Customer #227604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54452   Customer #227606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54453   Customer #227607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54454   Customer #227609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54455   Customer #227611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54456   Customer #227612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54457   Customer #227613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54458   Customer #227614                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54459   Customer #227615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54460   Customer #227619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54461   Customer #227628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54462   Customer #227629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54463   Customer #227630                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54464   Customer #227631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54465   Customer #227633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54466   Customer #227635                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54467   Customer #227636                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54468   Customer #227637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54469   Customer #227640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54470   Customer #227642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54471   Customer #227643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54472   Customer #227646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54473   Customer #227647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54474   Customer #227657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54475   Customer #227658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54476   Customer #227670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54477   Customer #227672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54478   Customer #227679                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54479   Customer #227686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54480   Customer #227688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54481   Customer #227704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54482   Customer #227709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54483   Customer #227718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54484   Customer #227720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54485   Customer #227723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54486   Customer #227727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54487   Customer #227728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54488   Customer #227733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54489   Customer #227734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54490   Customer #227741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54491   Customer #227742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54492   Customer #227743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54493   Customer #227744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54494   Customer #227745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54495   Customer #227749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54496   Customer #227753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54497   Customer #227754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54498   Customer #227763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54499   Customer #227764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54500   Customer #227777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54501   Customer #227779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54502   Customer #227780                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54503   Customer #227787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54504   Customer #227796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54505   Customer #227798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54506   Customer #227802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54507   Customer #227806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54508   Customer #227813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54509   Customer #227816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54510   Customer #227818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54511   Customer #227819                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54512   Customer #227821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54513   Customer #227825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54514   Customer #227827                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54515   Customer #227828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54516   Customer #227832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54517   Customer #227836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54518   Customer #227839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54519   Customer #227848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54520   Customer #227849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54521   Customer #227850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54522   Customer #227855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54523   Customer #227858                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54524   Customer #227859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54525   Customer #227863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54526   Customer #227865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54527   Customer #227867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54528   Customer #227869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54529   Customer #227876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54530   Customer #227877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54531   Customer #227884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54532   Customer #227885                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54533   Customer #227890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54534   Customer #227891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54535   Customer #227893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54536   Customer #227895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54537   Customer #227896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54538   Customer #227899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54539   Customer #227901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54540   Customer #227911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54541   Customer #227912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54542   Customer #227914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54543   Customer #227917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54544   Customer #227926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54545   Customer #227932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54546   Customer #227933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54547   Customer #227944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54548   Customer #227950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54549   Customer #227955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54550   Customer #227959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54551   Customer #227984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54552   Customer #227992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54553   Customer #227997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54554   Customer #228002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54555   Customer #228006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54556   Customer #228008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54557   Customer #228010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54558   Customer #228013                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54559   Customer #228017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54560   Customer #228023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54561   Customer #228027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54562   Customer #228028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54563   Customer #228043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54564   Customer #228050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54565   Customer #228052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54566   Customer #228055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54567   Customer #228061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54568   Customer #228068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54569   Customer #228070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54570   Customer #228071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54571   Customer #228072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54572   Customer #228077                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54573   Customer #228082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54574   Customer #228083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54575   Customer #228093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54576   Customer #228094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54577   Customer #228101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54578   Customer #228106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54579   Customer #228107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54580   Customer #228113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54581   Customer #228117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54582   Customer #228126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54583   Customer #228128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54584   Customer #228135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54585   Customer #228149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54586   Customer #228151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54587   Customer #228152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54588   Customer #228154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54589   Customer #228158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54590   Customer #228161                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54591   Customer #228184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54592   Customer #228185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54593   Customer #228189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54594   Customer #228192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54595   Customer #228193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54596   Customer #228197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54597   Customer #228198                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54598   Customer #228201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54599   Customer #228202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54600   Customer #228206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54601   Customer #228208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54602   Customer #228209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54603   Customer #228211                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54604   Customer #228212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54605   Customer #228216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54606   Customer #228218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54607   Customer #228219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54608   Customer #228221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54609   Customer #228222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54610   Customer #228224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54611   Customer #228232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54612   Customer #228233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54613   Customer #228239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54614   Customer #228241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54615   Customer #228248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54616   Customer #228253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54617   Customer #228259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54618   Customer #228260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54619   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54620   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54621   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54622   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54623   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54624   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54625   Customer #228261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54626   Customer #228265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54627   Customer #228270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54628   Customer #228283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54629   Customer #228284                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54630   Customer #228293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54631   Customer #228297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54632   Customer #228305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54633   Customer #228306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54634   Customer #228308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54635   Customer #228309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54636   Customer #228310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54637   Customer #228311                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54638   Customer #228312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54639   Customer #228313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54640   Customer #228316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54641   Customer #228317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54642   Customer #228318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54643   Customer #228320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54644   Customer #228322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54645   Customer #228323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54646   Customer #228326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54647   Customer #228332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54648   Customer #228334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54649   Customer #228338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54650   Customer #228341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54651   Customer #228343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54652   Customer #228344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54653   Customer #228346                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54654   Customer #228348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54655   Customer #228365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54656   Customer #228367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54657   Customer #228369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54658   Customer #228371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54659   Customer #228373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54660   Customer #228374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54661   Customer #228379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54662   Customer #228380                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54663   Customer #228381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54664   Customer #228383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54665   Customer #228386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54666   Customer #228388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54667   Customer #228389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54668   Customer #228390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54669   Customer #228391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54670   Customer #228395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54671   Customer #228397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54672   Customer #228401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54673   Customer #228405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54674   Customer #228410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54675   Customer #228421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54676   Customer #228426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54677   Customer #228428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54678   Customer #228434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54679   Customer #228444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54680   Customer #228455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54681   Customer #228461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54682   Customer #228468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54683   Customer #228469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54684   Customer #228474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54685   Customer #228489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54686   Customer #228506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54687   Customer #228519                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54688   Customer #228525                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54689   Customer #228526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54690   Customer #228529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54691   Customer #228532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54692   Customer #228535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54693   Customer #228542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54694   Customer #228546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54695   Customer #228547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54696   Customer #228547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54697   Customer #228547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54698   Customer #228549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54699   Customer #228554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54700   Customer #228565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54701   Customer #228566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54702   Customer #228573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54703   Customer #228575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54704   Customer #228582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54705   Customer #228586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54706   Customer #228591                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54707   Customer #228593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54708   Customer #228598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54709   Customer #228600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54710   Customer #228600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54711   Customer #228605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54712   Customer #228607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54713   Customer #228615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54714   Customer #228619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54715   Customer #228625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54716   Customer #228629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54717   Customer #228631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54718   Customer #228650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54719   Customer #228674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54720   Customer #228677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54721   Customer #228682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54722   Customer #228683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54723   Customer #228684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54724   Customer #228686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54725   Customer #228688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54726   Customer #228692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54727   Customer #228698                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54728   Customer #228701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54729   Customer #228704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54730   Customer #228705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54731   Customer #228708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54732   Customer #228709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54733   Customer #228711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54734   Customer #228721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54735   Customer #228731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54736   Customer #228734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54737   Customer #228736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54738   Customer #228741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54739   Customer #228745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54740   Customer #228748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54741   Customer #228773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54742   Customer #228782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54743   Customer #228785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54744   Customer #228792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54745   Customer #228795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54746   Customer #228802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54747   Customer #228816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54748   Customer #228818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54749   Customer #228828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54750   Customer #228829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54751   Customer #228831                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54752   Customer #228833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54753   Customer #228837                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54754   Customer #228839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54755   Customer #228841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54756   Customer #228842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54757   Customer #228843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54758   Customer #228845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54759   Customer #228861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54760   Customer #228866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54761   Customer #228867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54762   Customer #228872                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54763   Customer #228874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54764   Customer #228880                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54765   Customer #228882                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54766   Customer #228884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54767   Customer #228886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54768   Customer #228891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54769   Customer #228892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54770   Customer #228893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54771   Customer #228924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54772   Customer #228951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54773   Customer #228965                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54774   Customer #228971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54775   Customer #228974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54776   Customer #228982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54777   Customer #228989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54778   Customer #228992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54779   Customer #229004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54780   Customer #229011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54781   Customer #229017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54782   Customer #229024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54783   Customer #229025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54784   Customer #229026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54785   Customer #229044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54786   Customer #229049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54787   Customer #229052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54788   Customer #229053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54789   Customer #229055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54790   Customer #229062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54791   Customer #229067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54792   Customer #229080                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54793   Customer #229100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54794   Customer #229108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54795   Customer #229116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54796   Customer #229117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54797   Customer #229124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54798   Customer #229125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54799   Customer #229128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54800   Customer #229131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54801   Customer #229132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54802   Customer #229135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54803   Customer #229137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54804   Customer #229141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54805   Customer #229142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54806   Customer #229146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54807   Customer #229151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54808   Customer #229153                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54809   Customer #229154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54810   Customer #229155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54811   Customer #229157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54812   Customer #229159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54813   Customer #229162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54814   Customer #229163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54815   Customer #229171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54816   Customer #229185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54817   Customer #229190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54818   Customer #229193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54819   Customer #229195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54820   Customer #229196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54821   Customer #229198                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54822   Customer #229199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54823   Customer #229201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54824   Customer #229202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54825   Customer #229205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54826   Customer #229228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54827   Customer #229232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54828   Customer #229238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54829   Customer #229242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54830   Customer #229253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54831   Customer #229263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54832   Customer #229288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54833   Customer #229291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54834   Customer #229294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54835   Customer #229301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54836   Customer #229305                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54837   Customer #229312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54838   Customer #229319                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54839   Customer #229320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54840   Customer #229330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54841   Customer #229330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54842   Customer #229331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54843   Customer #229338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54844   Customer #229345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54845   Customer #229353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54846   Customer #229370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54847   Customer #229371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54848   Customer #229372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54849   Customer #229382                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54850   Customer #229383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54851   Customer #229384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54852   Customer #229390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54853   Customer #229392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54854   Customer #229393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54855   Customer #229397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54856   Customer #229400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54857   Customer #229407                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54858   Customer #229408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54859   Customer #229410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54860   Customer #229419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54861   Customer #229425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54862   Customer #229428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54863   Customer #229436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54864   Customer #229438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54865   Customer #229445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54866   Customer #229447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54867   Customer #229450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54868   Customer #229459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54869   Customer #229471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54870   Customer #229479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54871   Customer #229526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54872   Customer #229536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54873   Customer #229540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54874   Customer #229542                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54875   Customer #229546                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54876   Customer #229548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54877   Customer #229550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54878   Customer #229556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54879   Customer #229557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54880   Customer #229560                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54881   Customer #229565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54882   Customer #229569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54883   Customer #229585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54884   Customer #229595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54885   Customer #229596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54886   Customer #229598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54887   Customer #229628                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54888   Customer #229634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54889   Customer #229652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54890   Customer #229658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54891   Customer #229660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54892   Customer #229673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54893   Customer #229684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54894   Customer #229686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54895   Customer #229696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54896   Customer #229697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54897   Customer #229698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54898   Customer #229700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54899   Customer #229704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54900   Customer #229705                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54901   Customer #229721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54902   Customer #229730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54903   Customer #229737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54904   Customer #229749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54905   Customer #229753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54906   Customer #229754                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54907   Customer #229755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54908   Customer #229765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54909   Customer #229766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54910   Customer #229770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54911   Customer #229788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54912   Customer #229796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54913   Customer #229813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54914   Customer #229838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54915   Customer #229849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54916   Customer #229852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54917   Customer #229853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54918   Customer #229854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54919   Customer #229862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54920   Customer #229863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54921   Customer #229864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54922   Customer #229869                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54923   Customer #229874                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54924   Customer #229875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54925   Customer #229877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54926   Customer #229879                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54927   Customer #229887                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54928   Customer #229888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54929   Customer #229895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54930   Customer #229896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54931   Customer #229898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54932   Customer #229899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54933   Customer #229900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54934   Customer #229901                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54935   Customer #229906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54936   Customer #229910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54937   Customer #229911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54938   Customer #229912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54939   Customer #229914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54940   Customer #229916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54941   Customer #229920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54942   Customer #229922                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54943   Customer #229924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54944   Customer #229926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54945   Customer #229933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54946   Customer #229934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54947   Customer #229938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54948   Customer #229940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54949   Customer #229942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54950   Customer #229943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54951   Customer #229945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54952   Customer #229947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54953   Customer #229948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54954   Customer #229951                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54955   Customer #229957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54956   Customer #229958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54957   Customer #229959                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54958   Customer #229969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54959   Customer #229970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54960   Customer #229971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54961   Customer #229974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54962   Customer #229975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54963   Customer #229976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54964   Customer #229978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54965   Customer #229980                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54966   Customer #229983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54967   Customer #229990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54968   Customer #229992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54969   Customer #229995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54970   Customer #229999                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54971   Customer #230012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54972   Customer #230029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54973   Customer #230037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54974   Customer #230040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54975   Customer #230047                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54976   Customer #230049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54977   Customer #230052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54978   Customer #230054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54979   Customer #230055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54980   Customer #230056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54981   Customer #230057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54982   Customer #230061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54983   Customer #230062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54984   Customer #230065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54985   Customer #230067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54986   Customer #230068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54987   Customer #230069                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.54988   Customer #230070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54989   Customer #230071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54990   Customer #230075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54991   Customer #230076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54992   Customer #230080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54993   Customer #230089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54994   Customer #230090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54995   Customer #230094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54996   Customer #230100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54997   Customer #230101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54998   Customer #230102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.54999   Customer #230106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55000   Customer #230108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55001   Customer #230114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55002   Customer #230129                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55003   Customer #230131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55004   Customer #230132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55005   Customer #230139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55006   Customer #230141                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55007   Customer #230144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55008   Customer #230146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55009   Customer #230150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55010   Customer #230154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55011   Customer #230156                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55012   Customer #230157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55013   Customer #230159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55014   Customer #230164                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55015   Customer #230165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55016   Customer #230169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55017   Customer #230175                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55018   Customer #230176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55019   Customer #230179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55020   Customer #230181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55021   Customer #230182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55022   Customer #230183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55023   Customer #230184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55024   Customer #230185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55025   Customer #230187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55026   Customer #230192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55027   Customer #230226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55028   Customer #230230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55029   Customer #230236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55030   Customer #230237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55031   Customer #230241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55032   Customer #230242                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55033   Customer #230245                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55034   Customer #230249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55035   Customer #230250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55036   Customer #230251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55037   Customer #230253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55038   Customer #230255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55039   Customer #230264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55040   Customer #230266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55041   Customer #230268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55042   Customer #230273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55043   Customer #230274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55044   Customer #230275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55045   Customer #230276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55046   Customer #230278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55047   Customer #230279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55048   Customer #230288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55049   Customer #230301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55050   Customer #230308                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55051   Customer #230314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55052   Customer #230318                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55053   Customer #230320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55054   Customer #230325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55055   Customer #230335                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55056   Customer #230337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55057   Customer #230344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55058   Customer #230345                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55059   Customer #230362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55060   Customer #230366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55061   Customer #230373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55062   Customer #230376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55063   Customer #230383                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55064   Customer #230387                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55065   Customer #230390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55066   Customer #230391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55067   Customer #230401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55068   Customer #230406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55069   Customer #230408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55070   Customer #230409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55071   Customer #230411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55072   Customer #230420                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55073   Customer #230421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55074   Customer #230423                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55075   Customer #230424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55076   Customer #230426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55077   Customer #230429                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55078   Customer #230430                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55079   Customer #230434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55080   Customer #230438                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55081   Customer #230439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55082   Customer #230446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55083   Customer #230449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55084   Customer #230456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55085   Customer #230462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55086   Customer #230463                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55087   Customer #230465                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55088   Customer #230467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55089   Customer #230471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55090   Customer #230473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55091   Customer #230479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55092   Customer #230483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55093   Customer #230484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55094   Customer #230485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55095   Customer #230487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55096   Customer #230488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55097   Customer #230492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55098   Customer #230506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55099   Customer #230513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55100   Customer #230518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55101   Customer #230520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55102   Customer #230528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55103   Customer #230545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55104   Customer #230547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55105   Customer #230553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55106   Customer #230556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55107   Customer #230563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55108   Customer #230565                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55109   Customer #230577                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55110   Customer #230578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55111   Customer #230579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55112   Customer #230582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55113   Customer #230583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55114   Customer #230585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55115   Customer #230586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55116   Customer #230588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55117   Customer #230593                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55118   Customer #230599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55119   Customer #230603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55120   Customer #230612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55121   Customer #230619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55122   Customer #230621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55123   Customer #230624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55124   Customer #230629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55125   Customer #230638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55126   Customer #230639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55127   Customer #230640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55128   Customer #230641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55129   Customer #230643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55130   Customer #230646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55131   Customer #230647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55132   Customer #230650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55133   Customer #230651                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55134   Customer #230652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55135   Customer #230653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55136   Customer #230655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55137   Customer #230665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55138   Customer #230667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55139   Customer #230668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55140   Customer #230673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55141   Customer #230675                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55142   Customer #230682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55143   Customer #230683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55144   Customer #230685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55145   Customer #230689                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55146   Customer #230692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55147   Customer #230698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55148   Customer #230701                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55149   Customer #230702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55150   Customer #230714                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55151   Customer #230716                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55152   Customer #230717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55153   Customer #230726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55154   Customer #230729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55155   Customer #230733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55156   Customer #230734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55157   Customer #230735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55158   Customer #230737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55159   Customer #230742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55160   Customer #230743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55161   Customer #230744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55162   Customer #230745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55163   Customer #230746                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55164   Customer #230747                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55165   Customer #230748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55166   Customer #230750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55167   Customer #230752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55168   Customer #230753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55169   Customer #230755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55170   Customer #230756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55171   Customer #230757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55172   Customer #230760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55173   Customer #230761                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55174   Customer #230762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55175   Customer #230765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55176   Customer #230770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55177   Customer #230773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55178   Customer #230788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55179   Customer #230789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55180   Customer #230791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55181   Customer #230798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55182   Customer #230801                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55183   Customer #230803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55184   Customer #230806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55185   Customer #230812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55186   Customer #230813                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55187   Customer #230815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55188   Customer #230815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55189   Customer #230821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55190   Customer #230822                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55191   Customer #230828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55192   Customer #230835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55193   Customer #230840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55194   Customer #230846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55195   Customer #230847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55196   Customer #230848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55197   Customer #230850                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55198   Customer #230854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55199   Customer #230860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55200   Customer #230862                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55201   Customer #230865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55202   Customer #230866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55203   Customer #230867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55204   Customer #230871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55205   Customer #230873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55206   Customer #230878                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55207   Customer #230891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55208   Customer #230900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55209   Customer #230907                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55210   Customer #230913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55211   Customer #230916                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55212   Customer #230917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55213   Customer #230918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55214   Customer #230920                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55215   Customer #230921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55216   Customer #230932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55217   Customer #230940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55218   Customer #230948                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55219   Customer #230960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55220   Customer #230963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55221   Customer #230964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55222   Customer #230966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55223   Customer #230972                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55224   Customer #230975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55225   Customer #230983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55226   Customer #230986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55227   Customer #230987                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55228   Customer #230990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55229   Customer #231001                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55230   Customer #231004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55231   Customer #231012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55232   Customer #231014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55233   Customer #231015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55234   Customer #231016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55235   Customer #231017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55236   Customer #231026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55237   Customer #231027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55238   Customer #231030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55239   Customer #231035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55240   Customer #231045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55241   Customer #231050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55242   Customer #231052                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55243   Customer #231054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55244   Customer #231061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55245   Customer #231068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55246   Customer #231069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55247   Customer #231078                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55248   Customer #231081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55249   Customer #231082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55250   Customer #231085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55251   Customer #231088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55252   Customer #231090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55253   Customer #231094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55254   Customer #231097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55255   Customer #231103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55256   Customer #231106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55257   Customer #231110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55258   Customer #231111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55259   Customer #231113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55260   Customer #231115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55261   Customer #231130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55262   Customer #231133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55263   Customer #231135                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55264   Customer #231138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55265   Customer #231139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55266   Customer #231142                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55267   Customer #231144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55268   Customer #231145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55269   Customer #231146                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55270   Customer #231147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55271   Customer #231148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55272   Customer #231149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55273   Customer #231151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55274   Customer #231154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55275   Customer #231157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55276   Customer #231159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55277   Customer #231160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55278   Customer #231172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55279   Customer #231178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55280   Customer #231181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55281   Customer #231183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55282   Customer #231184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55283   Customer #231187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55284   Customer #231193                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55285   Customer #231194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55286   Customer #231196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55287   Customer #231201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55288   Customer #231203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55289   Customer #231204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55290   Customer #231210                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55291   Customer #231216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55292   Customer #231221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55293   Customer #231223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55294   Customer #231226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55295   Customer #231227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55296   Customer #231234                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55297   Customer #231237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55298   Customer #231241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55299   Customer #231243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55300   Customer #231243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55301   Customer #231246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55302   Customer #231248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55303   Customer #231249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55304   Customer #231250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55305   Customer #231251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55306   Customer #231255                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55307   Customer #231258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55308   Customer #231259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55309   Customer #231261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55310   Customer #231262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55311   Customer #231264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55312   Customer #231266                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55313   Customer #231266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55314   Customer #231272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55315   Customer #231275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55316   Customer #231276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55317   Customer #231280                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55318   Customer #231286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55319   Customer #231287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55320   Customer #231288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55321   Customer #231291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55322   Customer #231294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55323   Customer #231295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55324   Customer #231296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55325   Customer #231297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55326   Customer #231302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55327   Customer #231303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55328   Customer #231310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55329   Customer #231312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55330   Customer #231316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55331   Customer #231317                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55332   Customer #231318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55333   Customer #231322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55334   Customer #231325                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55335   Customer #231327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55336   Customer #231334                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55337   Customer #231337                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55338   Customer #231338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55339   Customer #231342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55340   Customer #231343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55341   Customer #231353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55342   Customer #231354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55343   Customer #231355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55344   Customer #231366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55345   Customer #231374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55346   Customer #231380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55347   Customer #231386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55348   Customer #231389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55349   Customer #231392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55350   Customer #231393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55351   Customer #231394                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55352   Customer #231395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55353   Customer #231397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55354   Customer #231400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55355   Customer #231402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55356   Customer #231406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55357   Customer #231407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55358   Customer #231409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55359   Customer #231410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55360   Customer #231412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55361   Customer #231415                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55362   Customer #231417                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55363   Customer #231418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55364   Customer #231421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55365   Customer #231422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55366   Customer #231432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55367   Customer #231434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55368   Customer #231437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55369   Customer #231442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55370   Customer #231445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55371   Customer #231447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55372   Customer #231449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55373   Customer #231450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55374   Customer #231451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55375   Customer #231452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55376   Customer #231457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55377   Customer #231458                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55378   Customer #231459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55379   Customer #231475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55380   Customer #231477                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55381   Customer #231480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55382   Customer #231483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55383   Customer #231485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55384   Customer #231486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55385   Customer #231487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55386   Customer #231488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55387   Customer #231493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55388   Customer #231502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55389   Customer #231506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55390   Customer #231514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55391   Customer #231516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55392   Customer #231539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55393   Customer #231547                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55394   Customer #231550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55395   Customer #231558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55396   Customer #231563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55397   Customer #231566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55398   Customer #231567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55399   Customer #231568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55400   Customer #231569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55401   Customer #231573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55402   Customer #231580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55403   Customer #231581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55404   Customer #231585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55405   Customer #231597                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55406   Customer #231599                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55407   Customer #231607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55408   Customer #231624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55409   Customer #231627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55410   Customer #231632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55411   Customer #231638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55412   Customer #231643                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55413   Customer #231645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55414   Customer #231653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55415   Customer #231668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55416   Customer #231669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55417   Customer #231672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55418   Customer #231676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55419   Customer #231678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55420   Customer #231681                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55421   Customer #231683                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55422   Customer #231684                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55423   Customer #231691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55424   Customer #231698                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55425   Customer #231699                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55426   Customer #231700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55427   Customer #231702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55428   Customer #231708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55429   Customer #231712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55430   Customer #231719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55431   Customer #231721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55432   Customer #231726                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55433   Customer #231728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55434   Customer #231729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55435   Customer #231731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55436   Customer #231732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55437   Customer #231733                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55438   Customer #231734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55439   Customer #231740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55440   Customer #231741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55441   Customer #231744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55442   Customer #231747                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55443   Customer #231749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55444   Customer #231750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55445   Customer #231753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55446   Customer #231760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55447   Customer #231766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55448   Customer #231767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55449   Customer #231768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55450   Customer #231773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55451   Customer #231773                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55452   Customer #231776                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55453   Customer #231786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55454   Customer #231787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55455   Customer #231789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55456   Customer #231790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55457   Customer #231796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55458   Customer #231801                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55459   Customer #231803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55460   Customer #231807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55461   Customer #231808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55462   Customer #231809                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55463   Customer #231810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55464   Customer #231811                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55465   Customer #231814                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55466   Customer #231821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55467   Customer #231824                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55468   Customer #231826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55469   Customer #231832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55470   Customer #231835                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55471   Customer #231844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55472   Customer #231845                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55473   Customer #231847                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55474   Customer #231849                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55475   Customer #231853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55476   Customer #231854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55477   Customer #231864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55478   Customer #231866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55479   Customer #231868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55480   Customer #231869                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55481   Customer #231871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55482   Customer #231873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55483   Customer #231888                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55484   Customer #231890                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55485   Customer #231894                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55486   Customer #231905                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55487   Customer #231908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55488   Customer #231909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55489   Customer #231911                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55490   Customer #231912                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55491   Customer #231913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55492   Customer #231917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55493   Customer #231918                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55494   Customer #231928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55495   Customer #231931                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55496   Customer #231935                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55497   Customer #231938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55498   Customer #231940                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55499   Customer #231943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55500   Customer #231945                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55501   Customer #231953                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55502   Customer #231962                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55503   Customer #231969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55504   Customer #231970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55505   Customer #231974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55506   Customer #231979                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55507   Customer #231982                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55508   Customer #231983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55509   Customer #231984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55510   Customer #231986                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55511   Customer #231992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55512   Customer #231995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55513   Customer #232004                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55514   Customer #232006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55515   Customer #232009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55516   Customer #232011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55517   Customer #232015                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55518   Customer #232017                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55519   Customer #232019                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55520   Customer #232021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55521   Customer #232022                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55522   Customer #232025                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55523   Customer #232026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55524   Customer #232029                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55525   Customer #232030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55526   Customer #232038                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55527   Customer #232053                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55528   Customer #232056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55529   Customer #232058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55530   Customer #232062                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55531   Customer #232064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55532   Customer #232068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55533   Customer #232070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55534   Customer #232071                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55535   Customer #232076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55536   Customer #232079                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55537   Customer #232080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55538   Customer #232084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55539   Customer #232086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55540   Customer #232088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55541   Customer #232090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55542   Customer #232092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55543   Customer #232092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55544   Customer #232094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55545   Customer #232097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55546   Customer #232098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55547   Customer #232100                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55548   Customer #232101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55549   Customer #232102                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55550   Customer #232103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55551   Customer #232107                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55552   Customer #232111                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55553   Customer #232113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55554   Customer #232114                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55555   Customer #232123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55556   Customer #232124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55557   Customer #232125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55558   Customer #232130                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55559   Customer #232133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55560   Customer #232137                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55561   Customer #232145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55562   Customer #232147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55563   Customer #232148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55564   Customer #232150                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55565   Customer #232151                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55566   Customer #232152                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55567   Customer #232155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55568   Customer #232163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55569   Customer #232165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55570   Customer #232166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55571   Customer #232168                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55572   Customer #232170                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55573   Customer #232171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55574   Customer #232172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55575   Customer #232174                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55576   Customer #232179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55577   Customer #232181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55578   Customer #232182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55579   Customer #232183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55580   Customer #232186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55581   Customer #232188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55582   Customer #232194                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55583   Customer #232195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55584   Customer #232197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55585   Customer #232197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55586   Customer #232199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55587   Customer #232200                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55588   Customer #232201                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55589   Customer #232206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55590   Customer #232220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55591   Customer #232222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55592   Customer #232224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55593   Customer #232227                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55594   Customer #232228                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55595   Customer #232229                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55596   Customer #232230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55597   Customer #232231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55598   Customer #232232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55599   Customer #232236                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55600   Customer #232238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55601   Customer #232241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55602   Customer #232246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55603   Customer #232249                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55604   Customer #232250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55605   Customer #232251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55606   Customer #232252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55607   Customer #232253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55608   Customer #232258                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55609   Customer #232259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55610   Customer #232260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55611   Customer #232270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55612   Customer #232274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55613   Customer #232277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55614   Customer #232283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55615   Customer #232285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55616   Customer #232289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55617   Customer #232293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55618   Customer #232295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55619   Customer #232296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55620   Customer #232299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55621   Customer #232300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55622   Customer #232301                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55623   Customer #232307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55624   Customer #232310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55625   Customer #232313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55626   Customer #232315                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55627   Customer #232316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55628   Customer #232321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55629   Customer #232323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55630   Customer #232328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55631   Customer #232338                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55632   Customer #232344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55633   Customer #232348                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55634   Customer #232352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55635   Customer #232353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55636   Customer #232355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55637   Customer #232356                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55638   Customer #232365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55639   Customer #232366                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55640   Customer #232367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55641   Customer #232368                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55642   Customer #232369                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55643   Customer #232374                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55644   Customer #232375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55645   Customer #232376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55646   Customer #232381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55647   Customer #232385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55648   Customer #232386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55649   Customer #232404                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55650   Customer #232409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55651   Customer #232419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55652   Customer #232422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55653   Customer #232424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55654   Customer #232425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55655   Customer #232426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55656   Customer #232427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55657   Customer #232428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55658   Customer #232431                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55659   Customer #232444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55660   Customer #232446                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55661   Customer #232449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55662   Customer #232453                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55663   Customer #232466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55664   Customer #232467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55665   Customer #232468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55666   Customer #232471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55667   Customer #232474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55668   Customer #232479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55669   Customer #232480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55670   Customer #232481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55671   Customer #232484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55672   Customer #232485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55673   Customer #232487                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55674   Customer #232488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55675   Customer #232489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55676   Customer #232490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55677   Customer #232493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55678   Customer #232494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55679   Customer #232498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55680   Customer #232500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55681   Customer #232502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55682   Customer #232504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55683   Customer #232508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55684   Customer #232510                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55685   Customer #232511                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55686   Customer #232513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55687   Customer #232517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55688   Customer #232517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55689   Customer #232518                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55690   Customer #232521                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55691   Customer #232522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55692   Customer #232526                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55693   Customer #232527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55694   Customer #232528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55695   Customer #232532                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55696   Customer #232533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55697   Customer #232537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55698   Customer #232538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55699   Customer #232539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55700   Customer #232540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55701   Customer #232541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55702   Customer #232545                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55703   Customer #232549                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55704   Customer #232562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55705   Customer #232569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55706   Customer #232571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55707   Customer #232572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55708   Customer #232578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55709   Customer #232579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55710   Customer #232581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55711   Customer #232582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55712   Customer #232583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55713   Customer #232584                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55714   Customer #232588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55715   Customer #232592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55716   Customer #232598                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55717   Customer #232600                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55718   Customer #232604                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55719   Customer #232607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55720   Customer #232617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55721   Customer #232619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55722   Customer #232620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55723   Customer #232623                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55724   Customer #232624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55725   Customer #232626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55726   Customer #232627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55727   Customer #232629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55728   Customer #232631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55729   Customer #232634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55730   Customer #232637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55731   Customer #232639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55732   Customer #232641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55733   Customer #232646                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55734   Customer #232647                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55735   Customer #232648                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55736   Customer #232649                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55737   Customer #232656                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55738   Customer #232659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55739   Customer #232660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55740   Customer #232665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55741   Customer #232673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55742   Customer #232686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55743   Customer #232690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55744   Customer #232695                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55745   Customer #232702                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55746   Customer #232704                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55747   Customer #232711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55748   Customer #232713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55749   Customer #232715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55750   Customer #232718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55751   Customer #232724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55752   Customer #232730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55753   Customer #232730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55754   Customer #232732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55755   Customer #232734                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55756   Customer #232738                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55757   Customer #232740                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55758   Customer #232744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55759   Customer #232750                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55760   Customer #232751                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55761   Customer #232752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55762   Customer #232765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55763   Customer #232768                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55764   Customer #232769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55765   Customer #232771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55766   Customer #232783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55767   Customer #232789                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55768   Customer #232790                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55769   Customer #232791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55770   Customer #232792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55771   Customer #232793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55772   Customer #232800                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55773   Customer #232804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55774   Customer #232805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55775   Customer #232807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55776   Customer #232810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55777   Customer #232812                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55778   Customer #232818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55779   Customer #232820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55780   Customer #232825                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55781   Customer #232826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55782   Customer #232826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55783   Customer #232830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55784   Customer #232834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55785   Customer #232848                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55786   Customer #232851                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55787   Customer #232852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55788   Customer #232859                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55789   Customer #232863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55790   Customer #232864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55791   Customer #232866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55792   Customer #232870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55793   Customer #232871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55794   Customer #232873                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55795   Customer #232876                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55796   Customer #232883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55797   Customer #232884                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55798   Customer #232886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55799   Customer #232891                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55800   Customer #232892                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55801   Customer #232893                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55802   Customer #232898                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55803   Customer #232909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55804   Customer #232914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55805   Customer #232921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55806   Customer #232924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55807   Customer #232926                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55808   Customer #232928                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55809   Customer #232933                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55810   Customer #232934                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55811   Customer #232938                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55812   Customer #232939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55813   Customer #232941                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55814   Customer #232944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55815   Customer #232947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55816   Customer #232952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55817   Customer #232955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55818   Customer #232960                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55819   Customer #232963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55820   Customer #232964                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55821   Customer #232967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55822   Customer #232970                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55823   Customer #232971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55824   Customer #232973                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55825   Customer #232974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55826   Customer #232976                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55827   Customer #232992                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55828   Customer #232993                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55829   Customer #233003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55830   Customer #233018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55831   Customer #233023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55832   Customer #233030                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55833   Customer #233031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55834   Customer #233035                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55835   Customer #233039                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55836   Customer #233040                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55837   Customer #233041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55838   Customer #233044                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55839   Customer #233049                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55840   Customer #233050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55841   Customer #233056                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55842   Customer #233061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55843   Customer #233063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55844   Customer #233066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55845   Customer #233068                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55846   Customer #233070                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55847   Customer #233074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55848   Customer #233076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55849   Customer #233084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55850   Customer #233085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55851   Customer #233086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55852   Customer #233087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55853   Customer #233091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55854   Customer #233092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55855   Customer #233093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55856   Customer #233096                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55857   Customer #233097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55858   Customer #233098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55859   Customer #233099                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55860   Customer #233104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55861   Customer #233105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55862   Customer #233106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55863   Customer #233115                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55864   Customer #233119                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55865   Customer #233120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55866   Customer #233122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55867   Customer #233127                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55868   Customer #233134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55869   Customer #233139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55870   Customer #233140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55871   Customer #233144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55872   Customer #233149                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55873   Customer #233159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55874   Customer #233163                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55875   Customer #233165                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55876   Customer #233166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55877   Customer #233171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55878   Customer #233172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55879   Customer #233178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55880   Customer #233179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55881   Customer #233182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55882   Customer #233187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55883   Customer #233190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55884   Customer #233192                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55885   Customer #233196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55886   Customer #233197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55887   Customer #233199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55888   Customer #233202                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55889   Customer #233203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55890   Customer #233205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55891   Customer #233206                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55892   Customer #233208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55893   Customer #233215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55894   Customer #233216                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55895   Customer #233219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55896   Customer #233220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55897   Customer #233222                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55898   Customer #233230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55899   Customer #233231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55900   Customer #233232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55901   Customer #233233                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55902   Customer #233235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55903   Customer #233238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55904   Customer #233247                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55905   Customer #233260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55906   Customer #233262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55907   Customer #233263                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55908   Customer #233266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55909   Customer #233274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55910   Customer #233275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55911   Customer #233276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55912   Customer #233279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55913   Customer #233285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55914   Customer #233286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55915   Customer #233288                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55916   Customer #233289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55917   Customer #233290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55918   Customer #233295                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55919   Customer #233300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55920   Customer #233303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55921   Customer #233304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55922   Customer #233324                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55923   Customer #233327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55924   Customer #233328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55925   Customer #233329                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55926   Customer #233330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55927   Customer #233336                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55928   Customer #233344                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55929   Customer #233353                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55930   Customer #233354                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55931   Customer #233356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55932   Customer #233358                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55933   Customer #233359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55934   Customer #233361                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55935   Customer #233362                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55936   Customer #233367                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55937   Customer #233376                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55938   Customer #233381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55939   Customer #233386                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55940   Customer #233388                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55941   Customer #233389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55942   Customer #233393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55943   Customer #233396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55944   Customer #233397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55945   Customer #233405                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55946   Customer #233406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55947   Customer #233408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55948   Customer #233409                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55949   Customer #233411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55950   Customer #233424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55951   Customer #233425                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55952   Customer #233426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55953   Customer #233433                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55954   Customer #233436                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55955   Customer #233437                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55956   Customer #233448                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55957   Customer #233452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55958   Customer #233456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55959   Customer #233459                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55960   Customer #233461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55961   Customer #233462                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55962   Customer #233466                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.55963   Customer #233467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55964   Customer #233471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55965   Customer #233473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55966   Customer #233475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55967   Customer #233479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55968   Customer #233481                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55969   Customer #233484                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55970   Customer #233486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55971   Customer #233488                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55972   Customer #233490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55973   Customer #233493                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55974   Customer #233495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55975   Customer #233496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55976   Customer #233499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55977   Customer #233500                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55978   Customer #233501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55979   Customer #233505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55980   Customer #233507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55981   Customer #233508                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55982   Customer #233512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55983   Customer #233513                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55984   Customer #233520                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55985   Customer #233522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55986   Customer #233523                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55987   Customer #233527                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55988   Customer #233529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55989   Customer #233534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55990   Customer #233535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55991   Customer #233538                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55992   Customer #233545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55993   Customer #233548                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55994   Customer #233551                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55995   Customer #233554                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55996   Customer #233556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55997   Customer #233561                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55998   Customer #233563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.55999   Customer #233566                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56000   Customer #233575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56001   Customer #233576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56002   Customer #233578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56003   Customer #233579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56004   Customer #233581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56005   Customer #233582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56006   Customer #233583                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56007   Customer #233586                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56008   Customer #233589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56009   Customer #233590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56010   Customer #233592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56011   Customer #233593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56012   Customer #233596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56013   Customer #233601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56014   Customer #233606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56015   Customer #233609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56016   Customer #233610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56017   Customer #233612                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56018   Customer #233620                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56019   Customer #233624                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56020   Customer #233625                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56021   Customer #233627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56022   Customer #233629                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56023   Customer #233633                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56024   Customer #233634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56025   Customer #233637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56026   Customer #233641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56027   Customer #233642                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56028   Customer #233644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56029   Customer #233653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56030   Customer #233660                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56031   Customer #233667                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56032   Customer #233668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56033   Customer #233670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56034   Customer #233673                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56035   Customer #233674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56036   Customer #233680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56037   Customer #233685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56038   Customer #233688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56039   Customer #233697                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56040   Customer #233700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56041   Customer #233711                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56042   Customer #233713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56043   Customer #233715                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56044   Customer #233719                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56045   Customer #233720                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56046   Customer #233721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56047   Customer #233728                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56048   Customer #233729                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56049   Customer #233730                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56050   Customer #233731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56051   Customer #233736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56052   Customer #233745                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56053   Customer #233749                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56054   Customer #233759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56055   Customer #233762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56056   Customer #233764                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56057   Customer #233765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56058   Customer #233767                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56059   Customer #233781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56060   Customer #233786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56061   Customer #233787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56062   Customer #233789                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56063   Customer #233799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56064   Customer #233807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56065   Customer #233808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56066   Customer #233816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56067   Customer #233817                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56068   Customer #233820                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56069   Customer #233826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56070   Customer #233826                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56071   Customer #233829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56072   Customer #233832                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56073   Customer #233833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56074   Customer #233834                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56075   Customer #233836                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56076   Customer #233839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56077   Customer #233840                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56078   Customer #233842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56079   Customer #233844                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56080   Customer #233852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56081   Customer #233855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56082   Customer #233856                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56083   Customer #233857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56084   Customer #233860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56085   Customer #233861                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56086   Customer #233864                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56087   Customer #233865                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56088   Customer #233867                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56089   Customer #233870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56090   Customer #233871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56091   Customer #233875                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56092   Customer #233876                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56093   Customer #233877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56094   Customer #233877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56095   Customer #233883                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56096   Customer #233886                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56097   Customer #233897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56098   Customer #233900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56099   Customer #233906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56100   Customer #233908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56101   Customer #233909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56102   Customer #233910                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56103   Customer #233913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56104   Customer #233915                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56105   Customer #233923                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56106   Customer #233924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56107   Customer #233925                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56108   Customer #233929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56109   Customer #233939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56110   Customer #233943                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56111   Customer #233944                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56112   Customer #233949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56113   Customer #233950                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56114   Customer #233952                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56115   Customer #233956                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56116   Customer #233957                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56117   Customer #233958                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56118   Customer #233961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56119   Customer #233963                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56120   Customer #233968                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56121   Customer #233971                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56122   Customer #233974                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56123   Customer #233982                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56124   Customer #233989                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56125   Customer #233991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56126   Customer #233995                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56127   Customer #233996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56128   Customer #233997                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56129   Customer #234000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56130   Customer #234002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56131   Customer #234006                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56132   Customer #234008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56133   Customer #234009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56134   Customer #234010                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56135   Customer #234011                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56136   Customer #234012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56137   Customer #234014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56138   Customer #234016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56139   Customer #234018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56140   Customer #234023                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56141   Customer #234026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56142   Customer #234028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56143   Customer #234030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56144   Customer #234031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56145   Customer #234036                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56146   Customer #234041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56147   Customer #234043                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56148   Customer #234046                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56149   Customer #234054                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56150   Customer #234063                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56151   Customer #234064                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56152   Customer #234065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56153   Customer #234066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56154   Customer #234072                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56155   Customer #234074                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56156   Customer #234078                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56157   Customer #234079                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56158   Customer #234082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56159   Customer #234086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56160   Customer #234088                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56161   Customer #234090                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56162   Customer #234091                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56163   Customer #234092                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56164   Customer #234094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56165   Customer #234095                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56166   Customer #234097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56167   Customer #234098                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56168   Customer #234104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56169   Customer #234105                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56170   Customer #234106                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56171   Customer #234112                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56172   Customer #234113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56173   Customer #234116                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56174   Customer #234117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56175   Customer #234120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56176   Customer #234124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56177   Customer #234126                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56178   Customer #234128                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56179   Customer #234133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56180   Customer #234138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56181   Customer #234139                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56182   Customer #234143                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56183   Customer #234145                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56184   Customer #234147                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56185   Customer #234148                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56186   Customer #234154                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56187   Customer #234155                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56188   Customer #234158                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56189   Customer #234159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56190   Customer #234160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56191   Customer #234169                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56192   Customer #234171                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56193   Customer #234172                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56194   Customer #234173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56195   Customer #234178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56196   Customer #234179                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56197   Customer #234180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56198   Customer #234185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56199   Customer #234196                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56200   Customer #234197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56201   Customer #234203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56202   Customer #234204                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56203   Customer #234205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56204   Customer #234209                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56205   Customer #234212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56206   Customer #234213                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56207   Customer #234214                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56208   Customer #234215                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56209   Customer #234217                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56210   Customer #234218                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56211   Customer #234219                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56212   Customer #234226                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56213   Customer #234230                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56214   Customer #234235                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56215   Customer #234241                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56216   Customer #234243                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56217   Customer #234252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56218   Customer #234260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56219   Customer #234261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56220   Customer #234264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56221   Customer #234268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56222   Customer #234271                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56223   Customer #234273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56224   Customer #234274                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56225   Customer #234276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56226   Customer #234278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56227   Customer #234279                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56228   Customer #234282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56229   Customer #234287                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56230   Customer #234289                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56231   Customer #234290                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56232   Customer #234297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56233   Customer #234299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56234   Customer #234303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56235   Customer #234304                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56236   Customer #234306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56237   Customer #234307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56238   Customer #234309                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56239   Customer #234310                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56240   Customer #234314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56241   Customer #234316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56242   Customer #234320                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56243   Customer #234321                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56244   Customer #234322                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56245   Customer #234332                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56246   Customer #234333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56247   Customer #234343                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56248   Customer #234359                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56249   Customer #234365                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56250   Customer #234371                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56251   Customer #234372                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56252   Customer #234373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56253   Customer #234377                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56254   Customer #234379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56255   Customer #234380                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56256   Customer #234381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56257   Customer #234385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56258   Customer #234389                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56259   Customer #234391                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56260   Customer #234392                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56261   Customer #234393                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56262   Customer #234395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56263   Customer #234398                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56264   Customer #234400                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56265   Customer #234402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56266   Customer #234406                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56267   Customer #234407                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56268   Customer #234408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56269   Customer #234410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56270   Customer #234411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56271   Customer #234416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56272   Customer #234418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56273   Customer #234424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56274   Customer #234426                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56275   Customer #234428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56276   Customer #234432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56277   Customer #234442                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56278   Customer #234443                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56279   Customer #234444                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56280   Customer #234449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56281   Customer #234451                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56282   Customer #234452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56283   Customer #234455                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56284   Customer #234457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56285   Customer #234458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56286   Customer #234460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56287   Customer #234463                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56288   Customer #234466                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56289   Customer #234471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56290   Customer #234472                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56291   Customer #234473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56292   Customer #234479                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56293   Customer #234482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56294   Customer #234483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56295   Customer #234486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56296   Customer #234489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56297   Customer #234494                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56298   Customer #234496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56299   Customer #234499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56300   Customer #234504                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56301   Customer #234507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56302   Customer #234514                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56303   Customer #234524                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56304   Customer #234528                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56305   Customer #234536                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56306   Customer #234537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56307   Customer #234540                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56308   Customer #234541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56309   Customer #234543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56310   Customer #234553                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56311   Customer #234556                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56312   Customer #234562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56313   Customer #234563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56314   Customer #234569                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56315   Customer #234576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56316   Customer #234581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56317   Customer #234582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56318   Customer #234587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56319   Customer #234590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56320   Customer #234592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56321   Customer #234602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56322   Customer #234609                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56323   Customer #234610                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56324   Customer #234611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56325   Customer #234615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56326   Customer #234617                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56327   Customer #234631                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56328   Customer #234632                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56329   Customer #234642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56330   Customer #234650                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56331   Customer #234654                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56332   Customer #234674                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56333   Customer #234688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56334   Customer #234710                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56335   Customer #234712                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56336   Customer #234713                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56337   Customer #234717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56338   Customer #234718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56339   Customer #234725                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56340   Customer #234731                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56341   Customer #234732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56342   Customer #234735                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56343   Customer #234736                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56344   Customer #234741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56345   Customer #234743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56346   Customer #234744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56347   Customer #234752                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56348   Customer #234753                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56349   Customer #234759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56350   Customer #234759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56351   Customer #234763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56352   Customer #234765                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56353   Customer #234766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56354   Customer #234769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56355   Customer #234770                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56356   Customer #234771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56357   Customer #234778                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56358   Customer #234781                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56359   Customer #234782                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56360   Customer #234783                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56361   Customer #234786                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56362   Customer #234787                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56363   Customer #234792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56364   Customer #234795                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56365   Customer #234798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56366   Customer #234802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56367   Customer #234805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56368   Customer #234815                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56369   Customer #234828                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56370   Customer #234829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56371   Customer #234830                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56372   Customer #234833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56373   Customer #234841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56374   Customer #234842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56375   Customer #234843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56376   Customer #234860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56377   Customer #234921                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56378   Customer #234991                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56379   Customer #234994                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56380   Customer #234996                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56381   Customer #235000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56382   Customer #235016                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56383   Customer #235024                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56384   Customer #235026                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56385   Customer #235027                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56386   Customer #235031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56387   Customer #235048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56388   Customer #235057                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56389   Customer #235060                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56390   Customer #235066                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56391   Customer #235067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56392   Customer #235069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56393   Customer #235081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56394   Customer #235082                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56395   Customer #235083                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56396   Customer #235087                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56397   Customer #235101                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56398   Customer #235104                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56399   Customer #235113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56400   Customer #235118                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56401   Customer #235133                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56402   Customer #235134                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56403   Customer #235136                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56404   Customer #235138                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56405   Customer #235162                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56406   Customer #235166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56407   Customer #235173                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56408   Customer #235178                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56409   Customer #235181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56410   Customer #235187                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56411   Customer #235189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56412   Customer #235190                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56413   Customer #235195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56414   Customer #235199                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56415   Customer #235203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56416   Customer #235205                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56417   Customer #235212                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56418   Customer #235220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56419   Customer #235221                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56420   Customer #235223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56421   Customer #235224                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56422   Customer #235225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56423   Customer #235231                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56424   Customer #235232                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56425   Customer #235238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56426   Customer #235246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56427   Customer #235251                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56428   Customer #235252                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56429   Customer #235256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56430   Customer #235257                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56431   Customer #235261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56432   Customer #235262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56433   Customer #235265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56434   Customer #235275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56435   Customer #235277                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56436   Customer #235278                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56437   Customer #235282                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56438   Customer #235285                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56439   Customer #235294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56440   Customer #235296                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56441   Customer #235300                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56442   Customer #235306                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56443   Customer #235307                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56444   Customer #235312                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56445   Customer #235314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56446   Customer #235314                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56447   Customer #235333                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56448   Customer #235341                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56449   Customer #235342                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56450   Customer #235350                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56451   Customer #235351                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56452   Customer #235355                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56453   Customer #235356                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56454   Customer #235373                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56455   Customer #235375                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56456   Customer #235379                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56457   Customer #235385                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56458   Customer #235390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56459   Customer #235395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56460   Customer #235397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56461   Customer #235410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56462   Customer #235411                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56463   Customer #235412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56464   Customer #235413                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56465   Customer #235414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56466   Customer #235416                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56467   Customer #235418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56468   Customer #235421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56469   Customer #235424                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56470   Customer #235428                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56471   Customer #235434                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56472   Customer #235435                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56473   Customer #235439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56474   Customer #235447                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56475   Customer #235449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56476   Customer #235450                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56477   Customer #235452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56478   Customer #235454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56479   Customer #235457                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56480   Customer #235460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56481   Customer #235461                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56482   Customer #235463                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56483   Customer #235470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56484   Customer #235475                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56485   Customer #235480                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56486   Customer #235482                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56487   Customer #235483                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56488   Customer #235490                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56489   Customer #235492                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56490   Customer #235495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56491   Customer #235496                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56492   Customer #235498                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56493   Customer #235499                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56494   Customer #235501                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56495   Customer #235502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56496   Customer #235503                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56497   Customer #235505                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56498   Customer #235506                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56499   Customer #235507                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56500   Customer #235512                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56501   Customer #235522                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56502   Customer #235529                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56503   Customer #235530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56504   Customer #235533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56505   Customer #235535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56506   Customer #235537                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56507   Customer #235541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56508   Customer #235541                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56509   Customer #235544                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56510   Customer #235545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56511   Customer #235555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56512   Customer #235558                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56513   Customer #235562                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56514   Customer #235563                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56515   Customer #235572                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56516   Customer #235574                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56517   Customer #235578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56518   Customer #235579                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56519   Customer #235580                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56520   Customer #235582                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56521   Customer #235585                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56522   Customer #235589                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56523   Customer #235593                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56524   Customer #235595                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56525   Customer #235596                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56526   Customer #235602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56527   Customer #235613                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56528   Customer #235615                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56529   Customer #235616                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56530   Customer #235618                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56531   Customer #235621                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56532   Customer #235622                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56533   Customer #235626                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56534   Customer #235627                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56535   Customer #235634                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56536   Customer #235637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56537   Customer #235640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56538   Customer #235642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56539   Customer #235644                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56540   Customer #235645                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56541   Customer #235653                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56542   Customer #235655                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56543   Customer #235657                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56544   Customer #235658                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56545   Customer #235659                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56546   Customer #235661                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56547   Customer #235663                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56548   Customer #235664                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56549   Customer #235666                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56550   Customer #235668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56551   Customer #235669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56552   Customer #235676                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56553   Customer #235677                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56554   Customer #235678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56555   Customer #235685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56556   Customer #235686                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56557   Customer #235688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56558   Customer #235696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56559   Customer #235700                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56560   Customer #235708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56561   Customer #235709                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56562   Customer #235717                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56563   Customer #235718                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56564   Customer #235727                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56565   Customer #235732                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56566   Customer #235737                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56567   Customer #235742                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56568   Customer #235743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56569   Customer #235744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56570   Customer #235748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56571   Customer #235748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56572   Customer #235755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56573   Customer #235757                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56574   Customer #235762                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56575   Customer #235765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56576   Customer #235766                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56577   Customer #235772                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56578   Customer #235777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56579   Customer #235785                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56580   Customer #235791                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56581   Customer #235792                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56582   Customer #235793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56583   Customer #235794                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56584   Customer #235796                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56585   Customer #235799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56586   Customer #235802                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56587   Customer #235803                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56588   Customer #235804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56589   Customer #235805                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56590   Customer #235807                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56591   Customer #235808                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56592   Customer #235810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56593   Customer #235818                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56594   Customer #235821                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56595   Customer #235838                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56596   Customer #235839                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56597   Customer #235843                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56598   Customer #235853                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56599   Customer #235854                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56600   Customer #235855                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56601   Customer #235857                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56602   Customer #235860                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56603   Customer #235868                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56604   Customer #235870                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56605   Customer #235871                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56606   Customer #235885                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56607   Customer #235895                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56608   Customer #235896                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56609   Customer #235897                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56610   Customer #235902                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56611   Customer #235906                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56612   Customer #235908                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56613   Customer #235909                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56614   Customer #235914                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56615   Customer #235919                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56616   Customer #235929                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56617   Customer #235930                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56618   Customer #235932                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56619   Customer #235936                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56620   Customer #235939                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56621   Customer #235942                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56622   Customer #235946                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56623   Customer #235947                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56624   Customer #235949                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56625   Customer #235954                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56626   Customer #235955                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56627   Customer #235961                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56628   Customer #235966                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56629   Customer #235967                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56630   Customer #235978                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56631   Customer #235983                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56632   Customer #235984                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56633   Customer #235990                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56634   Customer #235998                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56635   Customer #236000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56636   Customer #236002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56637   Customer #236002                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56638   Customer #236003                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56639   Customer #236008                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56640   Customer #236012                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56641   Customer #236014                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56642   Customer #236018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56643   Customer #236021                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56644   Customer #236028                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56645   Customer #236030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56646   Customer #236031                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56647   Customer #236033                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56648   Customer #236041                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56649   Customer #236045                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56650   Customer #236048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56651   Customer #236050                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56652   Customer #236055                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56653   Customer #236059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56654   Customer #236061                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56655   Customer #236065                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56656   Customer #236067                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56657   Customer #236069                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56658   Customer #236075                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56659   Customer #236076                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56660   Customer #236080                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56661   Customer #236085                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56662   Customer #236086                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56663   Customer #236089                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56664   Customer #236093                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56665   Customer #236094                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56666   Customer #236097                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56667   Customer #236108                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56668   Customer #236109                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56669   Customer #236110                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56670   Customer #236113                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56671   Customer #236117                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56672   Customer #236122                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56673   Customer #236123                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56674   Customer #236125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56675   Customer #236131                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56676   Customer #236132                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56677   Customer #236137                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56678   Customer #236140                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56679   Customer #236144                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56680   Customer #236157                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56681   Customer #236159                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56682   Customer #236160                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56683   Customer #236166                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56684   Customer #236176                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56685   Customer #236180                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56686   Customer #236181                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56687   Customer #236183                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56688   Customer #236184                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56689   Customer #236185                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56690   Customer #236186                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56691   Customer #236188                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56692   Customer #236189                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56693   Customer #236195                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56694   Customer #236197                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56695   Customer #236203                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56696   Customer #236207                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56697   Customer #236208                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56698   Customer #236212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56699   Customer #236220                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56700   Customer #236222                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56701   Customer #236223                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56702   Customer #236225                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56703   Customer #236237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56704   Customer #236239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56705   Customer #236240                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56706   Customer #236246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56707   Customer #236248                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56708   Customer #236250                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56709   Customer #236253                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56710   Customer #236256                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56711   Customer #236260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56712   Customer #236261                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56713   Customer #236262                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56714   Customer #236264                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56715   Customer #236265                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56716   Customer #236266                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56717   Customer #236268                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56718   Customer #236269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56719   Customer #236270                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56720   Customer #236271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56721   Customer #236272                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56722   Customer #236273                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56723   Customer #236275                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56724   Customer #236276                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56725   Customer #236283                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56726   Customer #236286                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56727   Customer #236293                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56728   Customer #236294                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56729   Customer #236297                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56730   Customer #236298                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56731   Customer #236299                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56732   Customer #236302                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56733   Customer #236303                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56734   Customer #236313                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56735   Customer #236316                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56736   Customer #236318                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56737   Customer #236323                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56738   Customer #236327                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56739   Customer #236328                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56740   Customer #236330                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56741   Customer #236331                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56742   Customer #236338                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56743   Customer #236370                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56744   Customer #236390                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56745   Customer #236395                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56746   Customer #236396                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56747   Customer #236397                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56748   Customer #236401                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56749   Customer #236402                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56750   Customer #236408                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56751   Customer #236410                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56752   Customer #236412                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56753   Customer #236414                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56754   Customer #236418                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56755   Customer #236419                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56756   Customer #236421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56757   Customer #236422                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56758   Customer #236427                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56759   Customer #236432                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56760   Customer #236439                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56761   Customer #236440                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56762   Customer #236441                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56763   Customer #236449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56764   Customer #236452                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56765   Customer #236454                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56766   Customer #236456                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56767   Customer #236458                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56768   Customer #236467                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56769   Customer #236468                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56770   Customer #236469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56771   Customer #236471                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56772   Customer #236474                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56773   Customer #236485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56774   Customer #236485                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56775   Customer #236489                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56776   Customer #236495                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56777   Customer #236517                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56778   Customer #236535                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56779   Customer #236539                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56780   Customer #236543                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56781   Customer #236545                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56782   Customer #236552                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56783   Customer #236564                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56784   Customer #236567                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56785   Customer #236573                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56786   Customer #236575                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56787   Customer #236576                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56788   Customer #236578                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56789   Customer #236587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56790   Customer #236588                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56791   Customer #236590                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56792   Customer #236592                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56793   Customer #236602                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56794   Customer #236605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56795   Customer #236606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56796   Customer #236607                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56797   Customer #236611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56798   Customer #236619                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56799   Customer #236637                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56800   Customer #236638                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56801   Customer #236639                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56802   Customer #236640                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56803   Customer #236642                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56804   Customer #236652                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56805   Customer #236669                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56806   Customer #236670                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56807   Customer #236676                    Address on File                                                                                             Customer             X             X             X                       Undetermined




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                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56808   Customer #236678                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56809   Customer #236682                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56810   Customer #236687                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56811   Customer #236688                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56812   Customer #236690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56813   Customer #236691                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56814   Customer #236693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56815   Customer #236707                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56816   Customer #236708                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56817   Customer #236722                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56818   Customer #236723                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56819   Customer #236741                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56820   Customer #236743                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56821   Customer #236755                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56822   Customer #236756                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56823   Customer #236759                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56824   Customer #236765                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56825   Customer #236769                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56826   Customer #236771                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56827   Customer #236777                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56828   Customer #236779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56829   Customer #236784                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56830   Customer #236788                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56831   Customer #236798                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56832   Customer #236799                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56833   Customer #236810                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56834   Customer #236863                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56835   Customer #236866                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56836   Customer #236877                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56837   Customer #236899                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56838   Customer #236900                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56839   Customer #236924                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56840   Customer #236927                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56841   Customer #237000                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56842   Customer #237018                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56843   Customer #237048                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56844   Customer #237058                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56845   Customer #237124                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56846   Customer #237182                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56847   Customer #237237                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56848   Customer #237246                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56849   Customer #237260                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56850   Customer #237352                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56851   Customer #237449                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56852   Customer #237473                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56853   Customer #237533                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56854   Customer #237557                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56855   Customer #237568                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56856   Customer #237571                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56857   Customer #237641                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56858   Customer #237680                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56859   Customer #237685                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56860   Customer #237694                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56861   Customer #237724                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56862   Customer #237760                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56863   Customer #237779                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56864   Customer #237816                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56865   Customer #237823                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56866   Customer #237829                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56867   Customer #237833                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56868   Customer #237841                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56869   Customer #237842                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56870   Customer #237846                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56871   Customer #237852                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56872   Customer #237886                    Address on File                                                                                             Customer             X             X             X                       Undetermined




In re: Griddy Energy LLC
Case No. 21-30923                                                                     Page 875 of 877
                                     Case 21-30923 Document  71 Filed in TXSB on 03/24/21 Page 899 of 905
                                                        SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                                                                                                       Is the Claim




                                                                                                                                                                                                            Disputed
                                                                                                                                                  Last 4                                                                Subject to
                                                                                   Address                                               Date    Digits of                                                                Offset?
      ID           Creditor's Name   Attention          Address 1   Address 2         3           City      State        ZIP   Country Incurred Account #     Basis for Claim                                            (Yes/No)     Total Claim
   3.56873   Customer #237908                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56874   Customer #237913                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56875   Customer #237917                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56876   Customer #237969                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56877   Customer #237975                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56878   Customer #238009                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56879   Customer #238030                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56880   Customer #238037                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56881   Customer #238059                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56882   Customer #238081                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56883   Customer #238084                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56884   Customer #238103                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56885   Customer #238120                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56886   Customer #238125                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56887   Customer #238212                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56888   Customer #238238                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56889   Customer #238239                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56890   Customer #238259                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56891   Customer #238269                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56892   Customer #238271                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56893   Customer #238291                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56894   Customer #238326                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56895   Customer #238363                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56896   Customer #238364                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56897   Customer #238381                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56898   Customer #238384                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56899   Customer #238421                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56900   Customer #238445                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56901   Customer #238460                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56902   Customer #238469                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56903   Customer #238470                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56904   Customer #238478                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56905   Customer #238486                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56906   Customer #238502                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56907   Customer #238516                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56908   Customer #238530                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56909   Customer #238534                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56910   Customer #238550                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56911   Customer #238555                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56912   Customer #238581                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56913   Customer #238587                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56914   Customer #238601                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56915   Customer #238603                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56916   Customer #238605                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56917   Customer #238606                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56918   Customer #238611                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56919   Customer #238665                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56920   Customer #238668                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56921   Customer #238672                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56922   Customer #238690                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56923   Customer #238692                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56924   Customer #238693                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56925   Customer #238696                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56926   Customer #238721                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56927   Customer #238744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56928   Customer #238744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56929   Customer #238744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56930   Customer #238744                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56931   Customer #238748                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56932   Customer #238763                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56933   Customer #238793                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56934   Customer #238804                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56935   Customer #238806                    Address on File                                                                                             Customer             X             X             X                       Undetermined
   3.56936   Customer #238827                    Address on File                                                                                             Customer             X             X             X                       Undetermined




In re: Griddy Energy LLC
Case No. 21-30923                                                                     Page 876 of 877
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                                                                         SCHEDULE F_Redacted with Customers ATTACHMENT
                                                                                                         Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                                                    Contingent
                                                                                                                                                                                                                                                    Is the Claim




                                                                                                                                                                                                                                                Disputed
                                                                                                                                                                                      Last 4                                                         Subject to
                                                                                                                        Address                                              Date    Digits of                                                         Offset?
      ID            Creditor's Name                     Attention             Address 1                Address 2           3           City      State     ZIP     Country Incurred Account #     Basis for Claim                                     (Yes/No)      Total Claim
   3.56937 Electric Reliability Council of   Attn: Phil Mincemoyer      7620 Metro Center Drive                                   Austin         TX    78744                                     Energy               X             X             X      No        $29,022,141.62
           Texas (ERCOT)
   3.56938 Energy Services Group, LLC        Attn: CEO or General       141 Longwater Dr, Ste 113                                 Norwell        MA   02061                                      Services                           X                      No         $34,467.00
                                             Counsel
   3.56939 Floqast                           Attn: CEO or General       14721 Califa St                                           Sherman Oaks CA     91411                                      Services                                                  No           $3,125.00
                                             Counsel
   3.56940 Griddy Technologies LLC                                      30 Post Rd E 2nd floor                                    Westport       CT   06880                                      Intercompany                                              No           $4,582.36
                                                                                                                                                                                                 Payable
   3.56941 Hartman Income REIT               Attn: Sara Lynn O'Dell     11811 North Freeway, Ste                                  Houston        TX   77060                                      Rent                                                      No            $531.63
           Management                                                   160
   3.56942 Lisa Khoury, et al.                                          Address on File                                                                                                          Litigation Claim   X               X             X        No       Undetermined
   3.56943 Oncor Electric Delivery Company   Attn: David R Hunt         1616 Woodall Rodgers                                      Dallas         TX   75202                                      Transportation                                            No       $1,164,935.51
           LLC                                                                                                                                                                                   charges
   3.56944 Public Utility Commission of      Attn: David Hoard          1701 N. Congress            PO Box 13326                  Austin         TX   78711-3326                                 Regulatory Related X               X             X        No       Undetermined
           Texas                                                                                                                                                                                 Claims
   3.56945 RLI insurance Company             Attn: Commercial Surety    9025 N. Lindbergh Dr.                                     Peoria         IL   61615                                      Surety Bond                                      X        No        $217,100.00
                                                                                                                                                                                                 Collateral
   3.56946 S4S, LLC                          Attn: Charles Cella        2500 Broadway, Ste. F-                                    Santa Monica   CA   90404                                      Services                                                  No         $83,637.32
                                                                        125
   3.56947 Star Energy Partners              Attn: CEO or General       12121 Bluff Creek Dr                                      Playa Vista    CA   90094                                      Services                                                  No           $9,412.65
                                             Counsel                    #220a
   3.56948 Stripe, Inc.                      Attn: CEO or General       510 Townsend Street                                       San Francisco CA    94103                                      Services                                                  No       $1,027,980.46
                                             Counsel
   3.56949 Texas-New Mexico Power            Attn: CEO or General       577 N Garden Ridge Blvd                                   Lewisville     TX   75067                                      Transportation                                            No        $150,031.96
           Company                           Counsel                                                                                                                                             charges
   3.56950 The State of Texas                Attn: Ken Paxton, Valeria  112 E. Pecan Street, Suite                                San Antonio    TX   78205                                      Litigation Claim     X             X             X        No       Undetermined
                                             Sartorio & Steven Robinson 735
   3.56951 Thomas Ramer Clark                                           Address on File                                                                                                          Litigation Claim     X             X             X        No       Undetermined
   3.56952 William L Gault, Trustee of the   U/A dated January 27, 1969 c/o Julia G. Sterling      98 Imperial Avenue             Westport       CT   06880                                      Rent                                                      No          $1,016.67
           Howard W. Gault Trust U/A
           dated January 27, 1969




In re: Griddy Energy LLC
Case No. 21-30923                                                                                                         Page 877 of 877
                                                    Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 901 of 905
                                                                        SCHEDULE F (NOTICE PARTIES) ATTACHMENT
                                                                                                Notice Parties to Creditors Who Have Non-Priorty Unsecured Claims



                                                                                                                                                                                                                                     Line ID of Last 4 Digits
              Notice Party's Name                             Attention                           Address 1                             Address 2                    Address 3          City         State       ZIP       Country     Part 1   of Account #
  Charles Huppert                                   c/o Burnett Law Firm           Attn: Riley Burnett, Jr.                3737 Buffalo Speedway, 18th Floor                          Houston       TX       77098                     3.005
  Charles Huppert                                   c/o The Potts Law Firm, LLP    Attn: Derek H. Potts, J. Ryan Fowler,   3737 Buffalo Speedway, Suite 1900                          Houston       TX       77098                     3.005
                                                                                   Batami Baskin
  Electric Reliability Council of Texas (ERCOT)     c/o Munsch Hardt Kopf &        Attn: Kevin M. Lippman and Deborah      500 N. Akard Street, Suite 3800                            Dallas        TX       75201-6659              3.56937
                                                    Harr, P.C.                     M. Perry
  Internal Revenue Service                          Attn: Centralized Insolvency   2970 Market Street                                                                                 Philadelphi   PA       19104-5016                 2.1
                                                    Operation                                                                                                                         a
  Internal Revenue Service                          Houston Division               1919 Smith Street                                                                                  Houston       TX            77002                 2.1
  Internal Revenue Service                                                         Department of Treasury                                                                             Ogden         UT       84201-0045                 2.1
  Lisa Khoury, et al.                               c/o Potts Law Firm, LLP        Attn: Derek H. Potts, J. Ryan Fowler,   3737 Buffalo Speedway, Suite 1900                          Houston       TX             77098             3.56942
                                                                                   Batami Baskin
  Oncor Electric Delivery Company LLC               Attn: David R Hunt             PO Box 4567                                                                                        Houston       TX       77210-4567              3.56943
  Public Utility Commission of Texas                c/o Office of the Attorney     Bankruptcy & Collections Division       Attn: Jason B. Binford; Layla D.    PO Box 12548- MC 008   Austin        TX       78711-2548              3.56944
                                                    General of Texas                                                       Milligan
  Texas Comptroller of Public Accounts              Attn: Bo Overstreet, Section PO Box 13528, Capitol Station                                                                        Austin        TX       78711-3528                 2.2
                                                    Manager, AP
  The State of Texas                                Attn: Rick Berlin & Dan Zwart 808 Travis Street, Suite 1520                                                                       Houston    TX          77002                    3.56950
  William L Gault, Trustee of the Howard W. Gault   c/o Zeldes, Needle & Cooper, Attn: Robert A. Pacelli, Jr., Esq.        1000 Lafayette Blvd, 7th Floor                             Bridgeport CT          06604                    3.56952
  Trust U/A dated January 27, 1969                  P.C.




In re: Griddy Energy LLC
Case No. 21-30923                                                                                                           Page 1 of 1
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  Fill in this information to identify the case:

  Debtor name: Griddy Energy LLC

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                      Check if this is an
  Case number: 21-30923
                                                                                                                                                      amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                         has an executory contract or unexpired lease

2.1     State what the contract        See Exhibit G
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
                                                           Case 21-30923 Document 71 SCHEDULE
                                                                                      Filed Gin  TXSB on 03/24/21 Page 903 of 905
                                                                                              ATTACHMENT
                                                                                                                              Executory Contracts and Unexpired Leases




                                                        Real
                                                      Property                Remainder
                                                       Lease?    Effective     of Term Governmental
      ID      Description of Contract or Lease        (Yes/No)     Date         (Days)  Contract ID         Notice Party's Name                     Notice Party's Attention                  Address 1                    Address 2        Address 3         City       State     ZIP     Country
    2.001 Terms agreement for Delivery of Electric       No                    Unknown              AEP Texas Inc. d/b/a AEP Texas                                             PO Box 2121                                                              Corpus Christi   TX    78403
          Power and Energy and various amendments
    2.002 Engagement Agreement                          No       1/20/2021    Unknown                 Baker Botts L.L.P.                    Attn: Jonathan Rubenstein          30 Rockefeller Plaza                                                     New York         NY   10112
    2.003 Service Agreement                             No                    Unknown                 Bankruptcy Management Solutions, Inc. Attn: Sheryl Betance               410 Exchange                            Ste. 100                         Irvine           CA   92602
                                                                                                      d/b/a Stretto
    2.004 Agreement To Provide Legal Services           No                    Unknown                 Bevan, Mosca & Giuditta, P.C.                                            222 Mount Airy Road                     Suite 200                        Basking Ridge    NJ   07920

    2.005 Bill.com/Dwell Technologies Agreement         No       10/31/2020      227                  Bill.com                                   Attn: Chris Turley            1810 Embarcadero Road                                                    Palo Alto        CA   94303
    2.006 Tax Subscription                              No        12/1/2020      258                  CCH Incorporated                           c/o Wolters Kluwe             Attn: Davis Peden                       12121 BLUFF          STE 220     PLAYA VISTA      CA   90094-2996
                                                                                                                                                                                                                       CREEK DR
    2.007 Terms agreement for Delivery of Electric      No                    Unknown                 CenterPoint Energy Houston Electric,       c/o Competitive Retailer      PO Box 1700                                                              Houston          TX   77251-1700
          Power and Energy and various amendments                                                     LLC                                        Relations
    2.008 Engagement Letter for Legal Services          No       3/1/2021     Unknown                 Crestline Solutions, LLC                   Attn: Reed Clay               401 W. 15th Street, Suite 870                                            Austin           TX   78701
    2.009 First Amended and Restated                    No       12/4/2020    Unknown                 CT Corporation Staffing, Inc.              Attn: Steven P. Zimmer        Corporation Trust Center                1209 Orange Street               Wilmington       DE   19801
          Limited Liability Company Agreement
          of Griddy Energy LLC
    2.010 Staffing Agreement and Various                No       12/4/2020    Unknown                 CT Corporation Staffing, Inc.              Attn: Steven P. Zimmer        Corporation Trust Center                1209 Orange Street               Wilmington       DE   19801
          Amendments

    2.011 Blocked Account Control Agreement and         No       12/4/2020    Unknown                 EDF Trading North America, LLC             Attn: General Counsel and     601 Travis, Suite 1700                                                   Houston          TX   77002
          Various Amendments                                                                                                                     Contract Administration
    2.012 Termination and Release Agreement             No       12/4/2020    Unknown                 EDF Trading North America, LLC             Attn: General Counsel and     601 Travis, Suite 1700                                                   Houston          TX   77002
                                                                                                                                                 Contract Administration
    2.013 Market Participant Agreement                  No        8/6/2020    Unknown                 Electric Reliability Council of Texas      Attn: Phil Mincemoyer         7620 Metro Center Drive                                                  Austin           TX   78744
                                                                                                      (ERCOT)
    2.014 Master Services Agreement                     No                    Unknown                 Energy Services Group, LLC                 Attn: Phillip J Galati, CEO   141 Longwater Drive                     Suite 113                        Norwell          MA   02061

    2.015 Service Agreement with Customer               No       12/31/2018     1,019                 Energy Services Group, LLC                 Attn: Philip J. Galati        141 Longwater Drive                     Suite 113                        Norwell          MA   02061
          Information Systems (CIS) Services
    2.016 Services Agreement with Wholesale Energy      No        9/2/2016    Unknown                 Energy Services Group, LLC                 Attn: Philip J. Galati        141 Longwater Drive                     Suite 113                        Norwell          MA   02061
          Services
    2.017 Services Agreement with Transaction           No       12/31/2018     1,019                 Energy Services Group, LLC                 Attn: Philip J. Galati        141 Longwater Drive                     Suite 113                        Norwell          MA   02061
          Management Services
    2.018 First Amended and Restated                    No       12/4/2020    Unknown                 Griddy Holdings LLC                                                      30 Post Rd E, 2nd floor                                                  West Port        CT   06880
          Limited Liability Company Agreement
          of Griddy Energy LLC
    2.019 Agreement                                     No       12/4/2020    Unknown                 Griddy Technologies LLC                                                  30 Post Rd E 2nd floor                                                   West Port        CT   06880
    2.020 Iterale Enterprise Sales Order Form           No       4/1/2019       14                    Iterable, Inc                                                            71 Stevenson St                         Suite 300                        San Francisco    CA   94105
    2.021 Blocked Account Control Agreement             No       12/4/2020    Unknown                 JPMorgan Chase Bank, N.A.                  Attn: Blocked Account Legal   10 South Dearborn                       6th Floor            Suite IL 1- Chicago          IL   60603-2300
          ("Lender Control")                                                                                                                     Team                                                                                       0096
    2.022 2002 Master Agreement and various             No                    Unknown                 Macquarie Energy LLC                       Attn: Legal Risk Management   One Allen Center                        500 Dallas Street    Suite 3300 Houston           TX   77002
          Amendments                                                                                                                             Division
    2.023 Blocked Account Control Agreement             No       12/4/2020    Unknown                 Macquarie Energy LLC                       Attn: Legal Risk Management   One Allen Center                        500 Dallas Street    Suite 3300 Houston           TX   77002
          ("Lender Control")                                                                                                                     Division
    2.024 Pledge and Security Agreement                 No       12/4/2020    Unknown                 Macquarie Energy LLC                       Attn: Legal Risk Management   One Allen Center                        500 Dallas Street    Suite 3300 Houston           TX   77002
                                                                                                                                                 Division
    2.025 Office Service Agreement - Houston Office     Yes      9/18/2016    Unknown                 Meridian Business Centers - Southwest      c/o WorkSuites                6060 N. Central Expressway, 5th Floor                                    Dallas           TX   75206
                                                                                                      Partners, LP
    2.026 Legal Services Agreement                      No        3/3/2021    Unknown                 Miguel A. Huerta, PLLC                                                   7500 Rialto Blvd, Suite 250                                              Austin           TX   78735
    2.027 Agreement                                     No                    Unknown                 Oncor Electric Delivery Company LLC                                      1616 Woodall Rodgers, Suite 5A-022                                       Dallas           TX   75202
    2.028 Engagement Letter & Various Statements of     No       12/14/2016   Unknown                 S4S, LLC                                   Attn: Charles Cella           11320 La Grange Ave                                                      Los Angeles      CA   90025
          Work
    2.029 Insurance Agreement                           No                    Unknown                 Scottsdale Insurance Company                                            8877 North Gainey Center Drive                                            Scottsdale       AZ   85258
    2.030 Corporate communications consultant           No                    Unknown                 Sitrick Group, LLC                                                      11999 San Vicente Blvd., Penthouse                                        Los Angeles      CA   90049
    2.031 Legal Representation Agreement                No                    Unknown                 Stevens & Lee Lawyers & Consultants                                     17 North Second St                       16th Floor                       Harriburg        PA   17101
    2.032 Service Agreement                             No       8/27/2020      163                   Stripe, Inc.                               Attn: CEO or General Counsel 510 Townsend Street                                                       San Francisco    CA   94103
    2.033 DSA of Electric Power and Energy and EFT      No                    Unknown                 Texas-New Mexico Power Company             c/o REP Relations            577 N. Garden Ridge Blvd.                                                 Lewisville       TX   75067
          Authorization
    2.034 Lease Agreement - Westport Office             Yes      11/13/2020   Unknown                 William L Gault, Trustee of the Howard                                   c/o Julia G. Sterling                   98 Imperial Avenue               Westport         CT   06880
                                                                                                      W. Gault Trust U/A dated January 27,
                                                                                                      1969
    2.035 Engagement Letter for Tax Services            No       3/10/2021    Unknown                 Windes, Inc.                               Attn: Lance Adams             3780 Kilroy Airport Way, Suite 600                                       Long Beach       CA   90806




In re: Griddy Energy LLC
Case No. 21-30923                                                                                                                              Page 1 of 1
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  Fill in this information to identify the case:

  Debtor name: Griddy Energy LLC

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                        Check if this is an
  Case number: 21-30923
                                                                                                                                                                        amended ling


O cial Form 206H
Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
Griddy Holdings LLC                                                                                Macquarie Investments US Inc.                                           D
                                    Griddy Holdings LLC
                                    30 Post Rd E, 2nd oor                                                                                                                  E/F
                                    West Port, CT 06880
                                                                                                                                                                           G

2.2
Griddy Pro LLC                                                                                     Macquarie Investments US Inc.                                           D
                                    Griddy Pro LLC
                                    30 Post Rd E, 2nd oor                                                                                                                  E/F
                                    West Port, CT 06880
                                                                                                                                                                           G

2.3
Griddy Technologies LLC                                                                            Macquarie Investments US Inc.                                           D
                                    Griddy Technologies LLC
                                    30 Post Rd E, 2nd oor                                                                                                                  E/F
                                    West Port, CT 06880
                                                                                                                                                                           G
                         Case 21-30923 Document 71 Filed in TXSB on 03/24/21 Page 905 of 905

  Fill in this information to identify the case:

  Debtor name: Griddy Energy LLC

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                   Check if this is an
  Case number: 21-30923
                                                                                                                                                   amended ling


O cial Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another o cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (O cial Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G)

       Schedule H: Codebtors (O cial Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (O cial Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (O cial Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

03/24/2021                                                                            /s/ Roop Bhullar

Executed on                                                                           Signature of individual signing on behalf of debtor
                                                                                      Roop Bhullar

                                                                                      Printed name
                                                                                      Chief Financial O cer
                                                                                      Position or relationship to debtor
